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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U    D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                           Claim

Litigation & Disputes

3.5927 HEJAZI, HAMID                             VARIOUS                              Litigation             UNDETERMINED
       105 ROWAN TREE LN
       HILLSBOROUGH, CA 94010           ACCOUNT NO.: NOT AVAILABLE


3.5928 HELD, ELI                                 VARIOUS                              Litigation             UNDETERMINED
       314 DONEGAL COURT
       VACAVILLE, CA 95688              ACCOUNT NO.: NOT AVAILABLE


3.5929 HELENIUS, MARIA                           VARIOUS                              Litigation             UNDETERMINED
       76 E. CARMEL VALLEY RD.
       CARMEL VALLEY, CA 93924          ACCOUNT NO.: NOT AVAILABLE


3.5930 HELEN'S DONUT NOOK-SAYASY,                VARIOUS                              Litigation             UNDETERMINED
       KHEN
       807 MAIN STREET                  ACCOUNT NO.: NOT AVAILABLE
       CHICO, CA 95928


3.5931 HELFRICK, PATRICK                         VARIOUS                              Litigation             UNDETERMINED
       3945 LIGHTHOUSE PL
       DISCOVERY BAY, CA 94505          ACCOUNT NO.: NOT AVAILABLE


3.5932 HELIX ELECTRIC-SERNA, ERIC                VARIOUS                              Litigation             UNDETERMINED
       7677 OAKPORT ST STE 1040
       OAKLAND, CA 94621                ACCOUNT NO.: NOT AVAILABLE


3.5933 HELLETT, SARA                             VARIOUS                              Litigation             UNDETERMINED
       1382 N POPLAR
       FRESNO, CA 93728                 ACCOUNT NO.: NOT AVAILABLE


3.5934 HELLMAN, JASON                            VARIOUS                              Litigation             UNDETERMINED
       18092 ROSE COURT
       LOS GATOS, CA 95033              ACCOUNT NO.: NOT AVAILABLE


3.5935 HELLMEISTER, PETER                        VARIOUS                              Litigation             UNDETERMINED
       1865 D SAN MIGUEL CANYON
       RD.                              ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93907


3.5936 HELM, MARK                                VARIOUS                              Litigation             UNDETERMINED
       22 EASTRIDGE DRIVE
       SANTA CRUZ, CA 95060             ACCOUNT NO.: NOT AVAILABLE


3.5937 HELMS, CARL                               VARIOUS                              Litigation             UNDETERMINED
       P.O. BOX 421
       OROSI, CA 93647                  ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                           Claim

Litigation & Disputes

3.5938 HELMS, DAVID                              VARIOUS                              Litigation             UNDETERMINED
       733 ERMA AVE
       STOCKTON, CA 95207               ACCOUNT NO.: NOT AVAILABLE


3.5939 HELSETH, DAVID                            VARIOUS                              Litigation             UNDETERMINED
       672 GLENNAN DR.
       REDWOOD CITY, CA 94061           ACCOUNT NO.: NOT AVAILABLE


3.5940 HELWIG, MIKE                              VARIOUS                              Litigation             UNDETERMINED
       8129 PONDEROSA RD
       MOUNTAIN RANCH, CA 95246         ACCOUNT NO.: NOT AVAILABLE


3.5941 HEMENEZ BARIA, LISA                       VARIOUS                              Litigation             UNDETERMINED
       19991 PINE DR W
       PIONEER, CA 95666                ACCOUNT NO.: NOT AVAILABLE


3.5942 HEN CANTINA, RED                          VARIOUS                              Litigation             UNDETERMINED
       4175 SOLANO AVE
       NAPA, CA 94558                   ACCOUNT NO.: NOT AVAILABLE


3.5943 HENDERSON, BARBARA                        VARIOUS                              Litigation             UNDETERMINED
       636 TOPAZ COURT
       DISCOVERY BAY, CA 94505          ACCOUNT NO.: NOT AVAILABLE


3.5944 HENDERSON, LEEA                           VARIOUS                              Litigation             UNDETERMINED
       801 JUNE HOLLOW ROAD
       MONTARA, CA 94037                ACCOUNT NO.: NOT AVAILABLE


3.5945 HENDERSON, PAUL                           VARIOUS                              Litigation             UNDETERMINED
       36502 MUDGE RANCH ROAD
       COARSGOLD, CA 93614              ACCOUNT NO.: NOT AVAILABLE


3.5946 HENDERSON, RYAN                           VARIOUS                              Litigation             UNDETERMINED
       602 W MILL ST
       UKIAH, CA 95482                  ACCOUNT NO.: NOT AVAILABLE


3.5947 HENDERSON, SYLVIA                         VARIOUS                              Litigation             UNDETERMINED
       2294 MIMOSA CT
       LOS ALTOS, CA 94024              ACCOUNT NO.: NOT AVAILABLE


3.5948 HENDERSON, TROY                           VARIOUS                              Litigation             UNDETERMINED
       1028 45TH ST
       EMERYVILLE, CA 94608             ACCOUNT NO.: NOT AVAILABLE


3.5949 HENDRICKSON, ROBERT                       VARIOUS                              Litigation             UNDETERMINED
       1071 ELKHORN ROAD
       ROYAL OAKS, CA 95076             ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                             Account Number                           Claim

Litigation & Disputes

3.5950 HENDRICKSON, SHIRLEY                      VARIOUS                              Litigation             UNDETERMINED
       24635 FOOTHILL DRIVE
       SALINAS, CA 93908                ACCOUNT NO.: NOT AVAILABLE


3.5951 HENDRICKSON, SHIRLEY                      VARIOUS                              Litigation             UNDETERMINED
       24653 FOOTHILL DRIVE
       SALINAS, CA 93908                ACCOUNT NO.: NOT AVAILABLE


3.5952 HENDRICKX FARM-PETERSON,                  VARIOUS                              Litigation             UNDETERMINED
       PAMELA
       26130 COUNTY RD. 97              ACCOUNT NO.: NOT AVAILABLE
       DAVIS, CA 95616


3.5953 HENDRIX V PG&E, BRENT &                   VARIOUS                              Litigation             UNDETERMINED
       CATHERINE
       4250 ALLEN RD.                   ACCOUNT NO.: NOT AVAILABLE
       #68
       PASO ROBLES, CA


3.5954 HENDRIX, TONIA                            VARIOUS                              Litigation             UNDETERMINED
       6626 N. WEST AVE
       FRESNO, CA 93711                 ACCOUNT NO.: NOT AVAILABLE


3.5955 HENEDRIX, RAMONA                          VARIOUS                              Litigation             UNDETERMINED
       1370 10TH ST
       OAKLAND, CA 94607                ACCOUNT NO.: NOT AVAILABLE


3.5956 HENEGER, GEORGE & ANNE                    VARIOUS                              Litigation             UNDETERMINED
       P.O. BOX 427
       GARDEN VALLEY, CA 95633          ACCOUNT NO.: NOT AVAILABLE


3.5957 HENKLE, SARAH                             VARIOUS                              Litigation             UNDETERMINED
       UNKNOWN
       UNKNOWN, CA 99999                ACCOUNT NO.: NOT AVAILABLE


3.5958 HENLEY (BI CLAIM), TRICIA                 VARIOUS                              Litigation             UNDETERMINED
       919 LEDDY AVE
       SANTA ROSA, CA 95407             ACCOUNT NO.: NOT AVAILABLE


3.5959 HENLEY (PD), TRICIA                       VARIOUS                              Litigation             UNDETERMINED
       919 LEDDY AVE.
       SANTA ROSA, CA 95407             ACCOUNT NO.: NOT AVAILABLE


3.5960 HENNESSEE, VICKIE                         VARIOUS                              Litigation             UNDETERMINED
       3039 LAKESHORE BLVD
       LAKEPORT, CA 95453               ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5961 HENNESSY, OLIVE                           VARIOUS                              Litigation             UNDETERMINED
       1035 BAY ST.
       EUREKA, CA 95501                 ACCOUNT NO.: NOT AVAILABLE


3.5962 HENNINGFELD, CHRIS                        VARIOUS                              Litigation             UNDETERMINED
       P O BOX 342
       39383 LEDGE RAOD                 ACCOUNT NO.: NOT AVAILABLE
       BASS LAKE, CA 93604


3.5963 HENNON, LAURA                             VARIOUS                              Litigation             UNDETERMINED
       507 LAMANCHA COURT
       DANVILLE, CA 94526               ACCOUNT NO.: NOT AVAILABLE


3.5964 HENRY, AMY                                VARIOUS                              Litigation             UNDETERMINED
       480 RIM ROCK RD
       NIPOMO, CA 93444                 ACCOUNT NO.: NOT AVAILABLE


3.5965 HENRY, ARLANNA                            VARIOUS                              Litigation             UNDETERMINED
       147 BERK PL
       RICHMOND, CA 94804               ACCOUNT NO.: NOT AVAILABLE


3.5966 HENRY, NORA                               VARIOUS                              Litigation             UNDETERMINED
       9379 N PRICE AVE
       FRESNO, CA 93720                 ACCOUNT NO.: NOT AVAILABLE


3.5967 HENRY, ROB                                VARIOUS                              Litigation             UNDETERMINED
       2261 TAYLOR MTN PLACE
       SANTA ROSA, CA 95404             ACCOUNT NO.: NOT AVAILABLE


3.5968 HENRY, ROBERT                             VARIOUS                              Litigation             UNDETERMINED
       1205 SAINT MARY DR
       LONG BARN, CA 95335              ACCOUNT NO.: NOT AVAILABLE


3.5969 HENRY'S FLOORING-RIVERA,                  VARIOUS                              Litigation             UNDETERMINED
       HENRY
       6309 LORING CIR                  ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93309


3.5970 HENSINGER, DEBORA                         VARIOUS                              Litigation             UNDETERMINED
       PO BOX 2661
       SANTA CRUZ, CA 95063             ACCOUNT NO.: NOT AVAILABLE


3.5971 HEPHART, SALLY                            VARIOUS                              Litigation             UNDETERMINED
       5693 HAPPY VALLEY RD
       ANDERSON, CA 96007               ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                           Claim

Litigation & Disputes

3.5972 HEPLER, JAMES                             VARIOUS                              Litigation             UNDETERMINED
       P.O. BOX
       FRENCH GULCH, CA 96033           ACCOUNT NO.: NOT AVAILABLE


3.5973 HEPPER, JAY                               VARIOUS                              Litigation             UNDETERMINED
       3401 WALLACE CREEK ROAD
       HEALDSBURG, CA 95448             ACCOUNT NO.: NOT AVAILABLE


3.5974 HEPWORTH, ELLIOT                          VARIOUS                              Litigation             UNDETERMINED
       2810 LAGUNA ST
       CONCORD, CA 94518                ACCOUNT NO.: NOT AVAILABLE


3.5975 HER, ESTHER C                             VARIOUS                              Litigation             UNDETERMINED
       2428 HOWE WAY
       MODESTO, CA 95355                ACCOUNT NO.: NOT AVAILABLE


3.5976 HER, GABRIELLA                            VARIOUS                              Litigation             UNDETERMINED
       5500 N. MAROA AVE.
       FRESNO, CA 93704                 ACCOUNT NO.: NOT AVAILABLE


3.5977 HERBAL VITAMIN SHOP-LEE,                  VARIOUS                              Litigation             UNDETERMINED
       BAUJE
       3085 E CLINTON AVE               ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93703


3.5978 HERBERT, DONALD                           VARIOUS                              Litigation             UNDETERMINED
       8600 SAN GREGORIO ROAD
       CA 93422                         ACCOUNT NO.: NOT AVAILABLE


3.5979 HERBERT, KENNETH AND                      VARIOUS                              Litigation             UNDETERMINED
       ISABELLE
       327 PACHECO AV.                  ACCOUNT NO.: NOT AVAILABLE
       SANTA CRUZ, CA 95062


3.5980 HERBERT, SUSAN                            VARIOUS                              Litigation             UNDETERMINED
       1452 GOSHEN AVE.
       CLOVIS, CA 93611                 ACCOUNT NO.: NOT AVAILABLE


3.5981 HERBIVORE THE EARTHLY                     VARIOUS                              Litigation             UNDETERMINED
       GRILL, INC-NASSAR, ADHAM
       2451 SHATTUCK AVE                ACCOUNT NO.: NOT AVAILABLE
       BERKELEY, CA 94704


3.5982 HERBIVORE THE EARTHLY                     VARIOUS                              Litigation             UNDETERMINED
       GRILL, INC-NASSER, ADHAM
       2451 SHATTUCK AVE                ACCOUNT NO.: NOT AVAILABLE
       BERKELEY, CA 94704



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Litigation & Disputes

3.5983 HERE COMES THE SUN                        VARIOUS                              Litigation             UNDETERMINED
       COFFEEHOUSE-MCGAW, AMBER
       PO BOX 370946                    ACCOUNT NO.: NOT AVAILABLE
       MONTARA, CA 94037


3.5984 HERE TODAY GONE                           VARIOUS                              Litigation             UNDETERMINED
       TOMORROW-MALARIN, OSCAR
       599 TRINITY AVE                  ACCOUNT NO.: NOT AVAILABLE
       SEASIDE, CA 93955


3.5985 HEREK JR, PAUL                            VARIOUS                              Litigation             UNDETERMINED
       15 PENDEGAST ST
       WOODLAND, CA 95695               ACCOUNT NO.: NOT AVAILABLE


3.5986 HERERRA, ADESSA                           VARIOUS                              Litigation             UNDETERMINED
       12465 INTERMOUNTAIN RD
       REDDING, CA 96003                ACCOUNT NO.: NOT AVAILABLE


3.5987 HERITAGE RANCH COMMUNITY                  VARIOUS                              Litigation             UNDETERMINED
       SERVICES DISTRICT, JASON
       MOLINARI                         ACCOUNT NO.: NOT AVAILABLE
       4870 HERITAGE ROAD
       10200 NACIMIENTO LAKE DRIVE
       PASO ROBLES, CA 93446


3.5988 HERKEN, GREGG                             VARIOUS                              Litigation             UNDETERMINED
       208 BERKSHIRE AVE
       SANTA CRUZ, CA 95060             ACCOUNT NO.: NOT AVAILABLE


3.5989 HERLIHY, LUANA                            VARIOUS                              Litigation             UNDETERMINED
       350 DISTANT OAKS DRIVE
       ARROYO GRANDE, CA 93420          ACCOUNT NO.: NOT AVAILABLE


3.5990 HERMAN, DOUG                              VARIOUS                              Litigation             UNDETERMINED
       2856 STIRRUP DR
       OAKLEY, CA 94561                 ACCOUNT NO.: NOT AVAILABLE


3.5991 HERMAN, MARY                              VARIOUS                              Litigation             UNDETERMINED
       638 CALIFORNIA ST
       WEST SACRAMENTO, CA 95605        ACCOUNT NO.: NOT AVAILABLE


3.5992 HERMOGENO, GIANCARLO                      VARIOUS                              Litigation             UNDETERMINED
       801 ROLPH ST
       SAN FRANCISCO, CA 94112          ACCOUNT NO.: NOT AVAILABLE


3.5993 HERMOSILLO, CARLOS                        VARIOUS                              Litigation             UNDETERMINED
       2100 OLD HWY
       CATHEYS VALLEY, CA 94592         ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                             Account Number                           Claim

Litigation & Disputes

3.5994 HERNANDEZ, ALLISON &                      VARIOUS                              Litigation             UNDETERMINED
       JOSEPH
       1070 LYDIA LANE                  ACCOUNT NO.: NOT AVAILABLE
       PLACERVILLE, CA 95667


3.5995 HERNANDEZ, BRIGIDA                        VARIOUS                              Litigation             UNDETERMINED
       852 TWIN OAKS LANE
       WINDSOR, CA 95492                ACCOUNT NO.: NOT AVAILABLE


3.5996 HERNANDEZ, CARMEN                         VARIOUS                              Litigation             UNDETERMINED
       852 TWIN OAKS LANE
       WINDSOR, CA 95492                ACCOUNT NO.: NOT AVAILABLE


3.5997 HERNANDEZ, CECELIA                        VARIOUS                              Litigation             UNDETERMINED
       14682 WOLF ROAD
       GRASS VALLEY, CA 95949           ACCOUNT NO.: NOT AVAILABLE


3.5998 HERNANDEZ, DAVID                          VARIOUS                              Litigation             UNDETERMINED
       1349 VALENCIA AVENUE
       STOCKTON, CA 95209               ACCOUNT NO.: NOT AVAILABLE


3.5999 HERNANDEZ, DAVID                          VARIOUS                              Litigation             UNDETERMINED
       1349 VALENCIA AVENUE
       STOCKTON, CA 95209               ACCOUNT NO.: NOT AVAILABLE


3.6000 HERNANDEZ, DAVID                          VARIOUS                              Litigation             UNDETERMINED
       2340 EAST LAFAYETTE
       STOCKTON, CA 95205               ACCOUNT NO.: NOT AVAILABLE


3.6001 HERNANDEZ, DAVID                          VARIOUS                              Litigation             UNDETERMINED
       4619 BLUESTONE DR
       BAKERSFIELD, CA 93311            ACCOUNT NO.: NOT AVAILABLE


3.6002 HERNANDEZ, DELILAH                        VARIOUS                              Litigation             UNDETERMINED
       134 CLAY ST APT 7
       SALINAS, CA 93901                ACCOUNT NO.: NOT AVAILABLE


3.6003 HERNANDEZ, DENNES                         VARIOUS                              Litigation             UNDETERMINED
       5082 MISSION STREET
       SAN FRANCISCO, CA 94112          ACCOUNT NO.: NOT AVAILABLE


3.6004 HERNANDEZ, DON/KELLY                      VARIOUS                              Litigation             UNDETERMINED
       18371 SUGAR PINE DRIVE
       PINE GROVE, CA 95665             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.6005 HERNANDEZ, ELVA                           VARIOUS                              Litigation             UNDETERMINED
       313 SAINTS MATHEWS ST
       GREENFIELD, CA 93927             ACCOUNT NO.: NOT AVAILABLE


3.6006 HERNANDEZ, ERICA                          VARIOUS                              Litigation             UNDETERMINED
       7057 SANTA TERESA BLVD
       SAN JOSE, CA 95139               ACCOUNT NO.: NOT AVAILABLE


3.6007 HERNANDEZ, FELIX                          VARIOUS                              Litigation             UNDETERMINED
       5 PEREZ CIR
       C                                ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.6008 HERNANDEZ, GLADYS                         VARIOUS                              Litigation             UNDETERMINED
       37086 MULBERRY ST
       APT D                            ACCOUNT NO.: NOT AVAILABLE
       NEWARK, CA 94560


3.6009 HERNANDEZ, HELADIO                        VARIOUS                              Litigation             UNDETERMINED
       14 EXETER ST
       SAN FRANCISCO, CA 94124          ACCOUNT NO.: NOT AVAILABLE


3.6010 HERNANDEZ, ISAURA                         VARIOUS                              Litigation             UNDETERMINED
       1055 N SANBORN RD
       15                               ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93905


3.6011 HERNANDEZ, JAVIER                         VARIOUS                              Litigation             UNDETERMINED
       10541 BLEVIAS WAY
       CASTROVILLE, CA 95012            ACCOUNT NO.: NOT AVAILABLE


3.6012 HERNANDEZ, JENNIFER                       VARIOUS                              Litigation             UNDETERMINED
       930 E CHANNEL STREET
       STOCKTON, CA 95202               ACCOUNT NO.: NOT AVAILABLE


3.6013 HERNANDEZ, JESSE                          VARIOUS                              Litigation             UNDETERMINED
       2548 PEBBLE CREEK CT.
       TRACY, CA 95377                  ACCOUNT NO.: NOT AVAILABLE


3.6014 HERNANDEZ, JOSE                           VARIOUS                              Litigation             UNDETERMINED
       4127 SANDRA CIRCLE
       PITTSBURG, CA 94565              ACCOUNT NO.: NOT AVAILABLE


3.6015 HERNANDEZ, JOSE                           VARIOUS                              Litigation             UNDETERMINED
       1900 ASHBY RD
       SPC 5                            ACCOUNT NO.: NOT AVAILABLE
       MERCED, CA 95348



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Including Zip Code                             Account Number                           Claim

Litigation & Disputes

3.6016 HERNANDEZ, JOSE & TAMMY                   VARIOUS                              Litigation             UNDETERMINED
       43395 CASTLE PARK COURT
       FREMONT, CA 94538                ACCOUNT NO.: NOT AVAILABLE


3.6017 HERNANDEZ, JUAN                           VARIOUS                              Litigation             UNDETERMINED
       2827 WEBB ST
       VALLEJO, CA 94591                ACCOUNT NO.: NOT AVAILABLE


3.6018 HERNANDEZ, KARINA                         VARIOUS                              Litigation             UNDETERMINED
       47 N PEARL ST
       SALINAS, CA 93905                ACCOUNT NO.: NOT AVAILABLE


3.6019 HERNANDEZ, LAURA                          VARIOUS                              Litigation             UNDETERMINED
       1627 1/2 HOLM AVE
       MODESTO, CA 95351                ACCOUNT NO.: NOT AVAILABLE


3.6020 HERNANDEZ, MANUEL                         VARIOUS                              Litigation             UNDETERMINED
       4608 E. DWIGHT WAY
       FRESNO, CA 93702                 ACCOUNT NO.: NOT AVAILABLE


3.6021 HERNANDEZ, MARIA                          VARIOUS                              Litigation             UNDETERMINED
       23403 DEL MONTE WAY
       LOS GATOS, CA 95033              ACCOUNT NO.: NOT AVAILABLE


3.6022 HERNANDEZ, MARIBEL                        VARIOUS                              Litigation             UNDETERMINED
       429 POPLAR AVENUE
       MANTECA, CA 95336                ACCOUNT NO.: NOT AVAILABLE


3.6023 HERNANDEZ, MARIBEL                        VARIOUS                              Litigation             UNDETERMINED
       P.O. BOX 284
       DUNNIGAN, CA 95937               ACCOUNT NO.: NOT AVAILABLE


3.6024 HERNANDEZ, MARICRUZ                       VARIOUS                              Litigation             UNDETERMINED
       2176 BRUTUS ST
       APT C                            ACCOUNT NO.: NOT AVAILABLE
       93906, CA 93906


3.6025 HERNANDEZ, MIKE                           VARIOUS                              Litigation             UNDETERMINED
       3142 OREGON STREET
       BAKERSFIELD, CA 93306            ACCOUNT NO.: NOT AVAILABLE


3.6026 HERNANDEZ, NATALIE                        VARIOUS                              Litigation             UNDETERMINED
       6316 PLYMOUTH RD
       STOCKTON, CA 95207               ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6027 HERNANDEZ, NIDA                        VARIOUS                              Litigation             UNDETERMINED
       679 PARK STREET
       SALINAS, CA 93901             ACCOUNT NO.: NOT AVAILABLE


3.6028 HERNANDEZ, RAUL                        VARIOUS                              Litigation             UNDETERMINED
       6014 BERNHARD AVE.
       RICHMOND, CA 94805            ACCOUNT NO.: NOT AVAILABLE


3.6029 HERNANDEZ, RAUL                        VARIOUS                              Litigation             UNDETERMINED
       18 VIA GRANDE
       OLIVEHURST, CA 95961          ACCOUNT NO.: NOT AVAILABLE


3.6030 HERNANDEZ, REBECCA                     VARIOUS                              Litigation             UNDETERMINED
       10206 FORSYTHE RD
       DOBBINS, CA 95935             ACCOUNT NO.: NOT AVAILABLE


3.6031 HERNANDEZ, RICK                        VARIOUS                              Litigation             UNDETERMINED
       6021 TRIGO LANE
       PRUNEDALE, CA 93907           ACCOUNT NO.: NOT AVAILABLE


3.6032 HERNANDEZ, ROSA                        VARIOUS                              Litigation             UNDETERMINED
       2420 MAINE AVE
       RICHMOND, CA 94804            ACCOUNT NO.: NOT AVAILABLE


3.6033 HERNANDEZ, ROSA                        VARIOUS                              Litigation             UNDETERMINED
       2958 ROAD 84
       EARLIMART, CA 93219           ACCOUNT NO.: NOT AVAILABLE


3.6034 HERNANDEZ, SABRINA                     VARIOUS                              Litigation             UNDETERMINED
       25682 MAIN ST
       A                             ACCOUNT NO.: NOT AVAILABLE
       CHUALAR, CA 93925


3.6035 HERNANDEZ, SHANNON                     VARIOUS                              Litigation             UNDETERMINED
       13590 PHAEDRA LANE
       REDDING, CA 96003             ACCOUNT NO.: NOT AVAILABLE


3.6036 HERNANDEZ, TABITHA                     VARIOUS                              Litigation             UNDETERMINED
       948 LUCILE WAY
       RIO LINDA, CA 95673           ACCOUNT NO.: NOT AVAILABLE


3.6037 HERNANDEZ, VIOLETA                     VARIOUS                              Litigation             UNDETERMINED
       6697 FLOYD WAY
       NICE, CA 95464                ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6038 HERNANDEZ-LOPEZ, MARISELA              VARIOUS                              Litigation             UNDETERMINED
       401 ELKHORN RD
       WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.6039 HERNDON, JEAN                          VARIOUS                              Litigation             UNDETERMINED
       1642 BRANHAM LANE, UNIT J
       SAN JOSE, CA 95118            ACCOUNT NO.: NOT AVAILABLE


3.6040 HERNDON, NELLEKE                       VARIOUS                              Litigation             UNDETERMINED
       2214 CAMDEN AVE
       SAN JOSE, CA 95124            ACCOUNT NO.: NOT AVAILABLE


3.6041 HERNDON, STERLING                      VARIOUS                              Litigation             UNDETERMINED
       3640 FORT JIM ROAD
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.6042 HERNSTEDT, TIFFANY                     VARIOUS                              Litigation             UNDETERMINED
       P.O. BOX 2684
       CLEARLAKE, CA 95422           ACCOUNT NO.: NOT AVAILABLE


3.6043 HERR, DAVID                            VARIOUS                              Litigation             UNDETERMINED
       14530 BYRON HWY
       BYRON, CA 94514               ACCOUNT NO.: NOT AVAILABLE


3.6044 HERRERA, CAROLINA                      VARIOUS                              Litigation             UNDETERMINED
       12 MUROC STREET
       SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.6045 HERRERA, DENISE                        VARIOUS                              Litigation             UNDETERMINED
       22543 OLD SANTA CRUZ HWY
       LOS GATOS, CA 95033           ACCOUNT NO.: NOT AVAILABLE


3.6046 HERRERA, JESS                          VARIOUS                              Litigation             UNDETERMINED
       329 GINGER COURT
       10411 SHEEP RANCH RD          ACCOUNT NO.: NOT AVAILABLE
       SAN RAMON, CA 94582


3.6047 HERRERA, JOSE                          VARIOUS                              Litigation             UNDETERMINED
       2784 MONTEREY RD SPC# 80
       SAN JOSE, CA 95111            ACCOUNT NO.: NOT AVAILABLE


3.6048 HERRERA, JOSEPH                        VARIOUS                              Litigation             UNDETERMINED
       38438 NEBO DR
       FREMONT, CA 94536             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.6049 HERRERA, MICHELLE                      VARIOUS                              Litigation             UNDETERMINED
       5671 LONE PINE PLACE
       PASO ROBLES, CA 93446         ACCOUNT NO.: NOT AVAILABLE


3.6050 HERRERA, ROBERT & BRANDI               VARIOUS                              Litigation             UNDETERMINED
       TOVAR
       10812 BODEGA HWY              ACCOUNT NO.: NOT AVAILABLE
       SEBASTAPOL, CA 95472


3.6051 HERRERA, VIVIAN                        VARIOUS                              Litigation             UNDETERMINED
       1254 MALTA LANE
       4143 BEACON PLACE,            ACCOUNT NO.: NOT AVAILABLE
       DISCOVERY BAY CA 9451
       FOSTER CITY, CA 94404


3.6052 HERRGOTT, SALLY                        VARIOUS                              Litigation             UNDETERMINED
       PACIFIC GROVE
       209 CROCKER AVENUE, CA        ACCOUNT NO.: NOT AVAILABLE
       93950


3.6053 HERRIAGE, MARIA                        VARIOUS                              Litigation             UNDETERMINED
       3981 BRIDLEWOOD CIRCLE
       STOCKTON, CA 95219            ACCOUNT NO.: NOT AVAILABLE


3.6054 HERRING, CLEVE                         VARIOUS                              Litigation             UNDETERMINED
       200 A SOLEDAD DRIVE
       MONTEREY, CA 93948            ACCOUNT NO.: NOT AVAILABLE


3.6055 HERRON, DEVIN                          VARIOUS                              Litigation             UNDETERMINED
       3333 HAMBLEN CT
       COOL, CA 95614                ACCOUNT NO.: NOT AVAILABLE


3.6056 HERTEMAN, BOBBIE                       VARIOUS                              Litigation             UNDETERMINED
       500 N. NAVARRA DRIVE
       SCOTTS VALLEY, CA 95066       ACCOUNT NO.: NOT AVAILABLE


3.6057 HERTZ EQUIPMENT RENTAL, .              VARIOUS                              Litigation             UNDETERMINED
       5500 COMMERCE BLVD
       ROHNERT PARK, CA 94928        ACCOUNT NO.: NOT AVAILABLE


3.6058 HERTZ EQUIPMENT RENTAL, .              VARIOUS                              Litigation             UNDETERMINED
       5500 COMMERCE BLVD
       ROHNERT PARK, CA 94928        ACCOUNT NO.: NOT AVAILABLE


3.6059 HERTZ EQUIPMENT RENTAL, .              VARIOUS                              Litigation             UNDETERMINED
       5500 COMMERCE BLVD
       ROHNERT PARK, CA 94928        ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6060 HERTZ EQUIPMENT RENTAL, .              VARIOUS                              Litigation             UNDETERMINED
       5500 COMMERCE BLVD
       ROHNERT PARK, CA 94928        ACCOUNT NO.: NOT AVAILABLE


3.6061 HERTZ EQUIPMENT RENTAL, .              VARIOUS                              Litigation             UNDETERMINED
       5500 COMMERCE BLVD
       ROHNERT PARK, CA 94928        ACCOUNT NO.: NOT AVAILABLE


3.6062 HERTZ EQUIPMENT RENTAL, .              VARIOUS                              Litigation             UNDETERMINED
       5500 COMMERCE BLVD
       ROHNERT PARK, CA 94928        ACCOUNT NO.: NOT AVAILABLE


3.6063 HERTZ EQUIPMENT RENTAL, .              VARIOUS                              Litigation             UNDETERMINED
       5500 COMMERCE BLVD
       ROHNERT PARK, CA 94928        ACCOUNT NO.: NOT AVAILABLE


3.6064 HERYFORD, RALPH                        VARIOUS                              Litigation             UNDETERMINED
       4235 MARKLEY ROAD
       YUBA CITY, CA 95993           ACCOUNT NO.: NOT AVAILABLE


3.6065 HERZOG, JANET                          VARIOUS                              Litigation             UNDETERMINED
       401 WASHINGTON DRIVE
       CHOWCHILLA, CA 93610          ACCOUNT NO.: NOT AVAILABLE


3.6066 HESTER, MICHAEL                        VARIOUS                              Litigation             UNDETERMINED
       2522 TAYLOR WAY
       ANTIOCH, CA 94531             ACCOUNT NO.: NOT AVAILABLE


3.6067 HESTERMAN, HEWETT                      VARIOUS                              Litigation             UNDETERMINED
       6667 DUSTY TRAILS
       VACAVILLE, CA 95688           ACCOUNT NO.: NOT AVAILABLE


3.6068 HEULE, ROGER                           VARIOUS                              Litigation             UNDETERMINED
       6713 CORTE DEL VISTA
       PLEASANTON, CA 94566          ACCOUNT NO.: NOT AVAILABLE


3.6069 HEWITT, LAURA                          VARIOUS                              Litigation             UNDETERMINED
       3010 RANSFORD CIRCLE
       PACIFIC GROVE, CA 93950       ACCOUNT NO.: NOT AVAILABLE


3.6070 HEWITT, ROB                            VARIOUS                              Litigation             UNDETERMINED
       15760 HORIZON WAY
       PRUNEDALE, CA 93907           ACCOUNT NO.: NOT AVAILABLE


3.6071 HEWITT, TYSON                          VARIOUS                              Litigation             UNDETERMINED
       254 SAN JUAN AVE
       SANTA CRUZ, CA 95062          ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6072 HEYDARI, REZA                          VARIOUS                              Litigation             UNDETERMINED
       393 ALAMEDA DEL PRADO
       NOVATO, CA 94949              ACCOUNT NO.: NOT AVAILABLE


3.6073 HIBPSHMAN, KAREN                       VARIOUS                              Litigation             UNDETERMINED
       7053 HITES COVE RD.
       MARIPOSA, CA 95338            ACCOUNT NO.: NOT AVAILABLE


3.6074 HIBSHMAN, THOMAS                       VARIOUS                              Litigation             UNDETERMINED
       13440 SAN ANTONIO ROAD
       ATASCADERO, CA 93422          ACCOUNT NO.: NOT AVAILABLE


3.6075 HICKAM, ROBERT                         VARIOUS                              Litigation             UNDETERMINED
       P.O.BOX 946
       CARMEL, CA 93921              ACCOUNT NO.: NOT AVAILABLE


3.6076 HICKLING, FRANK & KAREN                VARIOUS                              Litigation             UNDETERMINED
       P.O BOX 2199
       5787 DARRAH ROAD              ACCOUNT NO.: NOT AVAILABLE
       MARIPOSA, CA 95338


3.6077 HICKS, EDWARD                          VARIOUS                              Litigation             UNDETERMINED
       305 W OAK ST
       STOCKTON, CA 95203            ACCOUNT NO.: NOT AVAILABLE


3.6078 HICKS, JOHN                            VARIOUS                              Litigation             UNDETERMINED
       10000 OLD REDWOOD HWY
       WNDSOR, CA 95492              ACCOUNT NO.: NOT AVAILABLE


3.6079 HICKS, KRISTINA                        VARIOUS                              Litigation             UNDETERMINED
       1172 S MAIN STREET PMH #230
       17980 VERA CANYON ROAD        ACCOUNT NO.: NOT AVAILABLE
       PRUNEDALE, CA 93901


3.6080 HICKS, ROBERT                          VARIOUS                              Litigation             UNDETERMINED
       5020 PLUMBAGO PLACE
       ROCKLIN, CA 95677             ACCOUNT NO.: NOT AVAILABLE


3.6081 HICKS, YVONNE                          VARIOUS                              Litigation             UNDETERMINED
       21964 PHOENIX LAKE ROAD
       SONORA, CA 95370              ACCOUNT NO.: NOT AVAILABLE


3.6082 HIDALGO V. PGE                         VARIOUS                              Litigation             UNDETERMINED
       WHITE OAK LANE
       SANTA CLARA, CA               ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6083 HIDIVE-FREIBURGER, ASHLEY              VARIOUS                              Litigation             UNDETERMINED
       PIER 28 1/2
       SAN FRANCISCO, CA 94105       ACCOUNT NO.: NOT AVAILABLE


3.6084 HIEBERT, SHEILA                        VARIOUS                              Litigation             UNDETERMINED
       25410 VIA MARIQUITA
       CARMEL, CA 93923              ACCOUNT NO.: NOT AVAILABLE


3.6085 HIGAREDA, FRANCISCO                    VARIOUS                              Litigation             UNDETERMINED
       1581 164TH AVE., APT # 213
       SAN LEANDRO, CA 94578         ACCOUNT NO.: NOT AVAILABLE


3.6086 HIGGINS, GEORGE                        VARIOUS                              Litigation             UNDETERMINED
       6835 FOX RD
       DIXON, CA 95620               ACCOUNT NO.: NOT AVAILABLE


3.6087 HIGGINS, KRISTA                        VARIOUS                              Litigation             UNDETERMINED
       PO BOX 441
       7630 FOLSOM STREET            ACCOUNT NO.: NOT AVAILABLE
       GUINDA, CA 95637


3.6088 HIGH END DEVELOPMENT-                  VARIOUS                              Litigation             UNDETERMINED
       METZGER, JAMES
       5600 IMHOFF DRIVE             ACCOUNT NO.: NOT AVAILABLE
       E
       CONCORD, CA 94520


3.6089 HIGH MEADOW LANE ASSOC.                VARIOUS                              Litigation             UNDETERMINED
       24571 SILVER CLOUD COURT
       #101                          ACCOUNT NO.: NOT AVAILABLE
       MONTEREY, CA 93940


3.6090 HIGH SCORES ARCADE-                    VARIOUS                              Litigation             UNDETERMINED
       LIVERNOCHE, MEGAN
       1051 B ST # B                 ACCOUNT NO.: NOT AVAILABLE
       HAYWARD, CA 94541


3.6091 HIGH SIERRA ELECTRONICS-               VARIOUS                              Litigation             UNDETERMINED
       WEAVER, MARI
       155 SPRING HILL DRIVE         ACCOUNT NO.: NOT AVAILABLE
       SUITE 106
       GRASS VALLEY, CA 95949


3.6092 HIGH TECH-KELCHIAN, GEORGE             VARIOUS                              Litigation             UNDETERMINED
       251 CALIFORNIA DR
       HATCH LN                      ACCOUNT NO.: NOT AVAILABLE
       BURLINGAME, CA 94010




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Litigation & Disputes

3.6093 HIGHET, JENNIFER                       VARIOUS                              Litigation             UNDETERMINED
       2811 NORTH STREET
       ANDERSON, CA 96007            ACCOUNT NO.: NOT AVAILABLE


3.6094 HIGHFILL, DENISE                       VARIOUS                              Litigation             UNDETERMINED
       3122 E. FOREST LAKE RD.
       ACAMPO, CA 95220              ACCOUNT NO.: NOT AVAILABLE


3.6095 HIGHRIDGE MANOR-YUDELL,                VARIOUS                              Litigation             UNDETERMINED
       LANE
       5458 HIGH RIDGE RD            ACCOUNT NO.: NOT AVAILABLE
       PASO ROBLES, CA 93446


3.6096 HIGHWAY 29 WINE BISTRO-                VARIOUS                              Litigation             UNDETERMINED
       CHEN, RICK
       1300 HOWARD AVENUE            ACCOUNT NO.: NOT AVAILABLE
       BURLINGAME, CA 94010


3.6097 HIGHWAY 58 LLC-VOGEL, BOB              VARIOUS                              Litigation             UNDETERMINED
       300 PASEO TESORO
       WALNUT, CA 91789              ACCOUNT NO.: NOT AVAILABLE


3.6098 HIGUERA, EMILY                         VARIOUS                              Litigation             UNDETERMINED
       7 SHEPHERDS PLACE
       MONTEREY, CA 93940            ACCOUNT NO.: NOT AVAILABLE


3.6099 HIJAZEEN, RAMI                         VARIOUS                              Litigation             UNDETERMINED
       9802 SNOW DR.
       SAN JOSE, CA 95111            ACCOUNT NO.: NOT AVAILABLE


3.6100 HILBELINK, JULIE                       VARIOUS                              Litigation             UNDETERMINED
       5690 SCHOONER LOOP
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.6101 HILBERS NEW HOME                       VARIOUS                              Litigation             UNDETERMINED
       COMMUNITIES LP-LUNA,
       CONRAD                        ACCOUNT NO.: NOT AVAILABLE
       770 N WALTON AVE
       SUITE 600
       YUBA CITY, CA 95993


3.6102 HILBERT, EVELYN                        VARIOUS                              Litigation             UNDETERMINED
       9050 HIGHLAND RD
       LIVERMORE, CA 94551-9406      ACCOUNT NO.: NOT AVAILABLE


3.6103 HILFER, MONIQUE                        VARIOUS                              Litigation             UNDETERMINED
       981 CABERNET COURT
       MURPHYS, CA 95247             ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.6104 HILL& CO-GREENE, KIMBERLY              VARIOUS                              Litigation             UNDETERMINED
       371 BEL MARIN KEYS #120
       NOVATO, CA 94949              ACCOUNT NO.: NOT AVAILABLE


3.6105 HILL, BARRON                           VARIOUS                              Litigation             UNDETERMINED
       8559 BANFF VISTA DR
       ELK GROVE, CA 95624           ACCOUNT NO.: NOT AVAILABLE


3.6106 HILL, CLAY                             VARIOUS                              Litigation             UNDETERMINED
       PO BOX 55
       MI WUK VILLAGE, CA 95346      ACCOUNT NO.: NOT AVAILABLE


3.6107 HILL, COURTNEY                         VARIOUS                              Litigation             UNDETERMINED
       1029 N THORNE AVE
       FRESNO, CA 93728              ACCOUNT NO.: NOT AVAILABLE


3.6108 HILL, DAVID                            VARIOUS                              Litigation             UNDETERMINED
       21024 LANA TEUMETE RD
       PO BOX 481                    ACCOUNT NO.: NOT AVAILABLE
       MI WUK VILLAGE, CA 95346


3.6109 HILL, ED                               VARIOUS                              Litigation             UNDETERMINED
       PO BOX 3088
       CLEARLAKE, CA 95422           ACCOUNT NO.: NOT AVAILABLE


3.6110 HILL, FRED                             VARIOUS                              Litigation             UNDETERMINED
       3616 ECHO SPRINGS RD
       LAFAYETTE, CA 94599           ACCOUNT NO.: NOT AVAILABLE


3.6111 HILL, JOSEPH                           VARIOUS                              Litigation             UNDETERMINED
       PO BOX 2214
       ARNOLD, CA 95223              ACCOUNT NO.: NOT AVAILABLE


3.6112 HILL, KENDAL                           VARIOUS                              Litigation             UNDETERMINED
       5569 BIG OAK DR
       SAN JOSE, CA 95129            ACCOUNT NO.: NOT AVAILABLE


3.6113 HILL, KIMBERLY                         VARIOUS                              Litigation             UNDETERMINED
       121 MENTEL AVE
       SANTA CRUZ, CA 95062          ACCOUNT NO.: NOT AVAILABLE


3.6114 HILL, MAJORIE                          VARIOUS                              Litigation             UNDETERMINED
       PO BOX 55
       24852 HWY 108                 ACCOUNT NO.: NOT AVAILABLE
       MI WUK VILLAGE, CA 95346




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Litigation & Disputes

3.6115 HILL, MARJORIE                         VARIOUS                              Litigation             UNDETERMINED
       PO BOX 55
       24582 HIGHWAY 108             ACCOUNT NO.: NOT AVAILABLE
       MI WUK VILLAGE, CA 95346


3.6116 HILL, MARJORIE                         VARIOUS                              Litigation             UNDETERMINED
       PO BOX 55
       MI WUK VILLAGE, CA 95346      ACCOUNT NO.: NOT AVAILABLE


3.6117 HILL, MARVIN                           VARIOUS                              Litigation             UNDETERMINED
       15960 VIA PARO
       SAN LORENZO, CA 94580         ACCOUNT NO.: NOT AVAILABLE


3.6118 HILL, ROXANNE                          VARIOUS                              Litigation             UNDETERMINED
       2196 FALCON RIDGE LANE
       LOS OSOS, CA 93402            ACCOUNT NO.: NOT AVAILABLE


3.6119 HILL, TRAVIS                           VARIOUS                              Litigation             UNDETERMINED
       1832 WOODSIDE ROAD
       REDWOOD CITY, CA 94061        ACCOUNT NO.: NOT AVAILABLE


3.6120 HILL, VERONICA                         VARIOUS                              Litigation             UNDETERMINED
       3500 GOLD CREEK LN
       SACRAMENTO, CA 95827          ACCOUNT NO.: NOT AVAILABLE


3.6121 HILLEBRAND, J.F                        VARIOUS                              Litigation             UNDETERMINED
       539 STONE RD
       BENICIA, CA 94510             ACCOUNT NO.: NOT AVAILABLE


3.6122 HILLER HIGHLANDS FOUR                  VARIOUS                              Litigation             UNDETERMINED
       ASSOCIATION-SCHINDLER,
       WALTER                        ACCOUNT NO.: NOT AVAILABLE
       30 SCHOONER HILL
       OAKLAND, CA 94618


3.6123 HILLER-MEDEXPERT                       VARIOUS                              Litigation             UNDETERMINED
       INTERNATIONAL, JEFF
       PO BOX 7550                   ACCOUNT NO.: NOT AVAILABLE
       MENLO PARK, CA 94026


3.6124 HILLIARD, HOWARD                       VARIOUS                              Litigation             UNDETERMINED
       32 1ST ST
       RICHMOND, CA 94801            ACCOUNT NO.: NOT AVAILABLE


3.6125 HILLIKER, JOVITA                       VARIOUS                              Litigation             UNDETERMINED
       18999 MORO RD
       SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.6126 HILLMAN, WILLIAM                       VARIOUS                              Litigation             UNDETERMINED
       2561 FINCHWOOD LANDING
       LANE                          ACCOUNT NO.: NOT AVAILABLE
       990 MONGOMERY
       MOLELUMNE HILLS, CA 95336


3.6127 HILLSIDE MARKET INC-                   VARIOUS                              Litigation             UNDETERMINED
       HUSSAIN, AYAD
       1165 HILLSIDE BLVD            ACCOUNT NO.: NOT AVAILABLE
       COLMA, CA 94014


3.6128 HILLSTROM, JOHN                        VARIOUS                              Litigation             UNDETERMINED
       251 MARNELL AVE
       SANTA CRUZ, CA 95062          ACCOUNT NO.: NOT AVAILABLE


3.6129 HILLVIEW DAIRY FARM-                   VARIOUS                              Litigation             UNDETERMINED
       ANDERSON, JIMMIE
       12250 W LINCOLN AVE           ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93706


3.6130 HILTON BIRD, DARLENE                   VARIOUS                              Litigation             UNDETERMINED
       1109 FUNSTON AVE
       PACIFIC GROVE, CA 93950       ACCOUNT NO.: NOT AVAILABLE


3.6131 HIMELSTEIN, MARK                       VARIOUS                              Litigation             UNDETERMINED
       PO BOX 812
       SODA SPRINGS, CA 95728        ACCOUNT NO.: NOT AVAILABLE


3.6132 HIMMEL, JOE                            VARIOUS                              Litigation             UNDETERMINED
       JOE HIMMEL
       P.O BOX 401                   ACCOUNT NO.: NOT AVAILABLE
       PLYMOUTH, CA 95669


3.6133 HIMMEL, JOSEPH                         VARIOUS                              Litigation             UNDETERMINED
       6195 LONE BARN RD
       SOMERSET, CA 95684            ACCOUNT NO.: NOT AVAILABLE


3.6134 HINES, GEORGE                          VARIOUS                              Litigation             UNDETERMINED
       16731 HICKS RD
       LOS GATOS, CA 95032           ACCOUNT NO.: NOT AVAILABLE


3.6135 HINES, KEN                             VARIOUS                              Litigation             UNDETERMINED
       PO BOX 2791
       CERES, CA 95307               ACCOUNT NO.: NOT AVAILABLE


3.6136 HINES, LARRY                           VARIOUS                              Litigation             UNDETERMINED
       P.O. BOX 671
       5 BUCK MTN RD.                ACCOUNT NO.: NOT AVAILABLE
       CARMEL VALLEY, CA 93924

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Litigation & Disputes

3.6137 HINES, LETHA                           VARIOUS                              Litigation             UNDETERMINED
       152 DAVIS LANE
       AUBURN, CA 95603              ACCOUNT NO.: NOT AVAILABLE


3.6138 HING YUE INC DBA SAN BRUNO             VARIOUS                              Litigation             UNDETERMINED
       MARKET, LIEN, ANDREW
       2480 SAN BRUNO AVENUE         ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94134


3.6139 HING YUE INC, LIEN, ANDREW             VARIOUS                              Litigation             UNDETERMINED
       2480 SAN BRUNO AVENUE
       SAN FRANCISCO, CA 94134       ACCOUNT NO.: NOT AVAILABLE


3.6140 HINOJOS, DENISE                        VARIOUS                              Litigation             UNDETERMINED
       5341 LAWRENCE DRIVE
       SACRAMENTO, CA 95820          ACCOUNT NO.: NOT AVAILABLE


3.6141 HINSON, KATHERINE                      VARIOUS                              Litigation             UNDETERMINED
       1508 N CALAVERAS STREET
       FRESNO, CA 93728              ACCOUNT NO.: NOT AVAILABLE


3.6142 HINTZ, LORETTA                         VARIOUS                              Litigation             UNDETERMINED
       CALLAWAY & WOLF
       150 POST STREET, SUITE 600    ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94108


3.6143 HINZ, TOM                              VARIOUS                              Litigation             UNDETERMINED
       5928 STOVER ROAD
       BLUE LAKE, CA 95525           ACCOUNT NO.: NOT AVAILABLE


3.6144 HIPON, ALBERT                          VARIOUS                              Litigation             UNDETERMINED
       1328 46TH AVE
       SAN FRANCISCO, CA 94122       ACCOUNT NO.: NOT AVAILABLE


3.6145 HIRALEZ, NICHOLAS-LYDIA                VARIOUS                              Litigation             UNDETERMINED
       MORENO
       1500 POPOLI WAY               ACCOUNT NO.: NOT AVAILABLE
       MADERA, CA 93638


3.6146 HIRSCHMAN, VALERIE                     VARIOUS                              Litigation             UNDETERMINED
       260 LARIAT STREET
       POPE VALLEY, CA 94567         ACCOUNT NO.: NOT AVAILABLE


3.6147 HIRST, JONATHON                        VARIOUS                              Litigation             UNDETERMINED
       1850 SHELLEY DR.
       SANTA ROSA, CA 95401          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6148 HIS GLORIOUS RUB - GLASPEY,            VARIOUS                              Litigation             UNDETERMINED
       MEL
       3135 BOEING AVE A8            ACCOUNT NO.: NOT AVAILABLE
       MCKINLEYVILLE, CA 95519


3.6149 HISSAMI, FAHIMA                        VARIOUS                              Litigation             UNDETERMINED
       535 LAKESIDE DRIVE
       LATHROP, CA 95330             ACCOUNT NO.: NOT AVAILABLE


3.6150 HITCHCOCK, GERRY                       VARIOUS                              Litigation             UNDETERMINED
       13100 PASEO BARRANCO
       SALINAS, CA 93908             ACCOUNT NO.: NOT AVAILABLE


3.6151 HITCHING, BOB                          VARIOUS                              Litigation             UNDETERMINED
       26270 TAAFFE RD
       LOS ALTOS HILLS, CA 94022     ACCOUNT NO.: NOT AVAILABLE


3.6152 HITTLE, BEN                            VARIOUS                              Litigation             UNDETERMINED
       16201 1ST STREET
       COBB, CA                      ACCOUNT NO.: NOT AVAILABLE


3.6153 HJVC56-ROSE, KEVIN                     VARIOUS                              Litigation             UNDETERMINED
       3082 SANTA MARIA COURT
       CONCORD, CA 94518             ACCOUNT NO.: NOT AVAILABLE


3.6154 HKM II, LLC (DBA BURGER                VARIOUS                              Litigation             UNDETERMINED
       KING), STORE #13730
       11185 COMMERICAL PARKWAY,     ACCOUNT NO.: NOT AVAILABLE
       SUITE A
       131 AUO CENTER DR
       SALINAS, CA 93907


3.6155 HKM II, LLC (DBA BURGER                VARIOUS                              Litigation             UNDETERMINED
       KING), STORE #16078
       11185 COMMERICAL PARKWAY,     ACCOUNT NO.: NOT AVAILABLE
       SUITE A
       1589 N SANBORN RD
       SALINAS, CA 93905


3.6156 HKM II, LLC (DBA BURGER                VARIOUS                              Litigation             UNDETERMINED
       KING), STORE #5996
       11185 COMMERICAL PARKWAY,     ACCOUNT NO.: NOT AVAILABLE
       SUITE A
       11290 MERRITT STREET
       CASTROVILLE, CA




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6157 HKM II, LLC (DBA BURGER                VARIOUS                              Litigation             UNDETERMINED
       KING), STORE NUMBER 6054
       11185 COMMERICAL PARKWAY,     ACCOUNT NO.: NOT AVAILABLE
       SUITE A
       9083 SAN MIGUEL CANYON RD
       PRUNDALE, CA 93907


3.6158 HMDA INC KWIK SERU, ARIKAT,            VARIOUS                              Litigation             UNDETERMINED
       SULIMAN
       2701 EL PORTAL DRIVE          ACCOUNT NO.: NOT AVAILABLE
       SAN PABLO, CA 94806


3.6159 HMWE, MA KYIN                          VARIOUS                              Litigation             UNDETERMINED
       186 RIO VERDE ST
       DALY CITY, CA 94014           ACCOUNT NO.: NOT AVAILABLE


3.6160 HO, ALBERT                             VARIOUS                              Litigation             UNDETERMINED
       2729 BURLINGVIEW DRIVE
       BURLINGAME, CA 94010          ACCOUNT NO.: NOT AVAILABLE


3.6161 HO, BENNY                              VARIOUS                              Litigation             UNDETERMINED
       425 GARDENSIDE AVE
       SOUTH SAN FRANCISCO, CA       ACCOUNT NO.: NOT AVAILABLE
       94080


3.6162 HO, EAMON                              VARIOUS                              Litigation             UNDETERMINED
       38 WALNUT AVE
       ATHERTON, CA 94027            ACCOUNT NO.: NOT AVAILABLE


3.6163 HO, MAUREEN                            VARIOUS                              Litigation             UNDETERMINED
       1 VIOLA STREET
       SSF, CA 94080                 ACCOUNT NO.: NOT AVAILABLE


3.6164 HO, PATRICK                            VARIOUS                              Litigation             UNDETERMINED
       22600 ALPINE DR
       CUPERTINO, CA 95014           ACCOUNT NO.: NOT AVAILABLE


3.6165 HO, ROBERT                             VARIOUS                              Litigation             UNDETERMINED
       130 NURSERY WAY
       SOUTH SAN FRANCISCO, CA       ACCOUNT NO.: NOT AVAILABLE
       94080


3.6166 HOALTON, JAMES                         VARIOUS                              Litigation             UNDETERMINED
       3800 PRYOR CT.
       FORTUNA, CA 95540             ACCOUNT NO.: NOT AVAILABLE


3.6167 HOANG, CATHERINE                       VARIOUS                              Litigation             UNDETERMINED
       757 LIVE OAK WAY
       SAN JOSE, CA 95129            ACCOUNT NO.: NOT AVAILABLE

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Litigation & Disputes

3.6168 HOANG, CYNTHIA                         VARIOUS                              Litigation             UNDETERMINED
       6902 PLUM RANCH ROAD
       SANTA ROSA, CA 95404          ACCOUNT NO.: NOT AVAILABLE


3.6169 HOBBS, ALEXANDER                       VARIOUS                              Litigation             UNDETERMINED
       76 KAREN CT.
       SAN FRANCISCO, CA 94134       ACCOUNT NO.: NOT AVAILABLE


3.6170 HOBBS, LORI                            VARIOUS                              Litigation             UNDETERMINED
       3485 STABLE LN
       SANTA CRUZ, CA 95065          ACCOUNT NO.: NOT AVAILABLE


3.6171 HOBBS, STEPHEN                         VARIOUS                              Litigation             UNDETERMINED
       52 CAPANNA
       PISMO BEACH, CA 93449         ACCOUNT NO.: NOT AVAILABLE


3.6172 HOBSON, ANTHONY                        VARIOUS                              Litigation             UNDETERMINED
       568 CAMINO CABALLO
       NIPOMO, CA 93444              ACCOUNT NO.: NOT AVAILABLE


3.6173 HOCKETT, KENNETH                       VARIOUS                              Litigation             UNDETERMINED
       PO BOX 1002
       TUOLUMNE, CA 95379            ACCOUNT NO.: NOT AVAILABLE


3.6174 HODGE, JULIUS                          VARIOUS                              Litigation             UNDETERMINED
       3597 BRAXTON CMN
       FREMONT, CA 94538             ACCOUNT NO.: NOT AVAILABLE


3.6175 HODGSON, CHRIS                         VARIOUS                              Litigation             UNDETERMINED
       126 MENTEL AVE
       SANTA CRUZ, CA 95062          ACCOUNT NO.: NOT AVAILABLE


3.6176 HODGSON, DOROTHY                       VARIOUS                              Litigation             UNDETERMINED
       15388 CAMINO DEL PARQUE N
       SONORA, CA 95370              ACCOUNT NO.: NOT AVAILABLE


3.6177 HOFFMAN & ANDERSON LLP,                VARIOUS                              Litigation             UNDETERMINED
       DOROTHY HOFFMAN
       302 W. SIERRA MADRE BLVD      ACCOUNT NO.: NOT AVAILABLE
       SIERRA MADRE, CA 91024


3.6178 HOFFMAN INSTITUTE                      VARIOUS                              Litigation             UNDETERMINED
       FOUNDATION-CLEMENTI, LEENA
       1299 FOURTH ST., 6TH FLOOR    ACCOUNT NO.: NOT AVAILABLE
       SAN RAFAEL, CA 94901




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Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.6179 HOFFMAN, LANE                           VARIOUS                              Litigation             UNDETERMINED
       1268 CHEZEN RD
       BLUE LAKE, CA 95525            ACCOUNT NO.: NOT AVAILABLE


3.6180 HOFFMAN, PAUL                           VARIOUS                              Litigation             UNDETERMINED
       209 KINGSBURY DR
       APTOS, CA 95003                ACCOUNT NO.: NOT AVAILABLE


3.6181 HOFFMAN, TIMOTHY                        VARIOUS                              Litigation             UNDETERMINED
       7092 SIERRA PINES
       TWIN BRIDGES, CA 95721         ACCOUNT NO.: NOT AVAILABLE


3.6182 HOFFMANN, ERIK                          VARIOUS                              Litigation             UNDETERMINED
       16095 CEDAR HEIGHTS DR
       PIONEER, CA 95666              ACCOUNT NO.: NOT AVAILABLE


3.6183 HOG ISLAND OYSTER CO., INC.-            VARIOUS                              Litigation             UNDETERMINED
       SAWYER, TERRY
       20215 SHORELINE HWY #1         ACCOUNT NO.: NOT AVAILABLE
       MARSHALL, CA 94940


3.6184 HOGAN, LYNLEY                           VARIOUS                              Litigation             UNDETERMINED
       230 TAIT AVE
       LOS GATOS, CA 95030            ACCOUNT NO.: NOT AVAILABLE


3.6185 HOGE, JOHN                              VARIOUS                              Litigation             UNDETERMINED
       PO BOX 67090
       SCOTTS VALLEY, CA 95067        ACCOUNT NO.: NOT AVAILABLE


3.6186 HOGGE, ROBERT & BARBARA                 VARIOUS                              Litigation             UNDETERMINED
       294 PAUL AVE.
       SALINAS, CA 93906              ACCOUNT NO.: NOT AVAILABLE


3.6187 HOGGE, ROBERT AND BARBARA               VARIOUS                              Litigation             UNDETERMINED
       294 PAUL AVENUE
       SALINAS, CA 93906              ACCOUNT NO.: NOT AVAILABLE


3.6188 HOGGES, LOVERDA                         VARIOUS                              Litigation             UNDETERMINED
       6180 SHANIA COURT
       ATWATER, CA 95301              ACCOUNT NO.: NOT AVAILABLE


3.6189 HOGLE, STEVE                            VARIOUS                              Litigation             UNDETERMINED
       8950 CHALK HILL ROAD
       HEALDSBURG, CA 95448           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6190 HOGUE, BETTY                           VARIOUS                              Litigation             UNDETERMINED
       4029 EL CORAL COURT
       SAN JOSE, CA 95118            ACCOUNT NO.: NOT AVAILABLE


3.6191 HOGUE, GREGORY                         VARIOUS                              Litigation             UNDETERMINED
       150 HAZELWOOD AVE
       SAN FRANCISCO, CA 94112       ACCOUNT NO.: NOT AVAILABLE


3.6192 HOGUE, HEATHER                         VARIOUS                              Litigation             UNDETERMINED
       19463 LUCILLE STREET
       ANDERSON, CA 96001            ACCOUNT NO.: NOT AVAILABLE


3.6193 HOLBROOK, JANICE                       VARIOUS                              Litigation             UNDETERMINED
       14008 BEAR MOUNTAIN RD
       REDDING, CA 96003             ACCOUNT NO.: NOT AVAILABLE


3.6194 HOLCOMB, ROBERT                        VARIOUS                              Litigation             UNDETERMINED
       P.O. BOX 571
       COLFAX, CA 95713              ACCOUNT NO.: NOT AVAILABLE


3.6195 HOLDEN, DIANE                          VARIOUS                              Litigation             UNDETERMINED
       901 33RD ST
       RICHMOND, CA 94804            ACCOUNT NO.: NOT AVAILABLE


3.6196 HOLDENER, ALEJANDRA                    VARIOUS                              Litigation             UNDETERMINED
       779 YOSEMITE DR
       TRACY, CA 95304               ACCOUNT NO.: NOT AVAILABLE


3.6197 HOLDENRIED, RALF                       VARIOUS                              Litigation             UNDETERMINED
       721 SEAVIEW DR
       EL CERRITO, CA 94530          ACCOUNT NO.: NOT AVAILABLE


3.6198 HOLDRIDGE, CHRISTINA                   VARIOUS                              Litigation             UNDETERMINED
       7196 OAK TREE PL
       MONTEREY, CA 93940            ACCOUNT NO.: NOT AVAILABLE


3.6199 HOLE IN THE WALL-MACINNIS,             VARIOUS                              Litigation             UNDETERMINED
       AMY
       972 GRAVENSTEIN HWY S         ACCOUNT NO.: NOT AVAILABLE
       SUITE 100
       SEBASTOPOL, CA 95472


3.6200 HOLIDAY, JEROME                        VARIOUS                              Litigation             UNDETERMINED
       161 TABOR AVENUE
       FAIRFIELD, CA 94533           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.6201 HOLLAND, CLYDE                         VARIOUS                              Litigation             UNDETERMINED
       16630 CHARLES SCHELL LN
       ROYAL OAKS, CA 95076          ACCOUNT NO.: NOT AVAILABLE


3.6202 HOLLAND, ELWOOD                        VARIOUS                              Litigation             UNDETERMINED
       3400 WOODPECKER CT
       GEORGETOWN, CA 95634          ACCOUNT NO.: NOT AVAILABLE


3.6203 HOLLAND, GEORGIA                       VARIOUS                              Litigation             UNDETERMINED
       3001 S CHESTER AVENUE
       BAKERSFIELD, CA 93304         ACCOUNT NO.: NOT AVAILABLE


3.6204 HOLLENBACK, LYNN                       VARIOUS                              Litigation             UNDETERMINED
       417 PARK WAY
       LAKEPORT, CA 95453            ACCOUNT NO.: NOT AVAILABLE


3.6205 HOLLIDAY, MICHAEL                      VARIOUS                              Litigation             UNDETERMINED
       5109 ALDER DR
       CAMINO, CA 95709              ACCOUNT NO.: NOT AVAILABLE


3.6206 HOLLINGSWORTH, MANDIE                  VARIOUS                              Litigation             UNDETERMINED
       5504 CROSSBILL LANE
       EL DORADO, CA 95623           ACCOUNT NO.: NOT AVAILABLE


3.6207 HOLLINGSWORTH, MARK                   VARIOUS                               Litigation             UNDETERMINED
       16528 GREENRIDGE RD
       HIDDEN VALLEY LAKE, CA 95467- ACCOUNT NO.: NOT AVAILABLE
       8252


3.6208 HOLLISTER, SARAH JANE                  VARIOUS                              Litigation             UNDETERMINED
       7835 CANYON MEADOW CIR
       APT C                         ACCOUNT NO.: NOT AVAILABLE
       PLEASANTON, CA 94588


3.6209 HOLLOMAN, JOEL                         VARIOUS                              Litigation             UNDETERMINED
       2416 N MAIN STREET UNIT E
       SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.6210 HOLLOWAY, JULIE                        VARIOUS                              Litigation             UNDETERMINED
       12055 SHAVE LANE
       REDDING, CA 96003             ACCOUNT NO.: NOT AVAILABLE


3.6211 HOLLYBURNE ENTERPRISES,                VARIOUS                              Litigation             UNDETERMINED
       LLC-KANG, HOLLI
       PO BOX 1108                   ACCOUNT NO.: NOT AVAILABLE
       PALO ALTO, CA 94302




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6212 HOLM, KAILA                            VARIOUS                              Litigation             UNDETERMINED
       617 BRISTOL CT
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.6213 HOLMAN, BELVA                          VARIOUS                              Litigation             UNDETERMINED
       730 WATERLOO AVE.
       EL CAJON, CA 92019            ACCOUNT NO.: NOT AVAILABLE


3.6214 HOLOD, MICHAEL                         VARIOUS                              Litigation             UNDETERMINED
       2985 FRYE ST.
       MAPLE STREET, OAKLAND, CA.    ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94602


3.6215 HOLT OF CA                             VARIOUS                              Litigation             UNDETERMINED
       ATTN: KYLE TURK
       P.O. BOX 100001               ACCOUNT NO.: NOT AVAILABLE
       SACRAMENTO, CA 95813


3.6216 HOLT OF CA-GARCIA, ANGELA              VARIOUS                              Litigation             UNDETERMINED
       PO BOX 100001
       SACRAMENTO, CA 95813          ACCOUNT NO.: NOT AVAILABLE


3.6217 HOLT OF CA-GARCIA, ANGELA              VARIOUS                              Litigation             UNDETERMINED
       PO BOX 100001
       SACRAMENTO, CA 95813          ACCOUNT NO.: NOT AVAILABLE


3.6218 HOLT OF CA-GARCIA, ANGELA              VARIOUS                              Litigation             UNDETERMINED
       PO BOX 100001
       SACRAMENTO, CA 95813          ACCOUNT NO.: NOT AVAILABLE


3.6219 HOLT OF CA-GARCIA, ANGELA              VARIOUS                              Litigation             UNDETERMINED
       PO BOX 100001
       SACRAMENTO, CA 95813          ACCOUNT NO.: NOT AVAILABLE


3.6220 HOLT OF CA-GARCIA, ANGELA              VARIOUS                              Litigation             UNDETERMINED
       PO BOX 100001
       SACRAMENTO, CA 95813          ACCOUNT NO.: NOT AVAILABLE


3.6221 HOLT OF CA-GARCIA, ANGELA              VARIOUS                              Litigation             UNDETERMINED
       PO BOX 100001
       SACRAMENTO, CA 95813          ACCOUNT NO.: NOT AVAILABLE


3.6222 HOLT OF CA-GARCIA, ANGELA              VARIOUS                              Litigation             UNDETERMINED
       PO BOX 100001
       SACRAMENTO, CA 95813          ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.6223 HOLT OF CA-GARCIA, ANGELA              VARIOUS                              Litigation             UNDETERMINED
       PO BOX 100001
       SACRAMENTO, CA 95813          ACCOUNT NO.: NOT AVAILABLE


3.6224 HOLT OF CALIFORNIA INC,                VARIOUS                              Litigation             UNDETERMINED
       ALLYN TYLOR
       1000 INDUSTRIAL AVENUE        ACCOUNT NO.: NOT AVAILABLE
       TECHNOLOGY COURT,
       FREMONT
       ROSEVILLE, CA 95826


3.6225 HOLT OF CALIFORNIA INC,                VARIOUS                              Litigation             UNDETERMINED
       ALLYN TYLOR
       1000 INDUSTRIAL AVENUE        ACCOUNT NO.: NOT AVAILABLE
       TECHNOLOGY COURT,
       FREMONT
       ROSEVILLE, CA 95826


3.6226 HOLT OF CALIFORNIA-GARCIA,             VARIOUS                              Litigation             UNDETERMINED
       ANGELA
       PO BOX 100001                 ACCOUNT NO.: NOT AVAILABLE
       SACRAMENTO, CA 95813


3.6227 HOLT, CATHY                            VARIOUS                              Litigation             UNDETERMINED
       5905 WOODBRIDGE WAY
       ROCKLIN, CA 95677             ACCOUNT NO.: NOT AVAILABLE


3.6228 HOLT, ROBERT                           VARIOUS                              Litigation             UNDETERMINED
       165 BROOK LN
       BOULDER CREEK, CA 95006       ACCOUNT NO.: NOT AVAILABLE


3.6229 HOLTMAN, TYLER                         VARIOUS                              Litigation             UNDETERMINED
       75 MARY LANE
       RED BLUFF, CA 96080           ACCOUNT NO.: NOT AVAILABLE


3.6230 HOLTZ, RICHARD                         VARIOUS                              Litigation             UNDETERMINED
       568 SHORELINE HWY
       MILL VALLEY, CA 94941-3775    ACCOUNT NO.: NOT AVAILABLE


3.6231 HOLTZMAN, ELOIT                        VARIOUS                              Litigation             UNDETERMINED
       50 C STREET
       SAN RAFAEL, CA 94901          ACCOUNT NO.: NOT AVAILABLE


3.6232 HOLY ROSARY SCHOOL-                    VARIOUS                              Litigation             UNDETERMINED
       FAJARDO, FELY
       25 E. 15TH STREET             ACCOUNT NO.: NOT AVAILABLE
       ANTIOCH, CA 94509




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6233 HOLY ROSARY SCHOOL-                    VARIOUS                              Litigation             UNDETERMINED
       FAJARDO, FELY
       25 E. 15TH STREET             ACCOUNT NO.: NOT AVAILABLE
       ANTIOCH, CA 94509


3.6234 HOLZMAN, ALLEN                         VARIOUS                              Litigation             UNDETERMINED
       23000 STONEBRIDGE
       CUPERTINO, CA 95014-5641      ACCOUNT NO.: NOT AVAILABLE


3.6235 HOM, CHRISTINE                         VARIOUS                              Litigation             UNDETERMINED
       103 JEWELL ST
       SAN RAFAEL, CA 94901          ACCOUNT NO.: NOT AVAILABLE


3.6236 HOM, GALE                              VARIOUS                              Litigation             UNDETERMINED
       154 22ND AVE
       SAN FRANCISCO, CA 94121       ACCOUNT NO.: NOT AVAILABLE


3.6237 HOM, HELENA                            VARIOUS                              Litigation             UNDETERMINED
       727 19TH AVE
       SAN FRANCISCO, CA 94121       ACCOUNT NO.: NOT AVAILABLE


3.6238 HOM, JASON                             VARIOUS                              Litigation             UNDETERMINED
       900 15TH STREET
       SACRAMENTO, CA 95814          ACCOUNT NO.: NOT AVAILABLE


3.6239 HOM, JENNIFER                          VARIOUS                              Litigation             UNDETERMINED
       1823 FOOTHILL BOULEVARD
       CALISTOGA, CA 94515           ACCOUNT NO.: NOT AVAILABLE


3.6240 HOMAIFARD, MOHAMMAD                    VARIOUS                              Litigation             UNDETERMINED
       420 KULA GULF WAY
       APT#103                       ACCOUNT NO.: NOT AVAILABLE
       ALBANY, CA 94706


3.6241 HOMAN, FREDRICK                        VARIOUS                              Litigation             UNDETERMINED
       650 HOLLOWAY RD #105
       GILROY, CA 95020              ACCOUNT NO.: NOT AVAILABLE


3.6242 HOME RESIDENT-KELLER, JOEY             VARIOUS                              Litigation             UNDETERMINED
       2225 DONOVAN DR.
       LINCOLN, CA 95648             ACCOUNT NO.: NOT AVAILABLE


3.6243 HOME-AGUILAR, ELMER                    VARIOUS                              Litigation             UNDETERMINED
       333 CATALPA ST.
       8                             ACCOUNT NO.: NOT AVAILABLE
       SAN MATEO, CA 94401




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Litigation & Disputes

3.6244 HOME-AHMADI, RAMIN                     VARIOUS                              Litigation             UNDETERMINED
       2218 WILLOW AVE
       BAY POINT, CA 94565           ACCOUNT NO.: NOT AVAILABLE


3.6245 HOME-BELTRAN, GLADYS                   VARIOUS                              Litigation             UNDETERMINED
       1827 JUNE AVENUE
       BAKERSFIELD, CA 93304         ACCOUNT NO.: NOT AVAILABLE


3.6246 HOME-KIM, KRIS                         VARIOUS                              Litigation             UNDETERMINED
       220 OAKVIEW DRIVE
       SAN CARLOS, CA 94070          ACCOUNT NO.: NOT AVAILABLE


3.6247 HOME-KNOTTS, VANICE                    VARIOUS                              Litigation             UNDETERMINED
       4413 UNDERWOOD DR.
       BAKERSFIELD, CA 93301         ACCOUNT NO.: NOT AVAILABLE


3.6248 HOME-REDDY, RAJ                        VARIOUS                              Litigation             UNDETERMINED
       19688 BRAEMAR DRIVE
       SARATOGA, CA 95070            ACCOUNT NO.: NOT AVAILABLE


3.6249 HOMES ASSOCIATION,                     VARIOUS                              Litigation             UNDETERMINED
       HUCKLEBERRY ISLAND
       17 HUCKLEBERRY ISLAND         ACCOUNT NO.: NOT AVAILABLE
       BROOKDALE, CA


3.6250 HOME-VAN SCIVER, JASON                 VARIOUS                              Litigation             UNDETERMINED
       18510 SKYLINE BLVD
       LOS GATOS, CA 95033           ACCOUNT NO.: NOT AVAILABLE


3.6251 HOME-WU, MINGXI                        VARIOUS                              Litigation             UNDETERMINED
       4017 MARTIN DR.
       SAN MATEO, CA 94403           ACCOUNT NO.: NOT AVAILABLE


3.6252 HOMRUN LIQUORS-TAWASHA,                VARIOUS                              Litigation             UNDETERMINED
       JAMIL
       1551 OCEAN AVE.               ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94112


3.6253 HOMSHER, NYAL                          VARIOUS                              Litigation             UNDETERMINED
       25591 3RD AVENUE
       LOS MOLINOS, CA 96055         ACCOUNT NO.: NOT AVAILABLE


3.6254 HON, MATTHEW                           VARIOUS                              Litigation             UNDETERMINED
       19350 HESS
       SONORA, CA 95370              ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.6255 HONDA OF SANTA MARIA,                  VARIOUS                              Litigation             UNDETERMINED
       JESSICA RUFFONI
       700 E. BETTERAVIA RD.         ACCOUNT NO.: NOT AVAILABLE
       P.O. BOX 5759
       SANTA MARIA, CA 93456


3.6256 HONEGGER, LISA                         VARIOUS                              Litigation             UNDETERMINED
       1736 KIRKER PASS RD.
       APT C                         ACCOUNT NO.: NOT AVAILABLE
       CLAYTON, CA 94517


3.6257 HONG KONG CLAY POT                     VARIOUS                              Litigation             UNDETERMINED
       RESTAURANT
       960 GRANT AVENUE              ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94108


3.6258 HONG, CARLOS                           VARIOUS                              Litigation             UNDETERMINED
       50 VIOLA STREET
       SOUTH SAN FRANCISCO, CA       ACCOUNT NO.: NOT AVAILABLE
       94080


3.6259 HONG, CLIFFORD                         VARIOUS                              Litigation             UNDETERMINED
       2335 CHESTNUT ST #9
       SAN FRANCISCO, CA 94123       ACCOUNT NO.: NOT AVAILABLE


3.6260 HONG, JOON                             VARIOUS                              Litigation             UNDETERMINED
       PO BOX 361221
       MILPITAS, CA 95036            ACCOUNT NO.: NOT AVAILABLE


3.6261 HONG, WILSON                           VARIOUS                              Litigation             UNDETERMINED
       166 INVERNESS DR
       SAN FRANCISCO, CA 94132       ACCOUNT NO.: NOT AVAILABLE


3.6262 HOOD, HAROLD                           VARIOUS                              Litigation             UNDETERMINED
       PO BOX 605
       1675 EVERGREEN LANE           ACCOUNT NO.: NOT AVAILABLE
       ARNOLD, CA 95223


3.6263 HOOKER, CINDY                          VARIOUS                              Litigation             UNDETERMINED
       30574 CORRAL DR,
       COARSEGOLD, CA 93614          ACCOUNT NO.: NOT AVAILABLE


3.6264 HOOKSTRA, JAMES & PATRICIA             VARIOUS                              Litigation             UNDETERMINED
       P.O. BOX 1257
       DIAMOND SPRINGS, CA 95619     ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.6265 HOOPER, LEO                            VARIOUS                              Litigation             UNDETERMINED
       P O BOX 594
       6930 LOGGERS HOLLOW ROAD      ACCOUNT NO.: NOT AVAILABLE
       SOMERSET, CA 95684


3.6266 HOOPER, LISA                           VARIOUS                              Litigation             UNDETERMINED
       1729 JOHNSTON AVE
       SAN JOSE, CA 95125            ACCOUNT NO.: NOT AVAILABLE


3.6267 HOOSHMAND, MOHAMMAD                    VARIOUS                              Litigation             UNDETERMINED
       322 PALA AVENUE
       PEIDMONT, CA 94611            ACCOUNT NO.: NOT AVAILABLE


3.6268 HOOSIER ACRES, PURDON                  VARIOUS                              Litigation             UNDETERMINED
       HOLDINGS &
       ATTN: AARON STOLBERG          ACCOUNT NO.: NOT AVAILABLE
       1311 PATRICK AVE
       RENO, CA 89509


3.6269 HOPKINS SIMS, EDITH                    VARIOUS                              Litigation             UNDETERMINED
       1200 2ND ST
       BAKERSFIELD, CA 93304         ACCOUNT NO.: NOT AVAILABLE


3.6270 HOPKINS, ANTJONY                       VARIOUS                              Litigation             UNDETERMINED
       14662 EMORY AVE.
       B                             ACCOUNT NO.: NOT AVAILABLE
       CLEARLAKE, CA 95422


3.6271 HOPKINS, DAVID                         VARIOUS                              Litigation             UNDETERMINED
       4745 D'AGOSTINI DRIVE
       PO BOX 226                    ACCOUNT NO.: NOT AVAILABLE
       MOUNT AUKUM, CA 95656


3.6272 HOPKINS, ELLIS                         VARIOUS                              Litigation             UNDETERMINED
       2 PASO HONDA
       CARMEL VALLEY, CA 93924       ACCOUNT NO.: NOT AVAILABLE


3.6273 HOPKINS, TONI LEE                      VARIOUS                              Litigation             UNDETERMINED
       13001 A LINCOLN WAY
       AUBURN, CA 95603              ACCOUNT NO.: NOT AVAILABLE


3.6274 HOPPE, GARY                            VARIOUS                              Litigation             UNDETERMINED
       53689 N SHORE ROAD
       BASS LAKE, CA 93604           ACCOUNT NO.: NOT AVAILABLE


3.6275 HOPPER, VIVIAN                         VARIOUS                              Litigation             UNDETERMINED
       4004 MEADOWLARK LN
       NICE, CA 95464                ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6276 HORAN, GERARD                          VARIOUS                              Litigation             UNDETERMINED
       275 CLIFFORD AVE
       REDWOOD CITY, CA 94062        ACCOUNT NO.: NOT AVAILABLE


3.6277 HORICHI, BEN                           VARIOUS                              Litigation             UNDETERMINED
       3801 GLEASON
       SAN JOSE, CA 95130            ACCOUNT NO.: NOT AVAILABLE


3.6278 HORN, ANN                              VARIOUS                              Litigation             UNDETERMINED
       1028 HATCHCOVER PLACE
       MANTECA, CA 95337             ACCOUNT NO.: NOT AVAILABLE


3.6279 HORN, BENJAMIN                         VARIOUS                              Litigation             UNDETERMINED
       531 FEMCROFT CT.
       DANVILLE, CA 94526            ACCOUNT NO.: NOT AVAILABLE


3.6280 HORN, DANIEL                           VARIOUS                              Litigation             UNDETERMINED
       22053 CRYSTAL FALLS DR
       SONORA, CA 95370              ACCOUNT NO.: NOT AVAILABLE


3.6281 HORN, LAWRENCE & MARY                  VARIOUS                              Litigation             UNDETERMINED
       540 SHORELINE HWY
       MILL VALLEY, CA 94941         ACCOUNT NO.: NOT AVAILABLE


3.6282 HORNBERGER, LAURA                      VARIOUS                              Litigation             UNDETERMINED
       104 ELM ST
       SAN CARLOS, CA 94070          ACCOUNT NO.: NOT AVAILABLE


3.6283 HORNER, JEAN                           VARIOUS                              Litigation             UNDETERMINED
       790 BOYNTON AVENUE
       SAN JOSE, CA 95117            ACCOUNT NO.: NOT AVAILABLE


3.6284 HORNER, PAUL                           VARIOUS                              Litigation             UNDETERMINED
       353 CARENTAN RD
       SEASIDE, CA 93955             ACCOUNT NO.: NOT AVAILABLE


3.6285 HORNSTEIN, JOEL                        VARIOUS                              Litigation             UNDETERMINED
       329A ALBION AVENUE
       WOODSIDE, CA 94062            ACCOUNT NO.: NOT AVAILABLE


3.6286 HORSTKAMP, BERNARD &                   VARIOUS                              Litigation             UNDETERMINED
       SUSAN
       CA 0                          ACCOUNT NO.: NOT AVAILABLE


3.6287 HORTON, ANDREW & LOUISE                VARIOUS                              Litigation             UNDETERMINED
       4920 SWEETWOOD DR.
       EL SOBRANTE, CA 94803         ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6288 HORTON, SARAH                          VARIOUS                              Litigation             UNDETERMINED
       2518 LAFAYETTE DRIVE
       DAVIS, CA 95618               ACCOUNT NO.: NOT AVAILABLE


3.6289 HOSKIN, ERWIN                          VARIOUS                              Litigation             UNDETERMINED
       2518 SUTTER ST
       SAN FRANCISCO, CA 94115       ACCOUNT NO.: NOT AVAILABLE


3.6290 HOSKINS, JOHNNY                        VARIOUS                              Litigation             UNDETERMINED
       PO BOX 33
       3569 S BURSON                 ACCOUNT NO.: NOT AVAILABLE
       BURSON, CA 95225


3.6291 HOSSAIN, ALTAF                         VARIOUS                              Litigation             UNDETERMINED
       2512 MONTREUX ST
       DANVILLE, CA 94506            ACCOUNT NO.: NOT AVAILABLE


3.6292 HOSSEINI, FATEMEH                      VARIOUS                              Litigation             UNDETERMINED
       2206 CAMDEN AVE
       SAN JOSE, CA 95124            ACCOUNT NO.: NOT AVAILABLE


3.6293 HOSTIA, GLADYS                         VARIOUS                              Litigation             UNDETERMINED
       200 DORCHESTER COURT
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.6294 HOTEL ABREGO, DAN PRIANO               VARIOUS                              Litigation             UNDETERMINED
       755 ABREGO STREET
       MONTEREY, CA 93940            ACCOUNT NO.: NOT AVAILABLE


3.6295 HOTEL IVY INC                          VARIOUS                              Litigation             UNDETERMINED
       275 SOUTH AIRPORT BLVD
       4195 SOLANO AVE               ACCOUNT NO.: NOT AVAILABLE
       NAPA, CA 94558


3.6296 HOTEL SPERO-MILLER,                    VARIOUS                              Litigation             UNDETERMINED
       MARICAR
       405 TAYLOR STREET             ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94102


3.6297 HOTVET, JILL                           VARIOUS                              Litigation             UNDETERMINED
       849 S. ORANGE GROVE BLVD
       TORRES BET 3NE/9TH            ACCOUNT NO.: NOT AVAILABLE
       CARMEL, CA


3.6298 HOULE, KEN                             VARIOUS                              Litigation             UNDETERMINED
       41661 ROAD 600
       AHWANHEE, CA 93601            ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6299 HOULT, CHRISTIN                        VARIOUS                              Litigation             UNDETERMINED
       2655 BRIDLE LANE
       WALNUT CREEK, CA 94596        ACCOUNT NO.: NOT AVAILABLE


3.6300 HOUSDORF, MICHAEL                      VARIOUS                              Litigation             UNDETERMINED
       PO BOX 1124
       CRESWELL, CA 97426            ACCOUNT NO.: NOT AVAILABLE


3.6301 HOUSE CAFE, HERITAGE                   VARIOUS                              Litigation             UNDETERMINED
       303 MERCHANT ST
       VACAVILLE, CA 95688           ACCOUNT NO.: NOT AVAILABLE


3.6302 HOUSE OF PIZZA-PENA,                   VARIOUS                              Litigation             UNDETERMINED
       RAYMOND
       2270 NICOLAUS RD              ACCOUNT NO.: NOT AVAILABLE
       108
       LINCOLN, CA 95648


3.6303 HOUSE, BEVERLY                         VARIOUS                              Litigation             UNDETERMINED
       7020 TERRACE CT.
       EL DORADO, CA 95623           ACCOUNT NO.: NOT AVAILABLE


3.6304 HOUSEBOAT MIGHTY MART,                 VARIOUS                              Litigation             UNDETERMINED
       PETERSEN, NANCY
       1006 MOUNTAIN VIEW ROAD       ACCOUNT NO.: NOT AVAILABLE
       HUGHSON, CA 95326


3.6305 HOUSING AUTHORITY OF                   VARIOUS                              Litigation             UNDETERMINED
       COUNTY OF SANTA BARBARA-
       GARCIA, JOSIE                 ACCOUNT NO.: NOT AVAILABLE
       1011 ESCALANTE ST
       UNIT A
       GUADALUPE, CA 93434


3.6306 HOUSLEY, ART                           VARIOUS                              Litigation             UNDETERMINED
       5050 SILVERADO TRAIL
       NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.6307 HOUSTON, ALVERA                        VARIOUS                              Litigation             UNDETERMINED
       PO BOX 206
       HOOPA, CA 95546               ACCOUNT NO.: NOT AVAILABLE


3.6308 HOUSTON, NICOLE                        VARIOUS                              Litigation             UNDETERMINED
       4541 MT EATON MINE RD
       GEORGETOWN, CA 95634          ACCOUNT NO.: NOT AVAILABLE


3.6309 HOUSTON, TERESA                        VARIOUS                              Litigation             UNDETERMINED
       10923 VISTA DEL RANCHO DR
       BAKERSFIELD, CA 93311         ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6310 HOUTBY, KEN                            VARIOUS                              Litigation             UNDETERMINED
       55925 HWY 101
       FORTUNA, CA 95540             ACCOUNT NO.: NOT AVAILABLE


3.6311 HOVIS, BYRON                           VARIOUS                              Litigation             UNDETERMINED
       8020 CHESTNUT COURT
       GRANITE BAY, CA 95746         ACCOUNT NO.: NOT AVAILABLE


3.6312 HOVSEPIAN, BEVERLY                     VARIOUS                              Litigation             UNDETERMINED
       1169 W LOS ALTOS AVENUE
       FRESNO, CA 93711              ACCOUNT NO.: NOT AVAILABLE


3.6313 HOVSEPIAN, LAURA                       VARIOUS                              Litigation             UNDETERMINED
       19696 PINE RIDGE ROAD
       OAKHURST, CA 93644            ACCOUNT NO.: NOT AVAILABLE


3.6314 HOWARD, ANNE                           VARIOUS                              Litigation             UNDETERMINED
       PO BOX 134
       MT. SHASTA, CA 96067          ACCOUNT NO.: NOT AVAILABLE


3.6315 HOWARD, CURTIS                         VARIOUS                              Litigation             UNDETERMINED
       2015 I ST.
       EUREKA, CA 95501              ACCOUNT NO.: NOT AVAILABLE


3.6316 HOWARD, DALE                           VARIOUS                              Litigation             UNDETERMINED
       732 TOPAWA DR
       FREMONT, CA 94539             ACCOUNT NO.: NOT AVAILABLE


3.6317 HOWARD, DANIEL                         VARIOUS                              Litigation             UNDETERMINED
       694 WOODLAND TER
       SAN JOSE, CA 95112            ACCOUNT NO.: NOT AVAILABLE


3.6318 HOWARD, DUSTIN                         VARIOUS                              Litigation             UNDETERMINED
       2890 7TH ST
       CLEARLAKE, CA 95422           ACCOUNT NO.: NOT AVAILABLE


3.6319 HOWARD, GARY & JOAN                    VARIOUS                              Litigation             UNDETERMINED
       10405 DEBLYN LN
       SEBASTOPOL, CA 95472          ACCOUNT NO.: NOT AVAILABLE


3.6320 HOWARD, HEATHER                        VARIOUS                              Litigation             UNDETERMINED
       1420 JONES STREET
       APT 7                         ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94109




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6321 HOWARD, JANIS                          VARIOUS                              Litigation             UNDETERMINED
       4155 EAST CLAY AVE
       FRESNO, CA 93702-1327         ACCOUNT NO.: NOT AVAILABLE


3.6322 HOWARD, JOANNE                         VARIOUS                              Litigation             UNDETERMINED
       12660 SKYLINE BLVD
       WOODSIDE, CA 94062            ACCOUNT NO.: NOT AVAILABLE


3.6323 HOWARD, LINDA                          VARIOUS                              Litigation             UNDETERMINED
       PO BOX 303
       COLUSA, CA 95932              ACCOUNT NO.: NOT AVAILABLE


3.6324 HOWARD, NICOLE                         VARIOUS                              Litigation             UNDETERMINED
       1526 69TH AVE
       OAKLAND, CA 94621             ACCOUNT NO.: NOT AVAILABLE


3.6325 HOWARD, NOEL                           VARIOUS                              Litigation             UNDETERMINED
       1213 JULIA LANE 2458
       ARNOLD, CA 95223              ACCOUNT NO.: NOT AVAILABLE


3.6326 HOWARD, ROBERT & SUSAN                 VARIOUS                              Litigation             UNDETERMINED
       549 CASA DR.
       PARADISE, CA 95969            ACCOUNT NO.: NOT AVAILABLE


3.6327 HOWARD, SANDRA                         VARIOUS                              Litigation             UNDETERMINED
       2409 S DOCKERY AVE
       SANGER, CA 93657              ACCOUNT NO.: NOT AVAILABLE


3.6328 HOWARD, WANDA                          VARIOUS                              Litigation             UNDETERMINED
       2811 APPLE VALLEY CT
       2805 APPLE VALLEY CT          ACCOUNT NO.: NOT AVAILABLE
       ATWATER, CA 95301


3.6329 HOWARD'S DAYCARE-                      VARIOUS                              Litigation             UNDETERMINED
       RANDOLPH, MARILYN
       1507 ENDICOTT DR              ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95122


3.6330 HOWARDS DAYCARE-                       VARIOUS                              Litigation             UNDETERMINED
       RANDOLPH, MARILYN
       1507 ENDICOTT DR              ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95122


3.6331 HOWARTH, DEJA                          VARIOUS                              Litigation             UNDETERMINED
       19417 MELLA DRIVE
       VOLCANO, CA 95689             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6332 HOWE ELECTRIC                          VARIOUS                              Litigation             UNDETERMINED
       PO BOX 1619
       KELSEYVILLE, CA 95451         ACCOUNT NO.: NOT AVAILABLE


3.6333 HOWE, JOHN                             VARIOUS                              Litigation             UNDETERMINED
       PO BOX 3357
       YOUNTVILLE, CA 94599          ACCOUNT NO.: NOT AVAILABLE


3.6334 HOWELL, PAMELA AND TAMMY               VARIOUS                              Litigation             UNDETERMINED
       10489 SUNNY HILL RD
       IGO, CA 96047                 ACCOUNT NO.: NOT AVAILABLE


3.6335 HOWES, CLARA                           VARIOUS                              Litigation             UNDETERMINED
       P.O. BOX 765
       NICE, CA 95464                ACCOUNT NO.: NOT AVAILABLE


3.6336 HOWLAND, KENNETH                       VARIOUS                              Litigation             UNDETERMINED
       2759 PRIMROSE POINT AVE
       MANTECA, CA 95336             ACCOUNT NO.: NOT AVAILABLE


3.6337 HOWSER, NICHOLAS                       VARIOUS                              Litigation             UNDETERMINED
       1179 XAVIER WAY
       LIVERMORE, CA 94550           ACCOUNT NO.: NOT AVAILABLE


3.6338 HOYE, CAROLYNN                         VARIOUS                              Litigation             UNDETERMINED
       2870 KINNEY DRIVE
       WALNUT CREEK, CA 94595        ACCOUNT NO.: NOT AVAILABLE


3.6339 HRABOVSKY, NICHOLAS                    VARIOUS                              Litigation             UNDETERMINED
       1849 MINNESOTA ST
       FAIRFIELD, CA 94533           ACCOUNT NO.: NOT AVAILABLE


3.6340 HROMADA, ELIZABETH                     VARIOUS                              Litigation             UNDETERMINED
       11140 DRY CREEK ROAD
       AUBURN, CA 95602              ACCOUNT NO.: NOT AVAILABLE


3.6341 HROMYAK, DAWNISE                       VARIOUS                              Litigation             UNDETERMINED
       3160 BENTONITE LANE
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.6342 HSIEH, HUONG KUANG                     VARIOUS                              Litigation             UNDETERMINED
       5821 KILLARNEY CIRCLE
       SAN JOSE, CA 95138            ACCOUNT NO.: NOT AVAILABLE


3.6343 HSU, HUGO                              VARIOUS                              Litigation             UNDETERMINED
       40810 ONDINA COURT
       FREMONT, CA 94539             ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6344 HSU, JESSICA                           VARIOUS                              Litigation             UNDETERMINED
       1604 BALBOA AVE
       BURLINGAME, CA 94010          ACCOUNT NO.: NOT AVAILABLE


3.6345 HSU, THOMAS                            VARIOUS                              Litigation             UNDETERMINED
       3288 PIERCE STREET
       #A115                         ACCOUNT NO.: NOT AVAILABLE
       RICHMOND, CA 94804


3.6346 HSU, VIVIAN                            VARIOUS                              Litigation             UNDETERMINED
       19982 WINTER LANE
       SARATOGA, CA 95070            ACCOUNT NO.: NOT AVAILABLE


3.6347 HSU, WAN CHING                         VARIOUS                              Litigation             UNDETERMINED
       5545 MILLIGAN DR
       SAN JOSE, CA 95124            ACCOUNT NO.: NOT AVAILABLE


3.6348 HU, JAMES                              VARIOUS                              Litigation             UNDETERMINED
       2300 BERKELEY ROAD
       HUGHSON, CA 95326             ACCOUNT NO.: NOT AVAILABLE


3.6349 HU, JINGKUN                            VARIOUS                              Litigation             UNDETERMINED
       3339 GIOVANNI WAY
       DUBLIN, CA 94568              ACCOUNT NO.: NOT AVAILABLE


3.6350 HU, MARTIN                             VARIOUS                              Litigation             UNDETERMINED
       2375 32ND AVE
       SAN FRANCISCO, CA 94116       ACCOUNT NO.: NOT AVAILABLE


3.6351 HU, MIN                                VARIOUS                              Litigation             UNDETERMINED
       35216 OLDHAM PLACE
       NEWARK, CA 94560              ACCOUNT NO.: NOT AVAILABLE


3.6352 HU, MING                               VARIOUS                              Litigation             UNDETERMINED
       270 EL BONITO
       MILLBRAE, CA 94030            ACCOUNT NO.: NOT AVAILABLE


3.6353 HU, PETER                              VARIOUS                              Litigation             UNDETERMINED
       3261 CHARMAT CT
       SAN JOSE, CA 95135            ACCOUNT NO.: NOT AVAILABLE


3.6354 HU, QUAN                               VARIOUS                              Litigation             UNDETERMINED
       225 CARMELO LN
       SOUTH SAN FRANISCO, CA        ACCOUNT NO.: NOT AVAILABLE
       94080




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Litigation & Disputes

3.6355 HU, THOMAS                             VARIOUS                              Litigation             UNDETERMINED
       1009 MORTON COURT
       MOUNTAIN VIEW, CA 94040       ACCOUNT NO.: NOT AVAILABLE


3.6356 HUANG, CHUN YANG                       VARIOUS                              Litigation             UNDETERMINED
       2619 38TH AVENUE
       SAN FRANCISCO, CA 94116       ACCOUNT NO.: NOT AVAILABLE


3.6357 HUANG, JENNY                           VARIOUS                              Litigation             UNDETERMINED
       59 CORTE DEL CABALLO
       MORAGA, CA 94556              ACCOUNT NO.: NOT AVAILABLE


3.6358 HUANG, LENA                            VARIOUS                              Litigation             UNDETERMINED
       225 CAMARITAS AVE
       SOUTH SAN FRANCISCO, CA       ACCOUNT NO.: NOT AVAILABLE
       94080


3.6359 HUANG, LILY                            VARIOUS                              Litigation             UNDETERMINED
       3030 DIABLO SHADOW DR
       WALNUT CREEK, CA 94598        ACCOUNT NO.: NOT AVAILABLE


3.6360 HUANG, WEI SHEN                        VARIOUS                              Litigation             UNDETERMINED
       PO BOX 2355
       CUPERTINO, CA 95015           ACCOUNT NO.: NOT AVAILABLE


3.6361 HUANG, WEIXING                         VARIOUS                              Litigation             UNDETERMINED
       336 CLEMENT STREET
       SAN FRANCISCO, CA 94118       ACCOUNT NO.: NOT AVAILABLE


3.6362 HUANG, YUFENG                          VARIOUS                              Litigation             UNDETERMINED
       30 BROOKSIDE PARK
       ANGWIN, CA 94508              ACCOUNT NO.: NOT AVAILABLE


3.6363 HUBBARD, DALE                          VARIOUS                              Litigation             UNDETERMINED
       2010 PEPPERTREE WAY
       PASO ROBLES, CA 93446         ACCOUNT NO.: NOT AVAILABLE


3.6364 HUBBARD, DAN                           VARIOUS                              Litigation             UNDETERMINED
       409 PLYMOUTH CT
       BYRON, CA 94505               ACCOUNT NO.: NOT AVAILABLE


3.6365 HUBBARD, JENNIFER                      VARIOUS                              Litigation             UNDETERMINED
       8144 PREUSS DR
       CLOVIS, CA 93619              ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.6366 HUBBARD-DAVIS, MONIQUE                 VARIOUS                              Litigation             UNDETERMINED
       714 POPE DR. #C
       VALLEJO, CA 94591             ACCOUNT NO.: NOT AVAILABLE


3.6367 HUBBELL, WAYNE                         VARIOUS                              Litigation             UNDETERMINED
       23021 HAWK LN
       TWAIN HARTE, CA 95383         ACCOUNT NO.: NOT AVAILABLE


3.6368 HUBBLE, KATHY                          VARIOUS                              Litigation             UNDETERMINED
       16306 REDWOOD LODGE RD
       LOS GATOS, CA 95033           ACCOUNT NO.: NOT AVAILABLE


3.6369 HUBER, CHISTOPHER                      VARIOUS                              Litigation             UNDETERMINED
       1185 MONROE ST APT 129
       SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.6370 HUBER, PATTI                           VARIOUS                              Litigation             UNDETERMINED
       22 CHELSEA CIR
       CLOVERDALE, CA 95425          ACCOUNT NO.: NOT AVAILABLE


3.6371 HUBKA, DAVID                           VARIOUS                              Litigation             UNDETERMINED
       5502 PERIDOT DR
       ROCKLIN, CA 95677             ACCOUNT NO.: NOT AVAILABLE


3.6372 HUCK, GLORIA                           VARIOUS                              Litigation             UNDETERMINED
       PO BOX 673
       COBB, CA 95426                ACCOUNT NO.: NOT AVAILABLE


3.6373 HUCKLEBERRY ISLAND HOMES               VARIOUS                              Litigation             UNDETERMINED
       ASSOCIATION, C/O PETER V.
       DESSAU                        ACCOUNT NO.: NOT AVAILABLE
       2001 GATEWAY PLACE, SUITE
       220W
       SAN JOSE, CA 95110


3.6374 HUDDLESTON, JACKIE                     VARIOUS                              Litigation             UNDETERMINED
       972 MARIGOLD DR
       VALLEJO, CA 94589             ACCOUNT NO.: NOT AVAILABLE


3.6375 HUDDLESTON, MICHAEL                    VARIOUS                              Litigation             UNDETERMINED
       3121 HACIENDA DR
       PEBBLE BEACH, CA 93953        ACCOUNT NO.: NOT AVAILABLE


3.6376 HUDDLESTON, TIFFANY &                  VARIOUS                              Litigation             UNDETERMINED
       AARON
       1185 HEARTLAND RD.            ACCOUNT NO.: NOT AVAILABLE
       PLACERVILLE, CA 95667



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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6377 HUDSON EXCAVATION INC-                 VARIOUS                              Litigation             UNDETERMINED
       LARSON, MATT
       570 VALDRY COURT STE. C 10    ACCOUNT NO.: NOT AVAILABLE
       BRENTWOOD, CA 94513


3.6378 HUDSON EXCAVATION INC-                 VARIOUS                              Litigation             UNDETERMINED
       YOUNG, MARC
       570 VALDRY COURT,             ACCOUNT NO.: NOT AVAILABLE
       STE,C10
       BRENTWOOD, CA 94513


3.6379 HUDSON LANDING WATER                   VARIOUS                              Litigation             UNDETERMINED
       SYSTEM-PONZIO, STEVEN
       89 FRUITLAND AVE              ACCOUNT NO.: NOT AVAILABLE
       ROYAL OAKS, CA 95076


3.6380 HUDSON, CHRISTOPHER                    VARIOUS                              Litigation             UNDETERMINED
       338 NORD AVE.
       UNIT C                        ACCOUNT NO.: NOT AVAILABLE
       CHICO, CA 95926


3.6381 HUDSON, CODY                           VARIOUS                              Litigation             UNDETERMINED
       P.O BOX 52
       PIONEER, CA 95666             ACCOUNT NO.: NOT AVAILABLE


3.6382 HUDSON, DONNA                          VARIOUS                              Litigation             UNDETERMINED
       607 E. FLORADORA
       FRESNO, CA 93728              ACCOUNT NO.: NOT AVAILABLE


3.6383 HUDSON, MICHELLE                       VARIOUS                              Litigation             UNDETERMINED
       2229 PRUNE ST
       PINOLE, CA 94564              ACCOUNT NO.: NOT AVAILABLE


3.6384 HUDSON, STEVEN                         VARIOUS                              Litigation             UNDETERMINED
       5305 BLUE LAKES ROAD SPC 20
       UPPER LAKE, CA 95485          ACCOUNT NO.: NOT AVAILABLE


3.6385 HUDSON, THERESA & KENNETH              VARIOUS                              Litigation             UNDETERMINED
       P.O. BOX 601
       WEST POINT, CA 95255          ACCOUNT NO.: NOT AVAILABLE


3.6386 HUDSON, THOMAS                         VARIOUS                              Litigation             UNDETERMINED
       1705 DUCKART WAY
       MODESTO, CA 95355             ACCOUNT NO.: NOT AVAILABLE


3.6387 HUERTA, DIANE                          VARIOUS                              Litigation             UNDETERMINED
       P.O. BOX 171
       CHUALAR, CA 93925             ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6388 HUERTA, GERARDO                        VARIOUS                              Litigation             UNDETERMINED
       314 W TAYLOR ST
       SANTA MARIA, CA 93488         ACCOUNT NO.: NOT AVAILABLE


3.6389 HUEZO, IRMA                            VARIOUS                              Litigation             UNDETERMINED
       14621 SAN PABLO AVE
       SAN PABLO, CA 94806           ACCOUNT NO.: NOT AVAILABLE


3.6390 HUFFORD, THERESA                       VARIOUS                              Litigation             UNDETERMINED
       165 PEBBLE PLACE
       MARINA, CA 93933              ACCOUNT NO.: NOT AVAILABLE


3.6391 HUFNAGEL, JEFF                         VARIOUS                              Litigation             UNDETERMINED
       3909 PECKHAM AVE
       BAKERSFIELD, CA 93309         ACCOUNT NO.: NOT AVAILABLE


3.6392 HUFNAGEL, RIC                          VARIOUS                              Litigation             UNDETERMINED
       5 TARMAN DR.
       SONOMA, CA 95425              ACCOUNT NO.: NOT AVAILABLE


3.6393 HUGG, FREDERICK                        VARIOUS                              Litigation             UNDETERMINED
       3635 CHARQUI CT
       OROVILLE, CA 95965            ACCOUNT NO.: NOT AVAILABLE


3.6394 HUGGINS, BRYAN                         VARIOUS                              Litigation             UNDETERMINED
       600 LELAND AVE
       BAKERSFIELD, CA 93304         ACCOUNT NO.: NOT AVAILABLE


3.6395 HUGHES, BRANDEE                        VARIOUS                              Litigation             UNDETERMINED
       PO BOX 90
       AUBURN, CA 95603              ACCOUNT NO.: NOT AVAILABLE


3.6396 HUGHES, DAN                            VARIOUS                              Litigation             UNDETERMINED
       153 E HILTON DR
       BOULDER CREEK, CA 95006       ACCOUNT NO.: NOT AVAILABLE


3.6397 HUGHES, DAVID                          VARIOUS                              Litigation             UNDETERMINED
       24622 CYPRESS DRIVE
       WILLITS, CA 95490             ACCOUNT NO.: NOT AVAILABLE


3.6398 HUGHES, DIXIE                          VARIOUS                              Litigation             UNDETERMINED
       1347 JEANNIE LANE
       PARADISE, CA 95969            ACCOUNT NO.: NOT AVAILABLE


3.6399 HUGHES, JAMIE                          VARIOUS                              Litigation             UNDETERMINED
       1971 W. LOUISE AVE
       MANTECA, CA 95337             ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6400 HUGHES, JOYCELYN                       VARIOUS                              Litigation             UNDETERMINED
       2632 99TH AVE
       OAKLAND, CA 94605             ACCOUNT NO.: NOT AVAILABLE


3.6401 HUGHES, KENNETH                        VARIOUS                              Litigation             UNDETERMINED
       PO BOX 350
       5225 ABBOTT ROAD              ACCOUNT NO.: NOT AVAILABLE
       PENRYN, CA 95611


3.6402 HUGHES, MARIAN                         VARIOUS                              Litigation             UNDETERMINED
       4405 BODEGA AVE
       PETALUMA, CA 94952            ACCOUNT NO.: NOT AVAILABLE


3.6403 HUGHES, TINA/ROBERT                    VARIOUS                              Litigation             UNDETERMINED
       PO BOX 76
       GREENWOOD, CA 95635           ACCOUNT NO.: NOT AVAILABLE


3.6404 HUI, CONNIE                            VARIOUS                              Litigation             UNDETERMINED
       2492 EUCLID PL
       FREMONT, CA 94539             ACCOUNT NO.: NOT AVAILABLE


3.6405 HUI, RUFUS                             VARIOUS                              Litigation             UNDETERMINED
       101 VERDE DRIVE
       SANTA CRUZ, CA 95060          ACCOUNT NO.: NOT AVAILABLE


3.6406 HULFORD, DARRELL                       VARIOUS                              Litigation             UNDETERMINED
       3201 TWIN OAKS DR.
       NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.6407 HULL, THOMAS                           VARIOUS                              Litigation             UNDETERMINED
       5817 RAINBOW FLS
       MARIPOSA, CA 95338            ACCOUNT NO.: NOT AVAILABLE


3.6408 HULLENDER, CINDY                       VARIOUS                              Litigation             UNDETERMINED
       3015 N. 7TH STREET
       FRESNO, CA 93703              ACCOUNT NO.: NOT AVAILABLE


3.6409 HULLENMAN, BRITTNEY                    VARIOUS                              Litigation             UNDETERMINED
       433 PLYMOUTH COURT
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.6410 HULSEY, CHARLOTTE                      VARIOUS                              Litigation             UNDETERMINED
       1245 MONTGOMERY RD SPACE
       #42                           ACCOUNT NO.: NOT AVAILABLE
       RED BLUFF, CA 96080




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Litigation & Disputes

3.6411 HUMBER, SIRI                           VARIOUS                              Litigation             UNDETERMINED
       22 BEDFORD COVE
       SAN RAFAEL, CA 94901          ACCOUNT NO.: NOT AVAILABLE


3.6412 HUMBERTO, RUIZ                         VARIOUS                              Litigation             UNDETERMINED
       1125 CAPUCHINO AVE
       BURLINGAME, CA 94010          ACCOUNT NO.: NOT AVAILABLE


3.6413 HUMBOLDT PETROLEUM, INC.               VARIOUS                              Litigation             UNDETERMINED
       MCKINLEYVILLE SHELL-
       DAIGNEAULT, TERESA            ACCOUNT NO.: NOT AVAILABLE
       1324 5TH STREET
       EUREKA, CA 95501


3.6414 HUMES, LLOYD                           VARIOUS                              Litigation             UNDETERMINED
       700 MAHER COURT
       UNIT B                        ACCOUNT NO.: NOT AVAILABLE
       ROYAL OAKS, CA 95076


3.6415 HUMFREY, PHIL AND GLENNA               VARIOUS                              Litigation             UNDETERMINED
       3475 SUNRISE RIDGE ROAD
       PASO ROBLES, CA 93446         ACCOUNT NO.: NOT AVAILABLE


3.6416 HUMMER, SEAN                           VARIOUS                              Litigation             UNDETERMINED
       3439 CRESTVIEW WAY
       NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.6417 HUMPHREY / 21ST CENTURY                VARIOUS                              Litigation             UNDETERMINED
       INS., WALTER
       21ST CLAIM# 3009631767-1-1    ACCOUNT NO.: NOT AVAILABLE
       P.O. BOX 268994
       OKLAHOMA, CA 73126


3.6418 HUMPHREY, STEPHANIE                    VARIOUS                              Litigation             UNDETERMINED
       PO BOX 462
       ANDERSON, CA 96007            ACCOUNT NO.: NOT AVAILABLE


3.6419 HUNAN YUAN RESTAURANT-                 VARIOUS                              Litigation             UNDETERMINED
       HSU, DAVID
       4100 REDWOOD RD STE 11        ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94619


3.6420 HUNDAL, NARINDERPAL                    VARIOUS                              Litigation             UNDETERMINED
       2436 W. CAPITOL AVE
       W. SACRAMENTO, CA 95691       ACCOUNT NO.: NOT AVAILABLE


3.6421 HUNDAL, SUKHVINDER                     VARIOUS                              Litigation             UNDETERMINED
       5100 MULE SKINNER ROAD
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE

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Litigation & Disputes

3.6422 HUNG, HENRY                            VARIOUS                              Litigation             UNDETERMINED
       501 CRESTLAKE DR
       SAN FRANCISCO, CA 94132       ACCOUNT NO.: NOT AVAILABLE


3.6423 HUNKEN, BONNIE                         VARIOUS                              Litigation             UNDETERMINED
       11 E. EMERSON AVE.
       CA 95376                      ACCOUNT NO.: NOT AVAILABLE


3.6424 HUNNICUT, DONALD                       VARIOUS                              Litigation             UNDETERMINED
       6 SEABREEZE CT
       PACIFICA, CA 94044            ACCOUNT NO.: NOT AVAILABLE


3.6425 HUNT, JENNIFER                         VARIOUS                              Litigation             UNDETERMINED
       16869 WINCHELL DR
       REDDING, CA 96003             ACCOUNT NO.: NOT AVAILABLE


3.6426 HUNT, PAUL                             VARIOUS                              Litigation             UNDETERMINED
       695 MADRONE WAY
       PARADISE, CA 95969            ACCOUNT NO.: NOT AVAILABLE


3.6427 HUNT, WALTER                           VARIOUS                              Litigation             UNDETERMINED
       4199 BURGUNDY WAY
       NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.6428 HUNTER MORTON                          VARIOUS                              Litigation             UNDETERMINED
       MARY ALEXANDER, BRENDAN
       WAY, CATALINA MUNOZ           ACCOUNT NO.: NOT AVAILABLE
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.6429 HUNTER MORTON                          VARIOUS                              Litigation             UNDETERMINED
       BOBBY THOMPSON
       730 AIRPORT BLVD              ACCOUNT NO.: NOT AVAILABLE
       SUITE 190
       BURLINGAME, CA 94010


3.6430 HUNTER, DEANNE                         VARIOUS                              Litigation             UNDETERMINED
       1722 MARSHALL AVE
       STOCKTON, CA 95205            ACCOUNT NO.: NOT AVAILABLE


3.6431 HUNTER, ELEANOR                        VARIOUS                              Litigation             UNDETERMINED
       9289 SKYWAY
       PARADISE, CA 95969            ACCOUNT NO.: NOT AVAILABLE


3.6432 HUNTER, PAUL                           VARIOUS                              Litigation             UNDETERMINED
       POBOX 1000
       AUBERRY, CA 93602             ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.6433 HUNTLEY FAMILY LIMITED                 VARIOUS                              Litigation             UNDETERMINED
       PARTNERSHIP, PATRICIA
       SCHWINDT, CPA                 ACCOUNT NO.: NOT AVAILABLE
       PO BOX 105
       41500 MOUNTAIN VIEW ROAD
       MANCHESTER, CA 95459


3.6434 HURD, VICKI                            VARIOUS                              Litigation             UNDETERMINED
       4267 N. SECOND STREET
       FRESNO, CA 93726              ACCOUNT NO.: NOT AVAILABLE


3.6435 HURFF, JARED                           VARIOUS                              Litigation             UNDETERMINED
       2809 RANCHERIA DRIVE
       SHINGLE SPRINGS, CA 95682     ACCOUNT NO.: NOT AVAILABLE


3.6436 HURLEY, J P HURLEY                     VARIOUS                              Litigation             UNDETERMINED
       2760 BUENA VISTA WAY
       BERKELEY, CA 94708            ACCOUNT NO.: NOT AVAILABLE


3.6437 HURLEY, JAMES                          VARIOUS                              Litigation             UNDETERMINED
       5601 PESCADERO CREEK
       ROAD_BOX 534                  ACCOUNT NO.: NOT AVAILABLE
       PESCADERO, CA 94060


3.6438 HURLEY, RYAN                           VARIOUS                              Litigation             UNDETERMINED
       PO BOX 534
       PESCADERO, CA 94060           ACCOUNT NO.: NOT AVAILABLE


3.6439 HURST, RYAN                            VARIOUS                              Litigation             UNDETERMINED
       7125 TUSTIN RD
       SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.6440 HURT, MONIKA                           VARIOUS                              Litigation             UNDETERMINED
       1539 ENCANTO PLACE
       WALNUT CREEK, CA 94597        ACCOUNT NO.: NOT AVAILABLE


3.6441 HURTADO, RAUL                          VARIOUS                              Litigation             UNDETERMINED
       111 LOMITAS
       SOUTH SAN FRANCISCO, CA       ACCOUNT NO.: NOT AVAILABLE
       94080


3.6442 HURTADO, ROBERT                        VARIOUS                              Litigation             UNDETERMINED
       3725 MCCALL PLACE
       SELMA, CA 93662               ACCOUNT NO.: NOT AVAILABLE


3.6443 HUSAK, JENNIFER                        VARIOUS                              Litigation             UNDETERMINED
       5742 SIERRA SPRINGS DRIVE
       POLLOCK PINES, CA 95726       ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.6444 HUSARI, NADIA                          VARIOUS                              Litigation             UNDETERMINED
       P. O. BOX 1353
       BELMONT, CA 94002             ACCOUNT NO.: NOT AVAILABLE


3.6445 HUSLER, WILLIAM                        VARIOUS                              Litigation             UNDETERMINED
       3130 DOVER WAY
       CONCORD, CA 94518             ACCOUNT NO.: NOT AVAILABLE


3.6446 HUSS, JON & JUNE                       VARIOUS                              Litigation             UNDETERMINED
       1496 8TH STREET
       7070 HITES COVE ROAD          ACCOUNT NO.: NOT AVAILABLE
       LOS OSOS, CA 95338


3.6447 HUSSAIN, MOHAMMED &                    VARIOUS                              Litigation             UNDETERMINED
       SAHIDAN
       24950 PLUM TREE STREET        ACCOUNT NO.: NOT AVAILABLE
       HAYWARD, CA 94544


3.6448 HUSSEIN, ANWAR & SNEH                  VARIOUS                              Litigation             UNDETERMINED
       2787 OLIVE COURT
       W SACRAMENTO, CA 95691        ACCOUNT NO.: NOT AVAILABLE


3.6449 HUSTED, DOMINIQUE                      VARIOUS                              Litigation             UNDETERMINED
       PO BOX 8
       RAILROAD FLAT, CA 95248       ACCOUNT NO.: NOT AVAILABLE


3.6450 HUSTON, ROBERT                         VARIOUS                              Litigation             UNDETERMINED
       3155 WAKEFIELD WAY
       SCOTTS VALLEY, CA 95066       ACCOUNT NO.: NOT AVAILABLE


3.6451 HUTCHERSON, CARLOS                     VARIOUS                              Litigation             UNDETERMINED
       1924 SUNNYDALE AVE
       SAN FRANCISCO, CA 94134       ACCOUNT NO.: NOT AVAILABLE


3.6452 HUTCHINSON, DAVID                      VARIOUS                              Litigation             UNDETERMINED
       5504 EAST BROOK WAY
       ELK GROVE, CA 95758           ACCOUNT NO.: NOT AVAILABLE


3.6453 HUTCHISON, TERRY                       VARIOUS                              Litigation             UNDETERMINED
       6903 TUCKER LANE
       3011 VICTOR AVE               ACCOUNT NO.: NOT AVAILABLE
       REDDING, CA 96002


3.6454 HUTH, VINCENT                          VARIOUS                              Litigation             UNDETERMINED
       2 ABINANTE WAY
       MONTEREY, CA 93940            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6455 HUTSON, ERICA                          VARIOUS                              Litigation             UNDETERMINED
       PO BOX 1244
       DIAMOND SPRINGS, CA 95619     ACCOUNT NO.: NOT AVAILABLE


3.6456 HUTSON, ERICA                          VARIOUS                              Litigation             UNDETERMINED
       PO BOX 1244
       4590 COYOTE RIDGE ROAD        ACCOUNT NO.: NOT AVAILABLE
       DIAMOND SPRINGS, CA 95684


3.6457 HUTTENGA, JOHANNES                     VARIOUS                              Litigation             UNDETERMINED
       6117 OAK ST
       ANDERSON, CA 96007            ACCOUNT NO.: NOT AVAILABLE


3.6458 HUYNH, KRISTINA                        VARIOUS                              Litigation             UNDETERMINED
       1614 MONROE WAY
       ROCKLIN, CA 95765             ACCOUNT NO.: NOT AVAILABLE


3.6459 HWANG, KYONG                           VARIOUS                              Litigation             UNDETERMINED
       3298 CARDOZA AVE
       MARINA, CA 93933              ACCOUNT NO.: NOT AVAILABLE


3.6460 HWANG, STANLEY                         VARIOUS                              Litigation             UNDETERMINED
       P.O.BOX 491
       PEBBLE BEACH, CA 93953        ACCOUNT NO.: NOT AVAILABLE


3.6461 HWANG, STANLEY                         VARIOUS                              Litigation             UNDETERMINED
       P.O.BOX 491
       PEBBLE BEACH, CA 93953        ACCOUNT NO.: NOT AVAILABLE


3.6462 HWANG, TAZ                             VARIOUS                              Litigation             UNDETERMINED
       PO BOX 2175
       22990 HWY 17                  ACCOUNT NO.: NOT AVAILABLE
       LOS GATOS, CA 95031


3.6463 HWY 29 CAFE - ORGAN, ALLEN             VARIOUS                              Litigation             UNDETERMINED
       101 CAFE COURT
       AMERICAN CANYON, CA 94503     ACCOUNT NO.: NOT AVAILABLE


3.6464 HYATT PALACE HOTEL,                    VARIOUS                              Litigation             UNDETERMINED
       CONRAD GARNER
       5700 BAY STREET               ACCOUNT NO.: NOT AVAILABLE
       EMERYVILLE, CA 94608


3.6465 HYATT REGENCY MONTEREY,                VARIOUS                              Litigation             UNDETERMINED
       CATHERINE BACASEN
       ONE OLD GOLF COURSE RD        ACCOUNT NO.: NOT AVAILABLE
       MONTEREY, CA 93940



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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6466 HYATT, LORIAN                          VARIOUS                              Litigation             UNDETERMINED
       1947 WINDWARD POINT
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.6467 HYDEN, ALAN                            VARIOUS                              Litigation             UNDETERMINED
       1615 S MAIN ST
       LAKEPORT, CA 95453            ACCOUNT NO.: NOT AVAILABLE


3.6468 HYDEN, TAMMY                           VARIOUS                              Litigation             UNDETERMINED
       2294 N. MAIN ST
       55                            ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.6469 HYDRAPAK LLC-LOPEZ, SAMUEL             VARIOUS                              Litigation             UNDETERMINED
       6605 SAN LEANDRO ST
       OAKLAND, CA 94621             ACCOUNT NO.: NOT AVAILABLE


3.6470 HYDROPONIC CONNECTION-                 VARIOUS                              Litigation             UNDETERMINED
       VIELLIEUX, RUSSELL
       1549 CUSTER AVE               ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94107


3.6471 HYER, MEGAN                            VARIOUS                              Litigation             UNDETERMINED
       8011 BERTA RD
       EUREKA, CA 95503              ACCOUNT NO.: NOT AVAILABLE


3.6472 HYLAND, CHRISTINE                      VARIOUS                              Litigation             UNDETERMINED
       416 GREG AVE
       24556 CASTRO LANE             ACCOUNT NO.: NOT AVAILABLE
       CARMEL, CA 93923


3.6473 HYLAND, CHRISTINE                      VARIOUS                              Litigation             UNDETERMINED
       416 GREG AVE
       24556 CASTRO LANE             ACCOUNT NO.: NOT AVAILABLE
       CARMEL, CA 93923


3.6474 HYON, KIM                              VARIOUS                              Litigation             UNDETERMINED
       3807 MESA VERDE CT.
       PLEASANTON, CA 94588          ACCOUNT NO.: NOT AVAILABLE


3.6475 I/O CONTRACTOR FATALITY -              VARIOUS                              Litigation             UNDETERMINED
       KELLY LAKE
       CA 0                          ACCOUNT NO.: NOT AVAILABLE


3.6476 I/O DUTTON AVE., SANTA ROSA            VARIOUS                              Litigation             UNDETERMINED
       CA 0
                                     ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                            Account Number                           Claim

Litigation & Disputes

3.6477 I5 RENTALS, INC.-PEDEN, JAMES            VARIOUS                              Litigation             UNDETERMINED
       8443 COMMERCIAL WAY
       REDDING, CA 96002               ACCOUNT NO.: NOT AVAILABLE


3.6478 IA, ERIK                                 VARIOUS                              Litigation             UNDETERMINED
       3361 SERENA AVE
       4928 E MCKENZIE                 ACCOUNT NO.: NOT AVAILABLE
       CLOVIS, CA 93619


3.6479 IAT INSURANCE GROUP, ATTN:               VARIOUS                              Litigation             UNDETERMINED
       DIANA LEBLANC
       20 CHURCH ST, SUITE 1600        ACCOUNT NO.: NOT AVAILABLE
       HARTFORD, CA 06103


3.6480 IBANEZ, VICTOR & SARAH                   VARIOUS                              Litigation             UNDETERMINED
       148 SANTA HELENA AVE UPPER
       SAN BRUNO, CA 94066             ACCOUNT NO.: NOT AVAILABLE


3.6481 IBARRA PROFESSIONAL LAW                  VARIOUS                              Litigation             UNDETERMINED
       CORP., FOR BILL SINGLETON
       459 FULTON ST #109              ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94102


3.6482 IBARRA, BLANCA                           VARIOUS                              Litigation             UNDETERMINED
       385 SAN JUAN GR
       A                               ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.6483 IBARRA, MARIO                            VARIOUS                              Litigation             UNDETERMINED
       1083 ROSEWILL DRIVE, APT #2
       SAN JOSE, CA 95117              ACCOUNT NO.: NOT AVAILABLE


3.6484 ICE DESIGN INC.-PANG, CHING              VARIOUS                              Litigation             UNDETERMINED
       YEE
       90 S. SPRUCE AVE                ACCOUNT NO.: NOT AVAILABLE
       SUITE K
       SO. SAN FRANCISCO, CA 94080


3.6485 ICKERT, JENNIFER                         VARIOUS                              Litigation             UNDETERMINED
       375 AVENIDA PALMAS
       SAN JOSE, CA 95123              ACCOUNT NO.: NOT AVAILABLE


3.6486 IDDINGS, PAUL                            VARIOUS                              Litigation             UNDETERMINED
       375 SAGE LANE
       SOQUEL, CA 95073                ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6487 IDS PROPERTY CASUALTY-                 VARIOUS                              Litigation             UNDETERMINED
       GABRIELSON, ERIC
       PO BOX 19018                  ACCOUNT NO.: NOT AVAILABLE
       GREEN BAY, CA 54307


3.6488 IGLESIA, ANGELA                        VARIOUS                              Litigation             UNDETERMINED
       1021 POLK ST UNIT 35
       SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.6489 IGLESIA, ANGELA                        VARIOUS                              Litigation             UNDETERMINED
       1021 POLK ST UNIT 35
       SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.6490 IGLESIAS, LOUIS                        VARIOUS                              Litigation             UNDETERMINED
       62 SPUR STREET
       WEOTT, CA 95571               ACCOUNT NO.: NOT AVAILABLE


3.6491 IGNACIO, ED                            VARIOUS                              Litigation             UNDETERMINED
       1348 PALOMA AVE.
       STOCKTON, CA 95209            ACCOUNT NO.: NOT AVAILABLE


3.6492 IGNACIO, SCOTT                         VARIOUS                              Litigation             UNDETERMINED
       P.O. BOX 606
       POINT ARENA, CA 95468         ACCOUNT NO.: NOT AVAILABLE


3.6493 IKE'S PLACE-SHEHADEH, HUDA             VARIOUS                              Litigation             UNDETERMINED
       14962 NORTON ST
       SAN LEANDRO, CA 94579         ACCOUNT NO.: NOT AVAILABLE


3.6494 ILAGAN PORTER, TRICIA                  VARIOUS                              Litigation             UNDETERMINED
       1116 ROSITA ROAD
       PACIFICA, CA 94044            ACCOUNT NO.: NOT AVAILABLE


3.6495 ILM TOOL INC, JOSEPH                   VARIOUS                              Litigation             UNDETERMINED
       ILMBERGER
       23301 CLAWITER ROAD           ACCOUNT NO.: NOT AVAILABLE
       HAYWARD, CA 94545


3.6496 ILNICKI, SLAWOMIR                      VARIOUS                              Litigation             UNDETERMINED
       27349 JULIETTA LANE
       LOS ALTOS HILLS, CA 94022     ACCOUNT NO.: NOT AVAILABLE


3.6497 ILSDONK, SUSAN                         VARIOUS                              Litigation             UNDETERMINED
       320 S MICHELLE AVE
       12550 WEST H ST., BIOLA       ACCOUNT NO.: NOT AVAILABLE
       KERMAN, CA 93630




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6498 ILUM SOLAR-HERNSTEDT,                  VARIOUS                              Litigation             UNDETERMINED
       BENJAMIN
       1431 3RD STREET APARTMENT     ACCOUNT NO.: NOT AVAILABLE
       38
       SACRAMENTO, CA 95814


3.6499 IM KLARTEXT EDITING AND                VARIOUS                              Litigation             UNDETERMINED
       TRANSLATION SERVICES-
       COHEN, ILKA                   ACCOUNT NO.: NOT AVAILABLE
       8315 BRAMBLE ROAD
       POLLOCK PINES, CA 95726


3.6500 IMERYS MINERALS CALIFORNIA             VARIOUS                              Litigation             UNDETERMINED
       INC.-PRUE, MATTHEW
       WHITE HILLS MIGUELITO         ACCOUNT NO.: NOT AVAILABLE
       MAIN PLANT SITE
       LOMPOC, CA 93436


3.6501 IMFELD & IMFELD PROPERTY               VARIOUS                              Litigation             UNDETERMINED
       MANAGEMENT, STEPHANIE
       JACKSON                       ACCOUNT NO.: NOT AVAILABLE
       18679 VIA BELLAGGIO
       FRIANT, CA 93636


3.6502 IMMANUEL SCHOOLS-                      VARIOUS                              Litigation             UNDETERMINED
       PHILPOTT, KARI
       1128 S. REED AVENUE           ACCOUNT NO.: NOT AVAILABLE
       REEDLEY, CA 93654


3.6503 IMMEL, WOLFGANG                        VARIOUS                              Litigation             UNDETERMINED
       134 HILL DR
       VALLEJO, CA 94590             ACCOUNT NO.: NOT AVAILABLE


3.6504 IMPERIAL PALACE                        VARIOUS                              Litigation             UNDETERMINED
       RESTAURANT/LEUNG
       818 WASHINGTON ST             ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94108


3.6505 INAPAKOLLA, ARUN                       VARIOUS                              Litigation             UNDETERMINED
       426 SINGLEY DR
       MILPITAS, CA 95035            ACCOUNT NO.: NOT AVAILABLE


3.6506 INC DBA PAPA MURPHYS,                  VARIOUS                              Litigation             UNDETERMINED
       KASHDEU
       746 ADMIGRAL CALLAGHAN LAN    ACCOUNT NO.: NOT AVAILABLE
       ATTN. AMRITPAL DHILLON
       VALLEJO, CA 94591




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6507 INCAPAISLEY-WILSON, PHYLLIS            VARIOUS                              Litigation             UNDETERMINED
       7224DRY CREEK RD.
       HEALDSBURG, CA 95448          ACCOUNT NO.: NOT AVAILABLE


3.6508 INDEMNITY COMPANY,                     VARIOUS                              Litigation             UNDETERMINED
       ALLSTATE
       PO BOX 650271                 ACCOUNT NO.: NOT AVAILABLE
       DALLAS , CA 75265


3.6509 INDIAN VALLEY GOLF CLUB-               VARIOUS                              Litigation             UNDETERMINED
       MCANDREW, JEFF
       P.O. BOX 118                  ACCOUNT NO.: NOT AVAILABLE
       NOVATO, CA 94948


3.6510 INDIAN VALLEY GOLF COURSE-             VARIOUS                              Litigation             UNDETERMINED
       MCANDREW, JEFF
       P.O. BOX 351                  ACCOUNT NO.: NOT AVAILABLE
       NOVATO, CA 94948


3.6511 INDIGO FILMS-FRANK, DAVID              VARIOUS                              Litigation             UNDETERMINED
       155 N. REDWOOD DRIVE
       SUITE 250                     ACCOUNT NO.: NOT AVAILABLE
       SAN RAFAEL, CA 94903


3.6512 INDIGO NAPA VALLEY, HOTEL              VARIOUS                              Litigation             UNDETERMINED
       4195 SOLANO AVE
       ATTN RYAN JOHNSON             ACCOUNT NO.: NOT AVAILABLE
       NAPA, CA 94558


3.6513 INFINERA CORPORATION,                  VARIOUS                              Litigation             UNDETERMINED
       BRUCE GEORGE
       140 CASPIAN COURT             ACCOUNT NO.: NOT AVAILABLE
       220 HUMBOLDT
       SUNNYVALE, CA 94089


3.6514 INFINITY INS                           VARIOUS                              Litigation             UNDETERMINED
       PO BOX 830807
       BIRMINGHAM, CA 35283          ACCOUNT NO.: NOT AVAILABLE


3.6515 INFINITY INSURANCE-                    VARIOUS                              Litigation             UNDETERMINED
       ZAMARRIPA, MARIO LOPEZ
       603 CAMPBELL                  ACCOUNT NO.: NOT AVAILABLE
       TECHNOLOGYPARKWAY
       CAMPBELL, CA 95008


3.6516 INFRASTRUCTURE                         VARIOUS                              Litigation             UNDETERMINED
       IMPROVEMENT-TARAS, CURT
       P.O. BOX 746                  ACCOUNT NO.: NOT AVAILABLE
       FOLSOM, CA 95763


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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6517 INGALLS, AUSTIN                        VARIOUS                              Litigation             UNDETERMINED
       2629 BEECHWOOD DRIVE
       PASO ROBLES, CA 93446         ACCOUNT NO.: NOT AVAILABLE


3.6518 INGOMAR PACKING COMPANY-               VARIOUS                              Litigation             UNDETERMINED
       GREEN, DANNY
       PO BOX 1448                   ACCOUNT NO.: NOT AVAILABLE
       LOS BANOS, CA 93635


3.6519 INGREDION INCORPORATED-                VARIOUS                              Litigation             UNDETERMINED
       NEUMANN, JESSICA
       1021 INDUSTRIAL DRIVE         ACCOUNT NO.: NOT AVAILABLE
       STOCKTON, CA 95206


3.6520 INK, LORIAN                            VARIOUS                              Litigation             UNDETERMINED
       PO BOX 1270
       3701 VALLEY OAK DRIVE         ACCOUNT NO.: NOT AVAILABLE
       DISCOVERY BAY, CA 94505


3.6521 INNERS, CHRIS                          VARIOUS                              Litigation             UNDETERMINED
       828 BLAISDELL COURT
       SAN JOSE, CA 95117            ACCOUNT NO.: NOT AVAILABLE


3.6522 INNOVATION WEST                        VARIOUS                              Litigation             UNDETERMINED
       CORPORATION-RENFRO,
       ROBERT                        ACCOUNT NO.: NOT AVAILABLE
       1171 DIAMOND DR
       ARCATA, CA 95521


3.6523 INNOVATIVE ROTATIONAL                  VARIOUS                              Litigation             UNDETERMINED
       MOLDING-HUMPHRIES, SCOTT
       2300 W. PECAN AVENUE          ACCOUNT NO.: NOT AVAILABLE
       MADERA, CA 93637


3.6524 INOCENCIO, CARMEN                      VARIOUS                              Litigation             UNDETERMINED
       96 E D STREET #B
       LEMOORE, CA 93245             ACCOUNT NO.: NOT AVAILABLE


3.6525 INOUE, KAZUMA                          VARIOUS                              Litigation             UNDETERMINED
       1538 CALLE DE AIDA
       SAN JOSE, CA 95118            ACCOUNT NO.: NOT AVAILABLE


3.6526 INOUE, SACHI                           VARIOUS                              Litigation             UNDETERMINED
       403 WEST MERLE CT.
       SAN LEANDRO, CA 94577         ACCOUNT NO.: NOT AVAILABLE


3.6527 INOUYE, MARTIN AND DEBORAH             VARIOUS                              Litigation             UNDETERMINED
       9806 CARLTON COURT
       GRANITE BAY, CA 95746         ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6528 INS., FARMERS                          VARIOUS                              Litigation             UNDETERMINED
       2057 FOREST AVE., SUITE 3
       ATTN KEN TURNER               ACCOUNT NO.: NOT AVAILABLE
       CHICO, CA 95928


3.6529 INSA LLC-SHAH, RONAK                   VARIOUS                              Litigation             UNDETERMINED
       6081 MERIDIAN AVE
       70                            ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95120


3.6530 INSECT LORE-OLIVER, EDRICO             VARIOUS                              Litigation             UNDETERMINED
       130 S BEECH AVE
       SHAFTER, CA 93263             ACCOUNT NO.: NOT AVAILABLE


3.6531 INSTITUTE OF AMERICA,                  VARIOUS                              Litigation             UNDETERMINED
       CULINARY
       500 FIRST ST.                 ACCOUNT NO.: NOT AVAILABLE
       ART FERRETTI
       NAPA, CA 94559


3.6532 INSTITUTE OF THE                       VARIOUS                              Litigation             UNDETERMINED
       SISTERS/VENANCIO, JOE
       535 SACRAMENTO ST.            ACCOUNT NO.: NOT AVAILABLE
       AUBURN, CA 95603


3.6533 INSURANCE COMPANY OF                   VARIOUS                              Litigation             UNDETERMINED
       STATE OF PENNSYLVANIA
       (PHILIPS ELECTRONICS)         ACCOUNT NO.: NOT AVAILABLE
       GROTEFELD HOFFMAN, L.L.P.
       700 LARKSPUR LANDING
       CIRCLE, SUITE 280
       LARKSPUR, CA 94939


3.6534 INSURANCE COMPANY, MID                 VARIOUS                              Litigation             UNDETERMINED
       CENTURY
       80 EL CAMINO REAL             ACCOUNT NO.: NOT AVAILABLE
       BERKELEY, CA 94705


3.6535 INSURANCE COMPANY, STATE               VARIOUS                              Litigation             UNDETERMINED
       FARM
       210 LANDMARK DRIVE            ACCOUNT NO.: NOT AVAILABLE
       NORMAL, CA 61761


3.6536 INSURANCE, MERCURY                     VARIOUS                              Litigation             UNDETERMINED
       PO BOX 10730
       ATTN. MARICRUZ CARRANZA       ACCOUNT NO.: NOT AVAILABLE
       SANTA ANA, CA 92711




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6537 INTEGRITY CASEWORK                     VARIOUS                              Litigation             UNDETERMINED
       ENTERPRISES, INC.-LOVETT,
       ZACHARY                       ACCOUNT NO.: NOT AVAILABLE
       P.O. BOX 802
       FORESTHILL, CA 95631


3.6538 INTERCARE HOLDINGS                     VARIOUS                              Litigation             UNDETERMINED
       INSURANCE SERVICES, INC.
       P.O. BOX 29066                ACCOUNT NO.: NOT AVAILABLE
       GLENDALE, CA 91209-9066


3.6539 INTERIOR CREATIONS-FORD,               VARIOUS                              Litigation             UNDETERMINED
       WALTER
       7401 SEMS LANE                ACCOUNT NO.: NOT AVAILABLE
       REDWOOD VALLEY, CA 95470


3.6540 INTERIOR SERVICES & DESIGN-            VARIOUS                              Litigation             UNDETERMINED
       ECKBERG, LAURIE
       4603 N. BRAWLEY AVE 101       ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93722


3.6541 INTERNATIONAL TIRES-ZARATE,            VARIOUS                              Litigation             UNDETERMINED
       VICENTE
       430 A SOUTH FIRST ST.         ACCOUNT NO.: NOT AVAILABLE
       KING CITY, CA 93930


3.6542 INTRACTOR, EDMOND                      VARIOUS                              Litigation             UNDETERMINED
       1481 DE PALMA DRIVE
       1221 SHELL AVE                ACCOUNT NO.: NOT AVAILABLE
       PACIFIC GROVE, CA 93950


3.6543 INVISIBLE ELEPHANT TRAINING            VARIOUS                              Litigation             UNDETERMINED
       & CONSULTING, INC-ROSSELLI,
       PETER                         ACCOUNT NO.: NOT AVAILABLE
       43 SEACAPE DRIVE
       MUIR BEACH, CA 94965


3.6544 INWWOOD, WILLIAM                       VARIOUS                              Litigation             UNDETERMINED
       34 THE UPLANDS
       BERKELEY, CA 94705            ACCOUNT NO.: NOT AVAILABLE


3.6545 IO HILLVIEW CT., ROHNERT               VARIOUS                              Litigation             UNDETERMINED
       PARK
       CA 0                          ACCOUNT NO.: NOT AVAILABLE


3.6546 IO/BASS LAKE                           VARIOUS                              Litigation             UNDETERMINED
       BASS LAKE, CA 0
                                     ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6547 IO/GIL                                 VARIOUS                              Litigation             UNDETERMINED
       CA 0
                                     ACCOUNT NO.: NOT AVAILABLE


3.6548 IONITA, JOHNNY                         VARIOUS                              Litigation             UNDETERMINED
       6224 OUTINGDALE ROAD
       SOMERSET, CA 95684            ACCOUNT NO.: NOT AVAILABLE


3.6549 IORGOVEANU, NANCY                      VARIOUS                              Litigation             UNDETERMINED
       538 E SAGINAW WAY
       FRESNO, CA 93704              ACCOUNT NO.: NOT AVAILABLE


3.6550 IRAHETA, JOSE ORLANDO                  VARIOUS                              Litigation             UNDETERMINED
       AREVALO
       PEREZ, WILLIAMS & MEDINA      ACCOUNT NO.: NOT AVAILABLE
       (PEREZ WILLIAMS MEDINA &
       RODRIGUEZ)
       1432 DIVISADERO
       FRESNO, CA 93721


3.6551 IRANI, BOMAN                           VARIOUS                              Litigation             UNDETERMINED
       157 BACK ROAD
       LA HONDA, CA 94020            ACCOUNT NO.: NOT AVAILABLE


3.6552 IRELAND, LISA                          VARIOUS                              Litigation             UNDETERMINED
       13 SHEPHERDS KNOLLS
       PEBBLE BEACH, CA 93953        ACCOUNT NO.: NOT AVAILABLE


3.6553 IRISH CONSTRUCTION                     VARIOUS                              Litigation             UNDETERMINED
       2641 RIVER AVE
       LEAVESLEY ROAD, GILROY CA     ACCOUNT NO.: NOT AVAILABLE
       ROSEMEAD, CA 91770


3.6554 IRISH CONSTRUCTION                     VARIOUS                              Litigation             UNDETERMINED
       2641 RIVER AVE, PO BOX 579
       LOPES & GOLD HILL RD.,        ACCOUNT NO.: NOT AVAILABLE
       CORDELIA. CA.
       ROSEMEAD, CA 91770


3.6555 IRISH, DEBRA                           VARIOUS                              Litigation             UNDETERMINED
       1029 SOUTHWOOD DR.
       APT. L                        ACCOUNT NO.: NOT AVAILABLE
       SAN LUIS OBISPO, CA 93401


3.6556 IRIYAMA, TODD                          VARIOUS                              Litigation             UNDETERMINED
       1782 45TH AVENUE
       SAN FRANCISCO, CA 94122       ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.6557 IRON GRILL AND ASIAN BBQ,               VARIOUS                              Litigation             UNDETERMINED
       BENNY XUE
       9 HILLCREST BOULEVARD          ACCOUNT NO.: NOT AVAILABLE
       MILLBRAE, CA 94030


3.6558 IRON KITCHEN-XIUYI, LI                  VARIOUS                              Litigation             UNDETERMINED
       4441A BALFOUR ROAD
       BRENTWOOD, CA 94513            ACCOUNT NO.: NOT AVAILABLE


3.6559 IRRITEC USA, DAN DIETERICH              VARIOUS                              Litigation             UNDETERMINED
       1420 N. IRRITEC WAY
       FRESNO, CA 93703               ACCOUNT NO.: NOT AVAILABLE


3.6560 IRVINE, DONNA                           VARIOUS                              Litigation             UNDETERMINED
       1349 MILTON AVE
       WALNUT GREEK, CA 94596         ACCOUNT NO.: NOT AVAILABLE


3.6561 ISABELL, ED                             VARIOUS                              Litigation             UNDETERMINED
       941 DOGTOWN ROAD
       ALTAVILLE, CA 95221            ACCOUNT NO.: NOT AVAILABLE


3.6562 ISABELLAS RESTURANT, TERRY              VARIOUS                              Litigation             UNDETERMINED
       PEREIRA
       700 S WINDRESTER BLVD ST 25    ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95128


3.6563 ISAKSEN, CHRISTOPHER                    VARIOUS                              Litigation             UNDETERMINED
       17 CAVORETTO LANE
       EL SOBRANTE, CA 94803          ACCOUNT NO.: NOT AVAILABLE


3.6564 ISCH, RUDOLF                            VARIOUS                              Litigation             UNDETERMINED
       2377 LOVALL VALLEY ROAD
       SONOMA, CA 95476               ACCOUNT NO.: NOT AVAILABLE


3.6565 ISENSEE, JENNIFER                       VARIOUS                              Litigation             UNDETERMINED
       819 PESCADERO DRIVE
       SAN JOSE, CA 95123             ACCOUNT NO.: NOT AVAILABLE


3.6566 ISENSEE, JENNIFER                       VARIOUS                              Litigation             UNDETERMINED
       819 PESCADERO DRIVE
       SAN JOSE, CA 95123             ACCOUNT NO.: NOT AVAILABLE


3.6567 ISHIDA, ADAM                            VARIOUS                              Litigation             UNDETERMINED
       2715 GARFIELD ST
       SAN MATEO, CA 94403            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.6568 ISIDRO, LUBIA                          VARIOUS                              Litigation             UNDETERMINED
       2413 NELSON ST
       BAKERSFIELD, CA 93305         ACCOUNT NO.: NOT AVAILABLE


3.6569 ISKANDER, MILAD                        VARIOUS                              Litigation             UNDETERMINED
       790 S REGATTA DR
       VALLEJO, CA 94591             ACCOUNT NO.: NOT AVAILABLE


3.6570 ISLAND INC-HANSEN, RAYE                VARIOUS                              Litigation             UNDETERMINED
       3554 STATE HIGHWAY 84
       WALNUT GROVE, CA 95690        ACCOUNT NO.: NOT AVAILABLE


3.6571 ISRAEL, JAMES                          VARIOUS                              Litigation             UNDETERMINED
       16 SANTA BARBARA AVE.
       SAN ANSELMO, CA 94960         ACCOUNT NO.: NOT AVAILABLE


3.6572 ITEA-LI, NANCY                         VARIOUS                              Litigation             UNDETERMINED
       346 LORTON AVENUE
       BURLINGAME, CA 94010          ACCOUNT NO.: NOT AVAILABLE


3.6573 ITKIS, EVGENIYA                        VARIOUS                              Litigation             UNDETERMINED
       966 COLUSA AVE
       SUNNYVALE, CA 94085           ACCOUNT NO.: NOT AVAILABLE


3.6574 IULIANO, GERARDO                       VARIOUS                              Litigation             UNDETERMINED
       7539 PLEASANTS VALLEY ROAD
       VACAVILLE, CA 95688           ACCOUNT NO.: NOT AVAILABLE


3.6575 IVANNIA CHAVARRIA                      VARIOUS                              Litigation             UNDETERMINED
       BOBBY THOMPSON
       731 AIRPORT BLVD              ACCOUNT NO.: NOT AVAILABLE
       SUITE 191
       BURLINGAME, CA 94010


3.6576 IVANNIA CHAVARRIA                      VARIOUS                              Litigation             UNDETERMINED
       MARY ALEXANDER, BRENDAN
       WAY, CATALINA MUNOZ           ACCOUNT NO.: NOT AVAILABLE
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.6577 IVES, DUANE                            VARIOUS                              Litigation             UNDETERMINED
       3117 VERDE ROBLES DR
       CAMINO, CA 95709              ACCOUNT NO.: NOT AVAILABLE


3.6578 IVES, MICHAEL                          VARIOUS                              Litigation             UNDETERMINED
       650 HOLMES DR
       MCKINLEYVILLE, CA 95519       ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.6579 IVIE, RODNEY                            VARIOUS                              Litigation             UNDETERMINED
       8002 HAMMANTON
       SMARTSVILLE, CA 95977          ACCOUNT NO.: NOT AVAILABLE


3.6580 IVOR E. SAMSON                          VARIOUS                              Litigation             UNDETERMINED
       DENTONS US LLP ONE MARKET
       PLAZA, SPEAR TOWER 24TH        ACCOUNT NO.: NOT AVAILABLE
       FLOOR
       SAN FRANCISCO, CA 94105-2708


3.6581 IVY HILL PROPERTIES, LEWIS,             VARIOUS                              Litigation             UNDETERMINED
       JAMES
       1035 UNDERHILLS RD             ACCOUNT NO.: NOT AVAILABLE
       882 CLEVELAND STREET
       OAKLAND, CA 94610


3.6582 IWV CONSTRUCTION-ROMP,                  VARIOUS                              Litigation             UNDETERMINED
       MARY
       1110 W. RIDGECREST BLVD.       ACCOUNT NO.: NOT AVAILABLE
       RIDGECREST, CA 93555


3.6583 IWV CONSTRUCTION-ROULUND,               VARIOUS                              Litigation             UNDETERMINED
       CHUCK
       1110 W. RIDGECREST BLVD.       ACCOUNT NO.: NOT AVAILABLE
       RIDGECREST, CA 93555


3.6584 IWV CONSTRUCTION-ROULUND,               VARIOUS                              Litigation             UNDETERMINED
       CHUCK
       1110 W. RIDGECREST BLVD.       ACCOUNT NO.: NOT AVAILABLE
       RIDGECREST, CA 93555


3.6585 IZADKHAH, BELGHEB                       VARIOUS                              Litigation             UNDETERMINED
       4331 MONTMORENCY CT.
       SAN JOSE, CA 95118             ACCOUNT NO.: NOT AVAILABLE


3.6586 IZAGUIRRE, HUGO                         VARIOUS                              Litigation             UNDETERMINED
       14090 N ALPINE ROAD
       LODI, CA 95240                 ACCOUNT NO.: NOT AVAILABLE


3.6587 IZATT, JULIE                            VARIOUS                              Litigation             UNDETERMINED
       1770 P STREET
       EUREKA, CA 95501               ACCOUNT NO.: NOT AVAILABLE


3.6588 J & D TECHNOLOGY LLC, GOPAL             VARIOUS                              Litigation             UNDETERMINED
       PATEL
       723 CAMINO PLAZA               ACCOUNT NO.: NOT AVAILABLE
       SAN BRUNO, CA 94066




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Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.6589 J & G BERRY FARMS LLC, JOSE             VARIOUS                              Litigation             UNDETERMINED
       LUIS ROCHA
       P.O. BOX 1928                  ACCOUNT NO.: NOT AVAILABLE
       WATSONVILLE, CA 95077


3.6590 J AND M LOGISTICS, INC DBA              VARIOUS                              Litigation             UNDETERMINED
       ANTICH AUTOMOTIVE-
       CONNERLEY, MICHAEL             ACCOUNT NO.: NOT AVAILABLE
       101 2ND ST
       EUREKA, CA 95501


3.6591 J D HAULNG-DOSANJ, DAVINDER         VARIOUS                                  Litigation             UNDETERMINED
       2205 MALONEY DR
       LINCOLN, CA 95648           ACCOUNT NO.: NOT AVAILABLE


3.6592 J FLESHMAN-WALKER, RICHARD              VARIOUS                              Litigation             UNDETERMINED
       3602 PATRICKS POINT DR
       TRINIDAD, CA 95570             ACCOUNT NO.: NOT AVAILABLE


3.6593 J&J PUMPS INC                           VARIOUS                              Litigation             UNDETERMINED
       19254 EAST NILES LANE
       MEL MAR WATER DISTRICT         ACCOUNT NO.: NOT AVAILABLE
       PALO CEDRO, CA 96002


3.6594 J&W FOREIGN AUTO-JAHN,                  VARIOUS                              Litigation             UNDETERMINED
       HANS
       401 S. MAIN ST.                ACCOUNT NO.: NOT AVAILABLE
       SEBASTOPOL, CA 95472


3.6595 J. FLORES CONSTRUCTION                  VARIOUS                              Litigation             UNDETERMINED
       COMPANY, INC., YANNIE WONG
       4229 MISSION STREET            ACCOUNT NO.: NOT AVAILABLE
       1060 PAGE STREET
       SAN FRANCISCO, CA 94112-1519


3.6596 J. NOBLE BINNS PLUMBING CO.,            VARIOUS                              Litigation             UNDETERMINED
       INC.-SCHIMNOWSKI, JUSTIN
       3529 PEGASUS DRIVE             ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93308


3.6597 JABEEN, SAIRA                           VARIOUS                              Litigation             UNDETERMINED
       4560 EGGERS DR. APT. D
       FREMONT, CA 94536              ACCOUNT NO.: NOT AVAILABLE


3.6598 JACK BOHLKA                             VARIOUS                              Litigation             UNDETERMINED
       MARY ALEXANDER, BRENDAN
       WAY, CATALINA MUNOZ            ACCOUNT NO.: NOT AVAILABLE
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104

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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6599 JACK BOHLKA                            VARIOUS                              Litigation             UNDETERMINED
       JOSHUA COHEN SLATKIN
       11726 SAN VICENTE BLVD        ACCOUNT NO.: NOT AVAILABLE
       LOS ANGELES, CA 90049


3.6600 JACK CARDINALE-CARDINALE,              VARIOUS                              Litigation             UNDETERMINED
       JACK
       1257 ARGUELLO                 ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94122


3.6601 JACK DOUGLASS SALOON-                  VARIOUS                              Litigation             UNDETERMINED
       WEBBER, JOSEPH
       22718 MAIN STREET             ACCOUNT NO.: NOT AVAILABLE
       COLUMBIA, CA 95310


3.6602 JACK IN THE BOX-SAGAR,                 VARIOUS                              Litigation             UNDETERMINED
       SUNITA
       44816 SOUTH GRIMMER BLVD      ACCOUNT NO.: NOT AVAILABLE
       FREMONT, CA 94538


3.6603 JACK IN THE BOX-TOM, LAUREN            VARIOUS                              Litigation             UNDETERMINED
       2689 PINOLE VALLEY RD
       PINOLE, CA 94564              ACCOUNT NO.: NOT AVAILABLE


3.6604 JACK LONDON MAIL-NGUYEN,               VARIOUS                              Litigation             UNDETERMINED
       NHAT
       248 3RD STREET                ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94607


3.6605 JACKS APRATMENT BUILDINGS-             VARIOUS                              Litigation             UNDETERMINED
       BAINS, RAJESHWAR
       236 ONEIDA                    ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94112


3.6606 JACK'S FLOWER SHOP-                    VARIOUS                              Litigation             UNDETERMINED
       SULLIVAN, DEBRA
       431 CENTER ST.                ACCOUNT NO.: NOT AVAILABLE
       TAFT, CA 93268


3.6607 JACKSON AMADOR CREAMERY                VARIOUS                              Litigation             UNDETERMINED
       INC.-LEBEL, LONNIE
       P.O.BOX 755                   ACCOUNT NO.: NOT AVAILABLE
       JACKSON, CA 95642


3.6608 JACKSON FAMILY, LA CREMA               VARIOUS                              Litigation             UNDETERMINED
       3575 SLUSSER RD.
       WINDSOR, CA 95492             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.6609 JACKSON FAMILY, OAKVILLE               VARIOUS                              Litigation             UNDETERMINED
       FACILITY
       425 AVIATION BOULEVARD        ACCOUNT NO.: NOT AVAILABLE
       SANTA ROSA, CA 95403


3.6610 JACKSON FAMILY, SKYLANE                VARIOUS                              Litigation             UNDETERMINED
       BOTTLING
       5660 SKYLANE BLVD             ACCOUNT NO.: NOT AVAILABLE
       SANTA ROSA, CA 95403


3.6611 JACKSON FAMILY, SOLEDAD                VARIOUS                              Litigation             UNDETERMINED
       425 AVIATION BOULEVARD
       SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.6612 JACKSON FAMILY, VINWOOD                VARIOUS                              Litigation             UNDETERMINED
       FACILITY
       425 AVIATION BOULEVARD        ACCOUNT NO.: NOT AVAILABLE
       SANTA ROSA, CA 95403


3.6613 JACKSON LAW OFFICES                    VARIOUS                              Litigation             UNDETERMINED
       245 EAST LAUREL STREET
       FORT BRAGG, CA 95437          ACCOUNT NO.: NOT AVAILABLE


3.6614 JACKSON VALLEY IRRIGATION              VARIOUS                              Litigation             UNDETERMINED
       DISTRICT-FREDRICK, STEVEN
       6755 LAKE AMADOR DRIVE        ACCOUNT NO.: NOT AVAILABLE
       IONE, CA 95640


3.6615 JACKSON, ALAN                          VARIOUS                              Litigation             UNDETERMINED
       1616 ALMA ST
       OROVILLE, CA 95965            ACCOUNT NO.: NOT AVAILABLE


3.6616 JACKSON, AMBER                         VARIOUS                              Litigation             UNDETERMINED
       430 HIBISCUS COURT
       EAST PALO ALTO, CA 94303      ACCOUNT NO.: NOT AVAILABLE


3.6617 JACKSON, ANGIE                         VARIOUS                              Litigation             UNDETERMINED
       2103 N. PRICE AVE, APT #111
       FRESNO, CA 93203              ACCOUNT NO.: NOT AVAILABLE


3.6618 JACKSON, BETTY                         VARIOUS                              Litigation             UNDETERMINED
       PO BOX 308
       HOOPA, CA 95546               ACCOUNT NO.: NOT AVAILABLE


3.6619 JACKSON, CHRISTINA                     VARIOUS                              Litigation             UNDETERMINED
       172 CALAVERAS AVE
       PACIFICA, CA 94044            ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.6620 JACKSON, DAVON                         VARIOUS                              Litigation             UNDETERMINED
       1743 HAROLD
       RICHMOND, CA 94801            ACCOUNT NO.: NOT AVAILABLE


3.6621 JACKSON, DAYNA                         VARIOUS                              Litigation             UNDETERMINED
       6898 RANCHERIA CREEK RD
       MIDPINES, CA 95345            ACCOUNT NO.: NOT AVAILABLE


3.6622 JACKSON, HANNAH                        VARIOUS                              Litigation             UNDETERMINED
       3057 SEMINARY AVE
       OAKLAND, CA 94605             ACCOUNT NO.: NOT AVAILABLE


3.6623 JACKSON, JANA                          VARIOUS                              Litigation             UNDETERMINED
       312 OLD COUNTRY ROAD
       FREEWAY BETWEEN               ACCOUNT NO.: NOT AVAILABLE
       TEMPLETON, CA
       TEMPLETON, CA 93465


3.6624 JACKSON, JANA                          VARIOUS                              Litigation             UNDETERMINED
       15021 RATTLESNAKE RD
       GRASS VALLEY, CA 94945        ACCOUNT NO.: NOT AVAILABLE


3.6625 JACKSON, JANA                          VARIOUS                              Litigation             UNDETERMINED
       15021 RATTLESNAKE RD
       GRASS VALLEY, CA 94945        ACCOUNT NO.: NOT AVAILABLE


3.6626 JACKSON, JESSICA                       VARIOUS                              Litigation             UNDETERMINED
       1543 98TH AVE
       OAKLAND, CA 94603             ACCOUNT NO.: NOT AVAILABLE


3.6627 JACKSON, KAREN                         VARIOUS                              Litigation             UNDETERMINED
       10650 E ZAYANTE RD
       FELTON, CA 95018              ACCOUNT NO.: NOT AVAILABLE


3.6628 JACKSON, KEVIN                         VARIOUS                              Litigation             UNDETERMINED
       5144 FAIRGROUNDS RD
       MARIPOSA, CA 95338            ACCOUNT NO.: NOT AVAILABLE


3.6629 JACKSON, LAWRENCE R.                   VARIOUS                              Litigation             UNDETERMINED
       1759 SYCAMORE ST.
       NAPA, CA 94559                ACCOUNT NO.: NOT AVAILABLE


3.6630 JACKSON, LINDSAY                       VARIOUS                              Litigation             UNDETERMINED
       22317 EL CAMINO REAL
       PO BOX 383                    ACCOUNT NO.: NOT AVAILABLE
       SANTA MARGARITA, CA 93453




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Litigation & Disputes

3.6631 JACKSON, PATRICK                       VARIOUS                              Litigation             UNDETERMINED
       1661 SLATER STREET
       SANTA ROSA, CA 95404          ACCOUNT NO.: NOT AVAILABLE


3.6632 JACKSON, PERRIS                        VARIOUS                              Litigation             UNDETERMINED
       4516 W PALO ALTO AVE, APT
       #205                          ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93722


3.6633 JACKSON, RAYMOND                       VARIOUS                              Litigation             UNDETERMINED
       5550 IMPALA RD.
       PASO ROBLES, CA 93446         ACCOUNT NO.: NOT AVAILABLE


3.6634 JACKSON, RICHARD                       VARIOUS                              Litigation             UNDETERMINED
       4000 HUNTER DR
       LOOMIS, CA 95650              ACCOUNT NO.: NOT AVAILABLE


3.6635 JACKSON, YVONNE                        VARIOUS                              Litigation             UNDETERMINED
       13280 E. HWY 20 #272
       CLEARLAKE OAKS, CA 95423      ACCOUNT NO.: NOT AVAILABLE


3.6636 JACO, LAURA                            VARIOUS                              Litigation             UNDETERMINED
       12922 SHADY CREEK DR
       NEVADA CITY, CA 95959         ACCOUNT NO.: NOT AVAILABLE


3.6637 JACOB, CHRIS                           VARIOUS                              Litigation             UNDETERMINED
       7886 HORSESHOE BAR RD
       LOOMIS, CA 95650              ACCOUNT NO.: NOT AVAILABLE


3.6638 JACOBER, KRISTINA                      VARIOUS                              Litigation             UNDETERMINED
       215 MONETA
       BAKERSFIELD, CA               ACCOUNT NO.: NOT AVAILABLE


3.6639 JACOBO, SARAH                          VARIOUS                              Litigation             UNDETERMINED
       1109 DIABLO AVE
       MODESTO, CA 95358             ACCOUNT NO.: NOT AVAILABLE


3.6640 JACOBS, JOLENE                         VARIOUS                              Litigation             UNDETERMINED
       PO BOX 19079
       4104 MAYBELLE AVENUE          ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94619


3.6641 JACOBS, KAREN                          VARIOUS                              Litigation             UNDETERMINED
       115 J ST
       SAN REFAEL, CA 94901          ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.6642 JACOBS, MICHAEL                        VARIOUS                              Litigation             UNDETERMINED
       573 FIVE CITIES DRIVE
       PISMO BEACH, CA 93449         ACCOUNT NO.: NOT AVAILABLE


3.6643 JACOBSON, GREGORY                      VARIOUS                              Litigation             UNDETERMINED
       666 HILLSIDE LANE
       ARROYO GRANDE, CA 93420       ACCOUNT NO.: NOT AVAILABLE


3.6644 JACOBSON, LYUBOV                       VARIOUS                              Litigation             UNDETERMINED
       3541 CATALINA WAY
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.6645 JACOBSON, ROBERT                       VARIOUS                              Litigation             UNDETERMINED
       3648 CITRUS AVE
       WALNUT CREEK, CA 94598        ACCOUNT NO.: NOT AVAILABLE


3.6646 JACOBY, SONYA                          VARIOUS                              Litigation             UNDETERMINED
       23 PINEWOOD COURT
       WALNUT CREEK, CA 94597        ACCOUNT NO.: NOT AVAILABLE


3.6647 JACOP, MARGIE                          VARIOUS                              Litigation             UNDETERMINED
       17526 YELLOW PINE AVE
       SHASTA LAKE, CA 96019         ACCOUNT NO.: NOT AVAILABLE


3.6648 JACQUES, ROBERT                        VARIOUS                              Litigation             UNDETERMINED
       5761 RESERVOIR ROAD
       GEORGETOWN, CA 95634          ACCOUNT NO.: NOT AVAILABLE


3.6649 JADALLAH, CHARLES                      VARIOUS                              Litigation             UNDETERMINED
       4 W 4TH AVE
       STE C                         ACCOUNT NO.: NOT AVAILABLE
       SAN MATEO, CA 94402


3.6650 JADE CATHY CHINESE CUISINE,            VARIOUS                              Litigation             UNDETERMINED
       YUE XIA GUAN
       1339 N 1ST STREET             ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95110


3.6651 JADE CATHY CHINESE CUISINE,            VARIOUS                              Litigation             UNDETERMINED
       YUE XIA GUAN
       1339 N 1ST STREET             ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95110


3.6652 JAENISCH, TERRI                        VARIOUS                              Litigation             UNDETERMINED
       2425 E 20TH STREET
       OAKLAND, CA 94601             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6653 JAGER, CHRISTINE                       VARIOUS                              Litigation             UNDETERMINED
        18097 MT VIEW CRT
       LOS GATOS, CA 95030           ACCOUNT NO.: NOT AVAILABLE


3.6654 JAHN, SUZANNE                          VARIOUS                              Litigation             UNDETERMINED
       15093 WONDERLAND BLVD APT
       1                             ACCOUNT NO.: NOT AVAILABLE
       REDDING, CA 96003


3.6655 JAHNS, JESSICA                         VARIOUS                              Litigation             UNDETERMINED
       28299 SWEETLAND RD.
       NORTH SAN JUAN, CA 95960      ACCOUNT NO.: NOT AVAILABLE


3.6656 JAIMEZ, MARITZA                        VARIOUS                              Litigation             UNDETERMINED
       2417 W HATCH ROAD
       MODESTO, CA 95358             ACCOUNT NO.: NOT AVAILABLE


3.6657 JAIN, ALOK, ET AL.                     VARIOUS                              Litigation             UNDETERMINED
       C/O CORSIGLIA, MCMAHON &
       ALLARD                        ACCOUNT NO.: NOT AVAILABLE
       96 NORTH THIRD STREET,
       SUITE 620
       SAN JOSE, CA 95112


3.6658 JAKEL, SHARON                          VARIOUS                              Litigation             UNDETERMINED
       10030 HAGEMANN LANE
       UPPER LAKE, CA 95485          ACCOUNT NO.: NOT AVAILABLE


3.6659 JAKUBOWSKI, STEPHAINE                  VARIOUS                              Litigation             UNDETERMINED
       P.O. BOX 1195
       11730 SPENCEVILL ROAD         ACCOUNT NO.: NOT AVAILABLE
       PENN VALLEY, CA 95946


3.6660 JAKUSZ, EDWARD                         VARIOUS                              Litigation             UNDETERMINED
       1018 W YALE
       FRESNO, CA 93704              ACCOUNT NO.: NOT AVAILABLE


3.6661 JAMES B WALKER FAMILY                  VARIOUS                              Litigation             UNDETERMINED
       LIMITED PARTNERSHIP-
       HALLENBERG, JASON             ACCOUNT NO.: NOT AVAILABLE
       3585 W. BEECHWOOD
       104
       FRESNO, CA 93711


3.6662 JAMES CAMINATA-CAMINATA,               VARIOUS                              Litigation             UNDETERMINED
       JAMES
       5775 N COX RD                 ACCOUNT NO.: NOT AVAILABLE
       LINDEN, CA 95236



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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6663 JAMES G. MOOSE, ESQ.                   VARIOUS                              Litigation             UNDETERMINED
       REMY MOOSE MANLEY, LLP 555
       CAPITAL MALL                  ACCOUNT NO.: NOT AVAILABLE
       SACRAMENTO, CA 95814


3.6664 JAMES W CHILDRESS DDS INC-             VARIOUS                              Litigation             UNDETERMINED
       CHILDRESS, JAMES
       2067 ANDERSON ROAD            ACCOUNT NO.: NOT AVAILABLE
       DAVIS, CA 95616


3.6665 JAMES WARNOCK GENERAL                  VARIOUS                              Litigation             UNDETERMINED
       CONTRACTING-WARNOCK,
       CAROL                         ACCOUNT NO.: NOT AVAILABLE
       7720 BYRON HWY
       BYRON, CA 94514


3.6666 JAMES, ADAM                            VARIOUS                              Litigation             UNDETERMINED
       POBOX 432
       BAYSIDE, CA 95524             ACCOUNT NO.: NOT AVAILABLE


3.6667 JAMES, ADRIANNA                        VARIOUS                              Litigation             UNDETERMINED
       858 17 MILE DRIVE
       PACIFIC GROVE, CA 93950       ACCOUNT NO.: NOT AVAILABLE


3.6668 JAMES, CLINT                           VARIOUS                              Litigation             UNDETERMINED
       PO BOX 241
       15300 PT REYES                ACCOUNT NO.: NOT AVAILABLE
       POINT REYES STATION, CA
       94956


3.6669 JAMES, JOAN                            VARIOUS                              Litigation             UNDETERMINED
       460 RON ROCK ROAD
       NIPOMO, CA 93444              ACCOUNT NO.: NOT AVAILABLE


3.6670 JAMES, JULIA                           VARIOUS                              Litigation             UNDETERMINED
       31201 GIBNEY LANE
       FORT BRAGG, CA 95437          ACCOUNT NO.: NOT AVAILABLE


3.6671 JAMES, MOLLY                           VARIOUS                              Litigation             UNDETERMINED
       201 MERRROW ST.
       AUBURN, CA 95603              ACCOUNT NO.: NOT AVAILABLE


3.6672 JAMES, NADINE                          VARIOUS                              Litigation             UNDETERMINED
       1415 7TH STREET
       BERKELEY, CA 94710            ACCOUNT NO.: NOT AVAILABLE


3.6673 JAMES, RICHARD & PAULA                 VARIOUS                              Litigation             UNDETERMINED
       8008 COLD SPRAY CT.
       BAKERSFIELD, CA 93313         ACCOUNT NO.: NOT AVAILABLE

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Litigation & Disputes

3.6674 JAMES, TRACIE                          VARIOUS                              Litigation             UNDETERMINED
       6468 WASHINGTON ST. #24
       YOUNTVILLE, CA 94599          ACCOUNT NO.: NOT AVAILABLE


3.6675 JAMGOCHIAN, ANN                        VARIOUS                              Litigation             UNDETERMINED
       41569 LITTLE LAKE RD
       MENDOCINO, CA 95460           ACCOUNT NO.: NOT AVAILABLE


3.6676 JAMIESON JR., RICHARD                  VARIOUS                              Litigation             UNDETERMINED
       3565 SOUTH MCCALL AVENUE
       SANGER, CA 93657              ACCOUNT NO.: NOT AVAILABLE


3.6677 JAMIESON, CHRISTINA                    VARIOUS                              Litigation             UNDETERMINED
       1738 OAK STREET
       NAPA, CA                      ACCOUNT NO.: NOT AVAILABLE


3.6678 JAMIL, FAYAZ                           VARIOUS                              Litigation             UNDETERMINED
       520 UNIVERSITY AVE
       1                             ACCOUNT NO.: NOT AVAILABLE
       LOS GATOS, CA 95032


3.6679 JAMSHED, SINA                          VARIOUS                              Litigation             UNDETERMINED
       2029 DANVILLE BLVD
       ALAMO, CA 94507               ACCOUNT NO.: NOT AVAILABLE


3.6680 JAMSHEED, ERAN                         VARIOUS                              Litigation             UNDETERMINED
       209 DEBORAH CT
       NOVATO, CA 94949              ACCOUNT NO.: NOT AVAILABLE


3.6681 JANAKOS, LINDA                         VARIOUS                              Litigation             UNDETERMINED
       152 MONTCLAIR DRIVE
       SANTA CRUZ, CA 95060          ACCOUNT NO.: NOT AVAILABLE


3.6682 JANAKUS, ROGER                         VARIOUS                              Litigation             UNDETERMINED
       PO BOX 4174
       PASO ROBLES, CA 93447         ACCOUNT NO.: NOT AVAILABLE


3.6683 JANDA, NANCY                           VARIOUS                              Litigation             UNDETERMINED
       712 ELM ST.
       SAN JOSE, CA 95126            ACCOUNT NO.: NOT AVAILABLE


3.6684 JANDRA, JANA                           VARIOUS                              Litigation             UNDETERMINED
       941 YORK STREET
       OAKLAND, CA 94610             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6685 JANET BARMBY, JOHN BARMBY,           VARIOUS                                Litigation             UNDETERMINED
       GAVID GREGORY, KIMBERLY
       GREGORY, JEAN-THIERRY        ACCOUNT NO.: NOT AVAILABLE
       MENDIOLA, HUNTER MORTON,
       KYLE O'BRIEN, MICHAEL RUSSEL
       BOBBY THOMPSON
       700 AIRPORT BLVD
       SUITE 160
       BURLINGAME, CA 94010


3.6686 JANET BARMBY, JOHN BARMBY,           VARIOUS                                Litigation             UNDETERMINED
       GAVID GREGORY, KIMBERLY
       GREGORY, JEAN-THIERRY        ACCOUNT NO.: NOT AVAILABLE
       MENDIOLA, HUNTER MORTON,
       KYLE O'BRIEN, MICHAEL RUSSEL
       MARY ALEXANDER, BRENDAN
       WAY, CATALINA MUNOZ
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.6687 JANET BARMBY, JOHN BARMBY,             VARIOUS                              Litigation             UNDETERMINED
       JEAN-THIERRY MENDIOLA
       BOBBY THOMPSON                ACCOUNT NO.: NOT AVAILABLE
       729 AIRPORT BLVD
       SUITE 189
       BURLINGAME, CA 94010


3.6688 JANET BARMBY, JOHN BARMBY,             VARIOUS                              Litigation             UNDETERMINED
       JEAN-THIERRY MENDIOLA
       MARY ALEXANDER, BRENDAN       ACCOUNT NO.: NOT AVAILABLE
       WAY, CATALINA MUNOZ
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.6689 JANKOWSKY, STECLE                      VARIOUS                              Litigation             UNDETERMINED
       5844 PISTORIA WAY
       SAN JOSE, CA 95138            ACCOUNT NO.: NOT AVAILABLE


3.6690 JANNETT, MELINDA                       VARIOUS                              Litigation             UNDETERMINED
       43287 ROAD 409
       MENDOCINO, CA 95460           ACCOUNT NO.: NOT AVAILABLE


3.6691 JANOSKO, JOHN                          VARIOUS                              Litigation             UNDETERMINED
       20650 BIRCHWOOD DR
       FORESTHILL, CA 95631          ACCOUNT NO.: NOT AVAILABLE


3.6692 JANSEN, ERIN                           VARIOUS                              Litigation             UNDETERMINED
       3534 CATALINA WAY
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.6693 JARA, EVITA                             VARIOUS                              Litigation             UNDETERMINED
       1121 LINCOLN ST
       WATSONVILLE, CA 95076          ACCOUNT NO.: NOT AVAILABLE


3.6694 JARAMILLO, JERRY & LEANNE               VARIOUS                              Litigation             UNDETERMINED
       2574 TANZANITE PL.
       SANTA ROSA, CA 95404           ACCOUNT NO.: NOT AVAILABLE


3.6695 JARET, ROBERT                           VARIOUS                              Litigation             UNDETERMINED
       20 MISTLETOE LANE
       NOVATO, CA 94945               ACCOUNT NO.: NOT AVAILABLE


3.6696 JARRETT, JAMES                          VARIOUS                              Litigation             UNDETERMINED
       1515 JACOB AVENUE
       SAN JOSE, CA 95118             ACCOUNT NO.: NOT AVAILABLE


3.6697 JARRETT, RAHILA                         VARIOUS                              Litigation             UNDETERMINED
       1714 CONESTOGA DR., APT. #D,
       P.O. BOX 1811, EL CERRITO,     ACCOUNT NO.: NOT AVAILABLE
       CA., 94530
       MERCED, CA 95348


3.6698 JARSCHKE, FRANCIS                       VARIOUS                              Litigation             UNDETERMINED
       7000 LANGLEY CYN. RD.
       PRUNUDALE, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.6699 JARVIE, CHERYL                          VARIOUS                              Litigation             UNDETERMINED
       PO BOX 172
       AVERY, CA 95224                ACCOUNT NO.: NOT AVAILABLE


3.6700 JASEY, SHAYNA                           VARIOUS                              Litigation             UNDETERMINED
       3020 MADRONE DR
       KELSEYVILLE, CA 95451          ACCOUNT NO.: NOT AVAILABLE


3.6701 JASHINSKY, LORI                         VARIOUS                              Litigation             UNDETERMINED
       797 PERSHING AVENUE
       SAN JOSE, CA 95126             ACCOUNT NO.: NOT AVAILABLE


3.6702 JASKCON, DAVON                          VARIOUS                              Litigation             UNDETERMINED
       1743 HARROLD ST
       RICHMOND, CA 94801             ACCOUNT NO.: NOT AVAILABLE


3.6703 JASS EWC, INC. EUROPEAN                 VARIOUS                              Litigation             UNDETERMINED
       WAX CENTER-NGUYEN, AMY
       5638 COTTLE RD.                ACCOUNT NO.: NOT AVAILABLE
       30
       SAN JOSE, CA 95123



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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6704 JAUREGUI, GARRICK                      VARIOUS                              Litigation             UNDETERMINED
       20 ARASTRADERO ROAD
       PORTOLA VALLEY, CA 94028      ACCOUNT NO.: NOT AVAILABLE


3.6705 JAWAD, LISA                            VARIOUS                              Litigation             UNDETERMINED
       2364 GREENWOOD DRIVE
       SAN PABLO, CA 94806           ACCOUNT NO.: NOT AVAILABLE


3.6706 JAY VEE LIQUORS                        VARIOUS                              Litigation             UNDETERMINED
       759 SAN PABLO AVE
       ALBANY, CA 94706              ACCOUNT NO.: NOT AVAILABLE


3.6707 JAY VEE LIQUORS-GARCHA,                VARIOUS                              Litigation             UNDETERMINED
       VIKAS
       759 SAN PABLO AVE             ACCOUNT NO.: NOT AVAILABLE
       ALBANY, CA 94706


3.6708 JAY VEE LIQUORS-GARCHA,                VARIOUS                              Litigation             UNDETERMINED
       VIKAS
       759 SAN PABLO AVE             ACCOUNT NO.: NOT AVAILABLE
       ALBANY, CA 94706


3.6709 JAY, SHANNON                           VARIOUS                              Litigation             UNDETERMINED
       8132 GRAPE AVE
       FORESTVILLE, CA 95436         ACCOUNT NO.: NOT AVAILABLE


3.6710 JD FARMING INC.-DOMINGOS,              VARIOUS                              Litigation             UNDETERMINED
       JULIE
       PO BOX 3997                   ACCOUNT NO.: NOT AVAILABLE
       PASO ROBLES, CA 93447


3.6711 JD WEST ASSOCIATES                     VARIOUS                              Litigation             UNDETERMINED
       568 BEAR CANYON LANE
       ARROYO GRANDE, CA 93420       ACCOUNT NO.: NOT AVAILABLE


3.6712 JDVU ENTERPRISE INC-TRAN,              VARIOUS                              Litigation             UNDETERMINED
       PHUOC
       602 S WINCHESTER BLVD         ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95128


3.6713 JEAN, SOPHONIA                         VARIOUS                              Litigation             UNDETERMINED
       9724 MOUNTAIN BLVD APT 5
       OAKLAND, CA 94605             ACCOUNT NO.: NOT AVAILABLE


3.6714 JEFFERSON, ANNELIES                    VARIOUS                              Litigation             UNDETERMINED
       4278 CEDAR AVE
       CLEARLAKE, CA 95422           ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6715 JEFFERSON, MARTHOLA                    VARIOUS                              Litigation             UNDETERMINED
       213 HERLONG AVE
       SAN JOSE, CA 95123            ACCOUNT NO.: NOT AVAILABLE


3.6716 JEFFERSON, TERRI                       VARIOUS                              Litigation             UNDETERMINED
       898 WEST BLANCO ROAD
       SALINAS, CA 93908             ACCOUNT NO.: NOT AVAILABLE


3.6717 JEFFERSON, TYISHA                      VARIOUS                              Litigation             UNDETERMINED
       1375 QUAIL VALLEY
       OAKLEY, CA 94561              ACCOUNT NO.: NOT AVAILABLE


3.6718 JEFFERY WINBERGWEDGE                   VARIOUS                              Litigation             UNDETERMINED
       HOLDINGS-CARLSON, LUCAS
       75 ARBOR RD                   ACCOUNT NO.: NOT AVAILABLE
       STE 6
       MENLO PARK, CA 94025


3.6719 JEFFREY SYLVAN, URSULA                 VARIOUS                              Litigation             UNDETERMINED
       SYLVAN
       RANDAL BLAIR                  ACCOUNT NO.: NOT AVAILABLE
       770 WARFIELD AVENUE
       FLOOR 1
       OAKLAND, CA 94610-2758


3.6720 JEFFREY, RHONDA                        VARIOUS                              Litigation             UNDETERMINED
       1137 PALOMA AVE, UNIT D
       BURLINGAME, CA 94010          ACCOUNT NO.: NOT AVAILABLE


3.6721 JEFFRIES, JOSHUA                       VARIOUS                              Litigation             UNDETERMINED
       9483 WISE RD.
       NEWCASTLE, CA 95658           ACCOUNT NO.: NOT AVAILABLE


3.6722 JEHOVAH'S WITNESSES                    VARIOUS                              Litigation             UNDETERMINED
       KINGDOM HALL-BLAIS, MICHAEL
       28291 RUUS ROAD               ACCOUNT NO.: NOT AVAILABLE
       HAYWARD, CA 94544


3.6723 JELLEMA, NINA                          VARIOUS                              Litigation             UNDETERMINED
       300 WEST 9TH STREET
       ANTIOCH, CA 94509             ACCOUNT NO.: NOT AVAILABLE


3.6724 JELLETICH, MATTHEW                     VARIOUS                              Litigation             UNDETERMINED
       5100 ANNADALE DR
       BAKERSFIELD, CA 93306         ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.6725 JEMROSE VINEYARDS-                      VARIOUS                              Litigation             UNDETERMINED
       MANSFIELD, MIKE
       6628 BENNETT VALLEY RD.        ACCOUNT NO.: NOT AVAILABLE
       SANTA ROSA, CA 95404


3.6726 JENKINS, DANIELLE                       VARIOUS                              Litigation             UNDETERMINED
       1112 J ST APT B
       EUREKA, CA 95501               ACCOUNT NO.: NOT AVAILABLE


3.6727 JENKINS, HENRY & HILDA                  VARIOUS                              Litigation             UNDETERMINED
       284 SANTA YSABEL AVENUE
       PASO ROBLES, CA 93446          ACCOUNT NO.: NOT AVAILABLE


3.6728 JENKINS, TRICIA                         VARIOUS                              Litigation             UNDETERMINED
       569 HILLSIDE DR
       CLOVERDALE, CA 95425           ACCOUNT NO.: NOT AVAILABLE


3.6729 JENNIFER YU AKA QING YU                 VARIOUS                              Litigation             UNDETERMINED
       BRUCE HIGHMAN
       870 MARKET STREET, SUITE 467   ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94102


3.6730 JENNINGS, AARON                         VARIOUS                              Litigation             UNDETERMINED
       2604 INDIAN HILL RD.
       CLEARLAKE OAKS, CA 95423       ACCOUNT NO.: NOT AVAILABLE


3.6731 JENNINGS, BRUCE                         VARIOUS                              Litigation             UNDETERMINED
       429 VERDUCCI COURT
       DALY CITY, CA 94015            ACCOUNT NO.: NOT AVAILABLE


3.6732 JENNINGS, GUY                           VARIOUS                              Litigation             UNDETERMINED
       9719 E HARVEY LANE
       LODI, CA 95240                 ACCOUNT NO.: NOT AVAILABLE


3.6733 JENNINGS, JANINE                        VARIOUS                              Litigation             UNDETERMINED
       1730 NOYES ROAD
       ARROYO GRANDE, CA 93420        ACCOUNT NO.: NOT AVAILABLE


3.6734 JENNINGS, MIKAYLA                       VARIOUS                              Litigation             UNDETERMINED
       7699 HAPPY VALLEY RD
       ANDERSON, CA 96007             ACCOUNT NO.: NOT AVAILABLE


3.6735 JENNINGS, SHARON                        VARIOUS                              Litigation             UNDETERMINED
       PO BOX 691901
       2344 N F STREET                ACCOUNT NO.: NOT AVAILABLE
       STOCKTON, CA 95205




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Litigation & Disputes

3.6736 JENNS CAFE, TRAVIS, JENNIFER            VARIOUS                              Litigation             UNDETERMINED
       PO BOX 5716
       1905 MITCHELL AVENUE           ACCOUNT NO.: NOT AVAILABLE
       OROVILLE, CA 95966


3.6737 JENSEN, K B                             VARIOUS                              Litigation             UNDETERMINED
       355 MONROE DRIVE
       PALO ALTO, CA 94306            ACCOUNT NO.: NOT AVAILABLE


3.6738 JENSEN, LAUREL                          VARIOUS                              Litigation             UNDETERMINED
       7681 CAMINO COLEGIO
       ROHNERT PARK, CA 94928         ACCOUNT NO.: NOT AVAILABLE


3.6739 JENSEN, MICHAEL                         VARIOUS                              Litigation             UNDETERMINED
       7505 SANTA YSABEL AVE
       APT 1                          ACCOUNT NO.: NOT AVAILABLE
       ATASCADERO, CA 93422


3.6740 JEQA, LEVAR                             VARIOUS                              Litigation             UNDETERMINED
       1122 MODOC STREET
       SEASIDE, CA 93955              ACCOUNT NO.: NOT AVAILABLE


3.6741 JERICH, BRIAN                           VARIOUS                              Litigation             UNDETERMINED
       34 SARATOGA ROAD
       SONORA, CA 95370               ACCOUNT NO.: NOT AVAILABLE


3.6742 JERRY POSTON-POSTON, JERRY         VARIOUS                                   Litigation             UNDETERMINED
       P.O. BOX 3991
       SONORA, CA 95370           ACCOUNT NO.: NOT AVAILABLE


3.6743 JERRY'S TRENCHING SERVICE-              VARIOUS                              Litigation             UNDETERMINED
       COLEMAN, CHRIS
       3096 W BELMONT                 ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93722


3.6744 JERSEY PACIFIC VENTURES             VARIOUS                                  Litigation             UNDETERMINED
       DBA ZPIZZA, % THOMAS HANLEY
       95 RAILROAD AVENUE          ACCOUNT NO.: NOT AVAILABLE
       DANVILLE, CA 94526


3.6745 JESCHIEN, PATRICK                       VARIOUS                              Litigation             UNDETERMINED
       939 N SAFFORD AVE
       FRESNO, CA 93728               ACCOUNT NO.: NOT AVAILABLE


3.6746 JESKE, JENNIFER                         VARIOUS                              Litigation             UNDETERMINED
       6818 HARRINGTON FLAT RD
       KELSEYVILLE, CA 95451          ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.6747 JESMER, DONNA                           VARIOUS                              Litigation             UNDETERMINED
       19145 COUNTRY HILLS DR
       COTTONWOOD, CA 96022           ACCOUNT NO.: NOT AVAILABLE


3.6748 JESS, JESS                              VARIOUS                              Litigation             UNDETERMINED
       230 FORESTHILL AVE
       B                              ACCOUNT NO.: NOT AVAILABLE
       AUBURN, CA 95603


3.6749 JESSUP, DAVID                           VARIOUS                              Litigation             UNDETERMINED
       221 HIDDEN VALLEY RD.
       ROYAL OAKS, CA 95076           ACCOUNT NO.: NOT AVAILABLE


3.6750 JESTER, TONY & YANA                     VARIOUS                              Litigation             UNDETERMINED
       P.O. BOX 1748
       DIAMOND SPRINGS, CA 95619      ACCOUNT NO.: NOT AVAILABLE


3.6751 JESUS MENDOZA                           VARIOUS                              Litigation             UNDETERMINED
       THE LAW OFFICES OF ARASH
       KHORSANDI, PC                  ACCOUNT NO.: NOT AVAILABLE
       2960 WILSHIRE BOULEVARD,
       3RD FLOOR
       LOS ANGELES, CA 90010


3.6752 JETSET MUSIC GROUP-                     VARIOUS                              Litigation             UNDETERMINED
       REESER, RON
       5308 GUERRERO CT               ACCOUNT NO.: NOT AVAILABLE
       DUBLIN, CA 94568


3.6753 JETT, DAN                               VARIOUS                              Litigation             UNDETERMINED
       106 CULLIGAN CT
       BOULDER CREEK, CA 95006        ACCOUNT NO.: NOT AVAILABLE


3.6754 JEW, RICKY                              VARIOUS                              Litigation             UNDETERMINED
       5 VERANO DR
       SOUTH SAN FRANCISCO, CA        ACCOUNT NO.: NOT AVAILABLE
       94080


3.6755 JEWEL BOX MORGAN HILL-                  VARIOUS                              Litigation             UNDETERMINED
       ULERY, TRACEY
       17190 MONTEREY ST, SUITE 101   ACCOUNT NO.: NOT AVAILABLE
       MORGAN HILL, CA 95037


3.6756 JG MANAGEMENT CO, INC -                 VARIOUS                              Litigation             UNDETERMINED
       UNDERWOOD, AMBER
       5743 CORSA AVE, STE 200        ACCOUNT NO.: NOT AVAILABLE
       WESTLAKE VILLAGE, CA 91362




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Litigation & Disputes

3.6757 JIA, PENGJUN                           VARIOUS                              Litigation             UNDETERMINED
       100 S. B ST.
       SAN MATEO, CA 94401           ACCOUNT NO.: NOT AVAILABLE


3.6758 JIA, YULAN                             VARIOUS                              Litigation             UNDETERMINED
       94 SHELL PL
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.6759 JIANG, YULING                          VARIOUS                              Litigation             UNDETERMINED
       48 WICKER DR
       RICHMOND HILL, CA L4E 4T5     ACCOUNT NO.: NOT AVAILABLE


3.6760 JIANG, ZUOWEN                          VARIOUS                              Litigation             UNDETERMINED
       5027 WOODTHRUSH RD
       PLEASANTON, CA 94566          ACCOUNT NO.: NOT AVAILABLE


3.6761 JIBSTER LLC-PATEL, SHREYAS             VARIOUS                              Litigation             UNDETERMINED
       570 MUNRAS AVE STE 70
       MONTEREY, CA 93940            ACCOUNT NO.: NOT AVAILABLE


3.6762 JIBSTER LLC-PATEL, SHREYAS             VARIOUS                              Litigation             UNDETERMINED
       1400 HOWARD AVE
       BURLINGAME, CA 94010          ACCOUNT NO.: NOT AVAILABLE


3.6763 JILLSON, DOROTHY                       VARIOUS                              Litigation             UNDETERMINED
       3192 N. GREENWOOD
       SANGER, CA 93657              ACCOUNT NO.: NOT AVAILABLE


3.6764 JIM, MAN YUE                           VARIOUS                              Litigation             UNDETERMINED
       219 BRIGHT STREET
       SAN FRANCISCO, CA 94132       ACCOUNT NO.: NOT AVAILABLE


3.6765 JIMENEZ (ATTY REP), LILIANA            VARIOUS                              Litigation             UNDETERMINED
       3529 INTERNATIONAL BLVD
       OAKLAND, CA 94601             ACCOUNT NO.: NOT AVAILABLE


3.6766 JIMENEZ, BRIANDA                       VARIOUS                              Litigation             UNDETERMINED
       207 N. CHESTER AVE.
       BAKERSFIELD, CA 93307         ACCOUNT NO.: NOT AVAILABLE


3.6767 JIMENEZ, GUILLERMO (ATTY               VARIOUS                              Litigation             UNDETERMINED
       REP)
       1180 TALLAHASSEE DR           ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95122




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6768 JIMENEZ, JOSE                          VARIOUS                              Litigation             UNDETERMINED
       17865 NORTHWWOD PL
       SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.6769 JIMENEZ, JUANITA                       VARIOUS                              Litigation             UNDETERMINED
       16625 BLACKIE RD
       PRUNEDALE, CA 93907           ACCOUNT NO.: NOT AVAILABLE


3.6770 JIMENEZ, LILIANA                       VARIOUS                              Litigation             UNDETERMINED
       JAMES BACHAN
       2648 INTERNATIONAL BLVD.,     ACCOUNT NO.: NOT AVAILABLE
       SUITE 801
       OAKLAND, CA 94601


3.6771 JIMENEZ, LOURDES                       VARIOUS                              Litigation             UNDETERMINED
       1013 FREMONT BLVD
       WEST SACRAMENTO, CA 95605     ACCOUNT NO.: NOT AVAILABLE


3.6772 JIMENEZ, MARK                          VARIOUS                              Litigation             UNDETERMINED
       1720 MIMOSA STREET
       HOLLISTER, CA 95023           ACCOUNT NO.: NOT AVAILABLE


3.6773 JIMENEZ, RAFAEL                        VARIOUS                              Litigation             UNDETERMINED
       1824 T STREET
       FIREBAUGH, CA 93622           ACCOUNT NO.: NOT AVAILABLE


3.6774 JIMENEZ, REBECA                        VARIOUS                              Litigation             UNDETERMINED
       2320 N MAIN ST APT C
       SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.6775 JIMENEZ, ROBERT                        VARIOUS                              Litigation             UNDETERMINED
       3615 REDWOOD ROAD
       OAKLAND, CA 94619             ACCOUNT NO.: NOT AVAILABLE


3.6776 JIMENEZ, ROSALIA                       VARIOUS                              Litigation             UNDETERMINED
       119 PRIMROSE DRIVE
       SALINAS, CA 93900             ACCOUNT NO.: NOT AVAILABLE


3.6777 JIMENEZ, TINA                          VARIOUS                              Litigation             UNDETERMINED
       2960 SAN JUAN HOLLISTER RD
       SAN JUAN BAUTISTA, CA 95045   ACCOUNT NO.: NOT AVAILABLE


3.6778 JIMENEZ, TOM                           VARIOUS                              Litigation             UNDETERMINED
       1871 SAN MIGUEL CANYON RD
       SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6779 JIMS AUTOMOTIVE,                       VARIOUS                              Litigation             UNDETERMINED
       NEISWANGER, JOHN
       899 PINEY WAY                 ACCOUNT NO.: NOT AVAILABLE
       MORRO BAY, CA 93442


3.6780 JINGLEBELLS LLC DBA TACO               VARIOUS                              Litigation             UNDETERMINED
       BELL, SINGH, SURAINDER
       6030 JOHNSON DRIVE            ACCOUNT NO.: NOT AVAILABLE
       PLEASANTON, CA 94588


3.6781 JINGLEBELLS LLC-ZENG, JING             VARIOUS                              Litigation             UNDETERMINED
       5673 W LAS POSITAS BLVD
       SUITE 212                     ACCOUNT NO.: NOT AVAILABLE
       PLEASANTON, CA 94588


3.6782 JINGLEBELLS LLC-ZENG, JING             VARIOUS                              Litigation             UNDETERMINED
       5673 W LAS POSITAS BLVD.,
       STE 212                       ACCOUNT NO.: NOT AVAILABLE
       PLEASANTON, CA 94588


3.6783 JIP PRODUCTS FINISHING INC-            VARIOUS                              Litigation             UNDETERMINED
       RUBIO, ELIDA
       1500 NORMAN AVE               ACCOUNT NO.: NOT AVAILABLE
       103
       SANTA CLARA, CA 95054


3.6784 JJS THREADING SALON,                   VARIOUS                              Litigation             UNDETERMINED
       CHANNON SHIPRA
       4211 ROSEWOOD DRIVE           ACCOUNT NO.: NOT AVAILABLE
       PLEASANTON, CA 94588


3.6785 JMB CONSTRUCTION                       VARIOUS                              Litigation             UNDETERMINED
       132 S MAPLE AVE
       SOUTH SAN FRANCISCO, CA       ACCOUNT NO.: NOT AVAILABLE
       94080


3.6786 JMB CONSTRUCTION                       VARIOUS                              Litigation             UNDETERMINED
       132 S MAPLE AVE
       SOUTH SAN FRANCISCO, CA       ACCOUNT NO.: NOT AVAILABLE
       94080


3.6787 JMB CONSTRUCTION-HEHIR,                VARIOUS                              Litigation             UNDETERMINED
       CORMAC
       132 SOUTH MAPLE AVE           ACCOUNT NO.: NOT AVAILABLE
       SOUTH SAN FRANCISCO, CA
       94080




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6788 JO, SUNYOUNG                           VARIOUS                              Litigation             UNDETERMINED
       273 COUNTY STREET
       #C                            ACCOUNT NO.: NOT AVAILABLE
       DALY CITY, CA 94014


3.6789 JOANS BIG WASH, TSZ & JOAN             VARIOUS                              Litigation             UNDETERMINED
       CHAN
       10801 BANCROFT AVENUE         ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94603


3.6790 JOAQUIN, ALLAN                         VARIOUS                              Litigation             UNDETERMINED
       1295 W FREMONT AVE
       FRESNO, CA 93711              ACCOUNT NO.: NOT AVAILABLE


3.6791 JOE HEIDRICK ENTERPRISES-              VARIOUS                              Litigation             UNDETERMINED
       CHARTER, ALLISON
       36826 COUNTY ROAD 24          ACCOUNT NO.: NOT AVAILABLE
       WOODLAND, CA 95695


3.6792 JOE, BRANDON                           VARIOUS                              Litigation             UNDETERMINED
       850 DEER SPRING
       CONCORD, CA 94521             ACCOUNT NO.: NOT AVAILABLE


3.6793 JOE, RONALD                            VARIOUS                              Litigation             UNDETERMINED
       6800 GRAYSTONE LN
       SAN JOSE, CA 95120            ACCOUNT NO.: NOT AVAILABLE


3.6794 JOE'S AUTOMOBILE-ZEIDAN,               VARIOUS                              Litigation             UNDETERMINED
       JOSEPH
       711 TENNESSEE ST              ACCOUNT NO.: NOT AVAILABLE
       VALLEJO, CA 94590


3.6795 JOGOPULOS, PETER                       VARIOUS                              Litigation             UNDETERMINED
       1053 STEVEN DRIVE
       1509 PAWNEE DRIVE             ACCOUNT NO.: NOT AVAILABLE
       PITTSBURG, CA 94565


3.6796 JOHANNES, PATRICIA                     VARIOUS                              Litigation             UNDETERMINED
       1912 MINNESOTA STREET
       FAIRFIELD, CA 94533           ACCOUNT NO.: NOT AVAILABLE


3.6797 JOHANSEN, GWEN                         VARIOUS                              Litigation             UNDETERMINED
       6606 NORTH PERSHING AVE
       STOCKTON, CA 95207            ACCOUNT NO.: NOT AVAILABLE


3.6798 JOHANSON, SARAH                        VARIOUS                              Litigation             UNDETERMINED
       3428 HIATT DR.
       REDDING, CA 96001             ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6799 JOHMANN, BRIAN                         VARIOUS                              Litigation             UNDETERMINED
       5106 CHARLOTTE WAY
       LIVERMORE, CA 94550           ACCOUNT NO.: NOT AVAILABLE


3.6800 JOHN A LUSARDI DDS, JOHN               VARIOUS                              Litigation             UNDETERMINED
       CHRISTINE LUSARDI
       101 NO. SAN MATEO DRIVE       ACCOUNT NO.: NOT AVAILABLE
       SAN MATEO, CA 94401


3.6801 JOHN DIXON, GRETCHEN PRTER             VARIOUS                              Litigation             UNDETERMINED
       BOBBY THOMPSON
       714 AIRPORT BLVD              ACCOUNT NO.: NOT AVAILABLE
       SUITE 174
       BURLINGAME, CA 94010


3.6802 JOHN DIXON, GRETCHEN PRTER             VARIOUS                              Litigation             UNDETERMINED
       MARY ALEXANDER, BRENDAN
       WAY, CATALINA MUNOZ           ACCOUNT NO.: NOT AVAILABLE
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.6803 JOHN GEORGES IGAZ                      VARIOUS                              Litigation             UNDETERMINED
       CHRISTOPHER DOLAN, ARSEN
       SARAPINIAN, AIMEE KIRBY       ACCOUNT NO.: NOT AVAILABLE
       1441 MARKET STREET
       SAN FRANCISCO, CA 94102


3.6804 JOHN GEORGES IGAZ                      VARIOUS                              Litigation             UNDETERMINED
       MARY ALEXANDER, BRENDAN
       WAY, CATALINA MUNOZ           ACCOUNT NO.: NOT AVAILABLE
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.6805 JOHN GEORGES IGAZ                      VARIOUS                              Litigation             UNDETERMINED
       BOBBY THOMPSON
       722 AIRPORT BLVD              ACCOUNT NO.: NOT AVAILABLE
       SUITE 182
       BURLINGAME, CA 94010


3.6806 JOHN GRISCOM AND LILLIAN               VARIOUS                              Litigation             UNDETERMINED
       GRISCOM
       GORI, JULIAN & ASSOCIATES     ACCOUNT NO.: NOT AVAILABLE
       P.C.
       156 N. MAIN STREET
       EDWARDSVILLE, IL 62025




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6807 JOHN MATLOCK, KATHE                    VARIOUS                              Litigation             UNDETERMINED
       MATLOCK
       MARY ALEXANDER, BRENDAN       ACCOUNT NO.: NOT AVAILABLE
       WAY, CATALINA MUNOZ
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.6808 JOHN MATLOCK, KATHE                    VARIOUS                              Litigation             UNDETERMINED
       MATLOCK
       BOBBY THOMPSON                ACCOUNT NO.: NOT AVAILABLE
       723 AIRPORT BLVD
       SUITE 183
       BURLINGAME, CA 94010


3.6809 JOHN MATLOCK, KATHE                    VARIOUS                              Litigation             UNDETERMINED
       MATLOCK
       PAUL A. MATIASIC, HANNAH      ACCOUNT NO.: NOT AVAILABLE
       MOHR
       44 MONTGOMERY STREET
       SUITE 3851
       SAN FRANCISCO, CA 94104


3.6810 JOHN MUIR FAMILY PHYSICIANS            VARIOUS                              Litigation             UNDETERMINED
       401 GREGORY LANE
       PLEASANT HILL, CA 94523       ACCOUNT NO.: NOT AVAILABLE


3.6811 JOHN, HUFFORD                          VARIOUS                              Litigation             UNDETERMINED
       9713 N. PRICE AVENUE
       FRESNO, CA 93720              ACCOUNT NO.: NOT AVAILABLE


3.6812 JOHNS, SCOTT                           VARIOUS                              Litigation             UNDETERMINED
       2736 BUCKBOARD ROAD
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.6813 JOHNSON, AARON                         VARIOUS                              Litigation             UNDETERMINED
       1536 JACKSON ST
       RED BLUFF, CA 96080           ACCOUNT NO.: NOT AVAILABLE


3.6814 JOHNSON, ALEXANDER                     VARIOUS                              Litigation             UNDETERMINED
       503 MARNELL AVE.
       SANTA CRUZ, CA 95062          ACCOUNT NO.: NOT AVAILABLE


3.6815 JOHNSON, ALYSIA                        VARIOUS                              Litigation             UNDETERMINED
       18611 OLD OASIS RD
       REDDING, CA 96003             ACCOUNT NO.: NOT AVAILABLE


3.6816 JOHNSON, AMANDA                        VARIOUS                              Litigation             UNDETERMINED
       214 FAIRVIEW DRIVE
       VACAVILLE, CA 95687           ACCOUNT NO.: NOT AVAILABLE

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Litigation & Disputes

3.6817 JOHNSON, AMBER                         VARIOUS                              Litigation             UNDETERMINED
       PO BOX 567
       MOSS BEACH, CA 94038          ACCOUNT NO.: NOT AVAILABLE


3.6818 JOHNSON, ANTONIO                       VARIOUS                              Litigation             UNDETERMINED
       58 CALERA CANYON ROAD
       SALINAS, CA 93908             ACCOUNT NO.: NOT AVAILABLE


3.6819 JOHNSON, ASHLEY                        VARIOUS                              Litigation             UNDETERMINED
       957 FRANQUETTE AVENUE
       SAN JOSE, CA 95125            ACCOUNT NO.: NOT AVAILABLE


3.6820 JOHNSON, BARBARA                       VARIOUS                              Litigation             UNDETERMINED
       2826 UNION STREET
       OAKLAND, CA 94608             ACCOUNT NO.: NOT AVAILABLE


3.6821 JOHNSON, BENJAMIN                      VARIOUS                              Litigation             UNDETERMINED
       4008 HIGUERA ROAD
       SAN JOSE, CA 95148            ACCOUNT NO.: NOT AVAILABLE


3.6822 JOHNSON, BETTY                         VARIOUS                              Litigation             UNDETERMINED
       2190 BENSON AVE
       CAMBRIA, CA 93428             ACCOUNT NO.: NOT AVAILABLE


3.6823 JOHNSON, BILL                          VARIOUS                              Litigation             UNDETERMINED
       1409 LA LOMA DRIVE
       NIPOMO, CA 93444              ACCOUNT NO.: NOT AVAILABLE


3.6824 JOHNSON, BRANDON                       VARIOUS                              Litigation             UNDETERMINED
       6350 SUMMERFIELD DRIVE
       BAKERSFIELD, CA 93313         ACCOUNT NO.: NOT AVAILABLE


3.6825 JOHNSON, CANEDRA                       VARIOUS                              Litigation             UNDETERMINED
       314 BAYWOOD DR
       VALLEJO, CA 94591             ACCOUNT NO.: NOT AVAILABLE


3.6826 JOHNSON, CHRISTOPHER                   VARIOUS                              Litigation             UNDETERMINED
       2500 PATRONA
       EL SOBRANTE, CA 94803         ACCOUNT NO.: NOT AVAILABLE


3.6827 JOHNSON, COLIN                         VARIOUS                              Litigation             UNDETERMINED
       2130 HARRISON STREET
       8                             ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94110




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6828 JOHNSON, DAVID                         VARIOUS                              Litigation             UNDETERMINED
       13888 PEAR HILL LANE
       AUBURN, CA 95603              ACCOUNT NO.: NOT AVAILABLE


3.6829 JOHNSON, DAWN                          VARIOUS                              Litigation             UNDETERMINED
       700 CARDOSO CT
       GALT, CA 95632                ACCOUNT NO.: NOT AVAILABLE


3.6830 JOHNSON, DOLORES                       VARIOUS                              Litigation             UNDETERMINED
       PO BOX 1055
       940 ARLINGTON AVENUE          ACCOUNT NO.: NOT AVAILABLE
       FERNDALE, CA 95536


3.6831 JOHNSON, DORIS                         VARIOUS                              Litigation             UNDETERMINED
        820 INGLEWOOD DR
       SACRAMENTO, CA 95605          ACCOUNT NO.: NOT AVAILABLE


3.6832 JOHNSON, DOROTHY                       VARIOUS                              Litigation             UNDETERMINED
       1192 QUAIL CT
       CONCORD, CA 94518             ACCOUNT NO.: NOT AVAILABLE


3.6833 JOHNSON, DOUGLAS                       VARIOUS                              Litigation             UNDETERMINED
       4455 N DICKENSON AVE
       FRESNO, CA 93723              ACCOUNT NO.: NOT AVAILABLE


3.6834 JOHNSON, GARY                          VARIOUS                              Litigation             UNDETERMINED
       P.O. BOX 2342
       1118 VIA MAVIS                ACCOUNT NO.: NOT AVAILABLE
       SANTA MARIA, CA 93455


3.6835 JOHNSON, GREG AND ARLETTE              VARIOUS                              Litigation             UNDETERMINED
       972 CAMELOT DRIVE
       CALIFORNIA BOULEVARD          ACCOUNT NO.: NOT AVAILABLE
       SANTA MARIA, CA 93455


3.6836 JOHNSON, HARRY                         VARIOUS                              Litigation             UNDETERMINED
       326 CRESCENT AVE
       SANTA MARIA, CA 93455         ACCOUNT NO.: NOT AVAILABLE


3.6837 JOHNSON, HOLLY                         VARIOUS                              Litigation             UNDETERMINED
       14145 E. KINGS CANYON RD
       SANGER, CA 93657              ACCOUNT NO.: NOT AVAILABLE


3.6838 JOHNSON, HOWARD                        VARIOUS                              Litigation             UNDETERMINED
       478 SEELY AVE
       AROMAS, CA 95004              ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6839 JOHNSON, JANEY                         VARIOUS                              Litigation             UNDETERMINED
       PO BOX 34
       LAKEPORT, CA 95453            ACCOUNT NO.: NOT AVAILABLE


3.6840 JOHNSON, JERRY                         VARIOUS                              Litigation             UNDETERMINED
       21460 HYDE RD
       SONOMA, CA 95476              ACCOUNT NO.: NOT AVAILABLE


3.6841 JOHNSON, JOANNA                        VARIOUS                              Litigation             UNDETERMINED
       16650 FORTUNE WAY
       ANDERSON, CA 96007            ACCOUNT NO.: NOT AVAILABLE


3.6842 JOHNSON, JOYCE                         VARIOUS                              Litigation             UNDETERMINED
       PO BOX 119
       HOOPA, CA 95546               ACCOUNT NO.: NOT AVAILABLE


3.6843 JOHNSON, KALEAS                        VARIOUS                              Litigation             UNDETERMINED
       4222 GEORGIA ST
       VALLEJO, CA 94591             ACCOUNT NO.: NOT AVAILABLE


3.6844 JOHNSON, KAREN                         VARIOUS                              Litigation             UNDETERMINED
       PO BOX 5863
       INCLINE VILLAGE, CA 89450     ACCOUNT NO.: NOT AVAILABLE


3.6845 JOHNSON, KAREN                         VARIOUS                              Litigation             UNDETERMINED
       1280 STATE HWY 49
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.6846 JOHNSON, KAREN                         VARIOUS                              Litigation             UNDETERMINED
       2282 HARTVOICKSON LN
       VALLEY SPRINGS, CA 95252      ACCOUNT NO.: NOT AVAILABLE


3.6847 JOHNSON, KAREN                         VARIOUS                              Litigation             UNDETERMINED
       4527 W ROBERTS AVE
       FRESNO, CA 93722              ACCOUNT NO.: NOT AVAILABLE


3.6848 JOHNSON, KARI                          VARIOUS                              Litigation             UNDETERMINED
       730 W. ESCALON
       FRESNO, CA 93704              ACCOUNT NO.: NOT AVAILABLE


3.6849 JOHNSON, KIM                           VARIOUS                              Litigation             UNDETERMINED
       PO BOX 1415
       PLEASANTON, CA 94566          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6850 JOHNSON, KIMBERLY                      VARIOUS                              Litigation             UNDETERMINED
       8215 GLOF LINK ROAD
       RUMRILL BOULEVARD             ACCOUNT NO.: NOT AVAILABLE
       CA, CA


3.6851 JOHNSON, LAMAR                         VARIOUS                              Litigation             UNDETERMINED
       506 SPRING RIVER CIRCLE
       STOCKTON, CA 95210            ACCOUNT NO.: NOT AVAILABLE


3.6852 JOHNSON, LEANNE                        VARIOUS                              Litigation             UNDETERMINED
       2134 HODGSON
       EUREKA, CA 95503              ACCOUNT NO.: NOT AVAILABLE


3.6853 JOHNSON, LINDA                         VARIOUS                              Litigation             UNDETERMINED
       P.O. BOX 767
       GUALALA, CA 95445             ACCOUNT NO.: NOT AVAILABLE


3.6854 JOHNSON, LOIS                          VARIOUS                              Litigation             UNDETERMINED
       3914 MAGEE AVE
       OAKLAND, CA 94619             ACCOUNT NO.: NOT AVAILABLE


3.6855 JOHNSON, LORETTA                       VARIOUS                              Litigation             UNDETERMINED
       416 HIGHLAND AVENUE
       SAN MATEO, CA 94401           ACCOUNT NO.: NOT AVAILABLE


3.6856 JOHNSON, LORI                          VARIOUS                              Litigation             UNDETERMINED
       7758 ROAD 9
       ORLAND, CA 95963              ACCOUNT NO.: NOT AVAILABLE


3.6857 JOHNSON, LUCILLE                       VARIOUS                              Litigation             UNDETERMINED
       1068 MERLE AVE
       SAN JOSE, CA 95125            ACCOUNT NO.: NOT AVAILABLE


3.6858 JOHNSON, LUCINDA                       VARIOUS                              Litigation             UNDETERMINED
       320 HATTEN ROAD
       SEASIDE, CA 93933             ACCOUNT NO.: NOT AVAILABLE


3.6859 JOHNSON, MARIA                         VARIOUS                              Litigation             UNDETERMINED
       17202 JEANESE DRIVE
       JAMESTOWN, CA 95327           ACCOUNT NO.: NOT AVAILABLE


3.6860 JOHNSON, MESSINA                       VARIOUS                              Litigation             UNDETERMINED
       P O BOX 1807
       8200 HAPPY VALLEY ROAD        ACCOUNT NO.: NOT AVAILABLE
       PLACERVILLE, CA 95684




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6861 JOHNSON, MICHAEL                       VARIOUS                              Litigation             UNDETERMINED
       19635 OPAL COURT
       SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.6862 JOHNSON, NINA                          VARIOUS                              Litigation             UNDETERMINED
       39 VIA LA CUMBRE
       GREENBRAE, CA 94904           ACCOUNT NO.: NOT AVAILABLE


3.6863 JOHNSON, PATRICIA                      VARIOUS                              Litigation             UNDETERMINED
       2986 BECHELLI LANE
       REDDING, CA 96002             ACCOUNT NO.: NOT AVAILABLE


3.6864 JOHNSON, PATRICIA                      VARIOUS                              Litigation             UNDETERMINED
       812 GREENWICH DR
       CHICO, CA 95926               ACCOUNT NO.: NOT AVAILABLE


3.6865 JOHNSON, PETER                         VARIOUS                              Litigation             UNDETERMINED
       1603 PIERCE AVE
       CAMBRIA, CA 93428             ACCOUNT NO.: NOT AVAILABLE


3.6866 JOHNSON, PRISCILLA V. PG&E             VARIOUS                              Litigation             UNDETERMINED
       600 BRINWOOD WAY
       OAKLEY, CA 94561              ACCOUNT NO.: NOT AVAILABLE


3.6867 JOHNSON, RENEE                         VARIOUS                              Litigation             UNDETERMINED
       60140 CASCADEL DRIVE NORTH
       NORTH FORK, CA 93643          ACCOUNT NO.: NOT AVAILABLE


3.6868 JOHNSON, ROBERT & GLENDA               VARIOUS                              Litigation             UNDETERMINED
       1985 HERMAN STREET
       ATWATER, CA 95301             ACCOUNT NO.: NOT AVAILABLE


3.6869 JOHNSON, SANDRA                        VARIOUS                              Litigation             UNDETERMINED
       2 BELL CT
       EAST PALO ALTO, CA 94303      ACCOUNT NO.: NOT AVAILABLE


3.6870 JOHNSON, SANDRA                        VARIOUS                              Litigation             UNDETERMINED
       2 BELL CT
       EAST PALO ALTO, CA 94303      ACCOUNT NO.: NOT AVAILABLE


3.6871 JOHNSON, SEAN                          VARIOUS                              Litigation             UNDETERMINED
       10870 RIVER RD
       FORESTVILLE, CA 95486         ACCOUNT NO.: NOT AVAILABLE


3.6872 JOHNSON, SHIRLEY                       VARIOUS                              Litigation             UNDETERMINED
       3480 17TH ST
       SAN FRANCISCO, CA 94110       ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.6873 JOHNSON, SHIRLEY                       VARIOUS                              Litigation             UNDETERMINED
       3480 17TH ST
       SAN FRANCISCO, CA 94110       ACCOUNT NO.: NOT AVAILABLE


3.6874 JOHNSON, STELLA                        VARIOUS                              Litigation             UNDETERMINED
       989 ROSELMA PLACE
       PLEASANTON, CA 94566          ACCOUNT NO.: NOT AVAILABLE


3.6875 JOHNSON, TIMOTHY V. PG&E               VARIOUS                              Litigation             UNDETERMINED
       JESSICA RIGGIN, ESQ.
       100 PINE STREET, SUITE 2150   ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94111


3.6876 JOHNSON, WALT                          VARIOUS                              Litigation             UNDETERMINED
       10275 LOCH HAVEN DRIVE
       8132 SERENE ROAD              ACCOUNT NO.: NOT AVAILABLE
       SODA SPRINGS, CA 95728


3.6877 JOHNSON, WALTER                        VARIOUS                              Litigation             UNDETERMINED
       10275 LOCH HAVEN DR
       SANTA ROSA, CA 95404          ACCOUNT NO.: NOT AVAILABLE


3.6878 JOHNSON, YOLANDA                       VARIOUS                              Litigation             UNDETERMINED
       4703 AUTUMN ROSE CT
       FAIRFIELD, CA 94534           ACCOUNT NO.: NOT AVAILABLE


3.6879 JOHNSONS MARKET, SUSAN                 VARIOUS                              Litigation             UNDETERMINED
       CHOI
       2515 DURANT AVENUE            ACCOUNT NO.: NOT AVAILABLE
       2526 DURANT AVENUE
       BERKELEY, CA 94704


3.6880 JOHNSTON, BLAKE                        VARIOUS                              Litigation             UNDETERMINED
       14587 ASHEVILLE DR
       MAGALIA, CA 95954             ACCOUNT NO.: NOT AVAILABLE


3.6881 JOHNSTON, BRIAN                        VARIOUS                              Litigation             UNDETERMINED
       251 GLEN VIS
       SANTA CRUZ, CA 95066          ACCOUNT NO.: NOT AVAILABLE


3.6882 JOHNSTON, EVANITA                      VARIOUS                              Litigation             UNDETERMINED
       6815 VALLEPACIFICO
       PRUNEDALE, CA 93907           ACCOUNT NO.: NOT AVAILABLE


3.6883 JOHNSTON, JAMES                        VARIOUS                              Litigation             UNDETERMINED
       PO BOX 628
       DOWNIEVILLE, CA 95936         ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.6884 JOHNSTON, JASON                        VARIOUS                              Litigation             UNDETERMINED
       597 PARADISE ROAD
       PRUNEDALE, CA 93907           ACCOUNT NO.: NOT AVAILABLE


3.6885 JOHNSTON, JUDITH                       VARIOUS                              Litigation             UNDETERMINED
       843 N CAMINO ALTO
       VALLEJO, CA 94589             ACCOUNT NO.: NOT AVAILABLE


3.6886 JOHNSTON, LARRY                        VARIOUS                              Litigation             UNDETERMINED
       2026 LAZO WAY,
       SANTA MARIA, CA 93458         ACCOUNT NO.: NOT AVAILABLE


3.6887 JOHNSTONE SUPPLY, SUNNY                VARIOUS                              Litigation             UNDETERMINED
       ENTERPRISES
       333 MARKET STREET             ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94607


3.6888 JOHNSTONE, JAMES                       VARIOUS                              Litigation             UNDETERMINED
       423 KING RD
       PETALUMA, CA 94952            ACCOUNT NO.: NOT AVAILABLE


3.6889 JOKEL, BERRY                           VARIOUS                              Litigation             UNDETERMINED
       5404 CASA BONITA DRIVE
       BAKERSFIELD, CA 93307         ACCOUNT NO.: NOT AVAILABLE


3.6890 JOLUDI ENTERPRISES INC DBA             VARIOUS                              Litigation             UNDETERMINED
       DAN SOUZA’S DAIRY INC, DAN
       SOUZA                         ACCOUNT NO.: NOT AVAILABLE
       8415 S. VALENTINE AVE
       FRESNO, CA 93706


3.6891 JOMA'S ARTISAN ICE CREAM-              VARIOUS                              Litigation             UNDETERMINED
       STUMP, DON
       P.O. BOX 168                  ACCOUNT NO.: NOT AVAILABLE
       HATHAWAY PINES, CA 95233


3.6892 JONATHAN NEIL &                        VARIOUS                              Litigation             UNDETERMINED
       ASSOC(CSAA), CSAA FOR TAM
       LUU 2235 CHARLOTTE AVE,       ACCOUNT NO.: NOT AVAILABLE
       CONCORD
       18321 VENTURA BLVD STE 1000
       TARZANA, CA 94518


3.6893 JONATHAN NEIL & ASSOCIATES,            VARIOUS                              Litigation             UNDETERMINED
       INC-DAVIS, TODD
       PO BOX 7000                   ACCOUNT NO.: NOT AVAILABLE
       TARZANA, CA 91357




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Litigation & Disputes

3.6894 JONATHAN NEIL & ASSOCIATES-            VARIOUS                              Litigation             UNDETERMINED
       DAVIS, TODD
       PO BOX 7000                   ACCOUNT NO.: NOT AVAILABLE
       TARZANA, CA 91357


3.6895 JONATHAN NEIL & ASSOCIATES-            VARIOUS                              Litigation             UNDETERMINED
       DAVIS, TODD
       PO BOX 7000                   ACCOUNT NO.: NOT AVAILABLE
       TARZANA, CA 91357


3.6896 JONES, ANDREW                          VARIOUS                              Litigation             UNDETERMINED
       987 LONGLEY AVE
       SAN JOSE, CA 95125            ACCOUNT NO.: NOT AVAILABLE


3.6897 JONES, BONNIE                          VARIOUS                              Litigation             UNDETERMINED
       235 MAGELLAN AVE
       SAN FRANCISCO, CA 94116       ACCOUNT NO.: NOT AVAILABLE


3.6898 JONES, BRUCE                           VARIOUS                              Litigation             UNDETERMINED
       5588 BEAR TRAP DRIVE
       MARIPOSA, CA 95338            ACCOUNT NO.: NOT AVAILABLE


3.6899 JONES, CASEY                           VARIOUS                              Litigation             UNDETERMINED
       12951 RIDGE VIEW DRIVE
       SUTTER CREEK, CA 95685        ACCOUNT NO.: NOT AVAILABLE


3.6900 JONES, CLAYTON                         VARIOUS                              Litigation             UNDETERMINED
       866 CRANE AVE
       LIVERMORE, CA 94551           ACCOUNT NO.: NOT AVAILABLE


3.6901 JONES, CLIFF                           VARIOUS                              Litigation             UNDETERMINED
       1800 ELMWOOD ROAD
       HILLSBOROUGH, CA 94010        ACCOUNT NO.: NOT AVAILABLE


3.6902 JONES, CONNIE MARIA                    VARIOUS                              Litigation             UNDETERMINED
       458 TABOR AVE
       FAIRFIELD, CA 94533           ACCOUNT NO.: NOT AVAILABLE


3.6903 JONES, CRYSTAL                         VARIOUS                              Litigation             UNDETERMINED
       PO BOX 97
       333 SEELY AVE                 ACCOUNT NO.: NOT AVAILABLE
       AROMAS, CA 95004


3.6904 JONES, DARRYL                          VARIOUS                              Litigation             UNDETERMINED
       13733 E EIGHT MILE ROAD
       LINDEN, CA 95236              ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6905 JONES, DIANE                           VARIOUS                              Litigation             UNDETERMINED
       35484 AVENUE 13 1/4
       MADERA, CA 93636              ACCOUNT NO.: NOT AVAILABLE


3.6906 JONES, GARY                            VARIOUS                              Litigation             UNDETERMINED
       PO BOX 177
       MI WUK VILLAGE, CA 95346      ACCOUNT NO.: NOT AVAILABLE


3.6907 JONES, GEORGE                          VARIOUS                              Litigation             UNDETERMINED
       615 EL VARANO WAY
       CHICO, CA 95973               ACCOUNT NO.: NOT AVAILABLE


3.6908 JONES, GEZELL MAZIDUS                  VARIOUS                              Litigation             UNDETERMINED
       RAYMOND GHERMEZIAN, A
       PROFESSIONAL LAW              ACCOUNT NO.: NOT AVAILABLE
       CORPORATION
       3435 WILSHIRE BOULEVARD,
       SUITE 801
       LOS ANGELES, CA 90010


3.6909 JONES, JACQUELYN                       VARIOUS                              Litigation             UNDETERMINED
       106 CLIFF AVENUE
       CAPITOLA, CA 95010            ACCOUNT NO.: NOT AVAILABLE


3.6910 JONES, JEFF                            VARIOUS                              Litigation             UNDETERMINED
       6945 MITCHELL LANE
       VALLEY SPRINGS, CA 95252      ACCOUNT NO.: NOT AVAILABLE


3.6911 JONES, JEFF                            VARIOUS                              Litigation             UNDETERMINED
       P.O. BOX 70401
       OAKLAND, CA 94612             ACCOUNT NO.: NOT AVAILABLE


3.6912 JONES, JOHN                            VARIOUS                              Litigation             UNDETERMINED
       17145 BLUEBERRY WAY
       CLEARLAKE OAKS, CA 95423      ACCOUNT NO.: NOT AVAILABLE


3.6913 JONES, KAROLIN                         VARIOUS                              Litigation             UNDETERMINED
       1241 PINE CREEK WAY
       G                             ACCOUNT NO.: NOT AVAILABLE
       CONCORD, CA 94520


3.6914 JONES, KELLY                           VARIOUS                              Litigation             UNDETERMINED
       3301 CIMMANIN ROAD APT H87
       CAMERON PARK, CA 95682        ACCOUNT NO.: NOT AVAILABLE


3.6915 JONES, KEVIN                           VARIOUS                              Litigation             UNDETERMINED
       28533 PATRICK CT
       COARSEGOLD, CA 93614          ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.6916 JONES, KEVIN                           VARIOUS                              Litigation             UNDETERMINED
       62 INVERNESS DRIVE
       SAN RAFAEL, CA 94901          ACCOUNT NO.: NOT AVAILABLE


3.6917 JONES, LARRY                           VARIOUS                              Litigation             UNDETERMINED
       2541 WESTVILLE TRAIL
       COOL, CA 95614                ACCOUNT NO.: NOT AVAILABLE


3.6918 JONES, LATRINA                         VARIOUS                              Litigation             UNDETERMINED
       2022 COMSTOCK DRIVE
       STOCKTON, CA 95209            ACCOUNT NO.: NOT AVAILABLE


3.6919 JONES, LEE                             VARIOUS                              Litigation             UNDETERMINED
       4740 LOUIS WAY
       KELSEYVILLE, CA 95457         ACCOUNT NO.: NOT AVAILABLE


3.6920 JONES, LILA                            VARIOUS                              Litigation             UNDETERMINED
       22045 HUTCHINSON ROAD
       LOS GATOS, CA 95033           ACCOUNT NO.: NOT AVAILABLE


3.6921 JONES, LOWELL                          VARIOUS                              Litigation             UNDETERMINED
       16964 COLUMBIA RIVER DR
       SONORA, CA                    ACCOUNT NO.: NOT AVAILABLE


3.6922 JONES, MARIE                           VARIOUS                              Litigation             UNDETERMINED
       16312 OLD CASPAR RAIL RD
       FORT BRAGG, CA 95437          ACCOUNT NO.: NOT AVAILABLE


3.6923 JONES, MARLAND                         VARIOUS                              Litigation             UNDETERMINED
       9707 WAGNER RD.
       COULTERVILLE, CA 95311        ACCOUNT NO.: NOT AVAILABLE


3.6924 JONES, MAX                             VARIOUS                              Litigation             UNDETERMINED
       19780 BETTE WAY
       COTTONWOOD, CA 96022          ACCOUNT NO.: NOT AVAILABLE


3.6925 JONES, NANCY/EMERY                     VARIOUS                              Litigation             UNDETERMINED
       PO BOX 2212
       NOVATO, CA                    ACCOUNT NO.: NOT AVAILABLE


3.6926 JONES, PAIGE                           VARIOUS                              Litigation             UNDETERMINED
       PO BOX 12960
       COTTONWOOD, CA 96022          ACCOUNT NO.: NOT AVAILABLE


3.6927 JONES, PHIL                            VARIOUS                              Litigation             UNDETERMINED
       2148 WARD DR
       WALNUT CREEK, CA 94596        ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.6928 JONES, RANDI                           VARIOUS                              Litigation             UNDETERMINED
       679 S. FREEWAY DR.
       14                            ACCOUNT NO.: NOT AVAILABLE
       NAPA, CA 94558


3.6929 JONES, SHALISE                         VARIOUS                              Litigation             UNDETERMINED
       3019 NEW STINE RD
       #G                            ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93309


3.6930 JONES, SONDRA                          VARIOUS                              Litigation             UNDETERMINED
       1393 S ANTEROS AVE
       STOCKTON, CA 95215            ACCOUNT NO.: NOT AVAILABLE


3.6931 JONES, SUSAN                           VARIOUS                              Litigation             UNDETERMINED
       24688 DOLORES STREET
       CARMEL, CA 93923              ACCOUNT NO.: NOT AVAILABLE


3.6932 JONES, TERRI                           VARIOUS                              Litigation             UNDETERMINED
       921 N MONROE ST
       STOCKTON, CA 95203            ACCOUNT NO.: NOT AVAILABLE


3.6933 JONES, TINA                            VARIOUS                              Litigation             UNDETERMINED
       1200 DAVIS STREET #43
       SAN LEANDRO, CA 94577         ACCOUNT NO.: NOT AVAILABLE


3.6934 JONES, WILLIAM                         VARIOUS                              Litigation             UNDETERMINED
       47 ALISON AVE
       ROHNERT PARK, CA 94928        ACCOUNT NO.: NOT AVAILABLE


3.6935 JONES, ZACK                            VARIOUS                              Litigation             UNDETERMINED
       1240 SANCHEZ STREET
       SAN FRANCISCO, CA 94114       ACCOUNT NO.: NOT AVAILABLE


3.6936 JONOPULOS, LAURINE                     VARIOUS                              Litigation             UNDETERMINED
       4 COLLINS ST
       SAN FRANCISCO, CA 94118       ACCOUNT NO.: NOT AVAILABLE


3.6937 JONOPULOS, LAURINE                     VARIOUS                              Litigation             UNDETERMINED
       4 COLLINS ST
       SAN FRANCISCO, CA 94118       ACCOUNT NO.: NOT AVAILABLE


3.6938 JOPSON, THOMAS & MARGARET              VARIOUS                              Litigation             UNDETERMINED
       1159 PLEASANT GROVE RD.
       RIO OSO, CA 95674             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.6939 JORDAN JOHNSON PROPERTY                VARIOUS                              Litigation             UNDETERMINED
       MANAGEMENT, JENNIFER
       JOHNSON                       ACCOUNT NO.: NOT AVAILABLE
       1105 HOLLY DRIVE
       TRACY, CA 95376


3.6940 JORDAN, JACQUELINE                     VARIOUS                              Litigation             UNDETERMINED
       6181 EL CAMINO DR.
       POLLOCK PINES, CA 95726       ACCOUNT NO.: NOT AVAILABLE


3.6941 JORDAN, MARITZA                        VARIOUS                              Litigation             UNDETERMINED
       5319 BATHAN COURT
       CONCORD, CA 94521             ACCOUNT NO.: NOT AVAILABLE


3.6942 JORDAN, NANCY                          VARIOUS                              Litigation             UNDETERMINED
       PO BOX 155
       542 RED CAP ROAD              ACCOUNT NO.: NOT AVAILABLE
       ORLEANS, CA 95556


3.6943 JORDAN, PETER                          VARIOUS                              Litigation             UNDETERMINED
       808 WINDSONG COURT
       WALNUT CREEK, CA 94598        ACCOUNT NO.: NOT AVAILABLE


3.6944 JORDAN, ROGER                          VARIOUS                              Litigation             UNDETERMINED
       32700 N. HIGHWAY 1
       FT. BRAGG, CA 95437           ACCOUNT NO.: NOT AVAILABLE


3.6945 JORDAN, SHARON                         VARIOUS                              Litigation             UNDETERMINED
       PO BOX 480
       236 RIVER ROAD                ACCOUNT NO.: NOT AVAILABLE
       HOOPA, CA 95546


3.6946 JORDAN, TODD                           VARIOUS                              Litigation             UNDETERMINED
       3127 RIDGE CT
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.6947 JORDON, CRAIG                          VARIOUS                              Litigation             UNDETERMINED
       30843 THUMPER DR
       SHINGLETOWN, CA 96088         ACCOUNT NO.: NOT AVAILABLE


3.6948 JOROMILLO, MARIA                       VARIOUS                              Litigation             UNDETERMINED
       2864 EL CAMINO REAL
       SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.6949 JOSE AVALOS                            VARIOUS                              Litigation             UNDETERMINED
       BOBBY THOMPSON
       727 AIRPORT BLVD              ACCOUNT NO.: NOT AVAILABLE
       SUITE 187
       BURLINGAME, CA 94010

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Litigation & Disputes

3.6950 JOSE AVALOS                            VARIOUS                              Litigation             UNDETERMINED
       MARY ALEXANDER, BRENDAN
       WAY, CATALINA MUNOZ           ACCOUNT NO.: NOT AVAILABLE
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.6951 JOSE H MEDINA & INES R                 VARIOUS                              Litigation             UNDETERMINED
       MEDINA-MEDINA, INES R
       11274 MERRITT ST              ACCOUNT NO.: NOT AVAILABLE
       CASTROVILLE, CA 95012


3.6952 JOSEPH ONIPOGUI-ONIPOGUI,              VARIOUS                              Litigation             UNDETERMINED
       JOSEPH
       200 TRUXTUN AVE               ACCOUNT NO.: NOT AVAILABLE
       D
       BAKERSFIELD, CA 93301


3.6953 JOSEPHS, SASHA                         VARIOUS                              Litigation             UNDETERMINED
       3128 CABRILLO ST
       SAN FRANCISCO, CA 94121       ACCOUNT NO.: NOT AVAILABLE


3.6954 JOSHUA M. GEORGEADAMSKI                VARIOUS                              Litigation             UNDETERMINED
       MOROSKI
       P.O. BOX 3835                 ACCOUNT NO.: NOT AVAILABLE
       SAN LUIS OBISPO, CA 93403-
       3835


3.6955 JOSLIN, ELI                            VARIOUS                              Litigation             UNDETERMINED
       3799 BRODIEA LN
       MARIPOSA, CA 95338            ACCOUNT NO.: NOT AVAILABLE


3.6956 JOSLIN, TOM                            VARIOUS                              Litigation             UNDETERMINED
       7676 DOMA LANE
       SHINGLETOWN, CA 96088         ACCOUNT NO.: NOT AVAILABLE


3.6957 JOTI LLC, DBA CAFE LOTUS               VARIOUS                              Litigation             UNDETERMINED
       1912 SF DRAKE BLVD
       FAIRFAX, CA 94930             ACCOUNT NO.: NOT AVAILABLE


3.6958 JOUGERT BAR, ROBERT TABZ               VARIOUS                              Litigation             UNDETERMINED
       1115 BURLINGAME AVENUE
       BURLINGAME, CA 94010          ACCOUNT NO.: NOT AVAILABLE


3.6959 JOUGLET, JENNIFER                      VARIOUS                              Litigation             UNDETERMINED
       355 REDWOOD CITY
       BOULDER CREEK, CA 95006       ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U    D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.6960 JOW, DOUGLAS                            VARIOUS                              Litigation             UNDETERMINED
       26661 JOSHUA STREET
       HAYWARD, CA 94544              ACCOUNT NO.: NOT AVAILABLE


3.6961 JOW, JOHN                               VARIOUS                              Litigation             UNDETERMINED
       1023 WIGET LANE
       WALNUT CREEK, CA 94598         ACCOUNT NO.: NOT AVAILABLE


3.6962 JOW, STEPHEN                            VARIOUS                              Litigation             UNDETERMINED
       36399 PERKINS STREET
       FREMONT, CA 94536              ACCOUNT NO.: NOT AVAILABLE


3.6963 JOY, JOANIE                             VARIOUS                              Litigation             UNDETERMINED
       3838 E. KERCKHOFF
       FRESNO, CA 93702               ACCOUNT NO.: NOT AVAILABLE


3.6964 JR SIMPLOT-BURTON, BRANDON              VARIOUS                              Litigation             UNDETERMINED
       12688 S COLORADO
       HELM, CA 93627                 ACCOUNT NO.: NOT AVAILABLE


3.6965 JS COLE-RAGGHIANTI, STEVE               VARIOUS                              Litigation             UNDETERMINED
       PO BOX 5368
       NOVATO, CA 94948               ACCOUNT NO.: NOT AVAILABLE


3.6966 JS WEST & CO-FORD,                      VARIOUS                              Litigation             UNDETERMINED
       SAMANTHA
       501 9TH STREET                 ACCOUNT NO.: NOT AVAILABLE
       MODESTO, CA 95354


3.6967 JS WEST & CO-FORD,                      VARIOUS                              Litigation             UNDETERMINED
       SAMANTHA
       501 9TH STREET                 ACCOUNT NO.: NOT AVAILABLE
       MODESTO, CA 95354


3.6968 JUAREZ, DANIEL                          VARIOUS                              Litigation             UNDETERMINED
       712 W YALE AVE
       FRESNO, CA 93705               ACCOUNT NO.: NOT AVAILABLE


3.6969 JUAREZ, LINNEA                          VARIOUS                              Litigation             UNDETERMINED
       795 SILVER HILLS DRIVE
       BRENTWOOD, CA 94513            ACCOUNT NO.: NOT AVAILABLE


3.6970 JUAREZ, MARY                            VARIOUS                              Litigation             UNDETERMINED
       4695 LOBOS AVE.
       ATASCADERO, CA 93422           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                                    Account Number                           Claim

Litigation & Disputes

3.6971 JUAREZ, RICK                                     VARIOUS                              Litigation             UNDETERMINED
       405 ELLISA LANE
       BRENTWOOD, CA 94513                     ACCOUNT NO.: NOT AVAILABLE


3.6972 JUBILADO, TERESA                                 VARIOUS                              Litigation             UNDETERMINED
       4333 JESSICA CIRCLE
       FREMONT, CA 94555                       ACCOUNT NO.: NOT AVAILABLE


3.6973 JUDAHLICIOUS JUICE INC                           VARIOUS                              Litigation             UNDETERMINED
       3906 JUDAH STREET
       SAN FRANCISCO, CA 94122                 ACCOUNT NO.: NOT AVAILABLE


3.6974 JUDITH REEL                                      VARIOUS                              Litigation             UNDETERMINED
       EASON & TAMBORNINI, ALC
       1234 H STREET, SUITE 200                ACCOUNT NO.: NOT AVAILABLE
       SACRAMENTO, CA 95814


3.6975 JULES, RONI                                      VARIOUS                              Litigation             UNDETERMINED
       340 HAYES STREET
       SAN FRANCISCO, CA 94102                 ACCOUNT NO.: NOT AVAILABLE


3.6976 JULIAN, BARBARA                                  VARIOUS                              Litigation             UNDETERMINED
       P.O. BOX 1793
       28580 HWY 70                            ACCOUNT NO.: NOT AVAILABLE
       TWAIN, CA 95984


3.6977 JULIAN, LARRY                                    VARIOUS                              Litigation             UNDETERMINED
       2474 SW WILLOWBROOK AVE
       GRESHAM, CA 97080                       ACCOUNT NO.: NOT AVAILABLE


3.6978 JULIAN, TAMMY                                    VARIOUS                              Litigation             UNDETERMINED
       343 CALIFORNIA AVE
       SOUTH SAN FRANCISCO, CA                 ACCOUNT NO.: NOT AVAILABLE
       94080


3.6979 Julius Jenkins, III, as Successor-in-            VARIOUS                              Litigation             UNDETERMINED
       Interest to and as Wrongful Death
       Heir of Julius Jenkins, Jr.,            ACCOUNT NO.: NOT AVAILABLE
       Deceased; and Romia Jenkins,
       Patricia Crain, as Wrongful Death
       Heirs of Julius Jenkins, Jr.,
       Deceased
       Brayton Purcell, LLP
       224 Rush Landing Road, P.O Box
       6169
       Novato, CA 94949-6169




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.6980 JULIUS, KATHY                          VARIOUS                              Litigation             UNDETERMINED
       2288 PEREZ STREET
       APT. 383                      ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.6981 JUNCKER, DANA                          VARIOUS                              Litigation             UNDETERMINED
       22760 MONTROSE COURT
       LOS GATOS, CA 95033           ACCOUNT NO.: NOT AVAILABLE


3.6982 JUNCO, MARIA                           VARIOUS                              Litigation             UNDETERMINED
       1185 CARPENTER CANYON
       ROAD                          ACCOUNT NO.: NOT AVAILABLE
       ARROYO GRANDE, CA 93420


3.6983 JUNG YOUN LEE, DMD, INC.-              VARIOUS                              Litigation             UNDETERMINED
       LEE, KATHERINE
       14535 S. BASCOM AVENUE        ACCOUNT NO.: NOT AVAILABLE
       LOS GATOS, CA 95032


3.6984 JUNG YOUN LEE, DMD, INC.-              VARIOUS                              Litigation             UNDETERMINED
       LEE, MICHAEL LEE
       14535 S. BASCOM AVENUE        ACCOUNT NO.: NOT AVAILABLE
       LOS GATOS, CA 95032


3.6985 JUNG, VICTORIA                         VARIOUS                              Litigation             UNDETERMINED
       109 SHOOTING STAR ISLE
       736 N 10TH ST #2              ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95112


3.6986 JUNG, YOUNG                            VARIOUS                              Litigation             UNDETERMINED
       3101 SUNSET BLVD. #3B
       ROCKLIN, CA 95677             ACCOUNT NO.: NOT AVAILABLE


3.6987 JUNIPER GROUP, LLC-                    VARIOUS                              Litigation             UNDETERMINED
       BORDELEAU, JAY
       598 HAIGHT ST                 ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94117


3.6988 JUNN, WENDY                            VARIOUS                              Litigation             UNDETERMINED
       1802 IPSWICH LANE
       DALY CITY, CA 94014           ACCOUNT NO.: NOT AVAILABLE


3.6989 JURADO, RALPH                          VARIOUS                              Litigation             UNDETERMINED
       555 CRESPI DRIVE
       S302                          ACCOUNT NO.: NOT AVAILABLE
       PACIFICA, CA 94044




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.6990 JUST BREAKFAST-ASSADI,                   VARIOUS                              Litigation              UNDETERMINED
       DANIEL
       2901 MONTEREY HWY            ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95111


3.6991 JUST FOR KIDS, HERNANDEZ,                VARIOUS                              Litigation              UNDETERMINED
       SYLVIA
       1102 EAGLE DR                ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93905


3.6992 K & D FEED STORE, HOME                   VARIOUS                              Litigation              UNDETERMINED
       BASED AND HOME. PLEASE
       SEE-OLDFIELD, SUSAN KIM      ACCOUNT NO.: NOT AVAILABLE
       11035 DEXTER RD
       COULTERVILLE, CA 95311


3.6993 K KUVS LLC-KARTINOS, JOHN                VARIOUS                              Litigation              UNDETERMINED
       AND MANTHEA
       205 DOVER DRIVE              ACCOUNT NO.: NOT AVAILABLE
       WALNUT CREEK, CA 94598


3.6994 K. M. DAVIS WOODCARVING-                 VARIOUS                              Litigation              UNDETERMINED
       DAVIS, KENNETH
       43981 LITTLE LAKE ROAD       ACCOUNT NO.: NOT AVAILABLE
       MENDOCINO, CA 95460


3.6995 KAALKHANDAY, VIKAS                       VARIOUS                              Litigation              UNDETERMINED
       433 S MARY AVE
       APT # 42                     ACCOUNT NO.: NOT AVAILABLE
       SUNNYVALE, CA 94086


3.6996 KACEY, FAHEY                             VARIOUS                              Litigation              UNDETERMINED
       1728 YORK AVE
       SAN MATEO, CA 94401          ACCOUNT NO.: NOT AVAILABLE


3.6997 KACK, VALERIE                            VARIOUS                              Litigation              UNDETERMINED
       10350 SMITH ROAD
       GRASS VALLEY, CA 95949       ACCOUNT NO.: NOT AVAILABLE


3.6998 KADO, SAYAKA                             VARIOUS                              Litigation              UNDETERMINED
       4121 MAYBELLE AVE
       OAKLAND, CA 94619            ACCOUNT NO.: NOT AVAILABLE


3.6999 KAEMMERER, KIMBERLY                      VARIOUS                              Litigation              UNDETERMINED
       201 ALCOTT RD
       SAN BRUNO, CA 94066          ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address       Date Claim Was Incurred And        C U    D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                             Claim

Litigation & Disputes

3.7000 KAGOME INC-MOSELEY III, MELL              VARIOUS                              Litigation              UNDETERMINED
       333 JOHNSON ROAD
       LOS BANOS, CA 93635            ACCOUNT NO.: NOT AVAILABLE


3.7001 KAHAN, DEAN, DAN & GUY                    VARIOUS                              Litigation              UNDETERMINED
       SAN MIGUEL, CA 93451
                                      ACCOUNT NO.: NOT AVAILABLE


3.7002 KAHANIC, STEVE                            VARIOUS                              Litigation              UNDETERMINED
       6306 CITRUS HILLS DR
       BAKERSFIELD, CA 93306          ACCOUNT NO.: NOT AVAILABLE


3.7003 KAHIRA, NIRMAL                            VARIOUS                              Litigation              UNDETERMINED
       2677 N WESTLAWN
       FRESNO, CA 93723               ACCOUNT NO.: NOT AVAILABLE


3.7004 KAHL, KEVIN                               VARIOUS                              Litigation              UNDETERMINED
       135 HARVEST ST
       SALINAS, CA 93901              ACCOUNT NO.: NOT AVAILABLE


3.7005 KAHL, THOMAS                              VARIOUS                              Litigation              UNDETERMINED
       74 VISTA DEL SOL
       MILL VALLEY, CA 94941          ACCOUNT NO.: NOT AVAILABLE


3.7006 KAHLON ORCHARDS-KAHLON,                   VARIOUS                              Litigation              UNDETERMINED
       KANWALJIT
       5135 MERTOLA DRIVE             ACCOUNT NO.: NOT AVAILABLE
       EL DORADO HILLS, CA 95762


3.7007 KAHN, MICHAEL                             VARIOUS                              Litigation              UNDETERMINED
       127 SOMERSET RD
       PIEDMONT, CA 94611             ACCOUNT NO.: NOT AVAILABLE


3.7008 KAIGAN SUSHI-WONG, SUNNY                  VARIOUS                              Litigation              UNDETERMINED
       2138 SPRINGS ROAD
       VALLEJO, CA 94591              ACCOUNT NO.: NOT AVAILABLE


3.7009 KAIL, GEOFFREY & CAROL                    VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 361
       22351 HELLS HOLLOW ROAD        ACCOUNT NO.: NOT AVAILABLE
       SOUTH
       GROVERLAND, CA 95321


3.7010 KAISER, ANGELA                            VARIOUS                              Litigation              UNDETERMINED
       4942 CAROLINE WAY
       SAN JOSE, CA 95124             ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address      Date Claim Was Incurred And        C U    D    Basis For    Offset    Amount of Claim
Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.7011 KAISER, DALE                             VARIOUS                              Litigation              UNDETERMINED
       9530 LAU LN
       PENNGROVE, CA 94951           ACCOUNT NO.: NOT AVAILABLE


3.7012 KAISER, RICK                             VARIOUS                              Litigation              UNDETERMINED
       20308 TOP OF THE HILL TRAIL
       LAKEHEAD, CA 96951            ACCOUNT NO.: NOT AVAILABLE


3.7013 KAJLEY, RESHAM                           VARIOUS                              Litigation              UNDETERMINED
       3161 GARDEN HWY
       YUBA CITY, CA 95991           ACCOUNT NO.: NOT AVAILABLE


3.7014 KAJOOEYAN, MEHRAD                        VARIOUS                              Litigation              UNDETERMINED
       160 E REMINGTON DR
       APARTMENT #254                ACCOUNT NO.: NOT AVAILABLE
       SUNNYVALE, CA 94087


3.7015 KALDANI, GEORGE                          VARIOUS                              Litigation              UNDETERMINED
       17514 PHILLIPS AVE
       LOS GATOS, CA 95030           ACCOUNT NO.: NOT AVAILABLE


3.7016 KALE, EARL                               VARIOUS                              Litigation              UNDETERMINED
       7186 EAST BUTTE STREET
       NICE, CA 95464-8657           ACCOUNT NO.: NOT AVAILABLE


3.7017 KALEBJIAN, ROSALIE                       VARIOUS                              Litigation              UNDETERMINED
       3619 REPOSO WAY
       BELMONT, CA 94002             ACCOUNT NO.: NOT AVAILABLE


3.7018 KALJIAN, MARY                            VARIOUS                              Litigation              UNDETERMINED
       635 ADAMS AVENUE
       50 1ST STREET                 ACCOUNT NO.: NOT AVAILABLE
       CAYUCOS, CA 93430


3.7019 KALKAT, INC-KALKAT, KARM                 VARIOUS                              Litigation              UNDETERMINED
       2201 SUNSET BLVD
       ROCKLIN, CA 95765             ACCOUNT NO.: NOT AVAILABLE


3.7020 KALLAGIS, JOAN                           VARIOUS                              Litigation              UNDETERMINED
       200 CASCADE DR
       VACAVILLE, CA 95687-4906      ACCOUNT NO.: NOT AVAILABLE


3.7021 KALLOS, TOM                              VARIOUS                              Litigation              UNDETERMINED
       3603 N ORCHARD STREET
       FRESNO, CA 93726              ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.7022 KALOUSTIAN, SUE                          VARIOUS                              Litigation              UNDETERMINED
       1263 PERALTA DR.
       SAN JOSE, CA 95120           ACCOUNT NO.: NOT AVAILABLE


3.7023 KALSI, SUKHDEV                           VARIOUS                              Litigation              UNDETERMINED
       856 CORAL DR.
       RODEO, CA 95072              ACCOUNT NO.: NOT AVAILABLE


3.7024 KAM, LEONARD                             VARIOUS                              Litigation              UNDETERMINED
       15 ELLEN COURT
       ORINDA, CA 94563             ACCOUNT NO.: NOT AVAILABLE


3.7025 KAMARA, CASSANDRA                        VARIOUS                              Litigation              UNDETERMINED
       22525 3RD ST APT 215
       HAYWARD, CA 94541            ACCOUNT NO.: NOT AVAILABLE


3.7026 KAMBER, GILBERT                          VARIOUS                              Litigation              UNDETERMINED
       837 GRAND CENTRAL DR
       MODESTO, CA 95351            ACCOUNT NO.: NOT AVAILABLE


3.7027 KAMEL, ATIF                              VARIOUS                              Litigation              UNDETERMINED
       401 OAK STREET
       BAKERSFIELD, CA 93304        ACCOUNT NO.: NOT AVAILABLE


3.7028 KAMIAN, RICHARD & BARBARA                VARIOUS                              Litigation              UNDETERMINED
       P.O BOX 367
       2951 MANZANTA STREET         ACCOUNT NO.: NOT AVAILABLE
       POLLOCK PINES, CA 95726


3.7029 KAMIR INCORPORATED-                      VARIOUS                              Litigation              UNDETERMINED
       KAYHANI, KUMIL
       5196 GRAYHAWK LANE           ACCOUNT NO.: NOT AVAILABLE
       DUBLIN, CA 94568


3.7030 KAMPS, JILL                              VARIOUS                              Litigation              UNDETERMINED
       19067 E HIGHWAY 120
       RIPON, CA 95366              ACCOUNT NO.: NOT AVAILABLE


3.7031 KANABE, GEORGE                           VARIOUS                              Litigation              UNDETERMINED
       460 PHELPS RD
       SAN CARLOS, CA 94070         ACCOUNT NO.: NOT AVAILABLE


3.7032 KANADY, KEITH                            VARIOUS                              Litigation              UNDETERMINED
       24700 SKYLAND ROAD
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.7033 KANANN, MOHAMMAD                         VARIOUS                              Litigation              UNDETERMINED
       2072 FRASCATI DR
       EL DORADO HILLS, CA 95762    ACCOUNT NO.: NOT AVAILABLE


3.7034 KANAROWSKI, RUSSELL                      VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1240
       5238 AVOCA VALE RD.          ACCOUNT NO.: NOT AVAILABLE
       MARIPOSA, CA 95338


3.7035 KANE, KARRIE                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1373
       HOOPA, CA 95546              ACCOUNT NO.: NOT AVAILABLE


3.7036 KANG, CONNIE                             VARIOUS                              Litigation              UNDETERMINED
       20388 MANOA COURT
       SARATOGA, CA 95070           ACCOUNT NO.: NOT AVAILABLE


3.7037 KANKRI INVESTMENTS LLC-                  VARIOUS                              Litigation              UNDETERMINED
       LIDDER, RABINDER
       1300 W. WOOD STREET          ACCOUNT NO.: NOT AVAILABLE
       WILLOWS, CA 95988


3.7038 KANNETT, MARK                            VARIOUS                              Litigation              UNDETERMINED
       64 MONTE VISTA ROAD
       FAIRFAX, CA 94930            ACCOUNT NO.: NOT AVAILABLE


3.7039 KANTARJIEV, CHRISTOPHER                  VARIOUS                              Litigation              UNDETERMINED
       1530 PORTOLA AVE
       PALO ALTO, CA 94306          ACCOUNT NO.: NOT AVAILABLE


3.7040 KANV SUPREMACY                       VARIOUS                                  Litigation              UNDETERMINED
       INVESTMENT INC.-LEUNG, KEVIN
       716 MILLER AVE               ACCOUNT NO.: NOT AVAILABLE
       SOUTH SAN FRANCISCO, CA
       94080


3.7041 KAPLAN, ELIZABETH                        VARIOUS                              Litigation              UNDETERMINED
       36347 COLBERT ST
       NEWARK, CA 94560             ACCOUNT NO.: NOT AVAILABLE


3.7042 KAPLAN, FREDDA                           VARIOUS                              Litigation              UNDETERMINED
       105 ORANGE ST
       SAN RAFAEL, CA 94901         ACCOUNT NO.: NOT AVAILABLE


3.7043 KAPLAN, NOEL                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 150988
       SAN RAFAEL, CA 94915         ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.7044 KAPRIVE, SUSAN                            VARIOUS                              Litigation              UNDETERMINED
       2309 ENGLISH COURT
       WALNUT CREEK, CA 94598        ACCOUNT NO.: NOT AVAILABLE


3.7045 KAPU, ALYSE                               VARIOUS                              Litigation              UNDETERMINED
       3324 SAN MARCO CT
       UNION CITY, CA 94587          ACCOUNT NO.: NOT AVAILABLE


3.7046 KAPUR, ANNICK                             VARIOUS                              Litigation              UNDETERMINED
       400 ANITA AVE
       LOS ALTOS, CA 94024           ACCOUNT NO.: NOT AVAILABLE


3.7047 KARAGOCEV, ROBERT V. PG&E                 VARIOUS                              Litigation              UNDETERMINED
       2057 OAK PARK BLVD
       PLEASANT HILL, CA 94523       ACCOUNT NO.: NOT AVAILABLE


3.7048 KARAMITSOS, BARBARA                       VARIOUS                              Litigation              UNDETERMINED
       1000 DIAMOND DRIVE
       SANTA MARIA, CA 93455         ACCOUNT NO.: NOT AVAILABLE


3.7049 KARDASHIAN, RON                           VARIOUS                              Litigation              UNDETERMINED
       408 LOS GATOS BLVD
       LOS GATOS, CA 95032           ACCOUNT NO.: NOT AVAILABLE


3.7050 KARIMI, KAMBIZ                            VARIOUS                              Litigation              UNDETERMINED
       903 EAST GRANT PLACE
       SAN MATEO, CA 94402           ACCOUNT NO.: NOT AVAILABLE


3.7051 KARL, MOLLY                               VARIOUS                              Litigation              UNDETERMINED
       25 HAZEL AVE
       MILL VALLEY, CA 94941         ACCOUNT NO.: NOT AVAILABLE


3.7052 KARNAZES, DEAN                            VARIOUS                              Litigation              UNDETERMINED
       237 UPPER TOYON DRIVE
       KENTFIELD, CA 94904           ACCOUNT NO.: NOT AVAILABLE


3.7053 KARNES, JAMES                             VARIOUS                              Litigation              UNDETERMINED
       5332 VENUS DRIVE
       FAIRFIELD, CA 94534           ACCOUNT NO.: NOT AVAILABLE


3.7054 KARNES, STEPHANIE                         VARIOUS                              Litigation              UNDETERMINED
       682 LA CORSO DR.
       WALNUT CREEK, CA 94598        ACCOUNT NO.: NOT AVAILABLE


3.7055 KAROSES, MICHAELA                         VARIOUS                              Litigation              UNDETERMINED
       1398 LODGEPOLE AVE
       ANDERSON, CA 96007            ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.7056 KARY, LYNNE                               VARIOUS                              Litigation              UNDETERMINED
       12122 ELK MOUNTAIN ROAD
       UPPER LAKE, CA 95485          ACCOUNT NO.: NOT AVAILABLE


3.7057 KASBERG/STATE FARM                        VARIOUS                              Litigation              UNDETERMINED
       PO BOX 106169
       ATLANTA, CA 30348-6169        ACCOUNT NO.: NOT AVAILABLE


3.7058 KASHFI, HOSEY                             VARIOUS                              Litigation              UNDETERMINED
       15 VISTA DEL ORINDA
       ORINDA, CA 94563              ACCOUNT NO.: NOT AVAILABLE


3.7059 KASHI, AMIN & DORSA YAZDI                 VARIOUS                              Litigation              UNDETERMINED
       1173 GLIN TERRACE
       SUNNYVALE, CA 94089           ACCOUNT NO.: NOT AVAILABLE


3.7060 KASHUBA, SONYA                            VARIOUS                              Litigation              UNDETERMINED
       901 S FORBES ST APT 1
       LAKEPORT, CA 95453            ACCOUNT NO.: NOT AVAILABLE


3.7061 KASPER, JAMES                             VARIOUS                              Litigation              UNDETERMINED
       6725 MONITOR RD
       EL DORADO, CA 95623           ACCOUNT NO.: NOT AVAILABLE


3.7062 KASSEM, HANI                              VARIOUS                              Litigation              UNDETERMINED
       1400 W. GRAND AVE., STE. D
       GROVER BEACH, CA 93433        ACCOUNT NO.: NOT AVAILABLE


3.7063 KASSYMKHANOVA, INDIRA                     VARIOUS                              Litigation              UNDETERMINED
       1330 CONTRA COSTA AVE, APT
       H14                           ACCOUNT NO.: NOT AVAILABLE
       SAN PABLO, CA 94806


3.7064 KASTENS, WILLIAM                          VARIOUS                              Litigation              UNDETERMINED
       304 ROBERT STREET
       ANTIOCH, CA 94509             ACCOUNT NO.: NOT AVAILABLE


3.7065 KATEIAN, JANICE V. PG&E                   VARIOUS                              Litigation              UNDETERMINED
       0
                                     ACCOUNT NO.: NOT AVAILABLE


3.7066 KATZ, JEFFREY AND MICHELE                 VARIOUS                              Litigation              UNDETERMINED
       1440 MADERA WAY
       MILLBRAE, CA 94030            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.7067 KAUFMAN, LORI                            VARIOUS                              Litigation              UNDETERMINED
       6147 SILVERLEAF DR.
       FORESTHILL, CA 95631           ACCOUNT NO.: NOT AVAILABLE


3.7068 KAUFMAN, VERA                            VARIOUS                              Litigation              UNDETERMINED
       1033-43 ST
       2127 WHIPPOOWILL RD., PINOLE   ACCOUNT NO.: NOT AVAILABLE
       EMERYVILLE, CA 94608


3.7069 KAUR, MANDEEP                            VARIOUS                              Litigation              UNDETERMINED
       2823 DANWOOD COURT
       SAN JOSE, CA 95148             ACCOUNT NO.: NOT AVAILABLE


3.7070 KAUR, SUPINDER                           VARIOUS                              Litigation              UNDETERMINED
       1523 MAEHL DR
       MANTECA, CA 95337              ACCOUNT NO.: NOT AVAILABLE


3.7071 KAUSHAL, KELKAR                          VARIOUS                              Litigation              UNDETERMINED
       883 RUSSET DR
       SUNNYVALE, CA 94087            ACCOUNT NO.: NOT AVAILABLE


3.7072 KAWABATA, NAOMI                          VARIOUS                              Litigation              UNDETERMINED
       12795 FAIR WAY
       ROYAL OAKS, CA 95076           ACCOUNT NO.: NOT AVAILABLE


3.7073 KAYOUMI, ABE                             VARIOUS                              Litigation              UNDETERMINED
       2418 46TH AVE.
       SAN FRANCISCO, CA 94116-2008   ACCOUNT NO.: NOT AVAILABLE


3.7074 KC KORNER, GURVINDER                     VARIOUS                              Litigation              UNDETERMINED
       DOSANJH
       22623 W POINT PIONEER          ACCOUNT NO.: NOT AVAILABLE
       WEST POINT, CA 95255


3.7075 KEARBEY, PINKI                           VARIOUS                              Litigation              UNDETERMINED
       125 PIERPONT DR
       OROVILLE, CA 95966             ACCOUNT NO.: NOT AVAILABLE


3.7076 KEARNEY, DONALD                          VARIOUS                              Litigation              UNDETERMINED
       155 TIGER LILY RD
       PILOT HILL, CA 95664           ACCOUNT NO.: NOT AVAILABLE


3.7077 KEBAB EXPRESS-KERKEZIAN,                 VARIOUS                              Litigation              UNDETERMINED
       HOVIG
       474 W HAGLER AVE               ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93711




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.7078 KEEF, GARY L                             VARIOUS                              Litigation              UNDETERMINED
       2108 CODY COURT
       STOCKTON, CA 95209           ACCOUNT NO.: NOT AVAILABLE


3.7079 KEELER, MARK                             VARIOUS                              Litigation              UNDETERMINED
       38623 CHERRY LANE
       153                          ACCOUNT NO.: NOT AVAILABLE
       FREMONT, CA 94536


3.7080 KEELY, PATRICIA                          VARIOUS                              Litigation              UNDETERMINED
       15500 CHISPA RD
       ATASCADERO, CA 93422         ACCOUNT NO.: NOT AVAILABLE


3.7081 KEEN, QUENTIN                            VARIOUS                              Litigation              UNDETERMINED
       1001 BONNIE LANE # B
       AUBURN, CA 95603             ACCOUNT NO.: NOT AVAILABLE


3.7082 KEENER AUTO BODY-KEENER,                 VARIOUS                              Litigation              UNDETERMINED
       JAMES
       1233 LA MADRONA DRIVE        ACCOUNT NO.: NOT AVAILABLE
       SANTA CRUZ, CA 95060


3.7083 KEIGHLEY, JENNIFER                       VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1489
       A                            ACCOUNT NO.: NOT AVAILABLE
       MENDOCINO, CA 95460


3.7084 KEIM, RICHARD                            VARIOUS                              Litigation              UNDETERMINED
       18215 RIDGE ROAD
       PINE GROVE, CA 95665         ACCOUNT NO.: NOT AVAILABLE


3.7085 KEISER, JUDITH                           VARIOUS                              Litigation              UNDETERMINED
       4187 ALTA VISTA COURT
       SANTA ROSA, CA 95409         ACCOUNT NO.: NOT AVAILABLE


3.7086 KEITH WALKER                             VARIOUS                              Litigation              UNDETERMINED
       C/O EASON & TAMBORINI, ALC
       1234 H STREET # 200          ACCOUNT NO.: NOT AVAILABLE
       SACRAMENTO, CA 95814


3.7087 KEITH, STEVEN                            VARIOUS                              Litigation              UNDETERMINED
       952 ETHEL COURT
       ROHNERT PARK, CA 94928       ACCOUNT NO.: NOT AVAILABLE


3.7088 KELCH, BRIAN & SERENA                    VARIOUS                              Litigation              UNDETERMINED
       4115 ARLINGTON AVENUE
       SANTA ROSA, CA 95407         ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.7089 KELEM, KEVIN                             VARIOUS                              Litigation              UNDETERMINED
       716 POPLAR AVENUE
       SANTA CRUZ, CA 95062         ACCOUNT NO.: NOT AVAILABLE


3.7090 KELLEHER, MICHAEL                        VARIOUS                              Litigation              UNDETERMINED
       1451 ALAMO PINTADO RD.
       SOLVANG, CA 93463            ACCOUNT NO.: NOT AVAILABLE


3.7091 KELLER, GRACE                            VARIOUS                              Litigation              UNDETERMINED
       429 MURILLO DRIVE
       STOCKTON, CA 95207           ACCOUNT NO.: NOT AVAILABLE


3.7092 KELLER, KATHERINE                        VARIOUS                              Litigation              UNDETERMINED
       205 DEL MESA
       CARMEL, CA 93923             ACCOUNT NO.: NOT AVAILABLE


3.7093 KELLER, KURT                             VARIOUS                              Litigation              UNDETERMINED
       9832 BEACHWOOD DRIVE
       ORANGEVALE, CA 95662         ACCOUNT NO.: NOT AVAILABLE


3.7094 KELLER, SHERRI                           VARIOUS                              Litigation              UNDETERMINED
       14294 HOLDEN CT
       SAN JOSE, CA 95124           ACCOUNT NO.: NOT AVAILABLE


3.7095 KELLEY, ALMA                             VARIOUS                              Litigation              UNDETERMINED
       8443 LASALLE AVE
       COTATI, CA 94931             ACCOUNT NO.: NOT AVAILABLE


3.7096 KELLEY, BETSY                            VARIOUS                              Litigation              UNDETERMINED
       13975 BYRON HIGHWAY
       BYRON, CA 94514              ACCOUNT NO.: NOT AVAILABLE


3.7097 KELLEY, JAMES                            VARIOUS                              Litigation              UNDETERMINED
       6218 MONTEREY CT
       ATASCADERO, CA 93422         ACCOUNT NO.: NOT AVAILABLE


3.7098 KELLEY, JORJA                            VARIOUS                              Litigation              UNDETERMINED
       1901 7TH AVE
       4                            ACCOUNT NO.: NOT AVAILABLE
       OLIVEHURST, CA 95961


3.7099 KELLEY, LINESS                           VARIOUS                              Litigation              UNDETERMINED
       4137 DONALD DR
       OLIVEHURST, CA 95961         ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address             Date Claim Was Incurred And      C U    D    Basis For    Offset    Amount of Claim
Including Zip Code                                 Account Number                           Claim

Litigation & Disputes

3.7100 KELLEY, MICHAEL                               VARIOUS                              Litigation              UNDETERMINED
       2280 CONCORD AVE.
       BRENTWOOD, CA 94513                  ACCOUNT NO.: NOT AVAILABLE


3.7101 KELLEY, MICHAEL                               VARIOUS                              Litigation              UNDETERMINED
       24707 HUTCHUNSON RD.
       LOS GATOS, CA 95033                  ACCOUNT NO.: NOT AVAILABLE


3.7102 KELLEY, MIKE                                  VARIOUS                              Litigation              UNDETERMINED
       PO BOX 668
       BYRON, CA 94514                      ACCOUNT NO.: NOT AVAILABLE


3.7103 KELLEY, ROSIE                                 VARIOUS                              Litigation              UNDETERMINED
       1475 WEST HWY 20
       UPPER LAKE, CA 95485                 ACCOUNT NO.: NOT AVAILABLE


3.7104 KELLEY, WOODROW                               VARIOUS                              Litigation              UNDETERMINED
       2888 SLOAT ROAD
       PEBBLE BEACH, CA 93953               ACCOUNT NO.: NOT AVAILABLE


3.7105 KELLOGG SUPPLY INC-YEAGER,                    VARIOUS                              Litigation              UNDETERMINED
       TODD
       12686 LOCKE RD                       ACCOUNT NO.: NOT AVAILABLE
       LOCKEFORD, CA 95237


3.7106 KELLOGG'S-AIDEYAN,                            VARIOUS                              Litigation              UNDETERMINED
       JOSEPHINE
       475 EGGO WAY                         ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95116


3.7107 Kelly Burke-Puertas, as Successor-            VARIOUS                              Litigation              UNDETERMINED
       in Interest to and as Wrongful
       Death Heir of Patrick Burke,         ACCOUNT NO.: NOT AVAILABLE
       Deceased; and Kim Lapinsky,
       Keely Macaulay, as Wrongful
       Death Heirs of Patrick Burke,
       Deceased
       Brayton Purcell, LLP
       222 Rush Landing Road, P.O Box
       6169
       Novato, CA 94949-6169


3.7108 KELLY, CHARLES                                VARIOUS                              Litigation              UNDETERMINED
       513 TRUCKEE WAY
       WOODLAND, CA 95695                   ACCOUNT NO.: NOT AVAILABLE


3.7109 KELLY, CHRISTOPHER                            VARIOUS                              Litigation              UNDETERMINED
       103 OAK ROAD
       ORINDA, CA 94563                     ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.7110 KELLY, DEIRDRE                           VARIOUS                              Litigation              UNDETERMINED
       460 CAROLINA ST
       VALLEJO, CA 94590            ACCOUNT NO.: NOT AVAILABLE


3.7111 KELLY, JOHN                              VARIOUS                              Litigation              UNDETERMINED
       3425 PARKER HILL ROAD
       SANTA ROSA, CA 95404         ACCOUNT NO.: NOT AVAILABLE


3.7112 KELLY, JOHN                              VARIOUS                              Litigation              UNDETERMINED
       20875 JERUSALEM
       LOWER LAKE, CA               ACCOUNT NO.: NOT AVAILABLE


3.7113 KELLY, MARGARET                          VARIOUS                              Litigation              UNDETERMINED
       119 SACRAMENTO AVE
       SANTA CRUZ, CA 95060         ACCOUNT NO.: NOT AVAILABLE


3.7114 KELLY-ANDRADA, LAZERA                    VARIOUS                              Litigation              UNDETERMINED
       2517 SACRAMENTO ST. STE B
       BERKELEY, CA 94702           ACCOUNT NO.: NOT AVAILABLE


3.7115 KELSEY, ROBBIE                           VARIOUS                              Litigation              UNDETERMINED
       2398 ANGLERS CT
       MARIPOSA, CA 95338           ACCOUNT NO.: NOT AVAILABLE


3.7116 KELSEYVILLE FOOD CENTER-                 VARIOUS                              Litigation              UNDETERMINED
       SINGH, IQBAL
       3985 MAIN ST                 ACCOUNT NO.: NOT AVAILABLE
       KELSEYVILLE, CA 95451


3.7117 KEMENY, JEFF                             VARIOUS                              Litigation              UNDETERMINED
       1047 N TOWNSHIP RD APT E
       MOKELUMNE HILL, CA 95245     ACCOUNT NO.: NOT AVAILABLE


3.7118 KEMP, ALEXANDER                          VARIOUS                              Litigation              UNDETERMINED
       25340 MARSH CREEK RD.
       BRENTWOOD, CA 94513          ACCOUNT NO.: NOT AVAILABLE


3.7119 KEMP, DAVID                              VARIOUS                              Litigation              UNDETERMINED
       130 OHLONE CT
       LOS GATOS, CA 95032          ACCOUNT NO.: NOT AVAILABLE


3.7120 KEMP, JAMES                              VARIOUS                              Litigation              UNDETERMINED
       11103 LIME KILN RD
       GRASS VALLEY, CA 95949       ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.7121 KEMP, JANE                               VARIOUS                              Litigation              UNDETERMINED
       5674 JORDAN AVE
       EL CERRITO, CA 94530         ACCOUNT NO.: NOT AVAILABLE


3.7122 KEMP, L SCOTT                            VARIOUS                              Litigation              UNDETERMINED
       2217 RIDGEPOINTE COURT
       WALNUT CREEK, CA 94596       ACCOUNT NO.: NOT AVAILABLE


3.7123 KEMP, ROBERT                             VARIOUS                              Litigation              UNDETERMINED
       643 EDWARDO AVE
       BEN LOMOND, CA 95005         ACCOUNT NO.: NOT AVAILABLE


3.7124 KEMPER SERVICE GROUP                     VARIOUS                              Litigation              UNDETERMINED
       PO BOX 660069
       DALLAS, CA 75266             ACCOUNT NO.: NOT AVAILABLE


3.7125 KEMPER SERVICE GROUP                     VARIOUS                              Litigation              UNDETERMINED
       PO BOX 660069
       DALLAS, CA 75266             ACCOUNT NO.: NOT AVAILABLE


3.7126 KEMPS, MIKE                              VARIOUS                              Litigation              UNDETERMINED
       2810 SUNFLOWER CT.
       MERCED, CA 95340             ACCOUNT NO.: NOT AVAILABLE


3.7127 KEN CASTAGNINI-CASTAGNINI,               VARIOUS                              Litigation              UNDETERMINED
       KEN
       2 MADERA LN                  ACCOUNT NO.: NOT AVAILABLE
       ORINDA, CA 94563


3.7128 KEN, RILLING                             VARIOUS                              Litigation              UNDETERMINED
       742 PARADISE ROAD
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.7129 KENDALL, JANET                           VARIOUS                              Litigation              UNDETERMINED
       301 COLVILLE DR
       SAN JOSE, CA 95123           ACCOUNT NO.: NOT AVAILABLE


3.7130 KENDALL, MICHAEL                         VARIOUS                              Litigation              UNDETERMINED
       585 CALLE SIENA
       MORGAN HILL, CA 95037        ACCOUNT NO.: NOT AVAILABLE


3.7131 KENEDI, SHARON                           VARIOUS                              Litigation              UNDETERMINED
       314 BUENA VISTA ST
       GRASS VALLEY, CA 95945       ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.7132 KENNARD, LINDA & ROBERT                  VARIOUS                              Litigation              UNDETERMINED
       3064 VICHY AVENUE
       NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.7133 KENNEDY, MICHAEL                         VARIOUS                              Litigation              UNDETERMINED
       105 MADISON AVE
       SAN MATEO, CA 94402          ACCOUNT NO.: NOT AVAILABLE


3.7134 KENNETT, SHARON                          VARIOUS                              Litigation              UNDETERMINED
       1738 MARLYN WAY
       SAN JOSE, CA 95125           ACCOUNT NO.: NOT AVAILABLE


3.7135 KENNEY, KIMBERLY                         VARIOUS                              Litigation              UNDETERMINED
       795 RUSSEL LN
       MILPITAS, CA 95035           ACCOUNT NO.: NOT AVAILABLE


3.7136 KENNEY, ROBERT                           VARIOUS                              Litigation              UNDETERMINED
       1379 BELLEVILLE WAY
       FWY 820 NEAR JUNCTION 880    ACCOUNT NO.: NOT AVAILABLE
       SUNNYVALE, CA 94087


3.7137 KENNY, RACHEL                            VARIOUS                              Litigation              UNDETERMINED
       292 N FORDHAM
       FRESNO, CA 93727             ACCOUNT NO.: NOT AVAILABLE


3.7138 KENOURGIOS, GEORGE                       VARIOUS                              Litigation              UNDETERMINED
       18115 BOURBON STREET
       JACKSON, CA 95642            ACCOUNT NO.: NOT AVAILABLE


3.7139 KENT CLEANERS-KIM, HONG                  VARIOUS                              Litigation              UNDETERMINED
       YUN
       999 EDGEWATER BLVD D         ACCOUNT NO.: NOT AVAILABLE
       FOSTER CITY, CA 94404


3.7140 KENT, DOUGLAS                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 183
       ORICK, CA 95555              ACCOUNT NO.: NOT AVAILABLE


3.7141 KENT, GARY                               VARIOUS                              Litigation              UNDETERMINED
       993 LUPIN AVE
       CHICO, CA 95973              ACCOUNT NO.: NOT AVAILABLE


3.7142 KENT, MATTHEW                            VARIOUS                              Litigation              UNDETERMINED
       7243 SHELTER CREEK LANE
       SAN BRUNO, CA 94066          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.7143 KENYON, SUSAN                            VARIOUS                              Litigation              UNDETERMINED
       6025 THORNWOOD DRIVE
       LOOMIS, CA 95650             ACCOUNT NO.: NOT AVAILABLE


3.7144 KENZO SUSHI - CHO, JAEYEON               VARIOUS                              Litigation              UNDETERMINED
       5465 SNELL AVE
       SAN JOSE, CA 95123           ACCOUNT NO.: NOT AVAILABLE


3.7145 KEOHANE, JENNIFER                        VARIOUS                              Litigation              UNDETERMINED
       862 MCELLEN WAY
       LAFAYETTE, CA 94549          ACCOUNT NO.: NOT AVAILABLE


3.7146 KEPPLER, MICHAEL                         VARIOUS                              Litigation              UNDETERMINED
       333 NORTH CHURCH ST # A
       GRASS VALLEY, CA 95945       ACCOUNT NO.: NOT AVAILABLE


3.7147 KERBS, FRED                              VARIOUS                              Litigation              UNDETERMINED
       11075 NATHAN CT.
       SONORA, CA 95370             ACCOUNT NO.: NOT AVAILABLE


3.7148 KERBY, WILDY                             VARIOUS                              Litigation              UNDETERMINED
       202 PELICAN LOOP
       PITTSBURG, CA 94565          ACCOUNT NO.: NOT AVAILABLE


3.7149 KERMAN CATTLE COMPANY,                   VARIOUS                              Litigation              UNDETERMINED
       MATTHEW GAILEY
       7363 W. FAIRMONT AVENUE      ACCOUNT NO.: NOT AVAILABLE
       4301 S. DICKERSON AVENUE
       FRESNO, CA 93723


3.7150 KERMAN, KATHY                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1053
       DURHAM, CA 95938             ACCOUNT NO.: NOT AVAILABLE


3.7151 KERN COUNTY SOCCER PARK                  VARIOUS                              Litigation              UNDETERMINED
       FOUNDATION-CLARK, JIM
       6200 LAKE MING RD.           ACCOUNT NO.: NOT AVAILABLE
       A4
       BAKERSFIELD, CA 93306


3.7152 KERN LAW ENFORCEMENT                     VARIOUS                              Litigation              UNDETERMINED
       ASSOC-HESS, DIANA
       PO BOX 82516                 ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93380


3.7153 KERN RIDGE GROWERS LLC-                  VARIOUS                              Litigation              UNDETERMINED
       EASTER, VAUGHN
       PO BOX 455                   ACCOUNT NO.: NOT AVAILABLE
       ARVIN, CA 93203

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Litigation & Disputes

3.7154 KERN, DANA                               VARIOUS                              Litigation              UNDETERMINED
       1025 VIA ELISABETTA CT.
       PETALUMA, CA 94954           ACCOUNT NO.: NOT AVAILABLE


3.7155 KERNS JEWELERS LLC-SHICK,                VARIOUS                              Litigation              UNDETERMINED
       JIM
       214 LORTON AVE               ACCOUNT NO.: NOT AVAILABLE
       BURLINGAME, CA 94010


3.7156 KERR, BRENDA                             VARIOUS                              Litigation              UNDETERMINED
       3600 TRIANGLE ROAD
       MARIPOSA, CA 95338           ACCOUNT NO.: NOT AVAILABLE


3.7157 KERR, DUNCAN                             VARIOUS                              Litigation              UNDETERMINED
       20 ROLLINGWOOD DR SPC 64
       JACKSON, CA 95642            ACCOUNT NO.: NOT AVAILABLE


3.7158 KERR, JENNIFER                           VARIOUS                              Litigation              UNDETERMINED
       201 MARIN ST.
       SAN RAFAEL, CA 94901         ACCOUNT NO.: NOT AVAILABLE


3.7159 KERR, JENNIFER                           VARIOUS                              Litigation              UNDETERMINED
       201 MARIN ST.
       SAN RAFAEL, CA 94901         ACCOUNT NO.: NOT AVAILABLE


3.7160 KERR, SANDRA                             VARIOUS                              Litigation              UNDETERMINED
       4968 WINCHESTER PLACE
       NEWARK, CA 94560             ACCOUNT NO.: NOT AVAILABLE


3.7161 KERSHAW, DONNA                           VARIOUS                              Litigation              UNDETERMINED
       428 HILLCREST RD.
       SAN CARLOS, CA 94070-1919    ACCOUNT NO.: NOT AVAILABLE


3.7162 KERSHAW, KENT                            VARIOUS                              Litigation              UNDETERMINED
       12637 CUMORAH DRIVE
       CLOVIS, CA 93619             ACCOUNT NO.: NOT AVAILABLE


3.7163 KERSHNER, JONATHAN                       VARIOUS                              Litigation              UNDETERMINED
       SANTA RITA RD.
       EL SOBRANTE, CA 94803        ACCOUNT NO.: NOT AVAILABLE


3.7164 KESEL, BARBARA                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 848
       21090 BUTTE VIEW             ACCOUNT NO.: NOT AVAILABLE
       WEIMAR, CA 95736




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.7165 KESELMAN, OLGA                           VARIOUS                              Litigation              UNDETERMINED
       427 CAMELBACK ROAD
       PLEASANT HILL, CA 94523      ACCOUNT NO.: NOT AVAILABLE


3.7166 KESHISHIAN NAMAGERDI, ALLEN         VARIOUS                                   Litigation              UNDETERMINED
       111 W 9TH STREET, APT #272
       CLOVIS, CA 93612            ACCOUNT NO.: NOT AVAILABLE


3.7167 KESTER, JANIE                            VARIOUS                              Litigation              UNDETERMINED
       TAYLOR COLD
       PO BOX 375                   ACCOUNT NO.: NOT AVAILABLE
       CA 95002


3.7168 KEVIN HERMAN RANCHES                     VARIOUS                              Litigation              UNDETERMINED
       2985 AIRPORT DRIVE
       MADERA, CA 93637             ACCOUNT NO.: NOT AVAILABLE


3.7169 KEVIN HERMAN RANCHES                     VARIOUS                              Litigation              UNDETERMINED
       2985 AIRPORT DRIVE
       MADERA, CA 93637             ACCOUNT NO.: NOT AVAILABLE


3.7170 KEVIN HERMAN RANCHES                     VARIOUS                              Litigation              UNDETERMINED
       2985 AIRPORT DRIVE
       MADERA, CA 93637             ACCOUNT NO.: NOT AVAILABLE


3.7171 KEVIN HERMAN RANCHES                     VARIOUS                              Litigation              UNDETERMINED
       2985 AIRPORT DRIVE
       MADERA, CA 93637             ACCOUNT NO.: NOT AVAILABLE


3.7172 KEVIN RIVERA BI (ATTY                    VARIOUS                              Litigation              UNDETERMINED
       YAGOUBZADEH), JONATHAN
       YAGOUBZADEH, ESQ.            ACCOUNT NO.: NOT AVAILABLE
       205 JACKSON ST
       TAFT, CA 93268


3.7173 KEVIN RIVERA PD (ATTY                    VARIOUS                              Litigation              UNDETERMINED
       YAGOUBZADEH), JONATHAN
       YAGOUBZEDEH, ESQ.            ACCOUNT NO.: NOT AVAILABLE
       204 JACKSON ST
       TAFT, CA 93268


3.7174 KEVIN THOMPSON                           VARIOUS                              Litigation              UNDETERMINED
       NOT AVAILABLE
                                    ACCOUNT NO.: NOT AVAILABLE


3.7175 KEY, CHE                                 VARIOUS                              Litigation              UNDETERMINED
       501 RAY ST
       BAKERSFIELD, CA 93308        ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.7176 KEYAWA, DAVE & DEANNA                    VARIOUS                              Litigation              UNDETERMINED
       10 ALYSSUM WAY
       CHICO, CA 95928              ACCOUNT NO.: NOT AVAILABLE


3.7177 KEYS, STACEY                             VARIOUS                              Litigation              UNDETERMINED
       623 PORTER ST
       VALLEJO, CA 94590            ACCOUNT NO.: NOT AVAILABLE


3.7178 KEYSER, DENNIS                           VARIOUS                              Litigation              UNDETERMINED
       8721 LARKIN RD
       LIVE OAK, CA 95953           ACCOUNT NO.: NOT AVAILABLE


3.7179 KEYSIGHT TECHNOLOGIES,                   VARIOUS                              Litigation              UNDETERMINED
       INC.-WELLS, CRAIG
       1400 FOUNTAINGROVE PKWY      ACCOUNT NO.: NOT AVAILABLE
       MS1BSC
       SANTA ROSA, CA 95405


3.7180 KEYSIGHT TECHNOLOGIES-                   VARIOUS                              Litigation              UNDETERMINED
       REINHOLD, STEPHEN
       17931 SARATOGA LOS GATOS     ACCOUNT NO.: NOT AVAILABLE
       RD
       MONTE SERENO, CA 95030


3.7181 KFLOM, YAKOB                             VARIOUS                              Litigation              UNDETERMINED
       545 MAUREEN LANE
       PLEASANT HILL, CA 94523      ACCOUNT NO.: NOT AVAILABLE


3.7182 KG-CAMDEN, LLC, EATON,                   VARIOUS                              Litigation              UNDETERMINED
       JENNIFER
       539 ALMA STREET              ACCOUNT NO.: NOT AVAILABLE
       401 WARREN ST
       REDWOOD CITY, CA 94063


3.7183 KHAIRALLAH, SAAD                         VARIOUS                              Litigation              UNDETERMINED
       3114 ARBOR AVENUE
       LIVERMORE, CA 94550          ACCOUNT NO.: NOT AVAILABLE


3.7184 KHALSA, DATTA                            VARIOUS                              Litigation              UNDETERMINED
       2567 MAIN ST
       SOQUEL, CA 95073             ACCOUNT NO.: NOT AVAILABLE


3.7185 KHAN, AMAN                               VARIOUS                              Litigation              UNDETERMINED
       2403 ANDREW COURT
       UNION CITY, CA 94587         ACCOUNT NO.: NOT AVAILABLE


3.7186 KHAN, JULIA                              VARIOUS                              Litigation              UNDETERMINED
       3566 YACHT DRIVE
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE

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Litigation & Disputes

3.7187 KHAN, MAHEEN                             VARIOUS                              Litigation              UNDETERMINED
       1310 CREEKSIDE DR.
       UNIT 108                     ACCOUNT NO.: NOT AVAILABLE
       WALNUT CREEK, CA 94596


3.7188 KHAN, TINA                               VARIOUS                              Litigation              UNDETERMINED
       4855 N DELBERT AVE
       FRESNO, CA 93722             ACCOUNT NO.: NOT AVAILABLE


3.7189 KHANNA, ROHIT                            VARIOUS                              Litigation              UNDETERMINED
       47 PHEASANT RUN TER
       DANVILLE, CA 94506           ACCOUNT NO.: NOT AVAILABLE


3.7190 KHAYMOVICH, VLADIMIR                     VARIOUS                              Litigation              UNDETERMINED
       /ANTHONY
       3286 FOWLER ROAD             ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95135


3.7191 KHAZIRI, MIKE                            VARIOUS                              Litigation              UNDETERMINED
       19352 SHUBERT DRIVE
       SARATOGA, CA 95070           ACCOUNT NO.: NOT AVAILABLE


3.7192 KHIVESARA, ASHISH                        VARIOUS                              Litigation              UNDETERMINED
       3871 FORESTER CT
       SAN JOSE, CA 95121           ACCOUNT NO.: NOT AVAILABLE


3.7193 KHODABANDEH, PAGMAN                      VARIOUS                              Litigation              UNDETERMINED
       7127 CAHEN DR.
       SAN JOSE, CA 95120           ACCOUNT NO.: NOT AVAILABLE


3.7194 KHORSANDI, ARASH                         VARIOUS                              Litigation              UNDETERMINED
       2960 WILSHIRE BLVD 3RD FLR
       LOS ANGELES, CA 90010        ACCOUNT NO.: NOT AVAILABLE


3.7195 KHOSH-CEFAT, AZRA                        VARIOUS                              Litigation              UNDETERMINED
       PO BOX 6444
       MORAGA, CA 94570             ACCOUNT NO.: NOT AVAILABLE


3.7196 KHOURY, AMIRA                            VARIOUS                              Litigation              UNDETERMINED
       316 NORTH CLAREMONT
       STREET APT 1                 ACCOUNT NO.: NOT AVAILABLE
       SAN MATEO, CA 94401


3.7197 KHOURYS AUTOMOTIVE INC,                  VARIOUS                              Litigation              UNDETERMINED
       PETER KHOURY
       2036 OLD MIDDLEFIELD WAY     ACCOUNT NO.: NOT AVAILABLE
       MOUNTAIN VIEW, CA 94043



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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.7198 KHURANA, RAHUL                           VARIOUS                              Litigation              UNDETERMINED
       1816 NEWCASTLE DR
       LOS ALTOS, CA 94024          ACCOUNT NO.: NOT AVAILABLE


3.7199 KIBBLEWHITE, MARGO                       VARIOUS                              Litigation              UNDETERMINED
       1395 ADOBE DR
       2                            ACCOUNT NO.: NOT AVAILABLE
       PACIFICA, CA 94044


3.7200 KICHUKOFF, EDITH                         VARIOUS                              Litigation              UNDETERMINED
       1730 CHERRY HILLS DR
       BYRON, CA 94505              ACCOUNT NO.: NOT AVAILABLE


3.7201 KIDD, SHAWNA                             VARIOUS                              Litigation              UNDETERMINED
       17875 APRICOT WAY
       CASTRO VALLEY, CA 94546      ACCOUNT NO.: NOT AVAILABLE


3.7202 KIDD, STEVE                              VARIOUS                              Litigation              UNDETERMINED
       23368 COVE LANE ROAD
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.7203 KIDS FIRST DAYCARE, LINDA                VARIOUS                              Litigation              UNDETERMINED
       BRANCH
       3014 58TH AVENUE             ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94605


3.7204 KIDWELL, CHARLES                         VARIOUS                              Litigation              UNDETERMINED
       14950 S. PONDEROSA WAY
       GRASS VALLEY, CA 95949       ACCOUNT NO.: NOT AVAILABLE


3.7205 KIEVE, KELLEY                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 714
       GUALALA, CA 95445            ACCOUNT NO.: NOT AVAILABLE


3.7206 KIFLE, JACQUELYN                         VARIOUS                              Litigation              UNDETERMINED
       10051 MISSION AVE
       LE GRAND, CA 95333           ACCOUNT NO.: NOT AVAILABLE


3.7207 KIHARA, JUSTIN                           VARIOUS                              Litigation              UNDETERMINED
       1805 SIGNET CT.
       ROCKLIN, CA 95765            ACCOUNT NO.: NOT AVAILABLE


3.7208 KIKUCHI, MASATO                          VARIOUS                              Litigation              UNDETERMINED
       1585 VINEYARD DRIVE
       LOS ALTOS, CA 94024          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.7209 KILEFNER, KEN                            VARIOUS                              Litigation              UNDETERMINED
       720 CHERRY ST
       NOVATO, CA 94945              ACCOUNT NO.: NOT AVAILABLE


3.7210 KILIAN, STARR                            VARIOUS                              Litigation              UNDETERMINED
       4090 OLD RAILROAD GRADE RD
       MCKINLEYVILLE, CA 95519       ACCOUNT NO.: NOT AVAILABLE


3.7211 KILKENNY/BARRY ORCHARD-                  VARIOUS                              Litigation              UNDETERMINED
       KILKENNY, DENNIS
       P.O. BOX 796                  ACCOUNT NO.: NOT AVAILABLE
       WINTERS, CA 95694


3.7212 KILLENS, MICHAEL                         VARIOUS                              Litigation              UNDETERMINED
       2462 MAVIS STREET
       OAKLAND, CA 94601             ACCOUNT NO.: NOT AVAILABLE


3.7213 KILLETT, AMY                             VARIOUS                              Litigation              UNDETERMINED
       1020 FUNSTON AVENUE
       4                             ACCOUNT NO.: NOT AVAILABLE
       PACIFIC GROVE, CA 93950


3.7214 KILLIAN, KATHRYN                         VARIOUS                              Litigation              UNDETERMINED
       503 W. 12TH ST.
       ANTIOCH, CA 94509             ACCOUNT NO.: NOT AVAILABLE


3.7215 KILLIAN, STEVE                           VARIOUS                              Litigation              UNDETERMINED
       2386 S WHITNEY
       ROCKLIN, CA 95677             ACCOUNT NO.: NOT AVAILABLE


3.7216 KILSON, DEANEATRICE                      VARIOUS                              Litigation              UNDETERMINED
       6718 FLORA STREET
       OAKLAND, CA 94621             ACCOUNT NO.: NOT AVAILABLE


3.7217 KIM - SUGARHILL KITCHEN,                 VARIOUS                              Litigation              UNDETERMINED
       JEANNIE/PATRICK
       1449 LOMBARD ST               ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94123


3.7218 KIM MORGAN R.E.-MORGAN, KIM              VARIOUS                              Litigation              UNDETERMINED
       22 ARGUELLO CIRCLE
       SAN RAFAEL, CA 94901          ACCOUNT NO.: NOT AVAILABLE


3.7219 KIM SON MEDITATION CENTER,               VARIOUS                              Litigation              UNDETERMINED
       JENNY LE
       P.O. BOX 1983                 ACCOUNT NO.: NOT AVAILABLE
       MORGAN HILL, CA 95038



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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.7220 KIM, ALEX                                VARIOUS                              Litigation              UNDETERMINED
       1561 FILLMORE ST
       SAN FRANCISCO, CA 94115      ACCOUNT NO.: NOT AVAILABLE


3.7221 KIM, BEN & LAUREN                        VARIOUS                              Litigation              UNDETERMINED
       398 HAWTHRONE AVENUE
       LOS ALTOS, CA 94022          ACCOUNT NO.: NOT AVAILABLE


3.7222 KIM, GINNI                               VARIOUS                              Litigation              UNDETERMINED
       850 77TH AVE.
       OAKLAND, CA 94821-2538       ACCOUNT NO.: NOT AVAILABLE


3.7223 KIM, HEE CHUN                            VARIOUS                              Litigation              UNDETERMINED
       775A ELM AVE
       SEASIDE, CA 93955            ACCOUNT NO.: NOT AVAILABLE


3.7224 KIM, KUMMI                               VARIOUS                              Litigation              UNDETERMINED
       12767 CAMBRIDGE DR
       SARATOGA, CA 95070           ACCOUNT NO.: NOT AVAILABLE


3.7225 KIM, YOUNG                               VARIOUS                              Litigation              UNDETERMINED
       10465 GLENVIEW AVE
       CUPERTINO, CA 95014          ACCOUNT NO.: NOT AVAILABLE


3.7226 KIMAW, MEDICAL CENTER                    VARIOUS                              Litigation              UNDETERMINED
       300 TISH TANG ROAD
       HOOPA, CA 95546              ACCOUNT NO.: NOT AVAILABLE


3.7227 KIMBALL, DAMIEN                          VARIOUS                              Litigation              UNDETERMINED
       4200 PARKWOOD CT.
       6                            ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93309


3.7228 KIMIYAIE, MICHAEL                        VARIOUS                              Litigation              UNDETERMINED
       5130 MISSION ST
       SAN FRANCISCO, CA 94112      ACCOUNT NO.: NOT AVAILABLE


3.7229 KINAAN, MOHAMMED                         VARIOUS                              Litigation              UNDETERMINED
       6909 GRANADA DR
       REDDING, CA 96002            ACCOUNT NO.: NOT AVAILABLE


3.7230 KINCADE, MATTHEW & GINA                  VARIOUS                              Litigation              UNDETERMINED
       5963 POND DR.
       FORESTHILL, CA 95631         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.7231 KINDER, SANDY                             VARIOUS                              Litigation              UNDETERMINED
       16060 JAMISON CREEK
       4681 CLIPPER DRIVE            ACCOUNT NO.: NOT AVAILABLE
       DISCOVERY BAY, CA 94505


3.7232 KINERRLIN, MARY LEE                       VARIOUS                              Litigation              UNDETERMINED
       19761 LITTLE WOODS RD
       COTTONWOOD, CA 96022          ACCOUNT NO.: NOT AVAILABLE


3.7233 KING JR, VAL                              VARIOUS                              Litigation              UNDETERMINED
       1488 BLACK RD
       SANTA MARIA, CA 93458         ACCOUNT NO.: NOT AVAILABLE


3.7234 KING, ADRIANNE                            VARIOUS                              Litigation              UNDETERMINED
       3590 DORMER AVE
       CONCORD, CA 94519             ACCOUNT NO.: NOT AVAILABLE


3.7235 KING, ALANA                               VARIOUS                              Litigation              UNDETERMINED
       3834 WALLER AVE
       RICHMOND, CA 94804            ACCOUNT NO.: NOT AVAILABLE


3.7236 KING, ANDY                                VARIOUS                              Litigation              UNDETERMINED
       785 QUINTANA ROAD @204
       MORRO BAY, CA 93442           ACCOUNT NO.: NOT AVAILABLE


3.7237 KING, ANDY                                VARIOUS                              Litigation              UNDETERMINED
       785 QUINTANA ROAD # 204
       MORRY BAY, CA 93442           ACCOUNT NO.: NOT AVAILABLE


3.7238 KING, CHRIS                               VARIOUS                              Litigation              UNDETERMINED
       842 OXFORD ST
       BERKELEY, CA 94707            ACCOUNT NO.: NOT AVAILABLE


3.7239 KING, EIRENE                              VARIOUS                              Litigation              UNDETERMINED
       238 COLEMAN DRIVE
       SAN RAFAEL, CA 94901          ACCOUNT NO.: NOT AVAILABLE


3.7240 KING, ERIKA                               VARIOUS                              Litigation              UNDETERMINED
       2348 PHELPS ST
       STOCKTON, CA 95206            ACCOUNT NO.: NOT AVAILABLE


3.7241 KING, HENRIETTA                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 627
       GALT, CA 95632                ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.7242 KING, JAN                                VARIOUS                              Litigation              UNDETERMINED
       5462 MCFARLANE ROAD
       SEBASTOPOL, CA 95472         ACCOUNT NO.: NOT AVAILABLE


3.7243 KING, JENNE                              VARIOUS                              Litigation              UNDETERMINED
       1820 STUART ST
       BERKELEY, CA 94703           ACCOUNT NO.: NOT AVAILABLE


3.7244 KING, KENNETH                            VARIOUS                              Litigation              UNDETERMINED
       12167 E. JAHANT RD.
       ACAMPO, CA 95220             ACCOUNT NO.: NOT AVAILABLE


3.7245 KING, LATASHA                            VARIOUS                              Litigation              UNDETERMINED
       1129 SCOTT STREET
       FAIRFIELD, CA                ACCOUNT NO.: NOT AVAILABLE


3.7246 KING, LATRICE                            VARIOUS                              Litigation              UNDETERMINED
       3167 MONTEREY BLVD
       OAKLAND, CA 94602            ACCOUNT NO.: NOT AVAILABLE


3.7247 KING, MELISSA                            VARIOUS                              Litigation              UNDETERMINED
       20995 TODD VALLEY RD
       FORESTHILL, CA 95631         ACCOUNT NO.: NOT AVAILABLE


3.7248 KING, PATRICIA                           VARIOUS                              Litigation              UNDETERMINED
       8338 N/O HWY 99
       STOCKTON, CA 95212           ACCOUNT NO.: NOT AVAILABLE


3.7249 KING, ROBERT                             VARIOUS                              Litigation              UNDETERMINED
       1529 FREDERICK ST
       SANTA ROSA, CA 95401         ACCOUNT NO.: NOT AVAILABLE


3.7250 KING, ROGER                              VARIOUS                              Litigation              UNDETERMINED
       887 SAN SIMEON DRIVE
       CONCORD, CA 94518            ACCOUNT NO.: NOT AVAILABLE


3.7251 KING, VICTORIA                           VARIOUS                              Litigation              UNDETERMINED
       615 FURLONG ROAD
       SEBASTOPOL, CA 95472         ACCOUNT NO.: NOT AVAILABLE


3.7252 KING, WANDA                              VARIOUS                              Litigation              UNDETERMINED
       3908 TUERS DR
       SAN JOSE, CA                 ACCOUNT NO.: NOT AVAILABLE


3.7253 KING, WELDON                             VARIOUS                              Litigation              UNDETERMINED
       4820 FAROUSSE WAY
       PASO ROBLES, CA 93446        ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.7254 KING/GEICO, TIMOTHY                      VARIOUS                              Litigation              UNDETERMINED
       PO BOX 509119
       SAN DIEGO, CA 92150-9914     ACCOUNT NO.: NOT AVAILABLE


3.7255 KINGDOM HALL - JEHOVAHS                  VARIOUS                              Litigation              UNDETERMINED
       WITNESS, KAMIAN, RICHARD
       PO BOX 367                   ACCOUNT NO.: NOT AVAILABLE
       5415 PONY EXPRESS TRAIL
       POLLOCK PINES, CA 95726


3.7256 KINGMAN, DONALD                          VARIOUS                              Litigation              UNDETERMINED
       308 PARAISO DR
       DANVILLE, CA 94526           ACCOUNT NO.: NOT AVAILABLE


3.7257 KING'S LIQUORS-LETHEULE,                 VARIOUS                              Litigation              UNDETERMINED
       PIERRE
       8 41ST AVE                   ACCOUNT NO.: NOT AVAILABLE
       SAN MATEO, CA 94403


3.7258 KINGSBURG ORCHARDS                       VARIOUS                              Litigation              UNDETERMINED
       PO BOX 38
       KINGSBURG, CA 93631          ACCOUNT NO.: NOT AVAILABLE


3.7259 KINGSBURG ORCHARDS                       VARIOUS                              Litigation              UNDETERMINED
       PO BOX 38
       KINGSBURG, CA 93631          ACCOUNT NO.: NOT AVAILABLE


3.7260 KINGSBURY, CASSANDRA                     VARIOUS                              Litigation              UNDETERMINED
       19399 MCCANN RD
       COTTONWOOD, CA 96022         ACCOUNT NO.: NOT AVAILABLE


3.7261 KINGSBURY, RICHARD                       VARIOUS                              Litigation              UNDETERMINED
       2135 MAGNOLIA AVENUE
       PETALUMA, CA 94952           ACCOUNT NO.: NOT AVAILABLE


3.7262 KINMON, CAROL                            VARIOUS                              Litigation              UNDETERMINED
       6245 SPRUCE AVENUE
       POLLOCK PINES, CA 95726      ACCOUNT NO.: NOT AVAILABLE


3.7263 KINNER RANCH-KINNER, JOHN                VARIOUS                              Litigation              UNDETERMINED
       CARL
       P.O. BOX 5                   ACCOUNT NO.: NOT AVAILABLE
       BIG BEND, CA 96011


3.7264 KINNEY, PHIL                             VARIOUS                              Litigation              UNDETERMINED
       1386 HIGH NOON DR
       PLUMAS LAKE, CA 95961        ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.7265 KINNEY, WILLIAM                           VARIOUS                              Litigation              UNDETERMINED
       271 ST JAMES DR
       LOT 5, 35 MILE STONE, KYBURZ,   ACCOUNT NO.: NOT AVAILABLE
       CA., 95720
       PIEDMONT, CA 94611


3.7266 KINSALE INSURANCE, EILEEN                 VARIOUS                              Litigation              UNDETERMINED
       FAIRLE
       2221 EDWARD HOLLAND DR,         ACCOUNT NO.: NOT AVAILABLE
       SUITE 600
       RICHMOND, CA 23226


3.7267 KINTHER, JAY/DIANE MELLO                  VARIOUS                              Litigation              UNDETERMINED
       934 KAINS AVENUE
       ALBANY, CA 94706                ACCOUNT NO.: NOT AVAILABLE


3.7268 KINTHER, JAY/DIANE MELLO                  VARIOUS                              Litigation              UNDETERMINED
       934 KAINS AVENUE
       ALBANY, CA 94706                ACCOUNT NO.: NOT AVAILABLE


3.7269 KIR, CHUN PANG                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 2088
       102 S EL CAMINO REAL            ACCOUNT NO.: NOT AVAILABLE
       SAN MATEO, CA 94011


3.7270 KIRBY, MARC                               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 2957
       ARNOLD, CA 95223                ACCOUNT NO.: NOT AVAILABLE


3.7271 KIRBY, MARY                               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 7307
       EUREKA, CA 95502                ACCOUNT NO.: NOT AVAILABLE


3.7272 KIRBY, MARY                               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 7307
       EUREKA, CA 95502                ACCOUNT NO.: NOT AVAILABLE


3.7273 KIRCHENBERG, KIMBERLY                     VARIOUS                              Litigation              UNDETERMINED
       655 BORONDA RD
       SALINAS, CA 93907               ACCOUNT NO.: NOT AVAILABLE


3.7274 KIRIAKIS, YYRIANNE                        VARIOUS                              Litigation              UNDETERMINED
       8 CEDARWOOD LANE
       MILL VALLEY, CA 94941           ACCOUNT NO.: NOT AVAILABLE


3.7275 KIRIAKOPOLOS, JOHN                        VARIOUS                              Litigation              UNDETERMINED
       5800 VAN KEPPEL
       FORESTVILLE, CA 95436           ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.7276 KIRK, SALLY AND JAMES                     VARIOUS                              Litigation              UNDETERMINED
       21532 JESSIE WAY
       LOS GATOS, CA 95033           ACCOUNT NO.: NOT AVAILABLE


3.7277 KIRKHAM, JOHN                             VARIOUS                              Litigation              UNDETERMINED
       2456 HILGARD AVE. #404
       BERKELEY, CA 94709            ACCOUNT NO.: NOT AVAILABLE


3.7278 KIRKLAND, EMMA                            VARIOUS                              Litigation              UNDETERMINED
       121 MORNING SUN AVE
       MILL VALLEY, CA 94941         ACCOUNT NO.: NOT AVAILABLE


3.7279 KIRKPATRICK, ILISHA                       VARIOUS                              Litigation              UNDETERMINED
       3325 CENTER AVENUE
       RICHMOND, CA 94034            ACCOUNT NO.: NOT AVAILABLE


3.7280 KIRK'S JEWELRY-DANIELS,                   VARIOUS                              Litigation              UNDETERMINED
       CHRISTINE
       246 WEST 3RD STREET           ACCOUNT NO.: NOT AVAILABLE
       CHICO, CA 95928


3.7281 KIRKWOOD I HOA                            VARIOUS                              Litigation              UNDETERMINED
       5450 CONCORD BLVD.
       CONCORD, CA 94519             ACCOUNT NO.: NOT AVAILABLE


3.7282 KIRMAYER, PAUL                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 66
       SHASTA, CA 96087              ACCOUNT NO.: NOT AVAILABLE


3.7283 KIRMAYER, PAUL                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 66
       SHASTA, CA 96087              ACCOUNT NO.: NOT AVAILABLE


3.7284 KIRMSE, ANDREW                            VARIOUS                              Litigation              UNDETERMINED
       1632 CORDILLERAS RD
       REDWOOD CITY, CA 94062        ACCOUNT NO.: NOT AVAILABLE
       REDWOOD CITY, CA 94062


3.7285 KIRSI PHIA-TIMONEN, YRJO                  VARIOUS                              Litigation              UNDETERMINED
       TIMONEN
       CHRISTOPHER AUMAIS,           ACCOUNT NO.: NOT AVAILABLE
       ASHKAHN MOHAMADI, KELLY
       WINTER
       1127 WILSHIRE BLVD.
       LOS ANGELES, CA 90017




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Litigation & Disputes

3.7286 KIRSI PHIA-TIMONEN, YRJO                 VARIOUS                              Litigation              UNDETERMINED
       TIMONEN
       MARY ALEXANDER, BRENDAN      ACCOUNT NO.: NOT AVAILABLE
       WAY, CATALINA MUNOZ
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.7287 KIRSI PHIA-TIMONEN, YRJO                 VARIOUS                              Litigation              UNDETERMINED
       TIMONEN
       IBIERE N. SECK, MARCELIS     ACCOUNT NO.: NOT AVAILABLE
       MORRIS
       4930 WILSHIRE BLVD
       SUITE 1011
       LOS ANGELES, CA 90010


3.7288 KIRST, JANESSA                           VARIOUS                              Litigation              UNDETERMINED
       663 MOORPARK WAY
       22                           ACCOUNT NO.: NOT AVAILABLE
       MOUNTAIN VIEW, CA 94041


3.7289 KIRSTEN, SHIRLEY                         VARIOUS                              Litigation              UNDETERMINED
       1607 HOPKINS ST.
       BERKELEY, CA 94707           ACCOUNT NO.: NOT AVAILABLE


3.7290 KIRTLEY, LILLIAN                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 841
       16165 S. ROCKY ROAD          ACCOUNT NO.: NOT AVAILABLE
       MEADOW VISTA, CA 95722


3.7291 KISER, PAUL                              VARIOUS                              Litigation              UNDETERMINED
       3090 SODA CANYON ROAD
       NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.7292 KISH, AMY                                VARIOUS                              Litigation              UNDETERMINED
       674 LEYLAND CT.
       LAKE ORION, CA 48362         ACCOUNT NO.: NOT AVAILABLE


3.7293 KISH, EUGENE                             VARIOUS                              Litigation              UNDETERMINED
       BRAYTON PURCELL, LLP
       222 RUSH LANDING ROAD, P.O   ACCOUNT NO.: NOT AVAILABLE
       BOX 6169
       NOVATO, CA 94949-6169


3.7294 KISH, KAREN                              VARIOUS                              Litigation              UNDETERMINED
       20815 WARNER ROAD EAST
       PINE GROVE, CA 95665         ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.7295 KISTLER, CINDY                           VARIOUS                              Litigation              UNDETERMINED
       5 ORCHARD LANE/ROAD
       B                            ACCOUNT NO.: NOT AVAILABLE
       ST. HELENA, CA 94574


3.7296 KITAYAMA BROTHERS INC-                   VARIOUS                              Litigation              UNDETERMINED
       CASTRO, GIL
       481 SAN ANDREAS RD           ACCOUNT NO.: NOT AVAILABLE
       WATSONVILLE, CA 95076


3.7297 KITAYAMA BROTHERS INC-                   VARIOUS                              Litigation              UNDETERMINED
       CASTRO, GIL
       481 SAN ANDREAS RD           ACCOUNT NO.: NOT AVAILABLE
       WATSONVILLE, CA 95076


3.7298 KITCHEL, LEAH                            VARIOUS                              Litigation              UNDETERMINED
       2860 LILAC ROAD
       POLLOCK PINES, CA 95726      ACCOUNT NO.: NOT AVAILABLE


3.7299 KITCHEL, WAYNE                           VARIOUS                              Litigation              UNDETERMINED
       26 KELLY DRIVE
       NONE                         ACCOUNT NO.: NOT AVAILABLE
       NOVATO, CA 94949


3.7300 KITCHENER OAKLAND-CHANG,                 VARIOUS                              Litigation              UNDETERMINED
       SOPHIA
       677 39TH STREET              ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94609


3.7301 KITNA, KRISTOPHER                        VARIOUS                              Litigation              UNDETERMINED
       1830 SCENIC DRIVE
       FORTUNA, CA 95540            ACCOUNT NO.: NOT AVAILABLE


3.7302 KITONG, VANESSA                          VARIOUS                              Litigation              UNDETERMINED
       1718 KING CT
       SAN JOSE, CA 95122           ACCOUNT NO.: NOT AVAILABLE


3.7303 KITTREDGE, PAUL                          VARIOUS                              Litigation              UNDETERMINED
       3351 WORTH COURT
       WALNUT CREEK, CA 94598       ACCOUNT NO.: NOT AVAILABLE


3.7304 KITTRELL, NETTIE                         VARIOUS                              Litigation              UNDETERMINED
       1602 LINCOLN AVENUE #A
       RICHMOND, CA 94801           ACCOUNT NO.: NOT AVAILABLE


3.7305 KIZOR, ALAN                              VARIOUS                              Litigation              UNDETERMINED
       9 OAK ARBOR RD
       ORINDA, CA 94563             ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.7306 KJ WOODS CONSTRUCTION                    VARIOUS                              Litigation              UNDETERMINED
       INC, CUNNANE, JOHN
       1485 BAYSHORE BLVD #149       ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94124


3.7307 KJ WOODS CONSTRUCTION,                   VARIOUS                              Litigation              UNDETERMINED
       INC.
       1485 BAYSHORE BLVD            ACCOUNT NO.: NOT AVAILABLE
       INDUSTRIAL ROAD
       SAN CARLOS, CA


3.7308 KJ WOODS CONSTRUCTION-                   VARIOUS                              Litigation              UNDETERMINED
       MCBRIEN, MARK
       1485 BAYSHORE BLVD. #149      ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94124


3.7309 KLAMATH LAND & CATTLE-DIFU,              VARIOUS                              Litigation              UNDETERMINED
       STEVE
       576 SASA PLACE                ACCOUNT NO.: NOT AVAILABLE
       ANGELS CAMP, CA 95222


3.7310 KLANN, MICHAEL                           VARIOUS                              Litigation              UNDETERMINED
       2902 E JOAQUIN PL
       FRESNO, CA 93726              ACCOUNT NO.: NOT AVAILABLE


3.7311 KLASSEN, FRANK                           VARIOUS                              Litigation              UNDETERMINED
       6037 E. BILLINGS ST.
       MESA, CA 85205                ACCOUNT NO.: NOT AVAILABLE


3.7312 KLEE, ERIK                               VARIOUS                              Litigation              UNDETERMINED
       2710 BARDY ROAD
       SANTA ROSA, CA 95404          ACCOUNT NO.: NOT AVAILABLE


3.7313 KLEEN AIR HEATING & AIR                  VARIOUS                              Litigation              UNDETERMINED
       CONDITIONING
       1657 SILICA AVENUE            ACCOUNT NO.: NOT AVAILABLE
       SACRAMENTO, CA 95815


3.7314 KLEIN, ERIK                              VARIOUS                              Litigation              UNDETERMINED
       1726 DON AVE
       SAN JOSE, CA 95124            ACCOUNT NO.: NOT AVAILABLE


3.7315 KLEINBERG, SCOTT                         VARIOUS                              Litigation              UNDETERMINED
       392 MANCHESTER DR.
       CAMPBELL, CA 95008            ACCOUNT NO.: NOT AVAILABLE


3.7316 KLEINECKE, AUGUST                        VARIOUS                              Litigation              UNDETERMINED
       150 SHELLEY DR
       MILL VALLEY, CA 94941-1580    ACCOUNT NO.: NOT AVAILABLE

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Litigation & Disputes

3.7317 KLEINER, LOTHAR                           VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 87
       LOS ALTOS, CA 94023-0087      ACCOUNT NO.: NOT AVAILABLE


3.7318 KLEINSCHMIDT, GARY                        VARIOUS                              Litigation              UNDETERMINED
       17235 SHAKE RIDGE RD
       SUTTER CREEK, CA 95685        ACCOUNT NO.: NOT AVAILABLE


3.7319 KLEIS, JEFFREY                            VARIOUS                              Litigation              UNDETERMINED
       8627 OSPITAL RD
       VALLEY SPRINGS, CA 95252      ACCOUNT NO.: NOT AVAILABLE


3.7320 KLEPPER, KONJA                            VARIOUS                              Litigation              UNDETERMINED
       1924 KING ST
       SANTA ROSA, CA 95404          ACCOUNT NO.: NOT AVAILABLE


3.7321 KLIMEK, GAIL                              VARIOUS                              Litigation              UNDETERMINED
       14842 PAYTON AVE
       SAN JOSE, CA 95124            ACCOUNT NO.: NOT AVAILABLE


3.7322 KLINE, SYLVIA                             VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 717
       ALTA, CA 95701                ACCOUNT NO.: NOT AVAILABLE


3.7323 KLOEZEMAN, MARY JO                        VARIOUS                              Litigation              UNDETERMINED
       36 GRETEL CT.
       REDWOOD CITY, CA 94061        ACCOUNT NO.: NOT AVAILABLE


3.7324 KLOPF, JODI                               VARIOUS                              Litigation              UNDETERMINED
       3678 ALAMO DRIVE
       VACAVILLE, CA 95687           ACCOUNT NO.: NOT AVAILABLE


3.7325 KLOTH, LORRAIN                            VARIOUS                              Litigation              UNDETERMINED
       1117 SUNNYHILL CT
       SEASIDE, CA 93955             ACCOUNT NO.: NOT AVAILABLE


3.7326 KLUG, ERIC & ANGEL                        VARIOUS                              Litigation              UNDETERMINED
       14237 BARBO DR SW
       TENINO, CA 98589              ACCOUNT NO.: NOT AVAILABLE


3.7327 KLUSSMAN, NANCY                           VARIOUS                              Litigation              UNDETERMINED
       700 LOVELL AVE
       MILL VALLEY, CA 94941         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.7328 KM MOVING SERVICES, KEVIN                VARIOUS                              Litigation              UNDETERMINED
       MOODY
       42401 SHADY LANE             ACCOUNT NO.: NOT AVAILABLE
       ALLEN ROAD
       OAKHURST, CA 93644


3.7329 KNAGGS, STEVE                            VARIOUS                              Litigation              UNDETERMINED
       15010 VISTA GRANDE DR
       BAKERSFIELD, CA 93306        ACCOUNT NO.: NOT AVAILABLE


3.7330 KNAPP, JANET                             VARIOUS                              Litigation              UNDETERMINED
       180 NORTH FOURTH STREET
       SAN JOSE, CA 95112           ACCOUNT NO.: NOT AVAILABLE


3.7331 KNAPP, LAUREN                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 850
       CHOWCHILLA, CA 93610         ACCOUNT NO.: NOT AVAILABLE


3.7332 KNAPP, STEPHANIE                         VARIOUS                              Litigation              UNDETERMINED
       2516 AUDUBON COURT
       CAMINO, CA 95709             ACCOUNT NO.: NOT AVAILABLE


3.7333 KNAUSS, BENJAMIN                         VARIOUS                              Litigation              UNDETERMINED
       417 PLYMOUTH COURT
       BYRON, CA 94505              ACCOUNT NO.: NOT AVAILABLE


3.7334 KNB RESTAURANTS, INC DBA                 VARIOUS                              Litigation              UNDETERMINED
       PLUTO'S-BUGAS, GERRY
       2114 LOMBARD STREET          ACCOUNT NO.: NOT AVAILABLE
       SUITE #1
       SAN FRANCISCO, CA 94123


3.7335 KNEER, JIM & JANE                        VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 434
       SHASTA, CA 96087             ACCOUNT NO.: NOT AVAILABLE


3.7336 KNERR, CLAUDIA                           VARIOUS                              Litigation              UNDETERMINED
       18830 EVERGREEN RD.
       COTTONWOOD, CA 96022         ACCOUNT NO.: NOT AVAILABLE


3.7337 KNIERIEMEN TRUST, R                      VARIOUS                              Litigation              UNDETERMINED
       CAMPBELL
       PO BOX 7669                  ACCOUNT NO.: NOT AVAILABLE
       4398 MALLARD CRK CIRCLE
       STOCKTON, CA 95267


3.7338 KNIFFIN, TOM                             VARIOUS                              Litigation              UNDETERMINED
       346 HONEY RUN RD
       CHICO, CA 95928              ACCOUNT NO.: NOT AVAILABLE

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Litigation & Disputes

3.7339 KNIGHT, DWAIN                            VARIOUS                              Litigation              UNDETERMINED
       3642 COTTONWOOD ST
       CLEARLAKE, CA 95422          ACCOUNT NO.: NOT AVAILABLE


3.7340 KNIGHT, KATHLEEN                         VARIOUS                              Litigation              UNDETERMINED
       778 RACQUET CLUB CIR
       ROHNERT PARK, CA 94928       ACCOUNT NO.: NOT AVAILABLE


3.7341 KNIGHT, THOMAS                           VARIOUS                              Litigation              UNDETERMINED
       2467 CAMINO DIABLO
       BYRON, CA 94514              ACCOUNT NO.: NOT AVAILABLE


3.7342 KNIGHTEN, AMI                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 648
       MARIPOSA, CA 95338           ACCOUNT NO.: NOT AVAILABLE


3.7343 KNIGHTS PUMPING &                        VARIOUS                              Litigation              UNDETERMINED
       PORTABLE, KATHRYN ALLEN
       5555 S UNION AVENUE          ACCOUNT NO.: NOT AVAILABLE
       KENTUCKY AAND MT. VERNON
       BAKERSFIELD, CA 93307


3.7344 KNOBLICH, GROGORY                        VARIOUS                              Litigation              UNDETERMINED
       5022 DOUBLE POINT WAY
       129 BRODERICK DRIVE,         ACCOUNT NO.: NOT AVAILABLE
       BRENTWOOD
       DISCOVERY BAY, CA 94505


3.7345 KNODABANDEN, ZUBI                        VARIOUS                              Litigation              UNDETERMINED
       7127 CAHEN DRIVE
       SAN JOSE, CA 95120           ACCOUNT NO.: NOT AVAILABLE


3.7346 KNOERNSCHILD, RONALD                     VARIOUS                              Litigation              UNDETERMINED
       41715 RIVER FALLS RD
       OAKHURST, CA 93644           ACCOUNT NO.: NOT AVAILABLE


3.7347 KNOWLES, DAVID                           VARIOUS                              Litigation              UNDETERMINED
       LAW OFFICES OF MATTHEW J.
       QUINLAN                      ACCOUNT NO.: NOT AVAILABLE
       3223 WEBSTER ST.
       SAN FRANCISCO, CA 94123


3.7348 KNOWLES, DAVID/ATTY REP                  VARIOUS                              Litigation              UNDETERMINED
       CA
                                    ACCOUNT NO.: NOT AVAILABLE


3.7349 KNOX, BRENDA                             VARIOUS                              Litigation              UNDETERMINED
       3619 JEWETT AVE
       BAKERSFIELD, CA 93301        ACCOUNT NO.: NOT AVAILABLE

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Litigation & Disputes

3.7350 KNOX, JAMES                               VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1608
       LAKEPORT, CA 95453            ACCOUNT NO.: NOT AVAILABLE


3.7351 KNUDSEN'S ICE CREAMERY-                   VARIOUS                              Litigation              UNDETERMINED
       KNUDSEN, SHAYANNE
       3323 CASTRO VALLEY BLVD       ACCOUNT NO.: NOT AVAILABLE
       CASTRO VALLEY, CA 94546


3.7352 KNUDSEN'S ICE CREAMERY-                   VARIOUS                              Litigation              UNDETERMINED
       KNUDSEN, SHAYANNE
       3323 CASTRO VALLEY BLVD       ACCOUNT NO.: NOT AVAILABLE
       CASTRO VALLEY, CA 94546


3.7353 KNUDSEN'S ICE CREAMERY-                   VARIOUS                              Litigation              UNDETERMINED
       KNUDSEN, SHAYANNE
       3323 CASTRO VALLEY BLVD       ACCOUNT NO.: NOT AVAILABLE
       CASTRO VALLEY, CA 94546


3.7354 KNUTSON, ERIC                             VARIOUS                              Litigation              UNDETERMINED
       294 SAINT MORITZ WAY
       MARTINEZ, CA 94553            ACCOUNT NO.: NOT AVAILABLE


3.7355 KNUTSON, KATE                             VARIOUS                              Litigation              UNDETERMINED
       125 OAK WAY
       BOULDER CREEK, CA 95006       ACCOUNT NO.: NOT AVAILABLE


3.7356 KO UNDERGROUND                            VARIOUS                              Litigation              UNDETERMINED
       CONSTRUCTION, INC - BRENDA
       SIGMON, BRENDA SIGMON         ACCOUNT NO.: NOT AVAILABLE
       102 WOLFSKILL ST
       WINTERS, CA 95694


3.7357 KO, EUN KYUNG & KEVIN                     VARIOUS                              Litigation              UNDETERMINED
       3607 THORNTON AVENUE
       FREMONT, CA 94536             ACCOUNT NO.: NOT AVAILABLE


3.7358 KO, OLIVER                                VARIOUS                              Litigation              UNDETERMINED
       1510 FASHION ISLAND BLVD.
       STE. 200                      ACCOUNT NO.: NOT AVAILABLE
       SAN MATEO, CA 94404


3.7359 KOBE BENTO, PETER LU                      VARIOUS                              Litigation              UNDETERMINED
       901 KEARNY STREET
       SAN FRANCISCO, CA 94133       ACCOUNT NO.: NOT AVAILABLE


3.7360 KOBLE, DENNIS                             VARIOUS                              Litigation              UNDETERMINED
       10955 NORTHVIEW DR.
       NEVADA CITY, CA 95959         ACCOUNT NO.: NOT AVAILABLE

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Litigation & Disputes

3.7361 KOCKLER, HAROLD E.                        VARIOUS                              Litigation              UNDETERMINED
       178 BENBOW AVENUE
       SAN JOSE, CA 95123            ACCOUNT NO.: NOT AVAILABLE


3.7362 KOEGEL, BRENT                             VARIOUS                              Litigation              UNDETERMINED
       14230 LEE LANE
       NEVADA CITY, CA 95959         ACCOUNT NO.: NOT AVAILABLE


3.7363 KOEHLER, DANIEL                           VARIOUS                              Litigation              UNDETERMINED
       HWY 70
       232 GRAPE ST.,                ACCOUNT NO.: NOT AVAILABLE
       ROSEVILLE, CA 95678


3.7364 KOEHLER, GARY & SANDY                     VARIOUS                              Litigation              UNDETERMINED
       2240 YOUD RD
       WINTON, CA 95388              ACCOUNT NO.: NOT AVAILABLE


3.7365 KOEPF, MICHAEL                            VARIOUS                              Litigation              UNDETERMINED
       28280 PHILO GREENWOOD RD
       ELK, CA 95432                 ACCOUNT NO.: NOT AVAILABLE


3.7366 KOH, GLENN                                VARIOUS                              Litigation              UNDETERMINED
       308 SAINT JAMES DR
       PIEDMONT, CA 94611            ACCOUNT NO.: NOT AVAILABLE


3.7367 KOHARA NURSERY INC                        VARIOUS                              Litigation              UNDETERMINED
       2378 ALISAL ROAD
       CA 93908                      ACCOUNT NO.: NOT AVAILABLE


3.7368 KOKES, JON                                VARIOUS                              Litigation              UNDETERMINED
       1111 RAILROAD AVE
       18                            ACCOUNT NO.: NOT AVAILABLE
       YUBA CITY, CA 95991


3.7369 KOLBEH KABOB, ALI LIAGHAT                 VARIOUS                              Litigation              UNDETERMINED
       8700 GREENBACK LANE
       ORANGEVALE, CA 95662          ACCOUNT NO.: NOT AVAILABLE


3.7370 KOLDA, MARIE                              VARIOUS                              Litigation              UNDETERMINED
       814 MULBERRY LANE
       SUNNYVALE, CA 94087           ACCOUNT NO.: NOT AVAILABLE


3.7371 KOLICH, CARL                              VARIOUS                              Litigation              UNDETERMINED
       928 RUSSELL AVE
       LOS ALTOS, CA 94024           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.7372 KOLKA, LAWRENCE                          VARIOUS                              Litigation              UNDETERMINED
       2011 ELLINGTON TERRI
       PLEASANT HILL, CA 94523      ACCOUNT NO.: NOT AVAILABLE


3.7373 KOLSKY, PAMELA                           VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 434
       5558 RIDGEWAY DR., POLLOCK   ACCOUNT NO.: NOT AVAILABLE
       PINES
       CAMINO, CA 95709


3.7374 KOMANECKI, CHRIS                         VARIOUS                              Litigation              UNDETERMINED
       24 MULLER PLACE
       SAN JOSE, CA 95126           ACCOUNT NO.: NOT AVAILABLE


3.7375 KONG, MING                               VARIOUS                              Litigation              UNDETERMINED
       273 SANTOS ST
       SAN FRANCISCO, CA 94134      ACCOUNT NO.: NOT AVAILABLE


3.7376 KONG, MONITA                             VARIOUS                              Litigation              UNDETERMINED
       1326 46TH AVE
       SAN FRANCISCO, CA 94122      ACCOUNT NO.: NOT AVAILABLE


3.7377 KONIK, ELISA                             VARIOUS                              Litigation              UNDETERMINED
       2433 BROWNING ST
       BERKELEY, CA                 ACCOUNT NO.: NOT AVAILABLE


3.7378 KONKIN, TAYLOR                           VARIOUS                              Litigation              UNDETERMINED
       4550 ANGELENA WAY
       CHICO, CA 95973              ACCOUNT NO.: NOT AVAILABLE


3.7379 KOOIMAN, CHRISTINA                       VARIOUS                              Litigation              UNDETERMINED
       3698 W. PERSIMMON LANE
       FRESNO, CA 93711             ACCOUNT NO.: NOT AVAILABLE


3.7380 KOOT, NORMAN                             VARIOUS                              Litigation              UNDETERMINED
       608 HENRY ST.
       VALLEJO, CA 94591            ACCOUNT NO.: NOT AVAILABLE


3.7381 KOPPY, STEPHEN                           VARIOUS                              Litigation              UNDETERMINED
       2120 JENNINGS AVE
       APT.610                      ACCOUNT NO.: NOT AVAILABLE
       SANTA ROSA, CA 95401


3.7382 KORFF, PHIL                              VARIOUS                              Litigation              UNDETERMINED
       110 E LUCHESSA BLDG 1A
       GILROY, CA 95020             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.7383 KORFIKE, SHANE                           VARIOUS                              Litigation              UNDETERMINED
       20380 GIST RD.
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.7384 KORNHAUSER, ROBERT                       VARIOUS                              Litigation              UNDETERMINED
       4452 W FM 515
       QUITMAN, CA 75783            ACCOUNT NO.: NOT AVAILABLE


3.7385 KOROS, STEVEN                            VARIOUS                              Litigation              UNDETERMINED
       141 BIRCH WAY
       SAN RAFAEL, CA 94903         ACCOUNT NO.: NOT AVAILABLE


3.7386 KORSAK, MICHAEL                          VARIOUS                              Litigation              UNDETERMINED
       1499 FALLEN LEAF DR
       LIVERMORE, CA 94551          ACCOUNT NO.: NOT AVAILABLE


3.7387 KORSTANJE, ROBERT                        VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 463
       CARMEL VALLEY, CA 93924      ACCOUNT NO.: NOT AVAILABLE


3.7388 KOSHER, LOUIS                            VARIOUS                              Litigation              UNDETERMINED
       13072 GREENHORN ROAD
       GRASS VALLEY, CA 95945       ACCOUNT NO.: NOT AVAILABLE


3.7389 KOSS, TIM                                VARIOUS                              Litigation              UNDETERMINED
       4429 CLIPPER DR.
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.7390 KOSSICK, MARY                            VARIOUS                              Litigation              UNDETERMINED
       29 MANDALAY PLACE
       S SAN FRANCISCO, CA 94080    ACCOUNT NO.: NOT AVAILABLE


3.7391 KOSTINBORDERS, KIM                       VARIOUS                              Litigation              UNDETERMINED
       985 CHELEBROOKE CT
       NAPA, CA 94559               ACCOUNT NO.: NOT AVAILABLE


3.7392 KOTAK, CHETAN                            VARIOUS                              Litigation              UNDETERMINED
       2842 TAYMOUTH WAY
       GILROY, CA 95020             ACCOUNT NO.: NOT AVAILABLE


3.7393 KOTERA, RANDI                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1232
       WILLOW CREEK, CA 95573       ACCOUNT NO.: NOT AVAILABLE


3.7394 KOTHARI, MUDER                           VARIOUS                              Litigation              UNDETERMINED
       19244 BOUNTIFUL ACRES
       SARATOGA, CA 95070           ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.7395 KOTKIEWICZ, ERICA                        VARIOUS                              Litigation              UNDETERMINED
       5325 BROPHY DR.
       FREMONT, CA 94536            ACCOUNT NO.: NOT AVAILABLE


3.7396 KOTOBUKI JAPANESE                        VARIOUS                              Litigation              UNDETERMINED
       RESTAURANT-TING, KEH CHYN
       6111 LA SALLE AVE            ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94611


3.7397 KOVAC, NICK                              VARIOUS                              Litigation              UNDETERMINED
       1189 BUCHON STREET
       SAN LUIS OBISPO, CA 93401    ACCOUNT NO.: NOT AVAILABLE


3.7398 KOVACIC, BRUNO                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 3157
       WALNUT CREEK, CA 94598       ACCOUNT NO.: NOT AVAILABLE


3.7399 KOVACICH, JONNA                          VARIOUS                              Litigation              UNDETERMINED
       269 MAHER ROAD
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.7400 KOVACS, TIMOTHY                          VARIOUS                              Litigation              UNDETERMINED
       2139 PILLSBURY RD.
       MANTECA, CA 95337            ACCOUNT NO.: NOT AVAILABLE


3.7401 KOVALENKO, ANDREY                        VARIOUS                              Litigation              UNDETERMINED
       171 ERICA WAY
       PORTOLA VALLEY, CA 94028     ACCOUNT NO.: NOT AVAILABLE


3.7402 KOWSHIK, VIKRAM                          VARIOUS                              Litigation              UNDETERMINED
       10467 ANSON AVENUE
       CUPERTINO, CA 95013          ACCOUNT NO.: NOT AVAILABLE


3.7403 KOZA, JOSH                               VARIOUS                              Litigation              UNDETERMINED
       20588 PRAIRIE LN
       REDDING, CA 96002            ACCOUNT NO.: NOT AVAILABLE


3.7404 KOZAK, JAMES                             VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1430
       LEBEC, CA 93243              ACCOUNT NO.: NOT AVAILABLE


3.7405 KOZUKI, TIM                              VARIOUS                              Litigation              UNDETERMINED
       2336 WOODLAND AVE.
       SAN JOSE, CA 95128           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.7406 KP GROUP, INC.-LESLIE,                   VARIOUS                              Litigation              UNDETERMINED
       ANDREA
       7673 BRAID CT.               ACCOUNT NO.: NOT AVAILABLE
       GILROY, CA 95020


3.7407 KQBM RADIO                               VARIOUS                              Litigation              UNDETERMINED
       P O BOX 574
       364 MAIN STREET              ACCOUNT NO.: NOT AVAILABLE
       WEST POINT, CA 95255


3.7408 KRAEMER, KATHY                           VARIOUS                              Litigation              UNDETERMINED
       27418 SALES CREEK RD
       CLOVIS, CA 93619             ACCOUNT NO.: NOT AVAILABLE


3.7409 KRAFT, MARYANNE                          VARIOUS                              Litigation              UNDETERMINED
       3151 HWY 128
       CALISTOGA, CA 94515          ACCOUNT NO.: NOT AVAILABLE


3.7410 KRAIL, MARK                              VARIOUS                              Litigation              UNDETERMINED
       7193 CAHEN DRIVE
       SAN JOSE, CA 95120           ACCOUNT NO.: NOT AVAILABLE


3.7411 KRAJNOVICH, GEORGE                       VARIOUS                              Litigation              UNDETERMINED
       2554 ARROWHEAD STREET
       COPPEROPOLIS, CA 95228       ACCOUNT NO.: NOT AVAILABLE


3.7412 KRAMERPUGH, WENDI                        VARIOUS                              Litigation              UNDETERMINED
       307 SIDESADDLE CRICLE
       SCOTTS VALLEY, CA 95066      ACCOUNT NO.: NOT AVAILABLE


3.7413 KRAMM, LISA                              VARIOUS                              Litigation              UNDETERMINED
       395 MILITARY EAST
       BENICIA, CA 94510            ACCOUNT NO.: NOT AVAILABLE


3.7414 KRANZ, DWAYNE                            VARIOUS                              Litigation              UNDETERMINED
       4492 SOLANO RD
       FAIRFIELD, CA 94533          ACCOUNT NO.: NOT AVAILABLE


3.7415 KRAUSE, LORI                             VARIOUS                              Litigation              UNDETERMINED
       3085 PAGE ST
       REDWOOD CITY, CA 94063       ACCOUNT NO.: NOT AVAILABLE


3.7416 KRAUSS, DENISE                           VARIOUS                              Litigation              UNDETERMINED
       4715 GANNS CORRAL RD
       MARIPOSA, CA 95338           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.7417 KRAUSS, GABE                             VARIOUS                              Litigation              UNDETERMINED
       17110 HIGHWAY 12
       #2                           ACCOUNT NO.: NOT AVAILABLE
       SONOMA, CA 95476


3.7418 KRAVCHUK, MAKS                           VARIOUS                              Litigation              UNDETERMINED
       3128 TIMBERLANE PL
       ANTELOPE, CA 95843           ACCOUNT NO.: NOT AVAILABLE


3.7419 KREIBOM, OLIVIA                          VARIOUS                              Litigation              UNDETERMINED
       5353 BROOKFIELD CIRCLE
       ROCKLIN, CA 95666            ACCOUNT NO.: NOT AVAILABLE


3.7420 KRELL, BRUCE E                           VARIOUS                              Litigation              UNDETERMINED
       1455 S WHITEHALL LANE
       ST. HELENA, CA 94574         ACCOUNT NO.: NOT AVAILABLE


3.7421 KREY, ADAM                               VARIOUS                              Litigation              UNDETERMINED
       524 STIRLING CT
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.7422 KRIEGER, BART                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 520
       HWY 41 & RD 204 - TESORO     ACCOUNT NO.: NOT AVAILABLE
       VIEJO DEVELOPMENT
       FOWLER, CA 93625


3.7423 KRIFUKS, GALINA                          VARIOUS                              Litigation              UNDETERMINED
       643 SYLVAN AVE
       DALY CITY, CA 94080          ACCOUNT NO.: NOT AVAILABLE


3.7424 KRISHNA MOUNTAIN VIEW INC-               VARIOUS                              Litigation              UNDETERMINED
       PATEL, DILIP
       390 MOFFETT BLVD             ACCOUNT NO.: NOT AVAILABLE
       MOUNTAIN VIEW, CA 94043


3.7425 KRISTENSEN, CARSTEN                      VARIOUS                              Litigation              UNDETERMINED
       9101 SODA SPRINGS RD
       SODA SPRINGS, CA 95728       ACCOUNT NO.: NOT AVAILABLE


3.7426 KRISTINA'S NATURAL MARKET-               VARIOUS                              Litigation              UNDETERMINED
       COTRUPI, CHRISTINA
       PO BOX 9102                  ACCOUNT NO.: NOT AVAILABLE
       WESTON, CA 02493


3.7427 KROEK, DON                               VARIOUS                              Litigation              UNDETERMINED
       9887 BARNETT VALLEY RD
       SEBASTOPOL, CA 95472         ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.7428 KROEKER, JOHN                            VARIOUS                              Litigation              UNDETERMINED
       20549 CANYONVIEW DR
       TUOLUMNE, CA 95379           ACCOUNT NO.: NOT AVAILABLE


3.7429 KROHN, JUDY                              VARIOUS                              Litigation              UNDETERMINED
       70 CLOUD VIEW RD
       SAUSALITO, CA 94965          ACCOUNT NO.: NOT AVAILABLE


3.7430 KROLICK, CAROLINE                        VARIOUS                              Litigation              UNDETERMINED
       155 CORRAL DE TIERRA ROAD
       SALINAS, CA 93908            ACCOUNT NO.: NOT AVAILABLE


3.7431 KRUSE, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       1306 JOHNSON AVE
       MARYSVILLE, CA 95901         ACCOUNT NO.: NOT AVAILABLE


3.7432 KRUSE, WINONA                            VARIOUS                              Litigation              UNDETERMINED
       2109 DARBY COURT
       WALNUT CREEK, CA 94596       ACCOUNT NO.: NOT AVAILABLE


3.7433 KRYSKI, CHARLES                          VARIOUS                              Litigation              UNDETERMINED
       4293 SCHWARTZ ROAD
       YUBA CITY, CA 95993          ACCOUNT NO.: NOT AVAILABLE


3.7434 KUBIAK, MATTHEW                          VARIOUS                              Litigation              UNDETERMINED
       60051 CASCADEL DRIVE SOUTH
       NORTH FORK, CA 93643         ACCOUNT NO.: NOT AVAILABLE


3.7435 KUBOTA, MALLORY                          VARIOUS                              Litigation              UNDETERMINED
       29228 STATE HWY 44
       SHINGLETOWN, CA 96088        ACCOUNT NO.: NOT AVAILABLE


3.7436 KUCHTA, RONALD                           VARIOUS                              Litigation              UNDETERMINED
       5566 ROYAL ARCHES
       MARIPOSA, CA 95338           ACCOUNT NO.: NOT AVAILABLE


3.7437 KUDDES, MIKE                             VARIOUS                              Litigation              UNDETERMINED
       28328 BURROUGHS NORTH RD
       TOLLHOUSE, CA 93667          ACCOUNT NO.: NOT AVAILABLE


3.7438 KUDUM, HARSHA                            VARIOUS                              Litigation              UNDETERMINED
       353 PURDUE CT
       FAIRFIELD, CA 94534          ACCOUNT NO.: NOT AVAILABLE


3.7439 KUECHLER, ALICE                          VARIOUS                              Litigation              UNDETERMINED
       101 BRITTON AVENUE
       ATHERTON, CA 94027           ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.7440 KUEHL, FRANCIS                            VARIOUS                              Litigation              UNDETERMINED
       8744 WOODLAND HEIGHTS LN
       PRUNEDALE, CA 93907           ACCOUNT NO.: NOT AVAILABLE


3.7441 KUHL, BARRY                               VARIOUS                              Litigation              UNDETERMINED
       115 CREST ROAD
       WOODSIDE, CA 94062            ACCOUNT NO.: NOT AVAILABLE


3.7442 KUHN, DONNA                               VARIOUS                              Litigation              UNDETERMINED
       2775 PROSSER ROAD
       SEBASTOPOL, CA 95472          ACCOUNT NO.: NOT AVAILABLE


3.7443 KUHN, WENDY                               VARIOUS                              Litigation              UNDETERMINED
       3845 KAPAKA LANE
       WHEATLAND, CA 95692           ACCOUNT NO.: NOT AVAILABLE


3.7444 KUJAWSKI, ANTHONY                         VARIOUS                              Litigation              UNDETERMINED
       97 CASTRO ST
       207                           ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.7445 KUK, GRISELDA                             VARIOUS                              Litigation              UNDETERMINED
       2529 COLONIAL CIR.
       ROYAL OAKS, CA 95076          ACCOUNT NO.: NOT AVAILABLE


3.7446 KUKER, DONNA                              VARIOUS                              Litigation              UNDETERMINED
       317 29TH STREET NO 207
       SAN FRANCISCO, CA 94131       ACCOUNT NO.: NOT AVAILABLE


3.7447 KUKREJA, RAJESH                           VARIOUS                              Litigation              UNDETERMINED
       35 E KING AVE
       FREMONT, CA 94536             ACCOUNT NO.: NOT AVAILABLE


3.7448 KULHARI, AJAY                             VARIOUS                              Litigation              UNDETERMINED
       5591 RIDGEWOOD DRIVE
       FREMONT, CA 94555             ACCOUNT NO.: NOT AVAILABLE


3.7449 KULLAR, SUKHJIT                           VARIOUS                              Litigation              UNDETERMINED
       8 WILLIAMS DRIVE
       MORAGA, CA 94556              ACCOUNT NO.: NOT AVAILABLE


3.7450 KULLMAN, JERRY                            VARIOUS                              Litigation              UNDETERMINED
       1654 ALISON AVE
       SANTA MARIA, CA 93458         ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.7451 KULUVA ARMIJO & GARCIAN                  VARIOUS                              Litigation              UNDETERMINED
       ATTORNEYS AT LAW, RANCH
       OIL COMPANY                  ACCOUNT NO.: NOT AVAILABLE
       555 SOUTH FLOWER STREER
       STE. 600
       SW OF OILFIELD AND JAMES
       ROAD
       BAKERSFIELD, CA 93308


3.7452 KUMAGAI, LORENE                          VARIOUS                              Litigation              UNDETERMINED
       301 MOSCOW ST
       SAN FRANCISCO, CA 94112      ACCOUNT NO.: NOT AVAILABLE


3.7453 KUMAR, AKILA                             VARIOUS                              Litigation              UNDETERMINED
       539 SALLY GARDEN COURT
       SAN JOSE, CA 95136           ACCOUNT NO.: NOT AVAILABLE


3.7454 KUMAR, ASHOK                             VARIOUS                              Litigation              UNDETERMINED
       5630 W DECATUR AVE
       FRESNO, CA 93722             ACCOUNT NO.: NOT AVAILABLE


3.7455 KUMAR, BALJEET                           VARIOUS                              Litigation              UNDETERMINED
       4773 VERSAILLES PK CT
       FREMONT, CA 94538            ACCOUNT NO.: NOT AVAILABLE


3.7456 KUMAR, ROSELENE                          VARIOUS                              Litigation              UNDETERMINED
       2601 EVERGREEN DRIVE
       SAN BRUNO, CA 94066          ACCOUNT NO.: NOT AVAILABLE


3.7457 KUNDICH, BERNARD                         VARIOUS                              Litigation              UNDETERMINED
       1776 LAURENTIAN AY
       SUNNYVALE, CA 94087          ACCOUNT NO.: NOT AVAILABLE


3.7458 KUNER, WILLIAM & GLORIA                  VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 115
       SOMERSET, CA 95684           ACCOUNT NO.: NOT AVAILABLE


3.7459 KUNG, FIU                                VARIOUS                              Litigation              UNDETERMINED
       915 SILLIMAN ST
       SAN FRANCISCO, CA 94134      ACCOUNT NO.: NOT AVAILABLE


3.7460 KUNG, RICHARD                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 210308
       SAN FRANCISCO, CA 94121      ACCOUNT NO.: NOT AVAILABLE


3.7461 KUNZ, MICHAEL                            VARIOUS                              Litigation              UNDETERMINED
       1180 LERWICK CT
       SUNNYVALE, CA 94087          ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.7462 KUNZMAN, CONDE                           VARIOUS                              Litigation              UNDETERMINED
       21855 LONE TREE ROAD
       ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.7463 KUO, SHARON                              VARIOUS                              Litigation              UNDETERMINED
       1 MANDALAY PLACE UNIT 1806
       SOUTH SAN FRANCISCO, CA      ACCOUNT NO.: NOT AVAILABLE
       94080


3.7464 KUO, YA HUI                              VARIOUS                              Litigation              UNDETERMINED
       3051 MATTOS AVE
       SAN JOSE, CA 95132           ACCOUNT NO.: NOT AVAILABLE


3.7465 KUPFER JEWERLY-KUPFER,                   VARIOUS                              Litigation              UNDETERMINED
       MARGARITA
       1211 BURLINGAME AVENUE       ACCOUNT NO.: NOT AVAILABLE
       BURLINGAME, CA 94010


3.7466 KURSA, KORINA                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 553
       CLEARLAKE OAKS, CA 95423     ACCOUNT NO.: NOT AVAILABLE


3.7467 KURY, SANDRA                             VARIOUS                              Litigation              UNDETERMINED
       PO BPX 13232
       811 METCALF ROAD             ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95138


3.7468 KUSANOVICH, NICK                         VARIOUS                              Litigation              UNDETERMINED
       795 FARM HILL CT
       WALNUT CREEK, CA 94598       ACCOUNT NO.: NOT AVAILABLE


3.7469 KUTCHERA, MICHAEL                        VARIOUS                              Litigation              UNDETERMINED
       4501 BRIONES VALLEY ROAD
       BRENTWOOD, CA 94513          ACCOUNT NO.: NOT AVAILABLE


3.7470 KUTSENKO, EUGENIA                        VARIOUS                              Litigation              UNDETERMINED
       19425 MONTEVINA ROAD
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.7471 KUTTIN UP SALON-LAWSON,                  VARIOUS                              Litigation              UNDETERMINED
       RACHELLE
       2094 LINCOLN AVE             ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95125


3.7472 KVL HOLDING INC, HAHN                    VARIOUS                              Litigation              UNDETERMINED
       ESTATE-HEADLEY, PATRICK
       1500 THIRD STREET            ACCOUNT NO.: NOT AVAILABLE
       STE A
       NAPA, CA 94559

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Litigation & Disputes

3.7473 KWAAK, MIKE                              VARIOUS                              Litigation              UNDETERMINED
       PARK ST
       PASO ROBLES, CA 93446        ACCOUNT NO.: NOT AVAILABLE


3.7474 KWAN, TOMMY                              VARIOUS                              Litigation              UNDETERMINED
       1626 ALBEMARLE WAY
       BURLINGAME, CA 94010         ACCOUNT NO.: NOT AVAILABLE


3.7475 KWEI FU TSUI-TSUI, DENNIS                VARIOUS                              Litigation              UNDETERMINED
       233 7TH ST
       OAKLAND, CA 94607            ACCOUNT NO.: NOT AVAILABLE


3.7476 KWID, THOMAS                             VARIOUS                              Litigation              UNDETERMINED
       1400 6TH STREET
       CA 93402                     ACCOUNT NO.: NOT AVAILABLE


3.7477 KWOK, KA                                 VARIOUS                              Litigation              UNDETERMINED
       14 HOLLOWAY AVE
       SAN FRANCISCO, CA 94112      ACCOUNT NO.: NOT AVAILABLE


3.7478 KWONG, HANSON                            VARIOUS                              Litigation              UNDETERMINED
       409 MYRA WAY
       SAN FRANCISCO, CA 94127      ACCOUNT NO.: NOT AVAILABLE


3.7479 KWONG, SHIRLEY                           VARIOUS                              Litigation              UNDETERMINED
       358 MADISON STREET
       SAN FRANCISCO, CA 94134      ACCOUNT NO.: NOT AVAILABLE


3.7480 KW-PONCETTA, SCOTT                       VARIOUS                              Litigation              UNDETERMINED
       190 MIRACLE LANE
       SANTA CRUZ, CA 95060         ACCOUNT NO.: NOT AVAILABLE


3.7481 KYAW, THET                               VARIOUS                              Litigation              UNDETERMINED
       35284 LUCIA STREET
       FREMONT, CA 94536            ACCOUNT NO.: NOT AVAILABLE


3.7482 KYLE O'BRIEN                             VARIOUS                              Litigation              UNDETERMINED
       MARY ALEXANDER, BRENDAN
       WAY, CATALINA MUNOZ          ACCOUNT NO.: NOT AVAILABLE
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.7483 KYLE O'BRIEN                             VARIOUS                              Litigation              UNDETERMINED
       BOBBY THOMPSON
       734 AIRPORT BLVD             ACCOUNT NO.: NOT AVAILABLE
       SUITE 194
       BURLINGAME, CA 94010


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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.7484 KYLER, AARON                              VARIOUS                              Litigation              UNDETERMINED
       20425 SPRING GARDEN RD
       FORESTHILL, CA 95631          ACCOUNT NO.: NOT AVAILABLE


3.7485 KYONG, KIM                                VARIOUS                              Litigation              UNDETERMINED
       32428 ALMADEN BLVD #91
       FREMONT, CA 94587             ACCOUNT NO.: NOT AVAILABLE


3.7486 L & J FARMS-FLORES, KEK                   VARIOUS                              Litigation              UNDETERMINED
       PO BOX DRAWER H
       GONZALES, CA 93926            ACCOUNT NO.: NOT AVAILABLE


3.7487 L & L SANTA CRUZ LLC-LANE                 VARIOUS                              Litigation              UNDETERMINED
       BESS, LANE BESS
       725 MOCKINGBIRD RIDGE RD      ACCOUNT NO.: NOT AVAILABLE
       WATSONVILLE, CA 95076


3.7488 L&G FARMING, INC.                         VARIOUS                              Litigation              UNDETERMINED
       1141 TAMA LANE
       SANTA MARIA, CA 93455         ACCOUNT NO.: NOT AVAILABLE


3.7489 LA CABANA DE SUISUN INC,                  VARIOUS                              Litigation              UNDETERMINED
       RAMSES SOLIS
       325 MAIN STREET               ACCOUNT NO.: NOT AVAILABLE
       SUISUN CITY, CA 94585


3.7490 LA COCINA MEXICANA-                       VARIOUS                              Litigation              UNDETERMINED
       SALCEDO, MARCO
       2065 GALLEON DR               ACCOUNT NO.: NOT AVAILABLE
       DIXON, CA 95620


3.7491 LA COSTENA MARKET, LLC-                   VARIOUS                              Litigation              UNDETERMINED
       ALAWDI, NAWAF
       1170 23RD STREET              ACCOUNT NO.: NOT AVAILABLE
       RICHMOND, CA 94804


3.7492 LA COSTENA MARKET, LLC-                   VARIOUS                              Litigation              UNDETERMINED
       ALAWDI, NAWAF M.
       1170 23RD. STREET             ACCOUNT NO.: NOT AVAILABLE
       RICHMOND, CA 94804


3.7493 LA COSTENA MARKET, LLC-                   VARIOUS                              Litigation              UNDETERMINED
       ALAWDI, NAWAF M.
       1170 23RD STREET              ACCOUNT NO.: NOT AVAILABLE
       RICHMOND, CA 94804


3.7494 LA DELLE, SHIRLEY                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 441
       HOPLAND, CA 95449             ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.7495 LA FAVORITA 2 INC, SUPER                 VARIOUS                              Litigation              UNDETERMINED
       1950 N TEXAS STREET
       ATTN. ROGELIO JIMENEZ PEREZ    ACCOUNT NO.: NOT AVAILABLE
       FAIRFIELD, CA 94533


3.7496 LA FINCA SOLY MAR                        VARIOUS                              Litigation              UNDETERMINED
       RESAURANT, BEATRICE VALDEZ
       1036 S CENTER                  ACCOUNT NO.: NOT AVAILABLE
       STOCKTON, CA 95206


3.7497 LA HUE, PAULA                            VARIOUS                              Litigation              UNDETERMINED
       229 VIA TRINITA
       APTOS, CA 95003                ACCOUNT NO.: NOT AVAILABLE


3.7498 LA LONDE, JOHN                           VARIOUS                              Litigation              UNDETERMINED
       40 BEACH STREET
       PACIFIC GROVE, CA 93950        ACCOUNT NO.: NOT AVAILABLE


3.7499 LA MESA VINEYARDS LLC-                   VARIOUS                              Litigation              UNDETERMINED
       LAGUE, COME
       722 STEINER ST                 ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94117


3.7500 LA MEXICANA RESTURANT,                   VARIOUS                              Litigation              UNDETERMINED
       VICTOR FERNANDEZ
       7495 EL CAMINO REAL            ACCOUNT NO.: NOT AVAILABLE
       ATASCADERO, CA 93422


3.7501 LA MICHE BAKERY, SALVADOR                VARIOUS                              Litigation              UNDETERMINED
       LOPEZ
       1107 WEST EL CAMINO REAL       ACCOUNT NO.: NOT AVAILABLE
       SUNNYVALE, CA 94087


3.7502 LA MILPA LLC DBA CALA                    VARIOUS                              Litigation              UNDETERMINED
       RESTAURANT, EMMA
       ROSENBUSH                      ACCOUNT NO.: NOT AVAILABLE
       149 FELL STREET
       SAN FRANCISCO, CA 94122


3.7503 LA ROSA, AMBER                           VARIOUS                              Litigation              UNDETERMINED
       4875 E MCKINLEY AVENUE, UNIT
       #105                           ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93703


3.7504 LA TAPATIA, RUIZ, GILDARDO &             VARIOUS                              Litigation              UNDETERMINED
       DOLORES
       2329 SAN MIGUEL CANYON         ACCOUNT NO.: NOT AVAILABLE
       ROAD
       PRUNEDALE, CA 93907


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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.7505 LA TERRA FINA-JOINER, DAVID              VARIOUS                              Litigation              UNDETERMINED
       1300 ATLANTIC STREET
       UNION CITY, CA 94587          ACCOUNT NO.: NOT AVAILABLE


3.7506 LA TORTILLA FACTORY INC                  VARIOUS                              Litigation              UNDETERMINED
       3300 WESTWIND BLVD
       SANTA RISA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.7507 LA VAL'S PIZZA ALBANY-                   VARIOUS                              Litigation              UNDETERMINED
       BHULLAR, SATNAM
       751 SAN PABLO AVE             ACCOUNT NO.: NOT AVAILABLE
       ALBANY, CA 94706


3.7508 LA VELLE, EDWARD                         VARIOUS                              Litigation              UNDETERMINED
       14225 BIG CANYON ROAD
       MIDDLETOWN, CA 95461          ACCOUNT NO.: NOT AVAILABLE


3.7509 LA, ANH                                  VARIOUS                              Litigation              UNDETERMINED
       716 WESTBROOK CT
       DANVILLE, CA 94506            ACCOUNT NO.: NOT AVAILABLE


3.7510 LABARBERA, DANIEL                        VARIOUS                              Litigation              UNDETERMINED
       9750 COW CREEK DR
       PALO CEDRO, CA 96073          ACCOUNT NO.: NOT AVAILABLE


3.7511 LABER, KINDRA                            VARIOUS                              Litigation              UNDETERMINED
       STOCKTON, CA
                                     ACCOUNT NO.: NOT AVAILABLE


3.7512 LABORATORIES, ANRESCO                    VARIOUS                              Litigation              UNDETERMINED
       1375 VAN DYKE AVE
       SAN FRANCISCO, CA 94124       ACCOUNT NO.: NOT AVAILABLE


3.7513 LABORATORIES, INC, ABBOTT                VARIOUS                              Litigation              UNDETERMINED
       2302 COURAGE DR
       ATTN. PANKAJ HANDE            ACCOUNT NO.: NOT AVAILABLE
       FAIRFIELD, CA 94533


3.7514 LABORERS LOCAL 270-                      VARIOUS                              Litigation              UNDETERMINED
       COTRUPI, CHRISTINA
       9 RIVERSIDE ROAD              ACCOUNT NO.: NOT AVAILABLE
       WESTON, CA 02493


3.7515 LACK, DENNIS                             VARIOUS                              Litigation              UNDETERMINED
       2327 CALLOWAY
       BAKERSFIELD, CA 93312         ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.7516 LACK, ROBERT & BEVERLY                   VARIOUS                              Litigation              UNDETERMINED
       23635 CONE GROVE RD
       RED BLUFF, CA 96080          ACCOUNT NO.: NOT AVAILABLE


3.7517 LADVA LAW, JOSE ROJAS &                  VARIOUS                              Litigation              UNDETERMINED
       ATTORNEY
       530 JACKSON STREET, 2ND      ACCOUNT NO.: NOT AVAILABLE
       FLOOR
       SAN FRANCISCO, CA 94133


3.7518 LAEMMLEN, NATHAN                         VARIOUS                              Litigation              UNDETERMINED
       5050 AVENUE 408
       REEDLEY, CA 93654            ACCOUNT NO.: NOT AVAILABLE


3.7519 LAETZ, DAVID                             VARIOUS                              Litigation              UNDETERMINED
       25085 BARONET ROAD
       SALINAS, CA 93908            ACCOUNT NO.: NOT AVAILABLE


3.7520 LAFAYETTE PEDIATRICS-                    VARIOUS                              Litigation              UNDETERMINED
       STEELMAN, MARIA
       3249 MOUNT DIABLO COURT      ACCOUNT NO.: NOT AVAILABLE
       SUITE 105
       LAFAYETTE, CA 94549


3.7521 LAFAYETTE, RICHARD                       VARIOUS                              Litigation              UNDETERMINED
       412 CLEARWOOD DR.
       OAKLEY, CA 94561             ACCOUNT NO.: NOT AVAILABLE


3.7522 LAFLEUR, TIM                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 2791
       KINGS BEACH, CA 96143        ACCOUNT NO.: NOT AVAILABLE


3.7523 LAFONTAINE, HEATHER                      VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1019
       BOULDER CREEK, CA 95006      ACCOUNT NO.: NOT AVAILABLE


3.7524 LAFONTAINE, TRACY                        VARIOUS                              Litigation              UNDETERMINED
       2845 BURTON DRIVE
       OAKLAND, CA 94611            ACCOUNT NO.: NOT AVAILABLE


3.7525 LAFOUNTAIN, ROCKLAND                     VARIOUS                              Litigation              UNDETERMINED
       11728 BRINDA LN
       REDDING, CA 96003            ACCOUNT NO.: NOT AVAILABLE


3.7526 LAGA INCORP.-DESANTIAGO,                 VARIOUS                              Litigation              UNDETERMINED
       MANUEL
       3815 LA MIRANDA PL           ACCOUNT NO.: NOT AVAILABLE
       PITTSBURG, CA 94565


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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.7527 LAGISS, JAMES                            VARIOUS                              Litigation              UNDETERMINED
       25140 PINE HILLS DR.
       CARMEL, CA 93923             ACCOUNT NO.: NOT AVAILABLE


3.7528 LAGMAY, HAROLD & MARGIE                  VARIOUS                              Litigation              UNDETERMINED
       1044 MONTE VISTA AVE
       LOS BANOS, CA 93635          ACCOUNT NO.: NOT AVAILABLE


3.7529 LAGO, LEE                                VARIOUS                              Litigation              UNDETERMINED
       1701 5TH STREET
       ALAMEDA, CA 94501            ACCOUNT NO.: NOT AVAILABLE


3.7530 LAGUNAS, MARCIAL                         VARIOUS                              Litigation              UNDETERMINED
       2537 KENTUCKY ST
       BAKERSFIELD, CA 93306        ACCOUNT NO.: NOT AVAILABLE


3.7531 LAIDIG, JONATHAN                         VARIOUS                              Litigation              UNDETERMINED
       1195 SIMMONS LN
       NOVATO, CA 94945             ACCOUNT NO.: NOT AVAILABLE


3.7532 LAIDLAW, GINA                            VARIOUS                              Litigation              UNDETERMINED
       495 LINDEN WAY
       PLEASANTON, CA 94566         ACCOUNT NO.: NOT AVAILABLE


3.7533 LAIRD, LEA                               VARIOUS                              Litigation              UNDETERMINED
       383 APPLEGATE WAY
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.7534 LAITERMAN, LEE                           VARIOUS                              Litigation              UNDETERMINED
       18459 LAS CUMBRES RD.
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.7535 LAK CHAN, KATHENNO                       VARIOUS                              Litigation              UNDETERMINED
       138 E. THIRD AVE
       SAN MATEO, CA 94401          ACCOUNT NO.: NOT AVAILABLE


3.7536 LAKAMP, CHARLES                          VARIOUS                              Litigation              UNDETERMINED
       536 JUDAH STREET
       SAN FRANCISCO, CA 94122      ACCOUNT NO.: NOT AVAILABLE


3.7537 LAKE COUNTY DA OFFICE                    VARIOUS                              Litigation              UNDETERMINED
       CA
                                    ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.7538 LAKE COUNTY FIRE                         VARIOUS                              Litigation              UNDETERMINED
       PROTECTION
       14815 OLYMPIC DRIVE           ACCOUNT NO.: NOT AVAILABLE
       CLEARLAKE, CA 95422


3.7539 LAKE COUNTY PARTNERS                     VARIOUS                              Litigation              UNDETERMINED
       CA
                                     ACCOUNT NO.: NOT AVAILABLE


3.7540 LAKE COUNTY SUBWAY, LLC-                 VARIOUS                              Litigation              UNDETERMINED
       PATEL, CHIRAYU
       4302 REDWOOD HWY              ACCOUNT NO.: NOT AVAILABLE
       STE200
       SAN RAFAEL, CA 94903


3.7541 LAKE FRONT-GAMMILL, DONNA                VARIOUS                              Litigation              UNDETERMINED
       5545 OLD HWY 53
       6N                            ACCOUNT NO.: NOT AVAILABLE
       CLEARLAKE, CA 95422


3.7542 LAKEWOOD SHELL-NIJJAR,                   VARIOUS                              Litigation              UNDETERMINED
       SUKHJINDERPAL
       1101 N LAWRENCE EXPY          ACCOUNT NO.: NOT AVAILABLE
       SUNNYVALE, CA 94089


3.7543 LAKEWOOD SHELL-NIJJAR,                   VARIOUS                              Litigation              UNDETERMINED
       SUKHJINDERPAL
       1101 N LAWRENCE EXPY          ACCOUNT NO.: NOT AVAILABLE
       SUNNYVALE, CA 94089


3.7544 LAKRITZ, HERBERT & JOYCE                 VARIOUS                              Litigation              UNDETERMINED
       15 WOODVIEW LANE
       NOVATO, CA 94945              ACCOUNT NO.: NOT AVAILABLE


3.7545 LALLA GRILL-OTTONE, PATRICK              VARIOUS                              Litigation              UNDETERMINED
       474 ALVARADO STREET
       MONTEREY, CA 93940            ACCOUNT NO.: NOT AVAILABLE


3.7546 LALLA OCEANSIDE GRILL-                   VARIOUS                              Litigation              UNDETERMINED
       OTTONE, PATRICK
       474 ALVARADO STREET           ACCOUNT NO.: NOT AVAILABLE
       MONTEREY, CA 93940


3.7547 LALLEY, JEANETTE                         VARIOUS                              Litigation              UNDETERMINED
       10370 BRIGGS ROAD
       RED BLUFF, CA 96080-9203      ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.7548 LALLEY, LEONARD                          VARIOUS                              Litigation              UNDETERMINED
        16980 BENSON RD
       COTTONWOOD, CA 96022         ACCOUNT NO.: NOT AVAILABLE


3.7549 LALLY, DON                               VARIOUS                              Litigation              UNDETERMINED
       10 PENNY LANE
       FAIRFAX, CA 94930            ACCOUNT NO.: NOT AVAILABLE


3.7550 LALYE, CHETAN                            VARIOUS                              Litigation              UNDETERMINED
       422 TIMOR TERRACE
       SUNNYVALE, CA 94089          ACCOUNT NO.: NOT AVAILABLE


3.7551 LAM, ALBERT                              VARIOUS                              Litigation              UNDETERMINED
       19699 ROAD 24
       MADERA, CA 93638             ACCOUNT NO.: NOT AVAILABLE


3.7552 LAM, ELLIE                               VARIOUS                              Litigation              UNDETERMINED
       13260 COLUMBET AVE
       SAN MARTIN, CA 95046         ACCOUNT NO.: NOT AVAILABLE


3.7553 LAM, FONG                                VARIOUS                              Litigation              UNDETERMINED
       460 AVALON DR
       SOUTH SAN FRANCISCO, CA      ACCOUNT NO.: NOT AVAILABLE
       94080


3.7554 LAM, GEORGE                              VARIOUS                              Litigation              UNDETERMINED
       3 PARADISE COURT
       HILLSBOROUGH, CA 94010       ACCOUNT NO.: NOT AVAILABLE


3.7555 LAM, JASON                               VARIOUS                              Litigation              UNDETERMINED
       6429 HAGEN BLVD.
       EL CERRITO, CA 94530         ACCOUNT NO.: NOT AVAILABLE


3.7556 LAM, MIKE                                VARIOUS                              Litigation              UNDETERMINED
       2230 N MACARTHUR DR
       TRACY, CA 95376              ACCOUNT NO.: NOT AVAILABLE


3.7557 LAM, RICHARD                             VARIOUS                              Litigation              UNDETERMINED
       4919 MONACO DRIVE
       PLEASANTON, CA 94566         ACCOUNT NO.: NOT AVAILABLE


3.7558 LAMBERT, FLORENCE                        VARIOUS                              Litigation              UNDETERMINED
       1273 PASEO VERDE DRIVE
       MERCED, CA 95348             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.7559 LAMBERT, MICHELLE                         VARIOUS                              Litigation              UNDETERMINED
       16601 COMANCHE TRAIL
       CLEARLAKE OAKS, CA 95423      ACCOUNT NO.: NOT AVAILABLE


3.7560 LAMBERT, SUSAN                            VARIOUS                              Litigation              UNDETERMINED
       17300 DEBBIE RD
       LOS GATOS, CA 95033           ACCOUNT NO.: NOT AVAILABLE


3.7561 LAMBERTSON, ESTHER                        VARIOUS                              Litigation              UNDETERMINED
       230 DOVE CT LOT 23
       ARROYO GRANDE, CA 93420       ACCOUNT NO.: NOT AVAILABLE


3.7562 LAMBERTSON, ESTHER                        VARIOUS                              Litigation              UNDETERMINED
       230 DOVE CT LOT 23
       ARROYO GRANDE, CA 93420       ACCOUNT NO.: NOT AVAILABLE


3.7563 LAMERAY, PETER                            VARIOUS                              Litigation              UNDETERMINED
       255 FAIRVIEW LANE
       PASO ROBLES, CA 93446         ACCOUNT NO.: NOT AVAILABLE


3.7564 LAMOREAUX, MARK                           VARIOUS                              Litigation              UNDETERMINED
       205 MESA VERDE DR
       WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.7565 LAMORINDA PIZZA-MCGRATH,                  VARIOUS                              Litigation              UNDETERMINED
       JOHN
       382 PARK STREET               ACCOUNT NO.: NOT AVAILABLE
       MORAGA, CA 94556


3.7566 LAMOUR, KRISTIE                           VARIOUS                              Litigation              UNDETERMINED
       217 PRINCETON AVE
       MILL VALLEY, CA 94941         ACCOUNT NO.: NOT AVAILABLE


3.7567 LAMOUR, KRISTIE                           VARIOUS                              Litigation              UNDETERMINED
       217 PRINCETON AVE
       MILL VALLEY, CA 94941         ACCOUNT NO.: NOT AVAILABLE


3.7568 LAMOUR, KRISTIE                           VARIOUS                              Litigation              UNDETERMINED
       217 PRINCETON AVE
       MILL VALLEY, CA 94941         ACCOUNT NO.: NOT AVAILABLE


3.7569 LAMOUR, KRISTIE                           VARIOUS                              Litigation              UNDETERMINED
       217 PRINCETON AVE
       MILL VALLEY, CA 94941         ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.7570 LAMOUR, KRISTIE                           VARIOUS                              Litigation              UNDETERMINED
       217 PRINCETON AVE
       MILL VALLEY, CA 94941         ACCOUNT NO.: NOT AVAILABLE


3.7571 LAMPE, PATRICIA                           VARIOUS                              Litigation              UNDETERMINED
       4520 ST ANDREWS CT
       FAIRFIELD, CA 94534           ACCOUNT NO.: NOT AVAILABLE


3.7572 LAMPS, CURTIS                             VARIOUS                              Litigation              UNDETERMINED
       423 FUCUSIA LANE
       339 WILLITS STREET            ACCOUNT NO.: NOT AVAILABLE
       DALY CITY, CA 94014


3.7573 LANAHAN, SUZANNE                          VARIOUS                              Litigation              UNDETERMINED
       2360 MENDOCINO AVE
       STE A2350                     ACCOUNT NO.: NOT AVAILABLE
       SANTA ROSA, CA 95403


3.7574 LANCASTER, AMANDA                         VARIOUS                              Litigation              UNDETERMINED
       22217 PARROTTS FERRY ROAD
       SONORA, CA 95370              ACCOUNT NO.: NOT AVAILABLE


3.7575 LAND MANAGEMENT, INC.-                    VARIOUS                              Litigation              UNDETERMINED
       BROWN, JACKIE
       33909 S. BIRD ROAD            ACCOUNT NO.: NOT AVAILABLE
       TRACY, CA 95304


3.7576 LAND, ANDREW                              VARIOUS                              Litigation              UNDETERMINED
       4178 DELBERT AVE
       FRESNO, CA 93722              ACCOUNT NO.: NOT AVAILABLE


3.7577 LAND, TARA                                VARIOUS                              Litigation              UNDETERMINED
       135 FUMASI DR
       GALT, CA 95632                ACCOUNT NO.: NOT AVAILABLE


3.7578 LANDERS, SCOTT                            VARIOUS                              Litigation              UNDETERMINED
       660 VERDE PL
       ARROYO GRANDE, CA 93420       ACCOUNT NO.: NOT AVAILABLE


3.7579 LANDES, FRANCINE                          VARIOUS                              Litigation              UNDETERMINED
       1 HARBOR POINT DR.
       MILL VALLEY, CA 94941         ACCOUNT NO.: NOT AVAILABLE


3.7580 LANDI, BRIAN                              VARIOUS                              Litigation              UNDETERMINED
       6635 CRYSTAL SPRINGS DRIVE
       SAN JOSE, CA 95120            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.7581 LANDLORD FOR SHARON                       VARIOUS                              Litigation              UNDETERMINED
       FREEMAN-GAJEWSKI, MIKE
       PO BOX 9                      ACCOUNT NO.: NOT AVAILABLE
       MOSS LANDING, CA 95039


3.7582 LANDMARK DENTAL DOWTOWN-                  VARIOUS                              Litigation              UNDETERMINED
       POSTGATE, JOHN
       2200 CHESTER AVE              ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93301


3.7583 LANDMARK EQUITIES-LAM,                    VARIOUS                              Litigation              UNDETERMINED
       LAWRENCE
       610 MANZANITA WAY             ACCOUNT NO.: NOT AVAILABLE
       WOODSIDE, CA 94062


3.7584 LANDO, SAM & JENNIFER                     VARIOUS                              Litigation              UNDETERMINED
       8508 TRIONE CIRCLE
       WINDSOR, CA 95492             ACCOUNT NO.: NOT AVAILABLE


3.7585 LANDON INVESTMENT CO, INC                 VARIOUS                              Litigation              UNDETERMINED
       DBA DENNYS, STORE 6216
       2415 E ASHLAN                 ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93726


3.7586 LANDRY, ANITA                             VARIOUS                              Litigation              UNDETERMINED
       2484 BATON ROUGE DR
       SAN JOSE, CA 95133            ACCOUNT NO.: NOT AVAILABLE


3.7587 LANDY, JENNA                              VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1033
       4823 MARKIEE ROAD             ACCOUNT NO.: NOT AVAILABLE
       MARIPOSA, CA 95338


3.7588 LANE SPLITTER HARLEY                      VARIOUS                              Litigation              UNDETERMINED
       DAVIDSON-RENTERIA, LYNETTE
       1551 PARKMOOR AVE             ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95128


3.7589 LANE, CURTIS                              VARIOUS                              Litigation              UNDETERMINED
       910 UNIVERSITY CT
       MERCED, CA 95348              ACCOUNT NO.: NOT AVAILABLE


3.7590 LANE, DORSEY                              VARIOUS                              Litigation              UNDETERMINED
       PO BOX 3090
       EUREKA, CA 95502              ACCOUNT NO.: NOT AVAILABLE


3.7591 LANE, KRISTINE                            VARIOUS                              Litigation              UNDETERMINED
       516 MAIN ST
       NEVADA CITY, CA 95959         ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.7592 LANE, NICHOLAS                           VARIOUS                              Litigation              UNDETERMINED
       7100 LAKEWOOD DRIVE
       POLLOCK PINES, CA 95726      ACCOUNT NO.: NOT AVAILABLE


3.7593 LANE, RICHARD                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1392
       HEALDSBURG, CA 95448         ACCOUNT NO.: NOT AVAILABLE


3.7594 LANE, ROBERT                             VARIOUS                              Litigation              UNDETERMINED
       402 DONALDSON
       PACIFICA, CA 94044           ACCOUNT NO.: NOT AVAILABLE


3.7595 LANE, ROBERT                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1204
       24500 HWY 88                 ACCOUNT NO.: NOT AVAILABLE
       PIONEER, CA 95666


3.7596 LANEY, MARTIN                            VARIOUS                              Litigation              UNDETERMINED
       163 SIERRA PLACE
       SONOMA, CA 95476             ACCOUNT NO.: NOT AVAILABLE


3.7597 LANGE, CHERYL                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 465
       3505 GATEWAY RD SPACE 24M    ACCOUNT NO.: NOT AVAILABLE
       BETHEL ISLAND, CA 94511


3.7598 LANGFORD, JESSICA                        VARIOUS                              Litigation              UNDETERMINED
       2820 BLAIR ROAD
       POLLOCK PINES, CA 95726      ACCOUNT NO.: NOT AVAILABLE


3.7599 LANGHAUSER, CAROL                        VARIOUS                              Litigation              UNDETERMINED
       946 CONTRA COSTA DR
       EL CERRITO, CA 94530         ACCOUNT NO.: NOT AVAILABLE


3.7600 LANGLEY ENTERPRISES DBA                  VARIOUS                              Litigation              UNDETERMINED
       HARVEY'S-PORTER, STEVE
       PO BOX 14517                 ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94114


3.7601 LANGLEY, JUDITH                          VARIOUS                              Litigation              UNDETERMINED
       3328 G STREET
       EUREKA, CA 95503             ACCOUNT NO.: NOT AVAILABLE


3.7602 LANGS, TERI                              VARIOUS                              Litigation              UNDETERMINED
       137 HIDDEN VALLEY RD
       BAYSIDE, CA 95524            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.7603 LANGTRY FARMS, LLC-                       VARIOUS                              Litigation              UNDETERMINED
       BRADSHAW, AMANDA
       22000 BUTTS CANYON ROAD #12   ACCOUNT NO.: NOT AVAILABLE
       MIDDLETOWN, CA 95461


3.7604 LANOY, ROBERT                             VARIOUS                              Litigation              UNDETERMINED
       4080 WOODHAVEN LANE
       OAKLEY, CA 94561              ACCOUNT NO.: NOT AVAILABLE


3.7605 LANSBURGH, RICHARD                        VARIOUS                              Litigation              UNDETERMINED
       640 WILDWOOD WAY
       WOODLAND, CA 95695            ACCOUNT NO.: NOT AVAILABLE


3.7606 LANZA, BRITTANY                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 353
       78 LOWELL STREET              ACCOUNT NO.: NOT AVAILABLE
       ORICK, CA 95555


3.7607 LANZI, SANDY                              VARIOUS                              Litigation              UNDETERMINED
       PO BOX 286
       PALO CEDRO, CA 96073          ACCOUNT NO.: NOT AVAILABLE


3.7608 LANZON, CATHY                             VARIOUS                              Litigation              UNDETERMINED
       1059 EL PASEO STREET
       20846 BIGFOOT CIRCLE,         ACCOUNT NO.: NOT AVAILABLE
       GROVELAND
       TURLOCK, CA 95321


3.7609 LAPE, ROBIN                               VARIOUS                              Litigation              UNDETERMINED
       3801 LAKESIDE DRIVE #B101
       RICHMOND, CA 94806            ACCOUNT NO.: NOT AVAILABLE


3.7610 LAPIRA, GIUSEPPE                          VARIOUS                              Litigation              UNDETERMINED
       1458 SWEET JULIET LANE
       LINCOLN, CA 95648             ACCOUNT NO.: NOT AVAILABLE


3.7611 LAPORGA, NIKKO                            VARIOUS                              Litigation              UNDETERMINED
       1125 PEMBRIDGE DR
       SAN JOSE, CA 95118            ACCOUNT NO.: NOT AVAILABLE


3.7612 LAPORTE, JEFF                             VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 5361
       OROVILLE, CA 95966            ACCOUNT NO.: NOT AVAILABLE


3.7613 L'APPART, OLIVER CRIADO                   VARIOUS                              Litigation              UNDETERMINED
       636 SAN ANSELMO AVENUE
       SAN ANSELMO, CA 94960         ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.7614 LARA ALVAREZ, PAOLA                      VARIOUS                              Litigation              UNDETERMINED
       2748 ROCHELE ST
       SANTA ROSA, CA 95403         ACCOUNT NO.: NOT AVAILABLE


3.7615 LARA, ABNER                              VARIOUS                              Litigation              UNDETERMINED
       9180 JEAN ST
       LIVE OAK, CA 95953           ACCOUNT NO.: NOT AVAILABLE


3.7616 LARA, CRISTIAN                           VARIOUS                              Litigation              UNDETERMINED
       10129 HARLEY LEIGHTON
       SPC A5                       ACCOUNT NO.: NOT AVAILABLE
       REDDING, CA 96003


3.7617 LARA, INEZ                               VARIOUS                              Litigation              UNDETERMINED
       1407 HAVENSCOURT BLVD
       OAKLAND, CA 94621            ACCOUNT NO.: NOT AVAILABLE


3.7618 LARA, JOANNA                             VARIOUS                              Litigation              UNDETERMINED
       10900 W. CLOVER RD
       TRACY, CA 95376              ACCOUNT NO.: NOT AVAILABLE


3.7619 LARA, JOSE                               VARIOUS                              Litigation              UNDETERMINED
       18673 NORTHRIDGE DR
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.7620 LARA, LUIS                               VARIOUS                              Litigation              UNDETERMINED
       2392 SIERRA SPRINGS COURT
       ATWATER, CA 95301            ACCOUNT NO.: NOT AVAILABLE


3.7621 LARA, ROSARIO                            VARIOUS                              Litigation              UNDETERMINED
       LAW OFFICES OF ARA
       JABAGCHOURIAN, P.C.          ACCOUNT NO.: NOT AVAILABLE
       1650 S. AMPHLETT BLVD
       SAN MATEO, CA 94402


3.7622 LARKIN CORNER MARKET-                    VARIOUS                              Litigation              UNDETERMINED
       QARE, SALIM
       1496 LARKIN ST               ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94109


3.7623 LARMOUR, JOHN                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 471
       ARNOLD, CA 95223             ACCOUNT NO.: NOT AVAILABLE


3.7624 LARSEN, DONALD                           VARIOUS                              Litigation              UNDETERMINED
       600
       POLLOCK PINES, CA 95726      ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.7625 LARSEN, SHARON                           VARIOUS                              Litigation              UNDETERMINED
       1326 W. TURNER RD
       LODI, CA 95242               ACCOUNT NO.: NOT AVAILABLE


3.7626 LARSEN, VICKI                            VARIOUS                              Litigation              UNDETERMINED
       9904 MEADOWLARK WAY
       PALO CEDRO, CA 96073         ACCOUNT NO.: NOT AVAILABLE


3.7627 LARSON, JESSICA                          VARIOUS                              Litigation              UNDETERMINED
       654 LUNA WAY
       SOLEDAD, CA 93960            ACCOUNT NO.: NOT AVAILABLE


3.7628 LARSON, KIT                              VARIOUS                              Litigation              UNDETERMINED
       8309 LUCIENNE DRIVE
       STOCKTON, CA 95212           ACCOUNT NO.: NOT AVAILABLE


3.7629 LARSON, LAURA                            VARIOUS                              Litigation              UNDETERMINED
       200 BACHELDER RANCH RD
       SANTA CRUZ, CA 95065         ACCOUNT NO.: NOT AVAILABLE


3.7630 LARSON, LORETTA                          VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 191
       RIVERBANK, CA 95367          ACCOUNT NO.: NOT AVAILABLE


3.7631 LARSON, OLAF                             VARIOUS                              Litigation              UNDETERMINED
       19450 BLACK ROAD
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.7632 LARSON, PAUL                             VARIOUS                              Litigation              UNDETERMINED
       6468 WASHINGTON STREET
       SPC 81                       ACCOUNT NO.: NOT AVAILABLE
       YOUNTVILLE, CA 94599


3.7633 LARSON, RUTH                             VARIOUS                              Litigation              UNDETERMINED
       22260 COPPER COURT
       VOLCANO, CA 95689            ACCOUNT NO.: NOT AVAILABLE


3.7634 LARSON, SUSAN                            VARIOUS                              Litigation              UNDETERMINED
       8 SAGE GROUSE ROAD
       NOVATO, CA 94949             ACCOUNT NO.: NOT AVAILABLE


3.7635 LARUE, RODERICK                          VARIOUS                              Litigation              UNDETERMINED
       12322 FIORI LANE
       SEBASTOPOL, CA 95472         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.7636 LARZELERE, JENNIFER                      VARIOUS                              Litigation              UNDETERMINED
       143 BENNETT ST.
       GRASS VALLEY, CA 95945         ACCOUNT NO.: NOT AVAILABLE


3.7637 LAS POSITAS COLLEGE                      VARIOUS                              Litigation              UNDETERMINED
       25555 HESPERIAN BLVD
       HAYWARD, CA 94545              ACCOUNT NO.: NOT AVAILABLE


3.7638 LASA, MARGARET                           VARIOUS                              Litigation              UNDETERMINED
       42 ALTA WAY
       CORTE MADERA, CA 94925         ACCOUNT NO.: NOT AVAILABLE


3.7639 LASATER, AUSTIN                          VARIOUS                              Litigation              UNDETERMINED
       19848 BRECKENRIDGE LANE
       ANDERSON, CA 96007             ACCOUNT NO.: NOT AVAILABLE


3.7640 LASGOITY CO., JOHN                       VARIOUS                              Litigation              UNDETERMINED
       2310 CAMDEN WAY
       MADERA, CA 93637               ACCOUNT NO.: NOT AVAILABLE


3.7641 LATA, SUZEN                              VARIOUS                              Litigation              UNDETERMINED
       4350 SHELTER CREEK LANE
       50                             ACCOUNT NO.: NOT AVAILABLE
       SAN BRUNO, CA 94066


3.7642 LATHAM, LORI                             VARIOUS                              Litigation              UNDETERMINED
       188 SAN FERNANDO ST.
       SAN PABLO, CA 94806            ACCOUNT NO.: NOT AVAILABLE


3.7643 LATIN, RODNEY                            VARIOUS                              Litigation              UNDETERMINED
       721 E HAMMER LANE, APT 174
       STOCKTON, CA 95210             ACCOUNT NO.: NOT AVAILABLE


3.7644 LATITUDE SUBROGATION SVCS                VARIOUS                              Litigation              UNDETERMINED
       1760 S. TELEGRAPH RD.
       BLOOMFIELD HILLS, CA 48302     ACCOUNT NO.: NOT AVAILABLE


3.7645 LATITUDE SUBROGATION, MIM                VARIOUS                              Litigation              UNDETERMINED
       GOULD
       PO BOX 7932                    ACCOUNT NO.: NOT AVAILABLE
       2611 EATON RD., CAMBRIA, CA.
       93428
       BLOOMFIELD HILLS, CA 48302-
       7932




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Litigation & Disputes

3.7646 LATITUDE SUBROGATION, MIM                VARIOUS                              Litigation              UNDETERMINED
       GOULD
       PO BOX 7932                    ACCOUNT NO.: NOT AVAILABLE
       2611 EATON RD., CAMBRIA, CA.
       93428
       BLOOMFIELD HILLS, CA 48302-
       7932


3.7647 LAU, CATHY                               VARIOUS                              Litigation              UNDETERMINED
       24639 CABRILLO STREET
       CARMEL, CA 93923               ACCOUNT NO.: NOT AVAILABLE


3.7648 LAU, JANNIE                              VARIOUS                              Litigation              UNDETERMINED
       4338 SHELTER CREEK LANE
       SAN BRUNO, CA 94066            ACCOUNT NO.: NOT AVAILABLE


3.7649 LAUENROTH, LILA                          VARIOUS                              Litigation              UNDETERMINED
       13971 KITTY HAWK LN.
       REDDING, CA 96003              ACCOUNT NO.: NOT AVAILABLE


3.7650 LAUER, KATHLEEN                          VARIOUS                              Litigation              UNDETERMINED
       93 SEQUOIA DR.
       VACAVILLE, CA 95657            ACCOUNT NO.: NOT AVAILABLE


3.7651 LAUGH LINES-DAVIDSON, JAN                VARIOUS                              Litigation              UNDETERMINED
       7320 SANTOS ROAD
       LOMPOC, CA 93436               ACCOUNT NO.: NOT AVAILABLE


3.7652 LAUGHLIN, LELAND                         VARIOUS                              Litigation              UNDETERMINED
       5568 GREENOAKS DRIVE
       RIVERBANK, CA 95367            ACCOUNT NO.: NOT AVAILABLE


3.7653 LAUNDERLAND-KHOSLA, PARI                 VARIOUS                              Litigation              UNDETERMINED
       995 EL CAMINO REAL
       MENLO PARK, CA 94025           ACCOUNT NO.: NOT AVAILABLE


3.7654 LAUNDERLAND-KHOSLA,                      VARIOUS                              Litigation              UNDETERMINED
       PARIKSHIT
       995 EL CAMINO REAL             ACCOUNT NO.: NOT AVAILABLE
       MENLO PARK, CA 94025


3.7655 LAUNDERLAND-SAEPHANH,                    VARIOUS                              Litigation              UNDETERMINED
       KAOPOO
       3828 MACDONALD AVE             ACCOUNT NO.: NOT AVAILABLE
       RICHMOND, CA 94805




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Litigation & Disputes

3.7656 LAUNER, DANA                             VARIOUS                              Litigation              UNDETERMINED
       1140 N CEDAR ST
       5                            ACCOUNT NO.: NOT AVAILABLE
       CHICO, CA 95926


3.7657 LAURA CARLSEN REILLY AND                 VARIOUS                              Litigation              UNDETERMINED
       JASON CARLSEN
       RIBERA LAW FIRM APC          ACCOUNT NO.: NOT AVAILABLE
       157 WEST PORTAL AVENUE,
       SUITE 2
       SAN FRANCISCO, CA 94127


3.7658 LAUREL DENTAL SAN CARLOS-                VARIOUS                              Litigation              UNDETERMINED
       WU, JEAN
       1267 LAUREL STREET           ACCOUNT NO.: NOT AVAILABLE
       SAN CARLOS, CA 94070


3.7659 LAURENCIO, NESTOR                        VARIOUS                              Litigation              UNDETERMINED
       15 WEMBLEY DR
       DALY CITY, CA 94015          ACCOUNT NO.: NOT AVAILABLE


3.7660 LAURETTA, JOSEPH                         VARIOUS                              Litigation              UNDETERMINED
       135 MERCED AVE.
       SAN FRANCISCO, CA 94127      ACCOUNT NO.: NOT AVAILABLE


3.7661 LAURIE, CAROL                            VARIOUS                              Litigation              UNDETERMINED
       12105 ARBOR PARK PL.
       BAKERSFIELD, CA 93311        ACCOUNT NO.: NOT AVAILABLE


3.7662 LAURITZEN, MIA                           VARIOUS                              Litigation              UNDETERMINED
       2 DEAD HORSE CANYON ROAD
       LAFAYETTE, CA 94549          ACCOUNT NO.: NOT AVAILABLE


3.7663 LAVA LOUNGE-CHOW, KENNETH                VARIOUS                              Litigation              UNDETERMINED
       527 BRYANT STREET
       SAN FRANCISCO, CA 94107      ACCOUNT NO.: NOT AVAILABLE


3.7664 LAVAGNINO, MARIO                         VARIOUS                              Litigation              UNDETERMINED
       11706 MURIETTA CT.
       DUBLIN, CA 94568             ACCOUNT NO.: NOT AVAILABLE


3.7665 LAVARES, BERNARD                         VARIOUS                              Litigation              UNDETERMINED
       521 OLD RIVER CT
       VALLEJO, CA 94589            ACCOUNT NO.: NOT AVAILABLE


3.7666 LAVEA, MELISSA                           VARIOUS                              Litigation              UNDETERMINED
       547 LEWIS WAY
       25                           ACCOUNT NO.: NOT AVAILABLE
       SAN ANDREAS, CA 95249

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Litigation & Disputes

3.7667 LAVERING, BARBARA/RYAN                   VARIOUS                              Litigation              UNDETERMINED
       1620 GEYSER CIR
       ANTIOCH, CA 94509              ACCOUNT NO.: NOT AVAILABLE


3.7668 LAVIN, EDWARD                            VARIOUS                              Litigation              UNDETERMINED
       12230 ATRIUM CIR
       SARATOGA, CA 95070             ACCOUNT NO.: NOT AVAILABLE


3.7669 LAVRENOV, ANDREY                         VARIOUS                              Litigation              UNDETERMINED
       25531 SOQUEL SAN JOSE RD
       LOS GATOS, CA 95033            ACCOUNT NO.: NOT AVAILABLE


3.7670 LAW OFFICE OF AARON O.                   VARIOUS                              Litigation              UNDETERMINED
       ANGUIANO - BRAVO, YELENA
       627 13TH STREET, SUITE C       ACCOUNT NO.: NOT AVAILABLE
       MODESTO, CA 95354


3.7671 LAW OFFICE OF JANN                       VARIOUS                              Litigation              UNDETERMINED
       MOORHEAD-MOORHEAD, JANN
       43 LA CRESCENTA WAY            ACCOUNT NO.: NOT AVAILABLE
       SAN RAFAEL, CA 94901


3.7672 LAW OFFICE OF RANDALL S                  VARIOUS                              Litigation              UNDETERMINED
       FUDGE, P.C, RANDALL FUDGE
       (VERIZON)                      ACCOUNT NO.: NOT AVAILABLE
       PO BOX 60872
       5356 STILLWELL ROAD, SANTA
       MARIA
       OKLAHOMA CITY, CA 73146


3.7673 LAW OFFICES OF DAVID L.                  VARIOUS                              Litigation              UNDETERMINED
       MILLIGAN, A.P.C., RAYANNA
       FERGUSON                       ACCOUNT NO.: NOT AVAILABLE
       1265 W. SHAW AVE., SUITE 100
       FRESNO, CA 93711


3.7674 LAW OFFICES OF GREGORY                   VARIOUS                              Litigation              UNDETERMINED
       LUCETT, PATRICIA NUNN
       330 NORTH BRAND BLVD. STE      ACCOUNT NO.: NOT AVAILABLE
       900
       1910 SOMERSWORTH DRIVE,
       SAN JOSE
       GLENDALE, CA 91203


3.7675 LAW OFFICES OF JEFFEY C.                 VARIOUS                              Litigation              UNDETERMINED
       SPARKS
       229 AVENUE I, SECOND FLOOR     ACCOUNT NO.: NOT AVAILABLE
       49458 KANE RANCH RD.,
       OAKHURST, CA., 93644-9432
       REDONDO BEACH, CA 90277


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Litigation & Disputes

3.7676 LAW OFFICES OF KENNETH W.                VARIOUS                              Litigation              UNDETERMINED
       TURNER, ERIK LUNDGREN
       1702 ENTERPRISE DRIVE        ACCOUNT NO.: NOT AVAILABLE
       FAIRFIELD, CA 94539


3.7677 LAW OFFICES OF KENNETH W.                VARIOUS                              Litigation              UNDETERMINED
       TURNER, ERIK LUNDGREN
       1702 ENTERPRISE DRIVE        ACCOUNT NO.: NOT AVAILABLE
       FAIRFIELD, CA 94539


3.7678 LAW OFFICES OF KENNETH W.                VARIOUS                              Litigation              UNDETERMINED
       TURNER, STEPHEN WORDEN
       2057 FOREST AVE STE 3        ACCOUNT NO.: NOT AVAILABLE
       35412 TIMBER RIDGE
       SEA RANCH, CA 95497


3.7679 LAW OFFICES OF PRUSSAK,                  VARIOUS                              Litigation              UNDETERMINED
       WELCH & AVILA
       175 S. C. STREET 2ND FLOOR   ACCOUNT NO.: NOT AVAILABLE
       TUSTIN, CA 92780


3.7680 LAW OFFICES OF RAYMOND                   VARIOUS                              Litigation              UNDETERMINED
       GHERMEZIAN, GEZELL MAZIDUS
       JONES                        ACCOUNT NO.: NOT AVAILABLE
       3435 WILSHIRE BLVD. SUITE
       1800
       1888 BERKELEY WAY,
       BERKELEY, CA., 94703
       LOS ANGELES, CA 90010


3.7681 LAW OFFICES OF THOMAS                    VARIOUS                              Litigation              UNDETERMINED
       MCDONNELL - WADE, PATRICIA
       185 LINDEN AVE               ACCOUNT NO.: NOT AVAILABLE
       AUBURN, CA 95603


3.7682 LAWLER, MARK                             VARIOUS                              Litigation              UNDETERMINED
       5351 STAGG HILL
       PASO ROBLES, CA 93446        ACCOUNT NO.: NOT AVAILABLE


3.7683 LAWLESS, KENNETH                         VARIOUS                              Litigation              UNDETERMINED
       429 POPLAR AVENUE
       3825 BALBOA AVENUE           ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93304


3.7684 LAWLEY, SHARON                           VARIOUS                              Litigation              UNDETERMINED
       OAKDALE, CA
                                    ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.7685 LAWLOR, TONY                             VARIOUS                              Litigation              UNDETERMINED
       1200 SUMMIT LAKE DR.
       ANGWIN, CA 94508                ACCOUNT NO.: NOT AVAILABLE


3.7686 LAWRENCE, DAVID                          VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 357
       SARATOGA, CA 95071              ACCOUNT NO.: NOT AVAILABLE


3.7687 LAWRENCE, MARY                           VARIOUS                              Litigation              UNDETERMINED
       2550 FAIRVIEW RD.
       HOLLISTER, CA 95023             ACCOUNT NO.: NOT AVAILABLE


3.7688 LAWRENCE, MARY & WILLIAM                 VARIOUS                              Litigation              UNDETERMINED
       207 VAKIAN COURT
       SAN JOSE, CA 95119              ACCOUNT NO.: NOT AVAILABLE


3.7689 LAWRENCE, MICHAEL                        VARIOUS                              Litigation              UNDETERMINED
       2305 HAMPSHIRE DR
       DISCOVERY BAY, CA 94505         ACCOUNT NO.: NOT AVAILABLE


3.7690 LAWRENCE, MICHELLE                       VARIOUS                              Litigation              UNDETERMINED
       1878 ST GEORGE
       DANVILLE, CA 94526              ACCOUNT NO.: NOT AVAILABLE


3.7691 LAWRENCES RESTAURANT-                    VARIOUS                              Litigation              UNDETERMINED
       MARTINEZ, MARIA
       611 CANAL STREET                ACCOUNT NO.: NOT AVAILABLE
       KING CITY, CA 93930


3.7692 LAWS, LANELLE                            VARIOUS                              Litigation              UNDETERMINED
       2301 WESTHOLME BLVD, APT #C
       BAKERSFIELD, CA 93309           ACCOUNT NO.: NOT AVAILABLE


3.7693 LAWSON PROPERTY                          VARIOUS                              Litigation              UNDETERMINED
       MANAGEMENT-OLSON,
       HEATHER                         ACCOUNT NO.: NOT AVAILABLE
       413 COURT STREET
       WOODLAND, CA 95695


3.7694 LAWSON, CAROL                            VARIOUS                              Litigation              UNDETERMINED
       6230 OSTROM RD
       P.O. BOX 1196, WHEATLAND, CA.   ACCOUNT NO.: NOT AVAILABLE
       MARYSVILLE, CA 95692


3.7695 LAWSON, CHARLIE                          VARIOUS                              Litigation              UNDETERMINED
       3231 VERDANT WAY
       SAN JOSE, CA 95117              ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.7696 LAWSON, STEPHEN                          VARIOUS                              Litigation              UNDETERMINED
       315 PACHECO AVE
       SANTA CRUZ, CA 95062         ACCOUNT NO.: NOT AVAILABLE


3.7697 LAWTON, GRETCHEN                         VARIOUS                              Litigation              UNDETERMINED
       1489 KEARNEY STREET
       SAINT HELENA, CA 94574       ACCOUNT NO.: NOT AVAILABLE


3.7698 LAWTON, THOMAS                           VARIOUS                              Litigation              UNDETERMINED
       4213 POLARIS AVE.
       LOMPOC, CA 93436             ACCOUNT NO.: NOT AVAILABLE


3.7699 LAYEGHI, SARA                            VARIOUS                              Litigation              UNDETERMINED
       3335 FARRELL ROAD
       VACAVILLE, CA 95688          ACCOUNT NO.: NOT AVAILABLE


3.7700 LAYFIELD, JOELLE                         VARIOUS                              Litigation              UNDETERMINED
       1959 ALABAMA STREET
       VALLEJO, CA 94590            ACCOUNT NO.: NOT AVAILABLE


3.7701 LAZARO, DEBORAH & MICHAEL                VARIOUS                              Litigation              UNDETERMINED
       2485 ROSS DR.
       AUBURN, CA 95602             ACCOUNT NO.: NOT AVAILABLE


3.7702 LAZCANO, LYDIA                           VARIOUS                              Litigation              UNDETERMINED
       2316 NORTH MAIN ST
       APT A                        ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.7703 LAZY DOG RESTAURANT-                     VARIOUS                              Litigation              UNDETERMINED
       POLSTON, CHRIS
       1961 DIAMOND BLVD            ACCOUNT NO.: NOT AVAILABLE
       CONCORD, CA 94520


3.7704 LAZZARESCHI, SHIRLEY                     VARIOUS                              Litigation              UNDETERMINED
       123 GRANDE OAK DRIVE
       OROVILLE, CA 95966           ACCOUNT NO.: NOT AVAILABLE


3.7705 LCS TOOLS & THINGS-ROYER,                VARIOUS                              Litigation              UNDETERMINED
       FREMELIZA
       10481 MERRITT ST             ACCOUNT NO.: NOT AVAILABLE
       CASTROVILLE, CA 95012


3.7706 LE DOUX, GERALD                          VARIOUS                              Litigation              UNDETERMINED
       818 CAMERON CT
       VACAVILLE, CA 95687          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.7707 LE NGOC, DAHN                            VARIOUS                              Litigation              UNDETERMINED
       1548 JOHNSON AVENUE
       SARATOGA, CA 95070           ACCOUNT NO.: NOT AVAILABLE


3.7708 LE ROUX, ANN                             VARIOUS                              Litigation              UNDETERMINED
       3703 W BULLARD AVENUE
       FRESNO, CA 93711             ACCOUNT NO.: NOT AVAILABLE


3.7709 LE ROY HESS AND JANE HESS                VARIOUS                              Litigation              UNDETERMINED
       KENNETH M. FOLEY
       P.O. BOX 1269                ACCOUNT NO.: NOT AVAILABLE
       SAN ANDREAS, CA 95249


3.7710 LE, ADRIENNE                             VARIOUS                              Litigation              UNDETERMINED
       1028 NOBEL DRIVE
       SANTA CRUZ, CA 95060         ACCOUNT NO.: NOT AVAILABLE


3.7711 LE, DANIELLE                             VARIOUS                              Litigation              UNDETERMINED
       5845 FLORA CMN
       LIVERMORE, CA 94551          ACCOUNT NO.: NOT AVAILABLE


3.7712 LE, JACK                                 VARIOUS                              Litigation              UNDETERMINED
       2225 E 20TH ST
       OAKLAND, CA 94606            ACCOUNT NO.: NOT AVAILABLE


3.7713 LEACH, BEVERLY                           VARIOUS                              Litigation              UNDETERMINED
       37603 PETERSON ROAD
       AUBERRY, CA 93602            ACCOUNT NO.: NOT AVAILABLE


3.7714 LEACH, RONALD                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 375
       INVERNESS, CA 94937          ACCOUNT NO.: NOT AVAILABLE


3.7715 LEACH, STEPHEN                           VARIOUS                              Litigation              UNDETERMINED
       521 BAGADO CT
       SAN RAMON, CA 94583          ACCOUNT NO.: NOT AVAILABLE


3.7716 LEADWELL GLOBAL                          VARIOUS                              Litigation              UNDETERMINED
       PROPERTIES LLC-HARMS, DON
       999 CALIFORNIA STREET        ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94108


3.7717 LEAH VEGA                                VARIOUS                              Litigation              UNDETERMINED
       MARY ALEXANDER, BRENDAN
       WAY, CATALINA MUNOZ          ACCOUNT NO.: NOT AVAILABLE
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


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Litigation & Disputes

3.7718 LEAH VEGA                                VARIOUS                              Litigation              UNDETERMINED
       BOBBY THOMPSON
       725 AIRPORT BLVD             ACCOUNT NO.: NOT AVAILABLE
       SUITE 185
       BURLINGAME, CA 94010


3.7719 LEAL, AMALIA AND GILDARDO                VARIOUS                              Litigation              UNDETERMINED
       BAKERSFIELD, CA
                                    ACCOUNT NO.: NOT AVAILABLE


3.7720 LEAL, IRMA                               VARIOUS                              Litigation              UNDETERMINED
       1742 BRIDGEVIEW ST
       PITTSBURG, CA 94565          ACCOUNT NO.: NOT AVAILABLE


3.7721 LEAL, KURT                               VARIOUS                              Litigation              UNDETERMINED
       485 STEWART ST.
       BOULDER CREEK, CA 95006      ACCOUNT NO.: NOT AVAILABLE


3.7722 LEAL, LORIANNA                           VARIOUS                              Litigation              UNDETERMINED
       75 FARRELL AVE
       GILROY, CA 95020             ACCOUNT NO.: NOT AVAILABLE


3.7723 LEANDER, HARRIET                         VARIOUS                              Litigation              UNDETERMINED
       923 COACH ST
       STOCKTON, CA 95209           ACCOUNT NO.: NOT AVAILABLE


3.7724 LEANDRO, IRENE                           VARIOUS                              Litigation              UNDETERMINED
       1069 S. AIRPORT WAY
       MANTECA, CA                  ACCOUNT NO.: NOT AVAILABLE


3.7725 LEARD, MONICA                            VARIOUS                              Litigation              UNDETERMINED
       16884 WINCHELL DR
       REDDING, CA 96003            ACCOUNT NO.: NOT AVAILABLE


3.7726 LEAVITT, ALISON                          VARIOUS                              Litigation              UNDETERMINED
       1305 ADAMS ST
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.7727 LEAVITT, TERRILL                         VARIOUS                              Litigation              UNDETERMINED
       2434 CLEAR VIEW CIRCLE
       BENICIA, CA 94510            ACCOUNT NO.: NOT AVAILABLE


3.7728 LEAVY, DECLAN                            VARIOUS                              Litigation              UNDETERMINED
       821 ORION WAY
       LIVERMORE, CA 94550          ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.7729 LEAVY, KESHIA                            VARIOUS                              Litigation              UNDETERMINED
       1115 W SIMPSON AVE, APT #R
       FRESNO, CA 93705             ACCOUNT NO.: NOT AVAILABLE


3.7730 LEBARRE, CHRISTOPHER                     VARIOUS                              Litigation              UNDETERMINED
       54 EUCALYPTUS DRIVE
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.7731 LEBEAU, JEREMY                           VARIOUS                              Litigation              UNDETERMINED
       78 MOUNTAIN VIEW ROAD
       FAIRFAX, CA 94930            ACCOUNT NO.: NOT AVAILABLE


3.7732 LECHNER, TAMI                            VARIOUS                              Litigation              UNDETERMINED
       115 TOLEDO ST #B
       SANTA CRUZ, CA 95060         ACCOUNT NO.: NOT AVAILABLE


3.7733 LECHUGA, SALOMON                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 404
       8395 E HARNEY LANE, LODI     ACCOUNT NO.: NOT AVAILABLE
       VICTOR, CA 95253


3.7734 LECOUVE, STEPHEN                         VARIOUS                              Litigation              UNDETERMINED
       14817 ORANGE BLOSSOM RD
       OAKDALE, CA 95361            ACCOUNT NO.: NOT AVAILABLE


3.7735 LEDCOR-FERGUSON, AMANDA                  VARIOUS                              Litigation              UNDETERMINED
       19040 KAREN DR
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.7736 LEDESMA, KATELYN                         VARIOUS                              Litigation              UNDETERMINED
       478 ABERDEEN WAY
       VACAVILLE, CA 95687          ACCOUNT NO.: NOT AVAILABLE


3.7737 LEDESMA, RUBEN                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 989
       BLUE LAKE, CA 95525          ACCOUNT NO.: NOT AVAILABLE


3.7738 LEDESMA, TIFFANY                         VARIOUS                              Litigation              UNDETERMINED
       1185 MONROE ST
       148                          ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.7739 LEDGER, RYAN                             VARIOUS                              Litigation              UNDETERMINED
       456 HARVARD AVE.
       CLOVIS, CA 93612             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.7740 LEDONNE, VINCE                            VARIOUS                              Litigation              UNDETERMINED
       37569 RD 425C
       CORSEGOLD, CA 93614           ACCOUNT NO.: NOT AVAILABLE


3.7741 LEE (ATTY REP), AARON                     VARIOUS                              Litigation              UNDETERMINED
       2450 STANWELL DRIVE
       CONCORD, CA 94520             ACCOUNT NO.: NOT AVAILABLE


3.7742 LEE, ALBERT                               VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 7584
       SPRECKLES, CA 93962           ACCOUNT NO.: NOT AVAILABLE


3.7743 LEE, ANNA                                 VARIOUS                              Litigation              UNDETERMINED
       2510 RAMONA COURT
       WEST SACRAMENTO, CA 95691     ACCOUNT NO.: NOT AVAILABLE


3.7744 LEE, BRYAN                                VARIOUS                              Litigation              UNDETERMINED
       15 HAROLD AVE
       SAN FRANCISCO, CA 94112       ACCOUNT NO.: NOT AVAILABLE


3.7745 LEE, COURTNEY                             VARIOUS                              Litigation              UNDETERMINED
       248 BUCKHORN ROAD
       NIPOMO, CA 93444              ACCOUNT NO.: NOT AVAILABLE


3.7746 LEE, DANNY                                VARIOUS                              Litigation              UNDETERMINED
       47 WAVECREST DRIVE
       DALY CITY, CA 94015           ACCOUNT NO.: NOT AVAILABLE


3.7747 LEE, DAVID                                VARIOUS                              Litigation              UNDETERMINED
       2305 SISTERON COURT
       BAKERSFIELD, CA 93311         ACCOUNT NO.: NOT AVAILABLE


3.7748 LEE, GARY                                 VARIOUS                              Litigation              UNDETERMINED
       1825 WEIR DR
       HAYWARD, CA 94541             ACCOUNT NO.: NOT AVAILABLE


3.7749 LEE, GARY                                 VARIOUS                              Litigation              UNDETERMINED
       1825 WEIR DR
       HAYWARD, CA 94541             ACCOUNT NO.: NOT AVAILABLE


3.7750 LEE, GEORGE                               VARIOUS                              Litigation              UNDETERMINED
       42 PORTSMOUTH
       PIEDMONT, CA 94610            ACCOUNT NO.: NOT AVAILABLE


3.7751 LEE, GEORGIA                              VARIOUS                              Litigation              UNDETERMINED
       407 RUSSELL PARK APT 1
       DAVIS, CA 95616               ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.7752 LEE, GUO LIAN                            VARIOUS                              Litigation              UNDETERMINED
       2322 BARTLETT ST
       OAKLAND, CA 94601            ACCOUNT NO.: NOT AVAILABLE


3.7753 LEE, HANNAH                              VARIOUS                              Litigation              UNDETERMINED
       1379 CHELSEA DR
       LOS ALTOS, CA 94024          ACCOUNT NO.: NOT AVAILABLE


3.7754 LEE, HOJUNE                              VARIOUS                              Litigation              UNDETERMINED
       2459 DEL MAR CT
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.7755 LEE, JAMES                               VARIOUS                              Litigation              UNDETERMINED
       718 BARNESON AVE
       SAN MATEO, CA 94402          ACCOUNT NO.: NOT AVAILABLE


3.7756 LEE, JINGYUAN                            VARIOUS                              Litigation              UNDETERMINED
       1142 LITTLEOAK CIRCLE
       SAN JOSE, CA 95129           ACCOUNT NO.: NOT AVAILABLE


3.7757 LEE, JOSEPH                              VARIOUS                              Litigation              UNDETERMINED
       PO BOX 3336
       CHICO, CA 95927              ACCOUNT NO.: NOT AVAILABLE


3.7758 LEE, JUANITA                             VARIOUS                              Litigation              UNDETERMINED
       2425 O ST
       BAKERSFIELD, CA 93301        ACCOUNT NO.: NOT AVAILABLE


3.7759 LEE, KEN                                 VARIOUS                              Litigation              UNDETERMINED
       11991 HILLTOP DRIVE
       LOS ALTOS HILLS, CA 94024    ACCOUNT NO.: NOT AVAILABLE


3.7760 LEE, LINDA                               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 711
       MILL CREEK RD                ACCOUNT NO.: NOT AVAILABLE
       HOOPA, CA 95546


3.7761 LEE, LINSTUN                             VARIOUS                              Litigation              UNDETERMINED
       1616 N MAIN
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.7762 LEE, LORRAINE                            VARIOUS                              Litigation              UNDETERMINED
       8326 JUGLAUS DR
       ORANGEVALE, CA 95662         ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.7763 LEE, MARY                                VARIOUS                              Litigation              UNDETERMINED
       1526 26TH AVENUE
       SAN FRANCISCO, CA 94122       ACCOUNT NO.: NOT AVAILABLE


3.7764 LEE, MICHAEL                             VARIOUS                              Litigation              UNDETERMINED
       1825 FELTON STREET
       SAN FRANCISCO, CA 94134       ACCOUNT NO.: NOT AVAILABLE


3.7765 LEE, MOO                                 VARIOUS                              Litigation              UNDETERMINED
       1201 GOLDEN GATE AVE, # 305
       SAN FRANCISCO, CA 94115       ACCOUNT NO.: NOT AVAILABLE


3.7766 LEE, PATRICK                             VARIOUS                              Litigation              UNDETERMINED
       2788 PARK BLVD
       OAKLAND, CA 94606             ACCOUNT NO.: NOT AVAILABLE


3.7767 LEE, PHILIP                              VARIOUS                              Litigation              UNDETERMINED
       9 MORNINGSIDE DR
       DALY CITY, CA 94015           ACCOUNT NO.: NOT AVAILABLE


3.7768 LEE, RONNA                               VARIOUS                              Litigation              UNDETERMINED
       5315 BARRENDA AVENUE
       ATASCADERO, CA 93422          ACCOUNT NO.: NOT AVAILABLE


3.7769 LEE, SABRINA                             VARIOUS                              Litigation              UNDETERMINED
       1503 BRALY AVE
        MILPITAS, CA 95035           ACCOUNT NO.: NOT AVAILABLE


3.7770 LEE, SARA                                VARIOUS                              Litigation              UNDETERMINED
       321 SUNKIST LANE
       LOS ALTOS, CA 94022           ACCOUNT NO.: NOT AVAILABLE


3.7771 LEE, SHAO JUN                            VARIOUS                              Litigation              UNDETERMINED
       19500 PRUNERIDGE AVENUE
       APT 8028                      ACCOUNT NO.: NOT AVAILABLE
       CUPERTINO, CA 95014


3.7772 LEE, SHIRLEY                             VARIOUS                              Litigation              UNDETERMINED
       546 FULTON WAY
       DANVILLE, CA 94526            ACCOUNT NO.: NOT AVAILABLE


3.7773 LEE, STELLA                              VARIOUS                              Litigation              UNDETERMINED
       3239 CLEMENT STREET
       SAN FRANCISCO, CA 94121       ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.7774 LEE, WENDY                                VARIOUS                              Litigation              UNDETERMINED
       6240 WEEBEELEE LANE
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.7775 LEE, YEN                                  VARIOUS                              Litigation              UNDETERMINED
       545 CRESTLAKE DRIVE
       SAN FRANCISCO, CA 94132       ACCOUNT NO.: NOT AVAILABLE


3.7776 LEEDS, ELIZABETH                          VARIOUS                              Litigation              UNDETERMINED
       1579 ST. HELENA WAY S
       ST HELENA, CA 94574           ACCOUNT NO.: NOT AVAILABLE


3.7777 LEEGARD, MARK                             VARIOUS                              Litigation              UNDETERMINED
       4922 RIDGEVIEW RD
       WILSEYVILLE, CA 95257         ACCOUNT NO.: NOT AVAILABLE


3.7778 LEENE, FRANK                              VARIOUS                              Litigation              UNDETERMINED
       PO BOX 216
       100 MAIN STREET               ACCOUNT NO.: NOT AVAILABLE
       POINT ARENA, CA 95468


3.7779 LEESON, LILIA                             VARIOUS                              Litigation              UNDETERMINED
       MEZZETTI LAW FIRM, INC.
       31 EAST JULIAN STREET         ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95112


3.7780 LEESON, LILIA (ATTY REP)                  VARIOUS                              Litigation              UNDETERMINED
       2101 BEL AIR AVE
       SAN JOSE, CA 95128            ACCOUNT NO.: NOT AVAILABLE


3.7781 LEFF, ELAINE                              VARIOUS                              Litigation              UNDETERMINED
       630 COVINGTON ROAD
       LOS ALTOS, CA 94024           ACCOUNT NO.: NOT AVAILABLE


3.7782 LEFLER, RONALD                            VARIOUS                              Litigation              UNDETERMINED
       107 BURNS CT
       PLEASANT HILL, CA 94523       ACCOUNT NO.: NOT AVAILABLE


3.7783 LEFT ROMERO, CRAIG                        VARIOUS                              Litigation              UNDETERMINED
       PO BOX 4531
       SANTA ROSA, CA 95402          ACCOUNT NO.: NOT AVAILABLE


3.7784 LEGNON, ELEANOR                           VARIOUS                              Litigation              UNDETERMINED
       2274 ORLANDO DR.
       SAN JOSE, CA 95122            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                           Claim

Litigation & Disputes

3.7785 LEGORRETA, ERIN                           VARIOUS                              Litigation              UNDETERMINED
       24 CLAREMONT ST
       WATSONVILLE, CA 95076            ACCOUNT NO.: NOT AVAILABLE


3.7786 LEHMAN, BRUCE                             VARIOUS                              Litigation              UNDETERMINED
       1230 MCCANN CT
       CONCORD, CA 94518                ACCOUNT NO.: NOT AVAILABLE


3.7787 LEHMAN, KATHRYN                           VARIOUS                              Litigation              UNDETERMINED
       10333 NEWTON ROAD
       NEVADA CITY, CA 95959            ACCOUNT NO.: NOT AVAILABLE


3.7788 LEHMAN, RICHARD                           VARIOUS                              Litigation              UNDETERMINED
       155 GRANADA STREET
       33181 CASCADE HEIGHTS            ACCOUNT NO.: NOT AVAILABLE
       CAMRILLO, CA


3.7789 LEHMAN, RICHARD                           VARIOUS                              Litigation              UNDETERMINED
       4100 FOLSOM BLVD 7B
       SACRAMENTO, CA 95819             ACCOUNT NO.: NOT AVAILABLE


3.7790 LEHNERT, ALEXANDRA                        VARIOUS                              Litigation              UNDETERMINED
       1371 E FOXHILL DRIVE, APT #261
       FRESNO, CA 93720                 ACCOUNT NO.: NOT AVAILABLE


3.7791 LEHTO, LINDA                              VARIOUS                              Litigation              UNDETERMINED
       27 ROCCA DR.
       PETALUMA, CA 94952-2207          ACCOUNT NO.: NOT AVAILABLE


3.7792 LEI, KYLE                                 VARIOUS                              Litigation              UNDETERMINED
       WEST SIDE OF PARK ST., NEAR
       CHERRYWOOD AVE., SAN             ACCOUNT NO.: NOT AVAILABLE
       LEANDRO, CA. 94577
       835 E. 14TH ST.,
       SAN LEANDRO, CA 94577


3.7793 LEI, YAN RUI                              VARIOUS                              Litigation              UNDETERMINED
       801 FRANKLIN ST APT 208
       OAKLAND, CA 94607                ACCOUNT NO.: NOT AVAILABLE


3.7794 LEIBOVSKY, VLADIMIR                       VARIOUS                              Litigation              UNDETERMINED
       511 LOMA ALTA RD
       CARMEL, CA 93923                 ACCOUNT NO.: NOT AVAILABLE


3.7795 LEIDIGH, JAMES & PATRICIA                 VARIOUS                              Litigation              UNDETERMINED
       9845 SPYGLASS CIRCLE
       5582 HEMLOCK DRIVE               ACCOUNT NO.: NOT AVAILABLE
       SODA SPRINGS, CA 95728


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Including Zip Code                           Account Number                             Claim

Litigation & Disputes

3.7796 LEIGH, JENEVA                             VARIOUS                              Litigation              UNDETERMINED
       198 MAUREEN CIRCLE
       BAY POINT, CA 94565            ACCOUNT NO.: NOT AVAILABLE


3.7797 LEIPSIC, DAVID                            VARIOUS                              Litigation              UNDETERMINED
       139 DU BOIS
       SAN RAFAEL, CA 94901           ACCOUNT NO.: NOT AVAILABLE


3.7798 LEISA ASKEW                               VARIOUS                              Litigation              UNDETERMINED
       ELINOR LEARY DAVID WINNETT
       711 VAN NESS AVE               ACCOUNT NO.: NOT AVAILABLE
       SUITE 220
       SAN FRANCISCO, CA 94102


3.7799 LEISER, NATHAN                            VARIOUS                              Litigation              UNDETERMINED
       1262 HEAVENLY DR
       MARTINEZ, CA 94553             ACCOUNT NO.: NOT AVAILABLE


3.7800 LEISURE HOTEL GROUP, LLC-                 VARIOUS                              Litigation              UNDETERMINED
       TUMBER, DALJIT
       1050 BURNETT AVE               ACCOUNT NO.: NOT AVAILABLE
       CONCORD, CA 94520


3.7801 LEJAY, DIANE                              VARIOUS                              Litigation              UNDETERMINED
       3811 LAKESHORE DR. APT. C107
       RICHMOND, CA 94806             ACCOUNT NO.: NOT AVAILABLE


3.7802 LEMEN, LYLE & JULIE                       VARIOUS                              Litigation              UNDETERMINED
       630 VENICE RD.
       TEMPLETON, CA 93465            ACCOUNT NO.: NOT AVAILABLE


3.7803 LEMKE, ILSE                               VARIOUS                              Litigation              UNDETERMINED
       21 PRIVATEER DR
       CORTE MADERA, CA 94925         ACCOUNT NO.: NOT AVAILABLE


3.7804 LEMLEY, MICHELLE                          VARIOUS                              Litigation              UNDETERMINED
       9178 RIVERWOOD DR.
       PLACERVILLE, CA 95667          ACCOUNT NO.: NOT AVAILABLE


3.7805 LEMMELET, ROBERT                          VARIOUS                              Litigation              UNDETERMINED
       14850 AUSTIN RD
       CLEARLAKE, CA 95422            ACCOUNT NO.: NOT AVAILABLE


3.7806 LEMON, JOSEPHINE                          VARIOUS                              Litigation              UNDETERMINED
       3354 MELODYE COURT
       RESCUE, CA 95672               ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                              Account Number                           Claim

Litigation & Disputes

3.7807 LEMOS, MARY ANNE                           VARIOUS                              Litigation              UNDETERMINED
       328 KINLOCK COURT
       STOCKTON, CA 95210                ACCOUNT NO.: NOT AVAILABLE


3.7808 LEMOSSILVA, MARY ANN                       VARIOUS                              Litigation              UNDETERMINED
       16859 TRAIN STATION COURT
       LATHROP, CA 95330                 ACCOUNT NO.: NOT AVAILABLE


3.7809 LEMSTRA CATTLE CO.-                        VARIOUS                              Litigation              UNDETERMINED
       LEMSTRA, DAVID
       20803 RD . 28                     ACCOUNT NO.: NOT AVAILABLE
       TULARE, CA 93274


3.7810 LEMURIA RISING-PORTER,                     VARIOUS                              Litigation              UNDETERMINED
       STARR
       611 RIDGE ROAD                    ACCOUNT NO.: NOT AVAILABLE
       BELVEDERE TIBURON, CA 94920


3.7811 LENARD S. ZIPPERIAN and                    VARIOUS                              Litigation              UNDETERMINED
       JUDITH M. ZIPPERIAN, as
       husband and wife; LENARD S.       ACCOUNT NO.: NOT AVAILABLE
       ZIPPERIAN as Trustee of the
       "SHAMROCK RANCH TRUST
       AGREEMENT AND
       DECLARATION OF TRUST,
       DATED APRIL 1, 1968", 1990
       THIRD STREET ASSOCIATES, a
       California partnership; ALPEN
       VENTURES,
       Weintraub Tobin Chediak Coleman
       Grodin Law Corporation


3.7812 LENFERT, DOLRES                            VARIOUS                              Litigation              UNDETERMINED
       35535 CABRAL DR
       FREMONT, CA 94536                 ACCOUNT NO.: NOT AVAILABLE


3.7813 LENHART, GEORGE                            VARIOUS                              Litigation              UNDETERMINED
       16 ARROYO DR
       MORAGA, CA 94556-1203             ACCOUNT NO.: NOT AVAILABLE


3.7814 LENHART, GERALD & COLEEN                   VARIOUS                              Litigation              UNDETERMINED
       121 PLEASANT PLACE
       ANTIOCH, CA 94509                 ACCOUNT NO.: NOT AVAILABLE


3.7815 LENKERT, ERIKA                             VARIOUS                              Litigation              UNDETERMINED
       836 FLAXBERRY LN
       SAN RAFAEL, CA 94903              ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.7816 LENNON, MICHAEL                          VARIOUS                              Litigation              UNDETERMINED
       1006 WASHINGTON ST.
       CALISTOGA, CA 94515          ACCOUNT NO.: NOT AVAILABLE


3.7817 LEO MICHEL & SONS, JERRY                 VARIOUS                              Litigation              UNDETERMINED
       MICHEL
       1155 LEE ROAD                ACCOUNT NO.: NOT AVAILABLE
       EAST HWY 70 SOUTH MARCUM
       ROAD
       NICOLAUS, CA 95659


3.7818 LEO, JENNIE                              VARIOUS                              Litigation              UNDETERMINED
       1304 CARDOSO AVE,
       CORCORAN, CA 93212           ACCOUNT NO.: NOT AVAILABLE


3.7819 LEON- SOLIZ, MARIA                       VARIOUS                              Litigation              UNDETERMINED
       920 SALINAS ROAD
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.7820 LEON, ABELARDO                           VARIOUS                              Litigation              UNDETERMINED
       2188 BRUTUS STREET
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.7821 LEON, ADRIANA                            VARIOUS                              Litigation              UNDETERMINED
       378 MADRID ST.
       SAN FRANCISCO, CA 94112      ACCOUNT NO.: NOT AVAILABLE


3.7822 LEON, ANGELICA                           VARIOUS                              Litigation              UNDETERMINED
       403 OCCIDENTAL COURT
       MERCED, CA 95348             ACCOUNT NO.: NOT AVAILABLE


3.7823 LEON, GLORIA                             VARIOUS                              Litigation              UNDETERMINED
       235 FRANKFORT STREET
       DALY CITY, CA 94014          ACCOUNT NO.: NOT AVAILABLE


3.7824 LEON, JEFFREY                            VARIOUS                              Litigation              UNDETERMINED
       4 SKYLAND WAY
       P.O. BOX 1163                ACCOUNT NO.: NOT AVAILABLE
       ROSS, CA 94957


3.7825 LEON, ROSALINA                           VARIOUS                              Litigation              UNDETERMINED
       13800 BYRON HWY
       BYRON, CA 94514              ACCOUNT NO.: NOT AVAILABLE


3.7826 LEONARD, JULIA                           VARIOUS                              Litigation              UNDETERMINED
       3330 DEL MONTE BOULEVARD
       MARINA, CA 93933             ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.7827 LEONARD, LAWRENCE                        VARIOUS                              Litigation              UNDETERMINED
       20702 KEELEY DRIVE
       SONORA, CA 95370             ACCOUNT NO.: NOT AVAILABLE


3.7828 LEONARDINI FAMILY WINERY                 VARIOUS                              Litigation              UNDETERMINED
       LLC-LEONARDINI, THOMAS
       1563 ST HELENA HWY           ACCOUNT NO.: NOT AVAILABLE
       ST HELENA, CA 94574


3.7829 LEONARDO'S CASE WORK &                   VARIOUS                              Litigation              UNDETERMINED
       DESIGN-LEONARDO, WILLIAM
       2975 DUTTON AVE STE E        ACCOUNT NO.: NOT AVAILABLE
       SANTA ROSA, CA 95407


3.7830 LEONG, TONY                              VARIOUS                              Litigation              UNDETERMINED
       6573 DE VILLE WAY
       SAN JOSE, CA 95129           ACCOUNT NO.: NOT AVAILABLE


3.7831 LEONOR, MOISES                           VARIOUS                              Litigation              UNDETERMINED
       5 STENDER AVE
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.7832 LEOS, OTELA                              VARIOUS                              Litigation              UNDETERMINED
       PO BOX 4749
       4575 SUBURBAN RD             ACCOUNT NO.: NOT AVAILABLE
       STOCKTON, CA 95204


3.7833 LEOTTA, SEBASTIAN                        VARIOUS                              Litigation              UNDETERMINED
       1 MANDALAY PLACE
       SO SAN FRANCISCO, CA 94080   ACCOUNT NO.: NOT AVAILABLE


3.7834 LEPE, GABRIEL                            VARIOUS                              Litigation              UNDETERMINED
       571 STRAWBERRY CANYON
       ROAD                         ACCOUNT NO.: NOT AVAILABLE
       ROYAL OAKS, CA 95076


3.7835 LEPES FOODS-KAUFMANN,                    VARIOUS                              Litigation              UNDETERMINED
       JULIE - CENTURY INSURANCE
       3659 STANDISH AVE            ACCOUNT NO.: NOT AVAILABLE
       SANTA ROSA, CA 95407


3.7836 LEPPER, RON                              VARIOUS                              Litigation              UNDETERMINED
       18078 STONEHAVEN
       SALINAS, CA 93908            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.7837 LERMA, PAUL                                VARIOUS                              Litigation              UNDETERMINED
       LAW OFFICES OF CORREN &
       CORREN                         ACCOUNT NO.: NOT AVAILABLE
       5345 N. EL DORADO, SUITE 7
       STOCKTON, CA 95207


3.7838 LERMA, RAY                                 VARIOUS                              Litigation              UNDETERMINED
       1539 PARTRIDGE ST.
       SALINAS, CA 93905              ACCOUNT NO.: NOT AVAILABLE


3.7839 LEROHL, MAGDELENA                          VARIOUS                              Litigation              UNDETERMINED
       1101 GRAND TETON DRIVE
       PACIFICA, CA 94044             ACCOUNT NO.: NOT AVAILABLE


3.7840 LEROUX(MINOR) V PG&E, ET                   VARIOUS                              Litigation              UNDETERMINED
       AL., BRADLEY LIGGETT, ESQ.
       1025 FARMHOUSE LANE            ACCOUNT NO.: NOT AVAILABLE
       2ND FLOOR
       SAN LUIS OBISPO, CA 93401


3.7841 LEROY A. VINCENT, ESTATE OF                VARIOUS                              Litigation              UNDETERMINED
       2659 GARDEN AVENUE
       TODD DRASKOVICH                ACCOUNT NO.: NOT AVAILABLE
       CORCORD, CA 94520


3.7842 LES CLOS-BRIGHT, MARK                      VARIOUS                              Litigation              UNDETERMINED
       234 TOWNSEND STREET
       SAN FRANCISCO, CA 94107        ACCOUNT NO.: NOT AVAILABLE


3.7843 LESKY, SHAWN                               VARIOUS                              Litigation              UNDETERMINED
       401 NEVADA ST
       VALLEJO, CA 94590              ACCOUNT NO.: NOT AVAILABLE


3.7844 LESLIE POORTMAN, AIMS FOR                  VARIOUS                              Litigation              UNDETERMINED
       CITY OF SAUSALITO
       PO BOX 269120                  ACCOUNT NO.: NOT AVAILABLE
       ATTN. TRESA WICKLIFFE
       SACRAMENTO, CA 95826


3.7845 LESLIE, BRAD                               VARIOUS                              Litigation              UNDETERMINED
       18949 VILLA DRIVE #113
       SONORA, CA 95370               ACCOUNT NO.: NOT AVAILABLE


3.7846 LESLIE, CHERAL                             VARIOUS                              Litigation              UNDETERMINED
       P.O BOX 2061
       2909 HUNTINGTON #108,          ACCOUNT NO.: NOT AVAILABLE
       FRESNO
       CASTRO VALLEY, CA 94546



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Litigation & Disputes

3.7847 LESSLEY, CATRINA                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 16
       POLLOCK PINES, CA 95726      ACCOUNT NO.: NOT AVAILABLE


3.7848 LETAP GROUP INC, SUBWAY                  VARIOUS                              Litigation              UNDETERMINED
       62564
       PO BOX 640900                ACCOUNT NO.: NOT AVAILABLE
       ATTN: CHIROYU PATEL
       SAN FRANCISCO, CA 94164


3.7849 LETO, MYRA                               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 23712
       OAKLAND, CA 94623            ACCOUNT NO.: NOT AVAILABLE


3.7850 LETSCH, MARY                             VARIOUS                              Litigation              UNDETERMINED
       63 STONETREE LN
       NOVATO, CA 94945             ACCOUNT NO.: NOT AVAILABLE


3.7851 LETTIERE, LE ROY                         VARIOUS                              Litigation              UNDETERMINED
       6832 TUSTIN RD
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.7852 LEU, TOMMY                               VARIOUS                              Litigation              UNDETERMINED
       3781 MADERA WAY
       SAN BRUNO, CA 94066          ACCOUNT NO.: NOT AVAILABLE


3.7853 LEUNG, EMILY                             VARIOUS                              Litigation              UNDETERMINED
       1220 TUOLUMNE RD
       MILLBRAE, CA 94030           ACCOUNT NO.: NOT AVAILABLE


3.7854 LEUNG, FRANCIS                           VARIOUS                              Litigation              UNDETERMINED
       3102 ERLA WAY
       RICHMOND, CA 94806           ACCOUNT NO.: NOT AVAILABLE


3.7855 LEUNG, TOM                               VARIOUS                              Litigation              UNDETERMINED
       5398 BLAIRMORE PLACE
       DUBLIN, CA 94568             ACCOUNT NO.: NOT AVAILABLE


3.7856 LEUNG, WAI                               VARIOUS                              Litigation              UNDETERMINED
       562 41TH AVENUE
       SAN FRANCISCO, CA 94121      ACCOUNT NO.: NOT AVAILABLE


3.7857 LEUNG, WAI LUN                           VARIOUS                              Litigation              UNDETERMINED
       53 LONGVIEW DRIVE
       DALY CITY, CA 94015          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.7858 LEUTZA, JEANNE                           VARIOUS                              Litigation              UNDETERMINED
       460 LAGO LANE
       SANTA CRUZ, CA 95062         ACCOUNT NO.: NOT AVAILABLE


3.7859 LEVADA, MICHELE                          VARIOUS                              Litigation              UNDETERMINED
       4852 SOUTH PT
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.7860 LEVADA, MICHELE                          VARIOUS                              Litigation              UNDETERMINED
       4852 SOUTH POINT
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.7861 LEVANTIAN, NARINE                        VARIOUS                              Litigation              UNDETERMINED
       3060 LONGVIEW DR
       SAN BRUNO, CA 94066          ACCOUNT NO.: NOT AVAILABLE


3.7862 LEVERETT, KELVEN                         VARIOUS                              Litigation              UNDETERMINED
       1551 VIRGINIA AVE.
       WEST SACRAMENTO, CA 95691    ACCOUNT NO.: NOT AVAILABLE


3.7863 LEVI, JERRY                              VARIOUS                              Litigation              UNDETERMINED
       1638 38TH AVE
       SAN FRANCISCO, CA 94122      ACCOUNT NO.: NOT AVAILABLE


3.7864 LEVI, MARIEL                             VARIOUS                              Litigation              UNDETERMINED
       2920 CONGRESS RD
       PEBBLE BEACH, CA 93953       ACCOUNT NO.: NOT AVAILABLE


3.7865 LEVIN, STEVE                             VARIOUS                              Litigation              UNDETERMINED
       51 BROADVIEW DR
       SAN RAFAEL, CA 94901         ACCOUNT NO.: NOT AVAILABLE


3.7866 LEVINE, JOSHUA                           VARIOUS                              Litigation              UNDETERMINED
       6037 SAN PABLO AVE
       OAKLAND, CA                  ACCOUNT NO.: NOT AVAILABLE


3.7867 LEVINE, LISA                             VARIOUS                              Litigation              UNDETERMINED
       14884 DEL ORO DRIVE
       MAGALIA, CA 95954            ACCOUNT NO.: NOT AVAILABLE


3.7868 LEVINSON, DAN                            VARIOUS                              Litigation              UNDETERMINED
       1084 BIRCH AVENUE
       MCKINLEYVILLE, CA 95519      ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.7869 LEWALLEN, MICHELE                        VARIOUS                              Litigation              UNDETERMINED
       8651 WOODLAND HEIGHTS
       COURT                        ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93907


3.7870 LEWELLEN, ROBERT                         VARIOUS                              Litigation              UNDETERMINED
       3237 E INTERNATIONAL AVE
       CLOVIS, CA 93619             ACCOUNT NO.: NOT AVAILABLE


3.7871 LEWENZ, TOM                              VARIOUS                              Litigation              UNDETERMINED
       2022 VILLA DRIVE, APT #207
       PITTSBURG, CA 94565          ACCOUNT NO.: NOT AVAILABLE


3.7872 LEWIS, ANDRE                             VARIOUS                              Litigation              UNDETERMINED
       3088 WEST ASHLAN AVENUE
       110                          ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93722


3.7873 LEWIS, ANDREW                            VARIOUS                              Litigation              UNDETERMINED
       3017 HUGHES CANYON
       BAKERSFIELD, CA 93304        ACCOUNT NO.: NOT AVAILABLE


3.7874 LEWIS, BARBARA SHAPIRO &                 VARIOUS                              Litigation              UNDETERMINED
       MARK
       1055 LASSEN DRIVE            ACCOUNT NO.: NOT AVAILABLE
       MENLO PARK, CA 94025


3.7875 LEWIS, BETTY                             VARIOUS                              Litigation              UNDETERMINED
       846 N DUVALL RD
       TAFT, CA 93268               ACCOUNT NO.: NOT AVAILABLE


3.7876 LEWIS, CHARLES                           VARIOUS                              Litigation              UNDETERMINED
       675 COUNT FLEET CT.
       MORGAN HILL, CA 95037        ACCOUNT NO.: NOT AVAILABLE


3.7877 LEWIS, CHRISTOPHER                       VARIOUS                              Litigation              UNDETERMINED
       11190 KAREN COURT
       SMARTSVILLE, CA 95977        ACCOUNT NO.: NOT AVAILABLE


3.7878 LEWIS, DARREN                            VARIOUS                              Litigation              UNDETERMINED
       1217 13 ST
       WASCO, CA 93280              ACCOUNT NO.: NOT AVAILABLE


3.7879 LEWIS, ELAINE                            VARIOUS                              Litigation              UNDETERMINED
       4247 N. ARCHIE
       FRESNO, CA 93726             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                              Claim

Litigation & Disputes

3.7880 LEWIS, HILARY                              VARIOUS                              Litigation              UNDETERMINED
       5783 EL CAPITAN
       MARIPOSA, CA 95338             ACCOUNT NO.: NOT AVAILABLE


3.7881 LEWIS, JENNIFER G                          VARIOUS                              Litigation              UNDETERMINED
       1537 W VASSAR AVENUE
       FRESNO, CA 93705               ACCOUNT NO.: NOT AVAILABLE


3.7882 LEWIS, JOHN                                VARIOUS                              Litigation              UNDETERMINED
       690 THISTLE HILL DRIVE
       PARADISE, CA 95969             ACCOUNT NO.: NOT AVAILABLE


3.7883 LEWIS, JOHN                                VARIOUS                              Litigation              UNDETERMINED
       18976 LILAC STREET
       WOODBRIDGE, CA 95258           ACCOUNT NO.: NOT AVAILABLE


3.7884 LEWIS, KRISTINA                            VARIOUS                              Litigation              UNDETERMINED
       CA
                                      ACCOUNT NO.: NOT AVAILABLE


3.7885 LEWIS, MATTHEW                             VARIOUS                              Litigation              UNDETERMINED
       TISH TONG ROAD
       HOOPA, CA 95546                ACCOUNT NO.: NOT AVAILABLE


3.7886 LEWIS, MICHAEL V. PG&E                     VARIOUS                              Litigation              UNDETERMINED
       1030 DETROIT AVENUE
       CONCORD, CA 94520              ACCOUNT NO.: NOT AVAILABLE


3.7887 LEWIS, REBECCA                             VARIOUS                              Litigation              UNDETERMINED
       27240 TURNBERRY LANE
       VALENCIA, CA 91355             ACCOUNT NO.: NOT AVAILABLE


3.7888 LEWIS, SANDRA                              VARIOUS                              Litigation              UNDETERMINED
       57 CABRILLO ST
       WATSONVILLE, CA 95076          ACCOUNT NO.: NOT AVAILABLE


3.7889 LEWIS, SETH                                VARIOUS                              Litigation              UNDETERMINED
       531 MAINE ST
       VALLEJO, CA 94590              ACCOUNT NO.: NOT AVAILABLE


3.7890 LEWIS, TED                                 VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1268
       LOWER LAKE, CA 95457           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.7891 LEWIS, TINA                              VARIOUS                              Litigation              UNDETERMINED
       PO BOX 291
       117 COMMUNITY RD HSE 204     ACCOUNT NO.: NOT AVAILABLE
       HOOPA, CA 95546


3.7892 LEWIS, WILLIAM                           VARIOUS                              Litigation              UNDETERMINED
       24024 S BEAR CLOVER COURT
       SONORA, CA 95370             ACCOUNT NO.: NOT AVAILABLE


3.7893 LEWIS, WILLIAM                           VARIOUS                              Litigation              UNDETERMINED
       199 MALET STREET
       SONOMA, CA 95476             ACCOUNT NO.: NOT AVAILABLE


3.7894 LEWIS, WILLIAM                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1483
       3388 17 MILE DRIVE           ACCOUNT NO.: NOT AVAILABLE
       PEBBLE BEACH, CA 93953


3.7895 LEXER, ELAINE                            VARIOUS                              Litigation              UNDETERMINED
       1745 SAN JOSE DRIVE
       ANTIOCH, CA 94509            ACCOUNT NO.: NOT AVAILABLE


3.7896 LEYH INSURANCE AGENCY-                   VARIOUS                              Litigation              UNDETERMINED
       WESSON, LARRY
       331 TRINITY AVE.             ACCOUNT NO.: NOT AVAILABLE
       CHOWCHILLA, CA 93610


3.7897 LEYVA, FERNANDO                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 352
       MOUNTAIN RANCH, CA 95246     ACCOUNT NO.: NOT AVAILABLE


3.7898 LEZNIK, ANNA                             VARIOUS                              Litigation              UNDETERMINED
       21550 MADRONE DRIVE
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.7899 LI, ALICE                                VARIOUS                              Litigation              UNDETERMINED
       6125 OLD QUARRY LOOP
       OAKLAND, CA 94605            ACCOUNT NO.: NOT AVAILABLE


3.7900 LI, BRIAN                                VARIOUS                              Litigation              UNDETERMINED
       160 ALMADEN AVE
       MILPITAS, CA 95035           ACCOUNT NO.: NOT AVAILABLE


3.7901 LI, DINGJUN                              VARIOUS                              Litigation              UNDETERMINED
       685 PALOMINO DRIVE
       PLEASANTON, CA 94566         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.7902 LI, FULI                                  VARIOUS                              Litigation              UNDETERMINED
       1855 SUNSHINE VALLEY RD
       MOSS BEACH, CA 94038          ACCOUNT NO.: NOT AVAILABLE


3.7903 LI, GAVIN                                 VARIOUS                              Litigation              UNDETERMINED
       55 FAIRMOUNT AVE
       112                           ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94611


3.7904 LI, HONGSHEN (ATTY REP)                   VARIOUS                              Litigation              UNDETERMINED
       100 DRAKES LANDING ROAD,
       SUITE 160                     ACCOUNT NO.: NOT AVAILABLE
       GREENBRAE, CA 94904


3.7905 LI, MING                                  VARIOUS                              Litigation              UNDETERMINED
       15500 QUAIL RUN CT
       SARATOGA, CA 95070            ACCOUNT NO.: NOT AVAILABLE


3.7906 LI, SHERWIN                               VARIOUS                              Litigation              UNDETERMINED
       780 SEA SPRAY LANE
       113                           ACCOUNT NO.: NOT AVAILABLE
       FOSTER CITY, CA 94404


3.7907 LI, WENYING                               VARIOUS                              Litigation              UNDETERMINED
       159 BRIGHTON AVE
       SAN FRANCISCO, CA 94112       ACCOUNT NO.: NOT AVAILABLE


3.7908 LI, WENYING                               VARIOUS                              Litigation              UNDETERMINED
       159 BRIGHTON AVE
       SAN FRANCISCO, CA 94112       ACCOUNT NO.: NOT AVAILABLE


3.7909 LI, YIYANG                                VARIOUS                              Litigation              UNDETERMINED
       37590 SHELTER ROAD
       NEWARK, CA 94560              ACCOUNT NO.: NOT AVAILABLE


3.7910 LI, ZI QI                                 VARIOUS                              Litigation              UNDETERMINED
       10 CANYON DRIVE
       SAN FRANCISCO, CA 94112       ACCOUNT NO.: NOT AVAILABLE


3.7911 LIANA, IRENE                              VARIOUS                              Litigation              UNDETERMINED
       1021 HEWITT DRIVE
       SAN CARLOS, CA 94070          ACCOUNT NO.: NOT AVAILABLE


3.7912 LIANG, BENJAMIN                           VARIOUS                              Litigation              UNDETERMINED
       903 MARTIN LUTHER KING JR.
       WAY                           ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94607



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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.7913 LIANG, CINDY                             VARIOUS                              Litigation              UNDETERMINED
       4302 REDWOOD HWY
       STE. 300                     ACCOUNT NO.: NOT AVAILABLE
       SAN RAFAEL, CA 94903


3.7914 LIANG, KELVIN                            VARIOUS                              Litigation              UNDETERMINED
       75 PACIFICO AVE
       DALY CITY, CA 94015          ACCOUNT NO.: NOT AVAILABLE


3.7915 LIANG, QI                                VARIOUS                              Litigation              UNDETERMINED
       175 DE SOTO STREET
       SAN FRANCISCO, CA 94127      ACCOUNT NO.: NOT AVAILABLE


3.7916 LIANIDES, JAMES                          VARIOUS                              Litigation              UNDETERMINED
       941 GLENNAN DRIVE
       REDWOOD CITY, CA 94061       ACCOUNT NO.: NOT AVAILABLE


3.7917 LIBAIRE, BEVERLY                         VARIOUS                              Litigation              UNDETERMINED
       1829 SAN RAMON AVE
       BERKELEY, CA 94707           ACCOUNT NO.: NOT AVAILABLE


3.7918 LIBARDO, CYNTHIA                         VARIOUS                              Litigation              UNDETERMINED
       1185 MONROE STREET #74
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.7919 LIBERATO, MELINDA & ALBERT               VARIOUS                              Litigation              UNDETERMINED
       840 LA CONTENTA DRIVE
       VALLEY SPRINGS, CA 95252     ACCOUNT NO.: NOT AVAILABLE


3.7920 LIBERMAN, ERIC                           VARIOUS                              Litigation              UNDETERMINED
       15 ROCKLYN CT
       20602 LONGRIDGE              ACCOUNT NO.: NOT AVAILABLE
       CORTE MADERA, CA 94925


3.7921 LIBERTY MUTUAL                           VARIOUS                              Litigation              UNDETERMINED
       5050 TILGHMAN STREET SUITE
       200                          ACCOUNT NO.: NOT AVAILABLE
       6049 N WILSON AVE, FRESNO
       ALLENTOWN, CA 18104


3.7922 LIBERTY MUTUAL INSURANCE                 VARIOUS                              Litigation              UNDETERMINED
       PO BOX 7214
       LONDON, CA                   ACCOUNT NO.: NOT AVAILABLE


3.7923 LIBERTY MUTUAL INSURANCE                 VARIOUS                              Litigation              UNDETERMINED
       PO BOX 9102
       WESTON, CA 02493             ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.7924 LIBERTY MUTUAL INSURANCE                 VARIOUS                              Litigation              UNDETERMINED
       COMPANY
       PO BOX 2397                   ACCOUNT NO.: NOT AVAILABLE
       PORTLAND, CA 97208


3.7925 LIBERTY MUTUAL INSURANCE,                VARIOUS                              Litigation              UNDETERMINED
       KRISTINA'S NATURAL MARKET
       PO BOX 9102                   ACCOUNT NO.: NOT AVAILABLE
       761 E BARSTOW AVENUE
       WESTON, CA 02493


3.7926 LIBERTY MUTUAL INSURANCE-                VARIOUS                              Litigation              UNDETERMINED
       SKEELE, ASHLEY
       PO BOX 515097                 ACCOUNT NO.: NOT AVAILABLE
       LOS ANGELES, CA 90051


3.7927 LIBERTY MUTUAL, FOR                      VARIOUS                              Litigation              UNDETERMINED
       BUCKHORNS STEAK AND
       ROADHOUSE                     ACCOUNT NO.: NOT AVAILABLE
       2 MAIN STREET
       WINTERS, CA


3.7928 LIBERTY MUTUAL, MATLACK                  VARIOUS                              Litigation              UNDETERMINED
       5050 W. TILGHMAN ST
       STE 200                       ACCOUNT NO.: NOT AVAILABLE
       ALLENTOWN, CA 18104


3.7929 LIBERTY MUTUAL/, JACLYN                  VARIOUS                              Litigation              UNDETERMINED
       GORDILLO
       PO BOX 515097                 ACCOUNT NO.: NOT AVAILABLE
       LOS ANGELES, CA 90051


3.7930 LIBERTY VALLEY DOORS, INC.-              VARIOUS                              Litigation              UNDETERMINED
       QUAYLE, CHRIS
       6005 GRAVENSTEIN HWY.         ACCOUNT NO.: NOT AVAILABLE
       COTATI, CA 94931


3.7931 LICHTI, THEODORE                         VARIOUS                              Litigation              UNDETERMINED
       21170 HWY 36
       CARLOTTA, CA 95528            ACCOUNT NO.: NOT AVAILABLE


3.7932 LIEBE, LOREE                             VARIOUS                              Litigation              UNDETERMINED
       4827 BARTON RD.
       LOOMIS, CA 95650              ACCOUNT NO.: NOT AVAILABLE


3.7933 LIEBERT, DREW                            VARIOUS                              Litigation              UNDETERMINED
       3572 TAYLOR ROAD
       CARMEL, CA 93923              ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.7934 LIEDLE, STANLEY                          VARIOUS                              Litigation              UNDETERMINED
       1475 TRADEWIND DR.
       YUBA CITY, CA 95991            ACCOUNT NO.: NOT AVAILABLE


3.7935 LIEN, ALEX                               VARIOUS                              Litigation              UNDETERMINED
       1138 CABALLO CT
       SAN JOSE, CA 95132             ACCOUNT NO.: NOT AVAILABLE


3.7936 LIFEPOINTS CHURCH-LYTLE, IAN         VARIOUS                                  Litigation              UNDETERMINED
       7736 SUNSET AVE
       FAIR OAKS, CA 95628          ACCOUNT NO.: NOT AVAILABLE


3.7937 LIGHTFOOT, JAN                           VARIOUS                              Litigation              UNDETERMINED
       6672 DUSTY TRL
       VACAVILLE, CA 95688            ACCOUNT NO.: NOT AVAILABLE


3.7938 LIGHTFOOT, KIM                           VARIOUS                              Litigation              UNDETERMINED
       12345 HYDE PARK LN.
       AUBURN, CA                     ACCOUNT NO.: NOT AVAILABLE


3.7939 LIGHTFOOT, PERRY & GLENDA                VARIOUS                              Litigation              UNDETERMINED
       180 MARLOW DR.
       OAKLAND, CA 94605              ACCOUNT NO.: NOT AVAILABLE


3.7940 LIGHTFOOT, RALPH                         VARIOUS                              Litigation              UNDETERMINED
       6670 DUSTY TRL
       VACAVILLE, CA 95688            ACCOUNT NO.: NOT AVAILABLE


3.7941 LIGHTHOUSE INN-YOUNG, BRIAN         VARIOUS                                   Litigation              UNDETERMINED
       PO BOX 2298
       MCKINLEYVILLE, CA 95519     ACCOUNT NO.: NOT AVAILABLE


3.7942 LIGURIA BAKERY-SORACCO,                  VARIOUS                              Litigation              UNDETERMINED
       MIKE
       1700 STOCKTON ST               ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94133


3.7943 LILIAN/ATTY REP, NANCY                   VARIOUS                              Litigation              UNDETERMINED
       2950 BUSKIRK AVENUE, STE 300
       WALNUT CREEK, CA 94597         ACCOUNT NO.: NOT AVAILABLE


3.7944 LILLARD, RAY                             VARIOUS                              Litigation              UNDETERMINED
       4425 CLIPPER DRIVE
       DISCOVERY BAY, CA 94505        ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.7945 LILY H SIU, DMD                          VARIOUS                              Litigation              UNDETERMINED
       PROFESSIONAL CORP
       380 WEST PORTAL AVENUE         ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94127


3.7946 LIM, ERVAN                               VARIOUS                              Litigation              UNDETERMINED
       845 MARKET STREET, SUITE 480
       SAN FRANCISCO, CA 94103        ACCOUNT NO.: NOT AVAILABLE


3.7947 LIM, JIAJUN                              VARIOUS                              Litigation              UNDETERMINED
       201 VALENCIA DR
       MILLBRAE, CA 94030             ACCOUNT NO.: NOT AVAILABLE


3.7948 LIMA, JOSE                               VARIOUS                              Litigation              UNDETERMINED
       2520 FOLSOM ST
       SAN FRANCISCO, CA 94110        ACCOUNT NO.: NOT AVAILABLE


3.7949 LIMA, PATRICIA                      VARIOUS                                   Litigation              UNDETERMINED
       1561 ROSE ANNA DR
       18540 HARPER RD., GROVELAND ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95118


3.7950 LIMON, VALENTINA                         VARIOUS                              Litigation              UNDETERMINED
       6961 HEATON MOOR DR.
       SAN JOSE, CA 95119             ACCOUNT NO.: NOT AVAILABLE


3.7951 LIN, AARON                               VARIOUS                              Litigation              UNDETERMINED
       3025 DUBLIN DR
       SOUTH SAN FRANCISCO, CA        ACCOUNT NO.: NOT AVAILABLE
       94080


3.7952 LIN, ALEC                                VARIOUS                              Litigation              UNDETERMINED
       3779 ACAPULCO DR
       CAMPBELL, CA 95008             ACCOUNT NO.: NOT AVAILABLE


3.7953 LIN, HUIHUI                              VARIOUS                              Litigation              UNDETERMINED
       35 OLD ORCHARD ROAD
       LOS GATOS, CA 95033            ACCOUNT NO.: NOT AVAILABLE


3.7954 LIN, ISAAC                               VARIOUS                              Litigation              UNDETERMINED
       373 SO. MONROE ST., SR 303
       SAN JOSE, CA 95128             ACCOUNT NO.: NOT AVAILABLE


3.7955 LIN, MICHAEL                             VARIOUS                              Litigation              UNDETERMINED
       6826 WESTMOOR WAY
       SAN JOSE, CA 95129             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.7956 LIN, QUN & NANCY                         VARIOUS                              Litigation              UNDETERMINED
       1243 47TH AVENUE
       SAN FRANCISCO, CA 94122      ACCOUNT NO.: NOT AVAILABLE


3.7957 LIN, VICTOR                              VARIOUS                              Litigation              UNDETERMINED
       488 SAN MATEO AVE
       SAN BRUNO, CA 94066          ACCOUNT NO.: NOT AVAILABLE


3.7958 LIN, WEN                                 VARIOUS                              Litigation              UNDETERMINED
       2159 106TH AVE
       OAKLAND, CA 94603            ACCOUNT NO.: NOT AVAILABLE


3.7959 LIN, WENDY                               VARIOUS                              Litigation              UNDETERMINED
       4399 INGOT ST.
       FREMONT, CA 94538            ACCOUNT NO.: NOT AVAILABLE


3.7960 LIN, YING PU                             VARIOUS                              Litigation              UNDETERMINED
       3521 ASHBOURNE CIRCLE
       SAN RAMON, CA 94583          ACCOUNT NO.: NOT AVAILABLE


3.7961 LIN, YING PU                             VARIOUS                              Litigation              UNDETERMINED
       3521 ASHBOURNE CIRCLE
       SAN RAMON, CA 94583          ACCOUNT NO.: NOT AVAILABLE


3.7962 LINCKS, KEVIN                            VARIOUS                              Litigation              UNDETERMINED
       6246 ASCOT DRIVE
       OAKLAND, CA 94611            ACCOUNT NO.: NOT AVAILABLE


3.7963 LINCOLN HILLS GOLF CLUB-                 VARIOUS                              Litigation              UNDETERMINED
       WOLF, JASON
       1405 E JOINER PKWY           ACCOUNT NO.: NOT AVAILABLE
       LINCOLN, CA 95678


3.7964 LIND, DAVID                              VARIOUS                              Litigation              UNDETERMINED
       4258 W SARGENT RD
       LODI, CA 95242               ACCOUNT NO.: NOT AVAILABLE


3.7965 LIND, KATIE                              VARIOUS                              Litigation              UNDETERMINED
       22456 RHINE RIVER DR
       SONORA, CA 95386             ACCOUNT NO.: NOT AVAILABLE


3.7966 LIND, ROBERT                             VARIOUS                              Litigation              UNDETERMINED
       18 BUENA VISTA TER
       SAN FRANCISCO, CA 94117      ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.7967 LINDA BOUTIQUE-LEE, SELENA               VARIOUS                              Litigation              UNDETERMINED
       157 MARIPOSA AVE
       DALY CITY, CA 94015           ACCOUNT NO.: NOT AVAILABLE


3.7968 LINDA CHURCH OF CHRIST,                  VARIOUS                              Litigation              UNDETERMINED
       FOSTER, STEVE
       1470 SARTORI AVE              ACCOUNT NO.: NOT AVAILABLE
       MARYSVILLE, CA 95901


3.7969 LINDAHL, HOLLI                           VARIOUS                              Litigation              UNDETERMINED
       612 DOUGLAS ST APT C
       BAKERSFIELD, CA 93308         ACCOUNT NO.: NOT AVAILABLE


3.7970 LINDBERG, STEVE                          VARIOUS                              Litigation              UNDETERMINED
       1711 MISSION DR .
       SOLVANG, CA 93463             ACCOUNT NO.: NOT AVAILABLE


3.7971 LINDER, BETSY                            VARIOUS                              Litigation              UNDETERMINED
       2140 PACIFIC AVE APT 401
       SAN FRANCISCO, CA 94115       ACCOUNT NO.: NOT AVAILABLE


3.7972 LINDER, KATHERINE                        VARIOUS                              Litigation              UNDETERMINED
       1874 DOAK BLVD
       RIPON, CA 95366               ACCOUNT NO.: NOT AVAILABLE


3.7973 LINDHEIMER, CLAUDIA                      VARIOUS                              Litigation              UNDETERMINED
       2113 NEW LONG VALLEY ROAD
       CLEARLAKE OAKS, CA 95423      ACCOUNT NO.: NOT AVAILABLE


3.7974 LINDQUIST, LOUISA                        VARIOUS                              Litigation              UNDETERMINED
       1031 LA VIDA LN
       ARROYO GRANDE, CA, CA 93420   ACCOUNT NO.: NOT AVAILABLE


3.7975 LINDSEY, JOSEPH                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 112
       MOSS BEACH, CA 94038          ACCOUNT NO.: NOT AVAILABLE


3.7976 LINDSEY, JOSEPH                          VARIOUS                              Litigation              UNDETERMINED
       1498 O'CONNER WAY
       SAN LUIS OBISPO, CA 93405     ACCOUNT NO.: NOT AVAILABLE


3.7977 LING, JOHN                               VARIOUS                              Litigation              UNDETERMINED
       4493 JUNEBERRY CT
       CONCORD, CA 94521             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.7978 LINGENFELTER, ASHTIN                     VARIOUS                              Litigation              UNDETERMINED
       141 W JORDAN AVE
       CLOVIS, CA 93611                ACCOUNT NO.: NOT AVAILABLE


3.7979 LINK, JUSTIN                             VARIOUS                              Litigation              UNDETERMINED
       1825 PETALUMA BLVD NORTH B
       PETALUMA, CA 94952              ACCOUNT NO.: NOT AVAILABLE


3.7980 LINS OIL INC DBA FIRST STREET            VARIOUS                              Litigation              UNDETERMINED
       SHELL-LIN WONG, YUSEN
       4212 FIRST STREET               ACCOUNT NO.: NOT AVAILABLE
       PLEASANTON, CA 94566


3.7981 LINSKY, JEANNENE                         VARIOUS                              Litigation              UNDETERMINED
       3107 LINDEN AVENUE
       BAKERSFIELD, CA 93305           ACCOUNT NO.: NOT AVAILABLE


3.7982 LINTON, DAN                              VARIOUS                              Litigation              UNDETERMINED
       13988 ARROWHEAD ROAD
       CLEARLAKE, CA 95422             ACCOUNT NO.: NOT AVAILABLE


3.7983 LINTON, DONNA                            VARIOUS                              Litigation              UNDETERMINED
       7050 SAYRE DRIVE
       OAKLAND, CA 94611               ACCOUNT NO.: NOT AVAILABLE


3.7984 LIONGOSARI, SUITY                        VARIOUS                              Litigation              UNDETERMINED
       234 WILDWOOD WAY
       SALINAS, CA 93908               ACCOUNT NO.: NOT AVAILABLE


3.7985 LIPE, WALTER                             VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 101
       GLENCOE, CA 95232               ACCOUNT NO.: NOT AVAILABLE


3.7986 LIPPOLD, STEPHANIE                       VARIOUS                              Litigation              UNDETERMINED
       1209 IOWA AVE
       LOS BANOS, CA 93635             ACCOUNT NO.: NOT AVAILABLE


3.7987 LIPPOLIS, RUTH                           VARIOUS                              Litigation              UNDETERMINED
       355 TOBIN AVE
       ANGWIN , CA 94508               ACCOUNT NO.: NOT AVAILABLE


3.7988 LIPSCOMB, WILMER & YVONNE                VARIOUS                              Litigation              UNDETERMINED
       P. O BOX 938
       9480 SABINI STREET              ACCOUNT NO.: NOT AVAILABLE
       UPPER LAKE, CA 95485




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.7989 LIPSKY, HANNAH                           VARIOUS                              Litigation              UNDETERMINED
       2925 EL MONTE AVE
       OAKLAND, CA 94605             ACCOUNT NO.: NOT AVAILABLE


3.7990 LIPSKY, RENEE                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 30201
       OAKLAND, CA 94624             ACCOUNT NO.: NOT AVAILABLE


3.7991 LIPTROT, JOHN                            VARIOUS                              Litigation              UNDETERMINED
       BRAYTON PURCELL, LLP
       225 RUSH LANDING ROAD, P.O    ACCOUNT NO.: NOT AVAILABLE
       BOX 6169
       NOVATO, CA 94949-6169


3.7992 LISA LARRATT-STOPPOLONI,                 VARIOUS                              Litigation              UNDETERMINED
       SANDRA
       2 TIARA COURT                 ACCOUNT NO.: NOT AVAILABLE
       BURLINGAME, CA 94010


3.7993 LISETSKI AND STOLYARCHUK,                VARIOUS                              Litigation              UNDETERMINED
       PAUL & LANA
       JANG & ASSOC.,LLP; ATTN       ACCOUNT NO.: NOT AVAILABLE
       SALLY NOMA
       1766 LACASSIE AVE., STE 200
       WALNUT CREEK, CA 94596


3.7994 LISSJOS, CAROLINE                        VARIOUS                              Litigation              UNDETERMINED
       GLOMMENGATA 99
       2211 KONGSVINGER NORWAY,      ACCOUNT NO.: NOT AVAILABLE
       CA


3.7995 LISSJOS, NIKLAS                          VARIOUS                              Litigation              UNDETERMINED
       HALLOSBACKEN 39
       782 33 MALUNG SWEDEN, CA      ACCOUNT NO.: NOT AVAILABLE


3.7996 LISTON, DONNA                            VARIOUS                              Litigation              UNDETERMINED
       13905 TRINITY MOUNTAIN RD
       UNIT 56                       ACCOUNT NO.: NOT AVAILABLE
       FRENCH GULCH, CA 96033


3.7997 LIT, PETER                               VARIOUS                              Litigation              UNDETERMINED
       30995 GREENWOOD ROAD
       ELK, CA 95432                 ACCOUNT NO.: NOT AVAILABLE


3.7998 LITCHFIELD, WILLIAM                      VARIOUS                              Litigation              UNDETERMINED
       9 HAROLD DRIVE
       MORAGA, CA 94556              ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                             Claim

Litigation & Disputes

3.7999 LITT, ROBIN LITT                          VARIOUS                              Litigation              UNDETERMINED
       238 FLAMINGO RD
       MILL VALLEY, CA 94941          ACCOUNT NO.: NOT AVAILABLE


3.8000 LITTLE ARTHUR CREEK LAND                  VARIOUS                              Litigation              UNDETERMINED
       CO.
       FENTON & KELLER                ACCOUNT NO.: NOT AVAILABLE
       2801 MONTEREY-SALINAS
       HIGHWAY P.O. BOX 791
       MONTEREY, CA 93942-0791


3.8001 LITTLE GEM BELGIAN WAFFLES,               VARIOUS                              Litigation              UNDETERMINED
       LLC-WONG, JANELLE
       2468 TELEGRAPH AVE             ACCOUNT NO.: NOT AVAILABLE
       A
       BERKELEY, CA 94704


3.8002 LITTLE INVESTIGATORS                      VARIOUS                              Litigation              UNDETERMINED
       PRESCHOOL-EDWARDS,
       CANDICE                        ACCOUNT NO.: NOT AVAILABLE
       1195 W 11TH STREET
       TRACY, CA 95377


3.8003 LITTLE SKILLET-GEIS, CHANDRE              VARIOUS                              Litigation              UNDETERMINED
       360 RITCH ST
       SUITE 200                      ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94107


3.8004 LITTLE, DWYANE                            VARIOUS                              Litigation              UNDETERMINED
       CHRISTOPHER WHELAN INC.
       11246 GOLD EXPRESS DRIVE,      ACCOUNT NO.: NOT AVAILABLE
       SUITE 100
       GOLD RIVER, CA 95670


3.8005 LITTLE, ERIN                              VARIOUS                              Litigation              UNDETERMINED
       11303 CACTUS LANE
       REDDING, CA 96003              ACCOUNT NO.: NOT AVAILABLE


3.8006 LITTLE, JEFF                              VARIOUS                              Litigation              UNDETERMINED
       12201 TRINITY RIVER DRIVE
       BAKERSFIELD, CA 93312          ACCOUNT NO.: NOT AVAILABLE


3.8007 LITTLE, JESSICA                           VARIOUS                              Litigation              UNDETERMINED
       504 SEACLIFF DR
       APTOS, CA 95003                ACCOUNT NO.: NOT AVAILABLE


3.8008 LITTLEFIELD, EDWARD                       VARIOUS                              Litigation              UNDETERMINED
       15200 DIAMOND STAR ROAD
       RED BLUFF, CA 96080            ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8009 LITTLEFIELD-CLARK, AMBER                 VARIOUS                              Litigation              UNDETERMINED
       PO BOX 914
       34730 CULBERSON RD           ACCOUNT NO.: NOT AVAILABLE
       ALTA, CA 95701


3.8010 LITTLEJOHN, BEN                          VARIOUS                              Litigation              UNDETERMINED
       911 LEO WAY
       OAKLAND, CA 94611            ACCOUNT NO.: NOT AVAILABLE


3.8011 LITTLEJOHN, RICHARD                      VARIOUS                              Litigation              UNDETERMINED
       0
                                    ACCOUNT NO.: NOT AVAILABLE


3.8012 LITTRELL, ANN                            VARIOUS                              Litigation              UNDETERMINED
       14559 KATHY LANE
       PIONEER, CA 95666            ACCOUNT NO.: NOT AVAILABLE


3.8013 LITZENBERGER, JOHN                       VARIOUS                              Litigation              UNDETERMINED
       19476 SHAWNEE TRAIL
       MOKELUMNE HILL, CA 95245     ACCOUNT NO.: NOT AVAILABLE


3.8014 LITZKY, SHARON                           VARIOUS                              Litigation              UNDETERMINED
       1172 VALENCIA ST.
       SAN FRANCISCO, CA 94110      ACCOUNT NO.: NOT AVAILABLE


3.8015 LIU, HO KUO                              VARIOUS                              Litigation              UNDETERMINED
       7628 ALEXANDRIA PLACE
       STOCKTON, CA 95207           ACCOUNT NO.: NOT AVAILABLE


3.8016 LIU, HUI                                 VARIOUS                              Litigation              UNDETERMINED
       37828 MOSSWOOD DR
       FREMONT, CA 94536            ACCOUNT NO.: NOT AVAILABLE


3.8017 LIU, JIAN MING                           VARIOUS                              Litigation              UNDETERMINED
       2719 42ND AVE.
       SAN FRANCISCO, CA 94116      ACCOUNT NO.: NOT AVAILABLE


3.8018 LIU, JINGING                             VARIOUS                              Litigation              UNDETERMINED
       695 SAN MATEO AVE
       SAN BRUNO, CA 94066          ACCOUNT NO.: NOT AVAILABLE


3.8019 LIU, PETER                               VARIOUS                              Litigation              UNDETERMINED
       8 HONEY HILL RD
       ORINDA, CA 94563             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.8020 LIU, SHI KUAN                            VARIOUS                              Litigation              UNDETERMINED
       381 MADISON ST
       SAN FRANCISCO, CA 94134      ACCOUNT NO.: NOT AVAILABLE


3.8021 LIU, XIUWEN                              VARIOUS                              Litigation              UNDETERMINED
       435 ELDER AVE
       MILLBRAE, CA 94030           ACCOUNT NO.: NOT AVAILABLE


3.8022 LIU, YONGGE                              VARIOUS                              Litigation              UNDETERMINED
       140 DEL RIO COURT
       APT 4                        ACCOUNT NO.: NOT AVAILABLE
       VACAVILLE, CA 95687


3.8023 LIU, ZHENGRONG                           VARIOUS                              Litigation              UNDETERMINED
       722 BARNESON AVE.
       SAN MATEO, CA 94402          ACCOUNT NO.: NOT AVAILABLE


3.8024 LIVERMORE GAS & SHOP-                    VARIOUS                              Litigation              UNDETERMINED
       SHRESTHA, BIJAYA
       1045 AIRPORT BLVD            ACCOUNT NO.: NOT AVAILABLE
       SOUTH SAN FRANCISCO, CA
       94080


3.8025 LIVERMORE, JASON                         VARIOUS                              Litigation              UNDETERMINED
       420 SUPERIOR WAY
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.8026 LIZAOLA, MARIA                           VARIOUS                              Litigation              UNDETERMINED
       18477 NORTHRIDGE DR
       SALINAS, CA                  ACCOUNT NO.: NOT AVAILABLE


3.8027 LLC-KONG, YIN AH                         VARIOUS                              Litigation              UNDETERMINED
       823 42ND AVE
       SAN FRANCISCO, CA 94121      ACCOUNT NO.: NOT AVAILABLE


3.8028 LLOYD, ERIC                              VARIOUS                              Litigation              UNDETERMINED
       55 VALLE VISTA AVE
       816                          ACCOUNT NO.: NOT AVAILABLE
       VALLEJO, CA 94590


3.8029 LO, GEORGE                               VARIOUS                              Litigation              UNDETERMINED
       4090 CRANFORD CIRCLE
       SAN JOSE, CA 95124-3303      ACCOUNT NO.: NOT AVAILABLE


3.8030 LO, JAMES                                VARIOUS                              Litigation              UNDETERMINED
       2873 GALLEON ROAD
       PEBBLE BEACH, CA 93953       ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.8031 LO, JIMMY                                 VARIOUS                              Litigation              UNDETERMINED
       1398 GLENMOOR WAY
       SAN JOSE, CA 95129            ACCOUNT NO.: NOT AVAILABLE


3.8032 LOBATO, ALFONSO                           VARIOUS                              Litigation              UNDETERMINED
       2265 SILVER STONE ST.
       ROYAL OAKS, CA 95076          ACCOUNT NO.: NOT AVAILABLE


3.8033 LOBAUGH, MATTHEW                          VARIOUS                              Litigation              UNDETERMINED
       48633 SUNSET PINES LANE
       COARSEGOLD, CA 93614          ACCOUNT NO.: NOT AVAILABLE


3.8034 LOCICERO, TONI                            VARIOUS                              Litigation              UNDETERMINED
       4250 ALLEN RD
       PASO ROBLES, CA 93446         ACCOUNT NO.: NOT AVAILABLE


3.8035 LOCKAMY, MATTHEW                          VARIOUS                              Litigation              UNDETERMINED
       1185 MONROE STREET
       45                            ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.8036 LOCKE, KATHLEEN                           VARIOUS                              Litigation              UNDETERMINED
       2036 ELKHORN ROAD
       CASTROVILLE, CA 95012         ACCOUNT NO.: NOT AVAILABLE


3.8037 LOCKER, PAUL                              VARIOUS                              Litigation              UNDETERMINED
       2810 OLIVE ST.
       SELMA, CA 93662               ACCOUNT NO.: NOT AVAILABLE


3.8038 LOCKETT, DAVID                            VARIOUS                              Litigation              UNDETERMINED
       2670 E. NEES AVENUE #128
       FRESNO, CA 93720              ACCOUNT NO.: NOT AVAILABLE


3.8039 LOCKETT, GEORGE                           VARIOUS                              Litigation              UNDETERMINED
       1318 SERENO DR
       VALLEJO, CA 94589             ACCOUNT NO.: NOT AVAILABLE


3.8040 LOCKHART, ANTHONY                         VARIOUS                              Litigation              UNDETERMINED
       8715 FOBES DR
       ANTELOPE, CA 95843            ACCOUNT NO.: NOT AVAILABLE


3.8041 LOCKYER, STEVE                            VARIOUS                              Litigation              UNDETERMINED
       1230 CORBEROSA DRIVE
       ARROYO GRANDE, CA 93420       ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.8042 LOCO ROJO VINEYARDS, MARY                VARIOUS                              Litigation              UNDETERMINED
       ANN RANSLER
       7701 DORADO CANYON            ACCOUNT NO.: NOT AVAILABLE
       SOMERSET, CA 95684


3.8043 LODI AIRPORT MANAGEMENT                  VARIOUS                              Litigation              UNDETERMINED
       CORP-KUPKA, ROBERT
       P.O. BOX 10                   ACCOUNT NO.: NOT AVAILABLE
       ACAMPO, CA 95220


3.8044 LODIKE, ELIZABETH & GARY                 VARIOUS                              Litigation              UNDETERMINED
       1020 YGNACIO VALLEY RD. #11
       WALNUT CREEK, CA 94598        ACCOUNT NO.: NOT AVAILABLE


3.8045 LOEHR, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       15711 HIGHLAND DRIVE
       SAN JOSE, CA 95127            ACCOUNT NO.: NOT AVAILABLE


3.8046 LOERA, ARMANDO                           VARIOUS                              Litigation              UNDETERMINED
       4157 SAN RAMON WAY
       SAN JOSE, CA 95111            ACCOUNT NO.: NOT AVAILABLE


3.8047 LOERA, LOLA                              VARIOUS                              Litigation              UNDETERMINED
       581 AVALANI AVENUE
       4                             ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95133


3.8048 LOESCH, STEPHANIE                        VARIOUS                              Litigation              UNDETERMINED
       7709 GABOR STREET
       VALLEY SPRINGS, CA 95252      ACCOUNT NO.: NOT AVAILABLE


3.8049 LOEWEN, SYLVIE AND DENNIS                VARIOUS                              Litigation              UNDETERMINED
       631 REDWOOD ROAD
       FELTON, CA 95018              ACCOUNT NO.: NOT AVAILABLE


3.8050 LOFFELBEIN, DEE                          VARIOUS                              Litigation              UNDETERMINED
       2195 ARBUTUS ST
       EUREKA, CA 95503              ACCOUNT NO.: NOT AVAILABLE


3.8051 LOFGREN, MIMI                            VARIOUS                              Litigation              UNDETERMINED
       155 FLOOD ROAD
       CA 95603                      ACCOUNT NO.: NOT AVAILABLE


3.8052 LOFTIN, PRITCHETT                        VARIOUS                              Litigation              UNDETERMINED
       927 VIRGENIA AVENUE
       OLIVEHURST, CA 95461          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8053 LOGAN, HUGH                              VARIOUS                              Litigation              UNDETERMINED
       3596 EMEREFF LANE
       VALLEY SPRINGS, CA 95252     ACCOUNT NO.: NOT AVAILABLE


3.8054 LOGIE, ARLYN                             VARIOUS                              Litigation              UNDETERMINED
       850 SALINAS ROAD
       ROYAL OAKS, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.8055 LOGRASSO, SADIE J                        VARIOUS                              Litigation              UNDETERMINED
       13041 LINCOLN WAY
       123                          ACCOUNT NO.: NOT AVAILABLE
       AUBURN, CA 95603


3.8056 LOGSDON, WILLIAM                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 825
       WEIMAR, CA 95736             ACCOUNT NO.: NOT AVAILABLE


3.8057 LOH, ROGER                               VARIOUS                              Litigation              UNDETERMINED
       1811 IPSWICH LN
       DALY CITY, CA 94014          ACCOUNT NO.: NOT AVAILABLE


3.8058 LOI, WENDY                               VARIOUS                              Litigation              UNDETERMINED
       2420 TARAVAL STREET
       SAN FRANCISCO, CA 94116      ACCOUNT NO.: NOT AVAILABLE


3.8059 LOK, CHENG CHENG                         VARIOUS                              Litigation              UNDETERMINED
       5629 MELODIA CIRCLE
       DUBLIN, CA 94568             ACCOUNT NO.: NOT AVAILABLE


3.8060 LOK, CHENG CHENG                         VARIOUS                              Litigation              UNDETERMINED
       5629 MELODIA CIRCLE
       DUBLIN, CA 94568             ACCOUNT NO.: NOT AVAILABLE


3.8061 LOKER, SAVANNAH                          VARIOUS                              Litigation              UNDETERMINED
       1235 NIPOMO ST
       SAN LUIS OBISPO, CA 93401    ACCOUNT NO.: NOT AVAILABLE


3.8062 LOMBARD HOSPITALITY GROUP-               VARIOUS                              Litigation              UNDETERMINED
       METHENY, JOHN
       1979 UNION STREET            ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94123


3.8063 LOMBARDO, DARIA                          VARIOUS                              Litigation              UNDETERMINED
       214 FOREST PARK CT
       PACIFIC GROVE, CA 93950      ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.8064 LOMELI, ISMAEL                           VARIOUS                              Litigation              UNDETERMINED
       P.OBOX243
       BODEGA BAY, CA 94923           ACCOUNT NO.: NOT AVAILABLE


3.8065 LOMELI, SAUL                             VARIOUS                              Litigation              UNDETERMINED
       1648 151ST AVENUE
       SAN LEANDRO, CA 94578          ACCOUNT NO.: NOT AVAILABLE


3.8066 LONDON, RICK                             VARIOUS                              Litigation              UNDETERMINED
       707 HIGHLAND HILLS RD.
       SAN LUIS OBISPO, CA 93444      ACCOUNT NO.: NOT AVAILABLE


3.8067 LONE, TODD                               VARIOUS                              Litigation              UNDETERMINED
       26 CRESCENT DRIVE
       SCOTTS VALLEY, CA 95066        ACCOUNT NO.: NOT AVAILABLE


3.8068 LONERGAN, WILLIAM                        VARIOUS                              Litigation              UNDETERMINED
       393 HAWTHORNE AVE
       LOS ALTOS, CA 94022            ACCOUNT NO.: NOT AVAILABLE


3.8069 LONG SIBLING TIC-LONG, DAVID             VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 173
       ZAMORA, CA 95698               ACCOUNT NO.: NOT AVAILABLE


3.8070 LONG, ALEXIS                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 160
       ZAMORA, CA 95698               ACCOUNT NO.: NOT AVAILABLE


3.8071 LONG, CHRISTOPHER                        VARIOUS                              Litigation              UNDETERMINED
       2321 HONEY RUN RD SPC 25A
       CHICO, CA 95928                ACCOUNT NO.: NOT AVAILABLE


3.8072 LONG, DENNIS                             VARIOUS                              Litigation              UNDETERMINED
       455 TEHUACAN RD
       UKIAH, CA 95482                ACCOUNT NO.: NOT AVAILABLE


3.8073 LONG, ELIZABETH                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 608
       OCCIDENTAL, CA 95465           ACCOUNT NO.: NOT AVAILABLE


3.8074 LONG, EVA                                VARIOUS                              Litigation              UNDETERMINED
       21012 PELICAN LOOP
       BODEGA BAY, CA                 ACCOUNT NO.: NOT AVAILABLE


3.8075 LONG, MARTHA                             VARIOUS                              Litigation              UNDETERMINED
       1823 TRIFF WAY
       YUBA CITY, CA 95993            ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.8076 LONG, PATRICIA                           VARIOUS                              Litigation              UNDETERMINED
       31951 SIMPSON LANE
       FORT BRAGG, CA 95437          ACCOUNT NO.: NOT AVAILABLE


3.8077 LONG, PAUL                               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 152
       ZAMORA, CA 95698              ACCOUNT NO.: NOT AVAILABLE


3.8078 LONG, PERRY                              VARIOUS                              Litigation              UNDETERMINED
       2485 NOTRE DAME BLVD
       SUITE 370182                  ACCOUNT NO.: NOT AVAILABLE
       CHICO, CA 95928


3.8079 LONG, STACY                              VARIOUS                              Litigation              UNDETERMINED
       405 MCCORD AVE SPC J
       BAKERSFIELD, CA 93308         ACCOUNT NO.: NOT AVAILABLE


3.8080 LONGCRIER, EMILY                         VARIOUS                              Litigation              UNDETERMINED
       10119 LONON AVENUE
       BAKERSFIELD, CA 93312         ACCOUNT NO.: NOT AVAILABLE


3.8081 LONGFIELD, TINA                          VARIOUS                              Litigation              UNDETERMINED
       6111 CHELTON DR.
       OAKLAND, CA 94611             ACCOUNT NO.: NOT AVAILABLE


3.8082 LONGORIA, RAUL                           VARIOUS                              Litigation              UNDETERMINED
       2072 ATCHENSON STREET
       STOCKTON, CA 95210            ACCOUNT NO.: NOT AVAILABLE


3.8083 LONGWELL, KATHY                          VARIOUS                              Litigation              UNDETERMINED
       75 SELBORNE DR
       PIEDMONT, CA 94611            ACCOUNT NO.: NOT AVAILABLE


3.8084 LOOKING BACK FOR THE                     VARIOUS                              Litigation              UNDETERMINED
       FUTURE-SALDINGER, ANNE
       1467 YOUNG ST                 ACCOUNT NO.: NOT AVAILABLE
       SAN MATEO, CA 94401


3.8085 LOPER, NIKKI                             VARIOUS                              Litigation              UNDETERMINED
       516 PACIFIC AVE APARTMENT 7
       APARTMENT 7                   ACCOUNT NO.: NOT AVAILABLE
       FAIRFIELD, CA 94533


3.8086 LOPES, ELMER                             VARIOUS                              Litigation              UNDETERMINED
       1060 ELM ST
       SAN JOSE, CA 95126            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.8087 LOPEZ ESPINO, JUAN MANUEL                 VARIOUS                              Litigation              UNDETERMINED
       310 ORCHARD VIEW DR
       WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.8088 LOPEZ LAKE MARINA - VAN                   VARIOUS                              Litigation              UNDETERMINED
       OTTERLOO, JON
       6820 LOPEZ DRIVE              ACCOUNT NO.: NOT AVAILABLE
       ARROYO GRANDE, CA 93420


3.8089 LOPEZ, ADELMA                             VARIOUS                              Litigation              UNDETERMINED
       5913 WEBB WAY
       BAKERSFIELD, CA 93307         ACCOUNT NO.: NOT AVAILABLE


3.8090 LOPEZ, ALEXANDER                          VARIOUS                              Litigation              UNDETERMINED
       42 GIANOLINI PARK WAY
       GREENFIELD, CA 93927          ACCOUNT NO.: NOT AVAILABLE


3.8091 LOPEZ, ALICIA                             VARIOUS                              Litigation              UNDETERMINED
       1224 OLYMPIA
       A                             ACCOUNT NO.: NOT AVAILABLE
       SEASIDE, CA 93955


3.8092 LOPEZ, ANABEL                             VARIOUS                              Litigation              UNDETERMINED
       1513 LETTIA RD
       SAN PABLO, CA 94806           ACCOUNT NO.: NOT AVAILABLE


3.8093 LOPEZ, ANDRES                             VARIOUS                              Litigation              UNDETERMINED
       206 KITTOE DR #A
       MOUNTAIN VIEW, CA 94043       ACCOUNT NO.: NOT AVAILABLE


3.8094 LOPEZ, BEATRICE                           VARIOUS                              Litigation              UNDETERMINED
       536 N SHASTA AVE
       STOCKTON, CA 95205            ACCOUNT NO.: NOT AVAILABLE


3.8095 LOPEZ, EMILY                              VARIOUS                              Litigation              UNDETERMINED
       9581 FLORES DRIVE
       SAN JOAQUIN, CA 93660         ACCOUNT NO.: NOT AVAILABLE


3.8096 LOPEZ, GABRIEL                            VARIOUS                              Litigation              UNDETERMINED
       23826 MEADOW CREST DRIVE
       PIONEER, CA 95666             ACCOUNT NO.: NOT AVAILABLE


3.8097 LOPEZ, GABRIEL                            VARIOUS                              Litigation              UNDETERMINED
       1440 TWILILGHT WAY
       SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.8098 LOPEZ, HERBERT                           VARIOUS                              Litigation              UNDETERMINED
       5361 DIAMOND HTS BLVD
       B                            ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94131


3.8099 LOPEZ, JEAN                              VARIOUS                              Litigation              UNDETERMINED
       3064 GATEWAY DRIVE
       CAMERON PARK, CA 95683       ACCOUNT NO.: NOT AVAILABLE


3.8100 LOPEZ, JESSICA                           VARIOUS                              Litigation              UNDETERMINED
       7000 VAUGHN RD
       DIXON, CA 95620              ACCOUNT NO.: NOT AVAILABLE


3.8101 LOPEZ, JOSE                              VARIOUS                              Litigation              UNDETERMINED
       615 TOWT STREET
       SALINAS, CA 93905            ACCOUNT NO.: NOT AVAILABLE


3.8102 LOPEZ, KIMBERLY                          VARIOUS                              Litigation              UNDETERMINED
       588 W SAN JOSE AVE
       CLOVIS, CA 93612             ACCOUNT NO.: NOT AVAILABLE


3.8103 LOPEZ, LISANDRO                          VARIOUS                              Litigation              UNDETERMINED
       1028 EAGLE DR
       SALINAS, CA 93905            ACCOUNT NO.: NOT AVAILABLE


3.8104 LOPEZ, LUCIANO                           VARIOUS                              Litigation              UNDETERMINED
       955 VIEW DR
       EL SOBRANTE, CA 94803        ACCOUNT NO.: NOT AVAILABLE


3.8105 LOPEZ, LYDIA                             VARIOUS                              Litigation              UNDETERMINED
       1391 SAN MIGUEL CANYON RD
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.8106 LOPEZ, MARION                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 4875
       2369 N. MAIN STREET          ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.8107 LOPEZ, MARTIN                            VARIOUS                              Litigation              UNDETERMINED
       2281 FAIRHAVEN DR
       HOLLISTER, CA 95023          ACCOUNT NO.: NOT AVAILABLE


3.8108 LOPEZ, OLGA                              VARIOUS                              Litigation              UNDETERMINED
       919 DEL MAR AVE, APT #8
       SAN JOSE, CA 95128           ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address     Date Claim Was Incurred And         C U    D    Basis For    Offset    Amount of Claim
Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8109 LOPEZ, PETER & MIKE                      VARIOUS                              Litigation              UNDETERMINED
       ISAM KHOURY, ESQ.
       605 C STREET #200            ACCOUNT NO.: NOT AVAILABLE
       SAN DIEGO, CA 92101


3.8110 LOPEZ, RALPH V. PG&E                     VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 353
       AROMAS, CA 95004             ACCOUNT NO.: NOT AVAILABLE


3.8111 LOPEZ, RAQUEL                            VARIOUS                              Litigation              UNDETERMINED
       440 MANOR DRIVE
       PACIFICA, CA 94044           ACCOUNT NO.: NOT AVAILABLE


3.8112 LOPEZ, RAYMOND                           VARIOUS                              Litigation              UNDETERMINED
       33489 FRAZIER RD.
       AUBERRY, CA 93602            ACCOUNT NO.: NOT AVAILABLE


3.8113 LOPEZ, RODOLFO                           VARIOUS                              Litigation              UNDETERMINED
       113 DEL MONTE AVENUE
       SOUTH SAN FRANCISCO, CA      ACCOUNT NO.: NOT AVAILABLE
       94080


3.8114 LOPEZ, ROSAURA                           VARIOUS                              Litigation              UNDETERMINED
       2176 BRUTUS STREET
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.8115 LOPEZ, SENAIDO                           VARIOUS                              Litigation              UNDETERMINED
       2040 BRUSHCREEK DRIVE
       26 PHEASANT COURT            ACCOUNT NO.: NOT AVAILABLE
       PITTSBURG, CA 94565


3.8116 LOPEZ, SOCORRO                           VARIOUS                              Litigation              UNDETERMINED
       618 MEADOW DR
       SALINAS, CA 93905            ACCOUNT NO.: NOT AVAILABLE


3.8117 LOPEZ, SYLVIA                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 27
       CHUALAR, CA 93925            ACCOUNT NO.: NOT AVAILABLE


3.8118 LOPP, MATTHEW                            VARIOUS                              Litigation              UNDETERMINED
       790 PARADISE CANYON RD
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.8119 LOR, CHUEFUE                             VARIOUS                              Litigation              UNDETERMINED
       7614 PLAID CIRCLE
       ANTELOPE, CA 95843           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8120 LORD, MARK                               VARIOUS                              Litigation              UNDETERMINED
       25101 AGUAJITO ROAD
       CARMEL, CA 93921             ACCOUNT NO.: NOT AVAILABLE


3.8121 LORENTZEN, CASEY                         VARIOUS                              Litigation              UNDETERMINED
       15657 CLOVERDALE RD.
       ANDERSON, CA                 ACCOUNT NO.: NOT AVAILABLE


3.8122 LORENTZEN, WESTON/REBECCA         VARIOUS                                     Litigation              UNDETERMINED
       251 MYRTLE ST
       CHESTER, CA 96020         ACCOUNT NO.: NOT AVAILABLE


3.8123 LORENZ, WILLOW                           VARIOUS                              Litigation              UNDETERMINED
       23 HEINER RD
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.8124 LORENZO APARTMENTS,                      VARIOUS                              Litigation              UNDETERMINED
       JOSEPH TRABERT
       2118 HARBOVIEW CT            ACCOUNT NO.: NOT AVAILABLE
       SANTA CRUZ, CA 95062


3.8125 LORI SANSON DBA DENOVA                   VARIOUS                              Litigation              UNDETERMINED
       HOMES-SANSON, TRENT
       1500 WILLOW PASS COURT       ACCOUNT NO.: NOT AVAILABLE
       CONCORD, CA 94520


3.8126 LORIG, MILTON                            VARIOUS                              Litigation              UNDETERMINED
       281 CROSS ROAD
       OAKLAND, CA 94618            ACCOUNT NO.: NOT AVAILABLE


3.8127 LORRAIN RUNNELS, RICHARD                 VARIOUS                              Litigation              UNDETERMINED
       RUNNELS
       BOBBY THOMPSON               ACCOUNT NO.: NOT AVAILABLE
       717 AIRPORT BLVD
       SUITE 177
       BURLINGAME, CA 94010


3.8128 LORRAIN RUNNELS, RICHARD                 VARIOUS                              Litigation              UNDETERMINED
       RUNNELS
       CHRISTOPHER DOLAN, ARSEN     ACCOUNT NO.: NOT AVAILABLE
       SARAPINIAN, AIMEE KIRBY
       1440 MARKET STREET
       SAN FRANCISCO, CA 94102




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Litigation & Disputes

3.8129 LORRAIN RUNNELS, RICHARD                 VARIOUS                              Litigation              UNDETERMINED
       RUNNELS
       MARY ALEXANDER, BRENDAN      ACCOUNT NO.: NOT AVAILABLE
       WAY, CATALINA MUNOZ
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.8130 LOS CAPORALES-MACIAS,                    VARIOUS                              Litigation              UNDETERMINED
       RAFAEL
       1645 A ST                    ACCOUNT NO.: NOT AVAILABLE
       ANTIOCH, CA 94509


3.8131 LOS DOS GALLOS-VILLALOBOS,               VARIOUS                              Litigation              UNDETERMINED
       ERNEST
       34704 ALVARADO NILES RD      ACCOUNT NO.: NOT AVAILABLE
       UNION CITY, CA 94587


3.8132 LOS GATOS GARDEN INN                     VARIOUS                              Litigation              UNDETERMINED
       46 E MAIN STREET
       LOS GATOS, CA 95030          ACCOUNT NO.: NOT AVAILABLE


3.8133 LOS GATOS MERCANTILE, INC-               VARIOUS                              Litigation              UNDETERMINED
       KANKEL, DENE
       15300 LOS GATOS BLVD         ACCOUNT NO.: NOT AVAILABLE
       LOS GATOS, CA 95032


3.8134 LOS GATOS VALERO-                        VARIOUS                              Litigation              UNDETERMINED
       SOLTANZAD, FRED
       16500 LOS GATOS BLVD         ACCOUNT NO.: NOT AVAILABLE
       LOS GATOS, CA 95032


3.8135 LOSOYA, ANGIE                            VARIOUS                              Litigation              UNDETERMINED
       3138 W DAKOTA, SPACE 6
       FRESNO, CA 93722             ACCOUNT NO.: NOT AVAILABLE


3.8136 LOTH, BERNARD                            VARIOUS                              Litigation              UNDETERMINED
       7334 VIA LAGUNA
       SAN JOSE, CA 95135           ACCOUNT NO.: NOT AVAILABLE


3.8137 LOTUS GARDEN VIETNAMESE                  VARIOUS                              Litigation              UNDETERMINED
       CUISINE-TANG, KATHY
       268 HESTER AVE               ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94134


3.8138 LOTZE, CAROLINE                          VARIOUS                              Litigation              UNDETERMINED
       548 SPRUCE ST
       APTOS, CA 95003              ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                           Account Number                              Claim

Litigation & Disputes

3.8139 LOUGHLIN, MICHAEL                          VARIOUS                              Litigation              UNDETERMINED
       101 DEL MAR PLACE
       ORINDA, CA 94563               ACCOUNT NO.: NOT AVAILABLE


3.8140 LOUISE AVENUE PARTNERS-                    VARIOUS                              Litigation              UNDETERMINED
       KOTECHA, AMITA
       103 EAST LOUISE AVE            ACCOUNT NO.: NOT AVAILABLE
       LATHROP, CA 95330


3.8141 LOUISELL, ANALISA                          VARIOUS                              Litigation              UNDETERMINED
       2523 HENRY ST., APT. 6
       PINOLE, CA                     ACCOUNT NO.: NOT AVAILABLE


3.8142 LOUISE'S REAL ESTATE-                      VARIOUS                              Litigation              UNDETERMINED
       BRADHSAW, SHARON
       PO BOX 456                     ACCOUNT NO.: NOT AVAILABLE
       WHEATLAND, CA 95692


3.8143 LOVE TO KNOW-BRAMLETT,                     VARIOUS                              Litigation              UNDETERMINED
       BRONSON
       19275 MEADOW CT                ACCOUNT NO.: NOT AVAILABLE
       HIDDEN VALLEY LAKE, CA 95467


3.8144 LOVE YOUR PET EXPO-                        VARIOUS                              Litigation              UNDETERMINED
       MOLTHOP, SUSAN
       17329 PITTIM DR.               ACCOUNT NO.: NOT AVAILABLE
       REDDING, CA 96003


3.8145 LOVE, HAYLEIGH                             VARIOUS                              Litigation              UNDETERMINED
       1430 HIDDEN VALLEY ROAD
       SOQUEL, CA 95073               ACCOUNT NO.: NOT AVAILABLE


3.8146 LOVE, JAMES                        VARIOUS                                      Litigation              UNDETERMINED
       20600 BIG BEND RD
       MONTGOMERY CREEK, CA 96065 ACCOUNT NO.: NOT AVAILABLE


3.8147 LOVE, JOHN                                 VARIOUS                              Litigation              UNDETERMINED
       9721 TEXAS HILL RD
       COULTERVILLE, CA 95311         ACCOUNT NO.: NOT AVAILABLE


3.8148 LOVE, JONATHAN                             VARIOUS                              Litigation              UNDETERMINED
       605 SUMMERFIELD ROAD
       311 PEPPER DRIVE               ACCOUNT NO.: NOT AVAILABLE
       SANTA ROSA, CA 95405


3.8149 LOVE, MICAH                                VARIOUS                              Litigation              UNDETERMINED
       PO BOX 2673
       GUERNEVILLE, CA 95446          ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                           Account Number                             Claim

Litigation & Disputes

3.8150 LOVE, RUTH                                VARIOUS                              Litigation              UNDETERMINED
       311 PEPPER DRIVE
       VALLEJO, CA 94589              ACCOUNT NO.: NOT AVAILABLE


3.8151 LOVEJONES, AMBER                          VARIOUS                              Litigation              UNDETERMINED
       2516 MARK TWAIN DRIVE
       ANTIOCH, CA 94531              ACCOUNT NO.: NOT AVAILABLE


3.8152 LOVELADY, JAMES                           VARIOUS                              Litigation              UNDETERMINED
       4853 PROCTOR
       CASTROL VALLEY, CA 94546       ACCOUNT NO.: NOT AVAILABLE


3.8153 LOVELL, MIKE                              VARIOUS                              Litigation              UNDETERMINED
       22903 GOLF CLUB DR
       TWAIN HARTE, CA 95383          ACCOUNT NO.: NOT AVAILABLE


3.8154 LOVEST III, BIVENS                        VARIOUS                              Litigation              UNDETERMINED
       2241 CLINTON AVE
       APT C                          ACCOUNT NO.: NOT AVAILABLE
       ALAMEDA, CA 94501


3.8155 LOVINA-BENNETT, JENNIFER                  VARIOUS                              Litigation              UNDETERMINED
       1107 CEDAR STREET
       CALISTOGA, CA 94515            ACCOUNT NO.: NOT AVAILABLE


3.8156 LOVOTTI, JULIA                            VARIOUS                              Litigation              UNDETERMINED
       1588 GILBRETH ROAD SUITE 223
       133 ARAGON BLVD                ACCOUNT NO.: NOT AVAILABLE
       SAN MATEO, CA 94403


3.8157 LOW VOLTAGE SERVICE INC. -                VARIOUS                              Litigation              UNDETERMINED
       SULLIVAN, THERESA
       4570 E PINE AVE                ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93703


3.8158 LOWE, NADINE                              VARIOUS                              Litigation              UNDETERMINED
       6436 WAGON LOOP
       PLACERVILLE, CA 95667          ACCOUNT NO.: NOT AVAILABLE


3.8159 LOWER LAKE SUBWAY, LLC-                   VARIOUS                              Litigation              UNDETERMINED
       PATEL, CHIRAYU
       4302 REDWOOD HWY               ACCOUNT NO.: NOT AVAILABLE
       STE 200
       SAN RAFAEL, CA 94903


3.8160 LOWPENSKY, MARK                           VARIOUS                              Litigation              UNDETERMINED
       707 W POPLAR AVE
       SAN MATEO, CA 94402            ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.8161 LOWRY, PATRICK                           VARIOUS                              Litigation              UNDETERMINED
       131 MARSHA PLACE
       LAFAYETTE, CA 94549          ACCOUNT NO.: NOT AVAILABLE


3.8162 LOWTHER, MARY & KENT                     VARIOUS                              Litigation              UNDETERMINED
       5341 REDWILLOW DRIVE
       SANTA MARIA, CA 93455        ACCOUNT NO.: NOT AVAILABLE


3.8163 LOXTERMAN, LINDA                         VARIOUS                              Litigation              UNDETERMINED
       720 CANNERY ROW
       MONTEREY, CA 93940           ACCOUNT NO.: NOT AVAILABLE


3.8164 LOYA, ELIZABETH                          VARIOUS                              Litigation              UNDETERMINED
       7453 CHATSWORTH CIRCLE
       ELK GROVE, CA 95757          ACCOUNT NO.: NOT AVAILABLE


3.8165 LOYLES, RON                              VARIOUS                              Litigation              UNDETERMINED
       639 E. ALLUVIAL
       FRESNO, CA 93720             ACCOUNT NO.: NOT AVAILABLE


3.8166 LOZA, CASSANDRA                          VARIOUS                              Litigation              UNDETERMINED
       1145 E FLORA STREET
       STOCKTON, CA 95205           ACCOUNT NO.: NOT AVAILABLE


3.8167 LOZANO CORONA, SYLVIA                    VARIOUS                              Litigation              UNDETERMINED
       1148 ALBERNI ST
       EAST PALO ALTO, CA 94303     ACCOUNT NO.: NOT AVAILABLE


3.8168 LUBAMERSKY, MARK                         VARIOUS                              Litigation              UNDETERMINED
       228 DUBOIS STREET
       SAN RAFAEL, CA 94901         ACCOUNT NO.: NOT AVAILABLE


3.8169 LUCAS REIMERS-REIMERS,                   VARIOUS                              Litigation              UNDETERMINED
       LUCAS
       4861 COUNTY ROAD C           ACCOUNT NO.: NOT AVAILABLE
       ORLAND, CA 95963


3.8170 LUCAS, CHRISTINA                         VARIOUS                              Litigation              UNDETERMINED
       25 WYNDEMERE WAY
       MONTEREY, CA 93940           ACCOUNT NO.: NOT AVAILABLE


3.8171 LUCAS, JAMES                             VARIOUS                              Litigation              UNDETERMINED
       5120 GUNSMOKE RD
       GEORGETOWN, CA 95634         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                            Account Number                           Claim

Litigation & Disputes

3.8172 LUCAS, PATRICK                           VARIOUS                              Litigation              UNDETERMINED
       20088 LIVE OAK ROAD
       PIONEER, CA 95666               ACCOUNT NO.: NOT AVAILABLE


3.8173 LUCAS, RAY                               VARIOUS                              Litigation              UNDETERMINED
       4031 LUCAS LN.
       CONCORD, CA 94521               ACCOUNT NO.: NOT AVAILABLE


3.8174 LUCAS, REBECCA                           VARIOUS                              Litigation              UNDETERMINED
       5825 FLORA COMM
       2820 TAHOS DR                   ACCOUNT NO.: NOT AVAILABLE
       DORRINGTON, CA


3.8175 LUCERO, SUSAN                            VARIOUS                              Litigation              UNDETERMINED
       4 LAGUNITA ROAD
       SALINAS, CA 93906               ACCOUNT NO.: NOT AVAILABLE


3.8176 LUCH, AMBER                              VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 387
       CLEARLAKE OAKS, CA 95423        ACCOUNT NO.: NOT AVAILABLE


3.8177 LUCHEN, ANGELA                           VARIOUS                              Litigation              UNDETERMINED
       4525 LODOGA STONYFORD RD
       STONYFORD, CA 95979             ACCOUNT NO.: NOT AVAILABLE


3.8178 LUCIDO, JOY ANN                          VARIOUS                              Litigation              UNDETERMINED
       1342 KENNETH STREET
       SEASIDE, CA 93955               ACCOUNT NO.: NOT AVAILABLE


3.8179 LUCIO, ALBERTO                           VARIOUS                              Litigation              UNDETERMINED
       601 CALIFORNIA ST, SUITE 1150
       SAN FRANCISCO, CA 94108         ACCOUNT NO.: NOT AVAILABLE


3.8180 LUCKLUM, WAYNE                           VARIOUS                              Litigation              UNDETERMINED
       19849 ROGERS LN
       COTTONWOOD, CA 96022            ACCOUNT NO.: NOT AVAILABLE


3.8181 LUCKY 7 FOOD MART-KASSAB,                VARIOUS                              Litigation              UNDETERMINED
       SARA
       10530 ROSEDALE HWY, STE #9      ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93312


3.8182 LUCKY CREATION VEGETARIAN                VARIOUS                              Litigation              UNDETERMINED
       RESTTURANT, LAM, KWOK
       KEUNG                           ACCOUNT NO.: NOT AVAILABLE
       854 WASSHINGTON STEET
       SAN FRANCISCO, CA 94108



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Litigation & Disputes

3.8183 LUCKY NAIL/CD WIRELESS,                  VARIOUS                              Litigation              UNDETERMINED
       NGUYEN, HAI
       579 SAN MATEO AVE             ACCOUNT NO.: NOT AVAILABLE
       SAN BRUNO, CA 94066


3.8184 LUCKY STOP-ALSHAMEY,                     VARIOUS                              Litigation              UNDETERMINED
       GAMAL
       9601 WEEDPATCH HWY            ACCOUNT NO.: NOT AVAILABLE
       LAMONT, CA 93241


3.8185 LUDINGTON, LANCE                         VARIOUS                              Litigation              UNDETERMINED
       3492 AMBER OAKS CT
       PARADISE, CA 95969            ACCOUNT NO.: NOT AVAILABLE


3.8186 LUEDEE, DANIEL                           VARIOUS                              Litigation              UNDETERMINED
       8722 MANZANITA CREEK DRIVE
       SHINGLETOWN, CA 96088         ACCOUNT NO.: NOT AVAILABLE


3.8187 LUGO, STACY                              VARIOUS                              Litigation              UNDETERMINED
       3682 SUDOR LN
       LOOMIS, CA 95650              ACCOUNT NO.: NOT AVAILABLE


3.8188 LUHN, JEFFERY                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 159
       314 BIRD DOG CIRCLE           ACCOUNT NO.: NOT AVAILABLE
       AVERY, CA 95224


3.8189 LUIHN, WALTER                            VARIOUS                              Litigation              UNDETERMINED
       11318 SCARLET OAK DRIVE
       OAKDALE, CA 95361             ACCOUNT NO.: NOT AVAILABLE


3.8190 LUIS ALVAREZ, JOSE                       VARIOUS                              Litigation              UNDETERMINED
       169 LIVE OAK ROAD
       ROYAL OAKS, CA 95076          ACCOUNT NO.: NOT AVAILABLE


3.8191 LUIS MANUEL SOLIS, MARBELLA              VARIOUS                              Litigation              UNDETERMINED
       ORTIZ, JESSICA SOLIS, AND
       LUIS MANUEL SOLIS JR          ACCOUNT NO.: NOT AVAILABLE
       LAW OFFICES OF JORGE A.
       MEZA, A LAW CORPORATION
       14305 RAMONA BLVD.
       BALDWIN PARK, CA 91706


3.8192 LUIS, NANCY & EDWARD                     VARIOUS                              Litigation              UNDETERMINED
       6870 BOGGS LANE
       KELSEYVILLE, CA 95451         ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.8193 LUJAN, ELAINE                            VARIOUS                              Litigation              UNDETERMINED
       965 S 6TH ST UNIT 10102
       SAN JOSE, CA 95112           ACCOUNT NO.: NOT AVAILABLE


3.8194 LUK, JACKSON                             VARIOUS                              Litigation              UNDETERMINED
       5005 MCCOY AVE.
       SAN JOSE, CA 95130           ACCOUNT NO.: NOT AVAILABLE


3.8195 LUKE COLBERT FREELANCER-                 VARIOUS                              Litigation              UNDETERMINED
       COLBERT, LUCAS
       1962 CALAFIA COURT           ACCOUNT NO.: NOT AVAILABLE
       TRACY, CA 95376


3.8196 LUKE, JOE                                VARIOUS                              Litigation              UNDETERMINED
       10016 WENDT WAY
       STOCKTON, CA 95209           ACCOUNT NO.: NOT AVAILABLE


3.8197 LUMIA, DAVE                              VARIOUS                              Litigation              UNDETERMINED
       2158 NEWPORT CT
       DISCOVERYBAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.8198 LUNA RUSTICA IMPORTS,                    VARIOUS                              Litigation              UNDETERMINED
       MICHAEL CARIJA
       2959 BROAD STREET            ACCOUNT NO.: NOT AVAILABLE
       SAN LUIS OBISPO, CA 93401


3.8199 LUNA, CAYETANO                           VARIOUS                              Litigation              UNDETERMINED
       1471 OGDEN AVE
       GRIDLEY, CA 95948            ACCOUNT NO.: NOT AVAILABLE


3.8200 LUNA, GEORGE                             VARIOUS                              Litigation              UNDETERMINED
       8001 ST. HELEN COURT
       SACRAMENTO, CA 95829         ACCOUNT NO.: NOT AVAILABLE


3.8201 LUNA, JUAN                               VARIOUS                              Litigation              UNDETERMINED
       256 BAYVIEW AVENUE
       3182 ROCKY MOUNTAIN DRIVE    ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95127


3.8202 LUNA, MARCOS                             VARIOUS                              Litigation              UNDETERMINED
       255 CAMP LN
       GUADALUPE, CA 93434          ACCOUNT NO.: NOT AVAILABLE


3.8203 LUNA, MARIA                              VARIOUS                              Litigation              UNDETERMINED
       230 BORONDA RD
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.8204 LUNA, MARY                                VARIOUS                              Litigation              UNDETERMINED
       2277 PEREZ ST
       245                           ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.8205 LUNA, RENE                                VARIOUS                              Litigation              UNDETERMINED
       300 MAPLE STREET
       SALINAS, CA 93901             ACCOUNT NO.: NOT AVAILABLE


3.8206 LUNA, SALINA                              VARIOUS                              Litigation              UNDETERMINED
       2406 N MAIN STREET #C
       SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.8207 LUNARDI, KURTIS                           VARIOUS                              Litigation              UNDETERMINED
       4033 SACRAMENTO STREET
       CONCORD, CA 94521             ACCOUNT NO.: NOT AVAILABLE


3.8208 LUNDBERG FAMILY FARMS-                    VARIOUS                              Litigation              UNDETERMINED
       VEGA, ASHLEY
       5311 MIDWAY                   ACCOUNT NO.: NOT AVAILABLE
       RICHVALE, CA 95974


3.8209 LUNDERSHAUSEN, INGER                      VARIOUS                              Litigation              UNDETERMINED
       10025 LONE STAR ROAD
       AUBURN, CA 95602              ACCOUNT NO.: NOT AVAILABLE


3.8210 LUNDY, BRIAN                              VARIOUS                              Litigation              UNDETERMINED
       1215 PEDRO ST
       APT 34                        ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95126


3.8211 LUNGREN, LISA                             VARIOUS                              Litigation              UNDETERMINED
       1569 BONITA COURT
       EL DORADO HILLS, CA 95762     ACCOUNT NO.: NOT AVAILABLE


3.8212 LUO, JAY                                  VARIOUS                              Litigation              UNDETERMINED
       60 ESCONDIDO AVENUE
       SAN FRANCISCO, CA 94132       ACCOUNT NO.: NOT AVAILABLE


3.8213 LUO, JAY                                  VARIOUS                              Litigation              UNDETERMINED
       60 ESCONDIDO AVENUE
       SAN FRANCISCO, CA 94132       ACCOUNT NO.: NOT AVAILABLE


3.8214 LUO, PETER                                VARIOUS                              Litigation              UNDETERMINED
       624 MACARTHUR DR
       DALY CITY, CA 94015           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.8215 LUO, PING                                VARIOUS                              Litigation              UNDETERMINED
       317 SHADY GLEN ROAD
       WALNUT CREEK, CA 89134        ACCOUNT NO.: NOT AVAILABLE


3.8216 LUOMA, JACK                              VARIOUS                              Litigation              UNDETERMINED
       PO BOX 919
       9175 & 9199 GREEN RANCH       ACCOUNT NO.: NOT AVAILABLE
       ROAD
       MOUNTAIN RANCH, CA 95246


3.8217 LUOMA, NICK                              VARIOUS                              Litigation              UNDETERMINED
       2419 IMPERIAL COURT
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.8218 LUONG, DDS, PETER                        VARIOUS                              Litigation              UNDETERMINED
       470 S AUBURN ST #D
       GRASS VALLEY, CA 95945        ACCOUNT NO.: NOT AVAILABLE


3.8219 LUPE'S TACO AND CATERINING-              VARIOUS                              Litigation              UNDETERMINED
       JUAREZ, GUADALUPE
       412 SUMMERSHADE CT            ACCOUNT NO.: NOT AVAILABLE
       WASCO, CA 93280


3.8220 LUST, LEVI                               VARIOUS                              Litigation              UNDETERMINED
       1185 MONROE STREET APT. 123
       SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.8221 LUSTER VENTURES, LLC-                    VARIOUS                              Litigation              UNDETERMINED
       LUSTER, ROBERT
       38 MILLER AVE SUITE 4         ACCOUNT NO.: NOT AVAILABLE
       MILL VALLEY, CA 94941


3.8222 LUSTER, GUISELA                          VARIOUS                              Litigation              UNDETERMINED
       20 MAIN DRIVE
       SAN RAFAEL, CA 94901          ACCOUNT NO.: NOT AVAILABLE


3.8223 LUTGE, ALLISON                           VARIOUS                              Litigation              UNDETERMINED
       5321 SLALOM LANE
       POLLOCK PINES, CA 95726       ACCOUNT NO.: NOT AVAILABLE


3.8224 LUTGE, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       329 POPE STREET
       MENLO PARK, CA 94025          ACCOUNT NO.: NOT AVAILABLE


3.8225 LUTHER, DAVID                            VARIOUS                              Litigation              UNDETERMINED
       PO 867
       COLUMBIA, CA 95310            ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.8226 LUTTER, JAMES                            VARIOUS                              Litigation              UNDETERMINED
       2235 E KELSO AVE
       FRESNO, CA 93720               ACCOUNT NO.: NOT AVAILABLE


3.8227 LUTZ, TERRI                              VARIOUS                              Litigation              UNDETERMINED
       PO BOX 27275
       1978 TIFFIN ROAD               ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94602


3.8228 LUU, WARREN                              VARIOUS                              Litigation              UNDETERMINED
       659 FREDERICK STREET
       SAN FRANCISCO, CA 94117        ACCOUNT NO.: NOT AVAILABLE


3.8229 LUX, ALFRED & RENATE                     VARIOUS                              Litigation              UNDETERMINED
       18800 ALMOND RD
       27101 SUMMERHILL DRIVE         ACCOUNT NO.: NOT AVAILABLE
       PINECREST, CA 95364


3.8230 LUXURY SPA & SALON, KIM LE               VARIOUS                              Litigation              UNDETERMINED
       1626 N MAIN STREET
       SALINAS, CA 93906              ACCOUNT NO.: NOT AVAILABLE


3.8231 LVOVSKAYA, LYUBOV                        VARIOUS                              Litigation              UNDETERMINED
       SVETLANA SHIRINOVA,
       ATTORNEY AT LAW                ACCOUNT NO.: NOT AVAILABLE
       870 MARKET STREET, SUITE 948
       SAN FRANCISCO, CA 94102


3.8232 LVOVSKAYA, LYUBOV (ATTY                  VARIOUS                              Litigation              UNDETERMINED
       REP)
       785 MARKET ST. 16TH FLOOR.     ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94103


3.8233 LY, BILLY                                VARIOUS                              Litigation              UNDETERMINED
       2634 SIBELIUS AVE
       1237 KINSULE CT                ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95122


3.8234 LY, NGAN                                 VARIOUS                              Litigation              UNDETERMINED
       127 KELLER STREET, SUITE B
       PETALUMA, CA 94952             ACCOUNT NO.: NOT AVAILABLE


3.8235 LY, RICHARD                              VARIOUS                              Litigation              UNDETERMINED
       6 HERMOSA LANE
       SOUTH SAN FRANCISCO, CA        ACCOUNT NO.: NOT AVAILABLE
       94080




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Litigation & Disputes

3.8236 LYKOS, CHRISTINE                         VARIOUS                              Litigation              UNDETERMINED
       3952 CAMBRIDGE RD.
       CAMERON PARK, CA 95682       ACCOUNT NO.: NOT AVAILABLE


3.8237 LYMP, JAMES                              VARIOUS                              Litigation              UNDETERMINED
       28 OLIVE AVE
       SAN ANSELMO, CA 94980        ACCOUNT NO.: NOT AVAILABLE


3.8238 LYNCH, BRYAN                             VARIOUS                              Litigation              UNDETERMINED
       2401 CALISTOGA DR,
       HOLLISTER, CA 95023          ACCOUNT NO.: NOT AVAILABLE


3.8239 LYNCH, CONNOR                            VARIOUS                              Litigation              UNDETERMINED
       445 SOUTH 3RD STREET APT 3
       SAN JOSE, CA 95112           ACCOUNT NO.: NOT AVAILABLE


3.8240 LYNCH, CONRAD                            VARIOUS                              Litigation              UNDETERMINED
       26927 MANZANITA CT
       PIONEER, CA 95666            ACCOUNT NO.: NOT AVAILABLE


3.8241 LYNCH, GARY                              VARIOUS                              Litigation              UNDETERMINED
       365 GLENN LAKES DR
       RIO VISTA, CA 94571          ACCOUNT NO.: NOT AVAILABLE


3.8242 LYNCH, GEORGE                            VARIOUS                              Litigation              UNDETERMINED
       408 SANTA FLORITA AVE
       22570 CONFIDENCE ROAD,       ACCOUNT NO.: NOT AVAILABLE
       TWAIN HARTE
       MILLBRAE, CA 94030


3.8243 LYNCH, JANET                             VARIOUS                              Litigation              UNDETERMINED
       26927 MANZANITA CT
       PIONEER, CA 95666            ACCOUNT NO.: NOT AVAILABLE


3.8244 LYNCH, LYNDA                             VARIOUS                              Litigation              UNDETERMINED
       1608 CORNELL DR.
       ALAMEDA, CA 94501            ACCOUNT NO.: NOT AVAILABLE


3.8245 LYNN, JASON                              VARIOUS                              Litigation              UNDETERMINED
       2905 PLUMLEIGH AVE
       ANTIOCH, CA 94509            ACCOUNT NO.: NOT AVAILABLE


3.8246 LYNN, LORI                               VARIOUS                              Litigation              UNDETERMINED
       553 COVINGTON AVENUE
       LIVERMORE, CA 94551          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.8247 LYNN, VICKI                               VARIOUS                              Litigation              UNDETERMINED
       171 TRUCKEE LN
       SAN JOSE, CA 95136            ACCOUNT NO.: NOT AVAILABLE


3.8248 LYNOTT, PAMELA                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 58
       812 BLUE CANYON ROAD          ACCOUNT NO.: NOT AVAILABLE
       EMIGRANT GAP, CA 95715


3.8249 LYNROC PRESERVATION LP, %                 VARIOUS                              Litigation              UNDETERMINED
       SABRINA RICHARDSON
       6105 SUNSET BOULEVARD         ACCOUNT NO.: NOT AVAILABLE
       ROCKLIN, CA 95677


3.8250 LYONS FARMS-LYONS, GREG                   VARIOUS                              Litigation              UNDETERMINED
       14 DONNA LANE
       DANVILLE, CA 94526            ACCOUNT NO.: NOT AVAILABLE


3.8251 LYONS, CRAIG                              VARIOUS                              Litigation              UNDETERMINED
       13445 CUESTA VERDE
       SALINAS, CA 93908             ACCOUNT NO.: NOT AVAILABLE


3.8252 LYONS, JOHN                               VARIOUS                              Litigation              UNDETERMINED
       155 PEPPERWOOD LN
       ARCATA, CA 95521              ACCOUNT NO.: NOT AVAILABLE


3.8253 LYONS, JOSEPH                             VARIOUS                              Litigation              UNDETERMINED
       2159 COVENTRY AVE
       CLOVIS, CA 93611              ACCOUNT NO.: NOT AVAILABLE


3.8254 LYONS, MAPLE                              VARIOUS                              Litigation              UNDETERMINED
       1602 LINCOLN AVE
       CA 94801                      ACCOUNT NO.: NOT AVAILABLE


3.8255 LYONS, WILLIAM & TONI                     VARIOUS                              Litigation              UNDETERMINED
       22151 RAVINE CT
       REDDING, CA 96003             ACCOUNT NO.: NOT AVAILABLE


3.8256 LYSAK, MIKE                               VARIOUS                              Litigation              UNDETERMINED
       3440 LONGVIEW DRIVE
       SAN BRUNO, CA 94066           ACCOUNT NO.: NOT AVAILABLE


3.8257 LYSSAND, JOHAN                            VARIOUS                              Litigation              UNDETERMINED
       627 PARK ROAD
       EMERALD HILLS, CA 94062       ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8258 M PEDICURE AND SPA-NGUYEN,               VARIOUS                              Litigation              UNDETERMINED
       HOANG
       6945 MONTEREY RD             ACCOUNT NO.: NOT AVAILABLE
       C
       GILROY, CA 95020


3.8259 M ROSE INC-ROSE, MICHAEL                 VARIOUS                              Litigation              UNDETERMINED
       98 W 10TH ST
       TRACY, CA 95376              ACCOUNT NO.: NOT AVAILABLE


3.8260 M&I MARKET-MOHAMED,                      VARIOUS                              Litigation              UNDETERMINED
       MOHAMED
       1519 TEXAS ST                ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93307


3.8261 M.E.G.'S HELPING HAND'S-                 VARIOUS                              Litigation              UNDETERMINED
       GARCIA, MONICA
       528 GRANT ST                 ACCOUNT NO.: NOT AVAILABLE
       VALLEJO, CA 94590


3.8262 MA DUENO CASTRO, CRISTOBAL         VARIOUS                                    Litigation              UNDETERMINED
       2566 FRUITVALE AVE.
       OAKLAND, CA 94601          ACCOUNT NO.: NOT AVAILABLE


3.8263 MA, CHENG JIAN MARIA                     VARIOUS                              Litigation              UNDETERMINED
       636 SAVOY CT
       WALNUT CREEK, CA 94598       ACCOUNT NO.: NOT AVAILABLE


3.8264 MA, IVAN                                 VARIOUS                              Litigation              UNDETERMINED
       2156 TROUSDALE DR
       BURLINGAME, CA 94010         ACCOUNT NO.: NOT AVAILABLE


3.8265 MA, JIN BAO                              VARIOUS                              Litigation              UNDETERMINED
       333 BAKER STREET, APT #432
       SAN FRANCISCO, CA 94117      ACCOUNT NO.: NOT AVAILABLE


3.8266 MA, LIA                                  VARIOUS                              Litigation              UNDETERMINED
       3961 COLBY WAY
       SAN BRUNO, CA 94066          ACCOUNT NO.: NOT AVAILABLE


3.8267 MA, LOAN                                 VARIOUS                              Litigation              UNDETERMINED
       2720 CONCETTA CT
       SAN JOSE, CA 95127           ACCOUNT NO.: NOT AVAILABLE


3.8268 MA, QINGLI                               VARIOUS                              Litigation              UNDETERMINED
       4845 DEEP CREEK ROAD
       FREMONT, CA 94555            ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.8269 MA, VINCENT                               VARIOUS                              Litigation              UNDETERMINED
       29 WEST WAY
       SOUTH SAN FRANCISCO, CA       ACCOUNT NO.: NOT AVAILABLE
       94080


3.8270 MAASEN, MIKE                              VARIOUS                              Litigation              UNDETERMINED
       7264 BOHN BLVD
       ANDERSON, CA 96007            ACCOUNT NO.: NOT AVAILABLE


3.8271 MABEER, LLC./ BIG O TIRES-                VARIOUS                              Litigation              UNDETERMINED
       KUPFERMAN, BRIAN
       1845 CONTRA COSTA BLVD.       ACCOUNT NO.: NOT AVAILABLE
       PLEASANT HILL, CA 94523


3.8272 MACAPAGAL, GLORIA                         VARIOUS                              Litigation              UNDETERMINED
       15324 MENDOCINO ST
       SAN LEANDRO, CA 94579         ACCOUNT NO.: NOT AVAILABLE


3.8273 MACAULAY INSURANCE-                       VARIOUS                              Litigation              UNDETERMINED
       MACAULAY, SUSAN
       P O BOX 295                   ACCOUNT NO.: NOT AVAILABLE
       OAKHURST, CA 93644


3.8274 MACCARVILLE, MARTIN                       VARIOUS                              Litigation              UNDETERMINED
       1100 ROSE AVE
       PENNGROVE, CA 94951           ACCOUNT NO.: NOT AVAILABLE


3.8275 MACCHIARINI CREATIVE                      VARIOUS                              Litigation              UNDETERMINED
       DESIGN AND METAL WORKS SF-
       MACCHIARINI, NELLA            ACCOUNT NO.: NOT AVAILABLE
       1544 GRANT AVE
       SAN FRANCISCO, CA 94133


3.8276 MACDONALD, JEANINE                        VARIOUS                              Litigation              UNDETERMINED
       2877 VIONA RD
       POLLOCK PINES, CA 95726       ACCOUNT NO.: NOT AVAILABLE


3.8277 MACEIRA, ASHLEY                           VARIOUS                              Litigation              UNDETERMINED
       41 HOMESTEAD AVE
       SALINAS, CA 93901             ACCOUNT NO.: NOT AVAILABLE


3.8278 MACHI, FRANK                              VARIOUS                              Litigation              UNDETERMINED
       PO 1081
       NEVADA CITY, CA 95959         ACCOUNT NO.: NOT AVAILABLE


3.8279 MACHUCA, JOSE                             VARIOUS                              Litigation              UNDETERMINED
       139 MAE AVENUE
       PITTSBURG, CA 94565           ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.8280 MACHUCA, RAUL                            VARIOUS                              Litigation              UNDETERMINED
       8650 WOODLAND HEIGHTS CT
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.8281 MACIAS DE ESPARZA, SYLVIA                VARIOUS                              Litigation              UNDETERMINED
       3251 SANDPIPER WAY
       MARINA, CA 93933             ACCOUNT NO.: NOT AVAILABLE


3.8282 MACIAS, SCOTT                            VARIOUS                              Litigation              UNDETERMINED
       537 BUCKEYE DR.
       LIVERMORE, CA 94551          ACCOUNT NO.: NOT AVAILABLE


3.8283 MACIAS, URIEL                            VARIOUS                              Litigation              UNDETERMINED
       26591 JANE AVE
       HAYWARD, CA 94544            ACCOUNT NO.: NOT AVAILABLE


3.8284 MACIEL, ADELCEIDIA                       VARIOUS                              Litigation              UNDETERMINED
       25341 VANESS AVENUE
       HAYWARD, CA 94544            ACCOUNT NO.: NOT AVAILABLE


3.8285 MACIEL, DENNIS                           VARIOUS                              Litigation              UNDETERMINED
       6461 EAGLE CT
       AUBURN, CA 95602             ACCOUNT NO.: NOT AVAILABLE


3.8286 MACIEL, JUANITA                          VARIOUS                              Litigation              UNDETERMINED
       1185 MONROE STREET
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.8287 MACIEL, MIKE                             VARIOUS                              Litigation              UNDETERMINED
       15500 BELDEN MINE RD
       PIONEER, CA 95666            ACCOUNT NO.: NOT AVAILABLE


3.8288 MACIEL, PETER                            VARIOUS                              Litigation              UNDETERMINED
       669 MIDDLEFIELD ROAD
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.8289 MACINTOSH, SUSAN                         VARIOUS                              Litigation              UNDETERMINED
       5986 SILVERLEAF DR.
       FORESTHILL, CA 95631         ACCOUNT NO.: NOT AVAILABLE


3.8290 MACK, JOSH                               VARIOUS                              Litigation              UNDETERMINED
       P.O BOX 1102
       STOCKTON, CA 95201           ACCOUNT NO.: NOT AVAILABLE


3.8291 MACKENZIE, ANN                           VARIOUS                              Litigation              UNDETERMINED
       1933 CARQUINEZ WAY
       CROCKETT, CA 94525           ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.8292 MACKIE, FRANCES                           VARIOUS                              Litigation              UNDETERMINED
       1300 S LIVERMORE AVE
       LIVERMORE, CA 94550           ACCOUNT NO.: NOT AVAILABLE


3.8293 MACKIN, MARINA                            VARIOUS                              Litigation              UNDETERMINED
       701 SHELTER CREEK LANE
       #3222                         ACCOUNT NO.: NOT AVAILABLE
       SAN BRUNO, CA 94066


3.8294 MACKINTOSH, ERIC                          VARIOUS                              Litigation              UNDETERMINED
       476 FIDDLER COURT
       22557 GOLF CLUB DRIVE         ACCOUNT NO.: NOT AVAILABLE
       TWAIN HARTE, CA 95383


3.8295 MACKLIN, PATRICK                          VARIOUS                              Litigation              UNDETERMINED
       15400 MARBLE QUARRY ROAD
       PINE GROVE, CA 95665          ACCOUNT NO.: NOT AVAILABLE


3.8296 MACLENNAN, KATHY                          VARIOUS                              Litigation              UNDETERMINED
       24 MELVIN COURT
       OAKLAND, CA 94602             ACCOUNT NO.: NOT AVAILABLE


3.8297 MACLENNAN, KATHY                          VARIOUS                              Litigation              UNDETERMINED
       24 MELVIN COURT
       OAKLAND, CA 94602             ACCOUNT NO.: NOT AVAILABLE


3.8298 MACMILLAN, KEN                            VARIOUS                              Litigation              UNDETERMINED
       2271 FIELDSTONE DR
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.8299 MACNETWORKS-HALL, GARY                    VARIOUS                              Litigation              UNDETERMINED
       5828 GATES ROAD
       SANTA ROSA, CA 95404          ACCOUNT NO.: NOT AVAILABLE


3.8300 MACNIVEN, JAMES                           VARIOUS                              Litigation              UNDETERMINED
       4006 THE MASTERS DRIVE
       FAIRFIELD, CA 94533           ACCOUNT NO.: NOT AVAILABLE


3.8301 MACON, VICKIE                             VARIOUS                              Litigation              UNDETERMINED
       612 BRIGHTWOOD STREET
       BAKERSFIELD, CA 93314         ACCOUNT NO.: NOT AVAILABLE


3.8302 MACRI, MARCANTONIO                        VARIOUS                              Litigation              UNDETERMINED
       415 ALPINE DR.
       COLFAX, CA 95713              ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.8303 MADAHAR, MANEESH                         VARIOUS                              Litigation              UNDETERMINED
       360 PANORAMIC WAY
       BERKELEY, CA 94704           ACCOUNT NO.: NOT AVAILABLE


3.8304 MADANI, SEPIDEH                          VARIOUS                              Litigation              UNDETERMINED
       1078 OAKTREE DR
       SAN JOSE, CA 95129           ACCOUNT NO.: NOT AVAILABLE


3.8305 MADARIAGA, SONDRA                        VARIOUS                              Litigation              UNDETERMINED
       1511 TRAWLER ST
       BYRON, CA 94505              ACCOUNT NO.: NOT AVAILABLE


3.8306 MADAVIN, DINESHKUMAR                     VARIOUS                              Litigation              UNDETERMINED
       3444 WOODSIDE LN
       SAN JOSE, CA 95121           ACCOUNT NO.: NOT AVAILABLE


3.8307 MADDOX, BIRGIT                           VARIOUS                              Litigation              UNDETERMINED
       250 LIGHTHOUSE AVE
       PACIFIC GROVE, CA 93950      ACCOUNT NO.: NOT AVAILABLE


3.8308 MADERA COUNTY                            VARIOUS                              Litigation              UNDETERMINED
       200 WEST 4TH ST
       MADERA, CA 93637             ACCOUNT NO.: NOT AVAILABLE


3.8309 MADERA, LEONORA                          VARIOUS                              Litigation              UNDETERMINED
       2630 PLYMOUTH WAY
       SAN BRUNO, CA 94066          ACCOUNT NO.: NOT AVAILABLE


3.8310 MADEWELL, CALVIN                         VARIOUS                              Litigation              UNDETERMINED
       9661 MANZANITA WAY
       COULTERVILLE, CA 95311       ACCOUNT NO.: NOT AVAILABLE


3.8311 MADEWELL, CHARLES                        VARIOUS                              Litigation              UNDETERMINED
       6554 GREELEY HILL RD
       SPC 10                       ACCOUNT NO.: NOT AVAILABLE
       COULTERVILLE, CA 95311


3.8312 MADISON, ANITA                           VARIOUS                              Litigation              UNDETERMINED
       1030 FUNSTON AVE
       PACIFIC GROVE, CA 93950      ACCOUNT NO.: NOT AVAILABLE


3.8313 MADISON, WILLIAM                         VARIOUS                              Litigation              UNDETERMINED
       1167 BOSWORTH STREET
       SAN FRANCISCO, CA 94131      ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8314 MADLOCK, DAIJAHNIQUE                     VARIOUS                              Litigation              UNDETERMINED
       226 UNION ST
       #4                           ACCOUNT NO.: NOT AVAILABLE
       SAN RAFAEL, CA 94901


3.8315 MADRIDEO, CYNTHIA                        VARIOUS                              Litigation              UNDETERMINED
       244 MANFRE RD
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.8316 MADRIGAL, JUAN                           VARIOUS                              Litigation              UNDETERMINED
       3373 ALMADEN RD
       SAN JOSE, CA 93563           ACCOUNT NO.: NOT AVAILABLE


3.8317 MADRIGAL, MARIA                          VARIOUS                              Litigation              UNDETERMINED
       2558 CLINTON AVE
       RICHMOND, CA 94804           ACCOUNT NO.: NOT AVAILABLE


3.8318 MADRONA, REYNOLD &                       VARIOUS                              Litigation              UNDETERMINED
       ROSALINDA
       3208 AEGEAN WAY              ACCOUNT NO.: NOT AVAILABLE
       SAN BRUNO, CA 94066


3.8319 MADRONE, SHERRY                          VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 314
       CAZADERO, CA 95421           ACCOUNT NO.: NOT AVAILABLE


3.8320 MADSEN, MEGAN                            VARIOUS                              Litigation              UNDETERMINED
       2623 CASABELLA DR.
       REDDING, CA 96002            ACCOUNT NO.: NOT AVAILABLE


3.8321 MADSON, ANGELIC                          VARIOUS                              Litigation              UNDETERMINED
       4011 AUDUBON DRIVE
       CAMINO, CA 95709             ACCOUNT NO.: NOT AVAILABLE


3.8322 MAGALLON, ALEJANDRO                      VARIOUS                              Litigation              UNDETERMINED
       340 CASTRO SS
       SAN LEANDRO, CA 94577        ACCOUNT NO.: NOT AVAILABLE


3.8323 MAGALLON, MARIA GUADALUPE                VARIOUS                              Litigation              UNDETERMINED
       13251 BYRON HWY
       BRENTWOOD, CA 94513          ACCOUNT NO.: NOT AVAILABLE


3.8324 MAGALLON, SALVADOR                       VARIOUS                              Litigation              UNDETERMINED
       33 LIVE OALIS ROAD
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8325 MAGANA, KAYLA                            VARIOUS                              Litigation              UNDETERMINED
       525 KENDALL AVENUE
       CROCKETT, CA 94525           ACCOUNT NO.: NOT AVAILABLE


3.8326 MAGANA, KENIA                            VARIOUS                              Litigation              UNDETERMINED
       20057 AUDREY LN
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.8327 MAGARIAN, LAURIE                         VARIOUS                              Litigation              UNDETERMINED
       55 CARTER ROAD
       SANTA CRUZ, CA 95060         ACCOUNT NO.: NOT AVAILABLE


3.8328 MAGDALEN, AUREYA                         VARIOUS                              Litigation              UNDETERMINED
       2640 5TH AVENUE
       SACRAMENTO, CA 95818         ACCOUNT NO.: NOT AVAILABLE


3.8329 MAGDALENO, BILL                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 56
       115 COON CREEK ROAD          ACCOUNT NO.: NOT AVAILABLE
       SALYER, CA 95563


3.8330 MAGDALENO, LAURA                         VARIOUS                              Litigation              UNDETERMINED
       1041 BUCKHORN DR
       UNIT 74                      ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93905


3.8331 MAGEE, WILLIAM                           VARIOUS                              Litigation              UNDETERMINED
       2425 WAWONA STREET
       SAN FRANCISCSO, CA 94116     ACCOUNT NO.: NOT AVAILABLE


3.8332 MAGGIES BEAUTY SALON-                    VARIOUS                              Litigation              UNDETERMINED
       RAMIREZ, MARGARITA
       612 CORRONWOOD DR            ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93307


3.8333 MAGGIORA & GHILOTTI                      VARIOUS                              Litigation              UNDETERMINED
       555 DUBOIS STREET
       SAN RAFAEL, CA 94901         ACCOUNT NO.: NOT AVAILABLE


3.8334 MAGGIORA & GHILOTTI INC                  VARIOUS                              Litigation              UNDETERMINED
       555 DUBOIS ST
       245 SAN FRANCISCO BLVD.,     ACCOUNT NO.: NOT AVAILABLE
       SAN ANSELMO
       SAN RAFAEL, CA 94901




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8335 MAGGIORA & GHILOTTI, INC                 VARIOUS                              Litigation              UNDETERMINED
       555 DUBOIS STREET
       FILBERT AVE & CAZNEAU,       ACCOUNT NO.: NOT AVAILABLE
       SAUSALITO
       SAN RAFAEL, CA 94901


3.8336 MAGGIORA & GHILOTTI, INC                 VARIOUS                              Litigation              UNDETERMINED
       555 DUBOIS STREET
       FILBERT AVE & CAZNEAU,       ACCOUNT NO.: NOT AVAILABLE
       SAUSALITO
       SAN RAFAEL, CA 94901


3.8337 MAGGIORE, DEBI                           VARIOUS                              Litigation              UNDETERMINED
       1790 HOFFMAN LANE
       BRENTWOOD, CA 94513          ACCOUNT NO.: NOT AVAILABLE


3.8338 MAGGIORE, ROBIN                          VARIOUS                              Litigation              UNDETERMINED
       550 HOFFMAN LN
       BRENTWOOD, CA 94513          ACCOUNT NO.: NOT AVAILABLE


3.8339 MAGHES, MICHELLE                         VARIOUS                              Litigation              UNDETERMINED
       2457 MARIN AVE
       BERKELEY, CA 94708           ACCOUNT NO.: NOT AVAILABLE


3.8340 MAGINNIS, SARAH                          VARIOUS                              Litigation              UNDETERMINED
       173 CALAVERAS AVE.
       PACIFICA, CA 94044           ACCOUNT NO.: NOT AVAILABLE


3.8341 MAGLEY, CHRISTINE                        VARIOUS                              Litigation              UNDETERMINED
       653 SHERREE DRIVE
       MARTINEZ, CA 94553           ACCOUNT NO.: NOT AVAILABLE


3.8342 MAGLIO, RODNEY                           VARIOUS                              Litigation              UNDETERMINED
       424 GREEN BRIAR CIRCLE
       PETALUMA, CA 94954           ACCOUNT NO.: NOT AVAILABLE


3.8343 MAGNEY, MIKE                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 3753
       SONORA, CA 95379             ACCOUNT NO.: NOT AVAILABLE


3.8344 MAGNOLI, LYNN                            VARIOUS                              Litigation              UNDETERMINED
       50 W. MAIN ST.
       LOS GATOS, CA 95030          ACCOUNT NO.: NOT AVAILABLE


3.8345 MAGNOLI, LYNN                            VARIOUS                              Litigation              UNDETERMINED
       50 W. MAIN ST.
       LOS GATOS, CA 95030          ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.8346 MAGNOLI, LYNN                            VARIOUS                              Litigation              UNDETERMINED
       50 W. MAIN ST.
       LOS GATOS, CA 95030            ACCOUNT NO.: NOT AVAILABLE


3.8347 MAGNOLI, LYNN                            VARIOUS                              Litigation              UNDETERMINED
       50 W. MAIN ST.
       LOS GATOS, CA 95030            ACCOUNT NO.: NOT AVAILABLE


3.8348 MAGNOLI, LYNN                            VARIOUS                              Litigation              UNDETERMINED
       50 W. MAIN ST.
       LOS GATOS, CA 95030            ACCOUNT NO.: NOT AVAILABLE


3.8349 MAGNOLI, LYNN                            VARIOUS                              Litigation              UNDETERMINED
       50 W. MAIN ST.
       LOS GATOS, CA 95030            ACCOUNT NO.: NOT AVAILABLE


3.8350 MAGNUM PLANTATIONS INC,                  VARIOUS                              Litigation              UNDETERMINED
       JACOB BROUWER & JEANETTE
       P. O BOX 607 320 EAST SOUTH    ACCOUNT NO.: NOT AVAILABLE
       STREET
       RD 25 0.5 MI N
       ORLAND, CA 95963


3.8351 MAGNUSON, DONNA                          VARIOUS                              Litigation              UNDETERMINED
       971 FEATHER DR #110
       COPPEROPOLIS, CA 95228         ACCOUNT NO.: NOT AVAILABLE


3.8352 MAGPAYO, MICHAEL                         VARIOUS                              Litigation              UNDETERMINED
       18410 NORTH SHORE DR.
       HIDDEN VALLEY LAKE, CA 95467   ACCOUNT NO.: NOT AVAILABLE


3.8353 MAGUIRE, DANIEL                          VARIOUS                              Litigation              UNDETERMINED
       2 ALDERNY ROAD
       SAN ANSELMO, CA 94960          ACCOUNT NO.: NOT AVAILABLE


3.8354 MAGUIRE, ROBIN                           VARIOUS                              Litigation              UNDETERMINED
       24903 OUTLOOK TER
       CARMEL, CA 93923               ACCOUNT NO.: NOT AVAILABLE


3.8355 MAGUIRE, WALTER                          VARIOUS                              Litigation              UNDETERMINED
       22090 OAK FLAT ROAD
       LOS GATOS, CA 95033            ACCOUNT NO.: NOT AVAILABLE


3.8356 MAH, ALAN                                VARIOUS                              Litigation              UNDETERMINED
       1337 DAVID AVENUE
       PACIFIC GROVE, CA 93950        ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.8357 MAHAFFEY, CATHERINE                      VARIOUS                              Litigation              UNDETERMINED
       20216 LOWER SKYRIDGE DRIVE
       GROVELAND, CA 95321           ACCOUNT NO.: NOT AVAILABLE


3.8358 MAHAFFEY, VICKI                          VARIOUS                              Litigation              UNDETERMINED
       111 PAULSON LANE
       WALNUT CREEK, CA 94595        ACCOUNT NO.: NOT AVAILABLE


3.8359 MAHANNAH, WILLIAM                        VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 122
       DOBBINS, CA 95935             ACCOUNT NO.: NOT AVAILABLE


3.8360 MAHARLIKA A CALIF LIMITED                VARIOUS                              Litigation              UNDETERMINED
       PARTNERSHIP
       1724 10TH STREET, SUITE 120   ACCOUNT NO.: NOT AVAILABLE
       443 E. SONORA ST., STOCKTON
       SACRAMENTO, CA 95203


3.8361 MAHON, MARGARET                          VARIOUS                              Litigation              UNDETERMINED
       725 NORTE DAME DRIVE
       VACAVILLE, CA 95687           ACCOUNT NO.: NOT AVAILABLE


3.8362 MAHONEY, ALAN                            VARIOUS                              Litigation              UNDETERMINED
       2780 MIDDLE TWO ROCK RD
       PETALUMA, CA 94952            ACCOUNT NO.: NOT AVAILABLE


3.8363 MAHONEY, DEBORAH                         VARIOUS                              Litigation              UNDETERMINED
       894 DAVIS STREET
       SAN LEANDRO, CA 94577         ACCOUNT NO.: NOT AVAILABLE


3.8364 MAHONEY, ERIN                            VARIOUS                              Litigation              UNDETERMINED
       15863 OLD COUNTY HWY
       BOULDER CREEK, CA 95006       ACCOUNT NO.: NOT AVAILABLE


3.8365 MAHONEY, PATRICK                         VARIOUS                              Litigation              UNDETERMINED
       5 TUDOR CITY PLACE
       APT. #1909                    ACCOUNT NO.: NOT AVAILABLE
       NEW YORK, CA 10017


3.8366 MAHRAT, ABDUL                            VARIOUS                              Litigation              UNDETERMINED
       463 CABONIA COURT
       PLEASANTON, CA 94566          ACCOUNT NO.: NOT AVAILABLE


3.8367 MAI, LEON                                VARIOUS                              Litigation              UNDETERMINED
       1174 BARRINGTON CT
       SAN JOSE, CA 95121            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8368 MAIER, CHARLES                           VARIOUS                              Litigation              UNDETERMINED
       SANTA CRUZ, CA
                                    ACCOUNT NO.: NOT AVAILABLE


3.8369 MAIERS, ROBERT                           VARIOUS                              Litigation              UNDETERMINED
       1241 SANTA CLARA ST
       SANTA CLARA, CA 95050        ACCOUNT NO.: NOT AVAILABLE


3.8370 MAIO, BRANDON                            VARIOUS                              Litigation              UNDETERMINED
       2845 VAN NESS AVENUE
       502                          ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94109


3.8371 MAJD, JAVAD                              VARIOUS                              Litigation              UNDETERMINED
       989 REDMOND AVE
       SAN JOSE, CA 95120           ACCOUNT NO.: NOT AVAILABLE


3.8372 MAJESTIC DENTAL STUDIO,                  VARIOUS                              Litigation              UNDETERMINED
       NGUYEN HOUSTON
       1654 E CAPITOL EXPRESSWAY    ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95121


3.8373 MAKHYOUN, MIRIAM                         VARIOUS                              Litigation              UNDETERMINED
       R.MICHAEL LIEBERMAN
       1398 POST STREET             ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94109


3.8374 MAKITA, MELISSA                          VARIOUS                              Litigation              UNDETERMINED
       200 BURNETT AVE
       14                           ACCOUNT NO.: NOT AVAILABLE
       MORGAN HILL, CA 95037


3.8375 MALAHIVI, JEAN                           VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 321
       2951 JOHNS ST.               ACCOUNT NO.: NOT AVAILABLE
       VALLEY FORD, CA 94972


3.8376 MALAVE, CATHY                            VARIOUS                              Litigation              UNDETERMINED
       426 2ND ST
       RICHMOND, CA 94801           ACCOUNT NO.: NOT AVAILABLE


3.8377 MALAZNIK, LINN                           VARIOUS                              Litigation              UNDETERMINED
       10080 PARRISH VIEW DR
       GILROY, CA 95020             ACCOUNT NO.: NOT AVAILABLE


3.8378 MALDONADO, DIANA                         VARIOUS                              Litigation              UNDETERMINED
       1931 BRISTOL LN
       3                            ACCOUNT NO.: NOT AVAILABLE
       FAIRFIELD, CA 94533

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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8379 MALDONADO, HEATHER                       VARIOUS                              Litigation              UNDETERMINED
       7645 SLEEPY HOLLOW LANE
       PRUNEDALE, CA 93907          ACCOUNT NO.: NOT AVAILABLE


3.8380 MALDONADO, IGNACIO                       VARIOUS                              Litigation              UNDETERMINED
       1331 UNION HEIGHTS DRIVE
       HOLLISTER, CA 95023          ACCOUNT NO.: NOT AVAILABLE


3.8381 MALDONADO, JANINE                        VARIOUS                              Litigation              UNDETERMINED
       3670 MAPLE ST
       ROCKLIN, CA 95677            ACCOUNT NO.: NOT AVAILABLE


3.8382 MALDONADO, JOEL & CECILIA                VARIOUS                              Litigation              UNDETERMINED
       1135 PASEO GRANDE
       SALINAS, CA 93905            ACCOUNT NO.: NOT AVAILABLE


3.8383 MALDONADO, JOSEPH                        VARIOUS                              Litigation              UNDETERMINED
       5244 KATHY WAY
       LIVERMORE, CA 94550          ACCOUNT NO.: NOT AVAILABLE


3.8384 MALDONADO, KARLA                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 91
       LOLETA, CA 95551             ACCOUNT NO.: NOT AVAILABLE


3.8385 MALDONADO, RICHARD                       VARIOUS                              Litigation              UNDETERMINED
       13277 DRIFTWOOD VLG
       CLEARLAKE OAKS, CA 95423     ACCOUNT NO.: NOT AVAILABLE


3.8386 MALDONADO, ROSEMARY                      VARIOUS                              Litigation              UNDETERMINED
       649 SANTA ROSA ST
       MANTECA, CA 95336            ACCOUNT NO.: NOT AVAILABLE


3.8387 MALETSKYI, IEVGEN                        VARIOUS                              Litigation              UNDETERMINED
       641 KODIAK COURT
       APT 3                        ACCOUNT NO.: NOT AVAILABLE
       SUNNYVALE, CA 94087


3.8388 MALICDEM, SIGRID/MARIO                   VARIOUS                              Litigation              UNDETERMINED
       1039 MAYPORT DRIVE
       PITTSBURG, CA 94565          ACCOUNT NO.: NOT AVAILABLE


3.8389 MALIK, VICTORIA                          VARIOUS                              Litigation              UNDETERMINED
       1059 MAIN STREET SPC #14
       OAKLEY, CA 94561             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.8390 MALLAMPATI, RAM                          VARIOUS                              Litigation              UNDETERMINED
       284 CORNING AVE
       MILPITAS, CA 95035           ACCOUNT NO.: NOT AVAILABLE


3.8391 MALLAMPATI, RAM                          VARIOUS                              Litigation              UNDETERMINED
       284 CORNING AVENUE
       MILPITAS, CA 95035           ACCOUNT NO.: NOT AVAILABLE


3.8392 MALLEY, LINDA                            VARIOUS                              Litigation              UNDETERMINED
       1065 HARVEST MILL DRIVE
       MANTECA, CA 95336            ACCOUNT NO.: NOT AVAILABLE


3.8393 MALLIARYS, LEO                           VARIOUS                              Litigation              UNDETERMINED
       200 DRAEGER DRIVE
       MORAGA, CA 94556             ACCOUNT NO.: NOT AVAILABLE


3.8394 MALLON, PETER                            VARIOUS                              Litigation              UNDETERMINED
       64 NOKOMIS AVE
       SAN ANSELMO, CA 94960        ACCOUNT NO.: NOT AVAILABLE


3.8395 MALLORY, MICHAEL                         VARIOUS                              Litigation              UNDETERMINED
       1127 N MCKELVY AVE
       CLOVIS, CA 93611             ACCOUNT NO.: NOT AVAILABLE


3.8396 MALLORY, MICHAEL                         VARIOUS                              Litigation              UNDETERMINED
       1127 N MCKELVY AVE
       CLOVIS, CA 93611             ACCOUNT NO.: NOT AVAILABLE


3.8397 MALONE, GEORGE                           VARIOUS                              Litigation              UNDETERMINED
       1830 CLEARVIEW DRIVE
       HOLLISTER, CA 95023          ACCOUNT NO.: NOT AVAILABLE


3.8398 MALONE, STEVEN                           VARIOUS                              Litigation              UNDETERMINED
       22160 BERRY DRIVE
       SALINAS, CA 93908            ACCOUNT NO.: NOT AVAILABLE


3.8399 MALOY, A KAY                             VARIOUS                              Litigation              UNDETERMINED
       675 RUBY ROAD
       LIVERMORE, CA 94550          ACCOUNT NO.: NOT AVAILABLE


3.8400 MALVEAUX, DAVID                          VARIOUS                              Litigation              UNDETERMINED
       999 MATTHEW CT
       FAIRFIELD, CA 94533          ACCOUNT NO.: NOT AVAILABLE


3.8401 MAN C WONG-SO, UNSUK                     VARIOUS                              Litigation              UNDETERMINED
       1411 45TH AVE
       SAN FRANCISCO, CA 94122      ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8402 MANAKO, ANNIE                            VARIOUS                              Litigation              UNDETERMINED
       225 SUNSET AVE
       SANTA CRUZ, CA 95060         ACCOUNT NO.: NOT AVAILABLE


3.8403 MANASHI, ROBERT                          VARIOUS                              Litigation              UNDETERMINED
       9000 CROW CANYON RD
       DANVILLE, CA 94506           ACCOUNT NO.: NOT AVAILABLE


3.8404 MANCERA, LOURDES                         VARIOUS                              Litigation              UNDETERMINED
       1201 CAMARILLO CT
       SALINAS, CA 93905            ACCOUNT NO.: NOT AVAILABLE


3.8405 MANCERA, MONICA                          VARIOUS                              Litigation              UNDETERMINED
       1041 BUCKHORN DRIVE
       SALINAS, CA 93905            ACCOUNT NO.: NOT AVAILABLE


3.8406 MANCIA, MARIO                            VARIOUS                              Litigation              UNDETERMINED
       33 N 13TH STREET
       MERCED, CA 95340             ACCOUNT NO.: NOT AVAILABLE


3.8407 MANDANI, MARTI                           VARIOUS                              Litigation              UNDETERMINED
       4250 OLD SACRAMENTO RD
       PLYMOUTH, CA 95669           ACCOUNT NO.: NOT AVAILABLE


3.8408 MANDELL, EDWARD                          VARIOUS                              Litigation              UNDETERMINED
       200588 DEBBIE LANE
       SARATOGA, CA 95070           ACCOUNT NO.: NOT AVAILABLE


3.8409 MANDELL, LINNEA                          VARIOUS                              Litigation              UNDETERMINED
       841 VILLA WAY
       ARCATA, CA 95521             ACCOUNT NO.: NOT AVAILABLE


3.8410 MANDELL, LINNEA                          VARIOUS                              Litigation              UNDETERMINED
       841 VILLA WAY
       ARCATA, CA 95521             ACCOUNT NO.: NOT AVAILABLE


3.8411 MANDERINO, KELLY                         VARIOUS                              Litigation              UNDETERMINED
       676 ISLAY STREET
       SAN LUIS OBISPO, CA 93401    ACCOUNT NO.: NOT AVAILABLE


3.8412 MANDRICK, ALANA                          VARIOUS                              Litigation              UNDETERMINED
       117 ANITA STREET
       SANTA CRUZ, CA 95060         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8413 MANESS, MITCH                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 41
       2830 CAMINO DIABLE           ACCOUNT NO.: NOT AVAILABLE
       BYRON, CA 94514


3.8414 MANFREDI, DONNA                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1333
       16826 DEER TRAIL             ACCOUNT NO.: NOT AVAILABLE
       PIONEER, CA 95666


3.8415 MANFREDI, THOMAS &                       VARIOUS                              Litigation              UNDETERMINED
       JENNIFER
       3269 BRANDY LANE             ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95132


3.8416 MANGIOLA, KRISSY                         VARIOUS                              Litigation              UNDETERMINED
       2429 EDITH AVE
       REDWOOD CITY, CA 94061       ACCOUNT NO.: NOT AVAILABLE


3.8417 MANGRUM SR., DARYL D.                    VARIOUS                              Litigation              UNDETERMINED
       1751 103RD AVENUE
       OAKLAND, CA 94603            ACCOUNT NO.: NOT AVAILABLE


3.8418 MANI, ALI                                VARIOUS                              Litigation              UNDETERMINED
       24 LINARIA WAY
       MENLO PARK, CA 94028         ACCOUNT NO.: NOT AVAILABLE


3.8419 MANI, KRISHNA                            VARIOUS                              Litigation              UNDETERMINED
       1240 CIRCLE AVE.
       SEASIDE, CA 93955            ACCOUNT NO.: NOT AVAILABLE


3.8420 MANIBUSAN, JACQUELINE                    VARIOUS                              Litigation              UNDETERMINED
       1110 IRONWOOD ROAD
       ALAMEDA, CA 94502            ACCOUNT NO.: NOT AVAILABLE


3.8421 MANIKOSKI, DON                           VARIOUS                              Litigation              UNDETERMINED
       30817 HAGEN FLAT RD
       BIG BEND, CA 96011           ACCOUNT NO.: NOT AVAILABLE


3.8422 MANIKOSKI, DON                           VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 27
       30817 HAGEN FLAT RD.         ACCOUNT NO.: NOT AVAILABLE
       BIG BEND, CA 96011


3.8423 MANIKUTTY, ANAND                         VARIOUS                              Litigation              UNDETERMINED
       P O BOX 601
       SOLEDAD, CA 93960            ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8424 MANLEY, ENJOLI                           VARIOUS                              Litigation              UNDETERMINED
       2233 CALHOWN WAY
       STOCKTON, CA 95207           ACCOUNT NO.: NOT AVAILABLE


3.8425 MANLULU, PETERITA                        VARIOUS                              Litigation              UNDETERMINED
       400 GRANADA DIVE
       SOUTH SAN FRANCISCO, CA      ACCOUNT NO.: NOT AVAILABLE
       94080


3.8426 MANN, MORTON                             VARIOUS                              Litigation              UNDETERMINED
       19986 MALLORY COURT
       SARATOGA, CA 95070           ACCOUNT NO.: NOT AVAILABLE


3.8427 MANN, MYLAN                              VARIOUS                              Litigation              UNDETERMINED
       2374 LAURA LANE
       MOUNTAIN VIEW, CA 94043      ACCOUNT NO.: NOT AVAILABLE


3.8428 MANNA RANCH DBA ACAMPO                   VARIOUS                              Litigation              UNDETERMINED
       AG-LANG, JOSH
       775 E ACAMPO RD              ACCOUNT NO.: NOT AVAILABLE
       ACAMPO, CA 95220


3.8429 MANNA, GIUSEPPE                          VARIOUS                              Litigation              UNDETERMINED
       39 VERNA STREET
       SAN FRANCISCO, CA 94127      ACCOUNT NO.: NOT AVAILABLE


3.8430 MANNEH, KHALIL                           VARIOUS                              Litigation              UNDETERMINED
       208 BONITA AVE
       SOUTH SAN FRANCSICO, CA      ACCOUNT NO.: NOT AVAILABLE
       94080


3.8431 MANNING, ELIZABETH                       VARIOUS                              Litigation              UNDETERMINED
       7531 DESMOND CT
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.8432 MANNING, MARK                            VARIOUS                              Litigation              UNDETERMINED
       6380 RAILROAD FLAT ROAD
       MOUNTAIN RANCH, CA           ACCOUNT NO.: NOT AVAILABLE


3.8433 MANNING, TERRY                           VARIOUS                              Litigation              UNDETERMINED
       127 ASTER WAY
       EAST PALO ALTO, CA 94303     ACCOUNT NO.: NOT AVAILABLE


3.8434 MANOR, MARVIN                            VARIOUS                              Litigation              UNDETERMINED
       3070 BEAU PRE DRIVE
       MCKINLEYVILLE, CA 95519      ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8435 MANRIQUE, ROBERT                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 860
       MOUNTAIN RANCH, CA 95246     ACCOUNT NO.: NOT AVAILABLE


3.8436 MANRIQUEZ, MARIA                         VARIOUS                              Litigation              UNDETERMINED
       17036 ACACIA WAY
       CLEARLAKE OAKS, CA 95423     ACCOUNT NO.: NOT AVAILABLE


3.8437 MANRY, LINDA                             VARIOUS                              Litigation              UNDETERMINED
       18179 BANCROFT AVENE
       B                            ACCOUNT NO.: NOT AVAILABLE
       MONTE SERENO, CA 95030


3.8438 MANSFIELD, LISA                          VARIOUS                              Litigation              UNDETERMINED
       641 PARADISE RD
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.8439 MANSFIELD, MARK                          VARIOUS                              Litigation              UNDETERMINED
       33639 BLUFF DR
       COARSEGOLD, CA 93614         ACCOUNT NO.: NOT AVAILABLE


3.8440 MANSFIELD, WILLIAM                       VARIOUS                              Litigation              UNDETERMINED
       1136 DEAN AVE
       DEAN AVE                     ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95125


3.8441 MANUAL, SANDRA                           VARIOUS                              Litigation              UNDETERMINED
       25 1/2 MONUMENT RD
       RIO DELL, CA 95562           ACCOUNT NO.: NOT AVAILABLE


3.8442 MANUEL VEGA, MARIA VEGA,                 VARIOUS                              Litigation              UNDETERMINED
       MANUEL VEGA, MARIA VEGA
       MARY ALEXANDER, BRENDAN      ACCOUNT NO.: NOT AVAILABLE
       WAY, CATALINA MUNOZ
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.8443 MANUEL VEGA, MARIA VEGA,                 VARIOUS                              Litigation              UNDETERMINED
       MANUEL VEGA, MARIA VEGA
       BOBBY THOMPSON               ACCOUNT NO.: NOT AVAILABLE
       703 AIRPORT BLVD
       SUITE 163
       BURLINGAME, CA 94010




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8444 MANUEL VEGA, MARIA VEGA,                 VARIOUS                              Litigation              UNDETERMINED
       MANUEL VEGA, MARIA VEGA
       ROGER A. DREYER, ROBERT      ACCOUNT NO.: NOT AVAILABLE
       BALE, ANTON BABICH
       20 BICENTENNIAL CIRCLE
       SACRAMENTO, CA 95826


3.8445 MANUEL, JAMES                            VARIOUS                              Litigation              UNDETERMINED
       16992 COLUMBIA RIVER DR
       SONORA, CA 95370             ACCOUNT NO.: NOT AVAILABLE


3.8446 MANUEL, LORENZO                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1141
       HOOPA, CA 95546              ACCOUNT NO.: NOT AVAILABLE


3.8447 MANUEL, WILSON                           VARIOUS                              Litigation              UNDETERMINED
       10 PIEDMONT ROAD
       LARKSPUR, CA 94939           ACCOUNT NO.: NOT AVAILABLE


3.8448 MANZO, JOSE                              VARIOUS                              Litigation              UNDETERMINED
       9354 WHITE WATER LANE
       STOCKTON, CA 95219           ACCOUNT NO.: NOT AVAILABLE


3.8449 MAPES, CHRISTOPHER                       VARIOUS                              Litigation              UNDETERMINED
       1529 SHARON PL.
       SAN MATEO, CA 94401          ACCOUNT NO.: NOT AVAILABLE


3.8450 MAPFRE INSURANCE, MARIA                  VARIOUS                              Litigation              UNDETERMINED
       MCMENEMY
       11 GORE RD                   ACCOUNT NO.: NOT AVAILABLE
       WEBSTER, CA 01570


3.8451 MARA, LEO                                VARIOUS                              Litigation              UNDETERMINED
       978 ROXANNE STREET
       LIVERMORE, CA 94550          ACCOUNT NO.: NOT AVAILABLE


3.8452 MARAK, NOELLE                            VARIOUS                              Litigation              UNDETERMINED
       1110 FRESH WATER RD.
       EUREKA, CA 95503             ACCOUNT NO.: NOT AVAILABLE


3.8453 MARANATHA LANDSCAPE INC-                 VARIOUS                              Litigation              UNDETERMINED
       HENSON, MELANIE
       10805 BRICKYARD COURT        ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93306


3.8454 MARASCO, JUDITH                          VARIOUS                              Litigation              UNDETERMINED
       751 NORTH WESTHAVEN DR
       P.O. BOX 1122                ACCOUNT NO.: NOT AVAILABLE
       TRINIDAD, CA 95570

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Litigation & Disputes

3.8455 MARASHLIAN, CHRISTOPHER                  VARIOUS                              Litigation              UNDETERMINED
       99 ROCKFORD AVE.
       DALY CITY, CA 94015          ACCOUNT NO.: NOT AVAILABLE


3.8456 MARATAS, MERANDA                         VARIOUS                              Litigation              UNDETERMINED
       320 LAS FLORES DRIVE
       GUADALUPE, CA 93434          ACCOUNT NO.: NOT AVAILABLE


3.8457 MARAVILLA, CARINA                        VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 248
       WESTLEY, CA 95387            ACCOUNT NO.: NOT AVAILABLE


3.8458 MARAVILLA, EVANGELINA                    VARIOUS                              Litigation              UNDETERMINED
       4602 WALNUT ST.
       OAKLAND, CA 94619            ACCOUNT NO.: NOT AVAILABLE


3.8459 MARAVILLA, LUCY                          VARIOUS                              Litigation              UNDETERMINED
       16960 EL RANCHO WAY
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.8460 MARCELINO, JOE                           VARIOUS                              Litigation              UNDETERMINED
       5919 ORCHARD PARK
       WINTON, CA 95388             ACCOUNT NO.: NOT AVAILABLE


3.8461 MARCELL, SANDRA                          VARIOUS                              Litigation              UNDETERMINED
       9155 N STATE ST SPC 6
       REDWOOD VALLEY, CA 95470     ACCOUNT NO.: NOT AVAILABLE


3.8462 MARCENE, HEAD                            VARIOUS                              Litigation              UNDETERMINED
       1291 GOLD STRIKE DRIVE
       PLACERVILLE, CA 95667        ACCOUNT NO.: NOT AVAILABLE


3.8463 MARCHAND, MICHELLE                       VARIOUS                              Litigation              UNDETERMINED
       4545 GEORGETOWN PLACE,
       SUITE F-42                   ACCOUNT NO.: NOT AVAILABLE
       STOCKTON, CA 95207-6229


3.8464 MARCHBANKS COMPLEX, LTD-                 VARIOUS                              Litigation              UNDETERMINED
       BERGREN, SCOT
       1700 YGNACIO VALLEY RD       ACCOUNT NO.: NOT AVAILABLE
       SUITE 216
       WALNUT CREEK, CA 94526


3.8465 MARCHETTI, JUDY                          VARIOUS                              Litigation              UNDETERMINED
       315 N FORTUNA BLVD
       FORTUNA, CA 95540            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.8466 MARCUM, LES                              VARIOUS                              Litigation              UNDETERMINED
       5040 JACKSON ST
       #70                          ACCOUNT NO.: NOT AVAILABLE
       NORTH HIGHLANDS, CA 95660


3.8467 MARCUS, CORY                             VARIOUS                              Litigation              UNDETERMINED
       203 ALEXANDER AVENUE
       718 SIR FANCIS DRAKE BLVD    ACCOUNT NO.: NOT AVAILABLE
       KENTFIELD, CA 94939


3.8468 MAREK, RAYMOND                           VARIOUS                              Litigation              UNDETERMINED
       41050 JEAN ROAD EAST
       OAKHURST, CA 93644           ACCOUNT NO.: NOT AVAILABLE


3.8469 MARES, JORGE                             VARIOUS                              Litigation              UNDETERMINED
       2117 WATERFORD ROAD
       SACRAMENTO, CA 95815         ACCOUNT NO.: NOT AVAILABLE


3.8470 MARES, LETICIA                           VARIOUS                              Litigation              UNDETERMINED
       1581 HOLLY DR
       TRACY, CA 95376              ACCOUNT NO.: NOT AVAILABLE


3.8471 MARFUTA, PRESTON                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 549
       INVERNESS, CA 94937          ACCOUNT NO.: NOT AVAILABLE


3.8472 MARGARET BOHLKA                          VARIOUS                              Litigation              UNDETERMINED
       GREGORY VANNI, RAFTI
       OHANIAN                      ACCOUNT NO.: NOT AVAILABLE
       1100 EAST GREEN STREET
       PASADENA, CA 91106


3.8473 MARGARET BOHLKA                          VARIOUS                              Litigation              UNDETERMINED
       MARY ALEXANDER, BRENDAN
       WAY, CATALINA MUNOZ          ACCOUNT NO.: NOT AVAILABLE
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.8474 MARGARET MARY O'LAUGHLIN                 VARIOUS                              Litigation              UNDETERMINED
       848 THE ALAMEDA SAN JOSE
       SAN JOSE, CA 95126           ACCOUNT NO.: NOT AVAILABLE


3.8475 MARGARITA VINEYARDS LLC-                 VARIOUS                              Litigation              UNDETERMINED
       RODGERS, HEATHER
       22720 EL CAMINO REAL         ACCOUNT NO.: NOT AVAILABLE
       SANTA MARGARITA, CA 93453




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Litigation & Disputes

3.8476 MARGIE THOMPSON, LINDA                        VARIOUS                              Litigation              UNDETERMINED
       THOMPSON & OVOMTE
       KENDALL                              ACCOUNT NO.: NOT AVAILABLE
       LAW OFFICE OF SUSAN KANG
       GORDON
       21C ORINDA WAY #162
       ORINDA, CA 94563


3.8477 Maria Elena Gonzalez, individually            VARIOUS                              Litigation              UNDETERMINED
       and as Guardian ad Litem for Luis
       Daniel Noguez Martinez and Diego     ACCOUNT NO.: NOT AVAILABLE
       Noguez Martinez; Oscar Martinez
       Gonzalez; Gilberto Martinez
       Gonzalez and Guadalupe Martinez
       Gonzalez
       Perez, Williams & Medina (Perez
       Williams Medina & Rodriguez)
       1432 Divisadero
       Fresno, CA 93721


3.8478 MARIA ELENA'S INC, VANESSA                    VARIOUS                              Litigation              UNDETERMINED
       ANAYA
       PO BOX 194                           ACCOUNT NO.: NOT AVAILABLE
       ALVISO, CA 95002


3.8479 MARIAROSSI, JOSEPH                            VARIOUS                              Litigation              UNDETERMINED
       4702 E LAUREL AVE
       FRESNO, CA 93702                     ACCOUNT NO.: NOT AVAILABLE


3.8480 MARILLA, ROGER                                VARIOUS                              Litigation              UNDETERMINED
       221 N THOMPSON AVE
       NIPOMO, CA 93444                     ACCOUNT NO.: NOT AVAILABLE


3.8481 MARIN COUNTY PARKS, ADAM                      VARIOUS                              Litigation              UNDETERMINED
       CRAIG
       3501 CIVIC CENTER DRIVE #260         ACCOUNT NO.: NOT AVAILABLE
       SAN RAFAEL, CA 94903


3.8482 MARIN MUNICIPAL WATER                         VARIOUS                              Litigation              UNDETERMINED
       DISTRICT
       220 NELLEN AVENUE                    ACCOUNT NO.: NOT AVAILABLE
       49 SKY OAKS RD,FAIRFAX
       CORTE MADERA, CA 94925


3.8483 MARIN MUNICIPAL WATER                         VARIOUS                              Litigation              UNDETERMINED
       DISTRICT
       220 NELLEN AVE                       ACCOUNT NO.: NOT AVAILABLE
       CORTE MADERA, CA 94925




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Litigation & Disputes

3.8484 MARIN MUNICIPAL WATER                    VARIOUS                              Litigation              UNDETERMINED
       DISTRICT
       220 NELLEN AVENUE            ACCOUNT NO.: NOT AVAILABLE
       2 ALTA VIST WAY
       SAN RAFAEL, CA 94925


3.8485 MARIN MUNICIPAL WATER                    VARIOUS                              Litigation              UNDETERMINED
       DISTRICT, ROBERT
       STOLTENBERG                  ACCOUNT NO.: NOT AVAILABLE
       220 NELLEN AVENUE
       36 MARIE STREET
       SAUSALITO, CA 94965


3.8486 MARINA GELMAN; MIKHAIL                   VARIOUS                              Litigation              UNDETERMINED
       GELMAN
       LAW OFFICES OF BORIS E.      ACCOUNT NO.: NOT AVAILABLE
       EFRON (ATTORNEYS FOR
       PLAINTIFFS)
       130 PORTOLA ROAD
       SAN FRANCISCO, CA 94028


3.8487 MARINA GELMAN; MIKHAIL                   VARIOUS                              Litigation              UNDETERMINED
       GELMAN
       KELLY COLLINS, DEPUTY CITY   ACCOUNT NO.: NOT AVAILABLE
       ATTORNEY, CITY OF SAN
       FRANCISCO (CROSS-
       COMPLAINANT/DEFENDANT)
       1390 MARKET STREET, 6TH
       FLOOR
       SAN FRANCISCO, CA 94102


3.8488 MARINA-TOMPKINS, VICTORIA                VARIOUS                              Litigation              UNDETERMINED
       PO BOX 847
       254 COLUMBUS STREET          ACCOUNT NO.: NOT AVAILABLE
       EL GRANADA, CA 94018


3.8489 MARINE, BRENDA                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 5240
       SONORA, CA 95370             ACCOUNT NO.: NOT AVAILABLE


3.8490 MARINERS GREEN #2-SANDY,                 VARIOUS                              Litigation              UNDETERMINED
       JANIS
       353 MAIN STREET              ACCOUNT NO.: NOT AVAILABLE
       REDWOOD CITY, CA 94063


3.8491 MARINO, CLAUDIO                          VARIOUS                              Litigation              UNDETERMINED
       1055 HAZELWOOD AVE.
       SAN JOSE, CA 95125           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.8492 MARINO, PATRICIA                         VARIOUS                              Litigation              UNDETERMINED
       18468 4TH AVENUE
       SONOMA, CA 95426               ACCOUNT NO.: NOT AVAILABLE


3.8493 MARINOFF, NOVELLA                        VARIOUS                              Litigation              UNDETERMINED
       4580 BRIDGEPORT DR
       MARIPOSA, CA 95338             ACCOUNT NO.: NOT AVAILABLE


3.8494 MARINSHIP SELF STORAGE-                  VARIOUS                              Litigation              UNDETERMINED
       JIMENEZ, CHRIS
       2340 MARINSHIP WAY             ACCOUNT NO.: NOT AVAILABLE
       SAUSALITO, CA 94965


3.8495 MARINWOOD COMMUNITY                      VARIOUS                              Litigation              UNDETERMINED
       SERVICES DISTRICT-
       DREIKOSEN, ERIC                ACCOUNT NO.: NOT AVAILABLE
       775 MILLER CREEEK ROAD
       SAN RAFAEL, CA 94903


3.8496 MARIO HIDALGO - DBASABOR                 VARIOUS                              Litigation              UNDETERMINED
       SALVADERNO; MARIO HIDALGO
       ; SASHI KALIA - DBAKP LIQUOR   ACCOUNT NO.: NOT AVAILABLE
       STORE; SASHI KALIA ; JERRY
       VIGNATO ;POINCIANA LOUNGE,
       INC; THACH KIM LE
       MARK DAWSON (NORTON &
       MELNIK)ANDREW
       LAUDERDALE (HARTSUYKER)
       500 LA GONDA WAY, DANVILLE
       CA


3.8497 MARIO HIDALGO - DBASABOR                 VARIOUS                              Litigation              UNDETERMINED
       SALVADERNO; MARIO HIDALGO
       ; SASHI KALIA - DBAKP LIQUOR   ACCOUNT NO.: NOT AVAILABLE
       STORE; SASHI KALIA ; JERRY
       VIGNATO ;POINCIANA LOUNGE,
       INC; THACH KIM LE
       JOHN THYKEN (COTCHET,
       PITRE & MCCARTHY, LLP)
       840 MALCOM RD, SUITE 200
       BURLINGAME, CA 94010


3.8498 MARIO HIDALGO - DBASABOR                 VARIOUS                              Litigation              UNDETERMINED
       SALVADERNO; MARIO HIDALGO
       ; SASHI KALIA - DBAKP LIQUOR   ACCOUNT NO.: NOT AVAILABLE
       STORE; SASHI KALIA ; JERRY
       VIGNATO ;POINCIANA LOUNGE,
       INC; THACH KIM LE
       CHERIE EDSON (LEWIS
       BRISBOIS)
       849 MENLO AVE
       MENLO PARK, CA 94025



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Litigation & Disputes

3.8499 MARIO HIDALGO - DBASABOR                 VARIOUS                              Litigation              UNDETERMINED
       SALVADERNO; MARIO HIDALGO
       ; SASHI KALIA - DBAKP LIQUOR   ACCOUNT NO.: NOT AVAILABLE
       STORE; SASHI KALIA ; JERRY
       VIGNATO ;POINCIANA LOUNGE,
       INC; THACH KIM LE
       SARA GODOY DESUGURA
       (ROBERT DAYE)
       ONE ALMADEN BLVD. #400
       SAN JOSE, CA


3.8500 MARIO HIDALGO - DBASABOR                 VARIOUS                              Litigation              UNDETERMINED
       SALVADERNO; MARIO HIDALGO
       ; SASHI KALIA - DBAKP LIQUOR   ACCOUNT NO.: NOT AVAILABLE
       STORE; SASHI KALIA ; JERRY
       VIGNATO ;POINCIANA LOUNGE,
       INC; THACH KIM LE
       1 EMBARCADERO CENTER,
       SUITE 800
       SAN FRANCISCO, CA 94111


3.8501 MARIO HIDALGO - DBASABOR                 VARIOUS                              Litigation              UNDETERMINED
       SALVADERNO; MARIO HIDALGO
       ; SASHI KALIA - DBAKP LIQUOR   ACCOUNT NO.: NOT AVAILABLE
       STORE; SASHI KALIA ; JERRY
       VIGNATO ;POINCIANA LOUNGE,
       INC; THACH KIM LE
       CHARLES MILLER (BARTKO)
       333 BUSH ST., SUITE 1100
       SAN FRANCISCO, CA 94104


3.8502 MARIONI, WALTER                          VARIOUS                              Litigation              UNDETERMINED
       46 FOREST AVENUE
       SAN ANSELMO, CA 94960          ACCOUNT NO.: NOT AVAILABLE


3.8503 MARIPOSA COUNTY UNIFIED                  VARIOUS                              Litigation              UNDETERMINED
       SCHOOLS-RICHARDS, TAMMI
       5082 OLD HWY NORTH             ACCOUNT NO.: NOT AVAILABLE
       MARIPOSA, CA 95338


3.8504 MARISCAL, LINDA                          VARIOUS                              Litigation              UNDETERMINED
       47 MANZANITA ROAD
       FAIRFAX, CA 94930              ACCOUNT NO.: NOT AVAILABLE


3.8505 MARK DAVIS DDS-DAVIS, MARK               VARIOUS                              Litigation              UNDETERMINED
       12605 APPALOOSA RD
       MADERA, CA 93636               ACCOUNT NO.: NOT AVAILABLE


3.8506 MARK W DAL PORTO DDS-                    VARIOUS                              Litigation              UNDETERMINED
       PORTO, MARK W
       516 W REMINGTON DR #2          ACCOUNT NO.: NOT AVAILABLE
       SUNNYVALE, CA 94087


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Litigation & Disputes

3.8507 MARKELLA, ABBESS                          VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 549
       DUNLAP, CA 93621              ACCOUNT NO.: NOT AVAILABLE


3.8508 MARKET, BOHEMIAN                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 128
       ATTN COURTNEY MEYER           ACCOUNT NO.: NOT AVAILABLE
       OCCIDENTAL, CA 95465


3.8509 MARKETTE, CAROL                           VARIOUS                              Litigation              UNDETERMINED
       1766 VIA NATAL
       SAN LEANDRO, CA 94580         ACCOUNT NO.: NOT AVAILABLE


3.8510 MARKLEY, CHARLES                          VARIOUS                              Litigation              UNDETERMINED
       2098 BRUTUS STREET
       SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.8511 MARKS, DONOVAN                            VARIOUS                              Litigation              UNDETERMINED
       1390 BROADWAY
       STE B PMB 291                 ACCOUNT NO.: NOT AVAILABLE
       PLACERVILLE, CA 95667


3.8512 MARKS, ELIZABETH                          VARIOUS                              Litigation              UNDETERMINED
       363 FALCON CREST DRIVE
       ARROYO GRANDE, CA 93420       ACCOUNT NO.: NOT AVAILABLE


3.8513 MARKS, SHERI                              VARIOUS                              Litigation              UNDETERMINED
       5392 HUTCHINSON RD
       SEBASTOPOL, CA 95472          ACCOUNT NO.: NOT AVAILABLE


3.8514 MARLA DEBEVEC,                            VARIOUS                              Litigation              UNDETERMINED
       INDIVIDUALLY AND AS
       SUCCESSOR-IN-INTEREST TO      ACCOUNT NO.: NOT AVAILABLE
       LUIS DEBEVEC
       THE LANIER LAW FIRM
       6810 FM 1960 WEST
       HUSTON, TX 77069


3.8515 MARLEY, GARY                              VARIOUS                              Litigation              UNDETERMINED
       466 EL CAMINO DR
       FAIRFIELD, CA 94533           ACCOUNT NO.: NOT AVAILABLE


3.8516 MARLIN, WILLIS & SHANNON                  VARIOUS                              Litigation              UNDETERMINED
       5532 DRAKES COURT
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.8517 MARO, SYLYIA                              VARIOUS                              Litigation              UNDETERMINED
       5080 SKI RUN
       POLLOCK PINES, CA 95726       ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.8518 MAROHN, STEPHANIE                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 752
       MOUNTAIN RANCH, CA 95246      ACCOUNT NO.: NOT AVAILABLE


3.8519 MARQUEZ DAY CARE,                         VARIOUS                              Litigation              UNDETERMINED
       MARQUEZ CLEOTILDE
       130 HILLCREST RD              ACCOUNT NO.: NOT AVAILABLE
       ROYAL OAKS, CA 95076


3.8520 MARQUEZ, KRISTINA                         VARIOUS                              Litigation              UNDETERMINED
       2 CUMMINGS DRIVE
       CARMEL VALLEY, CA 93924       ACCOUNT NO.: NOT AVAILABLE


3.8521 MARQUEZ, MARCELINO                        VARIOUS                              Litigation              UNDETERMINED
       PO BOX 2704
       WATSONVILLE, CA 95077         ACCOUNT NO.: NOT AVAILABLE


3.8522 MARQUEZ, WILLIAM                          VARIOUS                              Litigation              UNDETERMINED
       516 LUPIN LANE
       SANTA MARIA, CA 93455         ACCOUNT NO.: NOT AVAILABLE


3.8523 MARRERO, LUTINO                           VARIOUS                              Litigation              UNDETERMINED
       15280 EVERGREEN DR.
       COBB, CA 95426                ACCOUNT NO.: NOT AVAILABLE


3.8524 MARROQUIN, MICHAEL                        VARIOUS                              Litigation              UNDETERMINED
       RODRIGUEZ & ASSOCIATES
       2020 EYE STREET               ACCOUNT NO.: NOT AVAILABLE
       STREET, BAKERSFIELD, CA
       93301


3.8525 MARROQUIN, MICHAEL                        VARIOUS                              Litigation              UNDETERMINED
       1103 SIOUX DR
       BAKERSFIELD, CA 93312         ACCOUNT NO.: NOT AVAILABLE


3.8526 MARSDEN, MARGERY                          VARIOUS                              Litigation              UNDETERMINED
       26 PASATIEMPO DR
       SANTA CRUZ, CA 95060          ACCOUNT NO.: NOT AVAILABLE


3.8527 MARSH, SUZANNE                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 4448
       CLEARLAKE, CA 95422           ACCOUNT NO.: NOT AVAILABLE


3.8528 MARSHALL MEDICAL DIVIDE-                  VARIOUS                              Litigation              UNDETERMINED
       KIRK, SHER
       5741 MT MURPHEY               ACCOUNT NO.: NOT AVAILABLE
       GARDENVALLEY, CA 95633



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Litigation & Disputes

3.8529 MARSHALL, CHERRI                         VARIOUS                              Litigation              UNDETERMINED
       2264 N MAIN AT
       144                          ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.8530 MARSHALL, LOLA                           VARIOUS                              Litigation              UNDETERMINED
       126 VERNON STREET
       SAN FRANCISCO, CA 94132      ACCOUNT NO.: NOT AVAILABLE


3.8531 MARSHALL, MARGARET                       VARIOUS                              Litigation              UNDETERMINED
       17 SANTA RITA COURT
       WALNUT CREEK, CA 94596       ACCOUNT NO.: NOT AVAILABLE


3.8532 MARSHALL, MERRI                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1334
       HOSTLER FIELD HOUSING #17    ACCOUNT NO.: NOT AVAILABLE
       HOOPA, CA 95546


3.8533 MARSHALL, MICHAEL                        VARIOUS                              Litigation              UNDETERMINED
       989 QUARRY STREET
       PETALUMA, CA 94954           ACCOUNT NO.: NOT AVAILABLE


3.8534 MARSHALL, MICHAEL                        VARIOUS                              Litigation              UNDETERMINED
       196 HOLIDAY COURT
       MARTINEZ, CA 94553           ACCOUNT NO.: NOT AVAILABLE


3.8535 MARSHALL, STEVEN                         VARIOUS                              Litigation              UNDETERMINED
       3264 OAK FARM LN.
       SANTA ROSA, CA 95401         ACCOUNT NO.: NOT AVAILABLE


3.8536 MARSICO, MELANIE                         VARIOUS                              Litigation              UNDETERMINED
       17204 BREWER RD
       GRASS VALLEY, CA 95949       ACCOUNT NO.: NOT AVAILABLE


3.8537 MARSOLEK, ALVINA                         VARIOUS                              Litigation              UNDETERMINED
       605 THUNDER GULCH DR
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.8538 MARSTON, VINEYARD                        VARIOUS                              Litigation              UNDETERMINED
       3600 WHITE SULPHUR SPRINGS
       ROAD                         ACCOUNT NO.: NOT AVAILABLE
       ST HELENA, CA 94574


3.8539 MARTA, SUZANNE                           VARIOUS                              Litigation              UNDETERMINED
       739 A ST.
       SAN RAFAEL, CA 94901         ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.8540 MARTELLO, LYNDA                          VARIOUS                              Litigation              UNDETERMINED
       22020 WHISPERING WATERS LN
       SPC 14                       ACCOUNT NO.: NOT AVAILABLE
       ANDERSON, CA 96007


3.8541 MARTENS, DINA                            VARIOUS                              Litigation              UNDETERMINED
       4483 CALLAN BLVD.
       DALY CITY, CA 94015          ACCOUNT NO.: NOT AVAILABLE


3.8542 MARTHA, NAVA                             VARIOUS                              Litigation              UNDETERMINED
       85 W GARZAS RD
       CARMEL VALLEY, CA 93924      ACCOUNT NO.: NOT AVAILABLE


3.8543 MARTIN ORCHARDS-MARTIN,                  VARIOUS                              Litigation              UNDETERMINED
       MICHAEL
       1009 HILLVIEW LANE           ACCOUNT NO.: NOT AVAILABLE
       WINTERS, CA 95694


3.8544 MARTIN, ALAN                             VARIOUS                              Litigation              UNDETERMINED
       2750 RESERVOIR LN. APT. F
       APT. F                       ACCOUNT NO.: NOT AVAILABLE
       REDDING, CA 96002


3.8545 MARTIN, APRIL                            VARIOUS                              Litigation              UNDETERMINED
       224 GRANT COURT
       MANTECA, CA 95336            ACCOUNT NO.: NOT AVAILABLE


3.8546 MARTIN, ARTHUR                           VARIOUS                              Litigation              UNDETERMINED
       418 60TH STREET
       OAKLAND, CA 94609-1302       ACCOUNT NO.: NOT AVAILABLE


3.8547 MARTIN, BETTY                            VARIOUS                              Litigation              UNDETERMINED
       235 WHITE DOVE CT
       NIPOMO, CA 93444             ACCOUNT NO.: NOT AVAILABLE


3.8548 MARTIN, BOBBE                            VARIOUS                              Litigation              UNDETERMINED
       4301 GRACE STREET
       #2                           ACCOUNT NO.: NOT AVAILABLE
       CAPITOLA, CA 95010


3.8549 MARTIN, CRAIG                            VARIOUS                              Litigation              UNDETERMINED
       2335 BLACK WALNUT RD
       SAN LUIS OBISPO, CA 93405    ACCOUNT NO.: NOT AVAILABLE


3.8550 MARTIN, DAN                              VARIOUS                              Litigation              UNDETERMINED
       217 S O ST
       MADERA, CA 93637             ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.8551 MARTIN, DANIEL                           VARIOUS                              Litigation              UNDETERMINED
       36992 MEADOWBROOK
       COMMON                       ACCOUNT NO.: NOT AVAILABLE
       APARTMENT 202
       FREMONT, CA 94536


3.8552 MARTIN, DAVID                            VARIOUS                              Litigation              UNDETERMINED
       6041 PENTZ RD
       PARADISE, CA 95969           ACCOUNT NO.: NOT AVAILABLE


3.8553 MARTIN, DEBBIE                           VARIOUS                              Litigation              UNDETERMINED
       3081 LATHAM LANE
       EL DORADO HILLS, CA 95762    ACCOUNT NO.: NOT AVAILABLE


3.8554 MARTIN, DIANA                            VARIOUS                              Litigation              UNDETERMINED
       103 WALNUT TREE DR
       COLUSA, CA 95932             ACCOUNT NO.: NOT AVAILABLE


3.8555 MARTIN, DONALD                           VARIOUS                              Litigation              UNDETERMINED
       42750 OLD BICKLE PLACE
       FALL RIVER MILLS, CA 96028   ACCOUNT NO.: NOT AVAILABLE


3.8556 MARTIN, FRANK & ELAINA                   VARIOUS                              Litigation              UNDETERMINED
       873 MARINO PINES
       PACIFIC GROVE, CA 93950      ACCOUNT NO.: NOT AVAILABLE


3.8557 MARTIN, GARVIS                           VARIOUS                              Litigation              UNDETERMINED
       3960 PINER ROAD
       SANTA ROSA, CA 95401         ACCOUNT NO.: NOT AVAILABLE


3.8558 MARTIN, HENRIK                           VARIOUS                              Litigation              UNDETERMINED
       12351 INDIAN ROCK WAY
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.8559 MARTIN, JAMES                            VARIOUS                              Litigation              UNDETERMINED
       34484 PALOMARES ROAD
       CASTRO VALLEY, CA 94546      ACCOUNT NO.: NOT AVAILABLE


3.8560 MARTIN, JEAN                             VARIOUS                              Litigation              UNDETERMINED
       403 E PRINCETON AVE
       FRESNO, CA 93704             ACCOUNT NO.: NOT AVAILABLE


3.8561 MARTIN, JULIE                            VARIOUS                              Litigation              UNDETERMINED
       3083 BUTLER LN
       VALLEY SPRINGS, CA 95252     ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.8562 MARTIN, LARRY                            VARIOUS                              Litigation              UNDETERMINED
       13061 MOONEY FLAT RD
       SMARTSVILLE, CA 95977        ACCOUNT NO.: NOT AVAILABLE


3.8563 MARTIN, LEONIDA                          VARIOUS                              Litigation              UNDETERMINED
       878 INVERNESS LANE
       BRENTWOOD, CA 94513          ACCOUNT NO.: NOT AVAILABLE


3.8564 MARTIN, LINDA & KENNETH                  VARIOUS                              Litigation              UNDETERMINED
       4800 AUBURN FOLSON ROAD
       SPACE 15                     ACCOUNT NO.: NOT AVAILABLE
       LOOMIS, CA 95650


3.8565 MARTIN, LINDSEY                          VARIOUS                              Litigation              UNDETERMINED
       7051 HOWARDS CROSSING RD
       PLACERVILLE, CA 95667        ACCOUNT NO.: NOT AVAILABLE


3.8566 MARTIN, MIKE                             VARIOUS                              Litigation              UNDETERMINED
       3112 COLEBROOK LN
       DUBLIN, CA 94568             ACCOUNT NO.: NOT AVAILABLE


3.8567 MARTIN, PATRICIA                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 110515
       CAMBELL, CA 95011            ACCOUNT NO.: NOT AVAILABLE


3.8568 MARTIN, PATRICIA                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 110515
       CAMPBELL, CA 95011           ACCOUNT NO.: NOT AVAILABLE


3.8569 MARTIN, PATRICIA                         VARIOUS                              Litigation              UNDETERMINED
       17647 PONDERSOA LANE
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.8570 MARTIN, RANDY                            VARIOUS                              Litigation              UNDETERMINED
       32 STONY HILL CT
       OAKLEY, CA 94561             ACCOUNT NO.: NOT AVAILABLE


3.8571 MARTIN, THOMAS                           VARIOUS                              Litigation              UNDETERMINED
       19700 BURNT WHEEL FARM RD
       FIDDLETOWN, CA 95629         ACCOUNT NO.: NOT AVAILABLE


3.8572 MARTIN, WENDY                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1745
       LAFAYETTE, CA 94549          ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.8573 MARTINA MENDEZ-MORENO,                    VARIOUS                              Litigation              UNDETERMINED
       EVODIO
       POBOX 1482                    ACCOUNT NO.: NOT AVAILABLE
       HURON, CA 93234


3.8574 MARTINEZ SANDOVAL, LILLIAN                VARIOUS                              Litigation              UNDETERMINED
       3592 PITCAIN WAY
       SAN JOSE, CA 95111            ACCOUNT NO.: NOT AVAILABLE


3.8575 MARTINEZ, ABEL                            VARIOUS                              Litigation              UNDETERMINED
       230 N COLLEGE DR
       H3                            ACCOUNT NO.: NOT AVAILABLE
       SANTA MARIA, CA 93454


3.8576 MARTINEZ, ADRIAN                          VARIOUS                              Litigation              UNDETERMINED
       8536 W HUTCHINS AVE.
       DOS PALOS, CA 93620           ACCOUNT NO.: NOT AVAILABLE


3.8577 MARTINEZ, ADRIAN                          VARIOUS                              Litigation              UNDETERMINED
       1348 E MACARTHUR
       PO BOX 534                    ACCOUNT NO.: NOT AVAILABLE
       SONOMA, CA 95476


3.8578 MARTINEZ, ALBERTO                         VARIOUS                              Litigation              UNDETERMINED
       1175 61ST STREET
       OAKLAND, CA 94621             ACCOUNT NO.: NOT AVAILABLE


3.8579 MARTINEZ, ALBERTO &                       VARIOUS                              Litigation              UNDETERMINED
       SHOSHANA
       1001 FUNSTON AVE. APT. 2      ACCOUNT NO.: NOT AVAILABLE
       PACIFIC GROVE, CA 93950


3.8580 MARTINEZ, ALYSSA                          VARIOUS                              Litigation              UNDETERMINED
       21831 VOGT LANE # A
       ANDERSON, CA 96007            ACCOUNT NO.: NOT AVAILABLE


3.8581 MARTINEZ, AMBER                           VARIOUS                              Litigation              UNDETERMINED
       209 WRIGHT LANE
       1                             ACCOUNT NO.: NOT AVAILABLE
       LAKEPORT, CA 95453


3.8582 MARTINEZ, ANDREW                          VARIOUS                              Litigation              UNDETERMINED
       859 KEATS DR
       VALLEJO, CA 94591             ACCOUNT NO.: NOT AVAILABLE


3.8583 MARTINEZ, BLANCA                          VARIOUS                              Litigation              UNDETERMINED
       6331 EHRHARDT AVE
       SACRAMENTO, CA 95823          ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.8584 MARTINEZ, BLANCA                          VARIOUS                              Litigation              UNDETERMINED
       141 2ND ST
       WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.8585 MARTINEZ, CARMEN                          VARIOUS                              Litigation              UNDETERMINED
       514 E MILL STREET #C
       SANTA MARIA, CA 93454         ACCOUNT NO.: NOT AVAILABLE


3.8586 MARTINEZ, CRISTIAN                        VARIOUS                              Litigation              UNDETERMINED
       11108 VISTA DEL LUNA DR
       BAKERSFIELD, CA 93311         ACCOUNT NO.: NOT AVAILABLE


3.8587 MARTINEZ, DESTINEE                        VARIOUS                              Litigation              UNDETERMINED
       2915 MONTEREY ST
       BAKERSFIELD, CA 93306         ACCOUNT NO.: NOT AVAILABLE


3.8588 MARTINEZ, EMA LUIS                        VARIOUS                              Litigation              UNDETERMINED
       1410 E LANSING WAY
       FRESNO, CA 93704              ACCOUNT NO.: NOT AVAILABLE


3.8589 MARTINEZ, EMILEIGH                        VARIOUS                              Litigation              UNDETERMINED
       3233 N BIGGS DR
       BIGGS, CA 95917               ACCOUNT NO.: NOT AVAILABLE


3.8590 MARTINEZ, FERNANDO                        VARIOUS                              Litigation              UNDETERMINED
       1133 E SANTA ROSA STREET
       REEDLEY, CA 93654             ACCOUNT NO.: NOT AVAILABLE


3.8591 MARTINEZ, GABRIEL                         VARIOUS                              Litigation              UNDETERMINED
       442 S 7TH STREET
       KERMAN, CA 93630              ACCOUNT NO.: NOT AVAILABLE


3.8592 MARTINEZ, GUADALUPE                       VARIOUS                              Litigation              UNDETERMINED
       1 EMBARCADERO WEST
       OAKLAND, CA 94621             ACCOUNT NO.: NOT AVAILABLE


3.8593 MARTINEZ, HORACIO                         VARIOUS                              Litigation              UNDETERMINED
       15749 DEL MONTE FARMS RD
       CASTROVILLE, CA 95012         ACCOUNT NO.: NOT AVAILABLE


3.8594 MARTINEZ, IRMA                            VARIOUS                              Litigation              UNDETERMINED
       10606 E MANNING AVE
       SELMA, CA 93662               ACCOUNT NO.: NOT AVAILABLE


3.8595 MARTINEZ, JAIME                           VARIOUS                              Litigation              UNDETERMINED
       1646 JULIAN ST
       STOCKTON, CA 95206            ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.8596 MARTINEZ, JOAN & GEORGE                  VARIOUS                              Litigation              UNDETERMINED
       1744 RANDON WAY
       SANTA ROSA, CA 95403         ACCOUNT NO.: NOT AVAILABLE


3.8597 MARTINEZ, JONATHAN                       VARIOUS                              Litigation              UNDETERMINED
       2120 B STREET
       BAKERSFIELD, CA 93301        ACCOUNT NO.: NOT AVAILABLE


3.8598 MARTINEZ, JORGE                          VARIOUS                              Litigation              UNDETERMINED
       13720 WAKE AVENUE
       SAN LEANDRO, CA 94578        ACCOUNT NO.: NOT AVAILABLE


3.8599 MARTINEZ, JUAN                           VARIOUS                              Litigation              UNDETERMINED
       946 COLUSA AVE
       SUNNYVALE, CA 94085          ACCOUNT NO.: NOT AVAILABLE


3.8600 MARTINEZ, JUANA                          VARIOUS                              Litigation              UNDETERMINED
       620 H. BROADWAY ST.
       KING CITY, CA 93930          ACCOUNT NO.: NOT AVAILABLE


3.8601 MARTINEZ, KATHY                          VARIOUS                              Litigation              UNDETERMINED
       27488 S CORRAL HOLLOW ROAD
       TRACY, CA 95377              ACCOUNT NO.: NOT AVAILABLE


3.8602 MARTINEZ, LORI                           VARIOUS                              Litigation              UNDETERMINED
       49 N PIONEER CR
       JACKSON, CA 95642            ACCOUNT NO.: NOT AVAILABLE


3.8603 MARTINEZ, MARIA                          VARIOUS                              Litigation              UNDETERMINED
       1473 73RD AVE
       OAKLAND, CA 94621            ACCOUNT NO.: NOT AVAILABLE


3.8604 MARTINEZ, MARILYN                        VARIOUS                              Litigation              UNDETERMINED
       1102 W EL CAMINO STREET
       SANTA MARIA, CA 93458        ACCOUNT NO.: NOT AVAILABLE


3.8605 MARTINEZ, MILLIE                         VARIOUS                              Litigation              UNDETERMINED
       7138 THE TERRACE ST
       ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.8606 MARTINEZ, NORMA                          VARIOUS                              Litigation              UNDETERMINED
       8742 S MILTON AVE
       PARLIER, CA 93648            ACCOUNT NO.: NOT AVAILABLE


3.8607 MARTINEZ, OLGA                           VARIOUS                              Litigation              UNDETERMINED
       624 WARWICKSHIRE AVE
       BAKERSFIELD, CA 93306        ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.8608 MARTINEZ, PATRICIA                       VARIOUS                              Litigation              UNDETERMINED
       4276 BERK AVE
       RICHMOND, CA 94804           ACCOUNT NO.: NOT AVAILABLE


3.8609 MARTINEZ, PATRICIA                       VARIOUS                              Litigation              UNDETERMINED
       223 S. 39TH ST.
       RICHMOND, CA 94804           ACCOUNT NO.: NOT AVAILABLE


3.8610 MARTINEZ, RICHARD                        VARIOUS                              Litigation              UNDETERMINED
       1009 E. ALAMEDA
       MANTECA, CA 95336            ACCOUNT NO.: NOT AVAILABLE


3.8611 MARTINEZ, RICHARD                        VARIOUS                              Litigation              UNDETERMINED
       14631 KATHY LANE
       PIONEER, CA 95666            ACCOUNT NO.: NOT AVAILABLE


3.8612 MARTINEZ, ROBERTO                        VARIOUS                              Litigation              UNDETERMINED
       3362 W INDIANNAPOLIS
       FRESNO, CA 93722             ACCOUNT NO.: NOT AVAILABLE


3.8613 MARTINEZ, ROBERTO                        VARIOUS                              Litigation              UNDETERMINED
       1547 PARTRIDGE ST
       SALINAS, CA 93905            ACCOUNT NO.: NOT AVAILABLE


3.8614 MARTINEZ, STEPHANIE                      VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1511
       18813 BRANDT RD., LODI       ACCOUNT NO.: NOT AVAILABLE
       LOCKEFORD, CA 95237


3.8615 MARTINEZ/ALLSTATE                        VARIOUS                              Litigation              UNDETERMINED
       INSURANCE, DENISE
       P.O. BOX 650271              ACCOUNT NO.: NOT AVAILABLE
       DALLAS, CA 75265


3.8616 MARTINONI, FRANK                         VARIOUS                              Litigation              UNDETERMINED
       1375 ROSE AVE
       PENNGROVE, CA                ACCOUNT NO.: NOT AVAILABLE


3.8617 MARTY, MARIO                             VARIOUS                              Litigation              UNDETERMINED
       661 STRAWBERRY CYN RD
       ROYAL OAKS, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.8618 MARTYN, RICHARD                          VARIOUS                              Litigation              UNDETERMINED
       737 OREGON AVENUE
       SAN MATEO, CA 94402          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8619 MARTYNOVSKIY, IRINA                      VARIOUS                              Litigation              UNDETERMINED
       7821 OCEAN PARK DRIVE
       ANTELOPE, CA 95843           ACCOUNT NO.: NOT AVAILABLE


3.8620 MARTYNOVSKIY, KARINA                     VARIOUS                              Litigation              UNDETERMINED
       7821 OCEAN PARK DRIVE
       ANTELOPE, CA 95843           ACCOUNT NO.: NOT AVAILABLE


3.8621 MARTYNOVSKIY, KRISTINA                   VARIOUS                              Litigation              UNDETERMINED
       7821 OCEAN PARK DRIVE
       ANTELOPE, CA 95843           ACCOUNT NO.: NOT AVAILABLE


3.8622 MARVIN, DAVID                            VARIOUS                              Litigation              UNDETERMINED
       9440 AUTOPLEX DRIVE
       MONTCLAIR, CA 91763          ACCOUNT NO.: NOT AVAILABLE


3.8623 MASARWEH, AZMI                           VARIOUS                              Litigation              UNDETERMINED
       3446 CLAYTON RD.
       CONCORD, CA 94519            ACCOUNT NO.: NOT AVAILABLE


3.8624 MASCHAL, VALERIE                         VARIOUS                              Litigation              UNDETERMINED
       123 PHEASANT RUN DR.
       COPPEROPOLIS, CA 95228       ACCOUNT NO.: NOT AVAILABLE


3.8625 MASCHKE, CINDY                           VARIOUS                              Litigation              UNDETERMINED
       1174 LINCOLN AVE
       9                            ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95125


3.8626 MASCOT, MARISOL                          VARIOUS                              Litigation              UNDETERMINED
       502 N ST
       BAKERSFILED, CA 93304        ACCOUNT NO.: NOT AVAILABLE


3.8627 MASER, LORIN                             VARIOUS                              Litigation              UNDETERMINED
       917 HIGHLAND CIRCLE
       LOS ALTOS, CA 94024          ACCOUNT NO.: NOT AVAILABLE


3.8628 MASHRIGI, NAIK                           VARIOUS                              Litigation              UNDETERMINED
       1913 MICHIGAN BLVD
       WEST SACRAMENTO, CA 95691    ACCOUNT NO.: NOT AVAILABLE


3.8629 MASIBAY-MEZZING, ELLERY                  VARIOUS                              Litigation              UNDETERMINED
       7027 MILWOOD AVE
       CANOGA PARK, CA 91303        ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                             Claim

Litigation & Disputes

3.8630 MASLOFF, RALPH                            VARIOUS                              Litigation              UNDETERMINED
       36935 WALNUT STREET
       NEWARK, CA 94568               ACCOUNT NO.: NOT AVAILABLE


3.8631 MASON, BRIDGET                            VARIOUS                              Litigation              UNDETERMINED
       8 HARBOR POINT DR
       307                            ACCOUNT NO.: NOT AVAILABLE
       MILL VALLEY, CA 94941


3.8632 MASON, CRAIG                              VARIOUS                              Litigation              UNDETERMINED
       16550 CHARLES SCHELL LN
       SALINAS, CA 93907              ACCOUNT NO.: NOT AVAILABLE


3.8633 MASON, GREGORY                            VARIOUS                              Litigation              UNDETERMINED
       11338 BALBOA DR
       REDDING, CA 96003              ACCOUNT NO.: NOT AVAILABLE


3.8634 MASON, JORY                               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 283
       NAVARRO, CA 95463              ACCOUNT NO.: NOT AVAILABLE


3.8635 MASON, PAUL                               VARIOUS                              Litigation              UNDETERMINED
       3134 MARYOLA COURT
       LAFAYETTE, CA 94549            ACCOUNT NO.: NOT AVAILABLE


3.8636 MASONER, MARK                             VARIOUS                              Litigation              UNDETERMINED
       717 FELLOWSHIP RD
       SANTA BABARA, CA 93109         ACCOUNT NO.: NOT AVAILABLE


3.8637 MASOUMI, MOSEN                            VARIOUS                              Litigation              UNDETERMINED
       6802 MOSELLE DRIVE
       SAN JOSE, CA 95119             ACCOUNT NO.: NOT AVAILABLE


3.8638 MASS, LAURIE                              VARIOUS                              Litigation              UNDETERMINED
       5156 TIP TOP RD
       MARIPOSA, CA 95338             ACCOUNT NO.: NOT AVAILABLE


3.8639 MASSA, WENDY                              VARIOUS                              Litigation              UNDETERMINED
       1547 PALOS VERDES MALL # 185
       WALNUT CREEK, CA 94597         ACCOUNT NO.: NOT AVAILABLE


3.8640 MASSAGE FOR ME-                           VARIOUS                              Litigation              UNDETERMINED
       SENSIBAUGH, ANN
       P.O. BOX 579                   ACCOUNT NO.: NOT AVAILABLE
       SANTA MARGARITA, CA 93453




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Litigation & Disputes

3.8641 MASSARO, ROBERT                          VARIOUS                              Litigation              UNDETERMINED
       9 WYNDEMERE VALE
       MONTEREY, CA 93946           ACCOUNT NO.: NOT AVAILABLE


3.8642 MASSENKOFF, VICTOR                       VARIOUS                              Litigation              UNDETERMINED
       1229 SISLEY RD
       PENRYN, CA 95663             ACCOUNT NO.: NOT AVAILABLE


3.8643 MASSES PASTRIES, PAUL                    VARIOUS                              Litigation              UNDETERMINED
       MASSE
       1469 SHATTUCK AVENUE         ACCOUNT NO.: NOT AVAILABLE
       BERKELEY, CA 94709


3.8644 MASSEY, BECKY                            VARIOUS                              Litigation              UNDETERMINED
       3021 LANSDOWNE LANE
       PLACERVILLE, CA 95667        ACCOUNT NO.: NOT AVAILABLE


3.8645 MASSEY, DAVID                            VARIOUS                              Litigation              UNDETERMINED
       3936 OBANION RD
       YUBA CITY, CA 95993          ACCOUNT NO.: NOT AVAILABLE


3.8646 MASSEY, MARIAH                           VARIOUS                              Litigation              UNDETERMINED
       100 EL CERRITO DR.
       BAKERSFIELD, CA 93305        ACCOUNT NO.: NOT AVAILABLE


3.8647 MASSEY, NOREEN                           VARIOUS                              Litigation              UNDETERMINED
       1305 JENSEN DRIVE
       PITTSBURG, CA 94565          ACCOUNT NO.: NOT AVAILABLE


3.8648 MASSOD, THERESE                          VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 691134
       STOCKTON, CA 95269           ACCOUNT NO.: NOT AVAILABLE


3.8649 MASTAKAR, JAYANT                         VARIOUS                              Litigation              UNDETERMINED
       220 PARK LAKE CIR APT A
       A                            ACCOUNT NO.: NOT AVAILABLE
       WALNUT CREEK, CA 94598


3.8650 MASTER CAR WASH-KARSAN,                  VARIOUS                              Litigation              UNDETERMINED
       DHARMESH
       2110 41ST AVENUE             ACCOUNT NO.: NOT AVAILABLE
       CAPITOLA, CA 95010


3.8651 MASTER CAR WASH-MARTINEZ,                VARIOUS                              Litigation              UNDETERMINED
       JAIME
       2110 41ST AVENUE             ACCOUNT NO.: NOT AVAILABLE
       CAPITOLA, CA 95010



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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.8652 MASTERS, JOHN                             VARIOUS                              Litigation              UNDETERMINED
       7500 VAN POOKA CRT
       SOMERSET, CA 95684            ACCOUNT NO.: NOT AVAILABLE


3.8653 MASTON, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       2500 EMERSON ROAD
       CAMBRIA, CA 93428             ACCOUNT NO.: NOT AVAILABLE


3.8654 MATA, CRYSTAL                             VARIOUS                              Litigation              UNDETERMINED
       5401 DUNSMUIR ROAD #27
       BAKERSFIELD, CA 93309         ACCOUNT NO.: NOT AVAILABLE


3.8655 MATA, DONNA                               VARIOUS                              Litigation              UNDETERMINED
       2316 MICHIGAN AVE
       STOCKTON, CA 95204            ACCOUNT NO.: NOT AVAILABLE


3.8656 MATA, JAVIER                              VARIOUS                              Litigation              UNDETERMINED
       422 NAKOMAS DR.
       UKIAH, CA 95482               ACCOUNT NO.: NOT AVAILABLE


3.8657 MATA, JOSE                                VARIOUS                              Litigation              UNDETERMINED
       2816 G STREET
       ANTIOCH, CA 94509             ACCOUNT NO.: NOT AVAILABLE


3.8658 MATA, NORMA                               VARIOUS                              Litigation              UNDETERMINED
       4355 W. SHIELDS AVE
       FRESNO, CA 93722              ACCOUNT NO.: NOT AVAILABLE


3.8659 MATAKOVICH, GEORGE                        VARIOUS                              Litigation              UNDETERMINED
       PO BOX 2180
       AVILA BEACH, CA 93424         ACCOUNT NO.: NOT AVAILABLE


3.8660 MATEER-CASTILLO, LORI                     VARIOUS                              Litigation              UNDETERMINED
       1938 RADIANCE DRIVE
       BAKERSFIELD, CA 93304         ACCOUNT NO.: NOT AVAILABLE


3.8661 MATHERNE, STACEY                          VARIOUS                              Litigation              UNDETERMINED
       530 DOWNING ST
       MORRO BAY, CA 93442           ACCOUNT NO.: NOT AVAILABLE


3.8662 MATHESON, MICHAEL                         VARIOUS                              Litigation              UNDETERMINED
       2961 JOY RD
       OCCIDENTAL, CA 95465          ACCOUNT NO.: NOT AVAILABLE


3.8663 MATHESON, PAUL AND TRACY                  VARIOUS                              Litigation              UNDETERMINED
       17101 BRANDT ROAD
       LODI, CA 95240                ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8664 MATHEWS, MARY MIA                        VARIOUS                              Litigation              UNDETERMINED
       3162 MIDWOOD LN
       PEBBLE BEACH, CA 93953       ACCOUNT NO.: NOT AVAILABLE


3.8665 MATHEWS, TIM                             VARIOUS                              Litigation              UNDETERMINED
       2217 HAMPSHIRE DRIVE
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.8666 MATHIEU, CHOCA LEE                       VARIOUS                              Litigation              UNDETERMINED
       6631 LUCILLE STREET
       OAKLAND, CA 94621            ACCOUNT NO.: NOT AVAILABLE


3.8667 MATHUR, PUNEET                           VARIOUS                              Litigation              UNDETERMINED
       3648 NORFOLK RD
       FREMONT, CA 94538            ACCOUNT NO.: NOT AVAILABLE


3.8668 MATLOCK, DIANE                           VARIOUS                              Litigation              UNDETERMINED
       450 MARTY ROAD
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.8669 MATRAVERS, PETER                         VARIOUS                              Litigation              UNDETERMINED
       28102 TEFIR
       MISSION VIEJO, CA 92692      ACCOUNT NO.: NOT AVAILABLE


3.8670 MATSUDA, WENDY                           VARIOUS                              Litigation              UNDETERMINED
       3871 MAYBELLE AVE
       A                            ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94619


3.8671 MATSUMOTO, JOEL                          VARIOUS                              Litigation              UNDETERMINED
       1 MANDALAY PL, UNIT 1007
       1007                         ACCOUNT NO.: NOT AVAILABLE
       SOUTH SAN FRANCISCO, CA
       94080


3.8672 MATTA, JOHN                              VARIOUS                              Litigation              UNDETERMINED
       2621 WAGNER HEIGHTS ROAD
       STOCKTON, CA 95209           ACCOUNT NO.: NOT AVAILABLE


3.8673 MATTEUCCI, GEORGE                        VARIOUS                              Litigation              UNDETERMINED
       MATTEUCCI
       PO BOX 1128                  ACCOUNT NO.: NOT AVAILABLE
       WILLOW CREEK, CA 95573


3.8674 MATTHEW HOFF-HOFF,                       VARIOUS                              Litigation              UNDETERMINED
       MATTHEW
       1050 LAUREL AVE              ACCOUNT NO.: NOT AVAILABLE
       FELTON, CA 95018


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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8675 MATTHEW, LAURIE                          VARIOUS                              Litigation              UNDETERMINED
       21983 MEADOW LAND WAY
       REDDING, CA 96003            ACCOUNT NO.: NOT AVAILABLE


3.8676 MATTHEWMAN, SUSAN                        VARIOUS                              Litigation              UNDETERMINED
       4347 LANGNER AVENUE
       SANTA ROSA, CA 95407         ACCOUNT NO.: NOT AVAILABLE


3.8677 MATTHEWS, GLEN                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 991
       1391 SANDPIPER WAY           ACCOUNT NO.: NOT AVAILABLE
       PENN VALLEY, CA 95946


3.8678 MATTHEWS, JEFF                           VARIOUS                              Litigation              UNDETERMINED
       41755 ACORN RD
       AUBERRY, CA 93602            ACCOUNT NO.: NOT AVAILABLE


3.8679 MATTHEWS, SUSANA                         VARIOUS                              Litigation              UNDETERMINED
       49 SHEPHERD'S KNOLL
       PEBBLE BEACH, CA 93953       ACCOUNT NO.: NOT AVAILABLE


3.8680 MATTINGLEY, EDGAR & JOANN                VARIOUS                              Litigation              UNDETERMINED
       11 SUNSET COVE
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.8681 MATTINGLEY, EDGAR & JOANN                VARIOUS                              Litigation              UNDETERMINED
       11 SUNSET COVE
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.8682 MATTINGLY, GARY                          VARIOUS                              Litigation              UNDETERMINED
       646 WAGSTAFF ROAD
       PARADISE, CA 95969           ACCOUNT NO.: NOT AVAILABLE


3.8683 MATTOS, CHRISTINA                        VARIOUS                              Litigation              UNDETERMINED
       17155 CHIANTI LANE
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.8684 MATTOS, KRISTA                           VARIOUS                              Litigation              UNDETERMINED
       3300 WEST PINE MOUNTAIN
       ROAD                         ACCOUNT NO.: NOT AVAILABLE
       2748 ANTELOPE LANE
       SANTA ROSA, CA 95407


3.8685 MATTSON, GREG                            VARIOUS                              Litigation              UNDETERMINED
       319 CORTE MADERA AVE
       MILL VALLEY, CA 94941        ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.8686 MATULEWICZ, PATTI                        VARIOUS                              Litigation              UNDETERMINED
       255 HIGHLAND AVE.
       SAN MARTIN, CA 95046          ACCOUNT NO.: NOT AVAILABLE


3.8687 MAU, STEPHEN                             VARIOUS                              Litigation              UNDETERMINED
       859 QUINTINIA DR
       SUNNYVALE, CA 94086           ACCOUNT NO.: NOT AVAILABLE


3.8688 MAUERHAN, VERNE                          VARIOUS                              Litigation              UNDETERMINED
       1600 HENSON RD
       PARADISE, CA 95969            ACCOUNT NO.: NOT AVAILABLE


3.8689 MAUI BOB'S OFFICE CLEANING-              VARIOUS                              Litigation              UNDETERMINED
       BROWNFIELD, KEVIN
       4049 WINTER GREEN CT.         ACCOUNT NO.: NOT AVAILABLE
       REDDING, CA 96001


3.8690 MAUNEY, TREVA                            VARIOUS                              Litigation              UNDETERMINED
       11012 STOUT LANE
       COULTERVILLE, CA 95311        ACCOUNT NO.: NOT AVAILABLE


3.8691 MAUREEN M. BRYAN                         VARIOUS                              Litigation              UNDETERMINED
       FERGUSON, FOR BRIGITTE
       HAGGS                         ACCOUNT NO.: NOT AVAILABLE
       319 LENNON LANE
       WALNUT CREEK, CA 94598


3.8692 MAWLA, CAROL                             VARIOUS                              Litigation              UNDETERMINED
       21680 CALERO CREEK COURT
       SAN JOSE, CA 95120            ACCOUNT NO.: NOT AVAILABLE


3.8693 MAXEY, MARC                              VARIOUS                              Litigation              UNDETERMINED
       725 HOLLISTER RD
       WOODLAND, CA 95695            ACCOUNT NO.: NOT AVAILABLE


3.8694 MAXON, LAURA                             VARIOUS                              Litigation              UNDETERMINED
       175 CALLE DE LA VENTANA
       CARMEL VALLEY, CA 93924       ACCOUNT NO.: NOT AVAILABLE


3.8695 MAX'S LIQUORS-KUMAR,                     VARIOUS                              Litigation              UNDETERMINED
       SURINDER
       865 SAN PABLO AVE             ACCOUNT NO.: NOT AVAILABLE
       ALBANY, CA 94706


3.8696 MAXWELL INN INC, OLNEY BOYD              VARIOUS                              Litigation              UNDETERMINED
       81 OAK STREET
       PO BOX 6750                   ACCOUNT NO.: NOT AVAILABLE
       CONCORD, CA 94524


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Litigation & Disputes

3.8697 MAXWELL INN INC-OLNEY, BOYD              VARIOUS                              Litigation              UNDETERMINED
       PO BOX 6750
       CONCORD, CA 94524             ACCOUNT NO.: NOT AVAILABLE


3.8698 MAXWELL IRRIGATION                       VARIOUS                              Litigation              UNDETERMINED
       DISTRICT-CHAMBERS, RON
       PO BOX 217                    ACCOUNT NO.: NOT AVAILABLE
       MAXWELL, CA 95955


3.8699 MAXWELL, DAVID                           VARIOUS                              Litigation              UNDETERMINED
       600 E. WEDDELL DR
       SUNNYVALE, CA 94089           ACCOUNT NO.: NOT AVAILABLE


3.8700 MAXWELL, MICHEAL                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1602
       TWAIN HARTE, CA 95383         ACCOUNT NO.: NOT AVAILABLE


3.8701 MAXWELL, VALERIE                         VARIOUS                              Litigation              UNDETERMINED
       708 6TH STREET
       VALLEJO, CA 94590             ACCOUNT NO.: NOT AVAILABLE


3.8702 MAY, NORMAN                              VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1253
       PIONEER, CA 95666             ACCOUNT NO.: NOT AVAILABLE


3.8703 MAYEDA, HENRY                            VARIOUS                              Litigation              UNDETERMINED
       10593 E NORTH AVE
       SANGER, CA 93657              ACCOUNT NO.: NOT AVAILABLE


3.8704 MAYER, CHARLENE                          VARIOUS                              Litigation              UNDETERMINED
       2101 STONERIDGE DR.
       WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.8705 MAYERHOFER, MARK                         VARIOUS                              Litigation              UNDETERMINED
       24910 TAFT ST
       LOS MOLINOS, CA 96055         ACCOUNT NO.: NOT AVAILABLE


3.8706 MAYERSON, JOY                            VARIOUS                              Litigation              UNDETERMINED
       1447 TILIA ST
       SAN MATEO, CA 94402           ACCOUNT NO.: NOT AVAILABLE


3.8707 MAYNARD MANAGEMENT, INC-                 VARIOUS                              Litigation              UNDETERMINED
       ALEXANDER, MEAGEN
       22399 HWY 26                  ACCOUNT NO.: NOT AVAILABLE
       WEST POINT, CA 95255




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Including Zip Code                            Account Number                           Claim

Litigation & Disputes

3.8708 MAYO ERIKSEN, SUSAN                      VARIOUS                              Litigation              UNDETERMINED
       2551 15TH AVENUE
       SAN FRANCISCO, CA 94127         ACCOUNT NO.: NOT AVAILABLE


3.8709 MAYS, SYLVIA                             VARIOUS                              Litigation              UNDETERMINED
       212 N. "K" STREET
       MADERA, CA 93637                ACCOUNT NO.: NOT AVAILABLE


3.8710 MAYWEATHER, JARMEL                       VARIOUS                              Litigation              UNDETERMINED
       14744 WASHINGTON AVE,
       245                             ACCOUNT NO.: NOT AVAILABLE
       SAN LEANDRO, CA 94578


3.8711 MAZNER, RUTH                             VARIOUS                              Litigation              UNDETERMINED
       183 STONE PINE LN
       MENLO PARK, CA 94025            ACCOUNT NO.: NOT AVAILABLE


3.8712 MAZZARIELLO, SAMUEL                      VARIOUS                              Litigation              UNDETERMINED
       10380 SPUNN ROAD
       4900 STONY CIRCLE RD            ACCOUNT NO.: NOT AVAILABLE
       JACKSON, CA 95642


3.8713 MAZZEI INJECTOR COMPANY                  VARIOUS                              Litigation              UNDETERMINED
       LLC-CABRAL, HORTENCIA
       500 ROOSTER DRIVE               ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93307


3.8714 MAZZEI, ERIN                             VARIOUS                              Litigation              UNDETERMINED
       3940 BROAD STREET
       7149                            ACCOUNT NO.: NOT AVAILABLE
       SAN LUIS OBISPO, CA 93401


3.8715 MB FAST FOOD INC-SAIFIE, MIKE            VARIOUS                              Litigation              UNDETERMINED
       5385 N BLACK STONE AVE
       FRESNO, CA 93711                ACCOUNT NO.: NOT AVAILABLE


3.8716 MBANDI, NJI                              VARIOUS                              Litigation              UNDETERMINED
       6315 RIVERSIDE STATION
       BOULEVARD                       ACCOUNT NO.: NOT AVAILABLE
       SECAUCUS, CA 07094


3.8717 MC CABE, CORY                            VARIOUS                              Litigation              UNDETERMINED
       11035 LAKE BLVD
       FELTON, CA 95018                ACCOUNT NO.: NOT AVAILABLE


3.8718 MC CAN, LORNE                            VARIOUS                              Litigation              UNDETERMINED
       2406 20TH ST
       BAKERSFIELD, CA 93301           ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.8719 MC HUGH, MICHELLE                        VARIOUS                              Litigation              UNDETERMINED
       PO BOX 550791
       SOUTH LAKE TAHOE, CA 96155    ACCOUNT NO.: NOT AVAILABLE


3.8720 MC METAL-MARK, JEFFREY                   VARIOUS                              Litigation              UNDETERMINED
       1347 DONNER AVE
       SAN FRANCISCO, CA 94124       ACCOUNT NO.: NOT AVAILABLE


3.8721 MCABOY, JOHN & CAROLE                    VARIOUS                              Litigation              UNDETERMINED
       7 HILLDALE CT.
       ORINDA, CA 94563              ACCOUNT NO.: NOT AVAILABLE


3.8722 MCALISTER, CRAIG                         VARIOUS                              Litigation              UNDETERMINED
       21966 DOLORES STREET, #207
       17957 TIMBER COURT, PIONEER   ACCOUNT NO.: NOT AVAILABLE
       CASTRO VALLEY, CA 95666


3.8723 MCARTHUR, STEVE                          VARIOUS                              Litigation              UNDETERMINED
       1837 KIRKLAND AVE
       SAN JOSE, CA 95125            ACCOUNT NO.: NOT AVAILABLE


3.8724 MCARTHY, MICHAEL                         VARIOUS                              Litigation              UNDETERMINED
       P O BOX 7383
       CHICO, CA 95927               ACCOUNT NO.: NOT AVAILABLE


3.8725 MCBRIDE, BONNIE                          VARIOUS                              Litigation              UNDETERMINED
       154 RIDGEWOOD DRIVE
       SAN RAFAEL, CA 94910          ACCOUNT NO.: NOT AVAILABLE


3.8726 MCBRIDE, JAMES                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1061
       CLEARLAKE OAKS, CA 95423      ACCOUNT NO.: NOT AVAILABLE


3.8727 MCBRIDE, MELISSA                         VARIOUS                              Litigation              UNDETERMINED
       2663 UPPER DORRAY ROAD
       GLENCOE, CA 95232             ACCOUNT NO.: NOT AVAILABLE


3.8728 MCCABE INMAN, NICHOLAS                   VARIOUS                              Litigation              UNDETERMINED
       1185 LEVINE DR
       SANTA ROSA, CA 95401          ACCOUNT NO.: NOT AVAILABLE


3.8729 MCCAFFREY, SUSAN                         VARIOUS                              Litigation              UNDETERMINED
       7450 CRISTOBAL AVE
       ATASCADERO, CA 93422          ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address     Date Claim Was Incurred And         C U    D    Basis For    Offset    Amount of Claim
Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8730 MCCALL, DOROTHY                          VARIOUS                              Litigation              UNDETERMINED
       1649 NOVATO BLVD #7
       NOVATO, CA 94947             ACCOUNT NO.: NOT AVAILABLE


3.8731 MCCAMISH, MELANIE                        VARIOUS                              Litigation              UNDETERMINED
       263 BRIXTON CT.
       AMERICAN CANYON, CA 94503    ACCOUNT NO.: NOT AVAILABLE


3.8732 MCCANDLESS, ERIN                         VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 908
       S, CA 93664                  ACCOUNT NO.: NOT AVAILABLE


3.8733 MCCANN, CONNIE                           VARIOUS                              Litigation              UNDETERMINED
       17433 GEHRICKE ROAD
       SONOMA, CA 95476             ACCOUNT NO.: NOT AVAILABLE


3.8734 MCCARROLL, JEFF                          VARIOUS                              Litigation              UNDETERMINED
       3404 OAK GROVE RD
       MARIPOSA, CA 95338           ACCOUNT NO.: NOT AVAILABLE


3.8735 MCCART, VESTA                            VARIOUS                              Litigation              UNDETERMINED
       3340 NEAL ROAD
       PARADISE, CA 95969           ACCOUNT NO.: NOT AVAILABLE


3.8736 MCCARTHY, CATHLEEN                       VARIOUS                              Litigation              UNDETERMINED
       PO BOX 243
       11236 PINE SUMMIT DR         ACCOUNT NO.: NOT AVAILABLE
       COBB, CA 95426


3.8737 MCCARTHY, LARUE                          VARIOUS                              Litigation              UNDETERMINED
       75 JACKSON STREET
       QUINCY, CA 95971             ACCOUNT NO.: NOT AVAILABLE


3.8738 MCCARTHY, MICHAEL                        VARIOUS                              Litigation              UNDETERMINED
       1111 R ST
       BAKERSFIELD, CA 93304        ACCOUNT NO.: NOT AVAILABLE


3.8739 MCCARTHY, SEAN                           VARIOUS                              Litigation              UNDETERMINED
       74 SPRAUER RD
       PETALUMA, CA 94952           ACCOUNT NO.: NOT AVAILABLE


3.8740 MCCARTNEY, JOHN                          VARIOUS                              Litigation              UNDETERMINED
       790 PRICE ST.
       PISMO BEACH, CA 93449        ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.8741 MCCARTY, JOEL                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 12
       LOCKEFORD, CA 95237           ACCOUNT NO.: NOT AVAILABLE


3.8742 MCCAULEY, CHRISTA                         VARIOUS                              Litigation              UNDETERMINED
       724 ZUPAN AVENUE
       YUBA CITY, CA 95991           ACCOUNT NO.: NOT AVAILABLE


3.8743 MCCAULEY, CRAIG                           VARIOUS                              Litigation              UNDETERMINED
       7475 RED BUD ROAD
       GRANITE BAY, CA 95746         ACCOUNT NO.: NOT AVAILABLE


3.8744 MCCAULEY, WILLIAM                         VARIOUS                              Litigation              UNDETERMINED
       154 RACETRACK ST #2
       AUBURN, CA 95603              ACCOUNT NO.: NOT AVAILABLE


3.8745 MCCAW, TATIANA                            VARIOUS                              Litigation              UNDETERMINED
       3196 PLAYA CT
       MARINA, CA 93933              ACCOUNT NO.: NOT AVAILABLE


3.8746 MCCLANE, LESLIE                           VARIOUS                              Litigation              UNDETERMINED
       181 PANNING WAY
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.8747 MCCLELLAN, JANET                          VARIOUS                              Litigation              UNDETERMINED
       5320 PARAGON ST
       ROCKLIN, CA 95677             ACCOUNT NO.: NOT AVAILABLE


3.8748 MCCLELLAND, PAUL                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 3024
       ALVISO, CA 95002              ACCOUNT NO.: NOT AVAILABLE


3.8749 MCCLENDON, GABRIELA                       VARIOUS                              Litigation              UNDETERMINED
       1414 GUERRERO STREET
       5                             ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94110


3.8750 MCCLENDON, KEVIN                          VARIOUS                              Litigation              UNDETERMINED
       2332 LAFAYETTE DR
       ANTIOCH, CA 94509             ACCOUNT NO.: NOT AVAILABLE


3.8751 MCCLURE, BYRON                            VARIOUS                              Litigation              UNDETERMINED
       23388 VALETA DRIVE
       CHOWCHILLA, CA 93610          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8752 MCCLURE, JANIE & EDWARD                  VARIOUS                              Litigation              UNDETERMINED
       525 W. EL MONTE WAY
       DINUBA, CA 93618             ACCOUNT NO.: NOT AVAILABLE


3.8753 MCCONAGHY, ROBERT                        VARIOUS                              Litigation              UNDETERMINED
       13785 OLD MORRO ROAD
       ATASCADERO, CA 93422         ACCOUNT NO.: NOT AVAILABLE


3.8754 MCCONNELL, CHUCK & KARI                  VARIOUS                              Litigation              UNDETERMINED
       820 ALTA VISTA WAY
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.8755 MCCONNELL, KEN                           VARIOUS                              Litigation              UNDETERMINED
       18980 RIVER RANCH RD
       ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.8756 MCCONNELL, NORMA                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 895
       13090 HWY 96                 ACCOUNT NO.: NOT AVAILABLE
       HOOPA, CA 95546


3.8757 MCCONNELL, RICHARD &                     VARIOUS                              Litigation              UNDETERMINED
       ANGELA
       6140 MADBURY COURT           ACCOUNT NO.: NOT AVAILABLE
       SAN LUIS OBISPO, CA 93401


3.8758 MCCORMICK, JACQUELYN                     VARIOUS                              Litigation              UNDETERMINED
       5146 TERRANCE VIEW LANE
       MARIPOSA, CA 95338           ACCOUNT NO.: NOT AVAILABLE


3.8759 MCCORMICK, RAYMOND                       VARIOUS                              Litigation              UNDETERMINED
       170 ROLLINGWOOD DRIVE
       BOULDER CREEK, CA 95006      ACCOUNT NO.: NOT AVAILABLE


3.8760 MCCOY, ADRIAN                            VARIOUS                              Litigation              UNDETERMINED
       5547 FOX SPARROW COURT
       STOCKTON, CA 95207           ACCOUNT NO.: NOT AVAILABLE


3.8761 MCCOY, BUD                               VARIOUS                              Litigation              UNDETERMINED
       SOLVANG
       1400 FJORD DRIVE, CA 93463   ACCOUNT NO.: NOT AVAILABLE


3.8762 MCCOY, DAVE                              VARIOUS                              Litigation              UNDETERMINED
       1 MCCOY RANCH RD.
       BURNT RANCH, CA 95527        ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.8763 MCCOY, NICOLE                            VARIOUS                              Litigation              UNDETERMINED
       2684 COLOMA CT APT 37
       PLACERVILLE, CA 95667        ACCOUNT NO.: NOT AVAILABLE


3.8764 MCCRARY, MAURICE                         VARIOUS                              Litigation              UNDETERMINED
       1117 DERBY ST.
       BERKELEY, CA 94702           ACCOUNT NO.: NOT AVAILABLE


3.8765 MCCRAY, ETHEL                            VARIOUS                              Litigation              UNDETERMINED
       1269 OCEAN AVE APT B
       EMERYVILLE, CA 94608         ACCOUNT NO.: NOT AVAILABLE


3.8766 MCCRAY, SYTHA                            VARIOUS                              Litigation              UNDETERMINED
       2621 VIRGINIA AVE
       RICHMOND, CA 94804           ACCOUNT NO.: NOT AVAILABLE


3.8767 MCCULLOCH POOL                           VARIOUS                              Litigation              UNDETERMINED
       CONSTRUCTION-VALCARENGHI,
       MAURICE                      ACCOUNT NO.: NOT AVAILABLE
       40 EWING COURT
       CHICO, CA 95973


3.8768 MCCULLY, JACK                            VARIOUS                              Litigation              UNDETERMINED
       5713 MONO COURT
       MARIPOSA, CA 95338           ACCOUNT NO.: NOT AVAILABLE


3.8769 MCCURRY, TANYA                           VARIOUS                              Litigation              UNDETERMINED
       P.O.BOX 372
       1 MORNINGSUN ROAD            ACCOUNT NO.: NOT AVAILABLE
       PHILO, CA 95466


3.8770 MCDANIEL, DESIREE                        VARIOUS                              Litigation              UNDETERMINED
       PO BOX 351
       VALLECITO, CA 95251          ACCOUNT NO.: NOT AVAILABLE


3.8771 MCDERMOTT, JUDY                          VARIOUS                              Litigation              UNDETERMINED
       528 WESTGATE DR
       NAPA, CA 94558-1239          ACCOUNT NO.: NOT AVAILABLE


3.8772 MCDONALD, BONNIE                         VARIOUS                              Litigation              UNDETERMINED
       893 HANOVER ST
       LIVERMORE, CA 94551          ACCOUNT NO.: NOT AVAILABLE


3.8773 MCDONALD, CRAIG                          VARIOUS                              Litigation              UNDETERMINED
       115 OSPREY LOOP
       CHESTER, CA 96020            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8774 MCDONALD, GARY                           VARIOUS                              Litigation              UNDETERMINED
       1109 WILLOW GLEN WAY
       SAN JOSE, CA 95125           ACCOUNT NO.: NOT AVAILABLE


3.8775 MCDONALD, SHANNON                        VARIOUS                              Litigation              UNDETERMINED
       PO BOX 88
       1019 PEACH ST                ACCOUNT NO.: NOT AVAILABLE
       SAN LUIS OBISPO, CA 93406


3.8776 MCDONALDS OF LIVERMORE,                  VARIOUS                              Litigation              UNDETERMINED
       ROY CUELLAR
       4528 LAS POSITAS ROAD        ACCOUNT NO.: NOT AVAILABLE
       LIVERMORE, CA 94551


3.8777 MCDONALDS OF LIVERMORE,                  VARIOUS                              Litigation              UNDETERMINED
       ROY CUELLAR
       4528 LAS POSITAS ROAD        ACCOUNT NO.: NOT AVAILABLE
       LIVERMORE, CA 94551


3.8778 MCDONALD'S-GARCIA, JUAN                  VARIOUS                              Litigation              UNDETERMINED
       190 MERRYDALE RD.
       SAN RAFAEL, CA 94903         ACCOUNT NO.: NOT AVAILABLE


3.8779 MCDONALD'S-HOFMAN, LANDON                VARIOUS                              Litigation              UNDETERMINED
       1100 DEL MONTE AVE
       MONTEREY, CA 93940           ACCOUNT NO.: NOT AVAILABLE


3.8780 MCDONALD'S-KNAPP, KIM                    VARIOUS                              Litigation              UNDETERMINED
       588 SUTTER ST #236
       SAN FRANCISCO, CA 94102      ACCOUNT NO.: NOT AVAILABLE


3.8781 MCDOWELL, JAY                            VARIOUS                              Litigation              UNDETERMINED
       1311 W.5TH ST
       BENICIA, CA 94510            ACCOUNT NO.: NOT AVAILABLE


3.8782 MCDOWELL, TEE & JAMES                    VARIOUS                              Litigation              UNDETERMINED
       220 GUTHRIE LANE
       BRENTWOOD, CA 94513          ACCOUNT NO.: NOT AVAILABLE


3.8783 MCDREW, MEGAN                            VARIOUS                              Litigation              UNDETERMINED
       150 VIA PARAISO STREET
       MONTEREY, CA 93940           ACCOUNT NO.: NOT AVAILABLE


3.8784 MCELHANY, DAN                            VARIOUS                              Litigation              UNDETERMINED
       3830 LYNN LN
       AUBURN, CA 95602             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.8785 MCELLIGOTT, KEIRA                         VARIOUS                              Litigation              UNDETERMINED
       2514 COPA DEL ORO DRIVE
       UNION CITY, CA 94587          ACCOUNT NO.: NOT AVAILABLE


3.8786 MCEVER, NANCY                             VARIOUS                              Litigation              UNDETERMINED
       44790 MOUNTAIN MEADOW RD
       OAKHURST, CA 93644            ACCOUNT NO.: NOT AVAILABLE


3.8787 MCEVOY, KEVIN                             VARIOUS                              Litigation              UNDETERMINED
       1274 VIGNOLA COURT
       BRENTWOOD, CA 94513           ACCOUNT NO.: NOT AVAILABLE


3.8788 MCEWEN, WINSTON                           VARIOUS                              Litigation              UNDETERMINED
       100 BRANHAM LANE EAST
       2316                          ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95111


3.8789 MCFARLAND, LAUREN                         VARIOUS                              Litigation              UNDETERMINED
       2357 CHANNING PL.
       FAIRFIELD, CA 94533           ACCOUNT NO.: NOT AVAILABLE


3.8790 MCFARLAND, SANDY                          VARIOUS                              Litigation              UNDETERMINED
       3051 LITTLE SPUR RD
       SOMERSET, CA 95684            ACCOUNT NO.: NOT AVAILABLE


3.8791 MCFETRIDGE, SHAWN                         VARIOUS                              Litigation              UNDETERMINED
       2907 24TH STREET
       SAVRAMENTO, CA 95818          ACCOUNT NO.: NOT AVAILABLE


3.8792 MCGEARY, MELISSA                          VARIOUS                              Litigation              UNDETERMINED
       1404 JANET DRIVE
       SANTA MARIA, CA 93455         ACCOUNT NO.: NOT AVAILABLE


3.8793 MCGEE, ERNESTINE                          VARIOUS                              Litigation              UNDETERMINED
       14305 ROBINSON AVE
       CLEARLAKE, CA 95422           ACCOUNT NO.: NOT AVAILABLE


3.8794 MCGEE, MARTHA                             VARIOUS                              Litigation              UNDETERMINED
       321 POINT LOBOS
       SAN FRANCISCO, CA 94121       ACCOUNT NO.: NOT AVAILABLE


3.8795 MCGEEHON, LAURA                           VARIOUS                              Litigation              UNDETERMINED
       150 PALM VALLEY BLD. #4062
       SAN JOSE, CA 95123            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.8796 MCGOLDRICK, NEIL                         VARIOUS                              Litigation              UNDETERMINED
       3234 KIMBERLY ROAD
       CAMERON PARK, CA 95682       ACCOUNT NO.: NOT AVAILABLE


3.8797 MCGOWAN, BARBARA                         VARIOUS                              Litigation              UNDETERMINED
       17815 IRISH RD # B
       REDDING, CA 96003            ACCOUNT NO.: NOT AVAILABLE


3.8798 MCGOWAN, TAMMY                           VARIOUS                              Litigation              UNDETERMINED
       14105 SAN JOSE AVE
       BAKERSFIELD, CA 93314        ACCOUNT NO.: NOT AVAILABLE


3.8799 MCGRATH, JACKIE                          VARIOUS                              Litigation              UNDETERMINED
       6 WASHINGTON PARK AVE
       MILL VALLEY, CA 94941        ACCOUNT NO.: NOT AVAILABLE


3.8800 MCGREGOR, DAISY                          VARIOUS                              Litigation              UNDETERMINED
       5200 STRONG CIRCLE
       ROYAL OAKS, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.8801 MCGREGOR, STANLEY &                      VARIOUS                              Litigation              UNDETERMINED
       VALERIE
       740 SIERRA CT.               ACCOUNT NO.: NOT AVAILABLE
       MORRO BAY, CA 93442


3.8802 MCGRIFF, MARSHALL                        VARIOUS                              Litigation              UNDETERMINED
       212 SAINT OLAF WAY
       VALLEJO, CA 94589            ACCOUNT NO.: NOT AVAILABLE


3.8803 MCGROGAN, PATRICK                        VARIOUS                              Litigation              UNDETERMINED
       25000 LAURIE LANE
       LOS MOLINOS, CA 96055        ACCOUNT NO.: NOT AVAILABLE


3.8804 MCGUIRE, RICHARD                         VARIOUS                              Litigation              UNDETERMINED
       10790 SHETLAND LANE
       GREELEY HILL, CA 95311       ACCOUNT NO.: NOT AVAILABLE


3.8805 MCGUIRE, ROBERT                          VARIOUS                              Litigation              UNDETERMINED
       1724 STANFORD AVE
       CLOVIS, CA 93619             ACCOUNT NO.: NOT AVAILABLE


3.8806 MCH ELECTRIC, HELZER, RICK               VARIOUS                              Litigation              UNDETERMINED
       7693 LONGARD RD
       HARMONY / PACIFICA           ACCOUNT NO.: NOT AVAILABLE
       PACIFICA, CA




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Litigation & Disputes

3.8807 MCH ELECTRIC, HUNPHREY,                  VARIOUS                              Litigation              UNDETERMINED
       TYLER
       7693 LONGARD ROAD            ACCOUNT NO.: NOT AVAILABLE
       DUBLIN BLVD & GOLDEN GATE
       DUBLIN, CA


3.8808 MCINTYRE, RICHARD                        VARIOUS                              Litigation              UNDETERMINED
       22465 FORT ROSS RD.
       CAZADERO, CA 95421           ACCOUNT NO.: NOT AVAILABLE


3.8809 MCKANNAY, TERRI                          VARIOUS                              Litigation              UNDETERMINED
       2264 CYPRESS POINT
       BYRON, CA 94505              ACCOUNT NO.: NOT AVAILABLE


3.8810 MCKAY, AMY                               VARIOUS                              Litigation              UNDETERMINED
       745 MONTEREY BLVD
       SAN FRANCISCO, CA 94127      ACCOUNT NO.: NOT AVAILABLE


3.8811 MCKAY, LIEF                              VARIOUS                              Litigation              UNDETERMINED
       2460 CARPENTER CANYON
       ROAD                         ACCOUNT NO.: NOT AVAILABLE
       SAN LUIS OBISPO, CA 93401


3.8812 MCKAY, TAMMY                             VARIOUS                              Litigation              UNDETERMINED
       5837 GRAVES CINDER LN
       ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.8813 MCKEE, ALAN                              VARIOUS                              Litigation              UNDETERMINED
       16730 ALPINE DR
       PIONEER, CA 95666            ACCOUNT NO.: NOT AVAILABLE


3.8814 MCKEE, TY                                VARIOUS                              Litigation              UNDETERMINED
       41511 LOCH LOMOND
       OAKHURST, CA 93644           ACCOUNT NO.: NOT AVAILABLE


3.8815 MCKEEVER, ROSHAWN                        VARIOUS                              Litigation              UNDETERMINED
       4529 ELK CT
       ANTIOCH, CA 94531            ACCOUNT NO.: NOT AVAILABLE


3.8816 MCKELVIE, SHARON                         VARIOUS                              Litigation              UNDETERMINED
       4351 E HOLLAND
       FRESNO, CA 93726             ACCOUNT NO.: NOT AVAILABLE


3.8817 MCKENNA, CHERYL                          VARIOUS                              Litigation              UNDETERMINED
       30 PARK LANE
       FAIRFAX, CA 94930            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.8818 MCKENNEY, TIMOTHY                        VARIOUS                              Litigation              UNDETERMINED
       19025 SPYGLASS ROAD
       HIDDEN VALLEY LAKE, CA 95467   ACCOUNT NO.: NOT AVAILABLE


3.8819 MCKENZIE, DEBBIE                         VARIOUS                              Litigation              UNDETERMINED
       641-555 CIRCLE OAKS DRIVE
       MCARTHUR, CA 96056             ACCOUNT NO.: NOT AVAILABLE


3.8820 MCKENZIE, LUCK & JOHN                    VARIOUS                              Litigation              UNDETERMINED
       10 MANN DRIVE
       KENTFIELD, CA 94904            ACCOUNT NO.: NOT AVAILABLE


3.8821 MCKENZIE, NORMAN                         VARIOUS                              Litigation              UNDETERMINED
       9631 HWY 116
       FORESTVILLE, CA 95436-9405     ACCOUNT NO.: NOT AVAILABLE


3.8822 MCKENZIE, SCOTT                          VARIOUS                              Litigation              UNDETERMINED
       3240 PASEO VISTA AVE
       SAN MARTIN, CA 95046           ACCOUNT NO.: NOT AVAILABLE


3.8823 MCKEON, JOHN                             VARIOUS                              Litigation              UNDETERMINED
       2619 17TH AVENUE
       SAN FRANCISCO, CA 94116        ACCOUNT NO.: NOT AVAILABLE


3.8824 MCKIBBIN, MATTHEW                        VARIOUS                              Litigation              UNDETERMINED
       1901 HARRISON STRET, SUITE
       1600                           ACCOUNT NO.: NOT AVAILABLE
       CORONA ROAD
       PETALUMA, CA


3.8825 MCKINDER, LEONARD                        VARIOUS                              Litigation              UNDETERMINED
       300 BRAVADO LN
       BAKERSFIELD, CA 93312          ACCOUNT NO.: NOT AVAILABLE


3.8826 MCKINNEY, DAVID                          VARIOUS                              Litigation              UNDETERMINED
       1624 VIA DEL CABANA
       LAKEPORT, CA 95453             ACCOUNT NO.: NOT AVAILABLE


3.8827 MCKINNEY, KIMBERLY                       VARIOUS                              Litigation              UNDETERMINED
       6325 FAIRVIEW DR
       POLLOCK PINES, CA 95726        ACCOUNT NO.: NOT AVAILABLE


3.8828 MCKNIGHT, JANET                          VARIOUS                              Litigation              UNDETERMINED
       2378 48TH AVENUE
       SAN FRANCISCO, CA 94116        ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address     Date Claim Was Incurred And         C U    D    Basis For    Offset    Amount of Claim
Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8829 MCKNIGHT, JANICE                         VARIOUS                              Litigation              UNDETERMINED
       1021 JENNINGS ST
       SAN FRANCISCO, CA 94124      ACCOUNT NO.: NOT AVAILABLE


3.8830 MCLAIN, RON                              VARIOUS                              Litigation              UNDETERMINED
       6205 TUSTIN ROAD
       PRUNEDALE, CA 93907          ACCOUNT NO.: NOT AVAILABLE


3.8831 MCLAREN, ROBERT                          VARIOUS                              Litigation              UNDETERMINED
       23485 SUNSET DR
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.8832 MCLARTY, ROBERT                          VARIOUS                              Litigation              UNDETERMINED
       10180 DANIELS WAY
       GRASS VALLEY, CA 95949       ACCOUNT NO.: NOT AVAILABLE


3.8833 MCLAUGHLIN, ALISHA                       VARIOUS                              Litigation              UNDETERMINED
       524 LINCOLN ST
       RED BLUFF, CA 96080          ACCOUNT NO.: NOT AVAILABLE


3.8834 MCLAUGHLIN, BRIAN & LAURIE               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 487
       SNELLING, CA 95369           ACCOUNT NO.: NOT AVAILABLE


3.8835 MCLAUGHLIN, EMILY                        VARIOUS                              Litigation              UNDETERMINED
       45258 HWY 299 E # 6
       6                            ACCOUNT NO.: NOT AVAILABLE
       MCARTHUR, CA 96056


3.8836 MCLEEVER, JAMES                          VARIOUS                              Litigation              UNDETERMINED
       166 OLD VINE WAY
       NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.8837 MCLENNAN, ELLEN                          VARIOUS                              Litigation              UNDETERMINED
       23060 VINEYARD RD
       GERYSERVILLE, CA 95441       ACCOUNT NO.: NOT AVAILABLE


3.8838 MCMAHON, DAVID                           VARIOUS                              Litigation              UNDETERMINED
       23608 SKYVIEW TER
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.8839 MCMAHON, DAVID                           VARIOUS                              Litigation              UNDETERMINED
       23608 SKYVIEW TER
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.8840 MCMAHON, LEANN                            VARIOUS                              Litigation              UNDETERMINED
       11608 MARJON DR
       NEVADA CITY, CA 95959         ACCOUNT NO.: NOT AVAILABLE


3.8841 MCMAHON, STEPHEN                          VARIOUS                              Litigation              UNDETERMINED
       34 BLACK LOG ROAD
       KENTFIELD, CA 94904           ACCOUNT NO.: NOT AVAILABLE


3.8842 MCMANUS, LEANNE                           VARIOUS                              Litigation              UNDETERMINED
       48 WHITMORE LANE
       UKIAH, CA 95482               ACCOUNT NO.: NOT AVAILABLE


3.8843 MCMILLIN, HEATHER                         VARIOUS                              Litigation              UNDETERMINED
       7027 PRIMROSE LN
       REDDING, CA 96002             ACCOUNT NO.: NOT AVAILABLE


3.8844 MCMILLIN, JOAN                            VARIOUS                              Litigation              UNDETERMINED
       7027 PRIMROSE LN
       REDDING, CA 96002             ACCOUNT NO.: NOT AVAILABLE


3.8845 MCNALLY, LISA                             VARIOUS                              Litigation              UNDETERMINED
       371 62ND STREET
       OAKLAND, CA 94618             ACCOUNT NO.: NOT AVAILABLE


3.8846 MCNALLY, RYAN                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 6
       BROWNS VALLEY, CA 95918       ACCOUNT NO.: NOT AVAILABLE


3.8847 MCNAMARA, JAMES                           VARIOUS                              Litigation              UNDETERMINED
       098 ARREBA ST
       MARTINEZ, CA 94553            ACCOUNT NO.: NOT AVAILABLE


3.8848 MCNEAL, JACK                              VARIOUS                              Litigation              UNDETERMINED
       1872 12TH ST.
       LOS OSOS, CA 93402            ACCOUNT NO.: NOT AVAILABLE


3.8849 MCNEARNEY, NETHA                          VARIOUS                              Litigation              UNDETERMINED
       7037 ARLIN LANE
       REDDING, CA 96002             ACCOUNT NO.: NOT AVAILABLE


3.8850 MCNEIL, NANCY                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX
       DIABLO, CA 94528              ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.8851 MCNULTY, SUZANNE                         VARIOUS                              Litigation              UNDETERMINED
       2500 DEER VALLEY ROAD
       1422                          ACCOUNT NO.: NOT AVAILABLE
       SAN RAFAEL, CA 94903


3.8852 MCOMBER, KATHY & KENT                    VARIOUS                              Litigation              UNDETERMINED
       578 ALMANOR ST.
       BRENTWOOD, CA 94513           ACCOUNT NO.: NOT AVAILABLE


3.8853 MCPHERSON, FERNAY                        VARIOUS                              Litigation              UNDETERMINED
       5959 SHELLMOUND ST. #3
       EMERYVILLE, CA 94608          ACCOUNT NO.: NOT AVAILABLE


3.8854 MCQUILLAN, MARK                          VARIOUS                              Litigation              UNDETERMINED
       555 FOXFIRE DRIVE
       MANTECA, CA 95337             ACCOUNT NO.: NOT AVAILABLE


3.8855 MCQUILLAN, MARK                          VARIOUS                              Litigation              UNDETERMINED
       555 FOXFIRE DRIVE
       MANTECA, CA 95337             ACCOUNT NO.: NOT AVAILABLE


3.8856 MCQUILLISTER III, GEORGE                 VARIOUS                              Litigation              UNDETERMINED
       3450 MALCOLM AVENUE
       OAKLAND, CA 94605             ACCOUNT NO.: NOT AVAILABLE


3.8857 MCREYNOLDS, GEORGE &                     VARIOUS                              Litigation              UNDETERMINED
       BERTHA
       1520 BONITA PL.               ACCOUNT NO.: NOT AVAILABLE
       SAN MIGUEL, CA 93451


3.8858 MCSWEENEY, SUMMER                        VARIOUS                              Litigation              UNDETERMINED
       1177 BRANHAM LN
       SAN JOSE, CA 95118            ACCOUNT NO.: NOT AVAILABLE


3.8859 MCTINTOSH, LESLIE                        VARIOUS                              Litigation              UNDETERMINED
       1021 FUNSTON AVENUE, APT #C
       PACIFIC GROVE, CA 93950       ACCOUNT NO.: NOT AVAILABLE


3.8860 MCVAY, MIKE                              VARIOUS                              Litigation              UNDETERMINED
       27 BOULEVARD TER
       NOVATO, CA 94947              ACCOUNT NO.: NOT AVAILABLE


3.8861 MCVAY, SCOTT                             VARIOUS                              Litigation              UNDETERMINED
       17311 PALM AVE
       ANDERSON, CA 96007            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8862 MCWILLIAMS, DOTTIE                       VARIOUS                              Litigation              UNDETERMINED
       1460 EL CERRITO DRIVE
       RED BLUFF, CA 96080          ACCOUNT NO.: NOT AVAILABLE


3.8863 MD GAS & FOOD #14, MANGAL                VARIOUS                              Litigation              UNDETERMINED
       DHILLON
       16446 MAIN STREET            ACCOUNT NO.: NOT AVAILABLE
       GUERNEVILE, CA 95446


3.8864 MDD ENTERPRISE, LLC, LIM                 VARIOUS                              Litigation              UNDETERMINED
       MARCY
       PEIR 39 SP A-201             ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94133


3.8865 MDD ENTERPRISE, LLC, LIM                 VARIOUS                              Litigation              UNDETERMINED
       MARCY
       PEIR 39 SP A-201             ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94133


3.8866 ME TIME, INC-                            VARIOUS                              Litigation              UNDETERMINED
       SEBASTIANSTAFFORD,
       ANGELINE                     ACCOUNT NO.: NOT AVAILABLE
       62 SEQUOIA COURT
       SAN CARLOS, CA 94070


3.8867 MEACHUM, PAMELA                          VARIOUS                              Litigation              UNDETERMINED
       266 COSKY DRIVE
       MARINA, CA 93933             ACCOUNT NO.: NOT AVAILABLE


3.8868 MEAD, JENNIFER                           VARIOUS                              Litigation              UNDETERMINED
       6067 LOCKWELL LN
       ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.8869 MEAD, SYDNEY & MARK                      VARIOUS                              Litigation              UNDETERMINED
       16592 SALLANDER DR.
       SONORA, CA 95370             ACCOUNT NO.: NOT AVAILABLE


3.8870 MEADE, JOHN                              VARIOUS                              Litigation              UNDETERMINED
       2253 LAKE CREST CT
       MARTINEZ, CA 94553           ACCOUNT NO.: NOT AVAILABLE


3.8871 MEADERS, DAWN                            VARIOUS                              Litigation              UNDETERMINED
       5131 HICKORY AVE
       STOCKTON, CA 95212           ACCOUNT NO.: NOT AVAILABLE


3.8872 MEADOW MOBILE MANOR LLC-                 VARIOUS                              Litigation              UNDETERMINED
       MORALES, REY
       49 BLANCA LANE               ACCOUNT NO.: NOT AVAILABLE
       WATSONVILLE, CA 95076

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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.8873 MEADOW VISTA DENTAL                      VARIOUS                              Litigation              UNDETERMINED
       OFFICE, CHRISTOPHER
       SCHIAPPA, DDS                 ACCOUNT NO.: NOT AVAILABLE
       16401 MEADOW VISTA DR.
       SUITE 103
       PIONEER, CA 95689


3.8874 MEADOWLARKS 4H-WOODALL,                  VARIOUS                              Litigation              UNDETERMINED
       JENNY
       255 SOUTH AUBURN STREET       ACCOUNT NO.: NOT AVAILABLE
       104256894868254
       GRASS VALLEY, CA 95945


3.8875 MEAUX, ZENOVIA                           VARIOUS                              Litigation              UNDETERMINED
       2875 DAVID AVENUE, APT 9
       PACIFIC GROVE, CA 93950       ACCOUNT NO.: NOT AVAILABLE


3.8876 MECCHI, LEAH                             VARIOUS                              Litigation              UNDETERMINED
       974 PARAMOUNT WAY
       REDDING, CA 96003             ACCOUNT NO.: NOT AVAILABLE


3.8877 MECREDY, DIANA                           VARIOUS                              Litigation              UNDETERMINED
       17811 BERTA CANYON ROAD
       PRUNEDALE, CA 93907           ACCOUNT NO.: NOT AVAILABLE


3.8878 MEDA, RAVINDRANATH                       VARIOUS                              Litigation              UNDETERMINED
       10407 SALISBURY DRIVE
       BAKERSFIELD, CA 93311         ACCOUNT NO.: NOT AVAILABLE


3.8879 MEDEIROS, AMANDA                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 732
       CLEARLAKE OAKS, CA 95423      ACCOUNT NO.: NOT AVAILABLE


3.8880 MEDEIROS, MATTHEW                        VARIOUS                              Litigation              UNDETERMINED
       380 BREEN RD
       SAN JUAN BAUTISTA, CA 95045   ACCOUNT NO.: NOT AVAILABLE


3.8881 MEDEIROS, MELVIN                         VARIOUS                              Litigation              UNDETERMINED
       1427 HUDSON
       LIVERMORE, CA 94550           ACCOUNT NO.: NOT AVAILABLE


3.8882 MEDEIROS, ROSE                           VARIOUS                              Litigation              UNDETERMINED
       6507 ALMONDWOOD DRIVE
       17040 BROKEN PINE ROAD        ACCOUNT NO.: NOT AVAILABLE
       SONORA, CA 95370


3.8883 MEDEL, MANUEL                            VARIOUS                              Litigation              UNDETERMINED
       2572 SHADOW BERRY DRIVE
       MANTECA, CA 95336             ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.8884 MEDEXPERT INTERNATIONAL                   VARIOUS                              Litigation              UNDETERMINED
       PO BOX 7550
       MENLO PARK, CA 94026          ACCOUNT NO.: NOT AVAILABLE


3.8885 MEDIATI, SAM                              VARIOUS                              Litigation              UNDETERMINED
       33165 CASCADEL HEIGHTS
       NORTH FORK, CA 93643          ACCOUNT NO.: NOT AVAILABLE


3.8886 MEDIATI, SAM AND PHYLLIS                  VARIOUS                              Litigation              UNDETERMINED
       33165 CASCADEL HEIGHTS
       DRIVE                         ACCOUNT NO.: NOT AVAILABLE
       NORTH FORK, CA 93643


3.8887 MEDINA, BREEZE                            VARIOUS                              Litigation              UNDETERMINED
       17065 WILSON WAY
       ROYAL OAKS, CA 95076          ACCOUNT NO.: NOT AVAILABLE


3.8888 MEDINA, CAROLINA                          VARIOUS                              Litigation              UNDETERMINED
       1016 HARTLEY PLACE
       SANTA MARIA, CA 93455         ACCOUNT NO.: NOT AVAILABLE


3.8889 MEDINA, ELVA                              VARIOUS                              Litigation              UNDETERMINED
       4309 SUN DEVILS AVE.
       BAKERSFIELD, CA 93313         ACCOUNT NO.: NOT AVAILABLE


3.8890 MEDINA, ELVA                              VARIOUS                              Litigation              UNDETERMINED
       4309 SUN DEVILS AVE.
       BAKERSFIELD, CA 93313         ACCOUNT NO.: NOT AVAILABLE


3.8891 MEDINA, EVA                               VARIOUS                              Litigation              UNDETERMINED
       1113 E. FLORADORA AVE.
       FRESNO, CA 93728              ACCOUNT NO.: NOT AVAILABLE


3.8892 MEDINA, GILDARDO                          VARIOUS                              Litigation              UNDETERMINED
       26 PHILLIPS DRIVE
       VACAVILLE, CA 95688           ACCOUNT NO.: NOT AVAILABLE


3.8893 MEDINA, JOHN                              VARIOUS                              Litigation              UNDETERMINED
       55 SAN JUAN GRADE ROAD,
       SPC 13                        ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.8894 MEDINA, KATHIERYN                         VARIOUS                              Litigation              UNDETERMINED
       3270 DEL MONTE BLVD
       APT A8                        ACCOUNT NO.: NOT AVAILABLE
       MARINA, CA 93933




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8895 MEDINA, SKY                              VARIOUS                              Litigation              UNDETERMINED
       822 OPAL DRIVE
       2                            ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95117


3.8896 MEDITERANEAN GRILL HOUSE,                VARIOUS                              Litigation              UNDETERMINED
       IBRAHIM, MUSA
       650 CASTRO ST #110           ACCOUNT NO.: NOT AVAILABLE
       MOUNTAIN VIEW, CA 94041


3.8897 MEDLEY, MARK                             VARIOUS                              Litigation              UNDETERMINED
       5856 GARDEN PARK DRIVE
       GARDEN VALLEY, CA 95633      ACCOUNT NO.: NOT AVAILABLE


3.8898 MEDRANO, ALFREDO                         VARIOUS                              Litigation              UNDETERMINED
       1800 ESTES AVE
       CORCORAN, CA 93212           ACCOUNT NO.: NOT AVAILABLE


3.8899 MEDRANO, SANDRA                          VARIOUS                              Litigation              UNDETERMINED
       9221 D STREET
       OAKLAND, CA 94603            ACCOUNT NO.: NOT AVAILABLE


3.8900 MEEKS, GLENN                             VARIOUS                              Litigation              UNDETERMINED
       8876 POOL STATION ROAD
       ANGELS CAMP, CA 95222        ACCOUNT NO.: NOT AVAILABLE


3.8901 MEESE, WILLIAM                           VARIOUS                              Litigation              UNDETERMINED
       2319 NEWPORT DRIVE
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.8902 MEGAWASH GROUP LLC-                      VARIOUS                              Litigation              UNDETERMINED
       NEMETZ, MICHAEL
       161 E. YOSEMITE AVENUE       ACCOUNT NO.: NOT AVAILABLE
       MANTECA, CA 95336


3.8903 MEGHAPARA, SHEELA                        VARIOUS                              Litigation              UNDETERMINED
       2413 DANESHILL DR
       BAKERSFIELD, CA 93311        ACCOUNT NO.: NOT AVAILABLE


3.8904 MEGOFNA, EVELYN                          VARIOUS                              Litigation              UNDETERMINED
       4500 SANTEE ROAD
       FREMONT, CA 94555            ACCOUNT NO.: NOT AVAILABLE


3.8905 MEHAN, KRISTINE                          VARIOUS                              Litigation              UNDETERMINED
       258 LAKE ALMANOR WEST DR.
       CHESTER                      ACCOUNT NO.: NOT AVAILABLE
       CHESTER, CA 96020



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Litigation & Disputes

3.8906 MEHL, DENNIS & CLARA                     VARIOUS                              Litigation              UNDETERMINED
       4525 MARBLE WAY
       CARMICHAEL, CA 95608         ACCOUNT NO.: NOT AVAILABLE


3.8907 MEHLING, JANELLE                         VARIOUS                              Litigation              UNDETERMINED
       14777 RED ROCK LANE
       PRATHER, CA 93651            ACCOUNT NO.: NOT AVAILABLE


3.8908 MEHTA, JANKI                             VARIOUS                              Litigation              UNDETERMINED
       3185 LINKFIELD WAY
       SAN JOSE, CA 95135           ACCOUNT NO.: NOT AVAILABLE


3.8909 MEHTA, RUSTAM                            VARIOUS                              Litigation              UNDETERMINED
       594 DUBLIN WAY
       SUNNYVALE, CA 94087          ACCOUNT NO.: NOT AVAILABLE


3.8910 MEIER, CORBIN                            VARIOUS                              Litigation              UNDETERMINED
       4110417314
       725 NORD AVE APT 240         ACCOUNT NO.: NOT AVAILABLE
       CHICO, CA 95926


3.8911 MEIER, JERROD                            VARIOUS                              Litigation              UNDETERMINED
       1568 OLD ADOBE RD
       PETALUMA, CA 94954           ACCOUNT NO.: NOT AVAILABLE


3.8912 MEIER, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       42 SHIELDS LANE
       NOVATO, CA 94947             ACCOUNT NO.: NOT AVAILABLE


3.8913 MEIGS, PAMELA                            VARIOUS                              Litigation              UNDETERMINED
       310 CYPRESS DR
       FAIRFAX, CA 94930            ACCOUNT NO.: NOT AVAILABLE


3.8914 MEIN, SHARREN                            VARIOUS                              Litigation              UNDETERMINED
       19143 QUERCUS COURT
       TWAIN HARTE, CA 95383        ACCOUNT NO.: NOT AVAILABLE


3.8915 MEINERT, PAM                             VARIOUS                              Litigation              UNDETERMINED
       431 ARMIDA CT
       LIVERMORE, CA 94550          ACCOUNT NO.: NOT AVAILABLE


3.8916 MEIROTT, SANDRA                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 427
       MOUTAIN RANCH, CA 95246      ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.8917 MEISTER, MARTIN                           VARIOUS                              Litigation              UNDETERMINED
       3363 CALAVERAS CT
       MERCED, CA 95340              ACCOUNT NO.: NOT AVAILABLE


3.8918 MEITROTT, SANDRA                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 427
       6551 EMIGRANT COURT           ACCOUNT NO.: NOT AVAILABLE
       MOUNTAIN RANCH, CA 95246


3.8919 MEJIA, JAMIE                              VARIOUS                              Litigation              UNDETERMINED
       4216 E. LYELL AVENUE
       FRESNO, CA 93702              ACCOUNT NO.: NOT AVAILABLE


3.8920 MEJIA, JOSE                               VARIOUS                              Litigation              UNDETERMINED
       947 VISTA CERRO DR
       PASO ROBLES, CA 93446         ACCOUNT NO.: NOT AVAILABLE


3.8921 MEJIA, JOSE                               VARIOUS                              Litigation              UNDETERMINED
       1157 83RD AVENUE
       OAKLAND, CA 94621             ACCOUNT NO.: NOT AVAILABLE


3.8922 MEJIA, JUAN ANTONIO                       VARIOUS                              Litigation              UNDETERMINED
       1020 EL CAMINO REAL APT 5
       BURLINGAME, CA 94010          ACCOUNT NO.: NOT AVAILABLE


3.8923 MEJIA, JULIUS                             VARIOUS                              Litigation              UNDETERMINED
       556 W. SWIFT AVE.
       CLOVIS, CA 93612              ACCOUNT NO.: NOT AVAILABLE


3.8924 MEJIA, LUCILLE                            VARIOUS                              Litigation              UNDETERMINED
       2765 LEXINGTON AVE
       MERCED, CA 95340              ACCOUNT NO.: NOT AVAILABLE


3.8925 MEJIA, MANUEL                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 118
       9572 FLORES DRIVE             ACCOUNT NO.: NOT AVAILABLE
       SAN JOAQUIN, CA 93660


3.8926 MEJIA, STEVE                              VARIOUS                              Litigation              UNDETERMINED
       315 ARLEN DRIVE
       ROHNERT PARK, CA 94928        ACCOUNT NO.: NOT AVAILABLE


3.8927 MEKATRON CONCORD-LOVE,                    VARIOUS                              Litigation              UNDETERMINED
       TAYLOR
       1771 CONCORD AVE              ACCOUNT NO.: NOT AVAILABLE
       CONCORD, CA 94520




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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.8928 MELANIE A KOEHLER, DDS-                  VARIOUS                              Litigation              UNDETERMINED
       KOEHLER, MELANIE
       901 SAN RAMON VALLEY BLVD      ACCOUNT NO.: NOT AVAILABLE
       230
       DANVILLE, CA 94526


3.8929 MELARA, JULIO                            VARIOUS                              Litigation              UNDETERMINED
       4103 43RD ST
       SACRAMENTO, CA 95820           ACCOUNT NO.: NOT AVAILABLE


3.8930 MELENDEZ, CECILY                         VARIOUS                              Litigation              UNDETERMINED
       234 AMESBURY COURT
       DISCOVERY BAY, CA 94505        ACCOUNT NO.: NOT AVAILABLE


3.8931 MELERO, CARMEN                           VARIOUS                              Litigation              UNDETERMINED
       101 W 6TH ST #B
       ANTIOCH, CA 94509              ACCOUNT NO.: NOT AVAILABLE


3.8932 MELGAR JR, AUDELINO                      VARIOUS                              Litigation              UNDETERMINED
       5805 ROHN WAY
       SAN JOSE, CA 95123             ACCOUNT NO.: NOT AVAILABLE


3.8933 MELGOZA, JESSICA                         VARIOUS                              Litigation              UNDETERMINED
       721 CLOYNE CT, STOCKTON, CA,
       STOCKTON, CA 95206             ACCOUNT NO.: NOT AVAILABLE


3.8934 MELGOZA, SALVADOR                        VARIOUS                              Litigation              UNDETERMINED
       4069 SAN YSIDRO WAY
       SAN JOSE, CA 95111             ACCOUNT NO.: NOT AVAILABLE


3.8935 MELIN, ALEXANDRE                         VARIOUS                              Litigation              UNDETERMINED
       4530 N COLLEGE AVE
       FRESNO, CA 93704               ACCOUNT NO.: NOT AVAILABLE


3.8936 MELISSA TEAFF CATERONG-                  VARIOUS                              Litigation              UNDETERMINED
       TEAFF, MELISSA
       101 SOUTH COOMBS #Y4           ACCOUNT NO.: NOT AVAILABLE
       NAPA, CA 94559


3.8937 MELITA HEIGHTS MUTUAL                    VARIOUS                              Litigation              UNDETERMINED
       WATER COMPANY-SULLIVAN,
       ANDREA                         ACCOUNT NO.: NOT AVAILABLE
       5441 PEPPERWOOD RD.
       SANTA ROSA, CA 95409


3.8938 MELLBERG, ROBIN                          VARIOUS                              Litigation              UNDETERMINED
       6300 BUTTERFIELD WAY
       PLACERVILLE, CA 95667          ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8939 MELLO, CAROLE                            VARIOUS                              Litigation              UNDETERMINED
       8375 HIHN RD
       BEN LOMOND, CA 95005         ACCOUNT NO.: NOT AVAILABLE


3.8940 MELLO, JAMES                             VARIOUS                              Litigation              UNDETERMINED
       1555 MULBERRY LANE
       LEMOORE, CA 93245            ACCOUNT NO.: NOT AVAILABLE


3.8941 MELLO, RAELYN                            VARIOUS                              Litigation              UNDETERMINED
       2861 GROVE AVE
       GUSTINE, CA 95322            ACCOUNT NO.: NOT AVAILABLE


3.8942 MELO, MARIA                              VARIOUS                              Litigation              UNDETERMINED
       53 E. TRIDENT DR.
       PITTSBURG, CA 94565          ACCOUNT NO.: NOT AVAILABLE


3.8943 MELO, RONNY                              VARIOUS                              Litigation              UNDETERMINED
       431 CORREAS ST
       HALF MOON BAY, CA 94019      ACCOUNT NO.: NOT AVAILABLE


3.8944 MELOLING, KIRK                           VARIOUS                              Litigation              UNDETERMINED
       19920 W MITCHELL MINE ROAD
       PINE GROVE, CA 95665         ACCOUNT NO.: NOT AVAILABLE


3.8945 MELONE, BRETT                            VARIOUS                              Litigation              UNDETERMINED
       19092 OAK HEIGHTS DRIVE
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.8946 MELONE, DIANE                            VARIOUS                              Litigation              UNDETERMINED
       579 LATIMER CIR
       2                            ACCOUNT NO.: NOT AVAILABLE
       CAMPBELL, CA 95008


3.8947 MELS FISH AND CHIPS, WAFA                VARIOUS                              Litigation              UNDETERMINED
       JOLIVETTE
       1016 HOPPER AVE              ACCOUNT NO.: NOT AVAILABLE
       SANTA ROSA, CA 95403


3.8948 MELTON, LINDA                            VARIOUS                              Litigation              UNDETERMINED
       717 LOBELIA CT
       SONOMA, CA 95476             ACCOUNT NO.: NOT AVAILABLE


3.8949 MELTZER, ANITA                           VARIOUS                              Litigation              UNDETERMINED
       158 MCKAY ROAD
       APTOS, CA 95003              ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.8950 MELVILLE, SHAWNA                         VARIOUS                              Litigation              UNDETERMINED
       25424 SUGAR PINE DR
       PIONEER, CA 95666            ACCOUNT NO.: NOT AVAILABLE


3.8951 MEMARI, TAYBEH                           VARIOUS                              Litigation              UNDETERMINED
       2201 ARMADA WAY
       SAN MATEO, CA 94404          ACCOUNT NO.: NOT AVAILABLE


3.8952 MEMMER, THOMAS                           VARIOUS                              Litigation              UNDETERMINED
       20429 SKYLINE ROAD
       TUOLUMNE, CA 95379           ACCOUNT NO.: NOT AVAILABLE


3.8953 MENA, ANDREW                             VARIOUS                              Litigation              UNDETERMINED
       21695 SUMMIT ROAD
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.8954 MENARD, CORY                             VARIOUS                              Litigation              UNDETERMINED
       1625 BROADWAY ST.
       101                          ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93710


3.8955 MENARD, MARIA                            VARIOUS                              Litigation              UNDETERMINED
       241 CORBETT CYN ROAD
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.8956 MENARD, MARIA                            VARIOUS                              Litigation              UNDETERMINED
       241 CORBETT CYN ROAD
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.8957 MENCHINI, WILLIAM                        VARIOUS                              Litigation              UNDETERMINED
       1659 BOGLIE ROAD
       YUBA CITY, CA 95993          ACCOUNT NO.: NOT AVAILABLE


3.8958 MENCONI, LISA                            VARIOUS                              Litigation              UNDETERMINED
       1950 CLAREMONT ROAD
       CARMICHAEL, CA 95608         ACCOUNT NO.: NOT AVAILABLE


3.8959 MENDENHALL, PATRICIA ANN                 VARIOUS                              Litigation              UNDETERMINED
       PO BOX 170404
       SAN FRANCISCO, CA 94117      ACCOUNT NO.: NOT AVAILABLE


3.8960 MENDEZ, MARCUS                           VARIOUS                              Litigation              UNDETERMINED
       13390 STROING AVE.
       RED BLUFF, CA 96080          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.8961 MENDONCA ORCHARDS-                       VARIOUS                              Litigation              UNDETERMINED
       MENDONCA, ANDREW
       3685 CHICO RIVER RD.          ACCOUNT NO.: NOT AVAILABLE
       CHICO, CA 95928


3.8962 MENDONCA, DAVID                          VARIOUS                              Litigation              UNDETERMINED
       13475 EMPIRE GRADE SPC 1
       SANTA CRUZ, CA 95060          ACCOUNT NO.: NOT AVAILABLE


3.8963 MENDONCA, JODEAN                         VARIOUS                              Litigation              UNDETERMINED
       432 1/2 7TH ST.
       GUSTINE, CA 95322             ACCOUNT NO.: NOT AVAILABLE


3.8964 MENDONCA, STEVEN                         VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 95
       HYDESVILLE, CA 95547          ACCOUNT NO.: NOT AVAILABLE


3.8965 MENDONZA, JANET                          VARIOUS                              Litigation              UNDETERMINED
       307 N. AMPHLETT BLVD
       SAN MATEO, CA 94401           ACCOUNT NO.: NOT AVAILABLE


3.8966 MENDOZA, ALMA                            VARIOUS                              Litigation              UNDETERMINED
       1041 BUCKHORN DR UNIT 48
       SALINAS, CA 93905             ACCOUNT NO.: NOT AVAILABLE


3.8967 MENDOZA, ARMANDO                         VARIOUS                              Litigation              UNDETERMINED
       6835 NADEAU ST
       BAKERSFIELD, CA 93307         ACCOUNT NO.: NOT AVAILABLE


3.8968 MENDOZA, BRIAN                           VARIOUS                              Litigation              UNDETERMINED
       5880 SILVERADO PL
       PASO ROBLES, CA 93446         ACCOUNT NO.: NOT AVAILABLE


3.8969 MENDOZA, CONNIE                          VARIOUS                              Litigation              UNDETERMINED
       15038 MEADOW OAK PLACE
       SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.8970 MENDOZA, CRISTINA                        VARIOUS                              Litigation              UNDETERMINED
       7112 NORTH FRESNO STREET,
       SUITE 160                     ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93720-2949


3.8971 MENDOZA, CRISTINA                        VARIOUS                              Litigation              UNDETERMINED
       DERBY MCGUINNESS &
       GOLDSMITH LLP,                ACCOUNT NO.: NOT AVAILABLE
       200 LAKESIDE DRIVE, SUITE A
       OAKLAND, CA 94612



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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8972 MENDOZA, CRISTINA                        VARIOUS                              Litigation              UNDETERMINED
       LAW OFFICE OF ROBERT B.
       KOPELSON                     ACCOUNT NO.: NOT AVAILABLE
       75 E. SANTA CLARA STREET,
       SUITE 1180
       SAN JOSE, CA 95113


3.8973 MENDOZA, CRISTINA, DERBY                 VARIOUS                              Litigation              UNDETERMINED
       MCGUINNESS & GOLDSMITH LLP
       200 LAKESIDE DR              ACCOUNT NO.: NOT AVAILABLE
       STE A
       OAKLAND, CA 94612


3.8974 MENDOZA, GLORIA                          VARIOUS                              Litigation              UNDETERMINED
       2350 LAPIS LN
       SANTA ROSA, CA 95404         ACCOUNT NO.: NOT AVAILABLE


3.8975 MENDOZA, JESUS                           VARIOUS                              Litigation              UNDETERMINED
       735 N SUTTER AVE
       STOCKTON, CA 95202           ACCOUNT NO.: NOT AVAILABLE


3.8976 MENDOZA, JOSE                            VARIOUS                              Litigation              UNDETERMINED
       804 OLD STAGE ROAD
       SALINAS, CA 93908            ACCOUNT NO.: NOT AVAILABLE


3.8977 MENDOZA, JOSE & MARIA                    VARIOUS                              Litigation              UNDETERMINED
       1581 BROADWAY ST.
       OLIVEHURST, CA 95961         ACCOUNT NO.: NOT AVAILABLE


3.8978 MENDOZA, KATHYA                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 257
       LAKEPORT, CA 95453           ACCOUNT NO.: NOT AVAILABLE


3.8979 MENDOZA, LARRY                           VARIOUS                              Litigation              UNDETERMINED
       11 VIGNOLA CT
       OAKLEY, CA 94561             ACCOUNT NO.: NOT AVAILABLE


3.8980 MENDOZA, LINDA                           VARIOUS                              Litigation              UNDETERMINED
       8120 MESSICK ROAD
       PRUNDALE, CA 93907           ACCOUNT NO.: NOT AVAILABLE


3.8981 MENDOZA, LISA                            VARIOUS                              Litigation              UNDETERMINED
       2578 HOLLYVIEW CT.
       MARTINEZ, CA 94553           ACCOUNT NO.: NOT AVAILABLE


3.8982 MENDOZA, RICHARD                         VARIOUS                              Litigation              UNDETERMINED
       1500 CLASSIC COURT
       MODESTO, CA 95357            ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8983 MENDOZA, ROSALBA                         VARIOUS                              Litigation              UNDETERMINED
       4161 GLENVIEW DRIVE
       ORCUTT, CA 93455             ACCOUNT NO.: NOT AVAILABLE


3.8984 MENDOZA, VERONICA                        VARIOUS                              Litigation              UNDETERMINED
       4671 W AVILA DRIVE
       FRESNO, CA 93722             ACCOUNT NO.: NOT AVAILABLE


3.8985 MENDRIN, PETE/SUSAN                      VARIOUS                              Litigation              UNDETERMINED
       15728 RD 29 1/2
       MADERA, CA 93636             ACCOUNT NO.: NOT AVAILABLE


3.8986 MENGHRAJANI, ANITA                       VARIOUS                              Litigation              UNDETERMINED
       39931 CEDAR BLVD UNIT 213
       NEWARK, CA 94560             ACCOUNT NO.: NOT AVAILABLE


3.8987 MENLO FOOD CORP-PATEL,                   VARIOUS                              Litigation              UNDETERMINED
       SURESH
       175 DEMETER STREET           ACCOUNT NO.: NOT AVAILABLE
       EAST PALO ALTO, CA 94303


3.8988 MENNE, JOSH                              VARIOUS                              Litigation              UNDETERMINED
       19233 W NILES LN
       REDDING, CA 96002            ACCOUNT NO.: NOT AVAILABLE


3.8989 MENNITE, CANDICE                         VARIOUS                              Litigation              UNDETERMINED
       205 COSKY DRIVE
       MARINA, CA 93933             ACCOUNT NO.: NOT AVAILABLE


3.8990 MENON, ANOOP                             VARIOUS                              Litigation              UNDETERMINED
       728 ROSEDALE AVE
       CAPITOLA, CA 95010           ACCOUNT NO.: NOT AVAILABLE


3.8991 MENZEL, JENNIFER                         VARIOUS                              Litigation              UNDETERMINED
       3083 MARSTON WAY
       SAN JOSE, CA 95148           ACCOUNT NO.: NOT AVAILABLE


3.8992 MENZIES, PHIL                            VARIOUS                              Litigation              UNDETERMINED
       3747 MARY LANE
       AUBURN, CA 95602             ACCOUNT NO.: NOT AVAILABLE


3.8993 MEO, MICHAEL                             VARIOUS                              Litigation              UNDETERMINED
       5902 SINGLE SPRING DR
       KELSEYVILLE, CA 95451        ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.8994 MERCADO, DAISY                           VARIOUS                              Litigation              UNDETERMINED
       1408 DODGE AVE
       BAKERSFIELD, CA 93304        ACCOUNT NO.: NOT AVAILABLE


3.8995 MERCADO, DARIO                           VARIOUS                              Litigation              UNDETERMINED
       410 PARK SHARON DRIVE
       LOS BANOS, CA 93635          ACCOUNT NO.: NOT AVAILABLE


3.8996 MERCADO, ELIZABETH                       VARIOUS                              Litigation              UNDETERMINED
       4517 MILLBROOK WAY
       BAKERSFIELD, CA 93313        ACCOUNT NO.: NOT AVAILABLE


3.8997 MERCED PROPERTY &                        VARIOUS                              Litigation              UNDETERMINED
       CASUALTY COMPANY, C/O RICK
       JENKINS                      ACCOUNT NO.: NOT AVAILABLE
       P.O. BOX 834
       ATWATER, CA 95301


3.8998 MERCURY HOTELS INC-                      VARIOUS                              Litigation              UNDETERMINED
       PERKASH, MAHEN
       77 HEGENBERGER RD            ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94621


3.8999 MERCURY INS-DAYNE VAN                    VARIOUS                              Litigation              UNDETERMINED
       PELT, DAYNE VAN PELT
       4505 SHENANDOAH RD           ACCOUNT NO.: NOT AVAILABLE
       ROCKLIN, CA 95765


3.9000 MERCURY INSURANCE                        VARIOUS                              Litigation              UNDETERMINED
       COMPANY-GALLOWAY, GARRY
       P.O. BOX 10730               ACCOUNT NO.: NOT AVAILABLE
       SANTA ANA, CA 92711


3.9001 MERCURY INSURANCE, GALES,                VARIOUS                              Litigation              UNDETERMINED
       WENDY
       PO BOX 10730                 ACCOUNT NO.: NOT AVAILABLE
       SANTA ANA, CA 92711-6372


3.9002 MERCURY INSURANCE/BAKER                  VARIOUS                              Litigation              UNDETERMINED
       16640 MEEKLAND AVE
       6644 VALJEAN AVE #100        ACCOUNT NO.: NOT AVAILABLE
       SAN LORENZO, CA 94580


3.9003 MERCURY INSURANCE-                       VARIOUS                              Litigation              UNDETERMINED
       MENDOZA, JACQUELINE
       PO BOX 10730                 ACCOUNT NO.: NOT AVAILABLE
       SANTA ANA, CA 92711




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Litigation & Disputes

3.9004 MEREDITH, DON                            VARIOUS                              Litigation              UNDETERMINED
       555 EVANS ROAD
       ARCATA, CA 95518               ACCOUNT NO.: NOT AVAILABLE


3.9005 MERENDINL, ELAINE                        VARIOUS                              Litigation              UNDETERMINED
       2151 OAKLAND RD
       SPC 226                        ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95131


3.9006 MERIGIAN, MICHAEL                        VARIOUS                              Litigation              UNDETERMINED
       2135 E FRONT ST
       SELMA , CA 93662               ACCOUNT NO.: NOT AVAILABLE


3.9007 MERLANDER, MICHAEL                       VARIOUS                              Litigation              UNDETERMINED
       220 SUMMIT ROAD
       1601 PRIMROSE LANE             ACCOUNT NO.: NOT AVAILABLE
       PINOLE, CA 94564


3.9008 MERLONE GEIER PARTNERS                   VARIOUS                              Litigation              UNDETERMINED
       PETER SHERIDAN GLASER WEIL
       FINK HOWARD AVCHEN &           ACCOUNT NO.: NOT AVAILABLE
       SHAPIRO
       10250 CONSTELLATION
       BOULEVARD
       LOS ANGELES, CA 90067


3.9009 MERLONE GEIER PARTNERS                   VARIOUS                              Litigation              UNDETERMINED
       (ATTY. REP.)
       10250 CONSTELLATION BLVD.,     ACCOUNT NO.: NOT AVAILABLE
       19TH FLOOR
       LOS ANGELES, CA 90067


3.9010 MERRILL, AIMEE                           VARIOUS                              Litigation              UNDETERMINED
       3410 ROLAND DR
       SANTA CRUZ, CA 95062           ACCOUNT NO.: NOT AVAILABLE


3.9011 MERRILL, SOPHIA                          VARIOUS                              Litigation              UNDETERMINED
       46 RON HILL CIRCLE
       TIBURON, CA 94920              ACCOUNT NO.: NOT AVAILABLE


3.9012 MERRITT, PHILLIP                         VARIOUS                              Litigation              UNDETERMINED
       20900 COUNTY ROAD 95
       WOODLAND, CA 95695             ACCOUNT NO.: NOT AVAILABLE


3.9013 MERRY MIXERS OF CONTRA                   VARIOUS                              Litigation              UNDETERMINED
       COSTA, ERNEST & PEGGIE PIZZI
       139 ENTRADA MESA ROAD          ACCOUNT NO.: NOT AVAILABLE
       1475 CREEKSIDE DRIVE
       WALNUT CREEK, CA 94596


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Litigation & Disputes

3.9014 MERSEA'S RESTAURANT,                     VARIOUS                              Litigation              UNDETERMINED
       MELISSA KELLY
       PO BOX 335                   ACCOUNT NO.: NOT AVAILABLE
       AVILA BEACH, CA 93424


3.9015 MERTZ, KARI                              VARIOUS                              Litigation              UNDETERMINED
       1939 HUXLEY CT
       SAN JOSE, CA 95125           ACCOUNT NO.: NOT AVAILABLE


3.9016 MESERVE, CHRISTINE                       VARIOUS                              Litigation              UNDETERMINED
       PO BOX 320973
       LOS GATOS, CA 95032          ACCOUNT NO.: NOT AVAILABLE


3.9017 MESGOUN, MEBRAT                          VARIOUS                              Litigation              UNDETERMINED
       217 HUGHES LN
       APT 1                        ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93304


3.9018 MESHELL, LAURA & MICHAEL                 VARIOUS                              Litigation              UNDETERMINED
       2426 WHEELOCK ROAD # A1
       OROVILLE, CA 95965           ACCOUNT NO.: NOT AVAILABLE


3.9019 MESICK, ROBERT                           VARIOUS                              Litigation              UNDETERMINED
       141 ELMWOOD CT.
       SAN BRUNO, CA 94066          ACCOUNT NO.: NOT AVAILABLE


3.9020 MESNICKOW, FRANK                         VARIOUS                              Litigation              UNDETERMINED
       186 AVOCADO PLACE
       BRENTWOOD, CA 94513          ACCOUNT NO.: NOT AVAILABLE


3.9021 MESSANA, RUSS                            VARIOUS                              Litigation              UNDETERMINED
       2020 RIEBLI RD
       SANTA ROSA, CA 95404         ACCOUNT NO.: NOT AVAILABLE


3.9022 MESSINA, VALERIE                         VARIOUS                              Litigation              UNDETERMINED
       3504 HILLCREST DR.
       BELMONT, CA 94002            ACCOUNT NO.: NOT AVAILABLE


3.9023 MESTER, DEBORAH                          VARIOUS                              Litigation              UNDETERMINED
       334 SAN LUIS AVENUE
       LOS ALTOS, CA 94024          ACCOUNT NO.: NOT AVAILABLE


3.9024 MESTRE, EDWARD                           VARIOUS                              Litigation              UNDETERMINED
       1451 PASTEL LANE
       NOVATO, CA 94947             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.9025 METCALF, AMY                             VARIOUS                              Litigation              UNDETERMINED
       335 E CLEVELAND STREET
       STOCKTON, CA 95204             ACCOUNT NO.: NOT AVAILABLE


3.9026 METCALF, ELEINA                          VARIOUS                              Litigation              UNDETERMINED
       5261 MOON SHINE HILL ROAD
       PLACERVILLE, CA 95667          ACCOUNT NO.: NOT AVAILABLE


3.9027 METLIFE FOR ROJAS, BRAYDEN               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 6040
       ATTN. BRAYDEN DYSON            ACCOUNT NO.: NOT AVAILABLE
       SCRANTON, CA 18505


3.9028 METLIFE-KOLBO, SUSAN                     VARIOUS                              Litigation              UNDETERMINED
       PO BOX 2204
       CHARLOTTE, CA 28241            ACCOUNT NO.: NOT AVAILABLE


3.9029 METRO BREWING CO-                        VARIOUS                              Litigation              UNDETERMINED
       REYNOLDS, RAIMOND
       3940 BROAD STREET, #7415       ACCOUNT NO.: NOT AVAILABLE
       SAN LUIS OBISPO, CA 93401


3.9030 METTEER, ANTHONY                         VARIOUS                              Litigation              UNDETERMINED
       1730 GRASS VALLEY
       AUBURN, CA 95603               ACCOUNT NO.: NOT AVAILABLE


3.9031 MEUSEL, G                                VARIOUS                              Litigation              UNDETERMINED
       PO BOX 469
       REDWOOD ESTATES, CA 95044      ACCOUNT NO.: NOT AVAILABLE


3.9032 MEYER, BARRY                             VARIOUS                              Litigation              UNDETERMINED
       131A STONY CIRCLE, SUITE 500
       SANTA ROSA, CA 95401           ACCOUNT NO.: NOT AVAILABLE


3.9033 MEYER, BRIAN                             VARIOUS                              Litigation              UNDETERMINED
       2336 TOGO ST
       EUREKA, CA 95501               ACCOUNT NO.: NOT AVAILABLE


3.9034 MEYER, DOREEN                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 329
       22701 DA KINE ROAD             ACCOUNT NO.: NOT AVAILABLE
       PIONEER, CA 95689


3.9035 MEYER, FRED                              VARIOUS                              Litigation              UNDETERMINED
       1945 LEILA ST
       CASTRO VALLEY, CA 94546        ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9036 MEYER, PATRICIA                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 308
       COBB, CA 95426               ACCOUNT NO.: NOT AVAILABLE


3.9037 MEYER, PAULINE                           VARIOUS                              Litigation              UNDETERMINED
       6793 E. DOUGHERTY RD
       ACAMPO, CA 95220             ACCOUNT NO.: NOT AVAILABLE


3.9038 MEYERS, ANNE                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 13068
       BURTON, CA 98013             ACCOUNT NO.: NOT AVAILABLE


3.9039 MEYERS, DANIEL                           VARIOUS                              Litigation              UNDETERMINED
       330 MAD RIVER RD
       ARCATA, CA 95521             ACCOUNT NO.: NOT AVAILABLE


3.9040 MEYERS, JACK                             VARIOUS                              Litigation              UNDETERMINED
       33 PETAR CT
       CLAYTON, CA 94517            ACCOUNT NO.: NOT AVAILABLE


3.9041 MEZA CERVANTES, GISELLE                  VARIOUS                              Litigation              UNDETERMINED
       8659 ACAPULCO WAY, APT #1
       STOCKTON, CA 95210           ACCOUNT NO.: NOT AVAILABLE


3.9042 MEZA, JUAN                               VARIOUS                              Litigation              UNDETERMINED
       1208 CARMEL STREET
       BAKERSFIELD, CA 93306        ACCOUNT NO.: NOT AVAILABLE


3.9043 MEZA, YESENIA                            VARIOUS                              Litigation              UNDETERMINED
       2024 CHARLES STREET
       HUGHSON, CA 95326            ACCOUNT NO.: NOT AVAILABLE


3.9044 MI LINDO PERU, CARLOS                    VARIOUS                              Litigation              UNDETERMINED
       MIYAHIRA
       3226 MISSION STREET          ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94110


3.9045 MI WUK VILLAGE MUTUAL                    VARIOUS                              Litigation              UNDETERMINED
       WATER CO INC.-MEDEARIS,
       RONALD                       ACCOUNT NO.: NOT AVAILABLE
       PO BOX 61
       MI WUK VILLAGE, CA 95346


3.9046 MI WUK VILLAGE MUTUAL                    VARIOUS                              Litigation              UNDETERMINED
       WATER CO., RON MEDEARIS
       P.O. BOX 61                  ACCOUNT NO.: NOT AVAILABLE
       MI WUK VILLAGE, CA 95346



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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.9047 MIAO, ZHOUHUI                            VARIOUS                              Litigation              UNDETERMINED
       13741 SARATOGA VISTA AVE
       SARATOGA, CA 95070             ACCOUNT NO.: NOT AVAILABLE


3.9048 MICALLEF, ANDREW                         VARIOUS                              Litigation              UNDETERMINED
       1180 ROSEFIELD WAY
       MENLO PARK, CA 94025           ACCOUNT NO.: NOT AVAILABLE


3.9049 MICELI, SHARON                           VARIOUS                              Litigation              UNDETERMINED
       2755 CHERRY HILLS DRIVE
       DISCOVERY BAY, CA 94505        ACCOUNT NO.: NOT AVAILABLE


3.9050 MICHAEL & DEBRA PAROLA /                 VARIOUS                              Litigation              UNDETERMINED
       PAROLA DESIGN-PAROLA,
       MICHAEL                        ACCOUNT NO.: NOT AVAILABLE
       1130 E. FAIRMONT
       FRESNO, CA 93704


3.9051 MICHAEL AND GERRILYNN                    VARIOUS                              Litigation              UNDETERMINED
       DEJAGER FAMILY TRUST-
       DEJAGER, MICHAEL               ACCOUNT NO.: NOT AVAILABLE
       11101 IVY AVE
       CHOWCHILLA, CA 93610


3.9052 MICHAEL BRASIL DAIRY-BRASIL,             VARIOUS                              Litigation              UNDETERMINED
       MICHAEL
       18246 FIRST AVE.               ACCOUNT NO.: NOT AVAILABLE
       STEVINSON, CA 95374


3.9053 MICHAEL DOHERTY DBA                      VARIOUS                              Litigation              UNDETERMINED
       ROASTERS ESPRESSO BAR-
       DOHERTY, MICHAEL               ACCOUNT NO.: NOT AVAILABLE
       PO BOX 1116
       FORESTVILLE, CA 95436


3.9054 MICHAEL FERRETTI LANDLORD-               VARIOUS                              Litigation              UNDETERMINED
       FERRETTI, MICHAEL
       360 CANYON HIGHLANDS DRIVE     ACCOUNT NO.: NOT AVAILABLE
       ABOVE IS LANDLORD'S
       ADDRESS
       OROVILLE, CA 95966


3.9055 MICHAEL MORRIS, TOSHIKO                  VARIOUS                              Litigation              UNDETERMINED
       MORRIS
       MARY ALEXANDER, BRENDAN        ACCOUNT NO.: NOT AVAILABLE
       WAY, CATALINA MUNOZ
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104




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Litigation & Disputes

3.9056 MICHAEL MORRIS, TOSHIKO                  VARIOUS                              Litigation              UNDETERMINED
       MORRIS
       BOBBY THOMPSON               ACCOUNT NO.: NOT AVAILABLE
       704 AIRPORT BLVD
       SUITE 164
       BURLINGAME, CA 94010


3.9057 MICHAEL R DOHERTY DBA                    VARIOUS                              Litigation              UNDETERMINED
       SUNSHINE COFFEE ROASTERS-
       DOHERTY, MIKE                ACCOUNT NO.: NOT AVAILABLE
       PO BOX 1116
       FORESTVILLE, CA 95436


3.9058 MICHAEL RUSSELL                          VARIOUS                              Litigation              UNDETERMINED
       BOBBY THOMPSON
       732 AIRPORT BLVD             ACCOUNT NO.: NOT AVAILABLE
       SUITE 192
       BURLINGAME, CA 94010


3.9059 MICHAEL RUSSELL                          VARIOUS                              Litigation              UNDETERMINED
       MARY ALEXANDER, BRENDAN
       WAY, CATALINA MUNOZ          ACCOUNT NO.: NOT AVAILABLE
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.9060 MICHAEL SCIUME AND SNSEAH                VARIOUS                              Litigation              UNDETERMINED
       SCIUME
       BRAYTON PURCELL, LLP         ACCOUNT NO.: NOT AVAILABLE
       223 RUSH LANDING ROAD, P.O
       BOX 6169
       NOVATO, CA 94949-6169


3.9061 MICHAELIS WINE &SPIRITS-                 VARIOUS                              Litigation              UNDETERMINED
       ZEIDAN, JAWDAT
       2198 UNION ST                ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94123


3.9062 MICHAELS INSTALLATION                    VARIOUS                              Litigation              UNDETERMINED
       SERVICE INC.-GONZALEZ,
       MICHAEL                      ACCOUNT NO.: NOT AVAILABLE
       43 ELM ST
       SAN RAFAEL, CA 94901


3.9063 MICHAELS, MIRANDA                        VARIOUS                              Litigation              UNDETERMINED
       1184 SEQUOIA AVE
       FELTON, CA 95018             ACCOUNT NO.: NOT AVAILABLE


3.9064 MICHAUD, ALEXANDRIA                      VARIOUS                              Litigation              UNDETERMINED
       80 GREENWAY CIRCLE
       SACRAMENTO, CA 95831         ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.9065 MICHEL, CASSANDRA                        VARIOUS                              Litigation              UNDETERMINED
       1240 AMBROSINI LN
       FERNDALE, CA 95536            ACCOUNT NO.: NOT AVAILABLE


3.9066 MICHELINI, AMBER                         VARIOUS                              Litigation              UNDETERMINED
       314 MCCARTNEY COURT
       LINCOLN, CA 95648             ACCOUNT NO.: NOT AVAILABLE


3.9067 MICHELLE BARZILAY-BARZILAY,              VARIOUS                              Litigation              UNDETERMINED
       MICHELLE
       306 SILVIO LANE               ACCOUNT NO.: NOT AVAILABLE
       NOVATO, CA 94947


3.9068 MICHELLE GEHRUNG,                        VARIOUS                              Litigation              UNDETERMINED
       INDIVIDUALLY AND AS
       SUCCESSOR-IN-INTEREST TO      ACCOUNT NO.: NOT AVAILABLE
       LAWRENCE FINLEY, DECEASED,
       AND LISA DELAGUILA
       DEBLASE, BROWN, EYERLY, LLP
       680 SOUTH SANTA FE AVENUE
       LOS ANGELES, CA 90021


3.9069 MICHELUCCI, JOE                          VARIOUS                              Litigation              UNDETERMINED
       301 EL BONITO WAY
       MILLBRAE, CA 94030            ACCOUNT NO.: NOT AVAILABLE


3.9070 MICHOLOFKI, PATRICIA                     VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 153
       LAKEPORT, CA 95453            ACCOUNT NO.: NOT AVAILABLE


3.9071 MICKERSON, HEATHER                       VARIOUS                              Litigation              UNDETERMINED
       4875 OLD SAN JOSE ROAD
       SOQUEL, CA 95073              ACCOUNT NO.: NOT AVAILABLE


3.9072 MICONS LABRADORS, MICHAEL                VARIOUS                              Litigation              UNDETERMINED
       & CONNIE MUELLERLEILE
       16731 BRANDT ROAD             ACCOUNT NO.: NOT AVAILABLE
       LODI, CA 95240


3.9073 MID CENTURY INSURANCE                    VARIOUS                              Litigation              UNDETERMINED
       COMPANY-XIMINES, JILL
       PO BOX 268994                 ACCOUNT NO.: NOT AVAILABLE
       OKLAHOMA CITY, CA 73126


3.9074 MID STATE PROPERTY                       VARIOUS                              Litigation              UNDETERMINED
       MANAGEMENT, JOB NELISSEN
       3599 SUELDO STREET, SUITE     ACCOUNT NO.: NOT AVAILABLE
       100
       1235 NIPOMO STREET
       SAN LUIS OBISPO, CA 93401

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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9075 MID STATE PROPERTY                       VARIOUS                              Litigation              UNDETERMINED
       MANAGEMENT, JOB NELISSEN
       3599 SUELDO STREET, SUITE    ACCOUNT NO.: NOT AVAILABLE
       100
       1235 NIPOMO STREET
       SAN LUIS OBISPO, CA 93401


3.9076 MIDAS-MONTEVERDE, CHRIS                  VARIOUS                              Litigation              UNDETERMINED
       415 MILITARY E
       BENECIA, CA 94510            ACCOUNT NO.: NOT AVAILABLE


3.9077 MIDCENTURY INSURANCE                     VARIOUS                              Litigation              UNDETERMINED
       COMPANY-SILVEREK, RICHARD
       P.O. BOX 268994              ACCOUNT NO.: NOT AVAILABLE
       OKC, CA 73126


3.9078 MIDCENTURY INSURANCE                     VARIOUS                              Litigation              UNDETERMINED
       EXCHANGE
       CLAIMANTS REPRESENTED BY     ACCOUNT NO.: NOT AVAILABLE
       CRAIG SIMON, ATTORNEY FOR
       MID-CENTURY INSURANCE
       EXCHANGE AND FIRE
       INSURANCE EXCHANGE
       2 PARK PLAZA
       SUITE 650
       IRVINE, CA 92614


3.9079 MIDGLEY'S PUBLIC HOUSE-                  VARIOUS                              Litigation              UNDETERMINED
       MIDGLEY, LACI
       296 LINCOLN CENTER           ACCOUNT NO.: NOT AVAILABLE
       STOCKTON, CA 95207


3.9080 MIDSTATE BARRIER, INC.-                  VARIOUS                              Litigation              UNDETERMINED
       EBINGER, CLARK
       PO BOX 30550                 ACCOUNT NO.: NOT AVAILABLE
       STOCKTON, CA 95213


3.9081 MID-STATE PRECAST                        VARIOUS                              Litigation              UNDETERMINED
       MORRIS, POLICH & PURDY LLP
       (ATTORNEYS FOR               ACCOUNT NO.: NOT AVAILABLE
       PLAINTIFF)CLARK HILL LLP
       (ATTORNEYS FOR PLAINTIFF)
       1055 WEST 7TH STREET, 24TH
       FLOOR
       LOS ANGELES, CA 90017


3.9082 MIESSLER, LINDA                          VARIOUS                              Litigation              UNDETERMINED
       4110 HAWKINS ST
       FREMONT, CA 94538            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.9083 MIGLIORI, ROBERT & LINDA                 VARIOUS                              Litigation              UNDETERMINED
       2881 N. ARATA ROAD
       STOCKTON, CA 95215           ACCOUNT NO.: NOT AVAILABLE


3.9084 MIGUEL, GARY AND DEBRA                   VARIOUS                              Litigation              UNDETERMINED
       21235 GILBERT DR.
       REDDING, CA 96002            ACCOUNT NO.: NOT AVAILABLE


3.9085 MIGUEL, JOAQUIN                          VARIOUS                              Litigation              UNDETERMINED
       5309 W FLORAL AVE
       FRESNO, CA 93706             ACCOUNT NO.: NOT AVAILABLE


3.9086 MIJANGO, EMELY                           VARIOUS                              Litigation              UNDETERMINED
       1118 69TH AVE.
       OAKLAND, CA 94621            ACCOUNT NO.: NOT AVAILABLE


3.9087 MIKA, PRZEMYSLAW                         VARIOUS                              Litigation              UNDETERMINED
       1970 CHERRY HILLS DRIVE
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.9088 MIKE BROWN ELECTRIC                      VARIOUS                              Litigation              UNDETERMINED
       COMPANY-SMITH, AUSTIN
       561 A MERCANTILE DR          ACCOUNT NO.: NOT AVAILABLE
       COTATI, CA 94931


3.9089 MIKE HALL MUSIC-HALL,                    VARIOUS                              Litigation              UNDETERMINED
       MICHAEL
       4426 TWIN CREEKS LANE        ACCOUNT NO.: NOT AVAILABLE
       TRACY, CA 95377


3.9090 MIKE MEANS-MEANS, MIKE                   VARIOUS                              Litigation              UNDETERMINED
       15653 S MARKS AVE
       CARUTHERS, CA 93609          ACCOUNT NO.: NOT AVAILABLE


3.9091 MIKE MENDENHALL, RACHEL                  VARIOUS                              Litigation              UNDETERMINED
       CALBETT
       596                          ACCOUNT NO.: NOT AVAILABLE
       P.O. BOX
       COBB, CA 95426


3.9092 MIKES CUSTOM FABRICATION /               VARIOUS                              Litigation              UNDETERMINED
       WELDING-KOZIARA, MICHAEL
       13140 ROUND MOUNTAIN RD      ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93308


3.9093 MIKHAIL, KIM                             VARIOUS                              Litigation              UNDETERMINED
       238 MAIN ST.
       SALINAS, CA 93901            ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.9094 MIKULECKY, DAVID                          VARIOUS                              Litigation              UNDETERMINED
       7375 SCOTTS VALLEY RD
       LAKEPORT, CA 95453             ACCOUNT NO.: NOT AVAILABLE


3.9095 MILAMI, JUSTIN                            VARIOUS                              Litigation              UNDETERMINED
       2726 ROMER BLVD
       POLLOCK PINES, CA 95726        ACCOUNT NO.: NOT AVAILABLE


3.9096 MILANI OPTICAL, JEFF & CAROL              VARIOUS                              Litigation              UNDETERMINED
       MILANI
       644 PLUMAS STREET              ACCOUNT NO.: NOT AVAILABLE
       YUBA CITY, CA 95991


3.9097 MILBOURN, DOUGLAS                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1038
       MI WUK VILLAGE, CA 95346       ACCOUNT NO.: NOT AVAILABLE


3.9098 MILDRED FRAGA, PAUL FRAGA,                VARIOUS                              Litigation              UNDETERMINED
       SVETLANDA LISETSKI AND
       YAROSLAV STOLYARCHUK           ACCOUNT NO.: NOT AVAILABLE
       JANG & ASSOCIATES
       1766 LACASSIE AVENUE
       WALNUT CREEK, CA 94596


3.9099 MILES, JEREMY & TONYA                     VARIOUS                              Litigation              UNDETERMINED
       1130 ROAD M
       REDWOOD VALLEY, CA 95470       ACCOUNT NO.: NOT AVAILABLE


3.9100 MILES, MONICA                             VARIOUS                              Litigation              UNDETERMINED
       15120 SKYWAY
       MAGALIA, CA 95954              ACCOUNT NO.: NOT AVAILABLE


3.9101 MILES, ROGER                              VARIOUS                              Litigation              UNDETERMINED
       59 LUPINE AVENUE #6
       SAN FRANCISCO, CA 94118        ACCOUNT NO.: NOT AVAILABLE


3.9102 MILL CREEK VETERINARY                     VARIOUS                              Litigation              UNDETERMINED
       HOSPITAL
       8202 HWY 99                    ACCOUNT NO.: NOT AVAILABLE
       LOS MOLINOS, CA 96080


3.9103 MILL VALLEY MASSAGE,                      VARIOUS                              Litigation              UNDETERMINED
       MICHAEL LANGER
       61 CAMINO ALTA                 ACCOUNT NO.: NOT AVAILABLE
       SUITE 102
       MILL VALLEY, CA 94901




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Litigation & Disputes

3.9104 MILLARD, CAROLYN                         VARIOUS                              Litigation              UNDETERMINED
       12114 QUARTZ HILL RD
       REDDING, CA 93003            ACCOUNT NO.: NOT AVAILABLE


3.9105 MILLER CLEANERS-PHUNG,                   VARIOUS                              Litigation              UNDETERMINED
       GIAO
       322 MILLER AVENUE            ACCOUNT NO.: NOT AVAILABLE
       MILL VALLEY, CA 94941


3.9106 MILLER, ALLISON                          VARIOUS                              Litigation              UNDETERMINED
       33300 ARIZONA ST
       UNION CITY, CA 94587         ACCOUNT NO.: NOT AVAILABLE


3.9107 MILLER, ANDREA                           VARIOUS                              Litigation              UNDETERMINED
       2501 RYAN CT
       DIAMOND SPGS, CA 95619       ACCOUNT NO.: NOT AVAILABLE


3.9108 MILLER, BARBARA                          VARIOUS                              Litigation              UNDETERMINED
       19600 EAGLE RIDGE ROAD
       FORESTHILL, CA 95631         ACCOUNT NO.: NOT AVAILABLE


3.9109 MILLER, BRANDON                          VARIOUS                              Litigation              UNDETERMINED
       160 W BAXTER ST
       VALLEJO, CA 94590            ACCOUNT NO.: NOT AVAILABLE


3.9110 MILLER, CHARLES                          VARIOUS                              Litigation              UNDETERMINED
       2727 EUCLID AVE
       RICHMOND, CA 94804           ACCOUNT NO.: NOT AVAILABLE


3.9111 MILLER, CRYSTAL                          VARIOUS                              Litigation              UNDETERMINED
       3580 AHWAHNEE WAY
       COOL, CA 95614               ACCOUNT NO.: NOT AVAILABLE


3.9112 MILLER, DANIELLE                         VARIOUS                              Litigation              UNDETERMINED
       1351 FREMONT BOULEVARD
       SEASIDE, CA 93955            ACCOUNT NO.: NOT AVAILABLE


3.9113 MILLER, DAWN                             VARIOUS                              Litigation              UNDETERMINED
       7610 FOREST GLEN DR
       GRIZZLY FLATS, CA 95636      ACCOUNT NO.: NOT AVAILABLE


3.9114 MILLER, DAWN                             VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 792
       MARSHALL, CA 94940           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.9115 MILLER, DONALD                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 366
       26661 N. THORNTON ROAD       ACCOUNT NO.: NOT AVAILABLE
       THORNTON, CA 95686


3.9116 MILLER, EDDIE                            VARIOUS                              Litigation              UNDETERMINED
       124 KINGSWOODCIR
       DANVILLE, CA 94506           ACCOUNT NO.: NOT AVAILABLE


3.9117 MILLER, ELAINE                           VARIOUS                              Litigation              UNDETERMINED
       13151 SPRING LAKE ST
       REDDING, CA 96003            ACCOUNT NO.: NOT AVAILABLE


3.9118 MILLER, ERICA                            VARIOUS                              Litigation              UNDETERMINED
       21735 HOMESTEAD ROAD
       PINE GROVE, CA 95665         ACCOUNT NO.: NOT AVAILABLE


3.9119 MILLER, FRANCIS                          VARIOUS                              Litigation              UNDETERMINED
       2775 TAYLOR LN
       BYRON, CA 94514              ACCOUNT NO.: NOT AVAILABLE


3.9120 MILLER, GARY                             VARIOUS                              Litigation              UNDETERMINED
       280 SW TUALATIN LOOP
       WEST LINN, CA 97068          ACCOUNT NO.: NOT AVAILABLE


3.9121 MILLER, GREG                             VARIOUS                              Litigation              UNDETERMINED
       2005 HELENA WAY
       REDWOOD CITY, CA 94061       ACCOUNT NO.: NOT AVAILABLE


3.9122 MILLER, INGER                            VARIOUS                              Litigation              UNDETERMINED
       3615 ALTA VISTA AVE.
       SANTA ROSA, CA 95409         ACCOUNT NO.: NOT AVAILABLE


3.9123 MILLER, JACK/CATHY                       VARIOUS                              Litigation              UNDETERMINED
       2296 FOREBAY ROAD
       POLLOCK PINES, CA 95726      ACCOUNT NO.: NOT AVAILABLE


3.9124 MILLER, JANET                            VARIOUS                              Litigation              UNDETERMINED
       RIDGECREST WY
       POLLOCK PINES, CA 95726      ACCOUNT NO.: NOT AVAILABLE


3.9125 MILLER, JASON                            VARIOUS                              Litigation              UNDETERMINED
       3220 SLY PARK RD
       POLLOCK PINES, CA 95726      ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.9126 MILLER, JASON                            VARIOUS                              Litigation              UNDETERMINED
       3220 SLY PARK RD
       POLLOCK PINES, CA 95726      ACCOUNT NO.: NOT AVAILABLE


3.9127 MILLER, JEFF                             VARIOUS                              Litigation              UNDETERMINED
       21797 CRYSTAL LAKE DRIVE
       SONORA, CA 95370             ACCOUNT NO.: NOT AVAILABLE


3.9128 MILLER, JESSEL                           VARIOUS                              Litigation              UNDETERMINED
       1019 ATLAS PEAK RD
       NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.9129 MILLER, JOANNE                           VARIOUS                              Litigation              UNDETERMINED
       2 ASH AVE.
       #6                           ACCOUNT NO.: NOT AVAILABLE
       KENTFIELD, CA 94904


3.9130 MILLER, JOEL                             VARIOUS                              Litigation              UNDETERMINED
       2956 MONTE CRESTA DR.
       BELMONT, CA 94002            ACCOUNT NO.: NOT AVAILABLE


3.9131 MILLER, JOEL                             VARIOUS                              Litigation              UNDETERMINED
       2956 MONTE CRESTA DR.
       BELMONT, CA 94002            ACCOUNT NO.: NOT AVAILABLE


3.9132 MILLER, JOY                              VARIOUS                              Litigation              UNDETERMINED
       9325 CHERRY STREETY
       OAKLAND, CA 94603            ACCOUNT NO.: NOT AVAILABLE


3.9133 MILLER, JULIANA                          VARIOUS                              Litigation              UNDETERMINED
       6380 TOPAZ DR
       POLLOCK PINES, CA 95726      ACCOUNT NO.: NOT AVAILABLE


3.9134 MILLER, KEN AND WENDY                    VARIOUS                              Litigation              UNDETERMINED
       6737 LYNCH AV
       RIVERBANK, CA 95367          ACCOUNT NO.: NOT AVAILABLE


3.9135 MILLER, KENNETH                          VARIOUS                              Litigation              UNDETERMINED
       565 SUGARLOAF RD
       SCOTTS VALLEY, CA 95066      ACCOUNT NO.: NOT AVAILABLE


3.9136 MILLER, KENNETH                          VARIOUS                              Litigation              UNDETERMINED
       12350 CHRISTIANSEN ROAD
       #72                          ACCOUNT NO.: NOT AVAILABLE
       CA 93907




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U    D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                           Claim

Litigation & Disputes

3.9137 MILLER, LOUIS                            VARIOUS                              Litigation              UNDETERMINED
       18610 CYPRESS DR
       COTTONWOOD, CA 96022            ACCOUNT NO.: NOT AVAILABLE


3.9138 MILLER, MARK                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 404
       RICHVALE, CA 95974              ACCOUNT NO.: NOT AVAILABLE


3.9139 MILLER, MARK                             VARIOUS                              Litigation              UNDETERMINED
       1719 17TH AVENUE
       SAN FRANCISCO, CA 94122         ACCOUNT NO.: NOT AVAILABLE


3.9140 MILLER, MARTIN                           VARIOUS                              Litigation              UNDETERMINED
       32831 PARK VIEW DR.
       FORT BRAGG, CA 95437            ACCOUNT NO.: NOT AVAILABLE


3.9141 MILLER, PAMELA                           VARIOUS                              Litigation              UNDETERMINED
       3042 AUGUSTA ST.
       SAN LUIS OBISPO, CA 93401       ACCOUNT NO.: NOT AVAILABLE


3.9142 MILLER, PERRY JOSH                       VARIOUS                              Litigation              UNDETERMINED
       QUINN CHEVALIER, ESQ.
       2351 SUNSET BLVD., SUITE 170-   ACCOUNT NO.: NOT AVAILABLE
       317
       ROCKLIN, CA 95765


3.9143 MILLER, RALPH                            VARIOUS                              Litigation              UNDETERMINED
       135 KENNETH STREET
       SANTA CRUZ, CA 95060            ACCOUNT NO.: NOT AVAILABLE


3.9144 MILLER, RAY                              VARIOUS                              Litigation              UNDETERMINED
       7419 CAMELLA LANE
       STOCKTON, CA 95207              ACCOUNT NO.: NOT AVAILABLE


3.9145 MILLER, SANDRA                           VARIOUS                              Litigation              UNDETERMINED
       2676 STONYBROOK AVE
       MERCED, CA 95348                ACCOUNT NO.: NOT AVAILABLE


3.9146 MILLER, SEBASTIAN                        VARIOUS                              Litigation              UNDETERMINED
       2777 15 AVE
       CARMEL, CA 93923                ACCOUNT NO.: NOT AVAILABLE


3.9147 MILLER, SHARI                            VARIOUS                              Litigation              UNDETERMINED
       350 CATMINT STREET
       MANTECA, CA 95337               ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.9148 MILLER, SHELLEY                           VARIOUS                              Litigation              UNDETERMINED
       250 BONNIE LANE
       HOLLISTER, CA 95023           ACCOUNT NO.: NOT AVAILABLE


3.9149 MILLER, STEWART AND ROTH,                 VARIOUS                              Litigation              UNDETERMINED
       RICHARD
       WINTON STRAUSS LAW GROUP,     ACCOUNT NO.: NOT AVAILABLE
       P.C.
       2 RANCH DRIVE, UPPER SUITE
       NOVATO, CA 94945


3.9150 MILLER, TERRI                             VARIOUS                              Litigation              UNDETERMINED
       1025 GREEN VALLEY ROAD
       NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.9151 MILLER, THOMAS                            VARIOUS                              Litigation              UNDETERMINED
       6380 TOPAZ
       POLLUCK PINES, CA 95726       ACCOUNT NO.: NOT AVAILABLE


3.9152 MILLER, WILLIAM                           VARIOUS                              Litigation              UNDETERMINED
       901 DARTMOUTH WAY
       CONCORD, CA 94518             ACCOUNT NO.: NOT AVAILABLE


3.9153 MILLEUR, LEIGH                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 322
       CALISTOGA, CA 94515           ACCOUNT NO.: NOT AVAILABLE


3.9154 MILLIKEN, RALPH                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 85
       BASS LAKE, CA 93604           ACCOUNT NO.: NOT AVAILABLE


3.9155 MILLISON, TODD                            VARIOUS                              Litigation              UNDETERMINED
       1834 CENTER AVE
       MARTINEZ, CA 94553            ACCOUNT NO.: NOT AVAILABLE


3.9156 MILLON, KATHLYN                           VARIOUS                              Litigation              UNDETERMINED
       9399 CASCADE RD
       SODA SPRINGS, CA 95728        ACCOUNT NO.: NOT AVAILABLE


3.9157 MILLOT, DAVID                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 6948
       EUREKA, CA 95502-6948         ACCOUNT NO.: NOT AVAILABLE


3.9158 MILLS SQUARE-YOUNG, CAROL                 VARIOUS                              Litigation              UNDETERMINED
       130 E DANA ST
       MOUNTAIN VIEW, CA 94041       ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9159 MILLS, AARON & CHRISTINE                 VARIOUS                              Litigation              UNDETERMINED
       33781 PINTAIL STREET
       WOODLAND, CA 95695           ACCOUNT NO.: NOT AVAILABLE


3.9160 MILLS, DIANA                             VARIOUS                              Litigation              UNDETERMINED
       449 OAKBROOK LN
       SANTA ROSA, CA 95409         ACCOUNT NO.: NOT AVAILABLE


3.9161 MILLS, DONALD                            VARIOUS                              Litigation              UNDETERMINED
       LAW OFFICE OF MARK S.
       NELSON                       ACCOUNT NO.: NOT AVAILABLE
       215 MCHENRY AVENUE
       MODESTO, CA 95355


3.9162 MILLS, JUDITH                            VARIOUS                              Litigation              UNDETERMINED
       1226 MAIN STREET
       CAMBRIA, CA 93428            ACCOUNT NO.: NOT AVAILABLE


3.9163 MILLS, JULIE                             VARIOUS                              Litigation              UNDETERMINED
       2130 SAN MIGUEL CANYON RD
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.9164 MILLS/LAW OFFICES OF MARK                VARIOUS                              Litigation              UNDETERMINED
       NELSON
       215 MCHENRY AVENUE           ACCOUNT NO.: NOT AVAILABLE
       MODESTO, CA 95354


3.9165 MILLWARD, RICHARD &                      VARIOUS                              Litigation              UNDETERMINED
       JEANNETTE
       3451 PALORAN COURT           ACCOUNT NO.: NOT AVAILABLE
       SHINGLE SPRINGS, CA 95692


3.9166 MILNE, SUSAN & BILL VEYL                 VARIOUS                              Litigation              UNDETERMINED
       429 MARNELL AVE
       SANTA CRUZ, CA 95062-1226    ACCOUNT NO.: NOT AVAILABLE


3.9167 MILOVINA VINEYARDS-                      VARIOUS                              Litigation              UNDETERMINED
       MILOVINA, MICHAEL
       PO BOX 302                   ACCOUNT NO.: NOT AVAILABLE
       HOPLAND, CA 95449


3.9168 MILSNER, NORMAN                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 4388
       ARNOLD, CA 95223             ACCOUNT NO.: NOT AVAILABLE


3.9169 MILTON, MICHAEL                          VARIOUS                              Litigation              UNDETERMINED
       371 MONTE CARLO AVE.
       UNION CITY, CA 94587         ACCOUNT NO.: NOT AVAILABLE


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Creditor's Name, Mailing Address     Date Claim Was Incurred And         C U    D    Basis For    Offset    Amount of Claim
Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9170 MIMLITSCH, JAMES & MARYANN               VARIOUS                              Litigation              UNDETERMINED
       895 VIA CASA VISTA
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.9171 MIMS, GINA                               VARIOUS                              Litigation              UNDETERMINED
       12967 N GARNERO RD
       LODI, CA 95240               ACCOUNT NO.: NOT AVAILABLE


3.9172 MINAFO, MICHAEL & TIFFANI                VARIOUS                              Litigation              UNDETERMINED
       566 CASANOVA AVE
       MONTEREY, CA 93940           ACCOUNT NO.: NOT AVAILABLE


3.9173 MINAMIHARA, YOSHI & KASIA                VARIOUS                              Litigation              UNDETERMINED
       5460 AGOSTINO CT
       14011 MOONSHINE              ACCOUNT NO.: NOT AVAILABLE
       CAMPTONVILLE, CA 95922


3.9174 MINEAU, HELEN                            VARIOUS                              Litigation              UNDETERMINED
       644 PRADERIA CIRCLE
       FREMONT, CA 94539            ACCOUNT NO.: NOT AVAILABLE


3.9175 MINER, KIM                               VARIOUS                              Litigation              UNDETERMINED
       131 WINDSOR DRIVE
       PETALUMA, CA 94952           ACCOUNT NO.: NOT AVAILABLE


3.9176 MINGAO, PHILLIP                          VARIOUS                              Litigation              UNDETERMINED
       2415 SHANNON DR
       SOUTH SAN FRANCISCO, CA      ACCOUNT NO.: NOT AVAILABLE
       94080


3.9177 MINKEL, RICHARD                          VARIOUS                              Litigation              UNDETERMINED
       6105 SAN ANSELMO ROAD
       SAN ATASCADERO, CA 93442     ACCOUNT NO.: NOT AVAILABLE


3.9178 MINKLER, JASON                           VARIOUS                              Litigation              UNDETERMINED
       25 BERRY TRAIL
       FAIRFAX, CA 94930            ACCOUNT NO.: NOT AVAILABLE


3.9179 MINNICK, ROBERT                          VARIOUS                              Litigation              UNDETERMINED
       7440 MATTERHORN PL
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.9180 MINOR, JEANETTA                          VARIOUS                              Litigation              UNDETERMINED
       18981 ELGIN AVE
       LEMOORE, CA 93245            ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address     Date Claim Was Incurred And         C U    D    Basis For    Offset    Amount of Claim
Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9181 MINOR, WALLACE                           VARIOUS                              Litigation              UNDETERMINED
       9316 E ST.
       OAKLAND, CA 94603            ACCOUNT NO.: NOT AVAILABLE


3.9182 MINSKE, LUCINDA                          VARIOUS                              Litigation              UNDETERMINED
       2308 WINDJAMMER CT NW
       OLYMPIA, CA 98502            ACCOUNT NO.: NOT AVAILABLE


3.9183 MINT DEVELOPEMENT, JAY                   VARIOUS                              Litigation              UNDETERMINED
       SINGH
       150 W HARRIS AVENUE          ACCOUNT NO.: NOT AVAILABLE
       SOUTH SAN FRANCISCO, CA
       94080


3.9184 MINT DEVELOPMENT, L.P.                   VARIOUS                              Litigation              UNDETERMINED
       WENDEL, ROSEN, BLACK &
       DEAN LLP (OPPOSING           ACCOUNT NO.: NOT AVAILABLE
       COUNSEL)
       1111 BROADWAY #2400
       OAKLAND, CA 94607


3.9185 MINTON, JOE                              VARIOUS                              Litigation              UNDETERMINED
       PO BOX 392
       NORTH SAN JUAN, CA 95960     ACCOUNT NO.: NOT AVAILABLE


3.9186 MINUGH, LEILA                            VARIOUS                              Litigation              UNDETERMINED
       5221 STRONG CIRCLE
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.9187 MIR, EMAD                                VARIOUS                              Litigation              UNDETERMINED
       749 E HOMESTEAD RD
       SUNNYVALE, CA 94087          ACCOUNT NO.: NOT AVAILABLE


3.9188 MIRA LOMA ROAD RESIDENTS                 VARIOUS                              Litigation              UNDETERMINED
       62 MIRA LOMA ROAD
       ORINDA, CA 94563             ACCOUNT NO.: NOT AVAILABLE


3.9189 MIRANDA, ALICE                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 2433
       30 KNIGHT LANE               ACCOUNT NO.: NOT AVAILABLE
       HOLLISTER, CA 95024


3.9190 MIRANDA, CESAR                           VARIOUS                              Litigation              UNDETERMINED
       2841 SPRING ST
       PASO ROBLES, CA 93446        ACCOUNT NO.: NOT AVAILABLE


3.9191 MIRANDA, EDITH                           VARIOUS                              Litigation              UNDETERMINED
       2647 OREGON ST
       UNION CITY, CA 94587         ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.9192 MIRANDA, KRISTINA                         VARIOUS                              Litigation              UNDETERMINED
       10540 BLEVINS WAY
       CASTROVILLE, CA 95012         ACCOUNT NO.: NOT AVAILABLE


3.9193 MIRANDA, MARCONI & SANDRA                 VARIOUS                              Litigation              UNDETERMINED
       2037 FAIRMONT DRIVE
       SAN MATEO, CA 94402           ACCOUNT NO.: NOT AVAILABLE


3.9194 MIRANDA, SUSAN                            VARIOUS                              Litigation              UNDETERMINED
       8671 TRENTON ROAD
       FORESTVILLE, CA 95436         ACCOUNT NO.: NOT AVAILABLE


3.9195 MIRANDE, ANTHONY                          VARIOUS                              Litigation              UNDETERMINED
       21026 FRANCIS ST.
       CASTRO VALLEY, CA 94546       ACCOUNT NO.: NOT AVAILABLE


3.9196 MIRHAJ, LINET                             VARIOUS                              Litigation              UNDETERMINED
       5903 CABRAL AVE
       SAN JOSE, CA 95123            ACCOUNT NO.: NOT AVAILABLE


3.9197 MIROYAN, CHRISTIE                         VARIOUS                              Litigation              UNDETERMINED
       218 CORONADO
       APTOS, CA 95003               ACCOUNT NO.: NOT AVAILABLE


3.9198 MISAGHI, SHOHREH                          VARIOUS                              Litigation              UNDETERMINED
       6316 WESTOVER DRIVE
       OAKLAND, CA 94611             ACCOUNT NO.: NOT AVAILABLE


3.9199 MISIONERO-ARRIAGA, JOHNNY                 VARIOUS                              Litigation              UNDETERMINED
       33155 GLORIA RD
       GONZALES, CA 93926            ACCOUNT NO.: NOT AVAILABLE


3.9200 MISIONERO-MITCHELL, JOSH                  VARIOUS                              Litigation              UNDETERMINED
       33155 GLORIA RD
       GONZALES, CA 93926            ACCOUNT NO.: NOT AVAILABLE


3.9201 MISKO, NANCY                              VARIOUS                              Litigation              UNDETERMINED
       857 SUNNYSIDE AVE
       SANTA MARIA, CA 93455         ACCOUNT NO.: NOT AVAILABLE


3.9202 MISS BESS HAIR & NAIL                     VARIOUS                              Litigation              UNDETERMINED
       84 EAST 3RD AVENUE
       SAN MATEO, CA 94401           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9203 MISSION NEIGHBORHOOD                     VARIOUS                              Litigation              UNDETERMINED
       HEALTH CENTER-DIAZ, LUZ
       240 SHOTWELL ST              ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94110


3.9204 MISSION VALLEY ROCK CO.-                 VARIOUS                              Litigation              UNDETERMINED
       AUDAL, JOSEPH
       24001 STEVENS CREEK BLVD.    ACCOUNT NO.: NOT AVAILABLE
       CUPERTINO, CA 95014


3.9205 MISSOURI FLAT SELF                       VARIOUS                              Litigation              UNDETERMINED
       STORAGE, LLC-
       FRATARCANGELI, PAMELA        ACCOUNT NO.: NOT AVAILABLE
       4040 STAGE COURT
       4A
       PLACERVILLE, CA 95667


3.9206 MISSOURI FLAT SELF                       VARIOUS                              Litigation              UNDETERMINED
       STORAGE, LLC-
       FRATARCANGELI, PAMELA        ACCOUNT NO.: NOT AVAILABLE
       4040 STAGE COURT ELEVATOR
       PLACERVILLE, CA 95667


3.9207 MISTO, RAHAF                             VARIOUS                              Litigation              UNDETERMINED
       32 MOUNT DEVON RD
       CARMEL, CA 93923             ACCOUNT NO.: NOT AVAILABLE


3.9208 MISTRETTA, SUSAN                         VARIOUS                              Litigation              UNDETERMINED
       147 SEACLIFF DR
       PISMO BEACH, CA 93449        ACCOUNT NO.: NOT AVAILABLE


3.9209 MITCHELL LAW FIRM                        VARIOUS                              Litigation              UNDETERMINED
       390 FIFTH ST.
       HOLLISTER, CA 95023          ACCOUNT NO.: NOT AVAILABLE


3.9210 MITCHELL, DARLENE                        VARIOUS                              Litigation              UNDETERMINED
       2325 17TH AVENUE #4
       OAKLAND, CA 94606            ACCOUNT NO.: NOT AVAILABLE


3.9211 MITCHELL, DAVID                          VARIOUS                              Litigation              UNDETERMINED
       14213 SANTA FE CT
       BAKERSFIELD, CA 93314        ACCOUNT NO.: NOT AVAILABLE


3.9212 MITCHELL, DIANE                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 354
       712 ROAN WAY                 ACCOUNT NO.: NOT AVAILABLE
       AVERY, CA 95224




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Including Zip Code                            Account Number                           Claim

Litigation & Disputes

3.9213 MITCHELL, JAMES                          VARIOUS                              Litigation              UNDETERMINED
       2640 LA CRESCENTA DR #27
       CAMERON PARK, CA 95682          ACCOUNT NO.: NOT AVAILABLE


3.9214 MITCHELL, LYNNE                          VARIOUS                              Litigation              UNDETERMINED
       1552 FOXWORTHY AVE
       SAN JOSE, CA 95118              ACCOUNT NO.: NOT AVAILABLE


3.9215 MITCHELL, MEL                            VARIOUS                              Litigation              UNDETERMINED
       9647 THATCHER MILL RD
       SHINGLETOWN, CA 96088           ACCOUNT NO.: NOT AVAILABLE


3.9216 MITCHELL, PATRICIA                       VARIOUS                              Litigation              UNDETERMINED
       LAW OFFICE OF CHRISTIAN B.
       GREEN (ATTORNEYS FOR            ACCOUNT NO.: NOT AVAILABLE
       DEFENDANT/CROSS
       COMPLAINANT BAUMAN
       LANDSCAPE AND
       CONSTRUCTION)
       555 12TH STREET, SUITE 600
       OAKLAND, CA 94609


3.9217 MITCHELL, PATRICIA                       VARIOUS                              Litigation              UNDETERMINED
       ZIEF, DIMENT & GLICKMAN
       (ATTORNEYS FOR PLAINTIFF)       ACCOUNT NO.: NOT AVAILABLE
       109 GEARY STREET, 4TH FLOOR
       OAKLAND, CA 94108


3.9218 MITCHELL, PATRICIA (ATTY REP)            VARIOUS                              Litigation              UNDETERMINED
       C/O ZIEF, DIMENT & GLICKMAN
       109 GEARY STREET, 4TH FLOOR     ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94108


3.9219 MITCHELL, ROBERT & JEAN                  VARIOUS                              Litigation              UNDETERMINED
       3852 SCOTTS VALLEY RD
       LAKEPORT, CA 95453              ACCOUNT NO.: NOT AVAILABLE


3.9220 MITCHEM, JON                             VARIOUS                              Litigation              UNDETERMINED
       513 MAY STREET
       ARROYO GRANDE, CA 93420         ACCOUNT NO.: NOT AVAILABLE


3.9221 MITZEL, REBECCA                          VARIOUS                              Litigation              UNDETERMINED
       1001 PINEWOOD DR.
       SAN JOSE, CA 95129              ACCOUNT NO.: NOT AVAILABLE


3.9222 MITZOGUCHI, AMY                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 562
       TRINIDAD, CA 95570              ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.9223 MIXON, DANIEL                            VARIOUS                              Litigation              UNDETERMINED
       1419 MARSHALL RD.
       VACAVILLE, CA 95687            ACCOUNT NO.: NOT AVAILABLE


3.9224 MIXON, TRAVIS                            VARIOUS                              Litigation              UNDETERMINED
       19555 E OAKWOOD ROAD
       STOCKTON, CA 95215             ACCOUNT NO.: NOT AVAILABLE


3.9225 MIXZEL PRODUCT DISTINCTION-              VARIOUS                              Litigation              UNDETERMINED
       DRAKE, JONATHAN
       16 MENTONE RD                  ACCOUNT NO.: NOT AVAILABLE
       CARMEL, CA 93923


3.9226 MIZUNO FARMS, INC.-MIZUNO,               VARIOUS                              Litigation              UNDETERMINED
       CLARK
       29050 S. AHERN ROAD            ACCOUNT NO.: NOT AVAILABLE
       TRACY, CA 95304


3.9227 MK BLAKE ESTATE COMPANY-                 VARIOUS                              Litigation              UNDETERMINED
       FISHER, DIANE
       944 MC COURTNEY RD             ACCOUNT NO.: NOT AVAILABLE
       STE F
       GRASS VALLEY, CA 95949


3.9228 ML LIQUORS-ALBARATI, YOUSEF              VARIOUS                              Litigation              UNDETERMINED
       2 FRUITLAND AVE
       ROYAL OAKS, CA 95076           ACCOUNT NO.: NOT AVAILABLE


3.9229 MO BURGER DBA BURGER.-                   VARIOUS                              Litigation              UNDETERMINED
       KING, MICHELLE
       PO BOX 940                     ACCOUNT NO.: NOT AVAILABLE
       APTOS, CA 95001


3.9230 MOBERT, MARY                             VARIOUS                              Litigation              UNDETERMINED
       36210 OLD STAGE RD
       GUALALA, CA 95445              ACCOUNT NO.: NOT AVAILABLE


3.9231 MOBLEY, APRIL                            VARIOUS                              Litigation              UNDETERMINED
       17557 GREEN RIDGE ROAD
       HIDDEN VALLEY LAKE, CA 95467   ACCOUNT NO.: NOT AVAILABLE


3.9232 MOBLEY, MARGE                            VARIOUS                              Litigation              UNDETERMINED
       183 3 M LANE
       MTN RANCH, CA 95246            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9233 MOBY'S AUTO WASH, VICTOR                 VARIOUS                              Litigation              UNDETERMINED
       ELIZALDE
       1539 WESTWOOD BLVD           ACCOUNT NO.: NOT AVAILABLE
       3703 STOCKDALE HWY,
       BAKERSFIELD
       LOS ANGELES, CA 90024


3.9234 MOCK, JACLYN                             VARIOUS                              Litigation              UNDETERMINED
       4333 FAIRWOOD ST.
       FREMONT, CA 94538            ACCOUNT NO.: NOT AVAILABLE


3.9235 MODAD, JULIA                             VARIOUS                              Litigation              UNDETERMINED
       1185 MUSTANG DR.
       DANVILLE, CA 94526           ACCOUNT NO.: NOT AVAILABLE


3.9236 MODDELMOG, KATRINA                       VARIOUS                              Litigation              UNDETERMINED
       5575 VIRGINIATOWN ROAD
       NEWCASTLE, CA 95658          ACCOUNT NO.: NOT AVAILABLE


3.9237 MODE, CAMERON                            VARIOUS                              Litigation              UNDETERMINED
       215 BEECHNUT STREET
       NIPOMO, CA 93444             ACCOUNT NO.: NOT AVAILABLE


3.9238 MODES, WES                               VARIOUS                              Litigation              UNDETERMINED
       548 REDWOOD DRIVE
       FELTON, CA 95018             ACCOUNT NO.: NOT AVAILABLE


3.9239 MOEHREN, STEFAN                          VARIOUS                              Litigation              UNDETERMINED
       1029 DEL MONTE BLVD
       PACIFIC GROVE, CA 93950      ACCOUNT NO.: NOT AVAILABLE


3.9240 MOFFET, JOHN                             VARIOUS                              Litigation              UNDETERMINED
       191 SPRAUER RD
       PETALUMA, CA 94952           ACCOUNT NO.: NOT AVAILABLE


3.9241 MOFFETT, CYNTHIA                         VARIOUS                              Litigation              UNDETERMINED
       2024 N ADOLINE AVE
       FRESNO, CA 93705             ACCOUNT NO.: NOT AVAILABLE


3.9242 MOFFETT, WHITNEY                         VARIOUS                              Litigation              UNDETERMINED
       607 MORNING GLORY DRIVE
       VACAVILLE, CA 95687          ACCOUNT NO.: NOT AVAILABLE


3.9243 MOFFITT, RITA                            VARIOUS                              Litigation              UNDETERMINED
       3600 HIGH MEADOW DR. # 40
       CARMEL, CA 93923             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9244 MOGA TRANSPORT INC.-SINGH,               VARIOUS                              Litigation              UNDETERMINED
       HAPPY
       320 CORONA RD                ACCOUNT NO.: NOT AVAILABLE
       PETALUMA, CA 94954


3.9245 MOGA TRANSPORT INC.-SINGH,               VARIOUS                              Litigation              UNDETERMINED
       HARWINDER
       P.O. BOX 53                  ACCOUNT NO.: NOT AVAILABLE
       PETALUMA, CA 94953


3.9246 MOGLIA, JOHN V. PG&E                     VARIOUS                              Litigation              UNDETERMINED
       419 WEST 5TH
       ANTIOCH, CA 94509            ACCOUNT NO.: NOT AVAILABLE


3.9247 MOHAMED, JAMIL                           VARIOUS                              Litigation              UNDETERMINED
       620 VAUGHAN STREET
       NORCO, CA 92860              ACCOUNT NO.: NOT AVAILABLE


3.9248 MOHAMED, JOSEPH SR.                      VARIOUS                              Litigation              UNDETERMINED
       4405 COLLEGE OAK DR.
       SACRAMENTO, CA 95841         ACCOUNT NO.: NOT AVAILABLE


3.9249 MOHAMED-ALI, AHMED                       VARIOUS                              Litigation              UNDETERMINED
       427 WAYNE AVE
       OAKLAND, CA 94606            ACCOUNT NO.: NOT AVAILABLE


3.9250 MOHINDER S POONIA MD INC.-               VARIOUS                              Litigation              UNDETERMINED
       POONIA, MOHINDER
       7035 N CHESTNUT AVE, 102     ACCOUNT NO.: NOT AVAILABLE
       FRRESNO, CA 93720


3.9251 MOHMAND, NAJIBULLAH                      VARIOUS                              Litigation              UNDETERMINED
       1814 GARDENIA CT
       ANTIOCH, CA 94531            ACCOUNT NO.: NOT AVAILABLE


3.9252 MOHN, DAVID                              VARIOUS                              Litigation              UNDETERMINED
       216 STANBRIDGE CT
       DANVILLE, CA 94526           ACCOUNT NO.: NOT AVAILABLE


3.9253 MOISAN, BETH                             VARIOUS                              Litigation              UNDETERMINED
       995 FREDENSBORG CANYON RD
       SOLVANG, CA 93463            ACCOUNT NO.: NOT AVAILABLE


3.9254 MOJAB, NAZGOL                            VARIOUS                              Litigation              UNDETERMINED
       7 CAPTAIN DRIVE
       EMERYVILLE, CA 94608         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.9255 MOJICA, ANALEESA                          VARIOUS                              Litigation              UNDETERMINED
       913 S CHESTER AVE
       BAKERSFIELD, CA 93304         ACCOUNT NO.: NOT AVAILABLE


3.9256 MOJICA, ECTOR                             VARIOUS                              Litigation              UNDETERMINED
       612 ADAMS STREET
       ALBANY, CA 94706              ACCOUNT NO.: NOT AVAILABLE


3.9257 MOJICA, HENRY                             VARIOUS                              Litigation              UNDETERMINED
       7813 MACFADDEN DR
       SACRAMENTO, CA 95828          ACCOUNT NO.: NOT AVAILABLE


3.9258 MOK, EDWARD                               VARIOUS                              Litigation              UNDETERMINED
       1387 38TH AVE
       4                             ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94122


3.9259 MOLAND, ALISA                             VARIOUS                              Litigation              UNDETERMINED
       9012 BLUE GRASS DR
       STOCKTON, CA 95210            ACCOUNT NO.: NOT AVAILABLE


3.9260 MOLATORE, GARY                            VARIOUS                              Litigation              UNDETERMINED
       975 JONELL LN
       CHICO, CA 95926               ACCOUNT NO.: NOT AVAILABLE


3.9261 MOLDOWAN, JOHN                            VARIOUS                              Litigation              UNDETERMINED
       638 MARTIN AVE
       ROHNERT PARK, CA 94928        ACCOUNT NO.: NOT AVAILABLE


3.9262 MOLDOWAN, MARY                            VARIOUS                              Litigation              UNDETERMINED
       2501 BLUCHER VALLEY RD
       SEBASTOPOL, CA 95472          ACCOUNT NO.: NOT AVAILABLE


3.9263 MOLINA, BENJAMIN                          VARIOUS                              Litigation              UNDETERMINED
       2201 ADDISON AVE
       EAST PALO ALTO, CA 94303      ACCOUNT NO.: NOT AVAILABLE


3.9264 MOLINA, JULIO                             VARIOUS                              Litigation              UNDETERMINED
       4595 ROYAL OAK RD
       SANTA MARIA, CA 93455         ACCOUNT NO.: NOT AVAILABLE


3.9265 MOLINA, MARY                              VARIOUS                              Litigation              UNDETERMINED
       13865 PINE VIEW DRIVE
       PINE GROVE, CA 95665          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9266 MOLINA, TOMAS                            VARIOUS                              Litigation              UNDETERMINED
       115 MARINA WAY
       RICHMOND, CA 94801           ACCOUNT NO.: NOT AVAILABLE


3.9267 MOLINARI, ROBERT                         VARIOUS                              Litigation              UNDETERMINED
       164 MORAN ROAD
       ARNOLD, CA 95223             ACCOUNT NO.: NOT AVAILABLE


3.9268 MOLINARO, JAMES                          VARIOUS                              Litigation              UNDETERMINED
       24525 OUTLOOK DRIVE
       #32                          ACCOUNT NO.: NOT AVAILABLE
       CARMEL, CA 93923


3.9269 MOLINEIO, MARIA                          VARIOUS                              Litigation              UNDETERMINED
       2271 PEREZ STREET
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.9270 MOLLA, KELSEY                            VARIOUS                              Litigation              UNDETERMINED
       1415 37TH AVE
       SAN FRANCISCO, CA 94122      ACCOUNT NO.: NOT AVAILABLE


3.9271 MOLLET, KAYLA                            VARIOUS                              Litigation              UNDETERMINED
       1007 BANK ST
       BAKERSFIELD, CA 93304        ACCOUNT NO.: NOT AVAILABLE


3.9272 MOLLIE STONE'S MARKETS-                  VARIOUS                              Litigation              UNDETERMINED
       APPLEBY, MATT
       150 SHORELINE HIGHWAY        ACCOUNT NO.: NOT AVAILABLE
       BUILDING D
       MILL VALLEY, CA 94941


3.9273 MOLLO SARNO, ANA                         VARIOUS                              Litigation              UNDETERMINED
       1629 DOLAN AVE
       SAN MATEO, CA 94401          ACCOUNT NO.: NOT AVAILABLE


3.9274 MOMAND, KHALED                           VARIOUS                              Litigation              UNDETERMINED
       120 LA CROSSE DRIVE
       MORGAN HILL, CA 95037        ACCOUNT NO.: NOT AVAILABLE


3.9275 MONDRAGON, OSCAR                         VARIOUS                              Litigation              UNDETERMINED
       3971 MISSION STREET
       #3                           ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94112


3.9276 MONDRAGON, SUSANA                        VARIOUS                              Litigation              UNDETERMINED
       28 LONG VALLEY ROAD
       CASTROVILLE, CA 95012        ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.9277 MONDRAGON, TOMAS                         VARIOUS                              Litigation              UNDETERMINED
       396 CALLISTO LN
       NIPOMO, CA 93444              ACCOUNT NO.: NOT AVAILABLE


3.9278 MONETTA, NATALIE                         VARIOUS                              Litigation              UNDETERMINED
       345 GOODHILL ROAD
       KENTFIELD, CA 94904           ACCOUNT NO.: NOT AVAILABLE


3.9279 MONEY, PAT                               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1143
       JACKSON, CA 95642             ACCOUNT NO.: NOT AVAILABLE


3.9280 MONICA STEVENS AND JAMES                 VARIOUS                              Litigation              UNDETERMINED
       STEVENS
       LAW OFFICES OF TIMMONS,       ACCOUNT NO.: NOT AVAILABLE
       OWEN, JANSEN & TICHY, INC.
       1401 21ST STREET, SUITE 400
       SACRAMENTO, CA 95811


3.9281 MONICA'S ATHLETIC FOOTWEAR               VARIOUS                              Litigation              UNDETERMINED
       1330 CALIFORNIA AVE
       BAKERSFIELD, CA 93304         ACCOUNT NO.: NOT AVAILABLE


3.9282 MONJARAS, LUZ                            VARIOUS                              Litigation              UNDETERMINED
       274 VEGA RD.
       WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.9283 MONJARAZ, ESTEBAN                        VARIOUS                              Litigation              UNDETERMINED
       2179 PEREZ ST APT B
       SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.9284 MONROE, ELIZABETH                        VARIOUS                              Litigation              UNDETERMINED
       181 VASSAR COURT
       SONOMA, CA 95476              ACCOUNT NO.: NOT AVAILABLE


3.9285 MONROE, LORNA                            VARIOUS                              Litigation              UNDETERMINED
       6 WYNDEMERE VALE
       MONTEREY, CA 93940            ACCOUNT NO.: NOT AVAILABLE


3.9286 MONSTER CHEF CORPORATION-         VARIOUS                                     Litigation              UNDETERMINED
       CHAN, CECILIA
       PO BOX 57                 ACCOUNT NO.: NOT AVAILABLE
       EL GRANADA, CA 94018


3.9287 MONTANEZ, ARIADNA                        VARIOUS                              Litigation              UNDETERMINED
       1715 WASHINGTON ST.
       CALISTOGA, CA 94515           ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.9288 MONTANO, CHARLES                         VARIOUS                              Litigation              UNDETERMINED
       6508 TIBURON ST.
       BAKERSFIELD, CA 93307          ACCOUNT NO.: NOT AVAILABLE


3.9289 MONTANO, DARREL                          VARIOUS                              Litigation              UNDETERMINED
       5080 SHOOTING STAR RD
       POLLOCK PINES, CA 95726        ACCOUNT NO.: NOT AVAILABLE


3.9290 MONTEIRO (ATTY REPD),                    VARIOUS                              Litigation              UNDETERMINED
       AVELINO
       530 JACKSON STREET, 2ND        ACCOUNT NO.: NOT AVAILABLE
       FLOOR
       SAN FRANCISCO, CA 94133


3.9291 MONTEIRO, JOHN                           VARIOUS                              Litigation              UNDETERMINED
       4062 13 1/4 AVE
       HANFORD, CA 93230              ACCOUNT NO.: NOT AVAILABLE


3.9292 MONTEJANO, ANDREA                        VARIOUS                              Litigation              UNDETERMINED
       676 SANJUAN GRADE RD
       SALINAS, CA 93906              ACCOUNT NO.: NOT AVAILABLE


3.9293 MONTELEONE, LIVIA                        VARIOUS                              Litigation              UNDETERMINED
       981 35TH AVE
       SANTA CRUZ, CA 95062           ACCOUNT NO.: NOT AVAILABLE


3.9294 MONTELLANO, 1LT, MAX M.                  VARIOUS                              Litigation              UNDETERMINED
       ERNST LAW GROUP
       1020 PALM ST.                  ACCOUNT NO.: NOT AVAILABLE
       SAN LUIS OBISPO, CA 93401


3.9295 MONTELLANO, JOSEPH                       VARIOUS                              Litigation              UNDETERMINED
       22945 FORESTHILL RD
       FORESTHILL, CA 95631           ACCOUNT NO.: NOT AVAILABLE


3.9296 MONTELLANO, MAX                          VARIOUS                              Litigation              UNDETERMINED
       C/O ERNST LAW GROUP
       ATTN: DON A. ERNST, NIGEL A.   ACCOUNT NO.: NOT AVAILABLE
       WHITEHEAD.
       SAN LUIS OBISPO, CA 93401


3.9297 MONTELLO, APRIL                          VARIOUS                              Litigation              UNDETERMINED
       298 SKYWAY DR
       SAN JOSE, CA 95111             ACCOUNT NO.: NOT AVAILABLE


3.9298 MONTEMERLO, MICHAEL                      VARIOUS                              Litigation              UNDETERMINED
       2688 YORKTON DRIVE
       MOUNTAIN VIEW, CA 94040        ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9299 MONTEPEQUE, MARIO                        VARIOUS                              Litigation              UNDETERMINED
       368 IMPERIAL WAY
       DALY CITY, CA 94015          ACCOUNT NO.: NOT AVAILABLE


3.9300 MONTEREY BEACH DUNES INN-                VARIOUS                              Litigation              UNDETERMINED
       THOMPSON, RYAN
       1919 GRAND CANAL BLVD        ACCOUNT NO.: NOT AVAILABLE
       SUITE B5
       STOCKTON, CA 95207


3.9301 MONTEREY PACIFIC INC QUAIL               VARIOUS                              Litigation              UNDETERMINED
       RUN
       40410 ARROYO SECO ROAD       ACCOUNT NO.: NOT AVAILABLE
       26080 IVERSON
       ROAD,GONZALES CA
       SOLEDAD, CA 93960


3.9302 MONTEREY PACIFIC-ARROYO,                 VARIOUS                              Litigation              UNDETERMINED
       JAKE
       40410 ARROYO SECO RD.        ACCOUNT NO.: NOT AVAILABLE
       SOLEDAD, CA 93960


3.9303 MONTEREY PENINSULA                       VARIOUS                              Litigation              UNDETERMINED
       INVESTMENTS LLC-THOMPSON,
       RYAN                         ACCOUNT NO.: NOT AVAILABLE
       1919 GRAND CANAL BLVD
       SUITE B5
       STOCKTON, CA 95207


3.9304 MONTEREY SALINAS TRANSIT-                VARIOUS                              Litigation              UNDETERMINED
       HARVATH, HUNTER
       19 UPPER RAGSDALE DR         ACCOUNT NO.: NOT AVAILABLE
       SUITE 200
       MONTEREY, CA 93940


3.9305 MONTEREY ZOO-SAMMUT,                     VARIOUS                              Litigation              UNDETERMINED
       CHARLIE
       400 RIVER RD                 ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93908


3.9306 MONTERO, ALICIA                          VARIOUS                              Litigation              UNDETERMINED
       27403 TWO RIVERS RD
       MANTECA, CA 95337            ACCOUNT NO.: NOT AVAILABLE


3.9307 MONTES, CLYDE                            VARIOUS                              Litigation              UNDETERMINED
       15960 LETOURNEAU LANE
       GRASS VALLEY, CA 95949       ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9308 MONTES, CSAA FOR DIANE                   VARIOUS                              Litigation              UNDETERMINED
       4828 COUNTY ROAD N
       ORLAND, CA 95963             ACCOUNT NO.: NOT AVAILABLE


3.9309 MONTES, JORGE                            VARIOUS                              Litigation              UNDETERMINED
       1636 PANORAMA CT.
       TRACY, CA 95304              ACCOUNT NO.: NOT AVAILABLE


3.9310 MONTES, QUILINA                          VARIOUS                              Litigation              UNDETERMINED
       1308 REESE AVE
       BAKERSFIELD, CA 93307        ACCOUNT NO.: NOT AVAILABLE


3.9311 MONTES, REY                              VARIOUS                              Litigation              UNDETERMINED
       2111 ETNA PLACE
       MONTEREY, CA 93940           ACCOUNT NO.: NOT AVAILABLE


3.9312 MONTES, ROSARIO                          VARIOUS                              Litigation              UNDETERMINED
       83 WOODLAND AVE.
       SAN RAFAEL, CA 94901         ACCOUNT NO.: NOT AVAILABLE


3.9313 MONTEZ, ANTONIO; MONTEZ,                 VARIOUS                              Litigation              UNDETERMINED
       GERMAN; OSUNA, DIANA;
       OSUNA; ELIZABETH; OSUNA,     ACCOUNT NO.: NOT AVAILABLE
       ABRAHAM; MONTEZ, PABLO;
       ZUNO, JESSICA; CONTRERAS,
       RAMON
       CARLSON & JOHNSON
       472 S. GLASSELL STREET
       ORANGE, CA 92866


3.9314 MONTEZUMA WETLANDS LLC,                  VARIOUS                              Litigation              UNDETERMINED
       SHARON HALL
       2000 POWELL STREET, SUITE    ACCOUNT NO.: NOT AVAILABLE
       920
       EMERYVILLE, CA 94608


3.9315 MONTGOMERY OLSON, PAULA                  VARIOUS                              Litigation              UNDETERMINED
       PO BOX 2533
       2745 FOXEN CANYON LANE       ACCOUNT NO.: NOT AVAILABLE
       AVILA, CA 93424


3.9316 MONTGOMERY, DWIGHT                       VARIOUS                              Litigation              UNDETERMINED
       3098 RAFAHI WAY
       HAYWARD, CA 94541            ACCOUNT NO.: NOT AVAILABLE


3.9317 MONTGOMERY, HENRY                        VARIOUS                              Litigation              UNDETERMINED
       2142 RIVER VIEW RD
       CLEARLAKE OAKS, CA 95423     ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9318 MONTGOMERY, ROSEMARY                     VARIOUS                              Litigation              UNDETERMINED
       2525 ARAPAHOE AVE
       BOULDER, CA 80302            ACCOUNT NO.: NOT AVAILABLE


3.9319 MONTIJO, DAVID                           VARIOUS                              Litigation              UNDETERMINED
       9526 LAU LN
       PENNGROVE, CA 94951          ACCOUNT NO.: NOT AVAILABLE


3.9320 MONTOYA, DEBBIE                          VARIOUS                              Litigation              UNDETERMINED
       1778 WIDEN CT
       SAN JOSE, CA 95132           ACCOUNT NO.: NOT AVAILABLE


3.9321 MONTTI, FEDERICO                         VARIOUS                              Litigation              UNDETERMINED
       5742 SUMMIT DR.
       ROCKLIN, CA 95765-4179       ACCOUNT NO.: NOT AVAILABLE


3.9322 MONZON, ROBERTO                          VARIOUS                              Litigation              UNDETERMINED
       1937 HOPKINS AVENUE
       REDWOOD CITY, CA 94062       ACCOUNT NO.: NOT AVAILABLE


3.9323 MOO, CHRISTOPHER                         VARIOUS                              Litigation              UNDETERMINED
       408 CRESTVIEW CIRCLE
       DALY CITY, CA 94015          ACCOUNT NO.: NOT AVAILABLE


3.9324 MOODY, BREANNA                           VARIOUS                              Litigation              UNDETERMINED
       3508 HUMBUG DRIVE
       ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.9325 MOON, MYRTLE                             VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1058
       HOOPA, CA 95546              ACCOUNT NO.: NOT AVAILABLE


3.9326 MOON, SHALON                             VARIOUS                              Litigation              UNDETERMINED
       331 HEINLEN ST APT 6
       6                            ACCOUNT NO.: NOT AVAILABLE
       LEMOORE, CA 93245


3.9327 MOORE, ANNESE                            VARIOUS                              Litigation              UNDETERMINED
       981 BRODMOOR BLVD.
       SAN LEANDRO, CA 94577        ACCOUNT NO.: NOT AVAILABLE


3.9328 MOORE, ARTHUR                            VARIOUS                              Litigation              UNDETERMINED
       10339 PORTA DEGO WAY
       REDDING, CA 96003            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.9329 MOORE, FELICIA                            VARIOUS                              Litigation              UNDETERMINED
       201 PENNSYLVANIA AVE
       APT 316                       ACCOUNT NO.: NOT AVAILABLE
       FAIRFIELD, CA 94533


3.9330 MOORE, GEORGE                             VARIOUS                              Litigation              UNDETERMINED
       20750 E AMERICAN AVE
       REEDLEY, CA 93654             ACCOUNT NO.: NOT AVAILABLE


3.9331 MOORE, GUY                                VARIOUS                              Litigation              UNDETERMINED
       840 JUANITA DRIVE
       WALNUT CREEK, CA 94595        ACCOUNT NO.: NOT AVAILABLE


3.9332 MOORE, KATHRYN                            VARIOUS                              Litigation              UNDETERMINED
       12919 FARGO LANE
       REDDING, CA 96003             ACCOUNT NO.: NOT AVAILABLE


3.9333 MOORE, KERRY                              VARIOUS                              Litigation              UNDETERMINED
       3644 CRESTWOOD DR
       KELSEYVILLE, CA 95451         ACCOUNT NO.: NOT AVAILABLE


3.9334 MOORE, KRISTINE                           VARIOUS                              Litigation              UNDETERMINED
       7040 STACY LN
       POLLOCK PINES, CA 95726       ACCOUNT NO.: NOT AVAILABLE


3.9335 MOORE, LAKYSHA                            VARIOUS                              Litigation              UNDETERMINED
       3392 JOANNE AVE
       SAN JOSE, CA 95127            ACCOUNT NO.: NOT AVAILABLE


3.9336 MOORE, LARRY                              VARIOUS                              Litigation              UNDETERMINED
       18765 DARLENES WAY
       ANDERSON, CA 96007            ACCOUNT NO.: NOT AVAILABLE


3.9337 MOORE, LAWRENCE                           VARIOUS                              Litigation              UNDETERMINED
       519 ECHO VALLEY ROAD
       PRUNEDALE, CA 93907           ACCOUNT NO.: NOT AVAILABLE


3.9338 MOORE, LYNDA AND DAVID                    VARIOUS                              Litigation              UNDETERMINED
       1664 YOUD ROAD
       WINTON, CA 95388              ACCOUNT NO.: NOT AVAILABLE


3.9339 MOORE, MYRNA                              VARIOUS                              Litigation              UNDETERMINED
       1836 CHRISTINA AVE
       STOCKTON, CA 95204            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9340 MOORE, NATHANIEL                         VARIOUS                              Litigation              UNDETERMINED
       111 COLORADO ST.
       SANTA CRUZ, CA 95060         ACCOUNT NO.: NOT AVAILABLE


3.9341 MOORE, PAMELA                            VARIOUS                              Litigation              UNDETERMINED
       736 E TERRACE AVE
       FRESNO, CA 93704             ACCOUNT NO.: NOT AVAILABLE


3.9342 MOORE, RANDY                             VARIOUS                              Litigation              UNDETERMINED
       8857 SW EDGEWOOD ST
       TIGARD, CA 97223             ACCOUNT NO.: NOT AVAILABLE


3.9343 MOORE, RICHARD AND DIANE                 VARIOUS                              Litigation              UNDETERMINED
       1837 N SAN JOAQUIN STREET
       STOCKTON, CA 95204           ACCOUNT NO.: NOT AVAILABLE


3.9344 MOORE, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       373 LILAC LANE
       LINCOLN, CA 95648            ACCOUNT NO.: NOT AVAILABLE


3.9345 MOORE, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       309 QUAY LANE
       REDWOOD CITY, CA 94065       ACCOUNT NO.: NOT AVAILABLE


3.9346 MOORE, ROSIE                             VARIOUS                              Litigation              UNDETERMINED
       57 REGENT ST
       SAN FRANCISCO, CA 94112      ACCOUNT NO.: NOT AVAILABLE


3.9347 MOORE, SHANEL                            VARIOUS                              Litigation              UNDETERMINED
       265 BURRELL CT
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.9348 MOORE, STEVEN                            VARIOUS                              Litigation              UNDETERMINED
       24000 SOQUEL SAN JOSE RD.
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.9349 MOORE, SUE                               VARIOUS                              Litigation              UNDETERMINED
       4808 CUTTING BLVD.
       RICHMOND, CA 94804           ACCOUNT NO.: NOT AVAILABLE


3.9350 MOORE, TANA                              VARIOUS                              Litigation              UNDETERMINED
       5343 HUMBOLDT DRIVE
       ROCKLIN, CA 95765            ACCOUNT NO.: NOT AVAILABLE


3.9351 MOORE, TINA                              VARIOUS                              Litigation              UNDETERMINED
       2470 HOMESTEAD RD
       TEMPLETON, CA 93465          ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9352 MOORE, VIRGINIA                          VARIOUS                              Litigation              UNDETERMINED
       WATSONVILLE, CA 95076
                                    ACCOUNT NO.: NOT AVAILABLE


3.9353 MOORMAN, JASON                           VARIOUS                              Litigation              UNDETERMINED
       413 ROUNDHILL DR.
       BRENTWOOD, CA 94513          ACCOUNT NO.: NOT AVAILABLE


3.9354 MOORPARK CLEARNERS, LA                   VARIOUS                              Litigation              UNDETERMINED
       NAN
       5152 MOORPARK AVENUE #50     ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95129


3.9355 MOORTHY, RAVI                            VARIOUS                              Litigation              UNDETERMINED
       47 MARIN AVENUE
       SAUSALITO, CA 94965          ACCOUNT NO.: NOT AVAILABLE


3.9356 MOOYAH BURGERS FRIES                     VARIOUS                              Litigation              UNDETERMINED
       SHAKES-KATZMAN, LOREN
       43 PULIDO CT.                ACCOUNT NO.: NOT AVAILABLE
       DANVILLE, CA 94526


3.9357 MOPRESS, ERIKA                           VARIOUS                              Litigation              UNDETERMINED
       17183 TARPEY ROAD
       ROYAL OAKS, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.9358 MORA SANCHEZ, MARIA                      VARIOUS                              Litigation              UNDETERMINED
       EUGENIA
       1780 CORTEZ AVE              ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95122


3.9359 MORA, ANGELICIA                          VARIOUS                              Litigation              UNDETERMINED
       789 GREEN VALLEY RD. #110
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.9360 MORA, EDUARDO                            VARIOUS                              Litigation              UNDETERMINED
       25371 MARKHAM LANE
       SALINAS, CA 93908            ACCOUNT NO.: NOT AVAILABLE


3.9361 MORA, JAMES                              VARIOUS                              Litigation              UNDETERMINED
       1100 PRESCOTT AVE
       CLOVIS, CA 93619             ACCOUNT NO.: NOT AVAILABLE


3.9362 MORA, TYLE                               VARIOUS                              Litigation              UNDETERMINED
       6900 WEEKS RD
       REDDING, CA 96002            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9363 MORAD, NICK                              VARIOUS                              Litigation              UNDETERMINED
       140 ALMADEN AVE
       MILPITAS, CA 95035           ACCOUNT NO.: NOT AVAILABLE


3.9364 MORADI, MOSTAFA                          VARIOUS                              Litigation              UNDETERMINED
       15385 NATIONAL AVENUE
       LOS GATOS, CA 95032          ACCOUNT NO.: NOT AVAILABLE


3.9365 MORADOS, RENAN                           VARIOUS                              Litigation              UNDETERMINED
       5314 PRIVET LANE
       ELK GROVE, CA 95758          ACCOUNT NO.: NOT AVAILABLE


3.9366 MORAGA EMERALD, INC. DBA                 VARIOUS                              Litigation              UNDETERMINED
       BURGER KING-GRANT, PAMELA
       93 UNDERHILL ROAD            ACCOUNT NO.: NOT AVAILABLE
       ORINDA, CA 94563


3.9367 MORALES, AMELIA                          VARIOUS                              Litigation              UNDETERMINED
       5903 E WASHINGTON AVENUE
       FRESNO, CA 93727             ACCOUNT NO.: NOT AVAILABLE


3.9368 MORALES, AMELIA                          VARIOUS                              Litigation              UNDETERMINED
       5903 E. WASHINGTON AVENUE
       FRESNO, CA 93727             ACCOUNT NO.: NOT AVAILABLE


3.9369 MORALES, ANA                             VARIOUS                              Litigation              UNDETERMINED
       563 PARADISE CANYON RD
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.9370 MORALES, ANA                             VARIOUS                              Litigation              UNDETERMINED
       563 PARADISE CANYON RD
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.9371 MORALES, ARACELI                         VARIOUS                              Litigation              UNDETERMINED
       112 FORD STREET
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.9372 MORALES, BENJAMIN                        VARIOUS                              Litigation              UNDETERMINED
       917 BAUTISTA DR
       12                           ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93901


3.9373 MORALES, COLLEEN                         VARIOUS                              Litigation              UNDETERMINED
       2060 SAN MIGUEL CANYON
       ROAD                         ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93907




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.9374 MORALES, DANIEL                          VARIOUS                              Litigation              UNDETERMINED
       249 ALTADENA CIRCLE
       BAY POINT, CA 94565           ACCOUNT NO.: NOT AVAILABLE


3.9375 MORALES, DEBBIE & ALFRED                 VARIOUS                              Litigation              UNDETERMINED
       289 PAYNE ROAD
       SAN JUAN BAUTISTA, CA 95045   ACCOUNT NO.: NOT AVAILABLE


3.9376 MORALES, GERARDO                         VARIOUS                              Litigation              UNDETERMINED
       1409 SUMAC
       SALINAS, CA 93905             ACCOUNT NO.: NOT AVAILABLE


3.9377 MORALES, JAIME                           VARIOUS                              Litigation              UNDETERMINED
       1215 MORRIS AVENUE
       GREENFIELD, CA 93927          ACCOUNT NO.: NOT AVAILABLE


3.9378 MORALES, JOHN                            VARIOUS                              Litigation              UNDETERMINED
       4987 E TYLER AVE
       FRESNO, CA 93727              ACCOUNT NO.: NOT AVAILABLE


3.9379 MORALES, JUVENAL                         VARIOUS                              Litigation              UNDETERMINED
       6049 8TH ST
       RIVERBANK, CA 95367           ACCOUNT NO.: NOT AVAILABLE


3.9380 MORALES, MARIA                           VARIOUS                              Litigation              UNDETERMINED
       852 BARCELONA STREET
       SOLEDAD, CA 93960             ACCOUNT NO.: NOT AVAILABLE


3.9381 MORALES, MARIA                           VARIOUS                              Litigation              UNDETERMINED
       1230 W ALISA ST
       SALINAS, CA 93905             ACCOUNT NO.: NOT AVAILABLE


3.9382 MORALES, PAULA                           VARIOUS                              Litigation              UNDETERMINED
       1513 MONO AVE
       APT 3                         ACCOUNT NO.: NOT AVAILABLE
       SAN LEANDRO, CA 94578


3.9383 MORALES, VICTOR                          VARIOUS                              Litigation              UNDETERMINED
       58 MILLER ROAD
       WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.9384 MORALEZ, FRANCISCA                       VARIOUS                              Litigation              UNDETERMINED
       332 NORTH SECOND ST
       SAN JOSE, CA 95112            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9385 MORAN, CECILIA                           VARIOUS                              Litigation              UNDETERMINED
       8021 HILL DR.
       SEBASTOPOL, CA 95472         ACCOUNT NO.: NOT AVAILABLE


3.9386 MORAN, EDWIN & NANCY                     VARIOUS                              Litigation              UNDETERMINED
       7705 KIMBERLY AVE
       BAKERSFIELD, CA 93308        ACCOUNT NO.: NOT AVAILABLE


3.9387 MORAN, JESS                              VARIOUS                              Litigation              UNDETERMINED
       265 BROKEN ARROW ROAD
       NIPOMO, CA 93444             ACCOUNT NO.: NOT AVAILABLE


3.9388 MORAN-GARCIA, JOVITA                     VARIOUS                              Litigation              UNDETERMINED
       1483 S. HUNT ROAD
       GUSTINE, CA 95322            ACCOUNT NO.: NOT AVAILABLE


3.9389 MOREHEAD, JON                            VARIOUS                              Litigation              UNDETERMINED
       2200 OAK PARK AVE
       CHICO, CA 95928              ACCOUNT NO.: NOT AVAILABLE


3.9390 MORELOS, ALFONSO                         VARIOUS                              Litigation              UNDETERMINED
       2073 SANTA RITA ST
       APT 12                       ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.9391 MORELOS, ZULEMA                          VARIOUS                              Litigation              UNDETERMINED
       1185 MONROE ST
       APT 27 BLDG B                ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.9392 MORENO ELECTRIC CO-                      VARIOUS                              Litigation              UNDETERMINED
       MORENO, RAUL
       650 BROASDMOOR BLVD          ACCOUNT NO.: NOT AVAILABLE
       SAN LEANDRO, CA 94577


3.9393 MORENO, ALMA                             VARIOUS                              Litigation              UNDETERMINED
       2579 BRIDLE PATH DR
       GILROY, CA 95020             ACCOUNT NO.: NOT AVAILABLE


3.9394 MORENO, ARAZELE                          VARIOUS                              Litigation              UNDETERMINED
       3842 BUENA VISTA BLVD
       BAKERSFIELD, CA 93307        ACCOUNT NO.: NOT AVAILABLE


3.9395 MORENO, BECCERA & CASILLAS               VARIOUS                              Litigation              UNDETERMINED
       3500 WEST BEVERLY BLVD
       MONTEBELLO, CA 90640         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9396 MORENO, CECILIA                          VARIOUS                              Litigation              UNDETERMINED
       339 E SAINT JAMES ST
       SAN JOSE, CA 95112           ACCOUNT NO.: NOT AVAILABLE


3.9397 MORENO, CHRISTINA                        VARIOUS                              Litigation              UNDETERMINED
       17175 CHIANTI LN
       ROYAL OAKS, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.9398 MORENO, ERIKA                            VARIOUS                              Litigation              UNDETERMINED
       2187 PEREZ STREET
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.9399 MORENO, GERARDO                          VARIOUS                              Litigation              UNDETERMINED
       1546 RAKE CT
       SAN LEANDRO, CA 94578        ACCOUNT NO.: NOT AVAILABLE


3.9400 MORENO, JAVIER                           VARIOUS                              Litigation              UNDETERMINED
       2027 LYNWOOD TERRACE
       SAN JOSE, CA 95128           ACCOUNT NO.: NOT AVAILABLE


3.9401 MORENO, JUAN                             VARIOUS                              Litigation              UNDETERMINED
       1452 TETON AVENUE
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.9402 MORENO, LORI                             VARIOUS                              Litigation              UNDETERMINED
       10818 ELKHORN DRIVE
       STOCKTON, CA 95209           ACCOUNT NO.: NOT AVAILABLE


3.9403 MORENO, MANUEL                           VARIOUS                              Litigation              UNDETERMINED
       13587 GREAT FALLS
       CAL VALLEY, CA 93453         ACCOUNT NO.: NOT AVAILABLE


3.9404 MORENO, MARC                             VARIOUS                              Litigation              UNDETERMINED
       22069 CRYSTAL FALLS DRIVE
       SONORA, CA 95370             ACCOUNT NO.: NOT AVAILABLE


3.9405 MORENO, MARIA                            VARIOUS                              Litigation              UNDETERMINED
       2322 N MAIN STREET
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.9406 MORENO, MARTIN                           VARIOUS                              Litigation              UNDETERMINED
       2359 LENDRUM AVE
       SAN JOSE, CA 95116           ACCOUNT NO.: NOT AVAILABLE


3.9407 MORENO, MIGUEL ANGEL                     VARIOUS                              Litigation              UNDETERMINED
       1466 LAGUNA CIR
       STOCKTON, CA 95206           ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.9408 MORENO, RAYMOND                          VARIOUS                              Litigation              UNDETERMINED
       1624 FAIRWAY DRIVE
       2897 ADELINE DRIVE,          ACCOUNT NO.: NOT AVAILABLE
       BURLINGAME
       BELMONT, CA 94002


3.9409 MORENO, SALVADOR                         VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 372
       209 DUNFORD ST               ACCOUNT NO.: NOT AVAILABLE
       BUTTONWILLOW, CA 93206


3.9410 MORESCO, JEFF                            VARIOUS                              Litigation              UNDETERMINED
       115 SHADOWCREEK RD
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.9411 MORETTI, JON PAUL                        VARIOUS                              Litigation              UNDETERMINED
       POMERANTZ LLP
       468 NORTH CAMDEN DRIVE       ACCOUNT NO.: NOT AVAILABLE
       BEVERLY HILLS, CA 90210


3.9412 MOREY, GAIL                              VARIOUS                              Litigation              UNDETERMINED
       11 ROBERT S DRIVE
       MENLO PARK, CA 94025         ACCOUNT NO.: NOT AVAILABLE


3.9413 MOREY, TERRI                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1028
       PALERMO, CA 95968            ACCOUNT NO.: NOT AVAILABLE


3.9414 MORFIN, ARMANDO                          VARIOUS                              Litigation              UNDETERMINED
       1609 VENICE CIR
       STOCKTON, CA 95206           ACCOUNT NO.: NOT AVAILABLE


3.9415 MORFIN, ERNIE                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX
       5076 DESCHUTES RD            ACCOUNT NO.: NOT AVAILABLE
       ANDERSON, CA 96007


3.9416 MORGA, HERMAN                            VARIOUS                              Litigation              UNDETERMINED
       610 REGINA STREET
       SOLEDAD, CA 93960            ACCOUNT NO.: NOT AVAILABLE


3.9417 MORGAN BLASINGAME FAMILY                 VARIOUS                              Litigation              UNDETERMINED
       LIMITED PARTNERSHIP-
       BLASINGAME, MORGAN           ACCOUNT NO.: NOT AVAILABLE
       19606 AUBERRY RD
       CLOVIS, CA 93619




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Litigation & Disputes

3.9418 MORGAN HILL                               VARIOUS                              Litigation              UNDETERMINED
       MEYERS, NAVE, RIBACK,
       SILVER & WILSON               ACCOUNT NO.: NOT AVAILABLE
       555 12TH STREET
       OAKLAND, CA 94607


3.9419 MORGAN HILL CIGAR-YANCEY,                 VARIOUS                              Litigation              UNDETERMINED
       AMY
       16375 MONTEREY ST.            ACCOUNT NO.: NOT AVAILABLE
       STE. A
       MORGAN HILL, CA 95037


3.9420 MORGAN, CHELSIE                           VARIOUS                              Litigation              UNDETERMINED
       20220 BRIMHALL ROAD
       BAKERSFIELD, CA 93314         ACCOUNT NO.: NOT AVAILABLE


3.9421 MORGAN, GENEL                             VARIOUS                              Litigation              UNDETERMINED
       3 EMERALD COURT
       3266 APACHE ROAD              ACCOUNT NO.: NOT AVAILABLE
       SAN MATEO, CA 94403


3.9422 MORGAN, JEANNA                            VARIOUS                              Litigation              UNDETERMINED
       1106 SAINT JAMES WAY
       ROCKLIN, CA 95765             ACCOUNT NO.: NOT AVAILABLE


3.9423 MORGAN, JOHN                              VARIOUS                              Litigation              UNDETERMINED
       3536 CLAYTON RD
       CONCORD, CA 94519             ACCOUNT NO.: NOT AVAILABLE


3.9424 MORGAN, KAREN                             VARIOUS                              Litigation              UNDETERMINED
       415 PLACERVILLE DR.
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.9425 MORGAN, KATHLEEN                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 187
       INVERNESS, CA 94937           ACCOUNT NO.: NOT AVAILABLE


3.9426 MORGAN, KATHRYN                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1995
       NICE, CA 95464                ACCOUNT NO.: NOT AVAILABLE


3.9427 MORGAN, TONYA                             VARIOUS                              Litigation              UNDETERMINED
       18 ZAPPA COURT
       FELTON, CA 95018              ACCOUNT NO.: NOT AVAILABLE


3.9428 MORGAN, TONYA                             VARIOUS                              Litigation              UNDETERMINED
       P.O BOX 565
       FELTON, CA 95018              ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.9429 MORGAN, TONYA                            VARIOUS                              Litigation              UNDETERMINED
       P.O BOX 565
       FELTON, CA 95018             ACCOUNT NO.: NOT AVAILABLE


3.9430 MORGAN, WARREN                           VARIOUS                              Litigation              UNDETERMINED
       155 GRANADA STREET
       34038 ROAD 233               ACCOUNT NO.: NOT AVAILABLE
       CAMARILLO, CA 93010


3.9431 MORI, GINA                               VARIOUS                              Litigation              UNDETERMINED
       425 S ELM STREET
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.9432 MORIN, HECTOR                            VARIOUS                              Litigation              UNDETERMINED
       2325 N WAPOMA AVE
       FRESNO, CA 93722             ACCOUNT NO.: NOT AVAILABLE


3.9433 MORIN, KELLY                             VARIOUS                              Litigation              UNDETERMINED
       7925 HARRINGTON FLAT RD
       KELSEYVILLE, CA 95451        ACCOUNT NO.: NOT AVAILABLE


3.9434 MORIN, PIERRE                            VARIOUS                              Litigation              UNDETERMINED
       1470 10TH AVENUE
       SAN FRANCISCO, CA 94122      ACCOUNT NO.: NOT AVAILABLE


3.9435 MORLAN, CONNIE                           VARIOUS                              Litigation              UNDETERMINED
       1351 KECK RD
       LAKEPORT, CA 95453           ACCOUNT NO.: NOT AVAILABLE


3.9436 MORLEY, DONA                             VARIOUS                              Litigation              UNDETERMINED
       7072 FAIRWAY PLACE
       CARMEL, CA 93923             ACCOUNT NO.: NOT AVAILABLE


3.9437 MORLEY, HARLAND                          VARIOUS                              Litigation              UNDETERMINED
       603 COLLEGE ST
       WOODLAND, CA 95695           ACCOUNT NO.: NOT AVAILABLE


3.9438 MORONES, JAIME                           VARIOUS                              Litigation              UNDETERMINED
       57900 JOLON ROAD
       KING CITY, CA 93930          ACCOUNT NO.: NOT AVAILABLE


3.9439 MORRASY, KAREN                           VARIOUS                              Litigation              UNDETERMINED
       5939 SILVER RIDGE LANE
       PLACERVILLE, CA 95667        ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.9440 MORREIRA, ANDREA                         VARIOUS                              Litigation              UNDETERMINED
       1118 LA TERRACE CIRCLE
       SAN JOSE, CA 95123           ACCOUNT NO.: NOT AVAILABLE


3.9441 MORRELL, MIKE                            VARIOUS                              Litigation              UNDETERMINED
       400 ORTEGA AVE
       212                          ACCOUNT NO.: NOT AVAILABLE
       MOUNTAIN VIEW, CA 94040


3.9442 MORRIS, DONALD                           VARIOUS                              Litigation              UNDETERMINED
       1285 MCABEE ESTATES PLACE
       SAN JOSE, CA 95120           ACCOUNT NO.: NOT AVAILABLE


3.9443 MORRIS, JOSEPH & MYRNA                   VARIOUS                              Litigation              UNDETERMINED
       335 36TH STREET
       RICHMOND, CA 94805           ACCOUNT NO.: NOT AVAILABLE


3.9444 MORRIS, JOSPEHINE                        VARIOUS                              Litigation              UNDETERMINED
       20620 NURNBERGER LANE
       FORT BRAGG, CA 95437         ACCOUNT NO.: NOT AVAILABLE


3.9445 MORRIS, KYLE                             VARIOUS                              Litigation              UNDETERMINED
       3620 STEINBERG RD
       ATWATER, CA 95301            ACCOUNT NO.: NOT AVAILABLE


3.9446 MORRIS, MAGDELENA                        VARIOUS                              Litigation              UNDETERMINED
       4395 EMILEE CT
       LAKEPORT, CA 95453           ACCOUNT NO.: NOT AVAILABLE


3.9447 MORRIS, MIKE                             VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 108
       RAIL ROAD FLAT, CA 95248     ACCOUNT NO.: NOT AVAILABLE


3.9448 MORRIS, PAMELA                           VARIOUS                              Litigation              UNDETERMINED
       3015 NEAH BAY DRIVE
       BAKERSFIELD, CA 93312        ACCOUNT NO.: NOT AVAILABLE


3.9449 MORRIS, RICHARD & JUDY                   VARIOUS                              Litigation              UNDETERMINED
       1816 CABLE ROAD
       CAMINO, CA 95709             ACCOUNT NO.: NOT AVAILABLE


3.9450 MORRIS, SUE                              VARIOUS                              Litigation              UNDETERMINED
       9651 MARTIN LANE
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9451 MORRIS, SUZANNE                          VARIOUS                              Litigation              UNDETERMINED
       91 LA MIRADA AVE
       OROVILLE, CA 95966           ACCOUNT NO.: NOT AVAILABLE


3.9452 MORRIS, WAYNE                            VARIOUS                              Litigation              UNDETERMINED
       2985 PACIFIC AVE APT 2
       SAN FRANCISCO, CA 94115      ACCOUNT NO.: NOT AVAILABLE


3.9453 MORRISON, JAMES                          VARIOUS                              Litigation              UNDETERMINED
       4100 CHARDONNAY DR
       BAKERSFIELD, CA 93306        ACCOUNT NO.: NOT AVAILABLE


3.9454 MORRISON, JOSH                           VARIOUS                              Litigation              UNDETERMINED
       3622 HALIKA ST, CLEARLAKE
       CLEARLAKE, CA 95422          ACCOUNT NO.: NOT AVAILABLE


3.9455 MORRISON, NEIL                           VARIOUS                              Litigation              UNDETERMINED
       139 CARL AVE
       SANTA CRUZ, CA 95062         ACCOUNT NO.: NOT AVAILABLE


3.9456 MORRISON, TODD                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 81
       MILLVILLE, CA 96062          ACCOUNT NO.: NOT AVAILABLE


3.9457 MORRISON, TRACY                          VARIOUS                              Litigation              UNDETERMINED
       2217 BUNKER HILL DR.
       SAN MATEO, CA 94402          ACCOUNT NO.: NOT AVAILABLE


3.9458 MORSE, PHILIP                            VARIOUS                              Litigation              UNDETERMINED
       540 ELM ST., APT 22
       SAN CARLOS, CA 94070         ACCOUNT NO.: NOT AVAILABLE


3.9459 MORSE, STEWART                           VARIOUS                              Litigation              UNDETERMINED
       126 WHITECAP STREET
       PISMO BEACH, CA 93449        ACCOUNT NO.: NOT AVAILABLE


3.9460 MORTENSEN, SHELLEY                       VARIOUS                              Litigation              UNDETERMINED
       1208 W LOUGHLIN DR
       CHANDLER, CA 85524           ACCOUNT NO.: NOT AVAILABLE


3.9461 MORTON, BRANDI                           VARIOUS                              Litigation              UNDETERMINED
       17659 VIERRA CANYON ROAD
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.9462 MORTON, ERIC * VENETTA                   VARIOUS                              Litigation              UNDETERMINED
       3158 PENITENCIA CREEK ROAD
       SAN JOSE, CA 95132           ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.9463 MORTON, WALTER                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 841
       HWY 96 SUPPLY CREEK          ACCOUNT NO.: NOT AVAILABLE
       HOOPA, CA 95546


3.9464 MOSBARGER, REBECCA                       VARIOUS                              Litigation              UNDETERMINED
       P. O. BOX 2832
       GRASS VALLEY, CA 95945       ACCOUNT NO.: NOT AVAILABLE


3.9465 MOSCARDI, LOUIE                          VARIOUS                              Litigation              UNDETERMINED
       3484 WOODSTOCK RD
       SANTA YNEZ                   ACCOUNT NO.: NOT AVAILABLE
       SANTA YNEZ, CA 93460


3.9466 MOSELY, RAY                              VARIOUS                              Litigation              UNDETERMINED
       2901 ENEA WAY
       ANTIOCH, CA 94509            ACCOUNT NO.: NOT AVAILABLE


3.9467 MOSER, GREGG                             VARIOUS                              Litigation              UNDETERMINED
       3249 LARCHMONT DR
       STOCKTON, CA 95209           ACCOUNT NO.: NOT AVAILABLE


3.9468 MOSER, MICHAEL                           VARIOUS                              Litigation              UNDETERMINED
       6218 S FIG AVENUE
       FRESNO, CA 93706             ACCOUNT NO.: NOT AVAILABLE


3.9469 MOSER, RODNEY & LINDSEY                  VARIOUS                              Litigation              UNDETERMINED
       12320 OCEAN VIEW DR.
       SPARKS, CA 89441             ACCOUNT NO.: NOT AVAILABLE


3.9470 MOSHER, CHARLES                          VARIOUS                              Litigation              UNDETERMINED
       11 MILL SITE ROAD
       SCOTTS VALLEY, CA 95066      ACCOUNT NO.: NOT AVAILABLE


3.9471 MOSIER, JESSICA                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 452
       MARSHALL LANE                ACCOUNT NO.: NOT AVAILABLE
       HOOPA, CA 95546


3.9472 MOSLEY, TIM                              VARIOUS                              Litigation              UNDETERMINED
       262 LINDEN LANE
       SAN RAFAEL, CA 94901         ACCOUNT NO.: NOT AVAILABLE


3.9473 MOSMAN, SANDRA                           VARIOUS                              Litigation              UNDETERMINED
       16429 JON ERIC CT.
       GRASS VALLEY, CA 95949       ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.9474 MOSS LANDING MARINE                      VARIOUS                              Litigation              UNDETERMINED
       LABORATORIES/ SJ STATE
       UNIV.-ADAMS, GARY            ACCOUNT NO.: NOT AVAILABLE
       8272 MOSS LANDING RD
       MOSS LANDING, CA 95039


3.9475 MOSS, ALAN                               VARIOUS                              Litigation              UNDETERMINED
       86 SAN LUCAS AVE,
       MOSS BEACH, CA 94038         ACCOUNT NO.: NOT AVAILABLE


3.9476 MOSS, CLAUDIA                            VARIOUS                              Litigation              UNDETERMINED
       2841 VALLEYWOOD DRIVE
       SAN BRUNO, CA 94066          ACCOUNT NO.: NOT AVAILABLE


3.9477 MOSS, DARIN                              VARIOUS                              Litigation              UNDETERMINED
       198 WHISPERING TREES LN
       DANVILLE, CA 94526           ACCOUNT NO.: NOT AVAILABLE


3.9478 MOSS, JOHN                               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1203
       MAGALIA, CA 95954            ACCOUNT NO.: NOT AVAILABLE


3.9479 MOTAHARI-FARD, SAEEDEH                   VARIOUS                              Litigation              UNDETERMINED
       (ATTY REP)
       CA                           ACCOUNT NO.: NOT AVAILABLE


3.9480 MOTEL 6 MONTEREY-DESAI,                  VARIOUS                              Litigation              UNDETERMINED
       HITESH
       PO BOX 2106                  ACCOUNT NO.: NOT AVAILABLE
       MONTEREY, CA 93942


3.9481 MOTHER LODE MINI MART-                   VARIOUS                              Litigation              UNDETERMINED
       SAINI, JAGJIT
       3943 MISSOURI FLAT RD        ACCOUNT NO.: NOT AVAILABLE
       PLACERVILLE, CA 95667


3.9482 MOTNYK, FRANK                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1886
       JACKSON, CA                  ACCOUNT NO.: NOT AVAILABLE


3.9483 MOTON, DENISE V                          VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 2011
       MARINA, CA 93933             ACCOUNT NO.: NOT AVAILABLE


3.9484 MOTT, ROSALIA                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 831
       HOOPA, CA 95546              ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.9485 MOTTA, GUILLERMO                         VARIOUS                              Litigation              UNDETERMINED
       1535 INNES AVE.
       SAN FRANCISCO, CA 94124      ACCOUNT NO.: NOT AVAILABLE


3.9486 MOUA, BRIANNA                            VARIOUS                              Litigation              UNDETERMINED
       CA
                                    ACCOUNT NO.: NOT AVAILABLE


3.9487 MOUA, SIAH                               VARIOUS                              Litigation              UNDETERMINED
       6406 E LYELL AVENUE
       FRESNO, CA 93727             ACCOUNT NO.: NOT AVAILABLE


3.9488 MOULAISON, GABRIEL AND                   VARIOUS                              Litigation              UNDETERMINED
       JENNIFER
       191 17 MILE DR. #3           ACCOUNT NO.: NOT AVAILABLE
       PACIFIC GROVE, CA 93950


3.9489 MOULAISON, GABRIEL AND                   VARIOUS                              Litigation              UNDETERMINED
       JENNIFER
       191 17 MILE DR. #3           ACCOUNT NO.: NOT AVAILABLE
       PACIFIC GROVE, CA 93950


3.9490 MOULTON, JILL                            VARIOUS                              Litigation              UNDETERMINED
       1740 LINDA VISTA DR
       SANTA YNEZ, CA 93460         ACCOUNT NO.: NOT AVAILABLE


3.9491 MOUNTAIN HOME RANCH-                     VARIOUS                              Litigation              UNDETERMINED
       PASKY FOUTS, SUZANNE
       3400 MOUNTAIN HOME RANCH     ACCOUNT NO.: NOT AVAILABLE
       RD
       CALISTOGA, CA 94515


3.9492 MOUNTAIN MIKES PIZZA-                    VARIOUS                              Litigation              UNDETERMINED
       SAHEBALZAMANY, AMIR ALEX
       1817 YGNACIO VALLEY ROAD     ACCOUNT NO.: NOT AVAILABLE
       WALNUT CREEK, CA 94598


3.9493 MOUNTAIN VIEW BEAN SCENE-                VARIOUS                              Litigation              UNDETERMINED
       LIU, WAYNE
       500 CASTRO ST.               ACCOUNT NO.: NOT AVAILABLE
       MOUNTAIN VIEW, CA 94041


3.9494 MOUNTAIN VIEW VALERO-                    VARIOUS                              Litigation              UNDETERMINED
       SINGH, HARBANS
       2529 NEDSON CT.              ACCOUNT NO.: NOT AVAILABLE
       MOUNTAIN VIEW, CA 94043




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Litigation & Disputes

3.9495 MOUSA, MARIAM                            VARIOUS                              Litigation              UNDETERMINED
       80 DESCANSO DR
       1114                         ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95134


3.9496 MOUSA, MARIAM                            VARIOUS                              Litigation              UNDETERMINED
       80 DESCANSO DR
       1114                         ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95134


3.9497 MOUZIS, JENNFER                          VARIOUS                              Litigation              UNDETERMINED
       350 N. 4TH STREET
       GROVER BEACH, CA 93433       ACCOUNT NO.: NOT AVAILABLE


3.9498 MOWEN, ZACHARY                           VARIOUS                              Litigation              UNDETERMINED
       18271 ROUND MOUNTAIN
       RANCH RD                     ACCOUNT NO.: NOT AVAILABLE
       NEVADA CITY, CA 95959


3.9499 MOWER, MARGIE                            VARIOUS                              Litigation              UNDETERMINED
       7396 CALLISON RD
       PENRYN, CA 95663             ACCOUNT NO.: NOT AVAILABLE


3.9500 MOXLEY, JOHN                             VARIOUS                              Litigation              UNDETERMINED
       34793 EMIGRANT TRAIL
       SHINGLETOWN, CA 96088        ACCOUNT NO.: NOT AVAILABLE


3.9501 MOY, JOSEPH                              VARIOUS                              Litigation              UNDETERMINED
       740 EL CAMINO REAL
       B                            ACCOUNT NO.: NOT AVAILABLE
       BURLINGAME, CA 94010


3.9502 MOYER, ALLISON                           VARIOUS                              Litigation              UNDETERMINED
       11001 MELODY RD.
       SMARTVILLE, CA               ACCOUNT NO.: NOT AVAILABLE


3.9503 MOYNIHAN, BOB & MARGY                    VARIOUS                              Litigation              UNDETERMINED
       2480 BRADY LANE
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.9504 MOZZETTI, PETE                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 882
       BRISBANE, CA 94005-0882      ACCOUNT NO.: NOT AVAILABLE


3.9505 MR BEEFY'S-CUCUK, PATTY                  VARIOUS                              Litigation              UNDETERMINED
       PO BOX 983
       PINE GROVE, CA 95665         ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.9506 MR. BEEFY'S, PATRICIA CUCUK              VARIOUS                              Litigation              UNDETERMINED
       PO BOX 983
       PINE GROVE, CA 95665          ACCOUNT NO.: NOT AVAILABLE


3.9507 MR. MUGGLES DOG SERVICE-                 VARIOUS                              Litigation              UNDETERMINED
       DRYPOLCHER, TRUDY
       25 MOUNTAIN SPRING AVENUE     ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94114


3.9508 MR. ROOFING-DONOFRIO,                    VARIOUS                              Litigation              UNDETERMINED
       NICHOL
       101 FIRST STREET              ACCOUNT NO.: NOT AVAILABLE
       SOUTH SAN FRANCISCO, CA
       94080


3.9509 MR.-BALL, ERIC                           VARIOUS                              Litigation              UNDETERMINED
       2023 GORDON AVENUE
       MENLO PARK, CA 94025          ACCOUNT NO.: NOT AVAILABLE


3.9510 MR.-BOVE, BERNARD                        VARIOUS                              Litigation              UNDETERMINED
       110 EL MATORRAL
       LA SELVA BEACH, CA 95076      ACCOUNT NO.: NOT AVAILABLE


3.9511 MR.-DAMER, BRUCE                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 785
       BOULDER CREEK, CA 95006       ACCOUNT NO.: NOT AVAILABLE


3.9512 MR.-FERDUN, TIM                          VARIOUS                              Litigation              UNDETERMINED
       992 PERALTA AVE.
       ALBANY, CA 94706              ACCOUNT NO.: NOT AVAILABLE


3.9513 MR.-FISHER, KENNETH                      VARIOUS                              Litigation              UNDETERMINED
       23566 PACK TRAIL RD
       SONORA, CA 95370              ACCOUNT NO.: NOT AVAILABLE


3.9514 MR.-FOLEY, MARK                          VARIOUS                              Litigation              UNDETERMINED
       133 SAN BENANCIO RD
       SALINAS, CA 93908             ACCOUNT NO.: NOT AVAILABLE


3.9515 MR.-IDNANI, SUNIL                        VARIOUS                              Litigation              UNDETERMINED
       318 PARNELL CT
       WALNUT CREEK, CA 94597        ACCOUNT NO.: NOT AVAILABLE


3.9516 MR.-MORI, BRYAN                          VARIOUS                              Litigation              UNDETERMINED
       1016 BREWINGTON AVENUE
       WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.9517 MR-BLOOM, JONATHAN                       VARIOUS                              Litigation              UNDETERMINED
       1216 MADRONA AVE.
       SAN JOSE, CA 95125           ACCOUNT NO.: NOT AVAILABLE


3.9518 MR-LIND, ERIC                            VARIOUS                              Litigation              UNDETERMINED
       12293 MAC'S RD.
       12293 MACS'S RD.             ACCOUNT NO.: NOT AVAILABLE
       REDDING, CA 96003


3.9519 MRS.-ARKWRIGHT, WAYNE &                  VARIOUS                              Litigation              UNDETERMINED
       SUSAN
       2401 SANTA CRUZ COURT        ACCOUNT NO.: NOT AVAILABLE
       DISCOVERY BAY, CA 94505


3.9520 MRS.-CHRISTMAN, SANDY                    VARIOUS                              Litigation              UNDETERMINED
       6186 CORTE ALTAMIRA
       PLEASANTON, CA 94566         ACCOUNT NO.: NOT AVAILABLE


3.9521 MRS.-FERGUSON, GLADYS                    VARIOUS                              Litigation              UNDETERMINED
       687 9TH STREET
       RICHMOND, CA 94801           ACCOUNT NO.: NOT AVAILABLE


3.9522 MRS.-GARAVAGLIA, MISA                    VARIOUS                              Litigation              UNDETERMINED
       6350 WRIGHT ST
       FELTON, CA 95018             ACCOUNT NO.: NOT AVAILABLE


3.9523 MRS.-GREENHALGH, LILLY                   VARIOUS                              Litigation              UNDETERMINED
       SUSIE
       17726 GLENWOOD DR            ACCOUNT NO.: NOT AVAILABLE
       REDDING, CA 96003


3.9524 MRS.-JENKINS, TINA                       VARIOUS                              Litigation              UNDETERMINED
       1112 LA SERENA WAY
       NIPOMO, CA 93444             ACCOUNT NO.: NOT AVAILABLE


3.9525 MRS-WESTWATER, TIFFANY                   VARIOUS                              Litigation              UNDETERMINED
       1539 41ST AVENUE
       SAN FRANCISCO, CA 94122      ACCOUNT NO.: NOT AVAILABLE


3.9526 MR-WYSE, ERIC                            VARIOUS                              Litigation              UNDETERMINED
       4523 W MALIBU
       FRESNO, CA 93722             ACCOUNT NO.: NOT AVAILABLE


3.9527 MS.-BURNETT, LARRY                       VARIOUS                              Litigation              UNDETERMINED
       3366 BAY LEAF DRIVE
       P.O. BOX 141                 ACCOUNT NO.: NOT AVAILABLE
       GARDEN VALLEY, CA 95633



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Litigation & Disputes

3.9528 MS.-GURMAN, BESS                          VARIOUS                              Litigation              UNDETERMINED
       77 FAIRVIEW AVENUE
       PIEDMONT, CA 94610            ACCOUNT NO.: NOT AVAILABLE


3.9529 MS.-KRETSCHMER, PETRA                     VARIOUS                              Litigation              UNDETERMINED
       701 SHELTER CREEK LANE
       UNIT # 7240                   ACCOUNT NO.: NOT AVAILABLE
       SAN BRUNO, CA 94066


3.9530 MS.-OLIVER, NANCY                         VARIOUS                              Litigation              UNDETERMINED
       53 VISTA DRIVE
       SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.9531 MS.-PETERSEN, LAURA                       VARIOUS                              Litigation              UNDETERMINED
       23342 DEERFIELD ROAD
       LOS GATOS, CA 95033           ACCOUNT NO.: NOT AVAILABLE


3.9532 MS-DAVIS, ELIZABETH                       VARIOUS                              Litigation              UNDETERMINED
       8 ROWAN WAY
       MILL VALLEY, CA 94941         ACCOUNT NO.: NOT AVAILABLE


3.9533 MS-WOLF, JAIME                            VARIOUS                              Litigation              UNDETERMINED
       404 W DAYTON AVE
       FRESNO, CA 93705              ACCOUNT NO.: NOT AVAILABLE


3.9534 MT WHITNEY DAIRY                          VARIOUS                              Litigation              UNDETERMINED
       20784 S. MARKS AVE
       RIVERDALE, CA 93656           ACCOUNT NO.: NOT AVAILABLE


3.9535 MTM ENTERPRISE LLC,                       VARIOUS                              Litigation              UNDETERMINED
       UNAMAS MEXICAN GRILL-
       MESBAHI, JACK                 ACCOUNT NO.: NOT AVAILABLE
       4360 STEVENS CREEK BLVD. #C
       SAN JOSE, CA 95129


3.9536 MUADDI, SALWA                             VARIOUS                              Litigation              UNDETERMINED
       190 CORRAL AVE
       SUNNYVALE, CA 94086           ACCOUNT NO.: NOT AVAILABLE


3.9537 MUCCI, CARMEN                             VARIOUS                              Litigation              UNDETERMINED
       13905 TRINITY MOUNTAIN RD
       UNIT 19                       ACCOUNT NO.: NOT AVAILABLE
       FRENCH GULCH, CA 96033


3.9538 MUCHOS-ZUBIZARRETA,                       VARIOUS                              Litigation              UNDETERMINED
       NESTOR
       72 E SANTA CLARA ST           ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95113


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Litigation & Disputes

3.9539 MUELLER, BRYAN                           VARIOUS                              Litigation              UNDETERMINED
       22271 PHOENIX LAKE RD.
       SONORA, CA 95370             ACCOUNT NO.: NOT AVAILABLE


3.9540 MUELLER, DAVID                           VARIOUS                              Litigation              UNDETERMINED
       16633 OAKRIDGE COURT
       SONORA, CA 95370             ACCOUNT NO.: NOT AVAILABLE


3.9541 MUELLER, GLEN                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 2587
       MANTECA, CA 95336            ACCOUNT NO.: NOT AVAILABLE


3.9542 MUELLER, JENNY                           VARIOUS                              Litigation              UNDETERMINED
       3574 LAMBETH DRIVE
       RESCUE, CA 95672             ACCOUNT NO.: NOT AVAILABLE


3.9543 MUELLER, RICHARD                         VARIOUS                              Litigation              UNDETERMINED
       325 W. BLUFF
       FRESNO, CA 93711             ACCOUNT NO.: NOT AVAILABLE


3.9544 MUFF, LINDY                              VARIOUS                              Litigation              UNDETERMINED
       7105 SUPERIOR TOWN ROAD
       LINCOLN, CA 95648            ACCOUNT NO.: NOT AVAILABLE


3.9545 MUHAMMAD, THERESA                        VARIOUS                              Litigation              UNDETERMINED
       705 W DAKOTA AVE.
       FRESNO, CA 93705             ACCOUNT NO.: NOT AVAILABLE


3.9546 MUHAMMAS, KHALEELAH                      VARIOUS                              Litigation              UNDETERMINED
       8023 N. MARIPOSA
       FRESNO, CA 93720             ACCOUNT NO.: NOT AVAILABLE


3.9547 MUHLEBACH, EMIL                          VARIOUS                              Litigation              UNDETERMINED
       4210 DRIFTWOOD PLACE
       DISCOVERY, CA 94505          ACCOUNT NO.: NOT AVAILABLE


3.9548 MUI, CATHERINE                           VARIOUS                              Litigation              UNDETERMINED
       2583 44TH AVE
       SAN FRANCISCO, CA 94116      ACCOUNT NO.: NOT AVAILABLE


3.9549 MULJADI, JEFFREY                         VARIOUS                              Litigation              UNDETERMINED
       34403 BENEDICK LANE
       FREMONT, CA 94555            ACCOUNT NO.: NOT AVAILABLE


3.9550 MULLEN, SHARON                           VARIOUS                              Litigation              UNDETERMINED
       25 EL CAMINO DRIVE
       NAPA, CA 94559               ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.9551 MULLER, ERIC                             VARIOUS                              Litigation              UNDETERMINED
       43 CHATSWORTH CT
       OAKLAND, CA 94611            ACCOUNT NO.: NOT AVAILABLE


3.9552 MULLIGAN, DANELL                         VARIOUS                              Litigation              UNDETERMINED
       16661 SHADOW OAKS LN
       MEADOW VISTA, CA 95722       ACCOUNT NO.: NOT AVAILABLE


3.9553 MULLIGAN, GEORGE                         VARIOUS                              Litigation              UNDETERMINED
       7 WYNDEMERE VALE
       MONTEREY, CA 93940           ACCOUNT NO.: NOT AVAILABLE


3.9554 MULLIGAN, SEAN RICHARD                   VARIOUS                              Litigation              UNDETERMINED
       6914 MOBILE PARK DR
       UNIT 4                       ACCOUNT NO.: NOT AVAILABLE
       SHINGLETOWN, CA 96008


3.9555 MULLINS, HAYDEN                          VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 458
       KNIGHTSEN, CA 94548          ACCOUNT NO.: NOT AVAILABLE


3.9556 MULLINS, MARISSA                         VARIOUS                              Litigation              UNDETERMINED
       120 KINROSS DRIVE
       SAN RAFAEL, CA 94901         ACCOUNT NO.: NOT AVAILABLE


3.9557 MULLINS, RALPH                           VARIOUS                              Litigation              UNDETERMINED
       19573 DOUGLASS LN
       SARATOGA, CA 95070           ACCOUNT NO.: NOT AVAILABLE


3.9558 MUMMERT, LORENE                          VARIOUS                              Litigation              UNDETERMINED
       607 MAGNOLIA DRIVE
       SAN MATEO, CA 94402          ACCOUNT NO.: NOT AVAILABLE


3.9559 MUNDY, DAVID                             VARIOUS                              Litigation              UNDETERMINED
       4333 FLEMING AVE
       OAKLAND, CA 94619            ACCOUNT NO.: NOT AVAILABLE


3.9560 MUNGALPARA, MUKESH                       VARIOUS                              Litigation              UNDETERMINED
       3502 FOXMORE LANE
       RESCUE, CA 95672             ACCOUNT NO.: NOT AVAILABLE


3.9561 MUNGUIA, HECTOR                          VARIOUS                              Litigation              UNDETERMINED
       541 SEVENTH AVENUE
       MENLO PARK, CA 94025         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9562 MUNIZ, MICHELLE                          VARIOUS                              Litigation              UNDETERMINED
       16851 MORGAN VALLEY RD
       LOWER LAKE, CA 95457         ACCOUNT NO.: NOT AVAILABLE


3.9563 MUNIZ, SHELLEY                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1774
       COLUMBIA, CA 953101          ACCOUNT NO.: NOT AVAILABLE


3.9564 MUNN, ALBERT & PORTIA                    VARIOUS                              Litigation              UNDETERMINED
       3275 MORCOM AVENUE
       OAKLAND, CA 94619            ACCOUNT NO.: NOT AVAILABLE


3.9565 MUNNS, VIRGINIA                          VARIOUS                              Litigation              UNDETERMINED
       2932 BLACKSAND CREEK WAY
       RIVERBANK, CA 95367          ACCOUNT NO.: NOT AVAILABLE


3.9566 MUNOZ, ADRIANA                           VARIOUS                              Litigation              UNDETERMINED
       570 STRAWBERRY CANYON
       ROAD                         ACCOUNT NO.: NOT AVAILABLE
       ROYAL OAKS, CA 95076


3.9567 MUNOZ, ADRIANA                           VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 681
       ANTIOCH, CA 94509            ACCOUNT NO.: NOT AVAILABLE


3.9568 MUNOZ, ADRIANA                           VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 681
       ANTIOCH, CA 94509            ACCOUNT NO.: NOT AVAILABLE


3.9569 MUNOZ, JOSE                              VARIOUS                              Litigation              UNDETERMINED
       10588 EAST FIELDSTONE
       AVENUE                       ACCOUNT NO.: NOT AVAILABLE
       CLOVIS, CA 93619


3.9570 MUNOZ, SHASHENI & OSCAR                  VARIOUS                              Litigation              UNDETERMINED
       18555 BENSON RD.
       COTTONWOOD, CA 96022         ACCOUNT NO.: NOT AVAILABLE


3.9571 MUNSHI, KAREN                            VARIOUS                              Litigation              UNDETERMINED
       17300 LAUREL RD,
        LOS GATOS, CA 95033         ACCOUNT NO.: NOT AVAILABLE


3.9572 MUNSINGER, BETTY                         VARIOUS                              Litigation              UNDETERMINED
       523 LEON AVE.
       MODESTO, CA 95351-3759       ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.9573 MUNTER, WENDY                            VARIOUS                              Litigation              UNDETERMINED
       10 SEAHORSE COURT
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.9574 MURAD, EZRA                              VARIOUS                              Litigation              UNDETERMINED
       4720 PARADISE DRIVE
       TIBURON, CA 94920             ACCOUNT NO.: NOT AVAILABLE


3.9575 MURASE, JAMES                            VARIOUS                              Litigation              UNDETERMINED
       571 FILLMORE ST.
       SAN FRANCISCO, CA 94117       ACCOUNT NO.: NOT AVAILABLE


3.9576 MURILLO, MARIA                           VARIOUS                              Litigation              UNDETERMINED
       5527 CASA BONITA DRIVE
       BAKERSFIELD, CA 93307         ACCOUNT NO.: NOT AVAILABLE


3.9577 MURILLO, MAURILIO                        VARIOUS                              Litigation              UNDETERMINED
       156 HALL ROAD
       ROYAL OAKS, CA 95076          ACCOUNT NO.: NOT AVAILABLE


3.9578 MURILLO, MONICA                          VARIOUS                              Litigation              UNDETERMINED
       1640 N BROOKS AVE, APT #106
       FRESNO, CA 93705              ACCOUNT NO.: NOT AVAILABLE


3.9579 MURILLO, OFELIA                          VARIOUS                              Litigation              UNDETERMINED
       1041 BUCKHORN DR UNIT 6
       SALINAS, CA 93905             ACCOUNT NO.: NOT AVAILABLE


3.9580 MURNANE, JAYNE                           VARIOUS                              Litigation              UNDETERMINED
       32931 EMIGRANT TRAIL
       SHINGLETOWN, CA 96088         ACCOUNT NO.: NOT AVAILABLE


3.9581 MURO, MONICA                             VARIOUS                              Litigation              UNDETERMINED
       1507 SYLVIA DR
       BAKERSFIELD, CA 93304         ACCOUNT NO.: NOT AVAILABLE


3.9582 MURPHY HILL WATER #1-BLAIR,              VARIOUS                              Litigation              UNDETERMINED
       EDWARD
       P.O. BOX 279                  ACCOUNT NO.: NOT AVAILABLE
       WATSONVILLE, CA 95077


3.9583 MURPHY SHELINE, ALYSON                   VARIOUS                              Litigation              UNDETERMINED
       2233 OAK KNOLL RD
       NOVATO, CA 94947              ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.9584 MURPHY, BENJAMIN                         VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 284
       COBB, CA 95426               ACCOUNT NO.: NOT AVAILABLE


3.9585 MURPHY, CHARMAINE                        VARIOUS                              Litigation              UNDETERMINED
       20009 RIDGEQUEST WAY
       GROVELAND, CA 95321          ACCOUNT NO.: NOT AVAILABLE


3.9586 MURPHY, EDWARD                           VARIOUS                              Litigation              UNDETERMINED
       420 CALLE VIENTO
       MORGAN HILL, CA 95037        ACCOUNT NO.: NOT AVAILABLE


3.9587 MURPHY, HAROLO                           VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 354
       3835 LAKEVIEW DRIVE          ACCOUNT NO.: NOT AVAILABLE
       NICE, CA 95464


3.9588 MURPHY, MICHAEL                          VARIOUS                              Litigation              UNDETERMINED
       115 PUESTA DEL SOL
       LOS GATOS, CA 95032          ACCOUNT NO.: NOT AVAILABLE


3.9589 MURPHY, MICHI                            VARIOUS                              Litigation              UNDETERMINED
       1680 MCCLELLAN MOUNTAIN RD
       BRIDGEVILLE, CA 95526        ACCOUNT NO.: NOT AVAILABLE


3.9590 MURPHY, PAMELA                           VARIOUS                              Litigation              UNDETERMINED
       8210 MESSICK RD.
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.9591 MURPHY, ROBIN                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 366
       CLARKSBURG, CA 95612         ACCOUNT NO.: NOT AVAILABLE


3.9592 MURPHY, THOMAS                           VARIOUS                              Litigation              UNDETERMINED
       45 COVE COURT
       NAPA, CA                     ACCOUNT NO.: NOT AVAILABLE


3.9593 MURPHY, THOMAS                           VARIOUS                              Litigation              UNDETERMINED
       45 COVE COURT
       NAPA, CA 94559               ACCOUNT NO.: NOT AVAILABLE


3.9594 MURRAY, AMY                              VARIOUS                              Litigation              UNDETERMINED
       424 60TH STREET
       OAKLAND, CA 94609            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.9595 MURRAY, JACK                              VARIOUS                              Litigation              UNDETERMINED
       PO BOX 417
       CARLOTTA, CA 95528            ACCOUNT NO.: NOT AVAILABLE


3.9596 MURRAY, JAMES                             VARIOUS                              Litigation              UNDETERMINED
       9121 E HARNEY LANE
       LODI, CA 95240                ACCOUNT NO.: NOT AVAILABLE


3.9597 MURRAY, JAMES                             VARIOUS                              Litigation              UNDETERMINED
       12438 OAK ST.
       CLEARLAKE OAKS, CA 95423      ACCOUNT NO.: NOT AVAILABLE


3.9598 MURRAY, KEITH                             VARIOUS                              Litigation              UNDETERMINED
       957 WOODRIDGE RD
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.9599 MURRAY, LORI                              VARIOUS                              Litigation              UNDETERMINED
       508 35TH AVE.
       SAN FRANCISCO, CA 94121       ACCOUNT NO.: NOT AVAILABLE


3.9600 MURRAY, MARC                              VARIOUS                              Litigation              UNDETERMINED
       8920 LOST HORIZON ROAD
       LATROBE, CA 95682             ACCOUNT NO.: NOT AVAILABLE


3.9601 MURRAY, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       80 VILLA CIRCLE
       FAIRFIELD, CA 94533           ACCOUNT NO.: NOT AVAILABLE


3.9602 MURRAY, TAMMY                             VARIOUS                              Litigation              UNDETERMINED
       13440 PERGOLA AVE
       BAKERSFIELD, CA 93314         ACCOUNT NO.: NOT AVAILABLE


3.9603 MURRAY-CRAYTON, WILMA                     VARIOUS                              Litigation              UNDETERMINED
       1310 GILMAN AVE
       SAN FRANCISCO, CA 94124       ACCOUNT NO.: NOT AVAILABLE


3.9604 MURRELL, JOYCE                            VARIOUS                              Litigation              UNDETERMINED
       7727 PEGNAN RD.
       SHINGLTOWN, CA 96088          ACCOUNT NO.: NOT AVAILABLE


3.9605 MURRY, FREDDIE                            VARIOUS                              Litigation              UNDETERMINED
       74 DEERPARK CT
       OAKLEY, CA 94561              ACCOUNT NO.: NOT AVAILABLE


3.9606 MURSHID, SHAZIA                           VARIOUS                              Litigation              UNDETERMINED
       269 W ALDRICH PLACE
       MOUNTAIN HOUSE, CA 95391      ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.9607 MUSER, DAVID                              VARIOUS                              Litigation              UNDETERMINED
       3960 LEISURE LANE
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.9608 MUSGRAVE, LYDIA                           VARIOUS                              Litigation              UNDETERMINED
       206 FAIRGATE DR
       VACAVILLE, CA 95687           ACCOUNT NO.: NOT AVAILABLE


3.9609 MUSGROVE, J. CLINT                        VARIOUS                              Litigation              UNDETERMINED
       409 HASTINGS DR
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.9610 MUSICK, DAVID                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 625
       RAILROAD GRADE RD             ACCOUNT NO.: NOT AVAILABLE
       NORTH FOLK, CA 93643


3.9611 MUSIELAK, JAMES                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1514
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.9612 MUSSER, CHRISTOPHER                       VARIOUS                              Litigation              UNDETERMINED
       17264 CACHE CREEK RD
       CLEARLAKE OAKS, CA 95423      ACCOUNT NO.: NOT AVAILABLE


3.9613 MUSSER, CHRISTOPHER                       VARIOUS                              Litigation              UNDETERMINED
       17264 CACHE CREEK RD
       CLEARLAKE OAKS, CA 95423      ACCOUNT NO.: NOT AVAILABLE


3.9614 MUSSER, FRED                              VARIOUS                              Litigation              UNDETERMINED
       PO BOX 4023
       4541 HOKAN CIRCLE, ARNOLD     ACCOUNT NO.: NOT AVAILABLE
       CAMP CONNELL, CA 95223


3.9615 MUSSER, THERESA                           VARIOUS                              Litigation              UNDETERMINED
       71 LOMA RD
       SAN CARLOS, CA 94070          ACCOUNT NO.: NOT AVAILABLE


3.9616 MUSSOTTO, NAT                             VARIOUS                              Litigation              UNDETERMINED
       4092 OAK GROVE SCHOOL
       ROAD                          ACCOUNT NO.: NOT AVAILABLE
       MARIPOSA, CA 95338


3.9617 MUSTIN, LINDA                             VARIOUS                              Litigation              UNDETERMINED
       1006 LOST TRAIL WAY
       BAKERSFIELD, CA 93307         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.9618 MUSTON, DANNY AND LEONA                  VARIOUS                              Litigation              UNDETERMINED
       40793 MILLWOOD ROAD P.O.
       BOX 453 D                     ACCOUNT NO.: NOT AVAILABLE
       3828 E EUSCNIA
       FRESNO, CA 93725


3.9619 MUTALIPASSI, MICHAEL                     VARIOUS                              Litigation              UNDETERMINED
       1202 PRESIDIO BLVD.
       PACIFIC GROVE, CA 93950       ACCOUNT NO.: NOT AVAILABLE


3.9620 MUZAFFAR, HASSAN                         VARIOUS                              Litigation              UNDETERMINED
       5721 HARDER ST
       SAN JOSE, CA 95129            ACCOUNT NO.: NOT AVAILABLE


3.9621 MV START LUSTER, /SHIP                   VARIOUS                              Litigation              UNDETERMINED
       CONTACT OH LINE
       2201 W. WASHINGTON            ACCOUNT NO.: NOT AVAILABLE
       STOCKTON, CA


3.9622 MX.-BHATIA, SANJAY                       VARIOUS                              Litigation              UNDETERMINED
       1255 ROUSSEAU DR
       SUNNYVALE, CA 94087           ACCOUNT NO.: NOT AVAILABLE


3.9623 MY FAVS CAFE-THOMAS,                     VARIOUS                              Litigation              UNDETERMINED
       MARCELLUS
       2836 SACRAMENTO ST            ACCOUNT NO.: NOT AVAILABLE
       BERKELEY, CA 94702


3.9624 MY HOUSE-SHAMLOU, BAHMAN                 VARIOUS                              Litigation              UNDETERMINED
       3725 MACBETH DRIVE
       SAN JOSE, CA 95127            ACCOUNT NO.: NOT AVAILABLE


3.9625 MY MILKSHAKE, MARDIG                     VARIOUS                              Litigation              UNDETERMINED
       CHAKALIAN
       150 S FIRST STREET #199       ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95113


3.9626 MYERS, ANNE                              VARIOUS                              Litigation              UNDETERMINED
       1000 THIRD STREET
       TAFT, CA 93268                ACCOUNT NO.: NOT AVAILABLE


3.9627 MYERS, BERNICE                           VARIOUS                              Litigation              UNDETERMINED
       1945 PINER ROAD - SPACE 161
       SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.9628 MYERS, CHAD                              VARIOUS                              Litigation              UNDETERMINED
       595 OWL MINE ROAD
       ORLEANS, CA                   ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.9629 MYERS, CHARLES                           VARIOUS                              Litigation              UNDETERMINED
       1170 BISHOP STREET
       SAN LUIS OBISPO, CA 93401     ACCOUNT NO.: NOT AVAILABLE


3.9630 MYERS, CLIFFORD                          VARIOUS                              Litigation              UNDETERMINED
       6275 LONETREE BLVD.
       504 CAMERON GLEN DR., APEX,   ACCOUNT NO.: NOT AVAILABLE
       C, 27502
       ROCKLIN, CA 95765


3.9631 MYERS, DAVID                             VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 846
       JACKSON, CA 95642             ACCOUNT NO.: NOT AVAILABLE


3.9632 MYERS, DAVID                             VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 846
       JACKSON, CA 95642             ACCOUNT NO.: NOT AVAILABLE


3.9633 MYERS, DAVID                             VARIOUS                              Litigation              UNDETERMINED
       4907 RIMWOOD DR
       FAIR OAKS, CA 95628           ACCOUNT NO.: NOT AVAILABLE


3.9634 MYERS, ERNEST                            VARIOUS                              Litigation              UNDETERMINED
       35705 SAN ANTONIO RD
       LIVERMORE, CA 94550           ACCOUNT NO.: NOT AVAILABLE


3.9635 MYERS, HELEN                             VARIOUS                              Litigation              UNDETERMINED
       1017 EAST LAKE AVENUE
       WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.9636 MYERS, JESSE                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 424
       ORLEANS, CA 95556             ACCOUNT NO.: NOT AVAILABLE


3.9637 MYERS, KATHRYN                           VARIOUS                              Litigation              UNDETERMINED
       44911 N HWY 101, PMB 135
       LAYTONVILLE, CA 95454         ACCOUNT NO.: NOT AVAILABLE


3.9638 MYERS, MARK & TROYIA                     VARIOUS                              Litigation              UNDETERMINED
       10768 CEDAR AVENUE
       CEDAR AVE                     ACCOUNT NO.: NOT AVAILABLE
       GRASS VALLEY, CA 95945


3.9639 MYERS, MELANIE                           VARIOUS                              Litigation              UNDETERMINED
       457 WEST MAIN STREET
       TURLOCK, CA 95380             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.9640 MYERS, RAYMOND                           VARIOUS                              Litigation              UNDETERMINED
       953 BREWINGTON COURT
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.9641 MYERS, TIM                               VARIOUS                              Litigation              UNDETERMINED
       2000 PINCREST DRIVE
       BOULDER CREEK, CA 95006      ACCOUNT NO.: NOT AVAILABLE


3.9642 MYNEAR, LATRICIA                         VARIOUS                              Litigation              UNDETERMINED
       22907 FULLER ROAD
       TWAIN HARTE, CA 95383        ACCOUNT NO.: NOT AVAILABLE


3.9643 MYRICKS, EDNA                            VARIOUS                              Litigation              UNDETERMINED
       1782 MENDOCINO STREET
       SEASIDE, CA 93955            ACCOUNT NO.: NOT AVAILABLE


3.9644 N A-CRIVELLO, JULIE                      VARIOUS                              Litigation              UNDETERMINED
       4921 CLIPPER DRIVE
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.9645 N/A-COKER, GEORGE                        VARIOUS                              Litigation              UNDETERMINED
       5739 CEDAR BROOK CT
       CASTRO VALLEY, CA 94552      ACCOUNT NO.: NOT AVAILABLE


3.9646 N/A-DE LA CRUZ, RODRIGO                  VARIOUS                              Litigation              UNDETERMINED
       1185 MONROSE ST
       APT 107 BLDG G               ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.9647 N/A-FIVELLA, KENRIC                      VARIOUS                              Litigation              UNDETERMINED
       1011 BRIONES RD.
       MARTINEZ, CA 94553           ACCOUNT NO.: NOT AVAILABLE


3.9648 N/A-HOGAN, CONNIE                        VARIOUS                              Litigation              UNDETERMINED
       31395 EMPIRE DR
       MANTON, CA 96059             ACCOUNT NO.: NOT AVAILABLE


3.9649 N/A-KLEINERT, DAN                        VARIOUS                              Litigation              UNDETERMINED
       2229 PEPPERWOOD DRIVE
       YUBA CITY, CA 95993          ACCOUNT NO.: NOT AVAILABLE


3.9650 N/A-KLUDT, BOB                           VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 184
       SAN MARTIN, CA 95046         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.9651 N/A-MCCAW, TATIANA                       VARIOUS                              Litigation              UNDETERMINED
       3196 PLAYA CT
       MARINA, CA 93933              ACCOUNT NO.: NOT AVAILABLE


3.9652 N/A-NEPTUNE, KATHLEEN                    VARIOUS                              Litigation              UNDETERMINED
       4566 HILLTOP DR
       EL SOBRANTE, CA 94803         ACCOUNT NO.: NOT AVAILABLE


3.9653 N/A-PINGREE, LAWRENCE                    VARIOUS                              Litigation              UNDETERMINED
       4073 BRISTLECONE WAY
       LIVERMORE, CA 94551           ACCOUNT NO.: NOT AVAILABLE


3.9654 N/A-READ, THOMAS                         VARIOUS                              Litigation              UNDETERMINED
       2204 CYPRESS PT
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.9655 N/A-SMITH, ARCHIE                        VARIOUS                              Litigation              UNDETERMINED
       8620 VIZELA WAY
       VIZELA WAY                    ACCOUNT NO.: NOT AVAILABLE
       ELK GROVE, CA 95757


3.9656 N/A-TESCONI, RAYMOND                     VARIOUS                              Litigation              UNDETERMINED
       4298 OTHELLO DRIVE
       FREMONT, CA 94555             ACCOUNT NO.: NOT AVAILABLE


3.9657 N/A-ULLOA, DANIEL                        VARIOUS                              Litigation              UNDETERMINED
       5761 THOUSAND OAKS DR
       CASTRO VALLEY, CA 94552       ACCOUNT NO.: NOT AVAILABLE


3.9658 NA NA'S KITCHEN-GUAN, YANNA              VARIOUS                              Litigation              UNDETERMINED
       301 VISITACION
       BRISBANE, CA 94005            ACCOUNT NO.: NOT AVAILABLE


3.9659 NABHAN, SAID                             VARIOUS                              Litigation              UNDETERMINED
       7312 THAMES CT
       DUBLIN, CA 94568              ACCOUNT NO.: NOT AVAILABLE


3.9660 NABILAS NATURALS-YOUSEF,                 VARIOUS                              Litigation              UNDETERMINED
       RAMIZ
       559 HAYES ST.                 ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94102


3.9661 NADLER, SAUL                             VARIOUS                              Litigation              UNDETERMINED
       1634 JERROLD AVE.
       SAN FRANCISCO, CA 94124       ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address     Date Claim Was Incurred And         C U    D    Basis For    Offset    Amount of Claim
Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9662 NADO, EDNA                               VARIOUS                              Litigation              UNDETERMINED
       311 OAK ST
       OAKLAND, CA 94607            ACCOUNT NO.: NOT AVAILABLE


3.9663 NA-DRAA, JENNIFER                        VARIOUS                              Litigation              UNDETERMINED
       691 COURTYARDS LOOP
       LINCOLN, CA 95648            ACCOUNT NO.: NOT AVAILABLE


3.9664 NADRU, SARA                              VARIOUS                              Litigation              UNDETERMINED
       899 HILLSWOOD COURT
       OAKDALE, CA 95361            ACCOUNT NO.: NOT AVAILABLE


3.9665 NADVORNIK, COLEEN & MARK                 VARIOUS                              Litigation              UNDETERMINED
       28241 PIERCE RD
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.9666 NAFTEL, JAIME                            VARIOUS                              Litigation              UNDETERMINED
       1221 LEMON ST
       MARYSVILLE, CA 95901         ACCOUNT NO.: NOT AVAILABLE


3.9667 NAGEL, JENNIFER                          VARIOUS                              Litigation              UNDETERMINED
       22546 SUMMIT ROAD
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.9668 NAGLEE, BRIAN                            VARIOUS                              Litigation              UNDETERMINED
       671 SCIROCCO DR
       YUBA CITY, CA 95991          ACCOUNT NO.: NOT AVAILABLE


3.9669 NAGORE, JEAN                             VARIOUS                              Litigation              UNDETERMINED
       686 DEAN STREET
       HAYWARD, CA 94541            ACCOUNT NO.: NOT AVAILABLE


3.9670 NA-GUNDELFINGER, RUTH                    VARIOUS                              Litigation              UNDETERMINED
       900 REICHERT AVE UNIT 537
       NOVATO, CA 94945             ACCOUNT NO.: NOT AVAILABLE


3.9671 NA-HAGG, JESSICA                         VARIOUS                              Litigation              UNDETERMINED
       4600 OCCIDENTAL RD
       SANTA ROSA, CA 95401         ACCOUNT NO.: NOT AVAILABLE


3.9672 NAIDITCH, SARAH                          VARIOUS                              Litigation              UNDETERMINED
       2506 OLD ARCATA RD
       BAYSIDE, CA 95524            ACCOUNT NO.: NOT AVAILABLE


3.9673 NAIL'D, MALLARY JOHNSON                  VARIOUS                              Litigation              UNDETERMINED
       6120 N SANTA FE AVE
       WINTON, CA 95388             ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9674 NAJARRO, VANESSA                         VARIOUS                              Litigation              UNDETERMINED
       1325 MILLS ST.
       #7                           ACCOUNT NO.: NOT AVAILABLE
       MENLO PARK, CA 94025


3.9675 NA-JOHNSON, KARL                         VARIOUS                              Litigation              UNDETERMINED
       1020 BAR VIEW CT
       EUREKA, CA 95503             ACCOUNT NO.: NOT AVAILABLE


3.9676 NAKANO, LOREN                            VARIOUS                              Litigation              UNDETERMINED
       1402 FLOYD AVENUE
       SUNNYVALE, CA 94087-3455     ACCOUNT NO.: NOT AVAILABLE


3.9677 NAKASAKO, KRISTI                         VARIOUS                              Litigation              UNDETERMINED
       1927 VINEDALE SQUARE
       SAN JOSE, CA 95132           ACCOUNT NO.: NOT AVAILABLE


3.9678 NA-LEONG, PATRICK                        VARIOUS                              Litigation              UNDETERMINED
       47 WESTDALE AVE
       DALY CITY, CA 94015          ACCOUNT NO.: NOT AVAILABLE


3.9679 NA-LIU, TSUI HUA CHENG                   VARIOUS                              Litigation              UNDETERMINED
       218 ASHBURY AVE
       EL CERRITO, CA 94530         ACCOUNT NO.: NOT AVAILABLE


3.9680 NA-MACHADO, IDA                          VARIOUS                              Litigation              UNDETERMINED
       1321 BUSH ST
       ARVIN, CA 93203              ACCOUNT NO.: NOT AVAILABLE


3.9681 NA-MISNER, ALAN                          VARIOUS                              Litigation              UNDETERMINED
       2223 NORD AVE
       A                            ACCOUNT NO.: NOT AVAILABLE
       CHICO, CA 95926


3.9682 NAMOC, ELSA                              VARIOUS                              Litigation              UNDETERMINED
       30 ROCKFORD AVE
       DALY CITY, CA 94015          ACCOUNT NO.: NOT AVAILABLE


3.9683 NANCE, JIM                               VARIOUS                              Litigation              UNDETERMINED
       2506 ATASCADERO ROAD
       MORRO BAY, CA 93442          ACCOUNT NO.: NOT AVAILABLE


3.9684 NANCYS AIRPORT CAFE-ARCE,                VARIOUS                              Litigation              UNDETERMINED
       CHIELO
       353 COUNTY ROAD G            ACCOUNT NO.: NOT AVAILABLE
       WILLOWS, CA 95988




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9685 NANTZE, JILL                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 734
       NEWCASTLE, CA 95658          ACCOUNT NO.: NOT AVAILABLE


3.9686 NA-O'REILLY, CINDY                       VARIOUS                              Litigation              UNDETERMINED
       1364 COLUMBUS AVENUE
       BURLINGAME, CA 94010         ACCOUNT NO.: NOT AVAILABLE


3.9687 NAPA SPINE & NERVE CENTER,               VARIOUS                              Litigation              UNDETERMINED
       JEFFREY TAYLOR
       2987 SOLANO AVENUE           ACCOUNT NO.: NOT AVAILABLE
       NAPA, CA 94558


3.9688 NAPA VALLEY LODGE-                       VARIOUS                              Litigation              UNDETERMINED
       COMPAGNON, MAXENCE
       2230 MADISON STREET          ACCOUNT NO.: NOT AVAILABLE
       YOUNTVILLE, CA 94599


3.9689 NAPA, CITY OF                            VARIOUS                              Litigation              UNDETERMINED
       1600 FIRST STREET
       ATTN. TIM WOOD               ACCOUNT NO.: NOT AVAILABLE
       NAPA, CA 94559


3.9690 NAPIER, CAROL                            VARIOUS                              Litigation              UNDETERMINED
       6229 LEICESTER DRIVE
       MAGALIA, CA 95954            ACCOUNT NO.: NOT AVAILABLE


3.9691 NAPLES, ELIZABETH                        VARIOUS                              Litigation              UNDETERMINED
       1470 CYPRESS DRIVE
       TRACY, CA 95376              ACCOUNT NO.: NOT AVAILABLE


3.9692 NAPOLI, JOSEPH                           VARIOUS                              Litigation              UNDETERMINED
       5436 HAWVER RD
       SAN ANDREAS, CA 95249        ACCOUNT NO.: NOT AVAILABLE


3.9693 NAPOLI, MICHAEL                          VARIOUS                              Litigation              UNDETERMINED
       124 LITTLEFIELD RD
       MONTEREY, CA 93940           ACCOUNT NO.: NOT AVAILABLE


3.9694 NAPOLI, NICHOLAS                         VARIOUS                              Litigation              UNDETERMINED
       124 LITTLEFIELD RD
       MONTEREY, CA 93940           ACCOUNT NO.: NOT AVAILABLE


3.9695 NARAGHI FARMS-NARAGHI,                   VARIOUS                              Litigation              UNDETERMINED
       WENDELL
       PO BOX 7                     ACCOUNT NO.: NOT AVAILABLE
       ESCALON, CA 95329



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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9696 NARAGHI FARMS-SOUZA,                     VARIOUS                              Litigation              UNDETERMINED
       MACKENZIE
       PO BOX 7                     ACCOUNT NO.: NOT AVAILABLE
       ESCALON, CA 95320


3.9697 NARANJO AUTO SALES-                      VARIOUS                              Litigation              UNDETERMINED
       NARANJO, JESUS
       1998 S CHESTER AVE           ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93304


3.9698 NARANJO, MARIA                           VARIOUS                              Litigation              UNDETERMINED
       8812 SEGRUE RD
       LAMONT, CA 93241             ACCOUNT NO.: NOT AVAILABLE


3.9699 NARANJO, SHANNON                         VARIOUS                              Litigation              UNDETERMINED
       5202 MERIDIAN AVE
       SAN JOSE, CA 95118           ACCOUNT NO.: NOT AVAILABLE


3.9700 NARAYAN, JESSICA                         VARIOUS                              Litigation              UNDETERMINED
       837 HANCOCK ST. APT. # 407
       HAYWARD, CA 94544            ACCOUNT NO.: NOT AVAILABLE


3.9701 NARAYANASWAMY, NAVEEN                    VARIOUS                              Litigation              UNDETERMINED
       1242 88TH AVE
       OAKLAND, CA 94621            ACCOUNT NO.: NOT AVAILABLE


3.9702 NAREZ, LAURA                             VARIOUS                              Litigation              UNDETERMINED
       1280 WALNUT BLVD
       BRENTWOOD, CA 94513          ACCOUNT NO.: NOT AVAILABLE


3.9703 NARVAEZ, MERRIAH                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 33
       NICE, CA 95464               ACCOUNT NO.: NOT AVAILABLE


3.9704 NASCHMARKT RESTAURANT/,                  VARIOUS                              Litigation              UNDETERMINED
       PRECISION RISK MANAGEMENT,
       INC.                         ACCOUNT NO.: NOT AVAILABLE
       PO BOX 628
       CYPRESS, CA 90630


3.9705 NASH, APRIL                              VARIOUS                              Litigation              UNDETERMINED
       3001 GRIZZLY RUN
       POLLOCK PINES, CA 95726      ACCOUNT NO.: NOT AVAILABLE


3.9706 NASH, LINDA                              VARIOUS                              Litigation              UNDETERMINED
       169 W. BRANNAN IS. RD.
       15                           ACCOUNT NO.: NOT AVAILABLE
       ISLETON, CA 95641


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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9707 NASH, RICHARD & TONI                     VARIOUS                              Litigation              UNDETERMINED
       248 ANO AVENUE
       SAN LORENZO, CA 94580        ACCOUNT NO.: NOT AVAILABLE


3.9708 NASH, WILLIAM                            VARIOUS                              Litigation              UNDETERMINED
       1120 MONUMENT PLACE
       NEWCASTLE, CA 95658          ACCOUNT NO.: NOT AVAILABLE


3.9709 NASHIF CUSTOM DESIGNS-                   VARIOUS                              Litigation              UNDETERMINED
       NASHIF, DAVID
       744 A. STREET                ACCOUNT NO.: NOT AVAILABLE
       SAN RAFAEL, CA 94901


3.9710 NASO, TOM                                VARIOUS                              Litigation              UNDETERMINED
       3114 GLORIA TERRACE
       LAFAYETTE, CA 94549          ACCOUNT NO.: NOT AVAILABLE


3.9711 NASTALE, ROBERT                          VARIOUS                              Litigation              UNDETERMINED
       3325 FARRELL RD
       VACAVILLE, CA 95688          ACCOUNT NO.: NOT AVAILABLE


3.9712 NA-STEPHENS, NATHAN                      VARIOUS                              Litigation              UNDETERMINED
       PO BOX 2131
       UKIAH, CA 95482              ACCOUNT NO.: NOT AVAILABLE


3.9713 NASTRADES CASH&CARRY INC.-               VARIOUS                              Litigation              UNDETERMINED
       NASSERI, NAS
       655 KENNEDY ST               ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94606


3.9714 NATAL, ANA                               VARIOUS                              Litigation              UNDETERMINED
       189 BELCREST AVE.
       DALY CITY, CA 94015          ACCOUNT NO.: NOT AVAILABLE


3.9715 NATALIE JAHANBANI                        VARIOUS                              Litigation              UNDETERMINED
       MARY ALEXANDER, BRENDAN
       WAY, CATALINA MUNOZ          ACCOUNT NO.: NOT AVAILABLE
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.9716 NATALIE JAHANBANI                        VARIOUS                              Litigation              UNDETERMINED
       BOBBY THOMPSON
       705 AIRPORT BLVD             ACCOUNT NO.: NOT AVAILABLE
       SUITE 165
       BURLINGAME, CA 94010




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.9717 NATCHER, STEPHEN                         VARIOUS                              Litigation              UNDETERMINED
       741 NORTH FIELD LANE
       LINCOLN, CA 95648             ACCOUNT NO.: NOT AVAILABLE


3.9718 NATHAN, WENDY                            VARIOUS                              Litigation              UNDETERMINED
       EMERGENT LLP
       SETH ROSENBERG                ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94105


3.9719 NATIONAL GENERAL INS                     VARIOUS                              Litigation              UNDETERMINED
       PO BOX 30
       EAST NORTHPORT, CA 11731-     ACCOUNT NO.: NOT AVAILABLE
       0030


3.9720 NATIONAL GENERAL                         VARIOUS                              Litigation              UNDETERMINED
       INSURANCE-SPIKES, JULIA
       2015 COUNTRY CLUB BLVD.       ACCOUNT NO.: NOT AVAILABLE
       STOCKTON, CA 95204


3.9721 NATIONAL SUBROGATION                     VARIOUS                              Litigation              UNDETERMINED
       SERVICES LLP- VINCE RAMIREZ
       PO BOX 70280                  ACCOUNT NO.: NOT AVAILABLE
       PHILADELPHIA, CA 19176-0280


3.9722 NATIONAL SURETY                          VARIOUS                              Litigation              UNDETERMINED
       CORPORATION, ATTN: ANDREA
       NEWELL-WHITE                  ACCOUNT NO.: NOT AVAILABLE
       PO BOX 970
       10122 BANDLEY DRIVE
       CUPERTINO, CA


3.9723 NATIONAL SURETY                          VARIOUS                              Litigation              UNDETERMINED
       CORPORATION, BARBARA
       SCHAEFER                      ACCOUNT NO.: NOT AVAILABLE
       ONE PROGRESS POINT
       PARKWAY, SUITE 200
       O'FALLON, CA 63368


3.9724 NATIONWIDE - TORRALVA, BEN               VARIOUS                              Litigation              UNDETERMINED
       ONE NATIONWIDE GATEWAY,
       DEPT 5572                     ACCOUNT NO.: NOT AVAILABLE
       DES MOINES, CA 50391-5572


3.9725 NATIONWIDE INSURANCE                     VARIOUS                              Litigation              UNDETERMINED
       1 NATIONWIDE GATEWAY
       DES MOINES, CA                ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.9726 NATIONWIDE INSURANCE,                    VARIOUS                              Litigation              UNDETERMINED
       SARAH LANDELL
       1100 LOCUST DR., DEPT 2019     ACCOUNT NO.: NOT AVAILABLE
       3967 MISSION ST., S.F., CA.,
       94112
       DES MOINES, CA 50391


3.9727 NATIONWIDE INSURANCE-                    VARIOUS                              Litigation              UNDETERMINED
       JOHNSON, SAYLA
       PO BOX 182068                  ACCOUNT NO.: NOT AVAILABLE
       COLUMBUS, CA 43218


3.9728 NATIONWIDE INSURANCE-                    VARIOUS                              Litigation              UNDETERMINED
       LOGAN, STANLEY
       4051 BROOKS RD                 ACCOUNT NO.: NOT AVAILABLE
       VALLEY SPRINGS, CA 95252


3.9729 NATIONWIDE, BRENDA GREEN                 VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 4120
       SCOTTSDALE, CA 85261           ACCOUNT NO.: NOT AVAILABLE


3.9730 NATIONWIDE, DARRYL &                     VARIOUS                              Litigation              UNDETERMINED
       VALERIE HOGLAND
       PO BOX 4120                    ACCOUNT NO.: NOT AVAILABLE
       41766 MERRIMAN LANE
       AUBERRY, CA 93602


3.9731 NATIONWIDE, ELEVATION 66                 VARIOUS                              Litigation              UNDETERMINED
       BREWING COMPANY
       ONE NATIONWIDE GATEWAY         ACCOUNT NO.: NOT AVAILABLE
       DEPT. 5574
       10082 SAN PABLO AVE
       EL CERRITO, CA 94530


3.9732 NATIONWIDE, JOSEPH                       VARIOUS                              Litigation              UNDETERMINED
       FIGUEIRDO
       4428 GIBRAL TAR DR,            ACCOUNT NO.: NOT AVAILABLE
       FREMONT, CA 94536


3.9733 NATIONWIDE-MARTINEZ,                     VARIOUS                              Litigation              UNDETERMINED
       JOSEPH
       PO BOX 182068                  ACCOUNT NO.: NOT AVAILABLE
       COLUMBUS, CA 95926


3.9734 NATL COMM SERVICES, (AS0                 VARIOUS                              Litigation              UNDETERMINED
       STATE FARM INSURANCE)
       6644 VALJEAN AVENUE STE 100    ACCOUNT NO.: NOT AVAILABLE
       VAN NUYS, CA 91406




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9735 NATNAT, GLORY                            VARIOUS                              Litigation              UNDETERMINED
       38863 FREMONT BLVD
       20, CA 94536                 ACCOUNT NO.: NOT AVAILABLE


3.9736 NATSUHARA, DEBRA                         VARIOUS                              Litigation              UNDETERMINED
       144 PROVENCE ROAD
       DANVILLE, CA 94506           ACCOUNT NO.: NOT AVAILABLE


3.9737 NATTRASS, JAMES                          VARIOUS                              Litigation              UNDETERMINED
       1166 PHYLLIS COURT
       MOUNTAIN VIEW, CA 94040      ACCOUNT NO.: NOT AVAILABLE


3.9738 NAVA, MARISA                             VARIOUS                              Litigation              UNDETERMINED
       224 IRIS DR
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.9739 NAVARATNA, MIHITHIKA                     VARIOUS                              Litigation              UNDETERMINED
       2910 FERNWOOD STREET
       SAN MATEO, CA 94403          ACCOUNT NO.: NOT AVAILABLE


3.9740 NAVARETTE, EVELYNE & MARK                VARIOUS                              Litigation              UNDETERMINED
       834 OLIVE ST.
       YUBA CITY, CA 95991          ACCOUNT NO.: NOT AVAILABLE


3.9741 NAVARRETTE, YGNACIA L                    VARIOUS                              Litigation              UNDETERMINED
       109 W BEAMER STREET
       WOODLAND, CA 95695           ACCOUNT NO.: NOT AVAILABLE


3.9742 NAVARRO, ANGELICA                        VARIOUS                              Litigation              UNDETERMINED
       PO BOX 176
       CHUALAR, CA 93925            ACCOUNT NO.: NOT AVAILABLE


3.9743 NAVARRO, ERNEST                          VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 333
       13401 BRECKENRIDGE RD.       ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD
       EDISON, CA 93220


3.9744 NAVARRO, MARIA                           VARIOUS                              Litigation              UNDETERMINED
       581 E BRITTEN AVE
       FRESNO, CA 93706             ACCOUNT NO.: NOT AVAILABLE


3.9745 NAVARRO, TANIUSKA                        VARIOUS                              Litigation              UNDETERMINED
       215 NUTMEG CT
       HERCULES, CA 94547           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9746 NAVONE, CHRISTINA                        VARIOUS                              Litigation              UNDETERMINED
       5 HIDDEN SPRINGS ROAD
       NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.9747 NAVRO INVESTMENTS INC.,                  VARIOUS                              Litigation              UNDETERMINED
       LUCETI'S ON 25TH AVENUE
       109 W. 25TH AVENUE           ACCOUNT NO.: NOT AVAILABLE
       SAN MATEO, CA 94403


3.9748 NAY, JENNIFER                            VARIOUS                              Litigation              UNDETERMINED
       809 HUTCHINGS DRIVE
       SAN LEANDRO, CA 94577        ACCOUNT NO.: NOT AVAILABLE


3.9749 NAYERI, SASAN                            VARIOUS                              Litigation              UNDETERMINED
       1226 WASHINGTON ST, STE B.
       CALISTOGA, CA 94515          ACCOUNT NO.: NOT AVAILABLE


3.9750 NAYLOR, ANITA                            VARIOUS                              Litigation              UNDETERMINED
       359 MADRONE AVE
       LARKSPUR, CA 94939           ACCOUNT NO.: NOT AVAILABLE


3.9751 NAZARENKO, AMY                           VARIOUS                              Litigation              UNDETERMINED
       3731 MAIN STREET
       PO BOX 445                   ACCOUNT NO.: NOT AVAILABLE
       OCCIDENTAL, CA 95465


3.9752 NAZARETH ICE OASIS SAN                   VARIOUS                              Litigation              UNDETERMINED
       MATEO-HANHAN, HANNA
       2202 BRIDGEPOINTE PARKWAY    ACCOUNT NO.: NOT AVAILABLE
       SAN MATEO, CA 94404


3.9753 NAZARIO, DOMINGO                         VARIOUS                              Litigation              UNDETERMINED
       234 BORONDA ROAD
       #1                           ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93907


3.9754 NAZZAL, NAIM                             VARIOUS                              Litigation              UNDETERMINED
       119 WALFORD DR.
       MORAGA, CA 94556             ACCOUNT NO.: NOT AVAILABLE


3.9755 NEAVINS, TARA                            VARIOUS                              Litigation              UNDETERMINED
       8530 BRIARBROOK CIRCLE
       ORANGEVALE, CA 95662         ACCOUNT NO.: NOT AVAILABLE


3.9756 NEBEN, TERRY                             VARIOUS                              Litigation              UNDETERMINED
       3416 ECHO SPRINGS RD.
       LAFAYETTE, CA 94549          ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9757 NECKER, JOHN                             VARIOUS                              Litigation              UNDETERMINED
       483 SWAIN AVENUE
       SEBASTOPOL, CA 95472         ACCOUNT NO.: NOT AVAILABLE


3.9758 NEDNEY, GINA                             VARIOUS                              Litigation              UNDETERMINED
       121 LAUREN CIR
       SCOTTS VALLEY, CA 95066      ACCOUNT NO.: NOT AVAILABLE


3.9759 NEEL II, JOHN                            VARIOUS                              Litigation              UNDETERMINED
       895 HARRIER LN
       NIPOMO, CA 93444             ACCOUNT NO.: NOT AVAILABLE


3.9760 NEENA ENTERPRISES, INC-                  VARIOUS                              Litigation              UNDETERMINED
       PATEL, NIZAR
       11714 COCHISE PLACE          ACCOUNT NO.: NOT AVAILABLE
       CHATSWORTH, CA 91311


3.9761 NEFF, TERRY                              VARIOUS                              Litigation              UNDETERMINED
       3374 MT VEEDER ROAD
       NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.9762 NEFF, TERRY                              VARIOUS                              Litigation              UNDETERMINED
       3374 MOUNT VEEDER RD
       NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.9763 NEGISHI, KAZUO                           VARIOUS                              Litigation              UNDETERMINED
       922 CLARK PLACE
       EL CERRITO, CA 94530         ACCOUNT NO.: NOT AVAILABLE


3.9764 NEGRETE, GLORIA                          VARIOUS                              Litigation              UNDETERMINED
       828 TOBY WAY
       SHANDON, CA 93461            ACCOUNT NO.: NOT AVAILABLE


3.9765 NEGRON, RAFAEL                           VARIOUS                              Litigation              UNDETERMINED
       1047 14TH ST
       UNIT 5                       ACCOUNT NO.: NOT AVAILABLE
       OROVILLE, CA 95965


3.9766 NEGULESCO, INGIRID & PAUL                VARIOUS                              Litigation              UNDETERMINED
       179 ST. GERMAIN AVENUE
       SAN FRANCISCO, CA 94114      ACCOUNT NO.: NOT AVAILABLE


3.9767 NEIDENBERG, WARREN                       VARIOUS                              Litigation              UNDETERMINED
       26005 JUNIPERO ST.
       CARMEL, CA 93923             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.9768 NEIGHBOR'S CORNER-KENKEL,                 VARIOUS                              Litigation              UNDETERMINED
       RYAN
       499 DOUGLASS ST               ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94114


3.9769 NEILL, CLIFFORD                           VARIOUS                              Litigation              UNDETERMINED
       1988 VALLOMBROSA AVE.
       CHICO, CA 95926               ACCOUNT NO.: NOT AVAILABLE


3.9770 NEILL, CLIFFORD                           VARIOUS                              Litigation              UNDETERMINED
       1988 VALLOMBROSA AVENUE
       CHICO, CA 95926               ACCOUNT NO.: NOT AVAILABLE


3.9771 NEISLER, CYNTHIA                          VARIOUS                              Litigation              UNDETERMINED
       1689 WILLOW AVE
       CLOVIS, CA 93612              ACCOUNT NO.: NOT AVAILABLE


3.9772 NELSON, AMBER                             VARIOUS                              Litigation              UNDETERMINED
       224 MOONCREST LN
       SANTA MARIA, CA 93455         ACCOUNT NO.: NOT AVAILABLE


3.9773 NELSON, BRAD                              VARIOUS                              Litigation              UNDETERMINED
       8373 PARDINI PLACE
       VALLEY SPRINGS, CA 95252      ACCOUNT NO.: NOT AVAILABLE


3.9774 NELSON, BRIDGETTE                         VARIOUS                              Litigation              UNDETERMINED
       71 DEWITT AVE
       NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.9775 NELSON, EDWARD                            VARIOUS                              Litigation              UNDETERMINED
       2819 AQUINO DR
       SACRAMENTO, CA 95833          ACCOUNT NO.: NOT AVAILABLE


3.9776 NELSON, ELIZABETH                         VARIOUS                              Litigation              UNDETERMINED
       58 TUCKER ROA
       ROYAL OAKS, CA 95076          ACCOUNT NO.: NOT AVAILABLE


3.9777 NELSON, GARY                              VARIOUS                              Litigation              UNDETERMINED
       7127 LAKETRAIL COURT
       GRANITE BAY, CA 95746         ACCOUNT NO.: NOT AVAILABLE


3.9778 NELSON, GENE                              VARIOUS                              Litigation              UNDETERMINED
       14870 LUPE ROAD
       PINE GROVE, CA 95665          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9779 NELSON, JOHN                             VARIOUS                              Litigation              UNDETERMINED
       15345 LA ARBOLEDA WAY
       MORGAN HILL, CA 95037        ACCOUNT NO.: NOT AVAILABLE


3.9780 NELSON, JOHN                             VARIOUS                              Litigation              UNDETERMINED
       703 CORNELL AVE
       ALBANY, CA 94706             ACCOUNT NO.: NOT AVAILABLE


3.9781 NELSON, MARY                             VARIOUS                              Litigation              UNDETERMINED
       3121 PINE CREEK RD
       PO BOX 1074                  ACCOUNT NO.: NOT AVAILABLE
       HOOPA, CA 95546


3.9782 NELSON, RANDALL & MARY                   VARIOUS                              Litigation              UNDETERMINED
       385 JAMES BOWIE COURT
       2339 A STANWELL CIRCLE       ACCOUNT NO.: NOT AVAILABLE
       CONCORD, CA 94520


3.9783 NELSON, STEVEN                           VARIOUS                              Litigation              UNDETERMINED
       1810 BRANBURY COURT
       PETALUMA, CA 94954           ACCOUNT NO.: NOT AVAILABLE


3.9784 NELSON, TONI                             VARIOUS                              Litigation              UNDETERMINED
       2315 SPRING VALLEY RD
       CLEARLAKE OAKS, CA 95423     ACCOUNT NO.: NOT AVAILABLE


3.9785 NEMA                                     VARIOUS                              Litigation              UNDETERMINED
       1300 NORTH 17TH STREET
       SUITE 900                    ACCOUNT NO.: NOT AVAILABLE
       0
       ARLINGTON, VA 22209


3.9786 NEMETHY, IMMANUEL                        VARIOUS                              Litigation              UNDETERMINED
       1811 BERG AVE.
       UNIT B                       ACCOUNT NO.: NOT AVAILABLE
       MCKINLEYVILLE, CA 95519


3.9787 NENTWIG, JAMES                           VARIOUS                              Litigation              UNDETERMINED
       4315 HILLVALE DR
       VALLEY SPRINGS, CA 95252     ACCOUNT NO.: NOT AVAILABLE


3.9788 NEOBIOSYSTEMS, INC-WANG,                 VARIOUS                              Litigation              UNDETERMINED
       CHANG
       1407 HECKMAN WAY             ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95129


3.9789 NERIDA, MERCEDES                         VARIOUS                              Litigation              UNDETERMINED
       661 MEADOW DRIVE
       SALINAS, CA 93905            ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.9790 NESBITT, ALFREDTA                        VARIOUS                              Litigation              UNDETERMINED
       9322 E ST
       OAKLAND, CA 94603              ACCOUNT NO.: NOT AVAILABLE


3.9791 NETTLETON, SUSIE                         VARIOUS                              Litigation              UNDETERMINED
       1 TERRACE WAY
       FELTON, CA 95018               ACCOUNT NO.: NOT AVAILABLE


3.9792 NEUHAUS, NICK                            VARIOUS                              Litigation              UNDETERMINED
       55 PILLSBURY LANE
       NOVATO, CA 95947               ACCOUNT NO.: NOT AVAILABLE


3.9793 NEUMAN, KAYLA                            VARIOUS                              Litigation              UNDETERMINED
       365 WAR ADMIRAL AVENUE
       SAN JOSE, CA 95111             ACCOUNT NO.: NOT AVAILABLE


3.9794 NEUMANN, LARRY                           VARIOUS                              Litigation              UNDETERMINED
       4816 ST CHARLES DRIVE
       3210 BIG SPRINGS DRIVE         ACCOUNT NO.: NOT AVAILABLE
       LAKE ALMANOR, CA 96002


3.9795 NEUMEISTER, SARA                         VARIOUS                              Litigation              UNDETERMINED
       21264 HAWES RD.
       ANDERSON, CA 96007             ACCOUNT NO.: NOT AVAILABLE


3.9796 NEUPERT, ANJA                            VARIOUS                              Litigation              UNDETERMINED
       600 RAINBOW DRIVE
       202                            ACCOUNT NO.: NOT AVAILABLE
       MOUNTAIN VIEW, CA 94041


3.9797 NEVADA IRRIGATION DISTRICT               VARIOUS                              Litigation              UNDETERMINED
       28311 SECRET TOWN ROAD
       COLFAX, CA 95713               ACCOUNT NO.: NOT AVAILABLE


3.9798 NEVADA IRRIGATION DISTRICT,              VARIOUS                              Litigation              UNDETERMINED
       C/O MINASIAN, MEITH, SOARES,
       SEXTON & COOPER, LLC           ACCOUNT NO.: NOT AVAILABLE
       1681 BIRD STREET
       OROVILLE, CA 95965


3.9799 NEVAREZ, LETICIA                         VARIOUS                              Litigation              UNDETERMINED
       655 S. 34TH STREET
       SP# 15                         ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95116




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.9800 NEVER SAID-PRICE, KIMBERLY                VARIOUS                              Litigation              UNDETERMINED
       13905 TRINITY MOUNTIAN ROAD
       #46                           ACCOUNT NO.: NOT AVAILABLE
       P.O.BOX 114
       FRENCH GULCH, CA 96033


3.9801 NEVERACORP INT.-                          VARIOUS                              Litigation              UNDETERMINED
       YARBROUGH, DAYNE
       P.O. BOX 915                  ACCOUNT NO.: NOT AVAILABLE
       SAN ANDREAS, CA 95249


3.9802 NEVES, MARILYN                            VARIOUS                              Litigation              UNDETERMINED
       147 COVINGTON STREET
       OAKLAND, CA 94605             ACCOUNT NO.: NOT AVAILABLE


3.9803 NEVILLE, SEAN                             VARIOUS                              Litigation              UNDETERMINED
       143 HIGHWAY 156
       SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.9804 NEVIN, KATIE                              VARIOUS                              Litigation              UNDETERMINED
       12 OAK KNOLL CT.
       WALNUT CREEK, CA 94596        ACCOUNT NO.: NOT AVAILABLE


3.9805 NEVULIS, MARA                             VARIOUS                              Litigation              UNDETERMINED
       402 ASH STREET, #B
       MILL VALLEY, CA 94941         ACCOUNT NO.: NOT AVAILABLE


3.9806 NEW CHINA BUFFET - XIAO,                  VARIOUS                              Litigation              UNDETERMINED
       CUNPING
       420 MAIN ST                   ACCOUNT NO.: NOT AVAILABLE
       WATSONVILLE, CA 95076


3.9807 NEW HAVEN UNIFIED SCHOOL                  VARIOUS                              Litigation              UNDETERMINED
       DISTRICT, NICHOLAS ARPS
       3636 SMITH STREET             ACCOUNT NO.: NOT AVAILABLE
       UNION CITY, CA 94587


3.9808 NEW HOPE INTERNATIONAL                    VARIOUS                              Litigation              UNDETERMINED
       CHURCH-SANCHEZ,
       GUADALUPE                     ACCOUNT NO.: NOT AVAILABLE
       521 E WEDDELL DRIVE
       SUNNYVALE, CA 94089


3.9809 NEW LIFE RECOVERY                         VARIOUS                              Litigation              UNDETERMINED
       CENTERS, INC-RICHARDSON,
       KEVIN                         ACCOUNT NO.: NOT AVAILABLE
       782 PARK AVENUE
       SUITE 1
       SAN JOSE, CA 95126


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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9810 NEW RAJA/AMCO INSURANCE,                 VARIOUS                              Litigation              UNDETERMINED
       ATTN: ANDREW EGGLE
       ONE NATIONWIDE GATEWAY       ACCOUNT NO.: NOT AVAILABLE
       DEPT 5572
       DES MOINES, CA 50391-1913


3.9811 NEW TOWN MARKET, REFAAT                  VARIOUS                              Litigation              UNDETERMINED
       TAYAN
       4244 CANNON STREET           ACCOUNT NO.: NOT AVAILABLE
       SHAFTER, CA 93314


3.9812 NEW YORK FITNESS, DEVLIN                 VARIOUS                              Litigation              UNDETERMINED
       ROBERT
       615 NEW YORK RANCH ROAD      ACCOUNT NO.: NOT AVAILABLE
       STE 1
       JACKSON, CA 95642


3.9813 NEW YORK NAILS 2-SROLES,                 VARIOUS                              Litigation              UNDETERMINED
       GIAH
       45 W MANOR DRIVE             ACCOUNT NO.: NOT AVAILABLE
       PACIFICA, CA 94044


3.9814 NEWEL, DIAN                              VARIOUS                              Litigation              UNDETERMINED
       1514 6TH STREET
       LOS OSOS, CA 93402           ACCOUNT NO.: NOT AVAILABLE


3.9815 NEWELL, DEBORAH                          VARIOUS                              Litigation              UNDETERMINED
       18178 INDIAN SPRINGS RD
       PENN VALLEY, CA 95946        ACCOUNT NO.: NOT AVAILABLE


3.9816 NEWELL, HEATHER                          VARIOUS                              Litigation              UNDETERMINED
       155 S ARGYLE AVE, APT #217
       FRESNO, CA 93727             ACCOUNT NO.: NOT AVAILABLE


3.9817 NEWELL, TOM                              VARIOUS                              Litigation              UNDETERMINED
       2003 WINDWARD PT
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.9818 NEWHALL, DAVID                           VARIOUS                              Litigation              UNDETERMINED
       860 FLAXBERRY LANE
       SAN RAFAEL, CA 94903         ACCOUNT NO.: NOT AVAILABLE


3.9819 NEWMAN, ALAN                             VARIOUS                              Litigation              UNDETERMINED
       1811 WOODHAVEN PL
       MOUNTAIN VIEW, CA 94041      ACCOUNT NO.: NOT AVAILABLE


3.9820 NEWMAN, BRIAN                            VARIOUS                              Litigation              UNDETERMINED
       2541 MONNEYHAM COURT
       TURLOCK, CA 95382            ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.9821 NEWMAN, JAMES                             VARIOUS                              Litigation              UNDETERMINED
       2412 E PRESTWICK AVENUE
       FRESNO, CA 93730              ACCOUNT NO.: NOT AVAILABLE


3.9822 NEWMAN, VICTORIA                          VARIOUS                              Litigation              UNDETERMINED
       P.O.BOX 1915
       LAKEPORT, CA 95453            ACCOUNT NO.: NOT AVAILABLE


3.9823 NEWMAN, WILHELMINA                        VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1386
       FORESTVILLE, CA 95436         ACCOUNT NO.: NOT AVAILABLE


3.9824 NEWMANS, RAY                              VARIOUS                              Litigation              UNDETERMINED
       5440 14TH AVE
       SACRAMENTO, CA 95820          ACCOUNT NO.: NOT AVAILABLE


3.9825 NEWT, ROBERT                              VARIOUS                              Litigation              UNDETERMINED
       51 WERDEN STREET
       VALLEJO, CA 94590             ACCOUNT NO.: NOT AVAILABLE


3.9826 NEWTON, BRITTANY                          VARIOUS                              Litigation              UNDETERMINED
       280 BEALE ST UNIT 201
       SAN FRANCISCO, CA 94105       ACCOUNT NO.: NOT AVAILABLE


3.9827 NEXT INTENT INC - BABCOCK,                VARIOUS                              Litigation              UNDETERMINED
       CAYSE/RODNEY
       865 VIA ESTEBAN               ACCOUNT NO.: NOT AVAILABLE
       SAN LUIS OBISPO, CA 93401


3.9828 NEXTHOME PREFERRED                        VARIOUS                              Litigation              UNDETERMINED
       PROPERTIES-DECKER, STEVE
       988 FREDENSBORG CANYON        ACCOUNT NO.: NOT AVAILABLE
       ROAD
       SOLVANG, CA 93463


3.9829 NEXTLEVEL CYCLING LLC DBA                 VARIOUS                              Litigation              UNDETERMINED
       CYCLEBAR BERKELEY-
       BRANSTETTER, HEATHER          ACCOUNT NO.: NOT AVAILABLE
       1929 UNIVERSITY AVE
       BERKELEY, CA 94704


3.9830 NEZAMI, BAHRAM                            VARIOUS                              Litigation              UNDETERMINED
       40061 FREMONT BLVD APT 508
       FREMONT, CA 94538             ACCOUNT NO.: NOT AVAILABLE


3.9831 NG, JOHN                                  VARIOUS                              Litigation              UNDETERMINED
       125 CRESTVIEW DRIVE
       SAN CARLOS, CA 94070          ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.9832 NG, KAM                                  VARIOUS                              Litigation              UNDETERMINED
       460 8TH AVE
       SAN FRANCISCO, CA 94118      ACCOUNT NO.: NOT AVAILABLE


3.9833 NG, NICOLE                               VARIOUS                              Litigation              UNDETERMINED
       3649 JASMINE CIRCLE
       SAN JOSE, CA 95135           ACCOUNT NO.: NOT AVAILABLE


3.9834 NG, SHEK HON                             VARIOUS                              Litigation              UNDETERMINED
       955 GRANT AVE
       SAN FRANCISCO, CA 94108      ACCOUNT NO.: NOT AVAILABLE


3.9835 NG, YIK FOON                             VARIOUS                              Litigation              UNDETERMINED
       159 VALLEY VIEW WAY
       S. SAN FRANCISCO, CA 94080   ACCOUNT NO.: NOT AVAILABLE


3.9836 NGO, ANNIE                               VARIOUS                              Litigation              UNDETERMINED
       3634 QUINTARA ST
       SAN FRANCISCO, CA 94116      ACCOUNT NO.: NOT AVAILABLE


3.9837 NGO, CHRISTINA                           VARIOUS                              Litigation              UNDETERMINED
       3399 VICTORIA AVE
       SANTA CLARA, CA 95051        ACCOUNT NO.: NOT AVAILABLE


3.9838 NGO, CHRISTINA                           VARIOUS                              Litigation              UNDETERMINED
       3399 VICTORIA AVE
       SANTA CLARA, CA 95051        ACCOUNT NO.: NOT AVAILABLE


3.9839 NGO, HOANG SON                           VARIOUS                              Litigation              UNDETERMINED
       1206 PIPE DREAM COURT
       SAN JOSE, CA 95122           ACCOUNT NO.: NOT AVAILABLE


3.9840 NGO, LONG                                VARIOUS                              Litigation              UNDETERMINED
       1726 ALEMANY BLVD
       SAN FRANCISCO, CA 94112      ACCOUNT NO.: NOT AVAILABLE


3.9841 NGO, MARGARETTE                          VARIOUS                              Litigation              UNDETERMINED
       3246 CORTONA DR
       SAN JOSE, CA 95135           ACCOUNT NO.: NOT AVAILABLE


3.9842 NGUYEN, BAY                              VARIOUS                              Litigation              UNDETERMINED
       750 BONITA AVE
       SAN JOSE, CA 95116           ACCOUNT NO.: NOT AVAILABLE


3.9843 NGUYEN, BE                               VARIOUS                              Litigation              UNDETERMINED
       2092 JONATHAN AVE
       SAN JOSE, CA 95125           ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.9844 NGUYEN, CHAU                             VARIOUS                              Litigation              UNDETERMINED
       10 ROLLINGSTONE COMMON
       LIVERMORE, CA 94550          ACCOUNT NO.: NOT AVAILABLE


3.9845 NGUYEN, DOLORES                          VARIOUS                              Litigation              UNDETERMINED
       55 PALOMINO CIRCLE
       NOVATO, CA 94947             ACCOUNT NO.: NOT AVAILABLE


3.9846 NGUYEN, HIEN                             VARIOUS                              Litigation              UNDETERMINED
       243 BERRENDO DR.
       MILPITAS, CA 95035           ACCOUNT NO.: NOT AVAILABLE


3.9847 NGUYEN, HIEU                             VARIOUS                              Litigation              UNDETERMINED
       357 WAR ADMIRAL AVE.
       SAN JOSE, CA 95111           ACCOUNT NO.: NOT AVAILABLE


3.9848 NGUYEN, KIM                              VARIOUS                              Litigation              UNDETERMINED
       4033 TERRA ALTA DR.
       SAN RAMON, CA 94582          ACCOUNT NO.: NOT AVAILABLE


3.9849 NGUYEN, KUMIKO                           VARIOUS                              Litigation              UNDETERMINED
       101 ANGELA AVE.
       ALAMO, CA 94507              ACCOUNT NO.: NOT AVAILABLE


3.9850 NGUYEN, LAN                              VARIOUS                              Litigation              UNDETERMINED
       2252 WIGAN CT
       SAN JOSE, CA 95131           ACCOUNT NO.: NOT AVAILABLE


3.9851 NGUYEN, LANIE                            VARIOUS                              Litigation              UNDETERMINED
       1022 BIG BEAR COURT
       MILPITAS, CA 95035           ACCOUNT NO.: NOT AVAILABLE


3.9852 NGUYEN, MICHELLE                         VARIOUS                              Litigation              UNDETERMINED
       1601 41ST AVE
       CAPITOLA, CA 95010           ACCOUNT NO.: NOT AVAILABLE


3.9853 NGUYEN, MICHELLE                         VARIOUS                              Litigation              UNDETERMINED
       1659 TULLY RD., #A
       SAN JOSE, CA 95122           ACCOUNT NO.: NOT AVAILABLE


3.9854 NGUYEN, NGHIA                            VARIOUS                              Litigation              UNDETERMINED
       39 DYER RD
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.9855 NGUYEN, NGUYEN                           VARIOUS                              Litigation              UNDETERMINED
       5403 CANYON HILLS LANE
       SAN JOSE, CA 95138           ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.9856 NGUYEN, PHUC                             VARIOUS                              Litigation              UNDETERMINED
       2210 TOSCANO DRIVE
       MANTECA, CA 95337             ACCOUNT NO.: NOT AVAILABLE


3.9857 NGUYEN, SANG                             VARIOUS                              Litigation              UNDETERMINED
       1280 VIRGINIA AVE.
       CAMPBELL, CA 95008            ACCOUNT NO.: NOT AVAILABLE


3.9858 NGUYEN, TONY                             VARIOUS                              Litigation              UNDETERMINED
       2385 CHESTNUT ST.
       SAN FRANCISCO, CA 94123       ACCOUNT NO.: NOT AVAILABLE


3.9859 NGUYEN, VIET                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 32496
       SAN JOSE, CA 95152            ACCOUNT NO.: NOT AVAILABLE


3.9860 NHAM, SOON                               VARIOUS                              Litigation              UNDETERMINED
       258 MAIN ST
       259 MELODY LANE APT #101      ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93901


3.9861 NHAN, KEVIN                              VARIOUS                              Litigation              UNDETERMINED
       2414 27TH STREET
       SACRAMENTO, CA 95818          ACCOUNT NO.: NOT AVAILABLE


3.9862 NIAZMAND, HOMAYUN                        VARIOUS                              Litigation              UNDETERMINED
       21330 S CORRAL HOLLOW RD
       TRACY, CA 95304               ACCOUNT NO.: NOT AVAILABLE


3.9863 NICHOLAS, GAYLE                          VARIOUS                              Litigation              UNDETERMINED
       8 NEWLYN STREET
       SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.9864 NICHOLAS, NIKKI                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 281
       EAST PARK AVE ON STREET       ACCOUNT NO.: NOT AVAILABLE
       DURHAM, CA 95938


3.9865 NICHOLS INSURANCE                        VARIOUS                              Litigation              UNDETERMINED
       SERVICES-NICHOLS, SALLY ANN
       20665 SANTA MARIA AVE         ACCOUNT NO.: NOT AVAILABLE
       CASTRO VALLEY, CA 94546


3.9866 NICHOLS, GEORGE                          VARIOUS                              Litigation              UNDETERMINED
       4483 JENKINSON CIRCLE
       POLLOCK PINES, CA 95726       ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9867 NICHOLS, LATOYA                          VARIOUS                              Litigation              UNDETERMINED
       4433 COLUMBUS ST
       BAKERSFIELD, CA 93306        ACCOUNT NO.: NOT AVAILABLE


3.9868 NICHOLS, TOMOKO                          VARIOUS                              Litigation              UNDETERMINED
       17624 POND DEROSA LANE
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.9869 NICHOLS, WARREN                          VARIOUS                              Litigation              UNDETERMINED
       71 PANETTA RD
       CARMEL VALLEY, CA 93924      ACCOUNT NO.: NOT AVAILABLE


3.9870 NICHOLSON, KENNETH                       VARIOUS                              Litigation              UNDETERMINED
       21598 FLINTSHIRE ST
       CUPERTINO, CA 95014          ACCOUNT NO.: NOT AVAILABLE


3.9871 NICIONI, TRICIA                          VARIOUS                              Litigation              UNDETERMINED
       4307 OAKRIDGE WAY
       STOCKTON, CA 95204           ACCOUNT NO.: NOT AVAILABLE


3.9872 NICKERSON, SHARON-STEVE                  VARIOUS                              Litigation              UNDETERMINED
       8 HAYSTACK COURT
       BRENTWOOD, CA 94513          ACCOUNT NO.: NOT AVAILABLE


3.9873 NICKLESS, CAROL                          VARIOUS                              Litigation              UNDETERMINED
       12455 CHIA LANE
       ATASACADERO, CA 95422        ACCOUNT NO.: NOT AVAILABLE


3.9874 NICK'S CABIN-COUNTY,                     VARIOUS                              Litigation              UNDETERMINED
       TOULUMNE
       PO BOX 4567                  ACCOUNT NO.: NOT AVAILABLE
       WALNUT CREEK, CA 94596


3.9875 NICOLAIDES, DEAN                         VARIOUS                              Litigation              UNDETERMINED
       10336 LOCH LOMAND ROAD
       MIDDLETOWN, CA 95461         ACCOUNT NO.: NOT AVAILABLE


3.9876 NICOLAS, DOMINIQUE                       VARIOUS                              Litigation              UNDETERMINED
       7536 KELLEY DRIVE
       STOCKTON, CA 95207           ACCOUNT NO.: NOT AVAILABLE


3.9877 NICOLE KELBER                            VARIOUS                              Litigation              UNDETERMINED
       BOBBY THOMPSON
       720 AIRPORT BLVD             ACCOUNT NO.: NOT AVAILABLE
       SUITE 180
       BURLINGAME, CA 94010




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Litigation & Disputes

3.9878 NICOLE KELBER                            VARIOUS                              Litigation              UNDETERMINED
       MARY ALEXANDER, BRENDAN
       WAY, CATALINA MUNOZ          ACCOUNT NO.: NOT AVAILABLE
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.9879 NICOLOSI, RAFFAELLA                      VARIOUS                              Litigation              UNDETERMINED
       138 APPIAN WAY
       SOUTH SAN FRANCISCO, CA      ACCOUNT NO.: NOT AVAILABLE
       94080


3.9880 NICOLOSI, RAFFAELLA                      VARIOUS                              Litigation              UNDETERMINED
       138 APPIAN WAY
       SOUTH SAN FRANCISCO, CA      ACCOUNT NO.: NOT AVAILABLE
       94080


3.9881 NICPONSKI, CHERYL                        VARIOUS                              Litigation              UNDETERMINED
       PO BOX 152
       GEORGETOWN, CA 95634         ACCOUNT NO.: NOT AVAILABLE


3.9882 NIDDS, MILDRED                           VARIOUS                              Litigation              UNDETERMINED
       340 YERBA BUENA AVE
       SAN FRANCISCO, CA 94127      ACCOUNT NO.: NOT AVAILABLE


3.9883 NIDO-MCCOLLOW, CORY                      VARIOUS                              Litigation              UNDETERMINED
       311 OAK ST.
       109                          ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94607


3.9884 NIEDERER, CHRISTINE                      VARIOUS                              Litigation              UNDETERMINED
       488 EDGEFIELD PL
       BRENTWOOD, CA 94513          ACCOUNT NO.: NOT AVAILABLE


3.9885 NIEH, PETER                              VARIOUS                              Litigation              UNDETERMINED
       25765 BASSETT LANE
       LOS ALTOS HILLS, CA 94022    ACCOUNT NO.: NOT AVAILABLE


3.9886 NIEKRASZ, JEAN                           VARIOUS                              Litigation              UNDETERMINED
       2176 FORBES AVENUE
       EUREKA, CA 95503             ACCOUNT NO.: NOT AVAILABLE


3.9887 NIELSEN, FLETCHER                        VARIOUS                              Litigation              UNDETERMINED
       1864 48TH AVENUE
       SAN FRANCISCO, CA 94122      ACCOUNT NO.: NOT AVAILABLE


3.9888 NIEMETH, ALLYSON                         VARIOUS                              Litigation              UNDETERMINED
       317 FIRST AVE SOUTH
       PACHECO, CA 94553            ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.9889 NIETO, GLORIA                            VARIOUS                              Litigation              UNDETERMINED
       5324 WILBUR RD
       ALPAUGH, CA 93201             ACCOUNT NO.: NOT AVAILABLE


3.9890 NIGELS FOR HAIR-CLEMENTS,                VARIOUS                              Litigation              UNDETERMINED
       CODY
       739 A STREET                  ACCOUNT NO.: NOT AVAILABLE
       SAN RAFAEL, CA 94901


3.9891 NIJJAR, PARMJIT                          VARIOUS                              Litigation              UNDETERMINED
       17170 RD. 26
       MADERA, CA 93638              ACCOUNT NO.: NOT AVAILABLE


3.9892 NIKKHOO, LINDA                           VARIOUS                              Litigation              UNDETERMINED
       25419 HOLLY BEACH DRIVE
       SANTA CLARITA, CA 91350       ACCOUNT NO.: NOT AVAILABLE


3.9893 NIKKO'S RESTAURANT-                      VARIOUS                              Litigation              UNDETERMINED
       WORREDE, FITSUM
       340 23RD AVE                  ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94606


3.9894 NILES PIE COMPANY, BERHE                 VARIOUS                              Litigation              UNDETERMINED
       CAROLYN
       32990 ALVARADO NILES RAPD #   ACCOUNT NO.: NOT AVAILABLE
       960
       UNION CITY, CA 94587


3.9895 NING, FENG                               VARIOUS                              Litigation              UNDETERMINED
       1741 SAGELAND DR
       SAN JOSE, CA 95131            ACCOUNT NO.: NOT AVAILABLE


3.9896 NINO, ALEX AND THERESA                   VARIOUS                              Litigation              UNDETERMINED
       4233 SALGADO AVE
       OAKLEY, CA 94561              ACCOUNT NO.: NOT AVAILABLE


3.9897 NISHIDA, CINDY                           VARIOUS                              Litigation              UNDETERMINED
       2305 CHEIM BLVD
       18                            ACCOUNT NO.: NOT AVAILABLE
       MARYSVILLE, CA 95901


3.9898 NISHIHARA, SCOTT                         VARIOUS                              Litigation              UNDETERMINED
       11782 AUGUSTA DRIVE
       SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.9899 NITSCHKE, RICK                           VARIOUS                              Litigation              UNDETERMINED
       6737 E CLINTON AVE
       FRESNO, CA 93727              ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.9900 NIXON, CAROLYN                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 883
       VALLEY SPRINGS, CA 95252       ACCOUNT NO.: NOT AVAILABLE


3.9901 NIXON, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       5155 FAIRFAX AVE
       OAKLAND, CA 94601              ACCOUNT NO.: NOT AVAILABLE


3.9902 NIXON, SUSIE                             VARIOUS                              Litigation              UNDETERMINED
       1708 SHADY FOREST WAY
       STOCKTON, CA 95205             ACCOUNT NO.: NOT AVAILABLE


3.9903 NOAH WRIGHT, /LAW OFFICES                VARIOUS                              Litigation              UNDETERMINED
       OF THOMAS J. GUNDLACH
       14900 W. HIGHWAY 12, UNIT 22   ACCOUNT NO.: NOT AVAILABLE
       LODI, CA 95242


3.9904 NOBLE, ERIK                              VARIOUS                              Litigation              UNDETERMINED
       1083 FREEDOM DR
       LEMOORE, CA 93245              ACCOUNT NO.: NOT AVAILABLE


3.9905 NOBLE, JESSICA                           VARIOUS                              Litigation              UNDETERMINED
       16608 SALLANDER DRIVE
       SONORA, CA 95370               ACCOUNT NO.: NOT AVAILABLE


3.9906 NOBLE, LESLEY                            VARIOUS                              Litigation              UNDETERMINED
       649 STRAWBERRY CANYON
       ROAD                           ACCOUNT NO.: NOT AVAILABLE
       ROYAL OAKS, CA 95076


3.9907 NOBLE, LESLEY                            VARIOUS                              Litigation              UNDETERMINED
       649 STRAWBERRY CANYON
       ROAD                           ACCOUNT NO.: NOT AVAILABLE
       ROYAL OAKS, CA 95076


3.9908 NOBLE, LESLEY                            VARIOUS                              Litigation              UNDETERMINED
       649 STRAWBERRY CANYON
       ROAD                           ACCOUNT NO.: NOT AVAILABLE
       ROYAL OAKS, CA 95076


3.9909 NOBLE, MEGON                             VARIOUS                              Litigation              UNDETERMINED
       3038 DONATO LANE
       DAVIS, CA 95618                ACCOUNT NO.: NOT AVAILABLE


3.9910 NOBLE, QUOIA                             VARIOUS                              Litigation              UNDETERMINED
       400 MELISSA
       BAKERSFIELD, CA 93304          ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.9911 NOBRIGA, KELLY                            VARIOUS                              Litigation              UNDETERMINED
       1285 NORTHGATE DRIVE
       MANTECA, CA 95336             ACCOUNT NO.: NOT AVAILABLE


3.9912 NOBRIGA, TAMI                             VARIOUS                              Litigation              UNDETERMINED
       11548 N BETH LN
       LODI, CA 95240                ACCOUNT NO.: NOT AVAILABLE


3.9913 NOCITO, DARLENE/ATTY REP                  VARIOUS                              Litigation              UNDETERMINED
       7410 GREENHAVEN DR SUITE
       200                           ACCOUNT NO.: NOT AVAILABLE
       SACRAMENTO, CA 95831


3.9914 NODDER, SHERI/KENNETH                     VARIOUS                              Litigation              UNDETERMINED
       2894 GRANDE CAMINO
       WALNUT CREEK, CA 94598        ACCOUNT NO.: NOT AVAILABLE


3.9915 NOEL, PHILLIP                             VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 519
       PRATHER, CA 93651             ACCOUNT NO.: NOT AVAILABLE


3.9916 NOGUEDA, STEPHANIE                        VARIOUS                              Litigation              UNDETERMINED
       1224 DUCK BLIND CIRCLE
       NEWMAN, CA 95360              ACCOUNT NO.: NOT AVAILABLE


3.9917 NOHRDEN, RICHARD                          VARIOUS                              Litigation              UNDETERMINED
       1065 SUMMIT RD.
       WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.9918 NOL, LUCILIA                              VARIOUS                              Litigation              UNDETERMINED
       611 LEMON ST APT C
       SANTA MARIA, CA 93458         ACCOUNT NO.: NOT AVAILABLE


3.9919 NOLAN, GARY                               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 41
       APTOS, CA 95001               ACCOUNT NO.: NOT AVAILABLE


3.9920 NOLAND, RUSSELL                           VARIOUS                              Litigation              UNDETERMINED
       6262 N GLENN AVE
       FRESNO, CA 93704              ACCOUNT NO.: NOT AVAILABLE


3.9921 NOLLER FERNANDEZ,                         VARIOUS                              Litigation              UNDETERMINED
       KATHERINE
       1218 GOLDEN OAK WAY           ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95120




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Creditor's Name, Mailing Address     Date Claim Was Incurred And         C U    D    Basis For    Offset    Amount of Claim
Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.9922 NOLTE, JOHN                              VARIOUS                              Litigation              UNDETERMINED
       1634 N FARRIS AVENUE
       FRESNO, CA 93704             ACCOUNT NO.: NOT AVAILABLE


3.9923 NONAN, JEFFREY                           VARIOUS                              Litigation              UNDETERMINED
       25090 COPA DEL ORO DR
       HAYWARD, CA 94545            ACCOUNT NO.: NOT AVAILABLE


3.9924 NONE-BERDIANSKY, KIPP                    VARIOUS                              Litigation              UNDETERMINED
       21670 WOOLAROC DRIVE
       NONE                         ACCOUNT NO.: NOT AVAILABLE
       LOS GATOS, CA 95033


3.9925 NONE-BURNS, KELLY                        VARIOUS                              Litigation              UNDETERMINED
       470 BOLLINGER CNYN LN
       183                          ACCOUNT NO.: NOT AVAILABLE
       SAN RAMON, CA 94582


3.9926 NONE-CROZIER, STEVEN                     VARIOUS                              Litigation              UNDETERMINED
       247 ALTA MIRA DRIVE
       VACAVILLE, CA 95688          ACCOUNT NO.: NOT AVAILABLE


3.9927 NONE-LEWIS, NOLAND                       VARIOUS                              Litigation              UNDETERMINED
       2604 READ AVE
        BELMONT, CA 94002           ACCOUNT NO.: NOT AVAILABLE


3.9928 NONE-OBRIEN, JOHN                        VARIOUS                              Litigation              UNDETERMINED
       201 REDWOOD CIRCLE
       PETALUMA, CA 94954           ACCOUNT NO.: NOT AVAILABLE


3.9929 NONE-ZAMARIN, LISA                       VARIOUS                              Litigation              UNDETERMINED
       912 COLE ST
       APT 131                      ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94117


3.9930 NONGAUZA, ROBERT                         VARIOUS                              Litigation              UNDETERMINED
       4404 ANDERSON AVE
       OAKLAND, CA 94619            ACCOUNT NO.: NOT AVAILABLE


3.9931 NOONEY, CYNTHIA/CHARLES                  VARIOUS                              Litigation              UNDETERMINED
       1 SANDRINGHAM ROAD
       PIEDMONT, CA 94611           ACCOUNT NO.: NOT AVAILABLE


3.9932 NOORI, SEYED                             VARIOUS                              Litigation              UNDETERMINED
       29 E. LEGACY DRIVE
       MOUNTAIN HOUSE, CA 95391     ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.9933 NORCAL SUPPLY CO., INC.-                  VARIOUS                              Litigation              UNDETERMINED
       ANDERSON, SAM
       840 DOOLITTLE DR.,            ACCOUNT NO.: NOT AVAILABLE
       SAN LEANDRO, CA 94577


3.9934 NORCO PRINTING-DAMIANI,                   VARIOUS                              Litigation              UNDETERMINED
       RICK
       440 HESTER ST                 ACCOUNT NO.: NOT AVAILABLE
       SAN LEANDRO, CA 94577


3.9935 NORDMO, JAN                               VARIOUS                              Litigation              UNDETERMINED
       142 NEW YORK AVE.
       LOS GATOS, CA 95030           ACCOUNT NO.: NOT AVAILABLE


3.9936 NORELL, SUSAN                             VARIOUS                              Litigation              UNDETERMINED
       5650 BUCKS BAR RD
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.9937 NORGARD, APRIL                            VARIOUS                              Litigation              UNDETERMINED
       9415 WILDCAT RD
       KELSEYVILLE, CA 95451         ACCOUNT NO.: NOT AVAILABLE


3.9938 NORIEGA, FRANK                            VARIOUS                              Litigation              UNDETERMINED
       17371 SERENE DR.
       MORGAN HILL, CA 95037         ACCOUNT NO.: NOT AVAILABLE


3.9939 NORMAN AND CAROL BROWER                   VARIOUS                              Litigation              UNDETERMINED
       GORI, JULIAN & ASSOCIATES
       P.C.                          ACCOUNT NO.: NOT AVAILABLE
       156 N. MAIN STREET
       EDWARDSVILLE, IL 62025


3.9940 NORMAN, GUATIMOC                          VARIOUS                              Litigation              UNDETERMINED
       7604 CARSON HILL COURT
       BAKERSFIELD, CA 93313         ACCOUNT NO.: NOT AVAILABLE


3.9941 NORMAN, JESSICA                           VARIOUS                              Litigation              UNDETERMINED
       17751 BERTA CANYON RD
       PRUNEDALE, CA 93907           ACCOUNT NO.: NOT AVAILABLE


3.9942 NORMAN, SHARON                            VARIOUS                              Litigation              UNDETERMINED
       277 LUZENA AVE
       VACAVILLE, CA 95688           ACCOUNT NO.: NOT AVAILABLE


3.9943 NORMAN/ATTY REP, MICHAEL                  VARIOUS                              Litigation              UNDETERMINED
       5207 SUNRISE BLVD
       FAIR OAKS, CA 95628           ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.9944 NOROLOFF, ROBERT                         VARIOUS                              Litigation              UNDETERMINED
       1286 VALLEY FORGE DR.
       SUNNYVALE, CA 94087           ACCOUNT NO.: NOT AVAILABLE


3.9945 NORRBOM, PAUL                            VARIOUS                              Litigation              UNDETERMINED
       18300 NORRBOM RD
       SONOMA, CA 95476              ACCOUNT NO.: NOT AVAILABLE


3.9946 NORRIS, EDITH                            VARIOUS                              Litigation              UNDETERMINED
       237 E. YOTKSHIRE DRIVE
       STOCKTON, CA 95207            ACCOUNT NO.: NOT AVAILABLE


3.9947 NORRIS, LAWRENCE                         VARIOUS                              Litigation              UNDETERMINED
       2241 WALNUT AVE
       MCKINLEYVILLE, CA 95519       ACCOUNT NO.: NOT AVAILABLE


3.9948 NORRIS, MARY LOU                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1201
       275 STRAWBERRY ROAD           ACCOUNT NO.: NOT AVAILABLE
       ROOYAL OAKS, CA 95076


3.9949 NORRIS, SALLY                            VARIOUS                              Litigation              UNDETERMINED
       932 VISTA LANE
       IONE, CA 95640                ACCOUNT NO.: NOT AVAILABLE


3.9950 NORTH AMERICA, AMTRUST                   VARIOUS                              Litigation              UNDETERMINED
       PO BOX 89404
       CLEVELAND, CA 44101           ACCOUNT NO.: NOT AVAILABLE


3.9951 NORTH PENINSULA                          VARIOUS                              Litigation              UNDETERMINED
       VETENNARY EMERGENCY
       CLINIC                        ACCOUNT NO.: NOT AVAILABLE
       227 NORTH AMPHLETT BLVD
       SAN MATEO, CA 94401


3.9952 NORTH SHORE AGENCY                       VARIOUS                              Litigation              UNDETERMINED
       PO BOX 9205
       OLD BETHPAGE, CA 11804-9005   ACCOUNT NO.: NOT AVAILABLE


3.9953 NORTH, SANDRA                            VARIOUS                              Litigation              UNDETERMINED
       CA
                                     ACCOUNT NO.: NOT AVAILABLE


3.9954 NORTHRUP, ALYSHA                         VARIOUS                              Litigation              UNDETERMINED
       232 CHELSEA CT
       VACAVILLE, CA 95687           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.9955 NORTON, TIM                              VARIOUS                              Litigation              UNDETERMINED
       1069 PALM AVE
       ATWATER, CA 95301             ACCOUNT NO.: NOT AVAILABLE


3.9956 NORWITZ, LISA                            VARIOUS                              Litigation              UNDETERMINED
       21631 SUMMIT RD
       LOS GATOS, CA 95033           ACCOUNT NO.: NOT AVAILABLE


3.9957 NORWOOD, WAYNE                           VARIOUS                              Litigation              UNDETERMINED
       22375 MEADOWBROOK DR.
       PINE GROVE, CA 95665          ACCOUNT NO.: NOT AVAILABLE


3.9958 NORYKO, MIKE                             VARIOUS                              Litigation              UNDETERMINED
       850 OVERLOOK CT
       SAN MATEO, CA 94403           ACCOUNT NO.: NOT AVAILABLE


3.9959 NOT APPLICABLE-REYES, SANDI              VARIOUS                              Litigation              UNDETERMINED
       1021 POLK STREET UNIT 3
       SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.9960 NOTTI, LOU                               VARIOUS                              Litigation              UNDETERMINED
       10 MARINA COURT DRIVE
       SAN RAFAEL, CA 94901          ACCOUNT NO.: NOT AVAILABLE


3.9961 NOVATO SELF STORAGE                      VARIOUS                              Litigation              UNDETERMINED
       21 COMMERCIAL BLVD, SUITE 2
       NOVATO, CA 94949              ACCOUNT NO.: NOT AVAILABLE


3.9962 NOVAVINE-HELLER, ANGELA                  VARIOUS                              Litigation              UNDETERMINED
       6735 SONOMA HWY
       SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.9963 NOVELL, SONNY                            VARIOUS                              Litigation              UNDETERMINED
       11255 ROSE ANDERSON RD
       MIDDLETOWN, CA                ACCOUNT NO.: NOT AVAILABLE


3.9964 NOVELO, KATHY                            VARIOUS                              Litigation              UNDETERMINED
       2961 CASTLE DRIVE
       SAN JOSE, CA 95125            ACCOUNT NO.: NOT AVAILABLE


3.9965 NOVO RESTAURANT & BAKERY-                VARIOUS                              Litigation              UNDETERMINED
       COVEY, ROBIN
       726 HIGUERA ST.               ACCOUNT NO.: NOT AVAILABLE
       SAN LUIS OBISPO, CA 93401




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.9966 NOW DELIVERY SERVICE INC-                VARIOUS                              Litigation              UNDETERMINED
       CHITLANGIA, RAVI
       218 CARMELO LANSE             ACCOUNT NO.: NOT AVAILABLE
       SOUTH SAN FRANCISCO, CA
       94080


3.9967 NOWATZKI, BYONG                          VARIOUS                              Litigation              UNDETERMINED
       3809 ABBEY COURT
       CAMPBELL, CA 95008            ACCOUNT NO.: NOT AVAILABLE


3.9968 NOYOLA, PEDRO                            VARIOUS                              Litigation              UNDETERMINED
       959 MILLER AVENUE
       BERKELEY, CA 94708            ACCOUNT NO.: NOT AVAILABLE


3.9969 NSHS FFA-KELLY SHANNON,                  VARIOUS                              Litigation              UNDETERMINED
       NORTH SALINAS HIGH SCHOOL
       FFA                           ACCOUNT NO.: NOT AVAILABLE
       55 KIP DRIVE
       NSHS AG FFA
       SALINAS, CA 93906


3.9970 NUESMEYER, RAY                           VARIOUS                              Litigation              UNDETERMINED
       5038 SONOMA HWY
       SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.9971 NUGENT, BENNY                            VARIOUS                              Litigation              UNDETERMINED
       1915 VIRGINIA AVE
       WEST SACRAMENTO, CA 95691     ACCOUNT NO.: NOT AVAILABLE


3.9972 NUGENT, STEVE                            VARIOUS                              Litigation              UNDETERMINED
       4330 MEHAFFEY WAY
       OAKLEY, CA 94561              ACCOUNT NO.: NOT AVAILABLE


3.9973 NUGGET MARKET INC, NUGGET                VARIOUS                              Litigation              UNDETERMINED
       168 COURT STREET
       157 MAIN STREET, WOODLAND,    ACCOUNT NO.: NOT AVAILABLE
       CA 95695
       WOODLAND, CA 95696


3.9974 NUNES DAIRY, TONY & FILMENA              VARIOUS                              Litigation              UNDETERMINED
       NUNES
       1730 HEALY ROAD               ACCOUNT NO.: NOT AVAILABLE
       MERCED, CA 95341


3.9975 NUNES, CLARK & VERA                      VARIOUS                              Litigation              UNDETERMINED
       20008 ALMADEN ROAD
       SAN JOSE, CA 95120            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.9976 NUNES, IRIVALDA                            VARIOUS                              Litigation              UNDETERMINED
       213 HIDDEN VALLEY ROAD, APT
       C                              ACCOUNT NO.: NOT AVAILABLE
       ROYAL OAKS, CA 95076


3.9977 NUNEZ, ARACELI                             VARIOUS                              Litigation              UNDETERMINED
       1217 CIRCLE DRIVE
       SALINAS, CA 93905              ACCOUNT NO.: NOT AVAILABLE


3.9978 NUNEZ, CESAR                               VARIOUS                              Litigation              UNDETERMINED
       1987 GRIFFITH AVE
       WASCO, CA 93280                ACCOUNT NO.: NOT AVAILABLE


3.9979 NUNEZ, GLADYS                              VARIOUS                              Litigation              UNDETERMINED
       1494 LOCHNER DRIVE
       SAN JOSE, CA 95127             ACCOUNT NO.: NOT AVAILABLE


3.9980 NUNEZ, IVONNE                              VARIOUS                              Litigation              UNDETERMINED
       404 LA EPERANZA DRIVE
       DIXON, CA 95620                ACCOUNT NO.: NOT AVAILABLE


3.9981 NUNEZ, LAVENE                              VARIOUS                              Litigation              UNDETERMINED
       1021 POLK ST., UNIT 23
       SALINAS, CA 93906              ACCOUNT NO.: NOT AVAILABLE


3.9982 NUNEZ, LAVENE                              VARIOUS                              Litigation              UNDETERMINED
       1021 POLK ST., UNIT 23
       SALINAS, CA 93906              ACCOUNT NO.: NOT AVAILABLE


3.9983 NUNEZ, LUCILA                              VARIOUS                              Litigation              UNDETERMINED
       6801 LANGWORTH ROAD
       OAKDALE, CA 95361              ACCOUNT NO.: NOT AVAILABLE


3.9984 NUNEZ, MARISELA                            VARIOUS                              Litigation              UNDETERMINED
       3501 1/2 TELEPHONE ROAD
       SANTA MARIA, CA 93454          ACCOUNT NO.: NOT AVAILABLE


3.9985 NUNEZ, OLGA                                VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 526
       PLANADA, CA 95365              ACCOUNT NO.: NOT AVAILABLE


3.9986 NUNEZ, RAUL                                VARIOUS                              Litigation              UNDETERMINED
       137 ABBOTT ST
       SALINAS, CA 93901              ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.9987 NUNEZ, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       1022 DE HARO ST
       SAN FRANCISCO, CA 04107       ACCOUNT NO.: NOT AVAILABLE


3.9988 NUNN, ROBERT                             VARIOUS                              Litigation              UNDETERMINED
       10030 MARSH CREEK ROAD
       CLAYTON, CA 94517             ACCOUNT NO.: NOT AVAILABLE


3.9989 NUOVO, CATHY                             VARIOUS                              Litigation              UNDETERMINED
       655 HARCART AVE
       SEASIDE, CA 93955             ACCOUNT NO.: NOT AVAILABLE


3.9990 NUTT, BRELAND                            VARIOUS                              Litigation              UNDETERMINED
       2389 STEPHANIE LANE
       SELMA, CA 93662               ACCOUNT NO.: NOT AVAILABLE


3.9991 NUTTALL, ANGELINA                        VARIOUS                              Litigation              UNDETERMINED
       48 W ADAMS
       LOS BANOS, CA 93635           ACCOUNT NO.: NOT AVAILABLE


3.9992 NUTTE, HENRY &                           VARIOUS                              Litigation              UNDETERMINED
       ANN/FARMERS, (ATTY REP)
       11255 ELVESSA STREET          ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94605


3.9993 NW SHELL INC-MUBAREZ, NAGI               VARIOUS                              Litigation              UNDETERMINED
       3750 INTERNATIONAL BLVD
       OAKLAND, CA 94601             ACCOUNT NO.: NOT AVAILABLE


3.9994 NY INTERIORS-YEE, KINGMAN                VARIOUS                              Litigation              UNDETERMINED
       1834 LEIMERT BLVD
       OAKLAND, CA 94602             ACCOUNT NO.: NOT AVAILABLE


3.9995 NYBERG, ROBERT                           VARIOUS                              Litigation              UNDETERMINED
       25 TERRANOVA DR
       ANTIOCH, CA 94509             ACCOUNT NO.: NOT AVAILABLE


3.9996 NYLIN, KATHY                             VARIOUS                              Litigation              UNDETERMINED
       2339 W HAMMER LNE STE C-249
       STOCKTON, CA 95209            ACCOUNT NO.: NOT AVAILABLE


3.9997 NYM SAN JOSE INTERNATIONAL               VARIOUS                              Litigation              UNDETERMINED
       AIRPORT-SPINKS, KEVIN
       1701 AIRPORT BLVD             ACCOUNT NO.: NOT AVAILABLE
       SUITE B1130
       SAN JOSE, CA 95110




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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.9998 NYSTROM, JOHN                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 709 108 CANADA VIA
       DIABLO, CA 94528               ACCOUNT NO.: NOT AVAILABLE


3.9999 O BRIEN, WILLIAM & ANNA                  VARIOUS                              Litigation              UNDETERMINED
       1590 GRANADA DRIVE
       1399 30TH AVENUE               ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94122


3.10000 O KEEFE, PAMELA                         VARIOUS                              Litigation              UNDETERMINED
        PO BOX 692
        LOCKEFORD, CA 95237           ACCOUNT NO.: NOT AVAILABLE


3.10001 OAK AVENUE MART-CHO,                    VARIOUS                              Litigation              UNDETERMINED
        DONGJUN
        186 4TH STREET                ACCOUNT NO.: NOT AVAILABLE
        GREENFIELD, CA 93927


3.10002 OAK HILL MARKET                         VARIOUS                              Litigation              UNDETERMINED
        497 OAK STREET
        SAN FRANCISCO, CA 94102       ACCOUNT NO.: NOT AVAILABLE


3.10003 OAK PARK EQUESTRIAN                     VARIOUS                              Litigation              UNDETERMINED
        CENTER, WOLF, CORYNN
        2059 CARPENTER CYN RD         ACCOUNT NO.: NOT AVAILABLE
        SAN LUIS OBISPO, CA 93401


3.10004 OAK RIDGE WINERY-                       VARIOUS                              Litigation              UNDETERMINED
        HUTCHISON, TRENTON
        PO                            ACCOUNT NO.: NOT AVAILABLE
        PO BOX 440
        LODI, CA 95240


3.10005 OAK RUN COUNTRY STORE-                  VARIOUS                              Litigation              UNDETERMINED
        BIDNEY, MIKE
        27610 OAK RUN TO FERN RD      ACCOUNT NO.: NOT AVAILABLE
        OAK RUN, CA 96069


3.10006 OAKES III, GEORGE ALEXANDER             VARIOUS                              Litigation              UNDETERMINED
        BRAYTON PURCELL, LLP
        224 RUSH LANDING ROAD, P.O    ACCOUNT NO.: NOT AVAILABLE
        BOX 6169
        NOVATO, CA 94949-6169


3.10007 OAKES, ELIZABETH                        VARIOUS                              Litigation              UNDETERMINED
        PO BOX 754
        ESTACADA, CA 97023            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.10008 OAKLAND BEVERAGE GROUP,                 VARIOUS                              Litigation              UNDETERMINED
        JEFFREY FIEGEL
        201 3RD ST.                   ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94607


3.10009 OAKLAND GRILL-PARK, JONGGU              VARIOUS                              Litigation              UNDETERMINED
        301 FRANKLIN ST
        OAKLAND, CA 94607             ACCOUNT NO.: NOT AVAILABLE


3.10010 OAKLAND PORTAL INC-                     VARIOUS                              Litigation              UNDETERMINED
        RECTOR, WARREN
        1611 2ND AVE                  ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94606


3.10011 OAKLEY, KRISTY                          VARIOUS                              Litigation              UNDETERMINED
        30 WILCOX RD
        WINDSOR, CA 95492             ACCOUNT NO.: NOT AVAILABLE


3.10012 OAKRIDGE PROFESSIONAL                   VARIOUS                              Litigation              UNDETERMINED
        CENTER-CHEN, HWARUNG
        591 W. HAMILTON AVE.          ACCOUNT NO.: NOT AVAILABLE
        STE. 100
        CAMPBELL, CA 95008


3.10013 OAKS, STERLING                          VARIOUS                              Litigation              UNDETERMINED
        14414 COUNTY ROAD 99A
        WOODLAND, CA 95695            ACCOUNT NO.: NOT AVAILABLE


3.10014 OASIS, MARC                             VARIOUS                              Litigation              UNDETERMINED
        7295 SNYDER LANE
        ROHNERT PSRK, CA 95428        ACCOUNT NO.: NOT AVAILABLE


3.10015 OASSENT LLC-FRITZ, HELMUT J             VARIOUS                              Litigation              UNDETERMINED
        1 DAVENPORT AVE
        DAVENPORT ROADHOUSE           ACCOUNT NO.: NOT AVAILABLE
        DAVENPORT, CA 95017


3.10016 OBALLE, SANDRA                          VARIOUS                              Litigation              UNDETERMINED
        3161 FLEETWOOD DR
        SAN BRUNO, CA 94066           ACCOUNT NO.: NOT AVAILABLE


3.10017 OBERHOLTZER, CHRISTOPHER                VARIOUS                              Litigation              UNDETERMINED
        4737 EAST FREMONT STREET
        3                             ACCOUNT NO.: NOT AVAILABLE
        STOCKTON, CA 95215


3.10018 OBERHOLZER, JOHN                        VARIOUS                              Litigation              UNDETERMINED
        5010 SLEEPY HOLLOW LN
        FAIRFIELD, CA 94534           ACCOUNT NO.: NOT AVAILABLE

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Litigation & Disputes

3.10019 OBERHOLZER, ROY                          VARIOUS                              Litigation              UNDETERMINED
        10220 AZIMUTH STREET
        BAKERSFIELD, CA 93306        ACCOUNT NO.: NOT AVAILABLE


3.10020 OBERMEIER, THOMAS                        VARIOUS                              Litigation              UNDETERMINED
        3960 PETERSON DR
        CALISTOGA, CA 94515-9621     ACCOUNT NO.: NOT AVAILABLE


3.10021 OBOY, VERONICA                           VARIOUS                              Litigation              UNDETERMINED
        133 COTTAGE CIR
        MURPHYS, CA 95247            ACCOUNT NO.: NOT AVAILABLE


3.10022 OBREGON, ELVIA                           VARIOUS                              Litigation              UNDETERMINED
        2100 L TERRACE CIR BLDG
        9                            ACCOUNT NO.: NOT AVAILABLE
        SAN JOSE, CA 95123


3.10023 OBRIEN, ALDYTH                           VARIOUS                              Litigation              UNDETERMINED
        112 CLARK VALLEY RD
        LOS OSOS, CA 93402           ACCOUNT NO.: NOT AVAILABLE


3.10024 OBRIEN, BILL                             VARIOUS                              Litigation              UNDETERMINED
        3716 N COUNTRY DR
        ANTELOPE, CA 95843           ACCOUNT NO.: NOT AVAILABLE


3.10025 OBRIEN, COLLEEN                          VARIOUS                              Litigation              UNDETERMINED
        1880 STARBUCK RD
        RESCUE, CA 95672             ACCOUNT NO.: NOT AVAILABLE


3.10026 OBRIEN, JULIE                            VARIOUS                              Litigation              UNDETERMINED
        5326 EL MERCADO PKWY
        SANTA ROSA, CA 95403         ACCOUNT NO.: NOT AVAILABLE


3.10027 OBRIEN, KEVIN                            VARIOUS                              Litigation              UNDETERMINED
        5103 CHARTER CT
        ROCKLIN, CA 95765            ACCOUNT NO.: NOT AVAILABLE


3.10028 O'BRIEN, LESLIE                          VARIOUS                              Litigation              UNDETERMINED
        75 PRECITA AVE
        MOSS BEACH, CA 94038         ACCOUNT NO.: NOT AVAILABLE


3.10029 OBRIEN, PATRICIA                         VARIOUS                              Litigation              UNDETERMINED
        30 COTTAGE PLACE
        DANVILLE, CA 94526           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                            Account Number                           Claim

Litigation & Disputes

3.10030 O'BRIEN, PAUL                           VARIOUS                              Litigation              UNDETERMINED
        2108 CAROBWOOD LN.
        SAN JOSE, CA 95132             ACCOUNT NO.: NOT AVAILABLE


3.10031 O'BRIEN, SHANNON & JAMES                VARIOUS                              Litigation              UNDETERMINED
        5723 COHO COURT
        MARIPOSA, CA 95338             ACCOUNT NO.: NOT AVAILABLE


3.10032 O'BRION, KERRY                          VARIOUS                              Litigation              UNDETERMINED
        6552 N PERSHING AVE
        STOCKTON, CA 95207             ACCOUNT NO.: NOT AVAILABLE


3.10033 OC HOUSE SF LLC DBA THE                 VARIOUS                              Litigation              UNDETERMINED
        OLD CLAM HOUSE, DANTE
        SERAFINI                       ACCOUNT NO.: NOT AVAILABLE
        420 COLUMBUS AVENUE
        299 BAYSHORE BLVD
        SAN FRANCISCO, CA 94133


3.10034 OCAT, INC., TACO BELL #28742            VARIOUS                              Litigation              UNDETERMINED
        4306 SISK ROAD
        434 W. SHAW AVENUE, CLOVIS     ACCOUNT NO.: NOT AVAILABLE
        MODESTO, CA 95356


3.10035 OCEAN PALACE-FONG, KACHI                VARIOUS                              Litigation              UNDETERMINED
        711 CAMINO PLAZA
        SAN BRUNO, CA 94066            ACCOUNT NO.: NOT AVAILABLE


3.10036 OCEANO COMMUNITY                        VARIOUS                              Litigation              UNDETERMINED
        SERVICES DISTRICT-OGREN,
        PAAVO                          ACCOUNT NO.: NOT AVAILABLE
        PO BOX 599
        OCEANO, CA 93475


3.10037 OCEGUEDA, MARIA                         VARIOUS                              Litigation              UNDETERMINED
        618 RUSHCUTTERS BAY DR
        BAKERSFIELD, CA 93307          ACCOUNT NO.: NOT AVAILABLE


3.10038 OCHOA, ALEJANDRO                        VARIOUS                              Litigation              UNDETERMINED
        28671 13 1/2 AVE
        MADERA, CA 93638               ACCOUNT NO.: NOT AVAILABLE


3.10039 OCHOA, ALICIA                           VARIOUS                              Litigation              UNDETERMINED
        PO BOX 945
        GONZALES, CA 93926             ACCOUNT NO.: NOT AVAILABLE


3.10040 OCHOA, GUADALUPE                        VARIOUS                              Litigation              UNDETERMINED
        109 CYPRESS AVENUE
        VALLEJO, CA 94590              ACCOUNT NO.: NOT AVAILABLE

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Litigation & Disputes

3.10041 OCHOA, KRISTINA                         VARIOUS                              Litigation              UNDETERMINED
        29545 OAK MEADOW ROAD
        TOLLHOUSE, CA 93667         ACCOUNT NO.: NOT AVAILABLE


3.10042 OCHOA, MARTIN                           VARIOUS                              Litigation              UNDETERMINED
        970 RORKIOSE ST
        SALINAS, CA 93905           ACCOUNT NO.: NOT AVAILABLE


3.10043 OCHOA, MOISES & RACHEL                  VARIOUS                              Litigation              UNDETERMINED
        19463 DIABLO ROAD
        5599759043                  ACCOUNT NO.: NOT AVAILABLE
        MADERA, CA 93637


3.10044 OCHOA, REGINA                           VARIOUS                              Litigation              UNDETERMINED
        5780 N BOND STREET
        FRESNO, CA 93710            ACCOUNT NO.: NOT AVAILABLE


3.10045 OCHOA, STORMY                           VARIOUS                              Litigation              UNDETERMINED
        174 S O ST
        150                         ACCOUNT NO.: NOT AVAILABLE
        LINCOLN, CA 95648


3.10046 O'CONNELL, DAVID                        VARIOUS                              Litigation              UNDETERMINED
        1387 ASPEN DRIVE
        ANDERSON, CA 96007          ACCOUNT NO.: NOT AVAILABLE


3.10047 O'CONNELL, JOHN                         VARIOUS                              Litigation              UNDETERMINED
        1762 BLUE COURT
        NIPOMO, CA 93444            ACCOUNT NO.: NOT AVAILABLE


3.10048 O'CONNELL, TIMOTHY                      VARIOUS                              Litigation              UNDETERMINED
        3087 SLY PARK RD
        POLLOCK PINES, CA 95726     ACCOUNT NO.: NOT AVAILABLE


3.10049 O'CONNOR, JOHN                          VARIOUS                              Litigation              UNDETERMINED
        2444 CARPENTER RD
        STOCKTON, CA                ACCOUNT NO.: NOT AVAILABLE


3.10050 OCTOPUS GARDEN DESIGNS-                 VARIOUS                              Litigation              UNDETERMINED
        TAUSSIG, KAREN
        5255 HUTCHINSON RD          ACCOUNT NO.: NOT AVAILABLE
        SEBASTOPOL, CA 95472


3.10051 OCTOPUS JAPANESE                        VARIOUS                              Litigation              UNDETERMINED
        RESTAURANT-SON, JEFFREY
        925 EL CAMINO REAL          ACCOUNT NO.: NOT AVAILABLE
        MENLO PARK, CA 94025



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Litigation & Disputes

3.10052 ODDO, CHRIS                             VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 2515
        MURPHYS, CA 95247           ACCOUNT NO.: NOT AVAILABLE


3.10053 ODEN, DAN                               VARIOUS                              Litigation              UNDETERMINED
        1060 BERKSHIRE COURT
        DISCOVERY BAY, CA 94505     ACCOUNT NO.: NOT AVAILABLE


3.10054 O'DONNELL, JAMES                        VARIOUS                              Litigation              UNDETERMINED
        35228 OAK LN
        SHINGLETOWN, CA 96088       ACCOUNT NO.: NOT AVAILABLE


3.10055 O'DONOHU, ERIN                          VARIOUS                              Litigation              UNDETERMINED
        3200 REVERE AVE
        OAKLAND, CA 94605           ACCOUNT NO.: NOT AVAILABLE


3.10056 OF PARADISE, TOWN                       VARIOUS                              Litigation              UNDETERMINED
        5555 SKYWAY
        ATTN GINA WILL              ACCOUNT NO.: NOT AVAILABLE
        PARADISE, CA 95969


3.10057 OF SAUSALITO LLC, SCOMAS                VARIOUS                              Litigation              UNDETERMINED
        588 BRIDGEWAY
        ATTN. ROLAND GOTTI          ACCOUNT NO.: NOT AVAILABLE
        SAUSALITO, CA 94965


3.10058 OFFENBACHER, JAMES                      VARIOUS                              Litigation              UNDETERMINED
        6677 FOOTHILLS RANCH
        SANTA ROSA, CA 95404        ACCOUNT NO.: NOT AVAILABLE


3.10059 OGAWA, JENNIFER                         VARIOUS                              Litigation              UNDETERMINED
        905 DENIO AVE
        GILROY, CA 95020            ACCOUNT NO.: NOT AVAILABLE


3.10060 OGG, KEVIN                              VARIOUS                              Litigation              UNDETERMINED
        15230 MCKAMEY CT
        SONORA, CA 95370            ACCOUNT NO.: NOT AVAILABLE


3.10061 OGILVIE, PATRICK                        VARIOUS                              Litigation              UNDETERMINED
        25799 SWEET ROAD
        GRASS VALLEY, CA 95949      ACCOUNT NO.: NOT AVAILABLE


3.10062 OGLESBY, WENDY                          VARIOUS                              Litigation              UNDETERMINED
        4102 RAVENWOOD PLACE
        CASTRO VALLEY, CA 94546     ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.10063 OGREN, KENNETH                           VARIOUS                              Litigation              UNDETERMINED
        1696 DEL MONTE WAY
        MORAGA, CA 94556              ACCOUNT NO.: NOT AVAILABLE


3.10064 OHBA, YUJI                               VARIOUS                              Litigation              UNDETERMINED
        25 CORTE ALEGRE
        MILLBRAE, CA 94030            ACCOUNT NO.: NOT AVAILABLE


3.10065 O'HEARON, JAMES                          VARIOUS                              Litigation              UNDETERMINED
        11900 UPPER VOLVER AVENUE
        FELTON, CA 95018              ACCOUNT NO.: NOT AVAILABLE


3.10066 OHLSSEN, DONALD/CSAA (ATTY               VARIOUS                              Litigation              UNDETERMINED
        REP)
        801 AVALON DRIVE              ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94112


3.10067 OHMS, MARIYLN OR SCOT                    VARIOUS                              Litigation              UNDETERMINED
        1305 PEACOCK COURT
        TEMPLETON, CA 93465           ACCOUNT NO.: NOT AVAILABLE


3.10068 OIL CHANGERS                             VARIOUS                              Litigation              UNDETERMINED
        4511 WILLOW ROAD
        944 WILLOW ROAD               ACCOUNT NO.: NOT AVAILABLE
        MENLO PARK, CA 04588


3.10069 OIYEMHONLAN, JOSEPH                      VARIOUS                              Litigation              UNDETERMINED
        27535 ORLANDO AVE
        HAYWARD, CA 94545             ACCOUNT NO.: NOT AVAILABLE


3.10070 OKHOMINA, JR., DONATUS                   VARIOUS                              Litigation              UNDETERMINED
        SIEGEL, LEWITTER, MALKANI
        1939 HARRISON STREET, SUITE   ACCOUNT NO.: NOT AVAILABLE
        307
        OAKLAND, CA 94612


3.10071 OKNER, DEBORAH                           VARIOUS                              Litigation              UNDETERMINED
        42 BROWNS VALLEY ROAD
        CORRALITOS, CA 95076          ACCOUNT NO.: NOT AVAILABLE


3.10072 OLAGUE, VIOLA                            VARIOUS                              Litigation              UNDETERMINED
        367 N 18TH STREET
        SAN JOSE, CA 95112            ACCOUNT NO.: NOT AVAILABLE


3.10073 OLD PRINCETON LANDING,                   VARIOUS                              Litigation              UNDETERMINED
        BRIAN OVERFELT
        PO BOX 1077                   ACCOUNT NO.: NOT AVAILABLE
        EL GRANADA, CA 94018


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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.10074 OLD SAN LUIS BBQ CO.-                    VARIOUS                              Litigation              UNDETERMINED
        PEARCE, MATT
        670 HIGUERA ST.              ACCOUNT NO.: NOT AVAILABLE
        SAN LUIS OBISPO, CA 93401


3.10075 OLD STAGE GREENHOUSE-                    VARIOUS                              Litigation              UNDETERMINED
        LOUIE, JNET
        24999 POTTER RD              ACCOUNT NO.: NOT AVAILABLE
        SAINAS, CA 93908


3.10076 OLEAR, ELIZABETH                         VARIOUS                              Litigation              UNDETERMINED
        825 GARFIELD
        PETALUMA, CA 94954           ACCOUNT NO.: NOT AVAILABLE


3.10077 O'LEARY, LAURIE                          VARIOUS                              Litigation              UNDETERMINED
        1229 CALLE DEL ARROYO
        SONOMA, CA 95476             ACCOUNT NO.: NOT AVAILABLE


3.10078 OLEJNICZAK, RICK                         VARIOUS                              Litigation              UNDETERMINED
        4406 WINFIELD LANE
        SEBASTOPOL, CA 95472         ACCOUNT NO.: NOT AVAILABLE


3.10079 OLEN, RICHARD                            VARIOUS                              Litigation              UNDETERMINED
        150 ROSE ST
        SAN FRANCISCO, CA 94102      ACCOUNT NO.: NOT AVAILABLE


3.10080 OLGA'S BEAUTY SALON-                     VARIOUS                              Litigation              UNDETERMINED
        GARCIA, OLGA
        221 BROADWAY ST              ACCOUNT NO.: NOT AVAILABLE
        KING CITY, CA 93930


3.10081 OLGA'S BEAUTY SALON-                     VARIOUS                              Litigation              UNDETERMINED
        GARCIA, OLGA
        221 BROADWAY ST              ACCOUNT NO.: NOT AVAILABLE
        KING CITY, CA 93930


3.10082 OLIN, MARK                               VARIOUS                              Litigation              UNDETERMINED
        26169 ATHERTON DR
        CARMEL, CA 93923             ACCOUNT NO.: NOT AVAILABLE


3.10083 OLINGER, JOEL                            VARIOUS                              Litigation              UNDETERMINED
        217 PACHECO AVENUE
        SANTA CRUZ, CA 95062         ACCOUNT NO.: NOT AVAILABLE


3.10084 OLINGER, LES                             VARIOUS                              Litigation              UNDETERMINED
        208 PEARSON ROAD
        PARADISE, CA 95969           ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                           Account Number                              Claim

Litigation & Disputes

3.10085 OLIVA, FRANCISCO/MARIA                    VARIOUS                              Litigation              UNDETERMINED
        125 N BARTON AVE
        FRESNO, CA 93702              ACCOUNT NO.: NOT AVAILABLE


3.10086 OLIVAS, NICOLE                            VARIOUS                              Litigation              UNDETERMINED
        5632 SARATOGA CIRCLE
        ROCKLIN, CA 95765             ACCOUNT NO.: NOT AVAILABLE


3.10087 OLIVE ST APT-MOODY, MARIE                 VARIOUS                              Litigation              UNDETERMINED
        2221 VISTA RODEO DR
        EL CAJON, CA 92019            ACCOUNT NO.: NOT AVAILABLE


3.10088 OLIVEIRA, GAIL                            VARIOUS                              Litigation              UNDETERMINED
        5495 5TH ST.
        KELSEYVILLE, CA 95451         ACCOUNT NO.: NOT AVAILABLE


3.10089 OLIVEIRA, LOUIS                           VARIOUS                              Litigation              UNDETERMINED
        GEYSERVILLE, CA 95441
                                      ACCOUNT NO.: NOT AVAILABLE


3.10090 OLIVER, ANTOINETTE                        VARIOUS                              Litigation              UNDETERMINED
        2958 PEACH WAY
        CLEARLAKE OAKS, CA 95423      ACCOUNT NO.: NOT AVAILABLE


3.10091 OLIVER, REGINALD                          VARIOUS                              Litigation              UNDETERMINED
        7607 INTERNATIONAL BLVD
        APT 311                       ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94621


3.10092 OLIVERAS PROP LLC                         VARIOUS                              Litigation              UNDETERMINED
        8550 ALAMO CREEK ROAD
        PO BOX 1947                   ACCOUNT NO.: NOT AVAILABLE
        SANTA MARIA, CA 93456


3.10093 OLIVERIO, DEBORAH                         VARIOUS                              Litigation              UNDETERMINED
        1919 FPRREST STREET
        BAKERSFIELD, CA 93304         ACCOUNT NO.: NOT AVAILABLE


3.10094 OLIVET MEM PARK-CACERES,                  VARIOUS                              Litigation              UNDETERMINED
        CARLOS
        1601 HILLSIDE BLVD            ACCOUNT NO.: NOT AVAILABLE
        COLMA, CA 94014


3.10095 OLKIEWICZ, JOYCE/MIKE                     VARIOUS                              Litigation              UNDETERMINED
        3400 CONCORD AVE
        BRENTWOOD, CA 94513           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.10096 OLMSTEAD, KIMBERLY                       VARIOUS                              Litigation              UNDETERMINED
        28219 FUENTES DRIVE
        PIONEER, CA 95666            ACCOUNT NO.: NOT AVAILABLE


3.10097 O'LOAN, ANDREW AND NANCY                 VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 460
        PIONEER, CA 95666            ACCOUNT NO.: NOT AVAILABLE


3.10098 OLSEN, LAUREL                            VARIOUS                              Litigation              UNDETERMINED
        491 RAQUEL CT
        LOS ALTOS, CA 94022          ACCOUNT NO.: NOT AVAILABLE


3.10099 OLSEN, MONICA                            VARIOUS                              Litigation              UNDETERMINED
        1483 CRESPI DRIVE
        PACIFICA, CA 94044           ACCOUNT NO.: NOT AVAILABLE


3.10100 OLSEN, NEIL                              VARIOUS                              Litigation              UNDETERMINED
        3161 LINNE ROAD
        PASO ROBLES, CA 93446        ACCOUNT NO.: NOT AVAILABLE


3.10101 OLSON, ALISHA                            VARIOUS                              Litigation              UNDETERMINED
        825 CHERRY WAY
        HAYWARD, CA 94541            ACCOUNT NO.: NOT AVAILABLE


3.10102 OLSON, ERIC                              VARIOUS                              Litigation              UNDETERMINED
        4168 HOWE ST
        OAKLAND, CA 94611            ACCOUNT NO.: NOT AVAILABLE


3.10103 OLSON, JASON                             VARIOUS                              Litigation              UNDETERMINED
        3140 SANTA MARGARITA AVE
        SAN JOSE, CA 95118           ACCOUNT NO.: NOT AVAILABLE


3.10104 OLSON, JO ANN                            VARIOUS                              Litigation              UNDETERMINED
        522 SHELLY DRIVE
        PLEASANT HILL, CA 94523      ACCOUNT NO.: NOT AVAILABLE


3.10105 OLSON, KEITH                             VARIOUS                              Litigation              UNDETERMINED
        PO BOX 1713
        FORT BRAGG, CA 95437         ACCOUNT NO.: NOT AVAILABLE


3.10106 OLSON, SHAUN                             VARIOUS                              Litigation              UNDETERMINED
        22649 SUMMIT ROAD
        LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.10107 OMAR, SAFIA                              VARIOUS                              Litigation              UNDETERMINED
        5007 TERNER WAY #207
        SAN JOSE, CA 95136           ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                           Account Number                              Claim

Litigation & Disputes

3.10108 OMI FRC URBAN SERVICES-                   VARIOUS                              Litigation              UNDETERMINED
        GUERRERO, MAUREEN
        103 BROAD ST                  ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94015


3.10109 ONDERICK, DANIELLE                        VARIOUS                              Litigation              UNDETERMINED
        1975 LINCOLN AVE
        SAN JOSE, CA 95125            ACCOUNT NO.: NOT AVAILABLE


3.10110 ONE STEP CLOSER                           VARIOUS                              Litigation              UNDETERMINED
        THERAPEUTIC RIDING-
        KEIRSTEAD, MARK               ACCOUNT NO.: NOT AVAILABLE
        15770 FOOTHILL AVENUE
        MORGAN HILL, CA 95037


3.10111 ONE STOP GAS-HUMASSAN,                    VARIOUS                              Litigation              UNDETERMINED
        SALEH
        938 13TH ST                   ACCOUNT NO.: NOT AVAILABLE
        RICHMOND, CA 94801


3.10112 O'NEAL, JACK                              VARIOUS                              Litigation              UNDETERMINED
        206 N VALERIE STREET
        SANTA MARIA, CA 93454         ACCOUNT NO.: NOT AVAILABLE


3.10113 ONEIL, JACQUELINE                         VARIOUS                              Litigation              UNDETERMINED
        6020 SUNSET LANE
        TILGHMAN, CA 21671            ACCOUNT NO.: NOT AVAILABLE


3.10114 O'NEIL, WILLIAM AND SUSAN                 VARIOUS                              Litigation              UNDETERMINED
        611 TEMPLETON CT
        SUNNYVALE, CA 94087           ACCOUNT NO.: NOT AVAILABLE


3.10115 O'NEILL, KATHLEEN                         VARIOUS                              Litigation              UNDETERMINED
        1840 41ST AVE
        102 223                       ACCOUNT NO.: NOT AVAILABLE
        CAPITOLA, CA 95010


3.10116 O'NEILL, MAUREEN                          VARIOUS                              Litigation              UNDETERMINED
        1421 DIAMOND MOUNTAIN ROAD
        CALISTOGA, CA 94515           ACCOUNT NO.: NOT AVAILABLE


3.10117 ONG, SARAH                                VARIOUS                              Litigation              UNDETERMINED
        1020 FOX MEADOW WAY
        CONCORD, CA 94518             ACCOUNT NO.: NOT AVAILABLE


3.10118 ONG, WILBIE                               VARIOUS                              Litigation              UNDETERMINED
        2223 HARVARD AVE, APT #102
        CLOVIS, CA 93612              ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.10119 ONGWELA, LOICE                           VARIOUS                              Litigation              UNDETERMINED
        1247 LAKESIDE DRIVE
        SUNNYVALE, CA 94085          ACCOUNT NO.: NOT AVAILABLE


3.10120 ONI SUSHI-CHOI, SOOMIN                   VARIOUS                              Litigation              UNDETERMINED
        6100 LA SALLE AVENUE
        OAKLAND, CA 94611            ACCOUNT NO.: NOT AVAILABLE


3.10121 ONISHI, STEVEN                           VARIOUS                              Litigation              UNDETERMINED
        10315 ANN ARBOR AVENUE
        CUPERTINO, CA 95014          ACCOUNT NO.: NOT AVAILABLE


3.10122 ONO GRINDZ LLC DBA GRINDZ-               VARIOUS                              Litigation              UNDETERMINED
        CARBALLO LUM, JOSEFA
        832 CLEMENT STREET           ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94118


3.10123 ONO, KELLYE                              VARIOUS                              Litigation              UNDETERMINED
        1297 FLORES ST
        SEASIDE, CA 93955            ACCOUNT NO.: NOT AVAILABLE


3.10124 ONTIVEROS, ANGELA                        VARIOUS                              Litigation              UNDETERMINED
        2239 E. WASHINGTON STREET
        STOCKTON, CA 95205           ACCOUNT NO.: NOT AVAILABLE


3.10125 ONUFRIUK, CARLOS                         VARIOUS                              Litigation              UNDETERMINED
        13822 CAPITIAN KIDD DR
        CORPUS CHRISTI, CA 78418     ACCOUNT NO.: NOT AVAILABLE


3.10126 OPEN SKY RANCH-NISLY,                    VARIOUS                              Litigation              UNDETERMINED
        NATHAN
        1652 4TH AVE                 ACCOUNT NO.: NOT AVAILABLE
        KINGSBURG, CA 93631


3.10127 OPPIDO, LUIGI                            VARIOUS                              Litigation              UNDETERMINED
        203 BERKSHIRE AVE
        SANTA CRUZ, CA 95060         ACCOUNT NO.: NOT AVAILABLE


3.10128 OPTIMAL AUTO SALES-RAHIMI,               VARIOUS                              Litigation              UNDETERMINED
        ARYANA
        3812 FLORIN RD STE 102       ACCOUNT NO.: NOT AVAILABLE
        SACRAMENTO, CA 95823


3.10129 ORAZEM, JULIA                            VARIOUS                              Litigation              UNDETERMINED
        1933 EATON AVE
        SAN CARLOS, CA 94070         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.10130 ORCIUOLI, ANTHONY                        VARIOUS                              Litigation              UNDETERMINED
        1506 W. SELBY LN.
        REDWOOD CITY, CA 94061       ACCOUNT NO.: NOT AVAILABLE


3.10131 ORDON, KRISTEN                           VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 744
        ISLETON, CA 95641            ACCOUNT NO.: NOT AVAILABLE


3.10132 ORDONIA, MICHAEL                         VARIOUS                              Litigation              UNDETERMINED
        PO BOX 691145
        STOCKTON, CA 95204           ACCOUNT NO.: NOT AVAILABLE


3.10133 O'REILLY, EILEEN                         VARIOUS                              Litigation              UNDETERMINED
        10 HERMOSA LANE
        SOUTH SAN FRANCISCO, CA      ACCOUNT NO.: NOT AVAILABLE
        94080


3.10134 ORELLANA, MARIA MEJIA                    VARIOUS                              Litigation              UNDETERMINED
        1185 MONROE STREET
        SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.10135 ORELLANA, OSCAR                          VARIOUS                              Litigation              UNDETERMINED
        128 GLEN PARK WAY
        BRISBANE, CA 94005           ACCOUNT NO.: NOT AVAILABLE


3.10136 OREM, TOM                                VARIOUS                              Litigation              UNDETERMINED
        78 ALTA VISTA
        SOLVANG, CA 93463            ACCOUNT NO.: NOT AVAILABLE


3.10137 ORINDA SENIOR VILLAGE-                   VARIOUS                              Litigation              UNDETERMINED
        HARO, TONY
        20 IRWING WAY                ACCOUNT NO.: NOT AVAILABLE
        ORINDA, CA 94563


3.10138 ORLAND APARTMENTS, DENISE                VARIOUS                              Litigation              UNDETERMINED
        HUFFORD
        819 NEWPORT AVENUE           ACCOUNT NO.: NOT AVAILABLE
        ORLAND, CA 95963


3.10139 ORLAND BOWL-CARRAO, ANDRE         VARIOUS                                     Litigation              UNDETERMINED
        507 MONTEREY ST
        ORLAND, CA 95963          ACCOUNT NO.: NOT AVAILABLE


3.10140 ORLANDELLA, VITO                         VARIOUS                              Litigation              UNDETERMINED
        39873 BEAL FIRE ROAD
        AUBERRY, CA 93602            ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address      Date Claim Was Incurred And         C U    D    Basis For    Offset    Amount of Claim
Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.10141 ORLANDO, DAN                             VARIOUS                              Litigation              UNDETERMINED
        1801 GREENCREEK DR
        SAN JOSE, CA 95124           ACCOUNT NO.: NOT AVAILABLE


3.10142 ORLANDO, LARRY                           VARIOUS                              Litigation              UNDETERMINED
        1416 BRISTLECONE CDOURT
        1280 LILAC DRIVE             ACCOUNT NO.: NOT AVAILABLE
        ARNOLD, CA 95223


3.10143 ORMONDE, RENEE                           VARIOUS                              Litigation              UNDETERMINED
        2857 SUGAR PINE CT
        SAN JOSE, CA 95121           ACCOUNT NO.: NOT AVAILABLE


3.10144 ORNDORFF, DOUGLAS                        VARIOUS                              Litigation              UNDETERMINED
        3409 BUCKNELL STREET
        BAKERSFIELD, CA 93305        ACCOUNT NO.: NOT AVAILABLE


3.10145 ORNELAS, JOE                             VARIOUS                              Litigation              UNDETERMINED
        1887 PARK CIRCLE
        MARYSVILLE, CA 95901         ACCOUNT NO.: NOT AVAILABLE


3.10146 ORNELAS, TERRY                           VARIOUS                              Litigation              UNDETERMINED
        P O BOX 621
        21200 BIG BASIN WAY          ACCOUNT NO.: NOT AVAILABLE
        BOULDER CREEK, CA 95006


3.10147 ORNELES, ABEL                            VARIOUS                              Litigation              UNDETERMINED
        547 PINEWOOD COURT
        LOS BANOS, CA 93635          ACCOUNT NO.: NOT AVAILABLE


3.10148 ORONA, KATIE                             VARIOUS                              Litigation              UNDETERMINED
        234 LARIAT ST
        POPE VALLEY, CA 94567        ACCOUNT NO.: NOT AVAILABLE


3.10149 ORONA, KATIE                             VARIOUS                              Litigation              UNDETERMINED
        234 LARIAT ST
        POPE VALLEY, CA 94567        ACCOUNT NO.: NOT AVAILABLE


3.10150 O'ROURKE, ELAINA                         VARIOUS                              Litigation              UNDETERMINED
        145 SHIVSHANEEN LANE
        P.O. BOX 383                 ACCOUNT NO.: NOT AVAILABLE
        ORLEANS, CA 95556


3.10151 OROZCO, ANDRES OMAR                      VARIOUS                              Litigation              UNDETERMINED
        799 LIANA DR
        SANTA ROSA, CA 95407         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.10152 OROZCO, JUAN                            VARIOUS                              Litigation              UNDETERMINED
        5409 MILLINGTON AVE
        BAKERSFIELD, CA 93313        ACCOUNT NO.: NOT AVAILABLE


3.10153 OROZCO, ROSENDO                         VARIOUS                              Litigation              UNDETERMINED
        PO BOX 102
        APPLEGATE, CA 95703          ACCOUNT NO.: NOT AVAILABLE


3.10154 OROZCO, VINCE                           VARIOUS                              Litigation              UNDETERMINED
        55 SAINT BRENDAN WAY
        SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.10155 ORSON, DAVID                            VARIOUS                              Litigation              UNDETERMINED
        2766 PILLSBURY CT
        LIVERMORE, CA 94550          ACCOUNT NO.: NOT AVAILABLE


3.10156 ORTEGA, BRITTANY                        VARIOUS                              Litigation              UNDETERMINED
        4449 ELM ST
        GUADALUPE, CA 93434          ACCOUNT NO.: NOT AVAILABLE


3.10157 ORTEGA, SONIA                           VARIOUS                              Litigation              UNDETERMINED
        877 WOODSIDE LANE EAST
        #8                           ACCOUNT NO.: NOT AVAILABLE
        SACRAMENTO, CA 95825


3.10158 ORTH RENTALS-ORTH, JOE                  VARIOUS                              Litigation              UNDETERMINED
        2801 OLD HIGHWAY RD
        CATHEYS VALLEY, CA 95306     ACCOUNT NO.: NOT AVAILABLE


3.10159 ORTIZ, ERIKA                            VARIOUS                              Litigation              UNDETERMINED
        4025 N FRUIT AVE, APT #213
        FRESNO, CA 93705             ACCOUNT NO.: NOT AVAILABLE


3.10160 ORTIZ, GREGORIA                         VARIOUS                              Litigation              UNDETERMINED
        4478 4TH ST
        GUADALUPE, CA 93434          ACCOUNT NO.: NOT AVAILABLE


3.10161 ORTIZ, LUIS                             VARIOUS                              Litigation              UNDETERMINED
        1003 ROOSEVELT AVE
        H                            ACCOUNT NO.: NOT AVAILABLE
        RICHMOND, CA 94801


3.10162 ORTIZ, MARBELLA                         VARIOUS                              Litigation              UNDETERMINED
        6221 E BRUNDAGE
        BAKERSFIELD, CA 93307        ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                              Claim

Litigation & Disputes

3.10163 ORTIZ, OSCAR                              VARIOUS                              Litigation              UNDETERMINED
        4515 DELTA FIAR BLVD.
        ANTIOCH, CA 94509             ACCOUNT NO.: NOT AVAILABLE


3.10164 ORWOOD RESORT INC., JOHN                  VARIOUS                              Litigation              UNDETERMINED
        CAPRIO
        P.O. BOX 579                  ACCOUNT NO.: NOT AVAILABLE
        4451 ORWOOD RD
        BRENTWOOD, CA 94513


3.10165 OSBORN, TRACEY                            VARIOUS                              Litigation              UNDETERMINED
        703 MIDDLEFIELD RD.
        SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.10166 OSBORNE, PATRICIA                         VARIOUS                              Litigation              UNDETERMINED
        1198 DRESDEN WAY
        SAN JOSE, CA 95129            ACCOUNT NO.: NOT AVAILABLE


3.10167 OSBURN, MARY                              VARIOUS                              Litigation              UNDETERMINED
        109 BLANDING COURT
        BAKERSFIELD, CA 93309         ACCOUNT NO.: NOT AVAILABLE


3.10168 OSEGUERA, MARIA                           VARIOUS                              Litigation              UNDETERMINED
        430 1ST AVE
        REDWOOD CITY, CA 94063        ACCOUNT NO.: NOT AVAILABLE


3.10169 O'SHAUGHNESSY ESTATE                      VARIOUS                              Litigation              UNDETERMINED
        WINERY-ELAM, AARON
        PO BOX 923                    ACCOUNT NO.: NOT AVAILABLE
        ANGWIN, CA 94508


3.10170 OSIKAFO, WENDY                            VARIOUS                              Litigation              UNDETERMINED
        6881 E FEDORA AVE
        FRESNO, CA 93727              ACCOUNT NO.: NOT AVAILABLE


3.10171 OSORIO, LEONARDO                          VARIOUS                              Litigation              UNDETERMINED
        564 TRINITY COURT
        DIXON, CA 95620               ACCOUNT NO.: NOT AVAILABLE


3.10172 OSTRANDER, RAMONA                         VARIOUS                              Litigation              UNDETERMINED
        33581 PONDEROSA WAY
        PAYNES CREEK, CA 96075-9714   ACCOUNT NO.: NOT AVAILABLE


3.10173 OSTROFE, GABRIANNA                        VARIOUS                              Litigation              UNDETERMINED
        3269 SILVER ST
        #4A                           ACCOUNT NO.: NOT AVAILABLE
        ANDERSON, CA 96007



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Including Zip Code                            Account Number                             Claim

Litigation & Disputes

3.10174 OSWALD, DEBORAH                           VARIOUS                              Litigation              UNDETERMINED
        2025 SCENIC DRIVE
        FORTUNA, CA 95540              ACCOUNT NO.: NOT AVAILABLE


3.10175 OSWALD, SAHAR                             VARIOUS                              Litigation              UNDETERMINED
        101 CHULA VISTA DR
        SAN RAFAEL, CA 94901           ACCOUNT NO.: NOT AVAILABLE


3.10176 OTT, GINNY                                VARIOUS                              Litigation              UNDETERMINED
        2511 COLOMA CT
        PLACERVILLE, CA 95667          ACCOUNT NO.: NOT AVAILABLE


3.10177 OTTIMO                                    VARIOUS                              Litigation              UNDETERMINED
        6525 WASHINGTON STREET D2E
        ATTN TOM KINCAIDE              ACCOUNT NO.: NOT AVAILABLE
        YOUNTVILLE, CA 94599


3.10178 OTTMANN, ANNA                             VARIOUS                              Litigation              UNDETERMINED
        6041 KINGWOOD CIRCLE
        ROCKLIN, CA 95677              ACCOUNT NO.: NOT AVAILABLE


3.10179 OTTONE, BARBARA                           VARIOUS                              Litigation              UNDETERMINED
        1140 VIA PARAISO
        SALINAS, CA 93901              ACCOUNT NO.: NOT AVAILABLE


3.10180 OUK, SAM                                  VARIOUS                              Litigation              UNDETERMINED
        WAGNER, JONES, KOPFMAN &
        ARTENIAN                       ACCOUNT NO.: NOT AVAILABLE
        1111 E HERNDON AVE #317
        AVE #317, FRESNO, CA 93720


3.10181 OUR INSURED JOHN LOPEZ,                   VARIOUS                              Litigation              UNDETERMINED
        METLIFE FOR
        PO BOX 6040                    ACCOUNT NO.: NOT AVAILABLE
        CLM# SLL17961
        SCRANTON, CA 18505


3.10182 OUR RESIDENT-                             VARIOUS                              Litigation              UNDETERMINED
        SOGHOMONIAN, VATCHE
        P O BOX 504 & 6088 MILLERTON   ACCOUNT NO.: NOT AVAILABLE
        RD
        FRIANT, CA 93626


3.10183 OUSTERMAN, ROBERTA                        VARIOUS                              Litigation              UNDETERMINED
        214 SANDRINGHAM ROAD
        PIEDMONT, CA 94611             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.10184 OUTCALT, JANET                           VARIOUS                              Litigation              UNDETERMINED
        5595 DOVER DR
        ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.10185 OUTLAND, LANCE                           VARIOUS                              Litigation              UNDETERMINED
        18185 RIDGE RD
        PINE GROVE, CA 95665         ACCOUNT NO.: NOT AVAILABLE


3.10186 OUTLAW FISHING CO, CHRIS                 VARIOUS                              Litigation              UNDETERMINED
        PARKS
        P.O. BOX 491                 ACCOUNT NO.: NOT AVAILABLE
        169 PERCY AVENUE #C
        YUBA CITY, CA 95991


3.10187 OVALLE, MOSES                            VARIOUS                              Litigation              UNDETERMINED
        20176 SAN MIGUEL AVE
        CASTRO VALLEY, CA 94546      ACCOUNT NO.: NOT AVAILABLE


3.10188 OVEN FRESH BAKERY, INC,                  VARIOUS                              Litigation              UNDETERMINED
        JUANITA CASILLAS
        23188 FOLEY STREET           ACCOUNT NO.: NOT AVAILABLE
        HAYWARD, CA 94545


3.10189 OVERFIELD, KATHERINE                     VARIOUS                              Litigation              UNDETERMINED
        133 5TH STREET
        WOODLAND, CA 95695           ACCOUNT NO.: NOT AVAILABLE


3.10190 OVERHOFF, BETHANY &                      VARIOUS                              Litigation              UNDETERMINED
        STEPHEN
        3670 RANCHO SIERRA RD        ACCOUNT NO.: NOT AVAILABLE
        314 B MAIN STREET
        WHEATLAND, CA 95692


3.10191 OVERMYER, ROBIN AND GARY                 VARIOUS                              Litigation              UNDETERMINED
        42596 AUBERRY ROAD
        AUBERRY, CA 93602            ACCOUNT NO.: NOT AVAILABLE


3.10192 OVERSTREET, J. B.                        VARIOUS                              Litigation              UNDETERMINED
        606 W. 6TH STREET
        MADERA, CA 93637             ACCOUNT NO.: NOT AVAILABLE


3.10193 OWEN, GLORIA V. PG&E                     VARIOUS                              Litigation              UNDETERMINED
        2389 RIVER BERRY DRIVE
        MANTECA, CA 95336            ACCOUNT NO.: NOT AVAILABLE


3.10194 OWEN, MIKE                               VARIOUS                              Litigation              UNDETERMINED
        7184 E CLINTON AVE
        FRESNO, CA 93737             ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.10195 OWENS, MARION                           VARIOUS                              Litigation              UNDETERMINED
        907 E 22ND ST
        OAKLAND, CA 94606           ACCOUNT NO.: NOT AVAILABLE


3.10196 OWENS, WILLIAM                          VARIOUS                              Litigation              UNDETERMINED
        505 CRESTLAKE DRIVE
        SAN FRANCISCO, CA 94132     ACCOUNT NO.: NOT AVAILABLE


3.10197 OWL & COMPANY BOOKSHOP,                 VARIOUS                              Litigation              UNDETERMINED
        MICHAEL CALVELLO
        3941 PIEDMONT AVENUE        ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94611


3.10198 OWN A CAR FRESNO-JAWAD,                 VARIOUS                              Litigation              UNDETERMINED
        MAHDE
        5788 N. BLACKSTONE AVE      ACCOUNT NO.: NOT AVAILABLE
        FRESNO, CA 93710


3.10199 OWNER-SODA, FRANK SODA                  VARIOUS                              Litigation              UNDETERMINED
        AND CHERI POMBO
        940 E BLITHEDALE AVE        ACCOUNT NO.: NOT AVAILABLE
        MILL VALEY, CA 94941


3.10200 OXBRIDGE MARKET-SHATARA,                VARIOUS                              Litigation              UNDETERMINED
        ESSA
        790 SILVER AVE              ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94134


3.10201 OXBRIDGE MARKET-SHATARA,                VARIOUS                              Litigation              UNDETERMINED
        ESSA SHATARA
        790 SILVER AVE              ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94134


3.10202 OXFORD INSTRUMENTS XRAY-                VARIOUS                              Litigation              UNDETERMINED
        BARNES, VIVEKA
        360 EL PUEBLO RD            ACCOUNT NO.: NOT AVAILABLE
        SUITE 104
        SCOTTS VALLEY, CA 95066


3.10203 OYABU, YOSHIE                           VARIOUS                              Litigation              UNDETERMINED
        4630 SIXTH ST.
        GUADALUPE, CA 93434         ACCOUNT NO.: NOT AVAILABLE


3.10204 OZUMO RESTUARANT-UMLAND,                VARIOUS                              Litigation              UNDETERMINED
        JEREMY
        161 STEUART STREET          ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94105




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Including Zip Code                           Account Number                              Claim

Litigation & Disputes

3.10205 OZVEREN, SEVAL                            VARIOUS                              Litigation              UNDETERMINED
        14901 BRONSON AVE
        SAN JOSE, CA 95124            ACCOUNT NO.: NOT AVAILABLE


3.10206 P & G'S TOM FOOLERY, LLC-                 VARIOUS                              Litigation              UNDETERMINED
        SCHLEICHER, GREG
        7 DANA POINTE COURT           ACCOUNT NO.: NOT AVAILABLE
        REDWOOD CITY, CA 94065


3.10207 P&S INVESTMENT INC-NA,                    VARIOUS                              Litigation              UNDETERMINED
        KYUNG GYUN
        1700 HALFORD AVE              ACCOUNT NO.: NOT AVAILABLE
        327
        SANTA CLARA, CA 95051


3.10208 PABLO MEJIA, CALDWELL LAW                 VARIOUS                              Litigation              UNDETERMINED
        FOR
        1010 B STREET STE 328         ACCOUNT NO.: NOT AVAILABLE
        MICHAEL CALDWELL
        SAN RAFAEL, CA 94928


3.10209 PAC BELL - AT&T, AT&T                     VARIOUS                              Litigation              UNDETERMINED
        2552 AMYS LN
        EL DORADO HILLS, CA           ACCOUNT NO.: NOT AVAILABLE


3.10210 PAC BELL-AT&T, AT&T                       VARIOUS                              Litigation              UNDETERMINED
        4044 MING AVE
        BAKERSFIELD, CA               ACCOUNT NO.: NOT AVAILABLE


3.10211 PAC STAR INSURANCE                        VARIOUS                              Litigation              UNDETERMINED
        COMPANY, JUAN LOPEZ
        P.O. BOX 50920 SAN DIEGO,     ACCOUNT NO.: NOT AVAILABLE
        92150
        SAN DIEGO, CA 92150-9020


3.10212 PACB-CN-201503-OW-0128-SCJ,               VARIOUS                              Litigation              UNDETERMINED
        AT&T-PAC BELL
        1050 PIPER DRIVE              ACCOUNT NO.: NOT AVAILABLE
        VACAVILLE, CA


3.10213 PACB-CN-201505-OW-0076-SCJ,               VARIOUS                              Litigation              UNDETERMINED
        AT&T-PAC BELL
        4416 JEFFERSON ST             ACCOUNT NO.: NOT AVAILABLE
        NAPA, CA




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Including Zip Code                            Account Number                            Claim

Litigation & Disputes

3.10214 PACB-CN-201511-OW-0050-SCJ,              VARIOUS                              Litigation              UNDETERMINED
        ATT PACBELL PACB-CN-201511-
        OW-0050-SCJ                    ACCOUNT NO.: NOT AVAILABLE
        909 CHESTNUT ST
        MATTHEWS DRIVE & ST CLAIR
        DR, CHICO CA
        SAINT LOUIS, CA 63101


3.10215 PACB-CN-201511-OW-0062-SCJ,              VARIOUS                              Litigation              UNDETERMINED
        ATT PAC BELL PACB-CN-201511-
        OW-0062-SCJ                    ACCOUNT NO.: NOT AVAILABLE
        909 CHESTNUT ST
        5507 PORTOLA CIR, ROCKLIN CA
        SAINT LOUIS, CA 63101


3.10216 PACB-CN-201512-ALBRAE ST,                VARIOUS                              Litigation              UNDETERMINED
        AT&T-PACBELL
        42305 ALBRAE ST                ACCOUNT NO.: NOT AVAILABLE
        FREMONT, CA


3.10217 PACB-CN-201602-OJ-0045-KLE,              VARIOUS                              Litigation              UNDETERMINED
        AT&T PACBELL
        99 PALM                        ACCOUNT NO.: NOT AVAILABLE
        UNION CITY, CA


3.10218 PACB-CN-201708-OW-0067-WFB,              VARIOUS                              Litigation              UNDETERMINED
        AT&T
        1010 PINE 6W-P-02              ACCOUNT NO.: NOT AVAILABLE
        10 HOWTH, SAN FRANCISCO
        ST LOUIS, CA 63101


3.10219 PACE, ROBERT                             VARIOUS                              Litigation              UNDETERMINED
        1693 E LEXINGTON AVE
        FRESNO, CA 93720               ACCOUNT NO.: NOT AVAILABLE


3.10220 PACER PHYSICAL THERAPY                   VARIOUS                              Litigation              UNDETERMINED
        INC.-BAJADA, TANIA
        2255 YGNACIO VALLEY RD.,       ACCOUNT NO.: NOT AVAILABLE
        STE.E
        WALNUT CREEK, CA 94598


3.10221 PACHEACO, JEANNIE                        VARIOUS                              Litigation              UNDETERMINED
        374 BARTLETT AVE
        HAYWARD, CA 94541              ACCOUNT NO.: NOT AVAILABLE


3.10222 PACHECO CHEVRON-                         VARIOUS                              Litigation              UNDETERMINED
        WINDECKER, BRETT
        PO BOX 271                     ACCOUNT NO.: NOT AVAILABLE
        LOS BANOS, CA 93635




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Including Zip Code                             Account Number                            Claim

Litigation & Disputes

3.10223 PACHECO, CARLOS                           VARIOUS                              Litigation              UNDETERMINED
        1101 S. BROADWAY
        SANTA MARIA, CA 93454           ACCOUNT NO.: NOT AVAILABLE


3.10224 PACHECO, JOE                              VARIOUS                              Litigation              UNDETERMINED
        16025 6 1/2 AVENUE
        HANFORD, CA 93230               ACCOUNT NO.: NOT AVAILABLE


3.10225 PACHECO, PATRICIA                         VARIOUS                              Litigation              UNDETERMINED
        988 MARINA DR
        NAPA, CA 94559                  ACCOUNT NO.: NOT AVAILABLE


3.10226 PACIFIC AUTO TRANSPORT-                   VARIOUS                              Litigation              UNDETERMINED
        WINEGAR, BEN
        1444 EL PINAL DR                ACCOUNT NO.: NOT AVAILABLE
        STOCKTON, CA 95205


3.10227 PACIFIC COMPENSATION INS.                 VARIOUS                              Litigation              UNDETERMINED
        CO. 48522-RAPER SR., INJ
        PARTY IS DAVID                  ACCOUNT NO.: NOT AVAILABLE
        P.O. BOX 5042
        THOUSAND OAKS, CA 91359


3.10228 PACIFIC DIE INDUSTRIES, ANITA             VARIOUS                              Litigation              UNDETERMINED
        LEDESMA
        3399 ARDEN ROAD                 ACCOUNT NO.: NOT AVAILABLE
        HAYWARD, CA 94545


3.10229 PACIFIC GAS & ELECTRIC-                   VARIOUS                              Litigation              UNDETERMINED
        ARRIGONI, TRUDY
        615 ACACIA WAY                  ACCOUNT NO.: NOT AVAILABLE
        WOODLAND, CA 95695


3.10230 PACIFIC HOUSE SEAFOOD AND                 VARIOUS                              Litigation              UNDETERMINED
        MARKET-PIRL, VERONICA
        PO BOX 733                      ACCOUNT NO.: NOT AVAILABLE
        SAN JUAN BAUTISTA, CA 95045


3.10231 PACIFIC PARTNERS PROPERTY                 VARIOUS                              Litigation              UNDETERMINED
        MGT. INC.
        PO BOX 31                       ACCOUNT NO.: NOT AVAILABLE
        1270 MOXON
        EUREKA, CA 95502


3.10232 PACIFIC PETROLEUM,                        VARIOUS                              Litigation              UNDETERMINED
        MOHAMMAD KHAN
        1499 MARKET STREET              ACCOUNT NO.: NOT AVAILABLE
        YUBA CITY, CA 95991



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Litigation & Disputes

3.10233 PACIFIC RANCH                           VARIOUS                              Litigation              UNDETERMINED
        SUPERMARKET, SOVANNA
        YORN                        ACCOUNT NO.: NOT AVAILABLE
        15833 CHANNEL ST.
        SAN LORENZO, CA 94580


3.10234 PACIFIC RESTAURANT/ATTY                 VARIOUS                              Litigation              UNDETERMINED
        REP, C/O PAUL WONG
        6356 MISSION STREET         ACCOUNT NO.: NOT AVAILABLE
        DALY CITY, CA 94014


3.10235 PACIFIC SPECIALTY INS CO.               VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 5
        MUNCIE, CA 47308            ACCOUNT NO.: NOT AVAILABLE


3.10236 PACIFICA PIZZA INC., JEFF               VARIOUS                              Litigation              UNDETERMINED
        CROMER
        915 FIRST STREET            ACCOUNT NO.: NOT AVAILABLE
        1332 LINCOLN RD, EAST
        VALLEJO
        BENICIA, CA 94510


3.10237 PACIFICIA PIZZA INC, JEFF               VARIOUS                              Litigation              UNDETERMINED
        CROMER
        915 FIRST STREET            ACCOUNT NO.: NOT AVAILABLE
        1332 LINCOLN ROAD, EAST
        VALLEJO
        BENICIA, CA 94510


3.10238 PACIFICO, PAUL                          VARIOUS                              Litigation              UNDETERMINED
        2479 CABRILLO CT
        HWY 43                      ACCOUNT NO.: NOT AVAILABLE
        HANFORD, CA 93230


3.10239 PACO'S TRUCK REPAIR-                    VARIOUS                              Litigation              UNDETERMINED
        VALADEZ, FRANCISCO
        514 BELLE TERRACE           ACCOUNT NO.: NOT AVAILABLE
        BAKERSFIELD, CA 93307


3.10240 PACOS, JOELLE                           VARIOUS                              Litigation              UNDETERMINED
        2213 REEF CT
        DISCOVERY BAY, CA 94505     ACCOUNT NO.: NOT AVAILABLE


3.10241 PADARATH, RAJINESH                      VARIOUS                              Litigation              UNDETERMINED
        527 SCOTT AVE
        REDWOOD CITY, CA 94063      ACCOUNT NO.: NOT AVAILABLE


3.10242 PADDOCK, ELIZABETH                      VARIOUS                              Litigation              UNDETERMINED
        2613 NEW LONG VALLEY ROAD
        CLEARLAKE OAKS, CA 95423    ACCOUNT NO.: NOT AVAILABLE

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Litigation & Disputes

3.10243 PADGETT, CHARLES                          VARIOUS                              Litigation              UNDETERMINED
        27095 ANTELOPE DRIVE
        PIONEER, CA 95666             ACCOUNT NO.: NOT AVAILABLE


3.10244 PADILLA GOMEZ, ROSALVA                    VARIOUS                              Litigation              UNDETERMINED
        2642 22ND AVE
        OAKLAND, CA 94606             ACCOUNT NO.: NOT AVAILABLE


3.10245 PADILLA, AURELIA                          VARIOUS                              Litigation              UNDETERMINED
        4154 N BENGSTON AVE
        FRESNO, CA 93705              ACCOUNT NO.: NOT AVAILABLE


3.10246 PADILLA, CLAUDIA                          VARIOUS                              Litigation              UNDETERMINED
        1325 RAMONA AVENUE
        SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.10247 PADILLA, JOSE                             VARIOUS                              Litigation              UNDETERMINED
        2451 JASPER STREET
        SELMA, CA 93662               ACCOUNT NO.: NOT AVAILABLE


3.10248 PADILLA, JUAN JOSE                        VARIOUS                              Litigation              UNDETERMINED
        5200 CREST ROAD, SPC 12
        ATWATER, CA 95301             ACCOUNT NO.: NOT AVAILABLE


3.10249 PADILLA, JUDITH                           VARIOUS                              Litigation              UNDETERMINED
        3400 DRIVEWAY ROAD
        PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.10250 PADILLA, JUSTIN                           VARIOUS                              Litigation              UNDETERMINED
        2711 BONNIEBROOK DR
        STOCKTON, CA 95207            ACCOUNT NO.: NOT AVAILABLE


3.10251 PADILLA, MANUEL                           VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 1697
        SAN LEANDRO, CA 94601         ACCOUNT NO.: NOT AVAILABLE


3.10252 PADILLA, MARTIN                           VARIOUS                              Litigation              UNDETERMINED
        2076 HALL CIRCLE
        LIVERMORE, CA 94550           ACCOUNT NO.: NOT AVAILABLE


3.10253 PADILLA, RICHARD                          VARIOUS                              Litigation              UNDETERMINED
        3257 ROHRER DRIVE
        LAFAYETTE, CA 94549           ACCOUNT NO.: NOT AVAILABLE


3.10254 PADILLA, ROCHELLE                         VARIOUS                              Litigation              UNDETERMINED
        1116 DE SOLO DR
        PACIFICA, CA 94044            ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.10255 PADILLA, SOLIDAD                         VARIOUS                              Litigation              UNDETERMINED
        5236 MCCOY AVE
        EMPIRE, CA 95319             ACCOUNT NO.: NOT AVAILABLE


3.10256 PADUA, CORINNE                           VARIOUS                              Litigation              UNDETERMINED
        3830 QUINTARA STREET
        SAN FRANCISCO, CA 94116      ACCOUNT NO.: NOT AVAILABLE


3.10257 PADUANO, DANIEL                          VARIOUS                              Litigation              UNDETERMINED
        25015 MOUNTAIN CHARLIE
        ROAD                         ACCOUNT NO.: NOT AVAILABLE
        LOS GATOS, CA 95033


3.10258 PAGANI, DIANE                            VARIOUS                              Litigation              UNDETERMINED
        22140 CEDAR SPRINGS RD
        TWAIN HARTE, CA 95383        ACCOUNT NO.: NOT AVAILABLE


3.10259 PAGE, BEATRICE                           VARIOUS                              Litigation              UNDETERMINED
        1401 TOWHEE LN
        PARADISE, CA 95969           ACCOUNT NO.: NOT AVAILABLE


3.10260 PAINTER, SUZANNE                         VARIOUS                              Litigation              UNDETERMINED
        4504 INDEPENDENCE RD.
        MOKELUMNE HILL, CA 95245     ACCOUNT NO.: NOT AVAILABLE


3.10261 PAK, CHRISTOPHER                         VARIOUS                              Litigation              UNDETERMINED
        109 MUSTANG DR #306
        SAN LUIS OBISPO, CA 93405    ACCOUNT NO.: NOT AVAILABLE


3.10262 PAK, HONG                                VARIOUS                              Litigation              UNDETERMINED
        353 THRID STREET
        SAN RAFAEL, CA 94901         ACCOUNT NO.: NOT AVAILABLE


3.10263 PAKHOMOVA, JOSEPH AND                    VARIOUS                              Litigation              UNDETERMINED
        ANASTASIA
        1200 MAYWOOD LANE            ACCOUNT NO.: NOT AVAILABLE
        MARTINEZ, CA 94553


3.10264 PALACIOS, BEATRIZ                        VARIOUS                              Litigation              UNDETERMINED
        1402 3RD STREET
        CALISTOGA, CA 94515          ACCOUNT NO.: NOT AVAILABLE


3.10265 PALAFOX, BLAS                            VARIOUS                              Litigation              UNDETERMINED
        1224 STEPHANIE STREET
        SELMA, CA 93662              ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.10266 PALM PLACE INVESTMENTS                    VARIOUS                              Litigation              UNDETERMINED
        LLC, MIKE FILLEBROWN
        265 E RIVERPARK CIRCLE,       ACCOUNT NO.: NOT AVAILABLE
        SUITE #310
        FRESNO, CA 93720


3.10267 PALMA, HEATHER                            VARIOUS                              Litigation              UNDETERMINED
        1749 W BELLAIRE WAY
        FRESNO, CA 93705              ACCOUNT NO.: NOT AVAILABLE


3.10268 PALMAS, YSRAEL                            VARIOUS                              Litigation              UNDETERMINED
        C/O STATE COMP INS.-
        P.O. BOX 28917                ACCOUNT NO.: NOT AVAILABLE
        FRESNO, CA 93729


3.10269 PALMER, ALAN                              VARIOUS                              Litigation              UNDETERMINED
        PO BOX 132
        WOODACRE, CA 94973            ACCOUNT NO.: NOT AVAILABLE


3.10270 PALMER, BRITTNEY                          VARIOUS                              Litigation              UNDETERMINED
        316 TENNESSEE AVE
        MILL VALLEY, CA 94941         ACCOUNT NO.: NOT AVAILABLE


3.10271 PALMER, CHAROLETTE                        VARIOUS                              Litigation              UNDETERMINED
        14584 MARTI LANE
        REDDING, CA 96003             ACCOUNT NO.: NOT AVAILABLE


3.10272 PALMER, DEBORAH                           VARIOUS                              Litigation              UNDETERMINED
        7195 LANGLEY CYN RD
        SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.10273 PALMER, FRANKIE                           VARIOUS                              Litigation              UNDETERMINED
        96 LAUREL DR.
        FAIRFAX, CA 94930             ACCOUNT NO.: NOT AVAILABLE


3.10274 PALMER, FRANKIE                           VARIOUS                              Litigation              UNDETERMINED
        96 LAUREL DR.
        FAIRFAX, CA 94930             ACCOUNT NO.: NOT AVAILABLE


3.10275 PALMER, JOHN                              VARIOUS                              Litigation              UNDETERMINED
        750 TRINITY ROAD
        GLEN ELLEN, CA 95442          ACCOUNT NO.: NOT AVAILABLE


3.10276 PALMER, PAMELA                            VARIOUS                              Litigation              UNDETERMINED
        5221 REVERE RD
        MONTEREY, CA 93940            ACCOUNT NO.: NOT AVAILABLE




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 Including Zip Code                                   Account Number                           Claim

Litigation & Disputes

3.10277 PALOMARES, OSCAR                                VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 276
        KING CITY, CA 93930                    ACCOUNT NO.: NOT AVAILABLE


3.10278 PAMINTUAN, HERMINIO                             VARIOUS                              Litigation              UNDETERMINED
        7527 KILDEER WAY
        ELK GROVE, CA 95758                    ACCOUNT NO.: NOT AVAILABLE


3.10279 PANAS, SUSAN                                    VARIOUS                              Litigation              UNDETERMINED
        1400 HOLLMAN LANE
        SEBASTOPOL, CA 95472                   ACCOUNT NO.: NOT AVAILABLE


3.10280 PANCAKE CORPORATION-                            VARIOUS                              Litigation              UNDETERMINED
        HOLER, DANIEL
        998 S. DE ANZA BLVD                    ACCOUNT NO.: NOT AVAILABLE
        SAN JOSE, CA 95129


3.10281 Panchev, Nick; Holcroft, Shirley;               VARIOUS                              Litigation              UNDETERMINED
        Cabrera, Sam V.; Vinson, Barbara
        A.; Vinson, Lloyd K; Bolin, Carolyn;   ACCOUNT NO.: NOT AVAILABLE
        Bolin, William; Brown, Ronald W.;
        Brown, Sandra L.; Matthiesen,
        Charles; Mathiesen, Matsue;
        Carrera, Agustin; Carrer, Maritza;
        Corby, Noel; Courtney, C
        Panchev, Nick
        25633 Anderson Avenue
        Bartstow, CA 92311


3.10282 Panchev, Nick; Holcroft, Shirley;               VARIOUS                              Litigation              UNDETERMINED
        Cabrera, Sam V.; Vinson, Barbara
        A.; Vinson, Lloyd K; Bolin, Carolyn;   ACCOUNT NO.: NOT AVAILABLE
        Bolin, William; Brown, Ronald W.;
        Brown, Sandra L.; Matthiesen,
        Charles; Mathiesen, Matsue;
        Carrera, Agustin; Carrer, Maritza;
        Corby, Noel; Courtney, C
        Panchev, Nick
        25633 Anderson Avenue
        Bartstow, CA 92311


3.10283 PANEK, ANN                                      VARIOUS                              Litigation              UNDETERMINED
        2508 OVERHILL LANE
        DAVIS, CA                              ACCOUNT NO.: NOT AVAILABLE


3.10284 PANELLA TRUCKING-PANELLA,                       VARIOUS                              Litigation              UNDETERMINED
        BOB
        5000 E FREMONT STREET                  ACCOUNT NO.: NOT AVAILABLE
        STOCKTON, CA 95215




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.10285 PANEZIC, PAMELA                          VARIOUS                              Litigation              UNDETERMINED
        4040 FERNWOOD ST
        SAN MATEO, CA 94403          ACCOUNT NO.: NOT AVAILABLE


3.10286 PANG, ASHLEY                             VARIOUS                              Litigation              UNDETERMINED
        PO BOX 12003
        SANTA ROSA, CA 95406         ACCOUNT NO.: NOT AVAILABLE


3.10287 PANG, WILLIAM                            VARIOUS                              Litigation              UNDETERMINED
        1047 MONTEREY BLVD
        SAN FRANCISCO, CA 94127      ACCOUNT NO.: NOT AVAILABLE


3.10288 PANGILINAN, TERESA                       VARIOUS                              Litigation              UNDETERMINED
        112 BAYVIEW DRIVE
        S SAN FRANCISCO, CA 94080    ACCOUNT NO.: NOT AVAILABLE


3.10289 PANNA LLC DBA PIZZERIA                   VARIOUS                              Litigation              UNDETERMINED
        DELFINA-MURAKAMI, LIZ
        1444 BURLINGAME AVE          ACCOUNT NO.: NOT AVAILABLE
        BURLINGAME, CA 94010


3.10290 PANORAMIC INTERESTS-KE,                  VARIOUS                              Litigation              UNDETERMINED
        YUHAN
        1321 MISSION STREET          ACCOUNT NO.: NOT AVAILABLE
        STE. 101
        SAN FRANCISCO, CA 94103


3.10291 PANOS, RYAN                              VARIOUS                              Litigation              UNDETERMINED
        219 LYNDHURST PL
        SAN RAMON, CA 94583          ACCOUNT NO.: NOT AVAILABLE


3.10292 PANTEJO, CARL                            VARIOUS                              Litigation              UNDETERMINED
        5 S. 37TH STREET
        RICHMOND, CA 94804           ACCOUNT NO.: NOT AVAILABLE


3.10293 PANTOJA, JOSE                            VARIOUS                              Litigation              UNDETERMINED
        2173 SAN MIGUEL CANYON RD
        SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.10294 PAPA MURPHY'S-SINGH,                     VARIOUS                              Litigation              UNDETERMINED
        JASWANT
        1799 BAY COURT               ACCOUNT NO.: NOT AVAILABLE
        YUBA CITY, CA 95993


3.10295 PAPALE, RUDOLPH                          VARIOUS                              Litigation              UNDETERMINED
        2683 CHABLEIS CT
        SAINT HELENA, CA 94574       ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.10296 PAPAS, PETER                            VARIOUS                              Litigation              UNDETERMINED
        465 FAWN DRIVE
        SAN ANSELMO, CA             ACCOUNT NO.: NOT AVAILABLE


3.10297 PAPAZIAN, CHRISTOPHER                   VARIOUS                              Litigation              UNDETERMINED
        2115 ROOSEVELT AVE
        BURLINGAME, CA 94010        ACCOUNT NO.: NOT AVAILABLE


3.10298 PAPE, ZAC                               VARIOUS                              Litigation              UNDETERMINED
        PO BOX 193452
        SAN FRANCISCO, CA 94119     ACCOUNT NO.: NOT AVAILABLE


3.10299 PAPINEAU, GABRIELLE                     VARIOUS                              Litigation              UNDETERMINED
        26800 HWY 9
        BOULDER CREEK, CA 95006     ACCOUNT NO.: NOT AVAILABLE


3.10300 PAPINI, ANNETTE                         VARIOUS                              Litigation              UNDETERMINED
        PO BOX 2006
        BRENTWOOD, CA 94513         ACCOUNT NO.: NOT AVAILABLE


3.10301 PAPPANI, ROBERT                         VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 246
        PEBBLE BEACH, CA 93953      ACCOUNT NO.: NOT AVAILABLE


3.10302 PAPPAS, REBECCA                         VARIOUS                              Litigation              UNDETERMINED
        75 TURTLE CREEK STREET
        OAKLAND, CA 94605           ACCOUNT NO.: NOT AVAILABLE


3.10303 PAQUET, CHRISTIAN                       VARIOUS                              Litigation              UNDETERMINED
        3622 WARNER DRIVE
        SAN JOSE, CA 95127          ACCOUNT NO.: NOT AVAILABLE


3.10304 PARADELA, JOHN                          VARIOUS                              Litigation              UNDETERMINED
        5390 SCOTTWOOD RD
        PARADISE, CA 95969          ACCOUNT NO.: NOT AVAILABLE


3.10305 PARAGON SUBRO SVCS -                    VARIOUS                              Litigation              UNDETERMINED
        BOBROFF, DIMITRY
        PO BOX 3757                 ACCOUNT NO.: NOT AVAILABLE
        CHATSWORTH, CA 91313


3.10306 PARAGON SUBROGATION                     VARIOUS                              Litigation              UNDETERMINED
        SERVICE ON, FOR ALLSTATE
        P.O. BOX 280519             ACCOUNT NO.: NOT AVAILABLE
        NORTHRIDGE, CA 913281328




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Litigation & Disputes

3.10307 PARAGON SUBROGATION                      VARIOUS                              Litigation              UNDETERMINED
        SERVICES, INC., CALIFORNA
        STATE AUTO ASSOCIATION       ACCOUNT NO.: NOT AVAILABLE
        P.O. BOX 3757
        CHATSWORTH, CA 91313-3757


3.10308 PARANJAPE, RAJESH V. PG&E                VARIOUS                              Litigation              UNDETERMINED
        RICHARD A. HOYER
        4 EMBARCADERO CENTER,        ACCOUNT NO.: NOT AVAILABLE
        SUITE 1400
        SAN FRANCISCO, CA 94111


3.10309 PARDINI, JULIE                           VARIOUS                              Litigation              UNDETERMINED
        7901 FELIZ CREEK DRIVE
        UKIAH, CA 95482              ACCOUNT NO.: NOT AVAILABLE


3.10310 PARENT, PETER                            VARIOUS                              Litigation              UNDETERMINED
        249 CREST ROAD
        NOVATO, CA 94945             ACCOUNT NO.: NOT AVAILABLE


3.10311 PARHAM, AMY                              VARIOUS                              Litigation              UNDETERMINED
        128 HILLBROOK DRIVE
        LOS GATOS, CA 95032          ACCOUNT NO.: NOT AVAILABLE


3.10312 PARIK, NEERAJ                            VARIOUS                              Litigation              UNDETERMINED
        1135 PEMBRIDGE DR
        SAN JOSE, CA 95118           ACCOUNT NO.: NOT AVAILABLE


3.10313 PARIS BAKERY CORPORATION,                VARIOUS                              Litigation              UNDETERMINED
        BORGES, VIVANNE
        1232 BROADWAY AVE            ACCOUNT NO.: NOT AVAILABLE
        SEASIDE, CA 93955


3.10314 PARIS, BLAIR                             VARIOUS                              Litigation              UNDETERMINED
        1012 RANDALL STREET
        RIDGECREST, CA 93555         ACCOUNT NO.: NOT AVAILABLE


3.10315 PARIS, TAMI                              VARIOUS                              Litigation              UNDETERMINED
        20466 MISTY LANE
        TUOLUMNE, CA 95379           ACCOUNT NO.: NOT AVAILABLE


3.10316 PARISH, ROBERT                           VARIOUS                              Litigation              UNDETERMINED
        18390 CASTLE HILL DRIVE
        MORGAN HILL, CA 95037        ACCOUNT NO.: NOT AVAILABLE


3.10317 PARK AVENUE TURF, INC.-                  VARIOUS                              Litigation              UNDETERMINED
        STRUNK, MICHAEL
        P.O. BOX 2198                ACCOUNT NO.: NOT AVAILABLE
        SEBASTOPOL, CA 95473

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Litigation & Disputes

3.10318 PARK LLC, TEADERMAN                      VARIOUS                              Litigation              UNDETERMINED
        BUSINESS
        221 DEVLIN ROAD              ACCOUNT NO.: NOT AVAILABLE
        NAPA, CA 94558


3.10319 PARK TOWER OWNER, LLC                    VARIOUS                              Litigation              UNDETERMINED
        3 EMBARCADERO CENTER
        SAN FRANCISCO, CA 94111      ACCOUNT NO.: NOT AVAILABLE


3.10320 PARK, ALISSA                             VARIOUS                              Litigation              UNDETERMINED
        37 FARM RD
        LOS ALTOS, CA 94024          ACCOUNT NO.: NOT AVAILABLE


3.10321 PARK, ALLEN                              VARIOUS                              Litigation              UNDETERMINED
        1433 TORRINGTON CT
        SAN JOSE, CA 95120           ACCOUNT NO.: NOT AVAILABLE


3.10322 PARK, ANJIE                              VARIOUS                              Litigation              UNDETERMINED
        10 CACHUMA VILLAGE
        SANTA BARBARA, CA 93105      ACCOUNT NO.: NOT AVAILABLE


3.10323 PARK, EDDIE                              VARIOUS                              Litigation              UNDETERMINED
        835 FOERSTER ST
        SAN FRANCISCO, CA 94127      ACCOUNT NO.: NOT AVAILABLE


3.10324 PARK, RENEE                              VARIOUS                              Litigation              UNDETERMINED
        410 KAREN CT
        MARINA, CA 93933             ACCOUNT NO.: NOT AVAILABLE


3.10325 PARKER COMPANY, WU MU LI                 VARIOUS                              Litigation              UNDETERMINED
        956 GRANT AVENUE
        SAN FRANCISCO, CA 94108      ACCOUNT NO.: NOT AVAILABLE


3.10326 PARKER STANBURY LLP, ANGIE               VARIOUS                              Litigation              UNDETERMINED
        MAUGHLIN
        19408 FERRETTI ROAD          ACCOUNT NO.: NOT AVAILABLE
        LOS ANGELES, CA 95321


3.10327 PARKER, ANGIE                            VARIOUS                              Litigation              UNDETERMINED
        3864 KINGBIRD LN
        CAMINO, CA 95709             ACCOUNT NO.: NOT AVAILABLE


3.10328 PARKER, CHARLES                          VARIOUS                              Litigation              UNDETERMINED
        19012 BEATRICE DRIVE
        SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.10329 PARKER, DAVID                            VARIOUS                              Litigation              UNDETERMINED
        20160 ROCK SPRINGS LN
        AROMAS, CA 95004             ACCOUNT NO.: NOT AVAILABLE


3.10330 PARKER, DONNA                            VARIOUS                              Litigation              UNDETERMINED
        29347 BURROUGH NORTH RD
        TOLLHOUSE, CA 93667          ACCOUNT NO.: NOT AVAILABLE


3.10331 PARKER, GEORGE                           VARIOUS                              Litigation              UNDETERMINED
        29665 WILDCAT RD
        PAYNES CREEK, CA 96075       ACCOUNT NO.: NOT AVAILABLE


3.10332 PARKER, GLORIA                           VARIOUS                              Litigation              UNDETERMINED
        6450 EAGLE RIDGE DR
        VALLEJO, CA 94591            ACCOUNT NO.: NOT AVAILABLE


3.10333 PARKER, JACLYN                           VARIOUS                              Litigation              UNDETERMINED
        820 GOLDEN POND DRIVE
        MANTECA, CA 95336            ACCOUNT NO.: NOT AVAILABLE


3.10334 PARKER, JEFFREY                          VARIOUS                              Litigation              UNDETERMINED
        303 BLCOK AVENUE
        SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.10335 PARKER, JESSICA                          VARIOUS                              Litigation              UNDETERMINED
        6280 BAYWOOD CRT
        FORESTHILL, CA 95631         ACCOUNT NO.: NOT AVAILABLE


3.10336 PARKER, NANCIE                           VARIOUS                              Litigation              UNDETERMINED
        581 TYNER WAY
        INCLINE VILLAGE, CA 89451    ACCOUNT NO.: NOT AVAILABLE


3.10337 PARKER, PATRICIA                         VARIOUS                              Litigation              UNDETERMINED
        3937 LIGHTHOUSE PL
        DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.10338 PARKER, RANDALL                          VARIOUS                              Litigation              UNDETERMINED
        7755 CARRISA HWY
        SANTA MARGARITA, CA 93453    ACCOUNT NO.: NOT AVAILABLE


3.10339 PARKER, SALLIE                           VARIOUS                              Litigation              UNDETERMINED
        3720 N. MARKS AVE. # 104C
        FRESNO, CA 93722             ACCOUNT NO.: NOT AVAILABLE


3.10340 PARKHURST, PETER                         VARIOUS                              Litigation              UNDETERMINED
        11201 TYLER FOOTE ROAD
        NEVADA CITY, CA 95959        ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.10341 PARKING AUTHORITY CITY OF                VARIOUS                              Litigation              UNDETERMINED
        CAMDEN-HUNTER, WILLIE
        10 DELAWARE AVE              ACCOUNT NO.: NOT AVAILABLE
        CAMDEN, CA 08102


3.10342 PARKINSON, SYLVIA                        VARIOUS                              Litigation              UNDETERMINED
        3747 HENNESSY PLACE
        SANTA ROSA, CA 95403         ACCOUNT NO.: NOT AVAILABLE


3.10343 PARKLANE CLEANERS, ROLAN                 VARIOUS                              Litigation              UNDETERMINED
        NOGHLI
        1262 LAHROP ROAD             ACCOUNT NO.: NOT AVAILABLE
        MANTECA, CA 95336


3.10344 PARKS, DAVE & TERRI                      VARIOUS                              Litigation              UNDETERMINED
        15870 GANIM LANE
        REDDING, CA 96001            ACCOUNT NO.: NOT AVAILABLE


3.10345 PARKS, DOMINIQUE                         VARIOUS                              Litigation              UNDETERMINED
        2342 NORTH MAIN ST
        42F                          ACCOUNT NO.: NOT AVAILABLE
        SALINAS, CA 93906


3.10346 PARKS, GEORGE & MARLENE                  VARIOUS                              Litigation              UNDETERMINED
        6069 GREENLEAF LN.
        FORESTHILL, CA 95631         ACCOUNT NO.: NOT AVAILABLE


3.10347 PARKS, MICHAEL                           VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 4256
        GEORGETOWN, CA 95634         ACCOUNT NO.: NOT AVAILABLE


3.10348 PARMA, FLOYD                             VARIOUS                              Litigation              UNDETERMINED
        251 WICKLOW DRIVE
        SOUTH SAN FRANCISCO, CA      ACCOUNT NO.: NOT AVAILABLE
        94080


3.10349 PARRA, MIGUEL                            VARIOUS                              Litigation              UNDETERMINED
        18840 VIERRA CYN RD
        SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.10350 PARRAS, ROBERT                           VARIOUS                              Litigation              UNDETERMINED
        749 POPE DR. APT. A
        VALLEJO, CA 94591            ACCOUNT NO.: NOT AVAILABLE


3.10351 PARRETT, KEITH                           VARIOUS                              Litigation              UNDETERMINED
        435 ELLISA LANE
        BRENTWOOD, CA 94513          ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.10352 PARRISH, DAVID                            VARIOUS                              Litigation              UNDETERMINED
        3590 ADELAIDA RD
        PASO ROBLES, CA 93446         ACCOUNT NO.: NOT AVAILABLE


3.10353 PARRISH, RICHARD                          VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 1125
        PEBBLE BEACH, CA 93953        ACCOUNT NO.: NOT AVAILABLE


3.10354 PARRISH, SHIRLEY                          VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 1366
        HOOPA, CA 95546               ACCOUNT NO.: NOT AVAILABLE


3.10355 PARROTT, MELISSA                          VARIOUS                              Litigation              UNDETERMINED
        7201 CAMINO COLEGIO
        ROHNERT PARK, CA 94928        ACCOUNT NO.: NOT AVAILABLE


3.10356 PARSONS, JESSE & JULIE                    VARIOUS                              Litigation              UNDETERMINED
        P.O BOX 2137
        2500 NEWTON ROAD              ACCOUNT NO.: NOT AVAILABLE
        WEOTT, CA 95571


3.10357 PARTEN, BRIAN                             VARIOUS                              Litigation              UNDETERMINED
        1557 BRUCE DR,
        A                             ACCOUNT NO.: NOT AVAILABLE
        ANDERSON, CA 96007


3.10358 PARTIDOS, JIM                             VARIOUS                              Litigation              UNDETERMINED
        10841 BIRCHVILLE RD
        NEVADA CITY, CA 95959         ACCOUNT NO.: NOT AVAILABLE


3.10359 PARTIDOS, JIM & SHAROL                    VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 346
        NORTH SAN JUAN, CA 95960      ACCOUNT NO.: NOT AVAILABLE


3.10360 PARYSEK, SHIRLEY                          VARIOUS                              Litigation              UNDETERMINED
        2561 GLENVIEW DR
        HOLLISTER, CA 95023           ACCOUNT NO.: NOT AVAILABLE


3.10361 PASCOE, MARY                              VARIOUS                              Litigation              UNDETERMINED
        3065 HOSTETTER RD
        SAN JOSE, CA 95132            ACCOUNT NO.: NOT AVAILABLE


3.10362 PASCUAL, JANAYE                           VARIOUS                              Litigation              UNDETERMINED
        1019 WALNUT STREET
        OAKDALE, CA 95361             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                            Account Number                            Claim

Litigation & Disputes

3.10363 PASCUCCI, CARMINE                        VARIOUS                              Litigation              UNDETERMINED
        6 STEELHEAD CT
        WHITETHORN, CA 95589           ACCOUNT NO.: NOT AVAILABLE


3.10364 PASO ROBLES VINEYARD, INC.-              VARIOUS                              Litigation              UNDETERMINED
        MCABEE, KYLE
        P.O. BOX 2030                  ACCOUNT NO.: NOT AVAILABLE
        PASO ROBLES, CA 93447


3.10365 PASO ROBLES VINEYARDS INC                VARIOUS                              Litigation              UNDETERMINED
        PO BOX 2030
        PASO ROBLES, CA 93447          ACCOUNT NO.: NOT AVAILABLE


3.10366 PASO ROBLES VINEYARDS INC.-              VARIOUS                              Litigation              UNDETERMINED
        VINEYARD, HUERHUERO
        PO BOX 2030                    ACCOUNT NO.: NOT AVAILABLE
        PASO ROBLES, CA 93447


3.10367 PASO ROBLES VINEYARDS INC.-              VARIOUS                              Litigation              UNDETERMINED
        VINEYARDS INC., PASO ROBLES
        PO BOX 2030                    ACCOUNT NO.: NOT AVAILABLE
        PASO ROBLES, CA 93447


3.10368 PASO ROBLES VINEYARDS INC.-              VARIOUS                              Litigation              UNDETERMINED
        VINEYARDS INC., PASO ROBLES
        PO BOX 2030                    ACCOUNT NO.: NOT AVAILABLE
        PASO ROBLES, CA 93447


3.10369 PASO ROBLES VINEYARDS INC.-              VARIOUS                              Litigation              UNDETERMINED
        VINEYARDS INC., PASO ROBLES
        PO BOX 2030                    ACCOUNT NO.: NOT AVAILABLE
        PASO ROBLES, CA 93447


3.10370 PASO ROBLES VINEYARDS INC.-              VARIOUS                              Litigation              UNDETERMINED
        VINEYARDS, INC., PASO ROBLES
        PO BOX 2030                    ACCOUNT NO.: NOT AVAILABLE
        PASO ROBLES, CA 93447


3.10371 PASO ROBLES VINEYARDS INC-               VARIOUS                              Litigation              UNDETERMINED
        RANCH, HUERHUERO
        PO BOX 2030                    ACCOUNT NO.: NOT AVAILABLE
        PASO ROBLES, CA 93447


3.10372 PASQUA, FRANK AND CONNIE                 VARIOUS                              Litigation              UNDETERMINED
        520 WINDSOR DR.
        MENLO PARK, CA 94025           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.10373 PASSARELLI, LISA                          VARIOUS                              Litigation              UNDETERMINED
        3036 BETSY WAY
        SAN JOSE, CA 95133            ACCOUNT NO.: NOT AVAILABLE


3.10374 PASSARO, CRIS                             VARIOUS                              Litigation              UNDETERMINED
        373 LEE STREET
        SANTA CRUZ, CA 95060          ACCOUNT NO.: NOT AVAILABLE


3.10375 PASTENA, CHRIS                            VARIOUS                              Litigation              UNDETERMINED
        247 4TH ST.
        3RD ST BETWEEN ALICE &        ACCOUNT NO.: NOT AVAILABLE
        MADISON
        OAKLAND, CA 94607


3.10376 PASTOR, RANDY                             VARIOUS                              Litigation              UNDETERMINED
        9819 CRANLEIGH DRIVE
        GRANITE BAY, CA 95746         ACCOUNT NO.: NOT AVAILABLE


3.10377 PAT, BALA                                 VARIOUS                              Litigation              UNDETERMINED
        10221 PASADENA AVE
        CUPERTINO, CA 95014           ACCOUNT NO.: NOT AVAILABLE


3.10378 PATALOT, DOMINIC                          VARIOUS                              Litigation              UNDETERMINED
        868 25TH AVENUE
        SAN FRANCISCO, CA 94121       ACCOUNT NO.: NOT AVAILABLE


3.10379 PATANE, AARON                             VARIOUS                              Litigation              UNDETERMINED
        3394 HWY 99
        BIGGS, CA 95928               ACCOUNT NO.: NOT AVAILABLE


3.10380 PATEL MD INC, RAV                         VARIOUS                              Litigation              UNDETERMINED
        6501 TRUXTON AVE
        BAKERSFIELD, CA 93309         ACCOUNT NO.: NOT AVAILABLE


3.10381 PATEL, KULIN                              VARIOUS                              Litigation              UNDETERMINED
        1121 40TH STREET APT 4208
        EMERYVILLE, CA 94608          ACCOUNT NO.: NOT AVAILABLE


3.10382 PATEL, NIKUNJ                             VARIOUS                              Litigation              UNDETERMINED
        1618 MONROE WAY
        ROCKLIN, CA 95765             ACCOUNT NO.: NOT AVAILABLE


3.10383 PATEL, SEAN                               VARIOUS                              Litigation              UNDETERMINED
        373 S. AIRPORT BLVD.
        SOUTH SAN FRANCISCO, CA       ACCOUNT NO.: NOT AVAILABLE
        94582




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Litigation & Disputes

3.10384 PATEL, TORAL                            VARIOUS                              Litigation              UNDETERMINED
        34762 POWDER RIVER PLACE
        FREMONT, CA 94555            ACCOUNT NO.: NOT AVAILABLE


3.10385 PATRICIA GRAHN AS                       VARIOUS                              Litigation              UNDETERMINED
        SUCCESSOR-IN-INTEREST TO
        ROBERT GRAHN, DECEASED       ACCOUNT NO.: NOT AVAILABLE
        BRAYTON PURCELL, LLP
        223 RUSH LANDING ROAD, P.O
        BOX 6169
        NOVATO, CA 94949-6169


3.10386 PATRICK NEAL INSURANCE                  VARIOUS                              Litigation              UNDETERMINED
        SERVICES-NEAL, PATRICK
        2453 DISCOVERY BAY BLVD.     ACCOUNT NO.: NOT AVAILABLE
        SUITE. 300
        DISCOVERY BAY, CA 94505


3.10387 PATRICK O'CONNELL, ROBERT               VARIOUS                              Litigation              UNDETERMINED
        GOTTESMAN AND
        C/O ROBERT GOTTESMAN, ESQ    ACCOUNT NO.: NOT AVAILABLE
        14 SCOTT PLACE
        GREENBRAE, CA 94904


3.10388 PATRICK, JENNIFER                       VARIOUS                              Litigation              UNDETERMINED
        3239 MANZANITA LANE
        MEADOW VISTA, CA 95722       ACCOUNT NO.: NOT AVAILABLE


3.10389 PATRON, MARTIN                          VARIOUS                              Litigation              UNDETERMINED
        520 BLACK BART
        OROVILLE, CA 95966           ACCOUNT NO.: NOT AVAILABLE


3.10390 PATTEN, KAY                             VARIOUS                              Litigation              UNDETERMINED
        7561 N PERSHING AVE
        STOCKTON, CA 95207           ACCOUNT NO.: NOT AVAILABLE


3.10391 PATTERSON LOGISTICS                     VARIOUS                              Litigation              UNDETERMINED
        SERVICES INC-GONZALEZ,
        NELDA                        ACCOUNT NO.: NOT AVAILABLE
        800 MONTE VISTA DR
        DINUBA, CA 93618


3.10392 PATTERSON, CAROLYN                      VARIOUS                              Litigation              UNDETERMINED
        8010 WILD HORSE RD
        SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.10393 PATTERSON, RICHARD                      VARIOUS                              Litigation              UNDETERMINED
        3900 VIA MAR MONTE
        CARMEL, CA 93923             ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.10394 PATTERSON, SHANE                        VARIOUS                              Litigation              UNDETERMINED
        5553 PARKER DRIVE
        MARIPOSA, CA 95338            ACCOUNT NO.: NOT AVAILABLE


3.10395 PATTERSON, SHIRLEY                      VARIOUS                              Litigation              UNDETERMINED
        1670 SHASTA ST
        RICHMOND, CA 94804            ACCOUNT NO.: NOT AVAILABLE


3.10396 PATTON, CHRISTINA                       VARIOUS                              Litigation              UNDETERMINED
        18 S ORO AVE
        STOCKTON, CA 95215            ACCOUNT NO.: NOT AVAILABLE


3.10397 PATTON, JAMES                           VARIOUS                              Litigation              UNDETERMINED
        12442 SHADY CREEK DR
        P.O. BOX 226, GRASS VALLEY,   ACCOUNT NO.: NOT AVAILABLE
        95945
        NEVADA CITY, CA 95945


3.10398 PAUL ALLEN, ANDREW                      VARIOUS                              Litigation              UNDETERMINED
        KERSHAW, LINDA REGAN
        MARY ALEXANDER, BRENDAN       ACCOUNT NO.: NOT AVAILABLE
        WAY, CATALINA MUNOZ
        44 MONTGOMERY STREET
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.10399 PAUL ALLEN, ANDREW                      VARIOUS                              Litigation              UNDETERMINED
        KERSHAW, LINDA REGAN
        BOBBY THOMPSON                ACCOUNT NO.: NOT AVAILABLE
        718 AIRPORT BLVD
        SUITE 178
        BURLINGAME, CA 94010


3.10400 PAUL, JULIE                             VARIOUS                              Litigation              UNDETERMINED
        16174 AURORA WAY
        MEADOW VISTA, CA 95722        ACCOUNT NO.: NOT AVAILABLE


3.10401 PAUL, LAVONNE                           VARIOUS                              Litigation              UNDETERMINED
        3337 ANNE STREET
        STOCKTON, CA 95206            ACCOUNT NO.: NOT AVAILABLE


3.10402 PAUL, MICHAEL                           VARIOUS                              Litigation              UNDETERMINED
        862 SAINT GEORGE RD
        DANVILLE, CA 94526            ACCOUNT NO.: NOT AVAILABLE


3.10403 PAULSEN, BRUCE                          VARIOUS                              Litigation              UNDETERMINED
        6 WOODCREST DR
        ORINDA, CA 94563              ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                              Account Number                           Claim

Litigation & Disputes

3.10404 PAULUS, JOERG                             VARIOUS                              Litigation              UNDETERMINED
        15880 LA MIRADA CT
        MORGAN HILL, CA 95037            ACCOUNT NO.: NOT AVAILABLE


3.10405 PAUSA BAR & COOKERY, UGUR,                VARIOUS                              Litigation              UNDETERMINED
        STEVEN
        223 E 4TH AVE                    ACCOUNT NO.: NOT AVAILABLE
        SAN MATEO, CA 94401


3.10406 PAUSA BAR & COOKERY, UGUR,                VARIOUS                              Litigation              UNDETERMINED
        STEVEN
        223 E 4TH AVE                    ACCOUNT NO.: NOT AVAILABLE
        SAN MATEO, CA 94401


3.10407 PAVSIDIS, MARGUERITE                      VARIOUS                              Litigation              UNDETERMINED
        1430 MILLS COURT
        MENLO PARK, CA 94025             ACCOUNT NO.: NOT AVAILABLE


3.10408 PAYMENT, TYSA                             VARIOUS                              Litigation              UNDETERMINED
        19711 OJAI DR
        COTTONWOOD, CA 96022             ACCOUNT NO.: NOT AVAILABLE


3.10409 PAYNE JR., JIMMY                          VARIOUS                              Litigation              UNDETERMINED
        BRIAN L. LARSEN
        530 JACKSON ST., 2ND FLOOR       ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94133


3.10410 PAYNE, CHRISTOPHER                        VARIOUS                              Litigation              UNDETERMINED
        2831 BURTON CIRCLE
        CAMBRIA, CA 93428                ACCOUNT NO.: NOT AVAILABLE


3.10411 PAYNE, JIMMY/ATTY REP                     VARIOUS                              Litigation              UNDETERMINED
        530 JACKSON ST, 2ND FLOOR
        SAN FRANCISCO, CA 94133          ACCOUNT NO.: NOT AVAILABLE


3.10412 PAYNE, KATIE                              VARIOUS                              Litigation              UNDETERMINED
        2953 BEYER LANE
        STOCKTON, CA 95215               ACCOUNT NO.: NOT AVAILABLE


3.10413 PAYNE, MARK                               VARIOUS                              Litigation              UNDETERMINED
        1900 S. NORFOLK ST. , STE. 215
        SAN MATEO, CA 94403              ACCOUNT NO.: NOT AVAILABLE


3.10414 PAYNE, ROBIN                              VARIOUS                              Litigation              UNDETERMINED
        1860 LAUREL AVE., # 2
        REDDING, CA 96001                ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                             Claim

Litigation & Disputes

3.10415 PAYNE, ROBIN                             VARIOUS                              Litigation              UNDETERMINED
        KNIGHTEN ROAD
        1860 LAUREL AVENUE            ACCOUNT NO.: NOT AVAILABLE
        REDDING, CA 96001


3.10416 PAYNE, TIM                               VARIOUS                              Litigation              UNDETERMINED
        867 WILLIAM MOSS BLVD
        STOCKTON, CA 94206            ACCOUNT NO.: NOT AVAILABLE


3.10417 PAYYAPILLY, JAIRAJ & JIJI                VARIOUS                              Litigation              UNDETERMINED
        ANTONY
        1730 EARL AVENUE              ACCOUNT NO.: NOT AVAILABLE
        SAN BRUNO, CA 94066


3.10418 PAZDAN, SARAH                            VARIOUS                              Litigation              UNDETERMINED
        125 LE POINT
        ARROYO GRANDE, CA 93420       ACCOUNT NO.: NOT AVAILABLE


3.10419 PAZZIA RESTAURANT-                       VARIOUS                              Litigation              UNDETERMINED
        BALLERINI, LISA
        337 3RD STREET                ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94107


3.10420 PCCP L.B MARIPOSA LAKES LLC              VARIOUS                              Litigation              UNDETERMINED
        18499 S JACK TONE ROAD
        9345 E MARIPOSA ROAD          ACCOUNT NO.: NOT AVAILABLE
        MANTECA, CA 95336


3.10421 PEACE, RANDY                             VARIOUS                              Litigation              UNDETERMINED
        1048 OVERLAND PL
        VACAVILLE, CA 95687           ACCOUNT NO.: NOT AVAILABLE


3.10422 PEACHTREE-FONTE, KATHERINE         VARIOUS                                    Litigation              UNDETERMINED
        30100 MISSION BLVD
        HAYWARD, CA 94544          ACCOUNT NO.: NOT AVAILABLE


3.10423 PEAKER, CLIFTON                          VARIOUS                              Litigation              UNDETERMINED
        4906 RIDGEFIELD CIRCLE
        401 MARINA CENTER             ACCOUNT NO.: NOT AVAILABLE
        SUISUN CITY, CA 94585


3.10424 PEAL, MARY ELLEN                         VARIOUS                              Litigation              UNDETERMINED
        4061 ALDERWOOD COURT
        PLEASANTON, CA 94588          ACCOUNT NO.: NOT AVAILABLE


3.10425 PEAR STREET BISTRO-FLORES,               VARIOUS                              Litigation              UNDETERMINED
        FRANCISCO
        2395 SAN PABLO AVENUE         ACCOUNT NO.: NOT AVAILABLE
        PINOLE, CA 94564

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Litigation & Disputes

3.10426 PEARCE, THOMAS                          VARIOUS                              Litigation              UNDETERMINED
        2520 N TEMPERANCE AVE
        FRESNO, CA 93727            ACCOUNT NO.: NOT AVAILABLE


3.10427 PEARCE, WALLACE                         VARIOUS                              Litigation              UNDETERMINED
        PO BOX 792
        WINTERS, CA 95694           ACCOUNT NO.: NOT AVAILABLE


3.10428 PEARSALL, ANTHONY                       VARIOUS                              Litigation              UNDETERMINED
        242 EL CAMINO REAL
        VALLEJO, CA 94590           ACCOUNT NO.: NOT AVAILABLE


3.10429 PEARSON GROCERY, KAREN                  VARIOUS                              Litigation              UNDETERMINED
        PEARSON
        HC 64 SITE 10 BOX 3         ACCOUNT NO.: NOT AVAILABLE
        HOOPA, CA 95546


3.10430 PEARSON, IRENE                          VARIOUS                              Litigation              UNDETERMINED
        3203 11TH STREET
        CLEARLAKE, CA 95422         ACCOUNT NO.: NOT AVAILABLE


3.10431 PEASE, CHRISTY                          VARIOUS                              Litigation              UNDETERMINED
        25175 MARSH CREEK RD
        BRENTWOOD, CA 94513         ACCOUNT NO.: NOT AVAILABLE


3.10432 PEASE, STEVEN                           VARIOUS                              Litigation              UNDETERMINED
        25085 MARSH CREEK RD.
        BRENTWOOD, CA 94513         ACCOUNT NO.: NOT AVAILABLE


3.10433 PEASTER, DARLENE                        VARIOUS                              Litigation              UNDETERMINED
        2096 EUCALYPUTS ST
        ATWATER, CA 95301           ACCOUNT NO.: NOT AVAILABLE


3.10434 PECCI, GEORGE                           VARIOUS                              Litigation              UNDETERMINED
        108 CAPANNA COURT
        PISMO BEACH, CA 93449       ACCOUNT NO.: NOT AVAILABLE


3.10435 PECHER, GREG                            VARIOUS                              Litigation              UNDETERMINED
        PO BOX 111733
        2060 VIA DESTE              ACCOUNT NO.: NOT AVAILABLE
        CAMPBELL, CA 95011


3.10436 PECK, KIM                               VARIOUS                              Litigation              UNDETERMINED
        41696 MEADOW LANE
        AUBERRY, CA 93602           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.10437 PECKHAM, NELSON                         VARIOUS                              Litigation              UNDETERMINED
        BROOKS DITCH ROAD
        2594 ASHCROFT AVENUE          ACCOUNT NO.: NOT AVAILABLE
        NORTHFORK, CA 93611


3.10438 PECORA, LEA                             VARIOUS                              Litigation              UNDETERMINED
        9000 CROW CANYON ROAD
        S324                          ACCOUNT NO.: NOT AVAILABLE
        DANVILLE, CA 94506


3.10439 PEDERSENSCHULZ, LAURA                   VARIOUS                              Litigation              UNDETERMINED
        233 KELLY DRIVE
        NOVATO, CA 94949              ACCOUNT NO.: NOT AVAILABLE


3.10440 PEDREGON, KRISTINA                      VARIOUS                              Litigation              UNDETERMINED
        930 CASANOVA AVE
        19                            ACCOUNT NO.: NOT AVAILABLE
        MONTEREY, CA 93940


3.10441 PEDROZA, PETER                          VARIOUS                              Litigation              UNDETERMINED
        349 PARADISE CANYON RD
        SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.10442 PEEPLES, RANEE                          VARIOUS                              Litigation              UNDETERMINED
        19400 UNION SCHOOL ROAD
        REDDING, CA 96003             ACCOUNT NO.: NOT AVAILABLE


3.10443 PEETERS, RANDALL                        VARIOUS                              Litigation              UNDETERMINED
        4404 MORNIG STAR PLACE
        FORESTHILL, CA 95631          ACCOUNT NO.: NOT AVAILABLE


3.10444 PEEVER PIE LLC-NIGG, SHERRY             VARIOUS                              Litigation              UNDETERMINED
        849 BOWER COURT
        LIVERMORE, CA 94550           ACCOUNT NO.: NOT AVAILABLE


3.10445 PEHLIVANIAN, SONA                       VARIOUS                              Litigation              UNDETERMINED
        2195 32ND AVENUE
        SAN FRANCISCO, CA 94116       ACCOUNT NO.: NOT AVAILABLE


3.10446 PEJCIC, MARINA                          VARIOUS                              Litigation              UNDETERMINED
        156 MARIANNA WAY
        CAMPBELL, CA 95008            ACCOUNT NO.: NOT AVAILABLE


3.10447 PELAYO, ESTHER                          VARIOUS                              Litigation              UNDETERMINED
        19740 PINEHURST LANE,
        SALINAS, CA                   ACCOUNT NO.: NOT AVAILABLE
        SALINAS, CA 93906



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Litigation & Disputes

3.10448 PELAYO, LISA                             VARIOUS                              Litigation              UNDETERMINED
        2610 KIOWA CT.
        WALNUT CREEK, CA 94598       ACCOUNT NO.: NOT AVAILABLE


3.10449 PELL, VIRGINIA                           VARIOUS                              Litigation              UNDETERMINED
        529 N SHASTA AVE
        STOCKTON, CA 95205           ACCOUNT NO.: NOT AVAILABLE


3.10450 PELLEGRINI RANCHES DBA                   VARIOUS                              Litigation              UNDETERMINED
        PELLEGRINI WINE COMPANY,
        LYNN KRAUSMANN               ACCOUNT NO.: NOT AVAILABLE
        4055 WEST OLIVET ROAD
        SANTA ROSA, CA 95401


3.10451 PELLEGRINI, ROBERT                       VARIOUS                              Litigation              UNDETERMINED
        4816 RUE NICE CT
        SAN JOSE, CA 95136           ACCOUNT NO.: NOT AVAILABLE


3.10452 PELLERITI, CHERYL                        VARIOUS                              Litigation              UNDETERMINED
        315 FIRELIGHT DR
        SANTA ROSA, CA 95403         ACCOUNT NO.: NOT AVAILABLE


3.10453 PELLETIER, PATRICIA                      VARIOUS                              Litigation              UNDETERMINED
        2312 SADDLEBACK DR
        DANVILLE, CA 94506           ACCOUNT NO.: NOT AVAILABLE


3.10454 PELLOM, DIANE                            VARIOUS                              Litigation              UNDETERMINED
        1324 SERENO DR
        VALLEJO, CA 94589            ACCOUNT NO.: NOT AVAILABLE


3.10455 PELTZ, THERESA                           VARIOUS                              Litigation              UNDETERMINED
        4321 GLENHAVEN DRVIE
        TRACY, CA 95377              ACCOUNT NO.: NOT AVAILABLE


3.10456 PENA, DANI PAIGE                         VARIOUS                              Litigation              UNDETERMINED
        9490 RICE ST
        UPPER LAKE, CA 95485         ACCOUNT NO.: NOT AVAILABLE


3.10457 PENA, DANI PAIGE                         VARIOUS                              Litigation              UNDETERMINED
        9490 RICE ST
        UPPER LAKE, CA 95485         ACCOUNT NO.: NOT AVAILABLE


3.10458 PENA, GUADALUPE                          VARIOUS                              Litigation              UNDETERMINED
        PO BOX 904
        17207 METTLER AVENUE         ACCOUNT NO.: NOT AVAILABLE
        SHAFTER, CA 93263




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Litigation & Disputes

3.10459 PENA, JUAN                                VARIOUS                              Litigation              UNDETERMINED
        1530 DENVER AVE
        STOCKTON, CA 95206            ACCOUNT NO.: NOT AVAILABLE


3.10460 PENA, LORENA                              VARIOUS                              Litigation              UNDETERMINED
        712 MAPLE AVENUE
        S SAN FRANCISCO, CA 94080     ACCOUNT NO.: NOT AVAILABLE


3.10461 PENA, MARIA                               VARIOUS                              Litigation              UNDETERMINED
        207 HAYBERT COURT
        BAKERSFIELD, CA 93304         ACCOUNT NO.: NOT AVAILABLE


3.10462 PENA, MICHAEL                             VARIOUS                              Litigation              UNDETERMINED
        1216 FLORIBUNDA AVE
        APARTMENT 8                   ACCOUNT NO.: NOT AVAILABLE
        BURLINGAME, CA 94010


3.10463 PENA, NORMA                               VARIOUS                              Litigation              UNDETERMINED
        6982 FLOYD WAY
        NICE, CA 95464                ACCOUNT NO.: NOT AVAILABLE


3.10464 PENDERGAST, JIMMY                         VARIOUS                              Litigation              UNDETERMINED
        412 E EL CAMPO AVE
        STOCKTON, CA 97055            ACCOUNT NO.: NOT AVAILABLE


3.10465 PENDERGRAFT, PATRICIA                     VARIOUS                              Litigation              UNDETERMINED
        4611 CALAVERAS AVE
        FREMONT, CA 94538             ACCOUNT NO.: NOT AVAILABLE


3.10466 PENDERGRAS, WILLIAM                       VARIOUS                              Litigation              UNDETERMINED
        3842 N STANFORD
        FRESNO, CA 93727              ACCOUNT NO.: NOT AVAILABLE


3.10467 PENDLETON, LOREN                          VARIOUS                              Litigation              UNDETERMINED
        4820 RIVENDALE RD.
        PLACERVILLE, CA 95662         ACCOUNT NO.: NOT AVAILABLE


3.10468 PENDLETON, LOREN &                        VARIOUS                              Litigation              UNDETERMINED
        MICHAELE
        4820 RIVENDALE RD.            ACCOUNT NO.: NOT AVAILABLE
        PLACERVILLE, CA 95667


3.10469 PENDLEY, PAUL                             VARIOUS                              Litigation              UNDETERMINED
        9966 HARVEY RD
        GALT, CA 95632                ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.10470 PENDYGRAFT, CHRISTINA                   VARIOUS                              Litigation              UNDETERMINED
        2925 GRANDVIEW STREET
        PLACERVILLE, CA 95667       ACCOUNT NO.: NOT AVAILABLE


3.10471 PENG, NICOLE                            VARIOUS                              Litigation              UNDETERMINED
        1748 BRADDOCK COURT
        SAN JOSE, CA 95125          ACCOUNT NO.: NOT AVAILABLE


3.10472 PENINSULA PRODUCE INC-                  VARIOUS                              Litigation              UNDETERMINED
        GONZALEZ, FABIOLA
        1450 FREMONT BLVD           ACCOUNT NO.: NOT AVAILABLE
        SEASIDE, CA 93955


3.10473 PENIX, GREGORY                          VARIOUS                              Litigation              UNDETERMINED
        1113 O STREET
        BAKERSFIELD, CA 93304       ACCOUNT NO.: NOT AVAILABLE


3.10474 PENLAND, KATRINA                        VARIOUS                              Litigation              UNDETERMINED
        14822 MARIN DRIVE
        REDDING, CA 96003           ACCOUNT NO.: NOT AVAILABLE


3.10475 PENLEY, ANDREA                          VARIOUS                              Litigation              UNDETERMINED
        527 NEPTUNE CT
        NAPA, CA 94558              ACCOUNT NO.: NOT AVAILABLE


3.10476 PENLEY, APRIL                           VARIOUS                              Litigation              UNDETERMINED
        6604 GINGERLOOP CT.
        SACRAMENTO, CA 95842        ACCOUNT NO.: NOT AVAILABLE


3.10477 PENMAN, PERI                            VARIOUS                              Litigation              UNDETERMINED
        2436 E. STREET
        EUREKA, CA 95501            ACCOUNT NO.: NOT AVAILABLE


3.10478 PENNELLA, JOE/CARMELLA                  VARIOUS                              Litigation              UNDETERMINED
        2078 BLUEBIRD WAY
        FAIRFIELD, CA 94533         ACCOUNT NO.: NOT AVAILABLE


3.10479 PENNEY, MICHAEL                         VARIOUS                              Litigation              UNDETERMINED
        19962 WOODCHUCK TRAIL
        REDDING, CA 96003           ACCOUNT NO.: NOT AVAILABLE


3.10480 PENROD, ALVIN                           VARIOUS                              Litigation              UNDETERMINED
        1951 WARREN CT
        MERCED, CA 95340            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.10481 PENROSE & SONS, INC.-SCOTT,             VARIOUS                              Litigation              UNDETERMINED
        ZACH
        3311 GRAND AVENUE             ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94610


3.10482 PEOPLES, DONALD                         VARIOUS                              Litigation              UNDETERMINED
        PO BOX 181
        17767 HWY 120                 ACCOUNT NO.: NOT AVAILABLE
        BIG OAK FLAT, CA 95305


3.10483 PEPES FOODS-ROMAN, JOSE                 VARIOUS                              Litigation              UNDETERMINED
        1045 N 10TH ST
        #C                            ACCOUNT NO.: NOT AVAILABLE
        SAN JOSE, CA 95112


3.10484 PEPITONE, JENNIE                        VARIOUS                              Litigation              UNDETERMINED
        5651 SCHOONER LOOP
        DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.10485 PEPPER TREE RANCH-                      VARIOUS                              Litigation              UNDETERMINED
        POWERS, SCOTT W
        P O BOX 21157                 ACCOUNT NO.: NOT AVAILABLE
        SANTA BARBARA, CA 93121


3.10486 PEPPER, JOHN                            VARIOUS                              Litigation              UNDETERMINED
        7286 N. GREGORY AVE
        FRESNO, CA 93722              ACCOUNT NO.: NOT AVAILABLE


3.10487 PERALES, ALEXANDER                      VARIOUS                              Litigation              UNDETERMINED
        2834 N. CORNELIA
        FRESNO, CA                    ACCOUNT NO.: NOT AVAILABLE


3.10488 PERALTA, DYLAN                          VARIOUS                              Litigation              UNDETERMINED
        661 HAWK DR
        VACAVILLE, CA 95687           ACCOUNT NO.: NOT AVAILABLE


3.10489 PERALTA, HAYLEY A                       VARIOUS                              Litigation              UNDETERMINED
        PO BOX 161
        COALINGA, CA 93210            ACCOUNT NO.: NOT AVAILABLE


3.10490 PERALTA, JANICE                         VARIOUS                              Litigation              UNDETERMINED
        417 LOCKEWOOD LN
        SCOTTS VALLEY, CA 95066       ACCOUNT NO.: NOT AVAILABLE


3.10491 PERALTA, OSVALDO                        VARIOUS                              Litigation              UNDETERMINED
        3596 YACHT DR
        DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.10492 PERALTA, SALLY                             VARIOUS                              Litigation              UNDETERMINED
        1525 FAIR OAKS DR
        5                              ACCOUNT NO.: NOT AVAILABLE
        ANDERSON, CA 96007


3.10493 PERANO, DANTE                              VARIOUS                              Litigation              UNDETERMINED
        4790 CAUGHLIN PARKWAY #515
        RENO, CA 89519                 ACCOUNT NO.: NOT AVAILABLE


3.10494 PERAZA, ARACELI                            VARIOUS                              Litigation              UNDETERMINED
        357 WILLOW ST #6
        SAN JOSE, CA 95110             ACCOUNT NO.: NOT AVAILABLE


3.10495 PERCIVAL, CHRISTOPHER                      VARIOUS                              Litigation              UNDETERMINED
        558 W. DENNIS DR.
        CLOVIS, CA 93612               ACCOUNT NO.: NOT AVAILABLE


3.10496 PERCIVAL, PAUL                             VARIOUS                              Litigation              UNDETERMINED
        591 MCCRAY ST
        HOLLISTER, CA 95023            ACCOUNT NO.: NOT AVAILABLE


3.10497 PERCIVAL, PHILLIP                          VARIOUS                              Litigation              UNDETERMINED
        PO BOX 569
        LOOMIS, CA 95650               ACCOUNT NO.: NOT AVAILABLE


3.10498 PERCY, KEN                                 VARIOUS                              Litigation              UNDETERMINED
        7833 HEATHER LANE
        VACAVILLE, CA 95688            ACCOUNT NO.: NOT AVAILABLE


3.10499 PERE, SUSAN & JOHN                         VARIOUS                              Litigation              UNDETERMINED
        19835 PESANTE RD.
        SALINAS, CA 93507-1459         ACCOUNT NO.: NOT AVAILABLE


3.10500 PEREA, EVA                                 VARIOUS                              Litigation              UNDETERMINED
        1400 A STREET
        ANTIOCH, CA 94509              ACCOUNT NO.: NOT AVAILABLE


3.10501 PEREDA, MARIA                              VARIOUS                              Litigation              UNDETERMINED
        2506 16TH STREET
        BAKERSFIELD, CA 93301          ACCOUNT NO.: NOT AVAILABLE


3.10502 PEREIRA DAIRY, ALICE PEREIRA               VARIOUS                              Litigation              UNDETERMINED
        27181 E CARTER ROAD
        ESCALON, CA 95320              ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                              Claim

Litigation & Disputes

3.10503 PEREIRA, JULIANNE                         VARIOUS                              Litigation              UNDETERMINED
        100 BISON LANE
        PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.10504 PEREIRA, MICHELLE                         VARIOUS                              Litigation              UNDETERMINED
        6594 STABULIS ROAD
        VALLEY SPRINGS, CA 95252      ACCOUNT NO.: NOT AVAILABLE


3.10505 PEREL, JAY                                VARIOUS                              Litigation              UNDETERMINED
        224 AUGA WAY
        BAY POINT, CA 94565           ACCOUNT NO.: NOT AVAILABLE


3.10506 PERELMAM, ALLA                            VARIOUS                              Litigation              UNDETERMINED
        2328 SUNRISE DR
        SAN JOSE, CA 95124            ACCOUNT NO.: NOT AVAILABLE


3.10507 PERETIAKO, BRITTANY                       VARIOUS                              Litigation              UNDETERMINED
        1432 ARCH ST APT D
        BERKELEY, CA 94708            ACCOUNT NO.: NOT AVAILABLE


3.10508 PEREY, SILVESTRE                          VARIOUS                              Litigation              UNDETERMINED
        822 BERRYESSA STREET
        MILPITAS, CA 95035            ACCOUNT NO.: NOT AVAILABLE


3.10509 PEREZ RESTREPO, SYLVIA                    VARIOUS                              Litigation              UNDETERMINED
        5117 SHELTER CREEK LN
        SAN BRUNO, CA 94066           ACCOUNT NO.: NOT AVAILABLE


3.10510 PEREZ, ARCELIA                            VARIOUS                              Litigation              UNDETERMINED
        3080 SUNSET AVE
        MARINA, CA 93933              ACCOUNT NO.: NOT AVAILABLE


3.10511 PEREZ, ARMANDO                            VARIOUS                              Litigation              UNDETERMINED
        2 CASSAYRE DRIVE
        AMERICAN CANYON, CA 94503     ACCOUNT NO.: NOT AVAILABLE


3.10512 PEREZ, CELSO                              VARIOUS                              Litigation              UNDETERMINED
        1235 CAMARILLO CT
        SALINAS, CA 93905             ACCOUNT NO.: NOT AVAILABLE


3.10513 PEREZ, DAVID                              VARIOUS                              Litigation              UNDETERMINED
        80 ROSARITA DRIVE
        SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.10514 PEREZ, DEBORAH                            VARIOUS                              Litigation              UNDETERMINED
        6638 N HAZEL AVE
        FRESNO, CA 93711              ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.10515 PEREZ, ELAINE                           VARIOUS                              Litigation              UNDETERMINED
        662MIDDLEFIELD RD
        SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.10516 PEREZ, ELIZABETH                        VARIOUS                              Litigation              UNDETERMINED
        16900 EL RANCHO WAY
        SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.10517 PEREZ, ELOISA                           VARIOUS                              Litigation              UNDETERMINED
        2823 PLAYA DEL SOL AVE
        STOCKTON, CA 95206            ACCOUNT NO.: NOT AVAILABLE


3.10518 PEREZ, ERLINDA                          VARIOUS                              Litigation              UNDETERMINED
        437 ORCHARD RD.
        NIPOMO, CA 93444              ACCOUNT NO.: NOT AVAILABLE


3.10519 PEREZ, FRANK                            VARIOUS                              Litigation              UNDETERMINED
        22005 OLD SANTA CRUZ HWY.
        LOS GATOS,, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.10520 PEREZ, GERARDO                          VARIOUS                              Litigation              UNDETERMINED
        1840 A ELKHORN ROAD
        CASTROVILLE, CA 95012         ACCOUNT NO.: NOT AVAILABLE


3.10521 PEREZ, GLORIA                           VARIOUS                              Litigation              UNDETERMINED
        701 SHELTER CREEK LANE, SPC
        5122                          ACCOUNT NO.: NOT AVAILABLE
        SAN BRUNO, CA 94066


3.10522 PEREZ, GUADALUPE                        VARIOUS                              Litigation              UNDETERMINED
        2923 JULIET RD.
        STOCKTON, CA 95205            ACCOUNT NO.: NOT AVAILABLE


3.10523 PEREZ, JAIME                            VARIOUS                              Litigation              UNDETERMINED
        503 EL CAPITAN AVE
        MANTECA, CA 95337             ACCOUNT NO.: NOT AVAILABLE


3.10524 PEREZ, JENNY                            VARIOUS                              Litigation              UNDETERMINED
        2669 ROGUE WAY
        ROSEVILLE, CA 95747           ACCOUNT NO.: NOT AVAILABLE


3.10525 PEREZ, JOHN                             VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 1306
        MARIPOSA, CA 95338            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.10526 PEREZ, JOSEFINA                          VARIOUS                              Litigation              UNDETERMINED
        8710 PRUNEDALE NORTH RD
        SPC 19                       ACCOUNT NO.: NOT AVAILABLE
        SALINAS, CA 93907


3.10527 PEREZ, KATHLEEN                          VARIOUS                              Litigation              UNDETERMINED
        6901 LANGLEY CYN ROAD
        SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.10528 PEREZ, KAYLA                             VARIOUS                              Litigation              UNDETERMINED
        2267 THOMSEN WAY
        LINCOLN, CA 95648            ACCOUNT NO.: NOT AVAILABLE


3.10529 PEREZ, MANUEL                            VARIOUS                              Litigation              UNDETERMINED
        1480 CRESTWOOD DR
        APT9                         ACCOUNT NO.: NOT AVAILABLE
        SAN BRUNO, CA 94066


3.10530 PEREZ, MARGARITA                         VARIOUS                              Litigation              UNDETERMINED
        15030 REVILLA DRIVE
        CASTROVILLE, CA 95012        ACCOUNT NO.: NOT AVAILABLE


3.10531 PEREZ, MARIA                             VARIOUS                              Litigation              UNDETERMINED
        3882 KENMORE DR S
        FRESNO, CA 93703             ACCOUNT NO.: NOT AVAILABLE


3.10532 PEREZ, MARIA MENDOZA                     VARIOUS                              Litigation              UNDETERMINED
        1441 LINWOOD DRIVE
        SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.10533 PEREZ, MRYNA                             VARIOUS                              Litigation              UNDETERMINED
        16114 VIA ARRIBA
        SAN LORENZO, CA 94580        ACCOUNT NO.: NOT AVAILABLE


3.10534 PEREZ, NEREO                             VARIOUS                              Litigation              UNDETERMINED
        15070 CASTROVILLE BLVD
        CASTROVILLE, CA 95012        ACCOUNT NO.: NOT AVAILABLE


3.10535 PEREZ, PEDRO                             VARIOUS                              Litigation              UNDETERMINED
        21216 VALLE SAN JUAN DR.
        SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.10536 PEREZ, PETER                             VARIOUS                              Litigation              UNDETERMINED
        5303 HIDDEN OAK CT
        ROYAL OAKS, CA 95076         ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address     Date Claim Was Incurred And         C U    D    Basis For    Offset    Amount of Claim
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Litigation & Disputes

3.10537 PEREZ, RAMIRO                           VARIOUS                              Litigation              UNDETERMINED
        1021 E SHIELDS AVENUE
        FRESNO, CA 93704            ACCOUNT NO.: NOT AVAILABLE


3.10538 PEREZ, ROSE                             VARIOUS                              Litigation              UNDETERMINED
        2158 LAUSETT AVE
        SAN JOSE, CA 95116          ACCOUNT NO.: NOT AVAILABLE


3.10539 PEREZ, SILVIO                           VARIOUS                              Litigation              UNDETERMINED
        1717 HILLSIDE BLVD
        SOUTH SAN FRANCISCI, CA     ACCOUNT NO.: NOT AVAILABLE
        94080


3.10540 PEREZALBELA, JOSE                       VARIOUS                              Litigation              UNDETERMINED
        405 NORTH 1ST STREET
        201                         ACCOUNT NO.: NOT AVAILABLE
        SAN JOSE, CA 95112


3.10541 PERFECT FINGERS INC-PHAM,               VARIOUS                              Litigation              UNDETERMINED
        JENNY
        3251 20TH AVE #139          ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94132


3.10542 PERFORMANCE PROPERTY                    VARIOUS                              Litigation              UNDETERMINED
        MANAGEMENT-BENNETT,
        CHLOE                       ACCOUNT NO.: NOT AVAILABLE
        1539 W. PAUL AVE.
        FRESNO, CA 93711


3.10543 PERI, EDWARD                            VARIOUS                              Litigation              UNDETERMINED
        370 CHAMISAL AVE
        LOS ALTOS, CA 94022         ACCOUNT NO.: NOT AVAILABLE


3.10544 PERKINS, ANDREW                         VARIOUS                              Litigation              UNDETERMINED
        1880 JACQULINE WAY
        CONCORD, CA 94519           ACCOUNT NO.: NOT AVAILABLE


3.10545 PERKINS, JOSHUA                         VARIOUS                              Litigation              UNDETERMINED
        110 EDGEWATER DR
        RIO VISTA, CA 94571         ACCOUNT NO.: NOT AVAILABLE


3.10546 PERLICHEK, GARY                         VARIOUS                              Litigation              UNDETERMINED
        1907 FERTADO LANE
        BRENTWOOD, CA 94513         ACCOUNT NO.: NOT AVAILABLE


3.10547 PEROZZIELLO, ERIC                       VARIOUS                              Litigation              UNDETERMINED
        2313 REEF COURT
        DISCOVERY BAY, CA 94505     ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.10548 PERRANDO, JOHN                            VARIOUS                              Litigation              UNDETERMINED
        168 MEERNAA
        FAIRFAX, CA 94930             ACCOUNT NO.: NOT AVAILABLE


3.10549 PERRAULT, TRACY                           VARIOUS                              Litigation              UNDETERMINED
        450 SILVER PARK AVE
        RIO LINDA, CA 95673           ACCOUNT NO.: NOT AVAILABLE


3.10550 PERRELLI, JOYCE                           VARIOUS                              Litigation              UNDETERMINED
        23500 SUNSET DRIVE
        LOS GATOS, CA 95033           ACCOUNT NO.: NOT AVAILABLE


3.10551 PERRELLI, JOYCE                           VARIOUS                              Litigation              UNDETERMINED
        23500 SUNSET DRIVE
        LOS GATOS, CA 95033           ACCOUNT NO.: NOT AVAILABLE


3.10552 PERRELLI, LOU                             VARIOUS                              Litigation              UNDETERMINED
        32 CORTE DEL BAYO
        LARKSPUR, CA 94939            ACCOUNT NO.: NOT AVAILABLE


3.10553 PERRILL, BETH                             VARIOUS                              Litigation              UNDETERMINED
        11016 HILLS RANCH RD.
        MENDOCINO, CA 95460           ACCOUNT NO.: NOT AVAILABLE


3.10554 PERRILLIAT, STEPHEN                       VARIOUS                              Litigation              UNDETERMINED
        3893 BROOKDALE BLVD
        CASTRO VALLEY, CA 94546       ACCOUNT NO.: NOT AVAILABLE


3.10555 PERRY, CINDY                              VARIOUS                              Litigation              UNDETERMINED
        PO BOX 721
        MAXWELL, CA 95955             ACCOUNT NO.: NOT AVAILABLE


3.10556 PERRY, CRAIG                              VARIOUS                              Litigation              UNDETERMINED
        2881 LOWDEN LANE
        REDDING, CA 96002             ACCOUNT NO.: NOT AVAILABLE


3.10557 PERRY, DIANE                              VARIOUS                              Litigation              UNDETERMINED
        481 SOUTHBURY LN
        CHICO, CA 95973               ACCOUNT NO.: NOT AVAILABLE


3.10558 PERRY, ERNEST                             VARIOUS                              Litigation              UNDETERMINED
        34 VALLEY VIEW DR
        ORINDA, CA 94563              ACCOUNT NO.: NOT AVAILABLE


3.10559 PERRY, EUGENE                             VARIOUS                              Litigation              UNDETERMINED
        2707 HWY 99
        BIGGS, CA 95917               ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.10560 PERRY, HEATHER                            VARIOUS                              Litigation              UNDETERMINED
        1971 KING OF THE MOUNTAIN
        ROAD                          ACCOUNT NO.: NOT AVAILABLE
        POLLOCK PINES, CA 95762


3.10561 PERRY, JENNA                              VARIOUS                              Litigation              UNDETERMINED
        3079 ELMWOOD AVE
        BAKERSFIELD, CA 93305         ACCOUNT NO.: NOT AVAILABLE


3.10562 PERRY, JOHN                               VARIOUS                              Litigation              UNDETERMINED
        36085 COUNTY ROAD 20
        WOODLAND, CA 95695            ACCOUNT NO.: NOT AVAILABLE


3.10563 PERRY, JOHN & PAT                         VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 883
        WILLOWS, CA 95988             ACCOUNT NO.: NOT AVAILABLE


3.10564 PERRY, JUDITH                             VARIOUS                              Litigation              UNDETERMINED
        222 2ND STREET
        PACIFIC GROVE, CA 93950       ACCOUNT NO.: NOT AVAILABLE


3.10565 PERRY, KYLE                               VARIOUS                              Litigation              UNDETERMINED
        589 GENEVA ST
        REDWOOD CITY, CA 94061        ACCOUNT NO.: NOT AVAILABLE


3.10566 PERRY, LINDA                              VARIOUS                              Litigation              UNDETERMINED
        65 GOLD RUN CT
        OROVILLE, CA 95965            ACCOUNT NO.: NOT AVAILABLE


3.10567 PERRY, SERENA                             VARIOUS                              Litigation              UNDETERMINED
        PO BOX 2016
        NICE, CA 95464                ACCOUNT NO.: NOT AVAILABLE


3.10568 PERRY, SHIRLEY                            VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 303
        FORESTVILLE, CA 95631         ACCOUNT NO.: NOT AVAILABLE


3.10569 PERRY, TAMMIE AND GLENN                   VARIOUS                              Litigation              UNDETERMINED
        38 WINFIELD LANE
        WALNUT CREEK, CA 94595        ACCOUNT NO.: NOT AVAILABLE


3.10570 PERRY, TERI                               VARIOUS                              Litigation              UNDETERMINED
        5817 COPELAND RD
        PARADISE, CA 95969            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.10571 PERRY, VINSON                            VARIOUS                              Litigation              UNDETERMINED
        25385 JOHNATHAN LONG BARN
        SAN CARLOS, CA 94070          ACCOUNT NO.: NOT AVAILABLE


3.10572 PERRY, VIVIAN                            VARIOUS                              Litigation              UNDETERMINED
        777 N GRANT AVE APT 221
        MANTECA, CA 95336             ACCOUNT NO.: NOT AVAILABLE


3.10573 PERRY, WENDY                             VARIOUS                              Litigation              UNDETERMINED
        5949 DRYTOWN PL
        SAN JOSE, CA 95120            ACCOUNT NO.: NOT AVAILABLE


3.10574 PERRY'S DELICATESSEN #3-                 VARIOUS                              Litigation              UNDETERMINED
        SCHILLING, TINA
        1916 SIR FRANCIS DRAKE BLVD   ACCOUNT NO.: NOT AVAILABLE
        FAIRFAX, CA 94930


3.10575 PERSING, KIRK                            VARIOUS                              Litigation              UNDETERMINED
        16803 DRAPER MINE RD
        SONORA, CA 95370              ACCOUNT NO.: NOT AVAILABLE


3.10576 PERSSON, SUSAN                           VARIOUS                              Litigation              UNDETERMINED
        1123 GARDEN LANE
        LAFAYETTE, CA 94549           ACCOUNT NO.: NOT AVAILABLE


3.10577 PERUGINI, JOSHUA                         VARIOUS                              Litigation              UNDETERMINED
        P.O BOX 1253
        14102 TEMPLI CIRCLE           ACCOUNT NO.: NOT AVAILABLE
        MAGALIA, CA 95954


3.10578 PESCATORE, ANTHONY                       VARIOUS                              Litigation              UNDETERMINED
        12802 NEWTOWN RD
        REDDING, CA 96003             ACCOUNT NO.: NOT AVAILABLE


3.10579 PETALUMA, CITY OF-                       VARIOUS                              Litigation              UNDETERMINED
        QUIAMBAO, CECILIA
        11 ENGLISH ST.                ACCOUNT NO.: NOT AVAILABLE
        PETALUMA, CA 94952


3.10580 PETE, SLADANA                            VARIOUS                              Litigation              UNDETERMINED
        2048 JANETTE DR
        NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.10581 PETER DAVEY                              VARIOUS                              Litigation              UNDETERMINED
        54 JOAQUIN CRT
        DANVILLE, CA 94526            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.10582 PETERS, NONDIL                           VARIOUS                              Litigation              UNDETERMINED
        PO BOX 68
        C-16 CAMPBELL FIELD          ACCOUNT NO.: NOT AVAILABLE
        HOOPA, CA 95546


3.10583 PETERS, RALPH                            VARIOUS                              Litigation              UNDETERMINED
        PO BOX 842
        LOT 29A                      ACCOUNT NO.: NOT AVAILABLE
        HOOPA, CA 95546


3.10584 PETERS, TOM AND GEORGIEAN                VARIOUS                              Litigation              UNDETERMINED
        1324 W SAN JOSE
        FRESNO, CA 93711             ACCOUNT NO.: NOT AVAILABLE


3.10585 PETERS, WESLEY                           VARIOUS                              Litigation              UNDETERMINED
        24325 GLENWOOD DR.
        LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.10586 PETERSEN, KAELEIGH                       VARIOUS                              Litigation              UNDETERMINED
        19295 BELLINZONA AVE
        SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.10587 PETERSEN, ROBERT                         VARIOUS                              Litigation              UNDETERMINED
        18101 GOLDEN OAKS DRIVE
        JAMESTOWN, CA 95327          ACCOUNT NO.: NOT AVAILABLE


3.10588 PETERSEN, SCOTT                          VARIOUS                              Litigation              UNDETERMINED
        330 ALDER STREET
        ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.10589 PETERSEN, VALERIE                        VARIOUS                              Litigation              UNDETERMINED
        16401 SAN PABLO AVE
        SAN PABLO, CA 94806          ACCOUNT NO.: NOT AVAILABLE


3.10590 PETERSON JR., JAMES                      VARIOUS                              Litigation              UNDETERMINED
        BRAYTON PURCELL, LLP
        225 RUSH LANDING ROAD, P.O   ACCOUNT NO.: NOT AVAILABLE
        BOX 6169
        NOVATO, CA 94949-6169


3.10591 PETERSON, BRIDGET                        VARIOUS                              Litigation              UNDETERMINED
        2436 STURLA DR
        SAN JOSE, CA 95148           ACCOUNT NO.: NOT AVAILABLE


3.10592 PETERSON, CAROLYN                        VARIOUS                              Litigation              UNDETERMINED
        2985 FIRST STREET
        NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.10593 PETERSON, DONALD                        VARIOUS                              Litigation              UNDETERMINED
        3383 MEADOW OAK DR
        COTTONWOOD, CA 96022        ACCOUNT NO.: NOT AVAILABLE


3.10594 PETERSON, DONALD                        VARIOUS                              Litigation              UNDETERMINED
        19340 SUSAN WAY
        SONORA, CA 95370            ACCOUNT NO.: NOT AVAILABLE


3.10595 PETERSON, GEORGE                        VARIOUS                              Litigation              UNDETERMINED
        232 FOREST PARK CT
        PACIFIC GROVE, CA 93950     ACCOUNT NO.: NOT AVAILABLE


3.10596 PETERSON, JOSHUA                        VARIOUS                              Litigation              UNDETERMINED
        PO BOX 1012
        STOCKTON, CA 95201          ACCOUNT NO.: NOT AVAILABLE


3.10597 PETERSON, KENNETH                       VARIOUS                              Litigation              UNDETERMINED
        4363 KOPTA RD
        CORNING, CA 96021           ACCOUNT NO.: NOT AVAILABLE


3.10598 PETERSON, ROBERT                        VARIOUS                              Litigation              UNDETERMINED
        2835 SIERRA ROAD
        SAN JOSE, CA 95132          ACCOUNT NO.: NOT AVAILABLE


3.10599 PETERSON, ROSS                          VARIOUS                              Litigation              UNDETERMINED
        30 MULRYAN CT.
        SAN MATEO, CA 94403         ACCOUNT NO.: NOT AVAILABLE


3.10600 PETERSON, SCOTT                         VARIOUS                              Litigation              UNDETERMINED
        90 BARDOLINO LN
        OROVILLE, CA 95966          ACCOUNT NO.: NOT AVAILABLE


3.10601 PETERSON, SETH                          VARIOUS                              Litigation              UNDETERMINED
        4529 IRVING ST
        SAN FRANCISCO, CA 94122     ACCOUNT NO.: NOT AVAILABLE


3.10602 PETERSON, TANYA                         VARIOUS                              Litigation              UNDETERMINED
        625 W.RIALTO
        FRESNO, CA 93705            ACCOUNT NO.: NOT AVAILABLE


3.10603 PETE'S MORRO BAY TIRE AND               VARIOUS                              Litigation              UNDETERMINED
        AUTO-HURNI, TANIA
        375 QUINTANA RD             ACCOUNT NO.: NOT AVAILABLE
        MORRO BAY, CA 93442




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Including Zip Code                           Account Number                              Claim

Litigation & Disputes

3.10604 PETITS PAINS-BOURGADE,                    VARIOUS                              Litigation              UNDETERMINED
        ALAIN
        1730 GILBRETH ROAD            ACCOUNT NO.: NOT AVAILABLE
        BURLINGAME, CA 94010


3.10605 PETITS PAINS-BOURGADE,                    VARIOUS                              Litigation              UNDETERMINED
        ALAIN
        1730 GILBRETH RD.             ACCOUNT NO.: NOT AVAILABLE
        BURLINGAME, CA 94010


3.10606 PETKOVICH, FRANCIS                        VARIOUS                              Litigation              UNDETERMINED
        5121 KENSLEY COURT
        GRANITE BAY, CA 95746         ACCOUNT NO.: NOT AVAILABLE


3.10607 PETRICK, KATHERINE                        VARIOUS                              Litigation              UNDETERMINED
        158 KERN ST
        8                             ACCOUNT NO.: NOT AVAILABLE
        SALINAS, CA 93940


3.10608 PETRILLE, ROBERT AND PENNY                VARIOUS                              Litigation              UNDETERMINED
        1231 N HAYES AVENUE
        FRESNO, CA 93723              ACCOUNT NO.: NOT AVAILABLE


3.10609 PETROVICH, LIVIA                          VARIOUS                              Litigation              UNDETERMINED
        1953 LEILA STREET
        CASTRO VALLEY, CA 94546       ACCOUNT NO.: NOT AVAILABLE


3.10610 PETSCHE, JOHN                             VARIOUS                              Litigation              UNDETERMINED
        130 MARLOW DR.
        OAKLAND, CA 94605             ACCOUNT NO.: NOT AVAILABLE


3.10611 PETTIS, CYNTHIA                           VARIOUS                              Litigation              UNDETERMINED
        6930 LAKEVIEW DRIVE
        SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.10612 PETTIT, ALLISON                           VARIOUS                              Litigation              UNDETERMINED
        2662 23RD AVE
        1A                            ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94606


3.10613 PETTIT, SHANNON                           VARIOUS                              Litigation              UNDETERMINED
        38273 HWY 299E
        BURNEY, CA 96013              ACCOUNT NO.: NOT AVAILABLE


3.10614 PETZ, MICHAEL                             VARIOUS                              Litigation              UNDETERMINED
        32150 S. BEVIS ROAD
        TRACY, CA 95304               ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.10615 PETZOLD, CHRISTOPHER                     VARIOUS                              Litigation              UNDETERMINED
        839 WASHINGTON AVE.
        ALBANY, CA 94706             ACCOUNT NO.: NOT AVAILABLE


3.10616 PEW, STACY                               VARIOUS                              Litigation              UNDETERMINED
        6648 LINCOLN DR
        PARADISE, CA 95969           ACCOUNT NO.: NOT AVAILABLE


3.10617 PEYALOZA, MARIA                          VARIOUS                              Litigation              UNDETERMINED
        417 MELISSA CT
        BAKERFIELD, CA 93304         ACCOUNT NO.: NOT AVAILABLE


3.10618 PEYTON & ASSOCIATES -                    VARIOUS                              Litigation              UNDETERMINED
        RUCKER, DANIELLE
        2701 COTTAGE WAY, SUITE 11   ACCOUNT NO.: NOT AVAILABLE
        SACRAMENTO, CA 95825


3.10619 PEYVAN, MEHRDAD                          VARIOUS                              Litigation              UNDETERMINED
        3980 COWAN RD
        LAFAYETTE, CA 94549          ACCOUNT NO.: NOT AVAILABLE


3.10620 PEZEL, ANDREA                            VARIOUS                              Litigation              UNDETERMINED
        1140 JAMIE DRIVE
        CONCORD, CA 94518            ACCOUNT NO.: NOT AVAILABLE


3.10621 PEZINO, CHRISTINE                        VARIOUS                              Litigation              UNDETERMINED
        14624 GOLF LINKS DRIVE
        LOS GATOS, CA 95032          ACCOUNT NO.: NOT AVAILABLE


3.10622 PEZZINI AIRBNB RENTAL                    VARIOUS                              Litigation              UNDETERMINED
        PROPERTY-PEZZINI, TONY
        P.O. BOX 1276                ACCOUNT NO.: NOT AVAILABLE
        CASTROVILLE, CA 95012


3.10623 PEZZOLA, CAROLIN                         VARIOUS                              Litigation              UNDETERMINED
        17 HIGHLAND HIGHWAY
        2599 POWELL DRIVE            ACCOUNT NO.: NOT AVAILABLE
        PINECREST, CA 95364


3.10624 PFAFF, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
        PO BOX 639
        CLEMENTS, CA 95227           ACCOUNT NO.: NOT AVAILABLE


3.10625 PFANKUCHEN, THERAL                       VARIOUS                              Litigation              UNDETERMINED
        43743 KNICKERBOCKER ROAD
        AHWAHNEE, CA 93601           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                                 Account Number                           Claim

Litigation & Disputes

3.10626 PFEFFER, KAMI                                VARIOUS                              Litigation              UNDETERMINED
        155 DOMINICAN DR
        SAN RAFAEL, CA 94901                ACCOUNT NO.: NOT AVAILABLE


3.10627 PG&E                                         VARIOUS                              Litigation              UNDETERMINED
        GARY LIVAICH, ESQ.BRIAN
        MANNING, ESQ.DESMOND,               ACCOUNT NO.: NOT AVAILABLE
        NOLAN, LIVAICH & CUNNINGHAM
        1830 15TH STREET
        SACRAMENTO, CA 95811


3.10628 PG&E and (Cross-Complainat)Jeff              VARIOUS                              Litigation              UNDETERMINED
        Alexander, doing business as BIG
        N DEEP AGRICULTURAL                 ACCOUNT NO.: NOT AVAILABLE
        DEVELOPMENT, and JEFF
        ALEXANDER FARMING
        Law Office of Ralph B. Wegis (Co-
        Counsel for Defendants)The
        Hoppe Law Group (Co-Counsel for
        Defendants)
        1930 Truxtun Avenue
        Bakersfield, CA 93704


3.10629 PG&E-COYT SALCEDO, BLANCA                    VARIOUS                              Litigation              UNDETERMINED
        CELI
        1572                                ACCOUNT NO.: NOT AVAILABLE
        4
        SALINAS, CA 93905


3.10630 PG&E-FORSYTH, DILLON                         VARIOUS                              Litigation              UNDETERMINED
        1790 BOLLINGER LN
        SEBASTOPOL, CA 95472                ACCOUNT NO.: NOT AVAILABLE


3.10631 PG&E-HERNANDEZ, RICHARD                      VARIOUS                              Litigation              UNDETERMINED
        1566 MANHATTAN AVE
        GROVER BEACH, CA 93433              ACCOUNT NO.: NOT AVAILABLE


3.10632 PG&E-NEUSTAETTER, ARNOLD                     VARIOUS                              Litigation              UNDETERMINED
        137 STETSON AVE
        CORTE MADERA, CA 94925              ACCOUNT NO.: NOT AVAILABLE


3.10633 PGE-DUNTON, JAMES                            VARIOUS                              Litigation              UNDETERMINED
        14997 WONDERLAND BLVD
        REDDING, CA 96003                   ACCOUNT NO.: NOT AVAILABLE


3.10634 PGE-SHOHEL, ASHAN                            VARIOUS                              Litigation              UNDETERMINED
        2731 BERNARD ST
        APT 74                              ACCOUNT NO.: NOT AVAILABLE
        BAKERSFIELD, CA 93306




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.10635 PHAM, GARRY                             VARIOUS                              Litigation              UNDETERMINED
        7355 ARROWHEAD DR
        SALINAS, CA 93907           ACCOUNT NO.: NOT AVAILABLE


3.10636 PHAM, KEVIN                             VARIOUS                              Litigation              UNDETERMINED
        4787 VALPEY PARK CT
        FREMONT, CA 94538           ACCOUNT NO.: NOT AVAILABLE


3.10637 PHAM, MEGAN                             VARIOUS                              Litigation              UNDETERMINED
        139 WALFORD DRIVE
        MORAGA, CA 94556            ACCOUNT NO.: NOT AVAILABLE


3.10638 PHAM, MEGAN                             VARIOUS                              Litigation              UNDETERMINED
        139 WALFORD DRIVE
        MORAGA, CA 94556            ACCOUNT NO.: NOT AVAILABLE


3.10639 PHAM, NGUYET                            VARIOUS                              Litigation              UNDETERMINED
        43753 CAMERON HILLS DR
        FREMONT, CA 94539           ACCOUNT NO.: NOT AVAILABLE


3.10640 PHAM, VAN UYEN                          VARIOUS                              Litigation              UNDETERMINED
        1085 W DANA ST
        MOUNTAIN VIEW, CA 94041     ACCOUNT NO.: NOT AVAILABLE


3.10641 PHAN, ANA                               VARIOUS                              Litigation              UNDETERMINED
        1324 46TH AVE
        SAN FRANCISCO, CA 94122     ACCOUNT NO.: NOT AVAILABLE


3.10642 PHAN, MINH                              VARIOUS                              Litigation              UNDETERMINED
        705 FLEMING AVE.
        SAN JOSE, CA 95127          ACCOUNT NO.: NOT AVAILABLE


3.10643 PHASA, LIAN                             VARIOUS                              Litigation              UNDETERMINED
        7323 N EL DORADO STREET
        STOCKTON, CA 95207          ACCOUNT NO.: NOT AVAILABLE


3.10644 PHELPS, KEN                             VARIOUS                              Litigation              UNDETERMINED
        6201 IVY TRL
        EL DORADO, CA 95623-4220    ACCOUNT NO.: NOT AVAILABLE


3.10645 PHENICIE, EMILY                         VARIOUS                              Litigation              UNDETERMINED
        1220 THE PIKE
        ARROYO GRANDE, CA 93420     ACCOUNT NO.: NOT AVAILABLE


3.10646 PHIFER, STEPHANIE                       VARIOUS                              Litigation              UNDETERMINED
        1448 TANGLEWOOD DRIVE
        PLACERVILLE, CA 95667       ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                            Account Number                            Claim

Litigation & Disputes

3.10647 PHILIP TOGNI VINEYARD-TOGNI,             VARIOUS                              Litigation              UNDETERMINED
        PHILIP
        P.O. BOX 81                    ACCOUNT NO.: NOT AVAILABLE
        ST. HELENA, CA 94574


3.10648 PHILIP VERWEY FARMS                      VARIOUS                              Litigation              UNDETERMINED
        13TH AVE
        HANFORD, CA                    ACCOUNT NO.: NOT AVAILABLE


3.10649 PHILIPPS, WILLIAM                        VARIOUS                              Litigation              UNDETERMINED
        1075 LEWIS CIRCLE
        SANTA CRUZ, CA 95062           ACCOUNT NO.: NOT AVAILABLE


3.10650 PHILIPS, CURTIS                          VARIOUS                              Litigation              UNDETERMINED
        520 HEATHCLIFF DRIVE
        PACIFICA, CA 94044             ACCOUNT NO.: NOT AVAILABLE


3.10651 PHILLIP MCGILL, TAMRA MCGILL             VARIOUS                              Litigation              UNDETERMINED
        ROGER A. DREYER, ROBERT
        BALE, ANTON BABICH             ACCOUNT NO.: NOT AVAILABLE
        23 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.10652 PHILLIPS 66 PIPELINE, LLC-               VARIOUS                              Litigation              UNDETERMINED
        ROCHON, ROBERT
        411 SOUTH KEELER AVE           ACCOUNT NO.: NOT AVAILABLE
        BARTLESVILLE, CA 74004


3.10653 PHILLIPS JR., GARY                       VARIOUS                              Litigation              UNDETERMINED
        1500 GARYS LANE
        OROVILLE, CA 95965             ACCOUNT NO.: NOT AVAILABLE


3.10654 PHILLIPS, GARY                           VARIOUS                              Litigation              UNDETERMINED
        629 STIMPSON ROAD
        OROVILLE, CA 95965             ACCOUNT NO.: NOT AVAILABLE


3.10655 PHILLIPS, JEFF                           VARIOUS                              Litigation              UNDETERMINED
        2321 NEVA COURT
        PINOLE, CA 94564               ACCOUNT NO.: NOT AVAILABLE


3.10656 PHILLIPS, JEFF                           VARIOUS                              Litigation              UNDETERMINED
        8470 ST. HELENA RD
        SANTA ROSA, CA 95404           ACCOUNT NO.: NOT AVAILABLE


3.10657 PHILLIPS, PEGGY                          VARIOUS                              Litigation              UNDETERMINED
        390 CEDAR GOP RD
        MAD RIVER, CA 95552            ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.10658 PHILLIPS, RICHARD                       VARIOUS                              Litigation              UNDETERMINED
        1900 MONUMENT RD
        RIO DELL, CA 95562           ACCOUNT NO.: NOT AVAILABLE


3.10659 PHILLIPS, ROBERT                        VARIOUS                              Litigation              UNDETERMINED
        3735 PINEWOOD PLACE
        SANTA CLARA, CA 95054        ACCOUNT NO.: NOT AVAILABLE


3.10660 PHILLIPS, SCHARLEE                      VARIOUS                              Litigation              UNDETERMINED
        4088 NORMANDALE DRIVE
        SAN JOSE, CA 95118           ACCOUNT NO.: NOT AVAILABLE


3.10661 PHIPPS, DAN                             VARIOUS                              Litigation              UNDETERMINED
        10277 FORST SPRINGS DRIVE
        GRASS VALLEY, CA 95949       ACCOUNT NO.: NOT AVAILABLE


3.10662 PHO LUCKY NOODLE HOUSE-                 VARIOUS                              Litigation              UNDETERMINED
        NGUYEN, OANH
        242 COSKY DR                 ACCOUNT NO.: NOT AVAILABLE
        STE R
        MARINA, CA 93933


3.10663 PHOENIX LOSS CONTROL                    VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 271504
        CORNER OF YGNACIO VALLEY     ACCOUNT NO.: NOT AVAILABLE
        RD. AND CRYSTAL RANCH RD.
        CONCORD, CA 94520


3.10664 PHOENIX LOSS CONTROL INC.,              VARIOUS                              Litigation              UNDETERMINED
        CLM #169024655
        PO BOX 271504                ACCOUNT NO.: NOT AVAILABLE
        315 QUINNHILL COURT
        LOS ALTOS, CA 94024


3.10665 PHOENIX LOSS CONTROL INC.,              VARIOUS                              Litigation              UNDETERMINED
        CLM #169024655
        PO BOX 271504                ACCOUNT NO.: NOT AVAILABLE
        315 QUINNHILL COURT
        LOS ALTOS, CA 94024


3.10666 PHOENIX LOSS CONTROL,                   VARIOUS                              Litigation              UNDETERMINED
        COMCAST
        PO BOX 271504                ACCOUNT NO.: NOT AVAILABLE
        1505 LA SALLE
        AVENUE/CASHERE STREET
        SAN FRANCISCO, CA 94124




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Litigation & Disputes

3.10667 PHOENIX LOSS CONTROL, MO                VARIOUS                              Litigation              UNDETERMINED
        BRIM
        PO BOX 271504                  ACCOUNT NO.: NOT AVAILABLE
        3208 N. MARK AVENUE N
        WEBER AVENUE, FRESNO
        LITTLETON, CA 80127


3.10668 PHOENIX LOSS CONTROL/ATTY               VARIOUS                              Litigation              UNDETERMINED
        REP, COMCAST: 169024752
        PO BOX 271504                  ACCOUNT NO.: NOT AVAILABLE
        SACRAMENTO, CA 95608


3.10669 PHOENIX LOSS CONTROL/ATTY               VARIOUS                              Litigation              UNDETERMINED
        REP, COMCAST: 169024752
        PO BOX 271504                  ACCOUNT NO.: NOT AVAILABLE
        SACRAMENTO, CA 95608


3.10670 PHOENIX LOSS CONTROL/ATTY               VARIOUS                              Litigation              UNDETERMINED
        REP, COMCAST: 169024752
        PO BOX 271504                  ACCOUNT NO.: NOT AVAILABLE
        SACRAMENTO, CA 95608


3.10671 PHOENIX LOSS CONTROL/ATTY               VARIOUS                              Litigation              UNDETERMINED
        REP, COMCAST: 169024752
        PO BOX 271504                  ACCOUNT NO.: NOT AVAILABLE
        SACRAMENTO, CA 95608


3.10672 PHOENIX LOSS CONTROL/ATTY               VARIOUS                              Litigation              UNDETERMINED
        REP, COMCAST: 169024752
        PO BOX 271504                  ACCOUNT NO.: NOT AVAILABLE
        SACRAMENTO, CA 95608


3.10673 PHOENIX-COMCAST, COMCAST                VARIOUS                              Litigation              UNDETERMINED
        C/O CARDENAS & SERRANO
        SAN FRANCISCO, CA 94132        ACCOUNT NO.: NOT AVAILABLE


3.10674 PHUNG, SANG                             VARIOUS                              Litigation              UNDETERMINED
        11 TERRY CIRCLE
        NOVATO, CA 94947               ACCOUNT NO.: NOT AVAILABLE


3.10675 PHYLLIS DERMER (BI), JEANINE            VARIOUS                              Litigation              UNDETERMINED
        DERMER (DAUGHTER)
        PO BOX 8001                    ACCOUNT NO.: NOT AVAILABLE
        SANTA CRUZ, CA 95061


3.10676 PHYLLIS, WEBER                          VARIOUS                              Litigation              UNDETERMINED
        PO BOX 357
        EL PORTAL, CA 95318            ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.10677 PIANTADOSI, ENZO                        VARIOUS                              Litigation              UNDETERMINED
        1167 CLAREMONT DRIVE
        BRENTWOOD, CA 94513          ACCOUNT NO.: NOT AVAILABLE


3.10678 PIAZZA DANGELO-FERGUSON,                VARIOUS                              Litigation              UNDETERMINED
        FELICIA
        22 MILLER AVE                ACCOUNT NO.: NOT AVAILABLE
        MILL VALLEY, CA 94941


3.10679 PICAZO, ROCIO                           VARIOUS                              Litigation              UNDETERMINED
        20 S.HEBBRON APT A
        SALINAS, CA 93905            ACCOUNT NO.: NOT AVAILABLE


3.10680 PICCOLO ITALIA PIZZA-SACI,              VARIOUS                              Litigation              UNDETERMINED
        MOURAD
        799 O'FARRELL                ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94109


3.10681 PICETTI, LOUISE                         VARIOUS                              Litigation              UNDETERMINED
        2165 OAKCREST DR
        LAKEPORT, CA 95453           ACCOUNT NO.: NOT AVAILABLE


3.10682 PICKELL, STAN                           VARIOUS                              Litigation              UNDETERMINED
        221 AMEND CT
        EL SOBRANTE, CA 94803        ACCOUNT NO.: NOT AVAILABLE


3.10683 PICKENS, CHANNAE                        VARIOUS                              Litigation              UNDETERMINED
        3373 N MILLBROOKE AVE, APT
        28                           ACCOUNT NO.: NOT AVAILABLE
        FRESNO, CA 93726


3.10684 PICKERING, JEANNINE                     VARIOUS                              Litigation              UNDETERMINED
        982 KERN CT
        LIVERMORE, CA 94551          ACCOUNT NO.: NOT AVAILABLE


3.10685 PICOT, ANGELIQUE V. PG&E                VARIOUS                              Litigation              UNDETERMINED
        2708 ALCALA STREET
        ANTIOCH, CA 94509            ACCOUNT NO.: NOT AVAILABLE


3.10686 PIECH, WILLIAM                          VARIOUS                              Litigation              UNDETERMINED
        1482 CHERRY AVE.
        SAN JOSE, CA 95125           ACCOUNT NO.: NOT AVAILABLE


3.10687 PIEDMONT PLACE-PATEL,                   VARIOUS                              Litigation              UNDETERMINED
        ANAND
        55 MACARTHUR BLVD.           ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94610



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Including Zip Code                           Account Number                              Claim

Litigation & Disputes

3.10688 PIER23CAFE INC-MCGURRIN,                  VARIOUS                              Litigation              UNDETERMINED
        FLICKA
        EMBARCADERO                   ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94111


3.10689 PIERACCINI, LISA                          VARIOUS                              Litigation              UNDETERMINED
        956 CORNELL AVE
        ALBANY, CA 94706              ACCOUNT NO.: NOT AVAILABLE


3.10690 PIERATT, MARY                             VARIOUS                              Litigation              UNDETERMINED
        461 E SACRAMENTO AVE
        CHICO, CA 95926               ACCOUNT NO.: NOT AVAILABLE


3.10691 PIERCE, ANGIE                             VARIOUS                              Litigation              UNDETERMINED
        1212 MAD RIVER ROAD
        ARCATA, CA 95521              ACCOUNT NO.: NOT AVAILABLE


3.10692 PIERCE, KYLE                              VARIOUS                              Litigation              UNDETERMINED
        501 CAMINO AGUAJITO
        302                           ACCOUNT NO.: NOT AVAILABLE
        MONTEREY, CA 93940


3.10693 PIERCE, RON                               VARIOUS                              Litigation              UNDETERMINED
        PO BOX 1238
        SHAFTER, CA 93263             ACCOUNT NO.: NOT AVAILABLE


3.10694 PIERCE, STEPHEN                           VARIOUS                              Litigation              UNDETERMINED
        1495 MONTEREY ST.
        RICHMOND, CA 94804            ACCOUNT NO.: NOT AVAILABLE


3.10695 PIEROTTI, LOUISE                          VARIOUS                              Litigation              UNDETERMINED
        1045 MONTEREY
        FOSTER CITY, CA 94404         ACCOUNT NO.: NOT AVAILABLE


3.10696 PIERPONT, JOHN                            VARIOUS                              Litigation              UNDETERMINED
        1979 FOXRIDGE COURT
        WALNUT CREEK, CA 94597        ACCOUNT NO.: NOT AVAILABLE


3.10697 PIERRE, JULIEN                            VARIOUS                              Litigation              UNDETERMINED
        990 TYBALT DR
        SAN JOSE, CA 95127            ACCOUNT NO.: NOT AVAILABLE


3.10698 PIERSON, CLEO                             VARIOUS                              Litigation              UNDETERMINED
        10811 OAK RUN RD
        OAK RUN, CA 96069             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                            Claim

Litigation & Disputes

3.10699 PIEXOTO, WILLIAM                       VARIOUS                              Litigation              UNDETERMINED
        74 S 15TH ST
        SAN JOSE, CA 95112           ACCOUNT NO.: NOT AVAILABLE


3.10700 PIFER, DONALD                          VARIOUS                              Litigation              UNDETERMINED
        5085 HILL RD. E.
        LAKEPORT, CA 95453           ACCOUNT NO.: NOT AVAILABLE


3.10701 PIGNATI, EDIE/BERNACO                  VARIOUS                              Litigation              UNDETERMINED
        1943 MOUNT VERNON COURT
        MOUNTAIN VIEW, CA 94040      ACCOUNT NO.: NOT AVAILABLE


3.10702 PIKE, GARY                             VARIOUS                              Litigation              UNDETERMINED
        4392 N. CHARLES AVE.
        FRESNO, CA 93722             ACCOUNT NO.: NOT AVAILABLE


3.10703 PIKE, SHIRLEY                          VARIOUS                              Litigation              UNDETERMINED
        6713 HOOPER AVE
        BAKERSFIELD, CA              ACCOUNT NO.: NOT AVAILABLE


3.10704 PIKE-SMIGELAKI, RICHARD                VARIOUS                              Litigation              UNDETERMINED
        9552 ALLEGHENY DRIVE
        SACRAMENTO, CA 95827         ACCOUNT NO.: NOT AVAILABLE


3.10705 PILAND, MIDGE                          VARIOUS                              Litigation              UNDETERMINED
        PO BOX 1032
        SODA SPRINGS, CA 95728       ACCOUNT NO.: NOT AVAILABLE


3.10706 PILARCZYK, MARK                        VARIOUS                              Litigation              UNDETERMINED
        815 MIDDLETON DRIVE
        BOULDER CREEK, CA 95006      ACCOUNT NO.: NOT AVAILABLE


3.10707 PILGER, PAUL                           VARIOUS                              Litigation              UNDETERMINED
        2903 WINDHAM HILL STREET
        BAKERSFIELD, CA 93311        ACCOUNT NO.: NOT AVAILABLE


3.10708 PILLON, TROY                           VARIOUS                              Litigation              UNDETERMINED
        15207 CHELSEA DRIVE
        26609 HIGH TREES DRIVE,      ACCOUNT NO.: NOT AVAILABLE
        PIONEER
        SAN JOSE, CA 95124


3.10709 PILNICK, BRUCE                         VARIOUS                              Litigation              UNDETERMINED
        1180 LAS TUNAS
        MORRO BAY, CA 93442          ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.10710 PIMENTEL, VICENTE                       VARIOUS                              Litigation              UNDETERMINED
        4866 BERNAL DR
        STOCKTON, CA 95206            ACCOUNT NO.: NOT AVAILABLE


3.10711 PINA, DURAN                             VARIOUS                              Litigation              UNDETERMINED
        6785 W KADOTA
        FRESNO, CA 93723              ACCOUNT NO.: NOT AVAILABLE


3.10712 PINA, GINA                              VARIOUS                              Litigation              UNDETERMINED
        54 HOOVER ST
        OROVILLE, CA 95966            ACCOUNT NO.: NOT AVAILABLE


3.10713 PINCHBACK, EUGENE                       VARIOUS                              Litigation              UNDETERMINED
        35160 ROAD 603 UNIT B
        MADERA, CA 93638              ACCOUNT NO.: NOT AVAILABLE


3.10714 PINCHBACK, EUGENE                       VARIOUS                              Litigation              UNDETERMINED
        35176 ROAD 603
        #B                            ACCOUNT NO.: NOT AVAILABLE
        MADERA, CA 93638


3.10715 PINCUS, ANNE                            VARIOUS                              Litigation              UNDETERMINED
        11210 JACK TAR DRIVE
        SEBASTOPOL, CA 95472          ACCOUNT NO.: NOT AVAILABLE


3.10716 PINECREST PERMITTEES                    VARIOUS                              Litigation              UNDETERMINED
        ASSOCIATION-COYAN, ADAM
        P.O. BOX 1248                 ACCOUNT NO.: NOT AVAILABLE
        PINECREST AVENUE NUMBER 1
        SHOP FACILITY
        PINECREST, CA 95364


3.10717 PINEDA, EDY                             VARIOUS                              Litigation              UNDETERMINED
        1001 NORTON STREET
        SAN MATEO, CA 94401           ACCOUNT NO.: NOT AVAILABLE


3.10718 PINEDA, KEVIN                           VARIOUS                              Litigation              UNDETERMINED
        1080 CAPP ST, # 2B
        SAN FRANCISCO, CA 94110       ACCOUNT NO.: NOT AVAILABLE


3.10719 PINEDA, MAGDALENA                       VARIOUS                              Litigation              UNDETERMINED
        194 AZUCAR AVE
        SAN JOSE, CA 95111            ACCOUNT NO.: NOT AVAILABLE


3.10720 PINEDA, MARIA                           VARIOUS                              Litigation              UNDETERMINED
        6774 RIVERLAND DRIVE, SPACE
        22                            ACCOUNT NO.: NOT AVAILABLE
        REDDING, CA 96002


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Including Zip Code                          Account Number                            Claim

Litigation & Disputes

3.10721 PINHEIRO, MARCELO                      VARIOUS                              Litigation              UNDETERMINED
        PO BOX 14592
        SAN FRANCISCO, CA 94114      ACCOUNT NO.: NOT AVAILABLE


3.10722 PINKERTON, CRIS                        VARIOUS                              Litigation              UNDETERMINED
        201 MERCEDES CT
        OAKLEY, CA 94561             ACCOUNT NO.: NOT AVAILABLE


3.10723 PINKNEY, THOMAS                        VARIOUS                              Litigation              UNDETERMINED
        7526 DEERWOOD AVE
        OAKLAND, CA 94605            ACCOUNT NO.: NOT AVAILABLE


3.10724 PINON, ISMAEL                          VARIOUS                              Litigation              UNDETERMINED
        39007 BLACK ROAD
        OAKHURST, CA 93644           ACCOUNT NO.: NOT AVAILABLE


3.10725 PINTHER, STEAPEHN WARD                 VARIOUS                              Litigation              UNDETERMINED
        2035 CYPRESS POINT
        DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.10726 PIPER, ROBERT                          VARIOUS                              Litigation              UNDETERMINED
        20901 OLD SANTA CRUZ HWY
        LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.10727 PIPKIN, SCOTT & DEANA                  VARIOUS                              Litigation              UNDETERMINED
        P.O BOX 4
        29401 AUBERRY ROAD           ACCOUNT NO.: NOT AVAILABLE
        PRATHER, CA 93651


3.10728 PIPPIN, SHELLY                         VARIOUS                              Litigation              UNDETERMINED
        2097 SHELBY CIR
        EL DORADO HILLS, CA 95762    ACCOUNT NO.: NOT AVAILABLE


3.10729 PIRATES COVE RESTUARANT 2,             VARIOUS                              Litigation              UNDETERMINED
        JORGE CARBAJAL
        405 SCHOOL STREET            ACCOUNT NO.: NOT AVAILABLE
        POINT ARENA, CA 95468


3.10730 PIRAZZI, LAURA                         VARIOUS                              Litigation              UNDETERMINED
        1875 NASH DRIVE
        SAN MATEO, CA 94401          ACCOUNT NO.: NOT AVAILABLE


3.10731 PIRES, VICTOR & GRACE                  VARIOUS                              Litigation              UNDETERMINED
        327 S 15TH STREET
        327 BEACH DRIVE              ACCOUNT NO.: NOT AVAILABLE
        APTOS, CA 95003




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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.10732 PIRLO, APOLLOS                          VARIOUS                              Litigation              UNDETERMINED
        PO BOX 630
        COBB MT                       ACCOUNT NO.: NOT AVAILABLE
        COBB, CA 95426


3.10733 PIROVANO, CARLA                         VARIOUS                              Litigation              UNDETERMINED
        PO BOX 351
        WILLOW CREEK, CA 95573        ACCOUNT NO.: NOT AVAILABLE


3.10734 PISA, JOSEPHINE                         VARIOUS                              Litigation              UNDETERMINED
        330 MENHADEN CT.
        FOSTER CITY, CA 94404         ACCOUNT NO.: NOT AVAILABLE


3.10735 PISANI, TOM                             VARIOUS                              Litigation              UNDETERMINED
        3352 FONTANA DR.
        ANTIOCH, CA 94509             ACCOUNT NO.: NOT AVAILABLE


3.10736 PISMO BOWL-GOLDIE, STEVE                VARIOUS                              Litigation              UNDETERMINED
        277 POMEROY
        PISMO BEACH, CA 93449         ACCOUNT NO.: NOT AVAILABLE


3.10737 PISMO FAMILY PRACTICE-                  VARIOUS                              Litigation              UNDETERMINED
        WEISS, WENDY
        575 PRICE ST.                 ACCOUNT NO.: NOT AVAILABLE
        101
        PISMO BEACH, CA 93449


3.10738 PISTORESI, PHILLIP                      VARIOUS                              Litigation              UNDETERMINED
        13445 MELISSA COURT
        MADERA, CA 93637              ACCOUNT NO.: NOT AVAILABLE


3.10739 PISTOS TACOS MARINA LLC-                VARIOUS                              Litigation              UNDETERMINED
        SALEM, SINA
        2030 LOMBARD STREET           ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94123


3.10740 PITA HUB                                VARIOUS                              Litigation              UNDETERMINED
        2300 BAY ROAD
        REDWOOD CITY, CA 94063        ACCOUNT NO.: NOT AVAILABLE


3.10741 PITA HUB-HABIB, CHRIS                   VARIOUS                              Litigation              UNDETERMINED
        799 EL CAMINO REAL
        SAN BRUNO, CA 94066           ACCOUNT NO.: NOT AVAILABLE


3.10742 PITAU, DONALD                           VARIOUS                              Litigation              UNDETERMINED
        3121 BYER RD
        BRENTWOOD, CA 94514           ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                          Account Number                            Claim

Litigation & Disputes

3.10743 PITNER, AMBER                          VARIOUS                              Litigation              UNDETERMINED
        6919 GRANADA DRIVE
        REDDING, CA 96002            ACCOUNT NO.: NOT AVAILABLE


3.10744 PITRUZZELLO, JOSEPH                    VARIOUS                              Litigation              UNDETERMINED
        108 44TH AVENUE
        SAN MATEO, CA 94403          ACCOUNT NO.: NOT AVAILABLE


3.10745 PITRUZZELLO, MELISSA                   VARIOUS                              Litigation              UNDETERMINED
        1217 LOWELL ST.
        SEASIDE, CA 93955            ACCOUNT NO.: NOT AVAILABLE


3.10746 PITTERS, KIMBERLY                      VARIOUS                              Litigation              UNDETERMINED
        2084 BLUEBIRD WAY
        FAIRFIELD, CA 94533          ACCOUNT NO.: NOT AVAILABLE


3.10747 PITTMAN, ALEX                          VARIOUS                              Litigation              UNDETERMINED
        727 ASHBURY STREET
        APT 1                        ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94117


3.10748 PITTMAN, LORRAINE                      VARIOUS                              Litigation              UNDETERMINED
        PO BOX 1303
        10 WELCH LANE                ACCOUNT NO.: NOT AVAILABLE
        IONE, CA 95640


3.10749 PITTO, FRANK                           VARIOUS                              Litigation              UNDETERMINED
        6262 LIBERTY ISLAND RD
        DIXON, CA 95620              ACCOUNT NO.: NOT AVAILABLE


3.10750 PITTS, JOHN                            VARIOUS                              Litigation              UNDETERMINED
        1050 3RD STREET
        SANTA ROSA, CA 95404         ACCOUNT NO.: NOT AVAILABLE


3.10751 PIZZA AT THE BRANCH                    VARIOUS                              Litigation              UNDETERMINED
        3881 HWY A-13
        LAKE ALMANOR, CA 96137       ACCOUNT NO.: NOT AVAILABLE


3.10752 PIZZA DUDE ENTERPRISES (               VARIOUS                              Litigation              UNDETERMINED
        MARCOS PIZZA), STEVEN &
        TRACY BARBO                  ACCOUNT NO.: NOT AVAILABLE
        1107 HOUGHTON AVENUE
        2116 SOLANO STREET
        CORNING, CA 96021


3.10753 PIZZA FACTORY WASCO-AKINS,             VARIOUS                              Litigation              UNDETERMINED
        RUSS
        2325 HIGHWAY 46              ACCOUNT NO.: NOT AVAILABLE
        WASCO, CA 93280

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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.10754 PIZZO, LORENE                           VARIOUS                              Litigation              UNDETERMINED
        5301 E. MAIN ST.
        STOCKTON, CA 95215            ACCOUNT NO.: NOT AVAILABLE


3.10755 PIZZO, STEPHEN                          VARIOUS                              Litigation              UNDETERMINED
        120 NICHOLS DR.
        SANTA CRUZ, CA 95060          ACCOUNT NO.: NOT AVAILABLE


3.10756 PLACIDO, KENDALL                        VARIOUS                              Litigation              UNDETERMINED
        101 PARKSHORE DRIVE STE 205
        1720 OAKVIEW DRIVE            ACCOUNT NO.: NOT AVAILABLE
        ROSEVILLE, CA


3.10757 PLANASA LLC, N. WELLS                   VARIOUS                              Litigation              UNDETERMINED
        21008 DERSCH RD
        ANDERSON, CA 96007            ACCOUNT NO.: NOT AVAILABLE


3.10758 PLANK, SUZANNE                          VARIOUS                              Litigation              UNDETERMINED
        6272 TERRACE DR
        POLLOCK PINES, CA 95726       ACCOUNT NO.: NOT AVAILABLE


3.10759 PLASCH, RAY                             VARIOUS                              Litigation              UNDETERMINED
        2411 CHERRY HILL DR
        DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.10760 PLASTICS, INC, MASTER                   VARIOUS                              Litigation              UNDETERMINED
        820 EUBANK DR,SUITE 1
        VACAVILLE, CA 95688           ACCOUNT NO.: NOT AVAILABLE


3.10761 PLASTIKON INDUSTRIES, INC-              VARIOUS                              Litigation              UNDETERMINED
        MILLS, GREG
        688 SANDOVAL WAY              ACCOUNT NO.: NOT AVAILABLE
        HAYWARD, CA 94544


3.10762 PLATO'S CLOSET SAN MATEO-               VARIOUS                              Litigation              UNDETERMINED
        ZIMDARS, CHRIS
        211 REICHLING AVE             ACCOUNT NO.: NOT AVAILABLE
        PACIFICA, CA 94044


3.10763 PLATZ, PAMELA                           VARIOUS                              Litigation              UNDETERMINED
        20244 SPRING GARDEN RD
        FORESTHILL, CA 95631          ACCOUNT NO.: NOT AVAILABLE


3.10764 PLEASANT VALLEY ORGANICS-               VARIOUS                              Litigation              UNDETERMINED
        STANLEY, DOUG
        PO BOX 842                    ACCOUNT NO.: NOT AVAILABLE
        COALINGA, CA 93210



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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.10765 PLEASANTON VALLEY CLUB                  VARIOUS                              Litigation              UNDETERMINED
        5151 GREENTREE COURT
        PLEASANTON, CA 94566          ACCOUNT NO.: NOT AVAILABLE


3.10766 PLEASANTON VALLEY CLUB                  VARIOUS                              Litigation              UNDETERMINED
        5014 GOLDEN RD
        PLEASANTON, CA 94566          ACCOUNT NO.: NOT AVAILABLE


3.10767 PLINCK, TRAVIS                          VARIOUS                              Litigation              UNDETERMINED
        378 A CORRAL DE TIERRA ROAD
        SALINAS, CA 93908             ACCOUNT NO.: NOT AVAILABLE


3.10768 PLKD LLC, PAUL DE SOUSA                 VARIOUS                              Litigation              UNDETERMINED
        250 FAIRFAX ROAD
        BAKERSFIELD, CA 93307         ACCOUNT NO.: NOT AVAILABLE


3.10769 PLOTNICK, DANIEL                        VARIOUS                              Litigation              UNDETERMINED
        318 VIENNA ST.
        SAN FRANCISCO, CA 94112       ACCOUNT NO.: NOT AVAILABLE


3.10770 PLOWMAN, KATHY                          VARIOUS                              Litigation              UNDETERMINED
        P.O BOX 1005
        CLEAR LAKE, CA 95422          ACCOUNT NO.: NOT AVAILABLE


3.10771 PLOWMAN, KATHY                          VARIOUS                              Litigation              UNDETERMINED
        PO BOX 5134
        NAPA, CA 94581                ACCOUNT NO.: NOT AVAILABLE


3.10772 POCOCK, DATHA                           VARIOUS                              Litigation              UNDETERMINED
        8502 KINROSS WAY
        STOCKTON, CA 95210            ACCOUNT NO.: NOT AVAILABLE


3.10773 PODKOLZIN, SVETLANA                     VARIOUS                              Litigation              UNDETERMINED
        485 BIFROST AVE
        PLEASANT HILL, CA 94523       ACCOUNT NO.: NOT AVAILABLE


3.10774 PODSHIVALOV, SERGEI                     VARIOUS                              Litigation              UNDETERMINED
        23535 TREEVIEW TRL
        LOS GATOS, CA 95033           ACCOUNT NO.: NOT AVAILABLE


3.10775 POFF, ALICIA                            VARIOUS                              Litigation              UNDETERMINED
        6468 KELSEY CREEK DRIVE
        KELSEYVILLE, CA 95451         ACCOUNT NO.: NOT AVAILABLE


3.10776 POGGI, GINNY                            VARIOUS                              Litigation              UNDETERMINED
        10475 MISSOURI BAR RD
        NEVADA CITY, CA 95959         ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                          Account Number                            Claim

Litigation & Disputes

3.10777 POGGI, GINNY                           VARIOUS                              Litigation              UNDETERMINED
        10475 MISSOURI BAR RD
        NEVADA CITY, CA 95959        ACCOUNT NO.: NOT AVAILABLE


3.10778 POGUE, KAREN                           VARIOUS                              Litigation              UNDETERMINED
        823 E OMAHA AVE
        FRESNO, CA 93720             ACCOUNT NO.: NOT AVAILABLE


3.10779 POKER FLAT PROPERTY                    VARIOUS                              Litigation              UNDETERMINED
        OWNERS ASSOCIATION, TOSO
        385 POKER FLAT RD            ACCOUNT NO.: NOT AVAILABLE
        COPPERPOPLIS, CA 95228


3.10780 POLAK, WOLFGANG                        VARIOUS                              Litigation              UNDETERMINED
        1021 YORKTOWN DR
        SUNNYVALE, CA 94087          ACCOUNT NO.: NOT AVAILABLE


3.10781 POLAKIS, MATINA                        VARIOUS                              Litigation              UNDETERMINED
        405 AVILA ROAD
        SAN MATEO, CA 94402          ACCOUNT NO.: NOT AVAILABLE


3.10782 POLAND, WILLIAM                        VARIOUS                              Litigation              UNDETERMINED
        366 WAYSIDE RD
        PORTOLA VALLEY, CA 94028     ACCOUNT NO.: NOT AVAILABLE


3.10783 POLASKI, PHILIP                        VARIOUS                              Litigation              UNDETERMINED
        3875 QUARRYVILLE CT.
        FAIRFIELD, CA 94533          ACCOUNT NO.: NOT AVAILABLE


3.10784 POLIZZI, JEROME                        VARIOUS                              Litigation              UNDETERMINED
        309 SHEIA CT
        PETALUMA, CA 94954           ACCOUNT NO.: NOT AVAILABLE


3.10785 POLKENHORN, EDWARD                     VARIOUS                              Litigation              UNDETERMINED
        PO BOX 1335
        NORTH FORK, CA 93643         ACCOUNT NO.: NOT AVAILABLE


3.10786 POLLACK 1400 ECR OWNER,                VARIOUS                              Litigation              UNDETERMINED
        LLC, JEFFREY POLLACK
        150 PORTOLA ROAD             ACCOUNT NO.: NOT AVAILABLE
        PORTOLA VALLEY, CA 94028


3.10787 POLLACK, JULIA                         VARIOUS                              Litigation              UNDETERMINED
        800 SHADY OAK DRIVE
        SANTA ROSA, CA 95404         ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.10788 POLLAINE, STEPHEN                       VARIOUS                              Litigation              UNDETERMINED
        3886 DEER MEADOW LN
        OCCIDENTAL, CA 95465          ACCOUNT NO.: NOT AVAILABLE


3.10789 POLLAND, WALTER                         VARIOUS                              Litigation              UNDETERMINED
        POB 613
        FORESTVILLE, CA 95436         ACCOUNT NO.: NOT AVAILABLE


3.10790 POLLARD, TERRY                          VARIOUS                              Litigation              UNDETERMINED
        878 REINA DEL MAR AVE
        PACIFICA, CA 94044            ACCOUNT NO.: NOT AVAILABLE


3.10791 POLLNOW, FARRELL                        VARIOUS                              Litigation              UNDETERMINED
        51 MICHAEL DRIVE
        PETALUMA, CA 94954            ACCOUNT NO.: NOT AVAILABLE


3.10792 POLLOCK, JASON                          VARIOUS                              Litigation              UNDETERMINED
        843 E JULIAN ST
        SAN JOSE, CA 95112            ACCOUNT NO.: NOT AVAILABLE


3.10793 POLLOCK, JUNE                           VARIOUS                              Litigation              UNDETERMINED
        17280 MONTE GRANDE DRIVE
        SOULSBYVILLE, CA 95372        ACCOUNT NO.: NOT AVAILABLE


3.10794 POLO GROUNDS PUB & GRILL-               VARIOUS                              Litigation              UNDETERMINED
        GALLAGHER, JANINE
        747 3RD STREET                ACCOUNT NO.: NOT AVAILABLE
        JENNTIKIHAWKINS@YAHOO.CO
        M
        SAN FRANCISCO, CA 94107


3.10795 POLZIN, JAN                             VARIOUS                              Litigation              UNDETERMINED
        37190 GARRAPATOS ROAD
        CARMEL, CA 93922              ACCOUNT NO.: NOT AVAILABLE


3.10796 POMA, LAURA                             VARIOUS                              Litigation              UNDETERMINED
        1431 QUEENS AVE
        YUBA CITY, CA 95993           ACCOUNT NO.: NOT AVAILABLE


3.10797 POMARICI, FEDERICO                      VARIOUS                              Litigation              UNDETERMINED
        925 RUTH CT.
        PACIFIC GROVE, CA 93950       ACCOUNT NO.: NOT AVAILABLE


3.10798 POMO, JEFF                              VARIOUS                              Litigation              UNDETERMINED
        980 BRYANT CANYON RD.
        SOLEDAD, CA 93960             ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.10799 POMPEN, ERICA                           VARIOUS                              Litigation              UNDETERMINED
        282 EDGEWOOD ROAD
        REDWOOD CITY, CA 94062        ACCOUNT NO.: NOT AVAILABLE


3.10800 POMS, MARCIA                            VARIOUS                              Litigation              UNDETERMINED
        109 VISTA DR
        LA SELVA BEACH, CA 95076      ACCOUNT NO.: NOT AVAILABLE


3.10801 PONCE, EDWARD                           VARIOUS                              Litigation              UNDETERMINED
        P.O.BOX 423
        LAKEHEAD, CA 96051            ACCOUNT NO.: NOT AVAILABLE


3.10802 PONCE, ELIZABETH                        VARIOUS                              Litigation              UNDETERMINED
        138 W BISSELL AVE
        RICHMOND, CA 94801            ACCOUNT NO.: NOT AVAILABLE


3.10803 PONCE, JAIME                            VARIOUS                              Litigation              UNDETERMINED
        1321 BUIERO AVE
        SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.10804 PONCE, JAKELYN                          VARIOUS                              Litigation              UNDETERMINED
        2597 PILOT KNOB DRIVE
        SANTA CLARA, CA 95051         ACCOUNT NO.: NOT AVAILABLE


3.10805 PONCE, KAREN                            VARIOUS                              Litigation              UNDETERMINED
        7071 CHURCH STREET
        GILROY, CA 95020              ACCOUNT NO.: NOT AVAILABLE


3.10806 PONCIS DIESEL CENTER-PONCI,             VARIOUS                              Litigation              UNDETERMINED
        BRAD
        770 SOUTH FORTUNA BLVD        ACCOUNT NO.: NOT AVAILABLE
        FORTUNA, CA 95540


3.10807 PONDER ENVIRONMENTAL                    VARIOUS                              Litigation              UNDETERMINED
        PO BOX 1427
        BENICIA, CA 94510             ACCOUNT NO.: NOT AVAILABLE


3.10808 PONLEITHNER, THOMAS/SALLY               VARIOUS                              Litigation              UNDETERMINED
        25426 CARMEL KNOLLS
        CARMEL, CA 93923              ACCOUNT NO.: NOT AVAILABLE


3.10809 PONLEITHNER, THOMAS/SALLY               VARIOUS                              Litigation              UNDETERMINED
        25426 CARMEL KNOLLS
        CARMEL, CA 93923              ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                            Account Number                            Claim

Litigation & Disputes

3.10810 POON, CHRIS AND FLORENCE                 VARIOUS                              Litigation              UNDETERMINED
        3441 STREAMSIDE CIRCLE, #422
        PLEASANTON, CA 94588-4195      ACCOUNT NO.: NOT AVAILABLE


3.10811 POOR MAGAZINE-GRAY                       VARIOUS                              Litigation              UNDETERMINED
        GARCIA, LISA
        8032 MACARTHUR                 ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94605


3.10812 POOR MAGAZINE-SILENCIO,                  VARIOUS                              Litigation              UNDETERMINED
        MIGUEL
        8034 MACARTHUR BLVD            ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94605


3.10813 POPA, GEORGE                             VARIOUS                              Litigation              UNDETERMINED
        2288 PLACER DRIVE
        SAN LEANDRO, CA 94578          ACCOUNT NO.: NOT AVAILABLE


3.10814 POPAL, LYNETTE                           VARIOUS                              Litigation              UNDETERMINED
        95 PLEASANT VALLEY DR
        WALNUT CREEK, CA 94597         ACCOUNT NO.: NOT AVAILABLE


3.10815 POPE VALLEY WINERY-                      VARIOUS                              Litigation              UNDETERMINED
        HAWKINS, DIANA
        PO BOX 116                     ACCOUNT NO.: NOT AVAILABLE
        POPE VALLEY, CA 94567


3.10816 POPEYES CHICKEN AND                      VARIOUS                              Litigation              UNDETERMINED
        BISCUITS, HAMID NOOR
        4380 SOBLVD                    ACCOUNT NO.: NOT AVAILABLE
        VALLEJO, CA 94589


3.10817 POPPE, GEORGE                            VARIOUS                              Litigation              UNDETERMINED
        812 ELDERBERRY LOOP
        VACAVILLE, CA 95688            ACCOUNT NO.: NOT AVAILABLE


3.10818 PORATH, RICHARD                          VARIOUS                              Litigation              UNDETERMINED
        418 SANTA CLARA STREET
        STOCKTON, CA 95207             ACCOUNT NO.: NOT AVAILABLE


3.10819 PORNSWATCHAI, SUWANNA                    VARIOUS                              Litigation              UNDETERMINED
        1433 MAIN ST.
        WATSONVILLE, CA 95076          ACCOUNT NO.: NOT AVAILABLE


3.10820 PORRAZ AKA QUINTERO,                     VARIOUS                              Litigation              UNDETERMINED
        CYNTHIA
        16700 CHARLES SCHELL LANE      ACCOUNT NO.: NOT AVAILABLE
        ROYAL OAKS, CA 95076


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Including Zip Code                         Account Number                            Claim

Litigation & Disputes

3.10821 PORTA BOTE INTERNATIONAL              VARIOUS                              Litigation              UNDETERMINED
        1074 INDEPENDANCE AVENUE
        MOUNTAINVIEW, CA 94043      ACCOUNT NO.: NOT AVAILABLE


3.10822 PORTELLO, JOAN                        VARIOUS                              Litigation              UNDETERMINED
        13500 POINT CABRILLO DR
        UNIT 16                     ACCOUNT NO.: NOT AVAILABLE
        MENDOCINO, CA 95460


3.10823 PORTEOUS, KEN                         VARIOUS                              Litigation              UNDETERMINED
        196 LAKE ALMANOR WEST
        DRIVE                       ACCOUNT NO.: NOT AVAILABLE
        CHESTER, CA 96020


3.10824 PORTER, BETTY                         VARIOUS                              Litigation              UNDETERMINED
        2869 FORD ST #A
        OAKLAND, CA 94601           ACCOUNT NO.: NOT AVAILABLE


3.10825 PORTER, BLAIR                         VARIOUS                              Litigation              UNDETERMINED
        1125 GRIDLEY AVE
        GRIDLEY, CA 95948           ACCOUNT NO.: NOT AVAILABLE


3.10826 PORTER, CHRIS                         VARIOUS                              Litigation              UNDETERMINED
        22 TEABERRY LANE
        TIBURON, CA 94920           ACCOUNT NO.: NOT AVAILABLE


3.10827 PORTER, DARLENE                       VARIOUS                              Litigation              UNDETERMINED
        5900 STARBOARD DR
        DISCOVERY BAY, CA 94505     ACCOUNT NO.: NOT AVAILABLE


3.10828 PORTER, JACKIE                        VARIOUS                              Litigation              UNDETERMINED
        PO BOX 634
        BASS LAKE, CA 93604         ACCOUNT NO.: NOT AVAILABLE


3.10829 PORTER, JAIMIE                        VARIOUS                              Litigation              UNDETERMINED
        3640 OMO RANCH ROAD
        SOMERSET, CA 95684          ACCOUNT NO.: NOT AVAILABLE


3.10830 PORTER, JEFFREY                       VARIOUS                              Litigation              UNDETERMINED
        160 DORCHESTER WAY
        SAN FRANCISCO, CA 94127     ACCOUNT NO.: NOT AVAILABLE


3.10831 PORTER, JEFFREY                       VARIOUS                              Litigation              UNDETERMINED
        160 DORCHESTER WAY
        SAN FRANCISCO, CA 94127     ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.10832 PORTILLO, CATHY                           VARIOUS                              Litigation              UNDETERMINED
        3099 SKY PARK RD
        POLLOCK PINES, CA 95726         ACCOUNT NO.: NOT AVAILABLE


3.10833 PORTILLO, ELVA                            VARIOUS                              Litigation              UNDETERMINED
        1915 COOLIDGE ST
        MADERA, CA 93638                ACCOUNT NO.: NOT AVAILABLE


3.10834 PORTILLO, ROLAND                          VARIOUS                              Litigation              UNDETERMINED
        520 CHISWICK WAY
        CAMBRIA, CA 93428               ACCOUNT NO.: NOT AVAILABLE


3.10835 PORTLOCK, HOPE                            VARIOUS                              Litigation              UNDETERMINED
        6770 CENTRAL AV REDWOOD
        VALLEY                          ACCOUNT NO.: NOT AVAILABLE
        REDWOOD VALLEY, CA 95470


3.10836 PORTOLA CAFE DELI-DAYEH,                  VARIOUS                              Litigation              UNDETERMINED
        HANNA
        3 PORTOLA RD                    ACCOUNT NO.: NOT AVAILABLE
        PORTOLA VALLEY, CA 94028


3.10837 PORTOLA PROPERTY                          VARIOUS                              Litigation              UNDETERMINED
        MANAGEMENT-PETERSEN,
        KELLY                           ACCOUNT NO.: NOT AVAILABLE
        1210 BROMMER ST.
        SANTA CRUZ, CA 95062


3.10838 POSADA, ROSEMARY                          VARIOUS                              Litigation              UNDETERMINED
        CLARENCE K. CHANCRISTAL
        RUIZ                            ACCOUNT NO.: NOT AVAILABLE
        3247 W. MARCH LANE, SUITE 120
        STOCKTON, CA 95219


3.10839 POSADA, ROSEMARY                          VARIOUS                              Litigation              UNDETERMINED
        CRISTAL RUIZ
        CLARENCE K. CHAN / LAW          ACCOUNT NO.: NOT AVAILABLE
        OFFICE OF CLARENCE K. CHAN
        STOCKTON, CA 95219


3.10840 POSEY, MICHELLE                           VARIOUS                              Litigation              UNDETERMINED
        12875 ALES PLACE
        SAN MARTIN, CA 95046            ACCOUNT NO.: NOT AVAILABLE


3.10841 POSITIVE CHANGE                           VARIOUS                              Litigation              UNDETERMINED
        BEHAVIORAL-DRILL, CELIA
        1653 PANORAMA DR.               ACCOUNT NO.: NOT AVAILABLE
        ARCATA, CA 95521



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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.10842 POSKUS, BRENT                           VARIOUS                              Litigation              UNDETERMINED
        3065 FINNIAN WAY #407
        DUBLIN, CA 94568              ACCOUNT NO.: NOT AVAILABLE


3.10843 POSKUS, BRENT                           VARIOUS                              Litigation              UNDETERMINED
        3065 FINNIAN WAY #407
        DUBLIN, CA 94568              ACCOUNT NO.: NOT AVAILABLE


3.10844 POSNER, MARTIN                          VARIOUS                              Litigation              UNDETERMINED
        1701 CALYPSO DRIVE
        APTOS, CA 95003               ACCOUNT NO.: NOT AVAILABLE


3.10845 POSNER, REBECCA                         VARIOUS                              Litigation              UNDETERMINED
        702 MORAGA DRIVE
        LIVERMORE, CA 94550           ACCOUNT NO.: NOT AVAILABLE


3.10846 POSO CREEK FAMILY DAIRY,                VARIOUS                              Litigation              UNDETERMINED
        LLC-BOUMA, PETER
        1500 SO. HAVEN AVE.           ACCOUNT NO.: NOT AVAILABLE
        STE. 200
        ONTARIO, CA 91761


3.10847 POSO RIDGE LLC                          VARIOUS                              Litigation              UNDETERMINED
        8112 COPUS RD
        BAKERSFIELD, CA 93313         ACCOUNT NO.: NOT AVAILABLE


3.10848 POSTIKYAN, ARMAN                        VARIOUS                              Litigation              UNDETERMINED
        4432 N MAPLE
        FRESNO, CA 93726              ACCOUNT NO.: NOT AVAILABLE


3.10849 POTIGIAN, THOMAS                        VARIOUS                              Litigation              UNDETERMINED
        1652 E FOREST OAKS DR
        FRESNO, CA 93730              ACCOUNT NO.: NOT AVAILABLE


3.10850 POTTER, DAVID                           VARIOUS                              Litigation              UNDETERMINED
        PO BOX 2371
        SUNNYVALE, CA 94087           ACCOUNT NO.: NOT AVAILABLE


3.10851 POTTER, RAYMOND                         VARIOUS                              Litigation              UNDETERMINED
        BRAYTON PURCELL, LLP
        226 RUSH LANDING ROAD, P.O    ACCOUNT NO.: NOT AVAILABLE
        BOX 6169
        NOVATO, CA 94949-6169


3.10852 POTTS, ALLAN                            VARIOUS                              Litigation              UNDETERMINED
        1824 BRANIGAN AVE
        WOODLAND, CA 95776            ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.10853 POTTS, ANDREA                           VARIOUS                              Litigation              UNDETERMINED
        1150 E MACARTHUR STREET
        SONOMA, CA 94576              ACCOUNT NO.: NOT AVAILABLE


3.10854 POUCHAK, WILLIAM                        VARIOUS                              Litigation              UNDETERMINED
        1755 5TH ST
        3RD AVENUE AND E. 18TH        ACCOUNT NO.: NOT AVAILABLE
        STREET
        OAKLAND, CA 94606


3.10855 POULSON, BRITNEY                        VARIOUS                              Litigation              UNDETERMINED
        16686 MADRONE LANE
        PIONEER, CA 95666             ACCOUNT NO.: NOT AVAILABLE


3.10856 POULTON, DELYN                          VARIOUS                              Litigation              UNDETERMINED
        5645 MARIGOLD CIRCLE
        POLLOCK PINES, CA 95726       ACCOUNT NO.: NOT AVAILABLE


3.10857 POURMAND, DEAN                          VARIOUS                              Litigation              UNDETERMINED
        26200 JOSEFA LANE
        LOS ALTOS HILLS, CA 94022     ACCOUNT NO.: NOT AVAILABLE


3.10858 POURMOTAMED, EFFAT                      VARIOUS                              Litigation              UNDETERMINED
        3014 UNION AVE. SUITE A
        SAN JOSE, CA 95124            ACCOUNT NO.: NOT AVAILABLE


3.10859 POWELL, ALICE                           VARIOUS                              Litigation              UNDETERMINED
        PO BOX 906
        COLUMBIA, CA 95310            ACCOUNT NO.: NOT AVAILABLE


3.10860 POWELL, BREAUANA                        VARIOUS                              Litigation              UNDETERMINED
        21720 CRYSTAL FALLS DR
        SONORA, CA 95370              ACCOUNT NO.: NOT AVAILABLE


3.10861 POWELL, FRANK                           VARIOUS                              Litigation              UNDETERMINED
        15 POST ST
        PETALUMA, CA 94952            ACCOUNT NO.: NOT AVAILABLE


3.10862 POWELL, JOSHUA V. PG&E                  VARIOUS                              Litigation              UNDETERMINED
        1808 W. BENJAMIN HOLT DRIVE
        STOCKTON, CA 95207            ACCOUNT NO.: NOT AVAILABLE


3.10863 POWELL, KRISTINE                        VARIOUS                              Litigation              UNDETERMINED
        4964 TONY AVE
        SAN JOSE, CA 95124            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.10864 POWELL, LANES                         VARIOUS                              Litigation              UNDETERMINED
        276 SANDY NECK WAY
        VALLEJO, CA 94591           ACCOUNT NO.: NOT AVAILABLE


3.10865 POWELL, MARY                          VARIOUS                              Litigation              UNDETERMINED
        2739 OLIVE AVENUE
        OAKLAND, CA 94605           ACCOUNT NO.: NOT AVAILABLE


3.10866 POWELL, NANCY                         VARIOUS                              Litigation              UNDETERMINED
        237 CANYON DR.
        PORTOLA VALLEY, CA 94028    ACCOUNT NO.: NOT AVAILABLE


3.10867 POWELL, NOLAN                         VARIOUS                              Litigation              UNDETERMINED
        1164 MAGNOLIA AVE
        UNIT 2                      ACCOUNT NO.: NOT AVAILABLE
        CHICO, CA 95926


3.10868 POWELL'S SWEET SHOPPE-                VARIOUS                              Litigation              UNDETERMINED
        MURRAY, JULIA
        1166 HOWARD AVENUE          ACCOUNT NO.: NOT AVAILABLE
        BURLINGAME, CA 94010


3.10869 POWER, KENNETH                        VARIOUS                              Litigation              UNDETERMINED
        6210 PINE NEEDLE LANE
        PLACERVILLE, CA 95667       ACCOUNT NO.: NOT AVAILABLE


3.10870 POWERLIFT DUMBWAITERS-                VARIOUS                              Litigation              UNDETERMINED
        REITE, JOHN D.
        2444 GEORGIA SLIDE RD       ACCOUNT NO.: NOT AVAILABLE
        GEORGETOWN, CA 95634


3.10871 POWERS & LOBL CONST, JOSH             VARIOUS                              Litigation              UNDETERMINED
        92 HAMILTON DRIVE
        SUITE H                     ACCOUNT NO.: NOT AVAILABLE
        NOVATO, CA 94949


3.10872 POWERS, CHARLES DAVID                 VARIOUS                              Litigation              UNDETERMINED
        24091 GOLF LINKS DR
        TWAIN HARTE, CA 95383       ACCOUNT NO.: NOT AVAILABLE


3.10873 POWERS, DAVID                         VARIOUS                              Litigation              UNDETERMINED
        2571 HEATHERLAKE CIRCLE
        PLEASANTON, CA 94566        ACCOUNT NO.: NOT AVAILABLE


3.10874 POWERS, SEAN                          VARIOUS                              Litigation              UNDETERMINED
        9723 SWEDE CREEK RD.
        PALO CEDRO, CA 96073        ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.10875 POZE, SANFORD                           VARIOUS                              Litigation              UNDETERMINED
        260 LAQUINTA DR
        WINDSOR, CA 95492             ACCOUNT NO.: NOT AVAILABLE


3.10876 PRABHU, S. NARAYAN                      VARIOUS                              Litigation              UNDETERMINED
        4154 BRIARGLEN DRIVE
        SAN JOSE, CA 95118            ACCOUNT NO.: NOT AVAILABLE


3.10877 PRADO, KELLY                            VARIOUS                              Litigation              UNDETERMINED
        2673 DOIDGE AVE
        PINOLE, CA 94564              ACCOUNT NO.: NOT AVAILABLE


3.10878 PRAKER, BENJAMIN                        VARIOUS                              Litigation              UNDETERMINED
        6810 ANT HILL ROAD
        SOMERSET, CA 95684            ACCOUNT NO.: NOT AVAILABLE


3.10879 PRATHER, STEVEN                         VARIOUS                              Litigation              UNDETERMINED
        1326 JEFFRIES ST
        ANDERSON, CA 96007            ACCOUNT NO.: NOT AVAILABLE


3.10880 PRATT, GARTH                            VARIOUS                              Litigation              UNDETERMINED
        274 AMESBURY CT
        DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.10881 PRATT, NANCY                            VARIOUS                              Litigation              UNDETERMINED
        375 OAK ST.
        SAN FRANCISCO, CA 94102       ACCOUNT NO.: NOT AVAILABLE


3.10882 PRAXIS CONSULTING A/S/O                 VARIOUS                              Litigation              UNDETERMINED
        PACIFIC SPECIALTY INSURANC-
        KNIPP, MATT                   ACCOUNT NO.: NOT AVAILABLE
        PO BOX 5
        MUNCIE, CA 47308


3.10883 PRAXIS CONSULTING,                      VARIOUS                              Litigation              UNDETERMINED
        CAROLANN ARNONE
        630 JOHNSON AVE., SUITE 105   ACCOUNT NO.: NOT AVAILABLE
        2301 WILBUR AVE., ANTIOCH,
        CA.
        BOHEMIA, CA 11716


3.10884 PRCEVSKI, NATALIE                       VARIOUS                              Litigation              UNDETERMINED
        1987 SHAFER AVE
        MORGAN HILL, CA 95037         ACCOUNT NO.: NOT AVAILABLE


3.10885 PRE, MAY                                VARIOUS                              Litigation              UNDETERMINED
        9540 CEDAR POINT WAY
        SACRAMENTO, CA 95829          ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.10886 PRECISION CRANE SERVICE,              VARIOUS                              Litigation              UNDETERMINED
        INC
        7590 CONDE LANE             ACCOUNT NO.: NOT AVAILABLE
        WINDSOR, CA 95492


3.10887 PRECISION EXPRESS LLC-                VARIOUS                              Litigation              UNDETERMINED
        CAULEY, JASON
        1413 BERKSHIRE RD           ACCOUNT NO.: NOT AVAILABLE
        BAKERSFIELD, CA 93307


3.10888 PRECISION RISK MANAGEMENT             VARIOUS                              Litigation              UNDETERMINED
        INC
        PO BOX 628                  ACCOUNT NO.: NOT AVAILABLE
        9850 CABRILLO HWY NORTH
        HALF MOON BAY, CA 94019


3.10889 PRELSNIK, ELIZABETH                   VARIOUS                              Litigation              UNDETERMINED
        4301 VEGA LOOP
        SHINGLE SPRINGS, CA 95682   ACCOUNT NO.: NOT AVAILABLE


3.10890 PRELSNIK, STEPHEN                     VARIOUS                              Litigation              UNDETERMINED
        1139 ARROWHEAD RD
        PEBBLE BEACH, CA 93953      ACCOUNT NO.: NOT AVAILABLE


3.10891 PREMIER TANK, INC.                    VARIOUS                              Litigation              UNDETERMINED
        ATTORNEYS FOR MCGRATH
        ELECTRIC, INC. (PLAINTIFF   ACCOUNT NO.: NOT AVAILABLE
        (CONSOLIDATED CASE)
        12011 SAN VICENTE BLVD,
        SUITE 600
        LOS ANGELES, CA 90049


3.10892 PREMIER TANK, INC.                    VARIOUS                              Litigation              UNDETERMINED
        ATTORNEYS FOR ABB, INC.
        (DEFENDANT)                 ACCOUNT NO.: NOT AVAILABLE
        11 PACIFICA, SUITE 220
        IRVINE, CA 92618-7425


3.10893 PREMIUM EXTRACTS-                     VARIOUS                              Litigation              UNDETERMINED
        STEFANUTO, MARC
        30993 HUNTWOOD AVE          ACCOUNT NO.: NOT AVAILABLE
        204
        HAYWARD, CA 94544


3.10894 PRENDABLE, CHARLES                    VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 546
        RIO LINDA, CA 95673         ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.10895 PRESCOD, VIOLET                       VARIOUS                              Litigation              UNDETERMINED
        1290 THOMAS AVENUE
        SAN FRANCISCO, CA 94124     ACCOUNT NO.: NOT AVAILABLE


3.10896 PRESLEIGH, RANDALL                    VARIOUS                              Litigation              UNDETERMINED
        26690 SOUTH COW CREEK RD
        MILLVILLE, CA 96062         ACCOUNT NO.: NOT AVAILABLE


3.10897 PRESLEY, RALPH                        VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 1238
        ANGELS CAMP, CA 95222       ACCOUNT NO.: NOT AVAILABLE


3.10898 PRESSER, DALE                         VARIOUS                              Litigation              UNDETERMINED
        12490 GOODALL MINE ROAD
        GRASS VALLEY, CA 95945      ACCOUNT NO.: NOT AVAILABLE


3.10899 PRESTON, BRUCE                        VARIOUS                              Litigation              UNDETERMINED
        3272 SILVER STREET
        ANDERSON, CA 96007          ACCOUNT NO.: NOT AVAILABLE


3.10900 PRESTON, TINA                        VARIOUS                               Litigation              UNDETERMINED
        5545 OLD HIGHWAY 53 SPACE 45
        CLEARLAKE, CA 95422          ACCOUNT NO.: NOT AVAILABLE


3.10901 PREWETT, SEAN                         VARIOUS                              Litigation              UNDETERMINED
        14185 ACADEMY OAKS LANE
        CLOVIS, CA 93619            ACCOUNT NO.: NOT AVAILABLE


3.10902 PREWITT, FRAN                         VARIOUS                              Litigation              UNDETERMINED
        1110 N HENNESS RD
        SITE 1928                   ACCOUNT NO.: NOT AVAILABLE
        CASA GRANDE, CA 85122


3.10903 PRG ON BEHALF OF COMCAST-             VARIOUS                              Litigation              UNDETERMINED
        WILLIAMS, ROBERT
        5340 SOUTH QUEBEC STREET    ACCOUNT NO.: NOT AVAILABLE
        250S
        GREENWOOD VILLAGE, CA
        80111


3.10904 PRG PROJECT RESOURCES                 VARIOUS                              Litigation              UNDETERMINED
        GROUP, NICHOLAS WILLIAMS
        CLAIMS SPECIALIST           ACCOUNT NO.: NOT AVAILABLE
        5340 S QUEBEC ST #250S
        1045 ESSEX AVENUE
        GREENWOOD VILLAGE, CA
        80111




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Litigation & Disputes

3.10905 PRICE, CARY                            VARIOUS                              Litigation              UNDETERMINED
        9309 BIG BEAR LAKE COURT
        BAKERSFIELD, CA 93312        ACCOUNT NO.: NOT AVAILABLE


3.10906 PRICE, DANIELLE                        VARIOUS                              Litigation              UNDETERMINED
        3036 CAREY LN
        BRENTWOOD, CA 94513          ACCOUNT NO.: NOT AVAILABLE


3.10907 PRICE, ELIZABETH                       VARIOUS                              Litigation              UNDETERMINED
        785 BUNCE RD
        YUBA CITY, CA 95991          ACCOUNT NO.: NOT AVAILABLE


3.10908 PRICE, GLENN                           VARIOUS                              Litigation              UNDETERMINED
        295 WEST LANE
        ANGWIN, CA 94508             ACCOUNT NO.: NOT AVAILABLE


3.10909 PRICE, JEFF                            VARIOUS                              Litigation              UNDETERMINED
        4129 TONY MARIE AVE
        MODESTO, CA 95356            ACCOUNT NO.: NOT AVAILABLE


3.10910 PRICE, JOHN                            VARIOUS                              Litigation              UNDETERMINED
        11064 E FLORENCE PEAK WAY
        CLOVIS, CA 93619             ACCOUNT NO.: NOT AVAILABLE


3.10911 PRICE, KRISTIN                         VARIOUS                              Litigation              UNDETERMINED
        20355 DUFFY LANE
        REDDING, CA 96003            ACCOUNT NO.: NOT AVAILABLE


3.10912 PRICE, LON                             VARIOUS                              Litigation              UNDETERMINED
        318 MORRISSEY BLVD
        SANTA CRUZ, CA 95062         ACCOUNT NO.: NOT AVAILABLE


3.10913 PRICE, MICHELLE                        VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 1826
        LUCERNE, CA 95458            ACCOUNT NO.: NOT AVAILABLE


3.10914 PRICE, MILLICENT                       VARIOUS                              Litigation              UNDETERMINED
        768 CHADWICK LANE
        BAY POINT, CA 94505          ACCOUNT NO.: NOT AVAILABLE


3.10915 PRICE, RONALD                          VARIOUS                              Litigation              UNDETERMINED
        8041 PERRY CREEK RD
        SOMERSET, CA 95684           ACCOUNT NO.: NOT AVAILABLE


3.10916 PRICE, SHERRY                          VARIOUS                              Litigation              UNDETERMINED
        23245 MURRAY AVE
        GERBER, CA 96035             ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.10917 PRIEST, DON                            VARIOUS                              Litigation              UNDETERMINED
        22461 LILAC LANE
        TWAIN HARTE, CA 95327        ACCOUNT NO.: NOT AVAILABLE


3.10918 PRIETO, JOSE                           VARIOUS                              Litigation              UNDETERMINED
        265 K ST, APT B
        PARLIER, CA 93648            ACCOUNT NO.: NOT AVAILABLE


3.10919 PRIMEAU, JOE                           VARIOUS                              Litigation              UNDETERMINED
        179 SWEETWATER LANE
        BEN LOMOND, CA 95005         ACCOUNT NO.: NOT AVAILABLE


3.10920 PRIMER, DONALD                         VARIOUS                              Litigation              UNDETERMINED
        1332 ELLIOTT RD.
        PARADISE, CA 95969           ACCOUNT NO.: NOT AVAILABLE


3.10921 PRIMETIME BARBERSHOP-                  VARIOUS                              Litigation              UNDETERMINED
        ROMO, EDUARDO
        115 EAST A ST                ACCOUNT NO.: NOT AVAILABLE
        DIXON, CA 95620


3.10922 PRINCE PALACE CHEVORN,                 VARIOUS                              Litigation              UNDETERMINED
        CHAUHAN, DALJIWDER
        20238 HWY 119                ACCOUNT NO.: NOT AVAILABLE
        BAKERSFIELD, CA 93311


3.10923 PRINT INK, INC.-MARCHESE,              VARIOUS                              Litigation              UNDETERMINED
        CATHILEEN
        6918 SIERRA COURT            ACCOUNT NO.: NOT AVAILABLE
        DUBLIN, CA 94568


3.10924 PRIOLO, MARISA                         VARIOUS                              Litigation              UNDETERMINED
        11927 DANIA CIRCLE
        LOWER LAKE, CA 95457         ACCOUNT NO.: NOT AVAILABLE


3.10925 PRIOR, SHERRE                          VARIOUS                              Litigation              UNDETERMINED
        2620 SPRING VALLEY RD.
        CLEARLAKE OAKS, CA 95423     ACCOUNT NO.: NOT AVAILABLE


3.10926 PRISM ENGINEERING INC, KAL             VARIOUS                              Litigation              UNDETERMINED
        SLAYYEH
        23953 SAKLAND ROAD           ACCOUNT NO.: NOT AVAILABLE
        HAYWARD, CA 94545


3.10927 PRISM ENGINEERING-SLAYYEH,             VARIOUS                              Litigation              UNDETERMINED
        KAL
        23953 SAKLAN ROAD            ACCOUNT NO.: NOT AVAILABLE
        HAYWARD, CA 94582


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Litigation & Disputes

3.10928 PRIVATE RESIDENCE-                      VARIOUS                              Litigation              UNDETERMINED
        FREEMAN, DENNIS D.
        18100 RED CLIFF WAY           ACCOUNT NO.: NOT AVAILABLE
        LAKEHEAD, CA 96051


3.10929 PROAPS, LEONARD                         VARIOUS                              Litigation              UNDETERMINED
        518 GARFIELD PARK AVE
        SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.10930 PROBITY INSURANCE                       VARIOUS                              Litigation              UNDETERMINED
        SERVICES, SOHEIL HOSSEINI
        1100 E. HAMILTON AVE # 1      ACCOUNT NO.: NOT AVAILABLE
        CAMPBELL, CA 95008


3.10931 PROCTOR, HYANGSUK                       VARIOUS                              Litigation              UNDETERMINED
        2281 DOCCIA COURT
        PLEASANTON, CA 94566          ACCOUNT NO.: NOT AVAILABLE


3.10932 PROCTOR, JARED                          VARIOUS                              Litigation              UNDETERMINED
        9155 MOONLIGHT CT
        PRUNEDALE, CA 93907           ACCOUNT NO.: NOT AVAILABLE


3.10933 PROCTOR, LYNN                           VARIOUS                              Litigation              UNDETERMINED
        2680 BERKSHIRE DR
        SAN BRUNO, CA 94066           ACCOUNT NO.: NOT AVAILABLE


3.10934 PROFESSIONAL FINANCIAL                  VARIOUS                              Litigation              UNDETERMINED
        INVESTORS-STONE, MODDIE
        350 IGNACIO BLVD              ACCOUNT NO.: NOT AVAILABLE
        NOVATO, CA 94949


3.10935 PROFUMO, MICHELLE                       VARIOUS                              Litigation              UNDETERMINED
        697 SONOMA AVE
        LIVERMORE, CA 94550           ACCOUNT NO.: NOT AVAILABLE


3.10936 PROGNER, COURTNEY                       VARIOUS                              Litigation              UNDETERMINED
        PO BOX 1064
        MARIPOSA, CA 95338            ACCOUNT NO.: NOT AVAILABLE


3.10937 PROGRESS FARMS-FUGITT,                  VARIOUS                              Litigation              UNDETERMINED
        TRAVIS
        3236 E PANAMA LN              ACCOUNT NO.: NOT AVAILABLE
        BAKERSFIELD, CA 93304


3.10938 PROGRESSIVE - STACEY, CHRIS             VARIOUS                              Litigation              UNDETERMINED
        1033 WOODVIEW PLACE
        SAN JOSE, CA 95120            ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.10939 PROGRESSIVE INS                         VARIOUS                              Litigation              UNDETERMINED
        150 NORTH HILL DRIVE #9
        BRISBANE, CA 94005            ACCOUNT NO.: NOT AVAILABLE


3.10940 PROGRESSIVE INS - MENDEZ,               VARIOUS                              Litigation              UNDETERMINED
        VICTORIA
        PO BOX 512929                 ACCOUNT NO.: NOT AVAILABLE
        2826 LINCOLN LN, ANTIOCH CA
        LOS ANGELES, CA 90051-0929


3.10941 PROGRESSIVE INSURANCE                   VARIOUS                              Litigation              UNDETERMINED
        2150 HARVARD STREET
        SACRAMENTO, CA 95815          ACCOUNT NO.: NOT AVAILABLE


3.10942 PROGRESSIVE INSURANCE-                  VARIOUS                              Litigation              UNDETERMINED
        MATHARU, IQBAL
        2860 NORTH MAIN ST            ACCOUNT NO.: NOT AVAILABLE
        WALNUT CREEK, CA 94597


3.10943 PROGRESSIVE PRINTING-                   VARIOUS                              Litigation              UNDETERMINED
        HASKELL, JEFF
        1549 SAN ANDREAS AVE          ACCOUNT NO.: NOT AVAILABLE
        SAN JOSE, CA 95118


3.10944 PROGRESSIVE-ABBOTT, DANIEL              VARIOUS                              Litigation              UNDETERMINED
        21650 N 18TH AVE STE 150
        PHOENIX, CA 85027             ACCOUNT NO.: NOT AVAILABLE


3.10945 PROJECT RESOURCE GROUP-                 VARIOUS                              Litigation              UNDETERMINED
        BURROLA, ADRIANA
        5340 S QUEBEC STREET, SUITE   ACCOUNT NO.: NOT AVAILABLE
        250
        GREENWOOD VILLAGE, CA
        80111


3.10946 PROJECT RESOURCES GROUP                 VARIOUS                              Litigation              UNDETERMINED
        FBO COMCAST CABLE -
        VAUGHAN, KELLY                ACCOUNT NO.: NOT AVAILABLE
        1154 THE DUNES DR
        5340 S QUEBEC ST, STE 250S,
        GREENWOOD VILLAGE, CO
        80111
        PEBBLE BEACH, CA 93953


3.10947 PROJECT RESOURCES GROUP,                VARIOUS                              Litigation              UNDETERMINED
        INC.
        5340 S QUEBEC STREET, SUITE   ACCOUNT NO.: NOT AVAILABLE
        250S
        GREENWOOD VILLAGE, CA
        80111


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Litigation & Disputes

3.10948 PROKOPOWICH, TAMA                      VARIOUS                              Litigation              UNDETERMINED
        PO BOX 1415
        NICE, CA 95464               ACCOUNT NO.: NOT AVAILABLE


3.10949 PROKSEL, MARI                          VARIOUS                              Litigation              UNDETERMINED
        1024 MAGGIE LANE
        NIPOMO, CA 93444             ACCOUNT NO.: NOT AVAILABLE


3.10950 PROLACOM LLC DBA CHERRY                VARIOUS                              Litigation              UNDETERMINED
        CREEK WINERY-SMITH,
        PRESTON                      ACCOUNT NO.: NOT AVAILABLE
        422 LARKFIELD CENTER
        # 4006
        SANTA ROSA, CA 95403


3.10951 PROPERTY MANAGEMENT                    VARIOUS                              Litigation              UNDETERMINED
        EXPERTS-OWENS, LUCRETIA
        200 W HARDING WAY            ACCOUNT NO.: NOT AVAILABLE
        STOCKTON, CA 95204


3.10952 PROSPERI, DENNIS                       VARIOUS                              Litigation              UNDETERMINED
        11409 RD 26 1/2
        S OF AVE 11 1/2 & W OF 145   ACCOUNT NO.: NOT AVAILABLE
        MADERA, CA 93637


3.10953 PROUTY, RONALD                         VARIOUS                              Litigation              UNDETERMINED
        2818 N. MAIN STREET
        5128 SHEDBERG ROAD           ACCOUNT NO.: NOT AVAILABLE
        WALNUT CREEK, CA 94597


3.10954 PROVENCE, PAUL                         VARIOUS                              Litigation              UNDETERMINED
        934 MAYWOOD COURT
        ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.10955 PROVOST, SEAN                          VARIOUS                              Litigation              UNDETERMINED
        2375 N FIRST ST
        DIXON, CA 95620              ACCOUNT NO.: NOT AVAILABLE


3.10956 PRP COMPANIES DBA                      VARIOUS                              Litigation              UNDETERMINED
        RICHARDS PRESS-ELLIS, S.
        PO BOX 9102                  ACCOUNT NO.: NOT AVAILABLE
        WESTON, CA 02493


3.10957 PRUDEN, JEANNINE                       VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 212
        14571 BROWN LANE             ACCOUNT NO.: NOT AVAILABLE
        BURSON, CA 95225




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Litigation & Disputes

3.10958 PRUDEN, MACKENZIE                      VARIOUS                              Litigation              UNDETERMINED
        1085 MURRIETA BLVD, 309
        DUBLIN, CA 94550             ACCOUNT NO.: NOT AVAILABLE


3.10959 PRUDENCIO, JENNIFER                    VARIOUS                              Litigation              UNDETERMINED
        4750 TASSAJARA RD # 5114
        DUBLIN, CA 94568             ACCOUNT NO.: NOT AVAILABLE


3.10960 PRUETT, MITCH                          VARIOUS                              Litigation              UNDETERMINED
        163630 STEVENS CANYON ROAD
        CUPERTINO, CA 95014          ACCOUNT NO.: NOT AVAILABLE


3.10961 PRUETT, THOMAS                         VARIOUS                              Litigation              UNDETERMINED
        BRAYTON PURCELL, LLP
        226 RUSH LANDING ROAD, P.O   ACCOUNT NO.: NOT AVAILABLE
        BOX 6169
        NOVATO, CA 94949-6169


3.10962 PRUITT, ROBIN                          VARIOUS                              Litigation              UNDETERMINED
        6326 DOGTOWN ROAD
        COULTERVILLE, CA 95311       ACCOUNT NO.: NOT AVAILABLE


3.10963 PRUNDALE MARKET AND DELI-              VARIOUS                              Litigation              UNDETERMINED
        MUNOZ, MARTIN
        17515 ORCHARD LN             ACCOUNT NO.: NOT AVAILABLE
        SALINAS, CA 93907


3.10964 PRYSE, DAVID                           VARIOUS                              Litigation              UNDETERMINED
        9501 GOVERNMENT ST
        UPPERLAKE, CA 95485          ACCOUNT NO.: NOT AVAILABLE


3.10965 PS BUSINESS PARKS-CLYDE,               VARIOUS                              Litigation              UNDETERMINED
        LAURA
        2316 WALSH AVE.              ACCOUNT NO.: NOT AVAILABLE
        SANTA CLARA, CA 94402


3.10966 PSY HEALTH TOWN, INCHA                 VARIOUS                              Litigation              UNDETERMINED
        CHUNG
        14075 E. 14TH STREET         ACCOUNT NO.: NOT AVAILABLE
        SAN LEANDRO, CA 94578


3.10967 PSY HEALTH TOWN, INCHA                 VARIOUS                              Litigation              UNDETERMINED
        CHUNG
        14075 E. 14TH STREET         ACCOUNT NO.: NOT AVAILABLE
        SAN LEANDRO, CA 94578




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Litigation & Disputes

3.10968 PUCCI, KAREN                            VARIOUS                              Litigation              UNDETERMINED
        23560 MOUNTAIN CHARLIE
        ROAD                          ACCOUNT NO.: NOT AVAILABLE
        LOS GATOS, CA 95033


3.10969 PUDBERRY, EDEN                          VARIOUS                              Litigation              UNDETERMINED
        5922 LASSEN STREET
        EL CERRITO, CA 94530          ACCOUNT NO.: NOT AVAILABLE


3.10970 PUENTE, NATALIA                         VARIOUS                              Litigation              UNDETERMINED
        830 E. HUSKING AVE.
        BAKERSFIELD, CA 93307         ACCOUNT NO.: NOT AVAILABLE


3.10971 PUGH, AUDREY                            VARIOUS                              Litigation              UNDETERMINED
        2852 SEMINARY AVE
        OAKLAND, CA 94605             ACCOUNT NO.: NOT AVAILABLE


3.10972 PUGH, MARY                              VARIOUS                              Litigation              UNDETERMINED
        266 GLEN DRIVE
        MITCHELL AVE                  ACCOUNT NO.: NOT AVAILABLE
        OROVILLE, CA 95966


3.10973 PUGH, MARY                              VARIOUS                              Litigation              UNDETERMINED
        266 GLEN DRIVE
        MITCHELL AVE                  ACCOUNT NO.: NOT AVAILABLE
        OROVILLE, CA 95966


3.10974 PULICE, JOHN                            VARIOUS                              Litigation              UNDETERMINED
        17770 OVERLOOK CT E
        PLYMOUTH, CA 95669            ACCOUNT NO.: NOT AVAILABLE


3.10975 PULICKAL, JACOB                         VARIOUS                              Litigation              UNDETERMINED
        5605 PACIFIC GROVE WAY
        UNION CITY, CA 94587          ACCOUNT NO.: NOT AVAILABLE


3.10976 PULIDO, JUAN                            VARIOUS                              Litigation              UNDETERMINED
        11110 GOLF LINKS ROAD
        JAMESTOWN, CA 95327           ACCOUNT NO.: NOT AVAILABLE


3.10977 PULIZZANO, ADRIA                        VARIOUS                              Litigation              UNDETERMINED
        6821 CALIFORNIA ST #4
        SAN FRANCISCO, CA             ACCOUNT NO.: NOT AVAILABLE


3.10978 PULLABHOTLA, NEHA                       VARIOUS                              Litigation              UNDETERMINED
        510 LAKE BLVD APT 236
        DAVIS, CA 95616               ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.10979 PULLEN, PAULETTE                       VARIOUS                              Litigation              UNDETERMINED
        2832 E GRANT AVE
        APT 205                      ACCOUNT NO.: NOT AVAILABLE
        FRESNO, CA 93701


3.10980 PULLIN, LARRY                          VARIOUS                              Litigation              UNDETERMINED
        4213 BLOOMFIELD RD.
        SEBASTOPOL, CA 95472         ACCOUNT NO.: NOT AVAILABLE


3.10981 PULLIN, TANYA                          VARIOUS                              Litigation              UNDETERMINED
        4441 TOLENAS RD
        FAIRFIELD, CA 94533          ACCOUNT NO.: NOT AVAILABLE


3.10982 PUMPCO-CROFT, ROBERT                   VARIOUS                              Litigation              UNDETERMINED
        PO BOX 195
        SAN ANDREAS, CA 95249        ACCOUNT NO.: NOT AVAILABLE


3.10983 PUNG, JULIE                            VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 1292
        MIWUK, CA 95346              ACCOUNT NO.: NOT AVAILABLE


3.10984 PUNKIN, HERBERT                        VARIOUS                              Litigation              UNDETERMINED
        PO BOX 85
        NORTH FORK, CA 93643         ACCOUNT NO.: NOT AVAILABLE


3.10985 PUPUSERIA MI CHALATECA,                VARIOUS                              Litigation              UNDETERMINED
        BEN RUIZ
        4660 PEARL AVENUE            ACCOUNT NO.: NOT AVAILABLE
        SAN JOSE, CA 95136


3.10986 PURCELL, MICHELLE                      VARIOUS                              Litigation              UNDETERMINED
        8800 QUARTERHORSE LN
        LOWER LAKE, CA 95457         ACCOUNT NO.: NOT AVAILABLE


3.10987 PURCELL, MICHELLE                      VARIOUS                              Litigation              UNDETERMINED
        8800 QUARTERHORSE LN
        LOWER LAKE, CA 95457         ACCOUNT NO.: NOT AVAILABLE


3.10988 PURE SALON AND SKINCARE,               VARIOUS                              Litigation              UNDETERMINED
        JONATHAN BAUER DBA
        197 N 9TH ST #104            ACCOUNT NO.: NOT AVAILABLE
        GROVER BEACH, CA 93433


3.10989 PURSER, DEBRA                          VARIOUS                              Litigation              UNDETERMINED
        BRAYTON PURCELL, LLP
        223 RUSH LANDING ROAD, P.O   ACCOUNT NO.: NOT AVAILABLE
        BOX 6169
        NOVATO, CA 94949-6169


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Litigation & Disputes

3.10990 PURSLEY, DANIEL                           VARIOUS                              Litigation              UNDETERMINED
        6468 WASHINGTON STREET
        RANCHO DE NAPA SPC 174          ACCOUNT NO.: NOT AVAILABLE
        YOUNTVILLE, CA 94599


3.10991 PUSAWONG, CORRINE                         VARIOUS                              Litigation              UNDETERMINED
        2244 TARAVAL ST
        SAN FRANCISCO, CA 94116         ACCOUNT NO.: NOT AVAILABLE


3.10992 PUTERBAUGH, BRUCE                         VARIOUS                              Litigation              UNDETERMINED
        3525 LAKESHORE BLVD
        LAKEPORT, CA 94553              ACCOUNT NO.: NOT AVAILABLE


3.10993 PUTMAN, CAROL                             VARIOUS                              Litigation              UNDETERMINED
        1013 PANADERO WAY
        CLAYTON, CA 94517               ACCOUNT NO.: NOT AVAILABLE


3.10994 PUTMAN, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
        4252 CHURCHILL DRIVE
        PLEASANTON, CA 94588            ACCOUNT NO.: NOT AVAILABLE


3.10995 PUTNAM, CAROLE                            VARIOUS                              Litigation              UNDETERMINED
        825 W. DAYTON AVE.
        FRESNO, CA 93705                ACCOUNT NO.: NOT AVAILABLE


3.10996 PUTNAM, JACQUELINE                        VARIOUS                              Litigation              UNDETERMINED
        17892 MORO ROAD
        PRUNEDALE, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.10997 PUTTA, SRUJAN                             VARIOUS                              Litigation              UNDETERMINED
        80 DESCANSO DR
        APT 3208                        ACCOUNT NO.: NOT AVAILABLE
        SAN JOSE, CA 95134


3.10998 PUTTERS-ESTES, MICHELLE                   VARIOUS                              Litigation              UNDETERMINED
        42889 HWY 299 EAST
        FALL RIVER MILLS CA, CA 96028   ACCOUNT NO.: NOT AVAILABLE


3.10999 PWG LLC, RAY FRANSCIONI                   VARIOUS                              Litigation              UNDETERMINED
        86 MONTEREY SALINAS HWY
        1645 RIVER ROAD                 ACCOUNT NO.: NOT AVAILABLE
        GONZALES, CA 93908


3.11000 PWS LAUNDRY, BRADLEY                      VARIOUS                              Litigation              UNDETERMINED
        STEINBERG
        12020 GARFIELD AVENUE           ACCOUNT NO.: NOT AVAILABLE
        1230 MARSHALL STREET
        REDWOOD CITY, CA 94063


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Litigation & Disputes

3.11001 PYLES, TAMI                           VARIOUS                              Litigation              UNDETERMINED
        2198 BURTON AVE
        PITTSBURG, CA 94565         ACCOUNT NO.: NOT AVAILABLE


3.11002 PYNE, DANIEL                          VARIOUS                              Litigation              UNDETERMINED
        1850 KENPARK CT
        SAN JOSE, CA 95124          ACCOUNT NO.: NOT AVAILABLE


3.11003 PYON, UN MI                           VARIOUS                              Litigation              UNDETERMINED
        3664 NORFOLK ROAD
        FREMONT, CA 94538           ACCOUNT NO.: NOT AVAILABLE


3.11004 PYRAMID ENTERPRISES,                  VARIOUS                              Litigation              UNDETERMINED
        MAECELLA SHOEMAKER
        28368 CONSTELLATION         ACCOUNT NO.: NOT AVAILABLE
        ROAD/SAN PABLO RESERVOIR
        SUITE
        7301 SAN PABLO DAM ROAD
        EL SOBRANTE, CA 91355


3.11005 PYRAMID ENTERPRISES,                  VARIOUS                              Litigation              UNDETERMINED
        MAECELLA SHOEMAKER
        28368 CONSTELLATION         ACCOUNT NO.: NOT AVAILABLE
        ROAD/SAN PABLO RESERVOIR
        SUITE
        7301 SAN PABLO DAM ROAD
        EL SOBRANTE, CA 91355


3.11006 QA-GEAR, LLC                          VARIOUS                              Litigation              UNDETERMINED
        LAW OFFICES OF DAVID A.
        MAKMAN                      ACCOUNT NO.: NOT AVAILABLE
        655 MARINERS ISLAND
        BOULEVARDSUITE 306
        SAN MATEO, CA 94404


3.11007 QARE, MARWAM                          VARIOUS                              Litigation              UNDETERMINED
        5 MOON GATE COURT
        PACIFICA, CA 94044          ACCOUNT NO.: NOT AVAILABLE


3.11008 QAYUM, NARGIS                         VARIOUS                              Litigation              UNDETERMINED
        1079 SAN PABLO AVE.
        ALBANY, CA 94706            ACCOUNT NO.: NOT AVAILABLE


3.11009 QT CONSULTING-QIN, HUAQ               VARIOUS                              Litigation              UNDETERMINED
        231 FORESIL COURT
        FOSTER CITY, CA 94404       ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.11010 QUALITY CLEANERS INC, EUN                VARIOUS                              Litigation              UNDETERMINED
        KO
        3607 THORNTON AVENUE           ACCOUNT NO.: NOT AVAILABLE
        FREMONT, CA 94536


3.11011 QUALITY CLEANERS INC, EUN                VARIOUS                              Litigation              UNDETERMINED
        KO
        3607 THORNTON AVENUE           ACCOUNT NO.: NOT AVAILABLE
        FREMONT, CA 94536


3.11012 QUALITY LIQUORS, DAMANI,                 VARIOUS                              Litigation              UNDETERMINED
        ZOHAIB
        1910 SIR FRANCIS DRAKE BLVD    ACCOUNT NO.: NOT AVAILABLE
        FAIRFAX, CA 94930


3.11013 QUALLS, ARLENA                           VARIOUS                              Litigation              UNDETERMINED
        873 GLENN STREET
        CHICO, CA 95928                ACCOUNT NO.: NOT AVAILABLE


3.11014 QUALLS, CLINTON                          VARIOUS                              Litigation              UNDETERMINED
        5360 PINE RIDGE DRIVE
        GRIZZLY FLAT, CA 93656         ACCOUNT NO.: NOT AVAILABLE


3.11015 QUALTEC                                  VARIOUS                              Litigation              UNDETERMINED
        1150 FIRST AVENUE, SUITE 600
        KING OF PRUSSIA, CA 19406      ACCOUNT NO.: NOT AVAILABLE


3.11016 QUAM, MEREDITH                           VARIOUS                              Litigation              UNDETERMINED
        PO BOX 177
        DUNNIGAN, CA 95937             ACCOUNT NO.: NOT AVAILABLE


3.11017 QUAN, LIANG                              VARIOUS                              Litigation              UNDETERMINED
        951 S. 12TH STREET
        104                            ACCOUNT NO.: NOT AVAILABLE
        SAN JOSE, CA 95112


3.11018 QUANTA COMPUTER USA, TRI                 VARIOUS                              Litigation              UNDETERMINED
        BUI
        45630 NORTHPORT LOOP EAST      ACCOUNT NO.: NOT AVAILABLE
        FREMONT, CA 94538


3.11019 QUANTRILLE, JOHN                         VARIOUS                              Litigation              UNDETERMINED
        6214 EL CAMINO DR
        POLLOCK PINES, CA 95726        ACCOUNT NO.: NOT AVAILABLE


3.11020 QUARRY, DIANNA                           VARIOUS                              Litigation              UNDETERMINED
        308 OLEANDER AVE
        BAKERSFIELD, CA 93304          ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.11021 QUEBRADO, LEOBARDO                      VARIOUS                              Litigation              UNDETERMINED
        12913 BUCHANAN WAY
        SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.11022 QUENNEVILLE, ROM                        VARIOUS                              Litigation              UNDETERMINED
        395 STANLEY ROAD SPC 23
        WEST POINT, CA 95255          ACCOUNT NO.: NOT AVAILABLE


3.11023 QUERFURTH, VANCE                        VARIOUS                              Litigation              UNDETERMINED
        76406 BRYSON HESPERIA ROAD
        BRADLEY, CA 93426             ACCOUNT NO.: NOT AVAILABLE


3.11024 QUEVEDO, JAVIER & ROSALBA               VARIOUS                              Litigation              UNDETERMINED
        12639 FIRST DRIVE
        CUTLER, CA 93615              ACCOUNT NO.: NOT AVAILABLE


3.11025 QUEZADA, VIRIVIANA                      VARIOUS                              Litigation              UNDETERMINED
        1451 RAMONA AVE
        SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.11026 QUICK AND CLEAN CAR WASH-               VARIOUS                              Litigation              UNDETERMINED
        PRATHER, JASON
        8058 SITIO TOLEDO             ACCOUNT NO.: NOT AVAILABLE
        CARLSBAD, CA 92009


3.11027 QUICK AND PICK MARKET-                  VARIOUS                              Litigation              UNDETERMINED
        NGUYEN, VU
        1190 HILLSDALE AVE            ACCOUNT NO.: NOT AVAILABLE
        STE 145B
        SAN JOSE, CA 95118


3.11028 QUICK STOP MARKE#-SINGH,                VARIOUS                              Litigation              UNDETERMINED
        JASVIR
        2269 NORD AVE                 ACCOUNT NO.: NOT AVAILABLE
        CHICO, CA 95926


3.11029 QUICK, CIARA                            VARIOUS                              Litigation              UNDETERMINED
        22815 VERMONT ST
        S1                            ACCOUNT NO.: NOT AVAILABLE
        HAYWARD, CA 94541


3.11030 QUIK STOP #3132, KAUR, RUSE             VARIOUS                              Litigation              UNDETERMINED
        3555 WEST HAMMER LANE
        STOCKTON, CA 95219            ACCOUNT NO.: NOT AVAILABLE


3.11031 QUILES, CATALINA & FELIX                VARIOUS                              Litigation              UNDETERMINED
        15078 MEADOW OAK PL
        SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.11032 QUILES, LAUREN                          VARIOUS                              Litigation              UNDETERMINED
        2262 HONEY RUN ROAD
        CHICO, CA 95928               ACCOUNT NO.: NOT AVAILABLE


3.11033 QUINLAN, JULIE/PAUL                     VARIOUS                              Litigation              UNDETERMINED
        49 MAPLE AVENUE
        41 MAPLE AVENUE               ACCOUNT NO.: NOT AVAILABLE
        ATHERTON, CA 94027


3.11034 QUINLAN, PAUL                           VARIOUS                              Litigation              UNDETERMINED
        517 CORNWALL AVE
        ARROYO GRANDE, CA 93420       ACCOUNT NO.: NOT AVAILABLE


3.11035 QUINLIVAN, KEVIN                        VARIOUS                              Litigation              UNDETERMINED
        23875 MARSH CREEK RD.
        BRENTWOOD, CA 94513           ACCOUNT NO.: NOT AVAILABLE


3.11036 QUINN PHOTOGRAPHY-QUINN,                VARIOUS                              Litigation              UNDETERMINED
        WILLIAM
        9114 YELLOW FLOWER PLACE      ACCOUNT NO.: NOT AVAILABLE
        FAIR OAKS, CA 95628


3.11037 QUINN, LISA                             VARIOUS                              Litigation              UNDETERMINED
        1761 SANTA LUCIA DRIVE
        SAN JOSE, CA 95125            ACCOUNT NO.: NOT AVAILABLE


3.11038 QUINN, TERRI                            VARIOUS                              Litigation              UNDETERMINED
        6200 RED ROBIN RD
        PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.11039 QUINN, WILLIAM & JENIFER                VARIOUS                              Litigation              UNDETERMINED
        1291 WEST LAGUNA AVENUE
        RIVERDALE, CA 93656           ACCOUNT NO.: NOT AVAILABLE


3.11040 QUINN'S LIGHTHOUSE                      VARIOUS                              Litigation              UNDETERMINED
        RESTAURANT, SUNG YOO
        1951 EMBARCADERO              ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94606


3.11041 QUINN'S LIGHTHOUSE                      VARIOUS                              Litigation              UNDETERMINED
        RESTAURANT, SUNG YOO
        1951 EMBARCADERO              ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94606


3.11042 QUINTANA, ERNEST                        VARIOUS                              Litigation              UNDETERMINED
        2340 ROMERO ST
        LA GRANGE, CA 95329           ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                         Account Number                            Claim

Litigation & Disputes

3.11043 QUINTANA, RICHARD                     VARIOUS                              Litigation              UNDETERMINED
        282 WALNUT ST
        SAN BRUNO, CA 94066         ACCOUNT NO.: NOT AVAILABLE


3.11044 QUINTERO TRUCKING CORP-               VARIOUS                              Litigation              UNDETERMINED
        QUINTERO, RAFAEL
        2270 POPLAR STREET          ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94607


3.11045 QUINTERO ZAMORA,                      VARIOUS                              Litigation              UNDETERMINED
        GUADALUPE
        1561 JULIAN ST.             ACCOUNT NO.: NOT AVAILABLE
        STOCKTON, CA 95206


3.11046 QUINTERO, JOSE                        VARIOUS                              Litigation              UNDETERMINED
        8964 PRUNEDALE SOUTH ROAD
        PRUNEDALE, CA 93907         ACCOUNT NO.: NOT AVAILABLE


3.11047 QUINTON, GARY                         VARIOUS                              Litigation              UNDETERMINED
        31901 BRUHEL POINT ROAD
        FORT BRAGG, CA 95437        ACCOUNT NO.: NOT AVAILABLE


3.11048 QUINTON, NORMA                        VARIOUS                              Litigation              UNDETERMINED
        712 CHARLANA DR.
        BAKERSFIELD, CA 93308       ACCOUNT NO.: NOT AVAILABLE


3.11049 QUINTON, WILLIAM                      VARIOUS                              Litigation              UNDETERMINED
        4034 COLFAX CT
        STOCKTON, CA 95206          ACCOUNT NO.: NOT AVAILABLE


3.11050 QUIROLLO, EDNA                        VARIOUS                              Litigation              UNDETERMINED
        1745 EAST AVE
        EUREKA, CA 95501            ACCOUNT NO.: NOT AVAILABLE


3.11051 QUIROLLO, EDNA AND                    VARIOUS                              Litigation              UNDETERMINED
        LAWRENCE
        1745 EAST AVE               ACCOUNT NO.: NOT AVAILABLE
        EUREKA, CA 95501


3.11052 QUIROZ-BAUTISTA, IVAN                 VARIOUS                              Litigation              UNDETERMINED
        34 MONTSTALAS DRIVE
        MONTEREY, CA 93940          ACCOUNT NO.: NOT AVAILABLE


3.11053 QUIST, HAL                            VARIOUS                              Litigation              UNDETERMINED
        7 W BISSELL AVENUE
        RICHMOND, CA 94801          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.11054 QUITORIANO, FLORA                       VARIOUS                              Litigation              UNDETERMINED
        1119 AEGEAN STREET
        BAKERSFIELD, CA 93307         ACCOUNT NO.: NOT AVAILABLE


3.11055 QUON, CAROLYN                           VARIOUS                              Litigation              UNDETERMINED
        1170 BLUE SPUR CIR
        DANVILLE, CA 94506            ACCOUNT NO.: NOT AVAILABLE


3.11056 R. NICHOLAS HANEY -                     VARIOUS                              Litigation              UNDETERMINED
        MOORING, DARRELL
        903 1ST STREET                ACCOUNT NO.: NOT AVAILABLE
        BENICIA, CA 94510


3.11057 RAAB, GARY & MARY                       VARIOUS                              Litigation              UNDETERMINED
        6243 CURRENT DRIVE
        SAN JOSE, CA 95123            ACCOUNT NO.: NOT AVAILABLE


3.11058 RABIN, DAVID                            VARIOUS                              Litigation              UNDETERMINED
        444 KEARNERY STREET
        EL CERRITO, CA 94530          ACCOUNT NO.: NOT AVAILABLE


3.11059 RACACNO, ANGELINA                       VARIOUS                              Litigation              UNDETERMINED
        424 FRONTAGE ROAD
        RIPON, CA 95366               ACCOUNT NO.: NOT AVAILABLE


3.11060 RACHEL WOODWARD; RUSS                   VARIOUS                              Litigation              UNDETERMINED
        WOODWARD
        CLAYEO C. ARNOLD, A           ACCOUNT NO.: NOT AVAILABLE
        PROFESSIONAL LAW
        CORPORATION
        865 HOWE AVENUE, SUITE 300
        SACRAMENTO, CA 95825


3.11061 RACKERBY, RICHARD                       VARIOUS                              Litigation              UNDETERMINED
        3383 JAYLEE DR
        SANTA ROSA, CA 95404          ACCOUNT NO.: NOT AVAILABLE


3.11062 RACKLEY, APRIL                          VARIOUS                              Litigation              UNDETERMINED
        1001 HARVEY DR.
        405                           ACCOUNT NO.: NOT AVAILABLE
        WALNUT CREEK, CA 94597


3.11063 RAD INC-PENNEPALLI, RADHIKA             VARIOUS                              Litigation              UNDETERMINED
        45422 LITTLE FOOT PL
        FREMONT, CA 94539             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.11064 RADOVICH LAW OFFICES                   VARIOUS                              Litigation              UNDETERMINED
        RADOVICH MEDIATION GROUP,
        MICHAEL RADOVICH             ACCOUNT NO.: NOT AVAILABLE
        1334 CHORRO STREET
        SAN LUIS OBISPO, CA 93401


3.11065 RAE-NIELSEN, DJ                        VARIOUS                              Litigation              UNDETERMINED
        1325 CRESTMONT DR
        ANGWIN, CA 94508             ACCOUNT NO.: NOT AVAILABLE


3.11066 RAFF, CARTER                           VARIOUS                              Litigation              UNDETERMINED
        744 LINDEN AVE #A
        BURLINGAME, CA 94010         ACCOUNT NO.: NOT AVAILABLE


3.11067 RAGAN, TRISTAN                         VARIOUS                              Litigation              UNDETERMINED
        2387 MEADOWBROOK DRIVE
        EUREKA, CA 95503             ACCOUNT NO.: NOT AVAILABLE


3.11068 RAGGIO, WENDY                          VARIOUS                              Litigation              UNDETERMINED
        2836 TICE CREEK DRIVE
        WALNUT CREEK, CA 94595       ACCOUNT NO.: NOT AVAILABLE


3.11069 RAGNI, CHRISTINA                       VARIOUS                              Litigation              UNDETERMINED
        102 44TH STREET
        SAN MATEO, CA 94403          ACCOUNT NO.: NOT AVAILABLE


3.11070 RAGO AND SON INC, RAGO                 VARIOUS                              Litigation              UNDETERMINED
        DOMINIC
        1026-1025-1033 51ST AVENUE   ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94601


3.11071 RAGSAC, FRANCISCO/LEA                  VARIOUS                              Litigation              UNDETERMINED
        1416 MONTE DIABLO AVE
        8016 HUNTERS VALLEY ROAD     ACCOUNT NO.: NOT AVAILABLE
        MARIPOSA, CA 95338


3.11072 RAIKAR, RADHIKA                        VARIOUS                              Litigation              UNDETERMINED
        103 SAN TOMAS DR.
        PITTSBURG, CA 94565          ACCOUNT NO.: NOT AVAILABLE


3.11073 RAILROAD FIRE                          VARIOUS                              Litigation              UNDETERMINED
        HWY 41
        FISH CAMP, CA                ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.11074 RAINFOREST CAFE, LINDA                  VARIOUS                              Litigation              UNDETERMINED
        LOXTERMAN
        1510 WEST LOOP SOUTH          ACCOUNT NO.: NOT AVAILABLE
        145 JEFFERSON STREET STE.
        400, SAN FRANCISCO
        HOUSTON, CA 77027


3.11075 RAINWATER, JENNIFER                     VARIOUS                              Litigation              UNDETERMINED
        14290 WILLIAMS RD
        PIONEER, CA 95666             ACCOUNT NO.: NOT AVAILABLE


3.11076 RAJAGOPALAN, MAHADEVAN                  VARIOUS                              Litigation              UNDETERMINED
        1 WINDING OAKS DRIVE
        PLEASANTON, CA 94566          ACCOUNT NO.: NOT AVAILABLE


3.11077 RAJAVASIREDDY, NAVEEN                   VARIOUS                              Litigation              UNDETERMINED
        12081 BROOKGLEN DRIVE
        SARATOGA, CA 95070            ACCOUNT NO.: NOT AVAILABLE


3.11078 RAJGARHIA, AMIT                         VARIOUS                              Litigation              UNDETERMINED
        572 SAN POSADAS TERRACE
        SUNNYVALE, CA 94085           ACCOUNT NO.: NOT AVAILABLE


3.11079 RAJVANSHI, MEHA                         VARIOUS                              Litigation              UNDETERMINED
        3188 HERITAGE SPRINGS CT
        SAN JOSE, CA 95148            ACCOUNT NO.: NOT AVAILABLE


3.11080 RAKER, SHANNON                          VARIOUS                              Litigation              UNDETERMINED
        1360 WAGSTAFF RD
        PARADISE, CA 95969            ACCOUNT NO.: NOT AVAILABLE


3.11081 RALEIGH, PAIGE                          VARIOUS                              Litigation              UNDETERMINED
        1672 BRADDOCK COURT
        SAN JOSE, CA 95125            ACCOUNT NO.: NOT AVAILABLE


3.11082 RAM PROPERTIES-REMMICH,                 VARIOUS                              Litigation              UNDETERMINED
        MARVIN
        701 ST. GEORGE ROAD           ACCOUNT NO.: NOT AVAILABLE
        DANVILLE, CA 94526


3.11083 RAM, KHUSHI                             VARIOUS                              Litigation              UNDETERMINED
        15841 SIESTA VISTA LN
        SAN JOSE, CA 95127            ACCOUNT NO.: NOT AVAILABLE


3.11084 RAMAA CORPERATION (LAKE                 VARIOUS                              Litigation              UNDETERMINED
        MARINA INN), VINAL PATEL
        10215 E HWY 20                ACCOUNT NO.: NOT AVAILABLE
        CLEARLAKE OAKS, CA 95423


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Litigation & Disputes

3.11085 RAMAKER, MARI                          VARIOUS                              Litigation              UNDETERMINED
        4985 MIDWAY RD #209
        VACAVILLE, CA 95688          ACCOUNT NO.: NOT AVAILABLE


3.11086 RAMAN, RAJESH                          VARIOUS                              Litigation              UNDETERMINED
        5737 CAPILANO DRIVE
        SAN JOSE, CA 95138           ACCOUNT NO.: NOT AVAILABLE


3.11087 RAMANATHAN, SUPRIYA                    VARIOUS                              Litigation              UNDETERMINED
        3801 JASMINE CIRCLE
        SAN JOSE, CA 95135           ACCOUNT NO.: NOT AVAILABLE


3.11088 RAMA'S INTERPRETATION &                VARIOUS                              Litigation              UNDETERMINED
        TRANSLATION SERVICES-
        DAWAR, RAMA                  ACCOUNT NO.: NOT AVAILABLE
        2926 N. WEST AVENUE
        FRESNO, CA 93705


3.11089 RAMBEAU, JEFF                          VARIOUS                              Litigation              UNDETERMINED
        8104 ARGUELLO DRIVER, APT
        #D                           ACCOUNT NO.: NOT AVAILABLE
        STOCKTON, CA 95209


3.11090 RAMIREZ PRADO, OSIRIS                  VARIOUS                              Litigation              UNDETERMINED
        255 E BOLIVAR ST SP 159
        SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.11091 RAMIREZ, ANGELA                        VARIOUS                              Litigation              UNDETERMINED
        DOW PATTEN
        888 S. FIGUEROA STREET,      ACCOUNT NO.: NOT AVAILABLE
        SUITE 2030
        LOS ANGELES, CA 90017


3.11092 RAMIREZ, ANGIE                         VARIOUS                              Litigation              UNDETERMINED
        2392 NORTH MAIN STREET
        SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.11093 RAMIREZ, AUSTREBERTO                   VARIOUS                              Litigation              UNDETERMINED
        50232 ROAD 426
        OAKHURST, CA 93644           ACCOUNT NO.: NOT AVAILABLE


3.11094 RAMIREZ, DAVID                         VARIOUS                              Litigation              UNDETERMINED
        1820 BISHOP STREET
        STOCKTON, CA 95205           ACCOUNT NO.: NOT AVAILABLE


3.11095 RAMIREZ, ERICK                         VARIOUS                              Litigation              UNDETERMINED
        310 MAPLE AVE
        S. SAN FRANCISCO, CA 94080   ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.11096 RAMIREZ, ERNEST                       VARIOUS                              Litigation              UNDETERMINED
        25658 SOTO RD
        HAYWARD, CA 94544           ACCOUNT NO.: NOT AVAILABLE


3.11097 RAMIREZ, FLORIDALBA                   VARIOUS                              Litigation              UNDETERMINED
        1571 KANSAS ST
        FAIRFIELD, CA 94533         ACCOUNT NO.: NOT AVAILABLE


3.11098 RAMIREZ, GEORGE AND                   VARIOUS                              Litigation              UNDETERMINED
        BARBARA
        1536 WILLOWGATE DR.         ACCOUNT NO.: NOT AVAILABLE
        SAN JOSE, CA 95118


3.11099 RAMIREZ, GERARDO                      VARIOUS                              Litigation              UNDETERMINED
        2073 SANTA RITA STREET
        SALINAS, CA 93906           ACCOUNT NO.: NOT AVAILABLE


3.11100 RAMIREZ, GILBERTO                     VARIOUS                              Litigation              UNDETERMINED
        610 COURT STREET
        7                           ACCOUNT NO.: NOT AVAILABLE
        JACKSON, CA 95642


3.11101 RAMIREZ, GLORIA                       VARIOUS                              Litigation              UNDETERMINED
        585 DEL NORTE
        CORNING, CA 96021           ACCOUNT NO.: NOT AVAILABLE


3.11102 RAMIREZ, GUADALUPE                    VARIOUS                              Litigation              UNDETERMINED
        PO BOX 797
        CHUALAR, CA 93925           ACCOUNT NO.: NOT AVAILABLE


3.11103 RAMIREZ, JEFF                         VARIOUS                              Litigation              UNDETERMINED
        35 E ROSSI ST #4
        SALINAS, CA 93901           ACCOUNT NO.: NOT AVAILABLE


3.11104 RAMIREZ, JOSE                         VARIOUS                              Litigation              UNDETERMINED
        1919 JOSEPHINE
        CORCORAN, CA 93212          ACCOUNT NO.: NOT AVAILABLE


3.11105 RAMIREZ, JOSE                         VARIOUS                              Litigation              UNDETERMINED
        1398 CANYON DEL REY BLVD
        SEASIDE, CA 93955-4753      ACCOUNT NO.: NOT AVAILABLE


3.11106 RAMIREZ, JOSE ANTONIO                 VARIOUS                              Litigation              UNDETERMINED
        6601 S. CHERRY AVE
        FRESNO, CA 93725            ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.11107 RAMIREZ, JOSE JUAN                      VARIOUS                              Litigation              UNDETERMINED
        21650 MARYDEE CT
        HAYWARD, CA 94541             ACCOUNT NO.: NOT AVAILABLE


3.11108 RAMIREZ, LISA & ERNIE                   VARIOUS                              Litigation              UNDETERMINED
        6640 TUSTIN ROAD
        SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.11109 RAMIREZ, LORENA                         VARIOUS                              Litigation              UNDETERMINED
        2101 N MAIN STREET
        SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.11110 RAMIREZ, LUCINDA                        VARIOUS                              Litigation              UNDETERMINED
        1277 BOURET DR UNIT 1
        SAN JOSE, CA 95118            ACCOUNT NO.: NOT AVAILABLE


3.11111 RAMIREZ, MARCOS                         VARIOUS                              Litigation              UNDETERMINED
        5730 S ANTHONY ST
        TRANQUILITY, CA 93668         ACCOUNT NO.: NOT AVAILABLE


3.11112 RAMIREZ, MARIA                          VARIOUS                              Litigation              UNDETERMINED
        2129 BUSH AVE
        SAN PABLO, CA 94806           ACCOUNT NO.: NOT AVAILABLE


3.11113 RAMIREZ, MIGUEL                         VARIOUS                              Litigation              UNDETERMINED
        4313 DUNES COURT
        MODESTO, CA 95356             ACCOUNT NO.: NOT AVAILABLE


3.11114 RAMIREZ, MOSES                          VARIOUS                              Litigation              UNDETERMINED
        2911 ERICA CRT
        SAN JOSE, CA 95121            ACCOUNT NO.: NOT AVAILABLE


3.11115 RAMIREZ, MOSES                          VARIOUS                              Litigation              UNDETERMINED
        2911 ERICA CRT
        SAN JOSE, CA 95121            ACCOUNT NO.: NOT AVAILABLE


3.11116 RAMIREZ, NORMA                          VARIOUS                              Litigation              UNDETERMINED
        PO BOX 1625
        GUALALA, CA 95445             ACCOUNT NO.: NOT AVAILABLE


3.11117 RAMIREZ, OLGA                           VARIOUS                              Litigation              UNDETERMINED
        616 19TH STREET
        RICHMOND, CA 94801            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                            Claim

Litigation & Disputes

3.11118 RAMIREZ, OLGA                          VARIOUS                              Litigation              UNDETERMINED
        2630 PORTOLA DR
        #60                          ACCOUNT NO.: NOT AVAILABLE
        SANTA CRUZ, CA 95062


3.11119 RAMIREZ, PHILLIP                       VARIOUS                              Litigation              UNDETERMINED
        111 NEDS WAY
        TIBURON, CA 94920            ACCOUNT NO.: NOT AVAILABLE


3.11120 RAMIREZ, RACHEL                        VARIOUS                              Litigation              UNDETERMINED
        1036 CALHOUN WAY
        STOCKTON, CA 95207           ACCOUNT NO.: NOT AVAILABLE


3.11121 RAMIREZ, ROGELIO                       VARIOUS                              Litigation              UNDETERMINED
        1917 LONNIE BECK WAY
        STOCKTON, CA 95209           ACCOUNT NO.: NOT AVAILABLE


3.11122 RAMIREZ, ROSALINA                      VARIOUS                              Litigation              UNDETERMINED
        37 ISLAND VIEW DR.
        BAY POINT, CA 94565          ACCOUNT NO.: NOT AVAILABLE


3.11123 RAMIREZ, ROXANNA                       VARIOUS                              Litigation              UNDETERMINED
        377 SAN JUAN GRADE ROAD
        SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.11124 RAMIREZ, RUBEN                         VARIOUS                              Litigation              UNDETERMINED
        2346 SPRING DRIVE
        ESCALON, CA 95320            ACCOUNT NO.: NOT AVAILABLE


3.11125 RAMIREZ, SERGIO                        VARIOUS                              Litigation              UNDETERMINED
        964 ANNA STREET WEST
        SACRAMENTO, CA 95605         ACCOUNT NO.: NOT AVAILABLE


3.11126 RAMIREZ, SERGIO                        VARIOUS                              Litigation              UNDETERMINED
        964 ANNA STREET WEST
        SACRAMENTO, CA 95605         ACCOUNT NO.: NOT AVAILABLE


3.11127 RAMIREZ, THEODORA                      VARIOUS                              Litigation              UNDETERMINED
        4064 E. 18TH STREET
        OAKLAND, CA 94601            ACCOUNT NO.: NOT AVAILABLE


3.11128 RAMMER, GINA                           VARIOUS                              Litigation              UNDETERMINED
        15825 VERDE DR
        SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.11129 RAMMING, DAVID                          VARIOUS                              Litigation              UNDETERMINED
        207 N LOCAN AVE
        FRESNO, CA 93737              ACCOUNT NO.: NOT AVAILABLE


3.11130 RAMOS OIL CO.-RAMOS, DILLON             VARIOUS                              Litigation              UNDETERMINED
        744 N. TEXAS ST.
        FAIRFIELD, CA 94533           ACCOUNT NO.: NOT AVAILABLE


3.11131 RAMOS, ALEJANDRINA                      VARIOUS                              Litigation              UNDETERMINED
        907 BOURN DR SPC 10
        WOODLAND, CA 95776            ACCOUNT NO.: NOT AVAILABLE


3.11132 RAMOS, DAVID                            VARIOUS                              Litigation              UNDETERMINED
        7475 SOMBRILLA AVE
        ATASCADERO, CA 93422          ACCOUNT NO.: NOT AVAILABLE


3.11133 RAMOS, GERMAN                           VARIOUS                              Litigation              UNDETERMINED
        2175 PEREZ ST
        APT A                         ACCOUNT NO.: NOT AVAILABLE
        SALINAS, CA 93906


3.11134 RAMOS, GLENN                            VARIOUS                              Litigation              UNDETERMINED
        223 VIENNA STREET
        SAN FRANCISCO, CA 94112       ACCOUNT NO.: NOT AVAILABLE


3.11135 RAMOS, JEANA                            VARIOUS                              Litigation              UNDETERMINED
        13401 N. GARNERO RD
        LODI, CA 95240                ACCOUNT NO.: NOT AVAILABLE


3.11136 RAMOS, MONA                             VARIOUS                              Litigation              UNDETERMINED
        67 CASTRO ST #201
        SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.11137 RAMOS, SANDRA                           VARIOUS                              Litigation              UNDETERMINED
        345 E SHOEMAKE AVE
        REEDLEY, CA 93654             ACCOUNT NO.: NOT AVAILABLE


3.11138 RAMOS, SUSAN                            VARIOUS                              Litigation              UNDETERMINED
        5503 EL PALICIO DRIVE
        BAKERSFIELD, CA 93307         ACCOUNT NO.: NOT AVAILABLE


3.11139 RAMSBOTTOM, LINDA                       VARIOUS                              Litigation              UNDETERMINED
        401 NORTH CARMELINA AVE
        LOS ANGELES, CA 90049         ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.11140 RAMSECK, JOE                          VARIOUS                              Litigation              UNDETERMINED
        299 CHURCHILL PLACE
        GILROY, CA 95020            ACCOUNT NO.: NOT AVAILABLE


3.11141 RAMSEY, NANCY                         VARIOUS                              Litigation              UNDETERMINED
        135 MATTOS CT
        DANVILLE, CA 94506          ACCOUNT NO.: NOT AVAILABLE


3.11142 RAMSEY, PATRICIA                      VARIOUS                              Litigation              UNDETERMINED
        17684 PETTY LANE
        REDDING, CA 96003           ACCOUNT NO.: NOT AVAILABLE


3.11143 RAMUNNI, ROBERTO                      VARIOUS                              Litigation              UNDETERMINED
        3779 PEARL AVEUNE
        SAN JOSE, CA 95136          ACCOUNT NO.: NOT AVAILABLE


3.11144 RANCH OWNERS, LLC,                    VARIOUS                              Litigation              UNDETERMINED
        CALISTOGA
        580 LOMMEL ROAD             ACCOUNT NO.: NOT AVAILABLE
        ATTN AVI HAKSAR
        CALISTOGA, CA 94515


3.11145 RANCH, POCKET                         VARIOUS                              Litigation              UNDETERMINED
        PO BOX 607
        ATTN CHRIS NIEDERHAUSER     ACCOUNT NO.: NOT AVAILABLE
        CLEMENTS, CA 95227


3.11146 RANCHO EL SOLAR-SALCEDO,              VARIOUS                              Litigation              UNDETERMINED
        JAIME
        HWY 70 ES 4 SPAN N/WATTS    ACCOUNT NO.: NOT AVAILABLE
        AVE .3MI
        NICOLAUS, CA 95659


3.11147 RANCHO GUADALUPE LLC                  VARIOUS                              Litigation              UNDETERMINED
        1280 BONITA SCHOOL ROAD
        SAMTA MARIA, CA 93458       ACCOUNT NO.: NOT AVAILABLE


3.11148 RANCHO MEDIALUNA-                     VARIOUS                              Litigation              UNDETERMINED
        BOATMAN, TIMOTHY
        P.O.BOX 1804                ACCOUNT NO.: NOT AVAILABLE
        TEMPLETON, CA 93465


3.11149 RANCHO ROBLES MUTUAL                  VARIOUS                              Litigation              UNDETERMINED
        WATER CO-KYLE, JILL
        PO BOX 1363                 ACCOUNT NO.: NOT AVAILABLE
        MORGAN HILL, CA 95038




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Including Zip Code                          Account Number                            Claim

Litigation & Disputes

3.11150 RANCHO SAN NICOLAS-                    VARIOUS                              Litigation              UNDETERMINED
        GONZALEZ, ROBERTO
        2276 BIXLER ROAD             ACCOUNT NO.: NOT AVAILABLE
        BRENTWOOD, CA 94513


3.11151 RANCOURT, CHERYL                       VARIOUS                              Litigation              UNDETERMINED
        445 TODD RD.
        LAKEPORT, CA 95453           ACCOUNT NO.: NOT AVAILABLE


3.11152 RANDALL WITTENAUER                     VARIOUS                              Litigation              UNDETERMINED
        PAUL A. MATIASIC, HANNAH
        MOHR                         ACCOUNT NO.: NOT AVAILABLE
        44 MONTGOMERY STREET
        SUITE 3852
        SAN FRANCISCO, CA 94104


3.11153 RANDALL WITTENAUER                     VARIOUS                              Litigation              UNDETERMINED
        BOBBY THOMPSON
        724 AIRPORT BLVD             ACCOUNT NO.: NOT AVAILABLE
        SUITE 184
        BURLINGAME, CA 94010


3.11154 RANDALL WITTENAUER                     VARIOUS                              Litigation              UNDETERMINED
        MARY ALEXANDER, BRENDAN
        WAY, CATALINA MUNOZ          ACCOUNT NO.: NOT AVAILABLE
        44 MONTGOMERY STREET
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.11155 RANDALL, DEIA                          VARIOUS                              Litigation              UNDETERMINED
        3235 SPRING VALLEY RD
        CLEARLAKE OAKS, CA 95423     ACCOUNT NO.: NOT AVAILABLE


3.11156 RANDALL, LONNIE & BIRGITTE             VARIOUS                              Litigation              UNDETERMINED
        5150 EDGEWOOD LN
        PARADISE, CA 95969           ACCOUNT NO.: NOT AVAILABLE


3.11157 RANDHAWA FARMS-                        VARIOUS                              Litigation              UNDETERMINED
        RANDHAWA, BALRAJ
        216 KEMPSFORD CT             ACCOUNT NO.: NOT AVAILABLE
        ROSEVILLE, CA 95747


3.11158 RANDOL, BLAKE                          VARIOUS                              Litigation              UNDETERMINED
        18065 BPMAMZA DR
        TWIN HARTE, CA 95383         ACCOUNT NO.: NOT AVAILABLE


3.11159 RANDOLPH / CCSF, GREGORY               VARIOUS                              Litigation              UNDETERMINED
        1390 MARKET ST 7TH FLOOR
        SAN FRANCISCO, CA 94102      ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.11160 RANDOLPH CANYON ROAD                   VARIOUS                              Litigation              UNDETERMINED
        ASSOCIATION-SWIGART, JAMES
        PO BOX 292                   ACCOUNT NO.: NOT AVAILABLE
        POLLOCK PINES, CA 95726


3.11161 RANDOLPH, RANDY                        VARIOUS                              Litigation              UNDETERMINED
        9225 HEATHFIELD WAY
        SACRAMENTO, CA 95829         ACCOUNT NO.: NOT AVAILABLE


3.11162 RANG DONG RESTAURANT, BUI              VARIOUS                              Litigation              UNDETERMINED
        THANG
        724 WEBSTER STREET           ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94607


3.11163 RANGA, NARESH GUPTHA                   VARIOUS                              Litigation              UNDETERMINED
        40073 FREMONT BLVD
        APT 620                      ACCOUNT NO.: NOT AVAILABLE
        FREMONT, CA 94538


3.11164 RANGE RESTAURANT-THARP,                VARIOUS                              Litigation              UNDETERMINED
        COLLIN
        842 VALENCIA ST.             ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94110


3.11165 RANGEL, ROSALINDA                      VARIOUS                              Litigation              UNDETERMINED
        4615 N. 5TH STREET
        FRESNO, CA 93722             ACCOUNT NO.: NOT AVAILABLE


3.11166 RANGEL, STACY                          VARIOUS                              Litigation              UNDETERMINED
        975 N FORBES ST
        3                            ACCOUNT NO.: NOT AVAILABLE
        LAKEPORT, CA 95453


3.11167 RANGER PIPELINES                       VARIOUS                              Litigation              UNDETERMINED
        1790 YOSEMITE AVE
        SAN FRANCISCO, CA 94124      ACCOUNT NO.: NOT AVAILABLE


3.11168 RANGOS, VERA                           VARIOUS                              Litigation              UNDETERMINED
        18760 DUNDEE AVENUE
        SARATOGA, CA 95070           ACCOUNT NO.: NOT AVAILABLE


3.11169 RANKIN, NINA                           VARIOUS                              Litigation              UNDETERMINED
        450 RIVER RD
        RIO VISTA, CA 94571          ACCOUNT NO.: NOT AVAILABLE


3.11170 RANNO, DOUG & TRACY                    VARIOUS                              Litigation              UNDETERMINED
        24465 VEREDA DEL ARROYO
        SALINAS, CA 93908            ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.11171 RANSDELL, SCOTT                        VARIOUS                              Litigation              UNDETERMINED
        23705 COUNTY ROAD 96
        WOODLAND, CA 95661           ACCOUNT NO.: NOT AVAILABLE


3.11172 RANSFORD, JEREMY                       VARIOUS                              Litigation              UNDETERMINED
        5145 5TH ST
        ROCKLIN, CA 95677            ACCOUNT NO.: NOT AVAILABLE


3.11173 RANSLER, MARYANN                       VARIOUS                              Litigation              UNDETERMINED
        163 SILVERWOOD DR
        SCOTTS VALLEY, CA 95066      ACCOUNT NO.: NOT AVAILABLE


3.11174 RAO, SANTOSH                           VARIOUS                              Litigation              UNDETERMINED
        2901 S WHITE RD
        SAN JOSE, CA 95148           ACCOUNT NO.: NOT AVAILABLE


3.11175 RAO, SANTOSH                           VARIOUS                              Litigation              UNDETERMINED
        2901 S WHITE RD
        SAN JOSE, CA 95148           ACCOUNT NO.: NOT AVAILABLE


3.11176 RAPANUT, CARMEN                        VARIOUS                              Litigation              UNDETERMINED
        661 NORDALE AVE
        SAN JOSE, CA 95112           ACCOUNT NO.: NOT AVAILABLE


3.11177 RAPP, WILLIAM                          VARIOUS                              Litigation              UNDETERMINED
        562 EDWARDS STREET
        CROCKETT, CA 94525           ACCOUNT NO.: NOT AVAILABLE


3.11178 RAPPOLD, TIM                           VARIOUS                              Litigation              UNDETERMINED
        7569 STERLING DRIVE
        OAKLAND, CA 94605            ACCOUNT NO.: NOT AVAILABLE


3.11179 RASCON, LUIS                           VARIOUS                              Litigation              UNDETERMINED
        1185 MONROE ST
        84                           ACCOUNT NO.: NOT AVAILABLE
        SALINAS, CA 93906


3.11180 RASGON, NATALIE                        VARIOUS                              Litigation              UNDETERMINED
        440 OLD OAK CT
        LOS ALTOS, CA 94022          ACCOUNT NO.: NOT AVAILABLE


3.11181 RASMUSON, NORMA                        VARIOUS                              Litigation              UNDETERMINED
        394 RICARDO AVE SPC 394
         SPC 394                     ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95407




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Including Zip Code                          Account Number                            Claim

Litigation & Disputes

3.11182 RASMUSSEN, KAREN                       VARIOUS                              Litigation              UNDETERMINED
        PO BOX 2226
        ARNOLD, CA 95223             ACCOUNT NO.: NOT AVAILABLE


3.11183 RASMUSSEN, MICHAEL                     VARIOUS                              Litigation              UNDETERMINED
        1440 WALNUT ST
        2                            ACCOUNT NO.: NOT AVAILABLE
        BERKELEY, CA 94709


3.11184 RASNICK, MARGARE                       VARIOUS                              Litigation              UNDETERMINED
        25 PERSIMMON COURT
        HILLSBOROUGH, CA 94010       ACCOUNT NO.: NOT AVAILABLE


3.11185 RATCLIFF, JANICE                       VARIOUS                              Litigation              UNDETERMINED
        PO BOX 5817
        OAKLAND, CA 94605            ACCOUNT NO.: NOT AVAILABLE


3.11186 RATEGH, HAMID                          VARIOUS                              Litigation              UNDETERMINED
        10341 GLENVIEW AVER
        CUPERTINO, CA 95014          ACCOUNT NO.: NOT AVAILABLE


3.11187 RATFIELD, KENNETH                      VARIOUS                              Litigation              UNDETERMINED
        35998 ROSEWOOD DR
        NEWARK, CA 94560             ACCOUNT NO.: NOT AVAILABLE


3.11188 RATHBONE GROUP                         VARIOUS                              Litigation              UNDETERMINED
        1100 SUPERIOR AVE., SUITE
        1850                         ACCOUNT NO.: NOT AVAILABLE
        CLEVELAND, CA 44114


3.11189 RATHBONE GROUP                         VARIOUS                              Litigation              UNDETERMINED
        1100 SUPERIOR AVE., SUITE
        1850                         ACCOUNT NO.: NOT AVAILABLE
        CLEVELAND, CA 44114


3.11190 RATHBUN, CARL                          VARIOUS                              Litigation              UNDETERMINED
        1241 CHAMP AVE.
        MODESTO, CA 95355            ACCOUNT NO.: NOT AVAILABLE


3.11191 RATHGEBER, R.                          VARIOUS                              Litigation              UNDETERMINED
        3291 GUERNEVILLE RD
        SANTA ROSA, CA 95401         ACCOUNT NO.: NOT AVAILABLE


3.11192 RATLIFF, DIANNA                        VARIOUS                              Litigation              UNDETERMINED
        3848 GARNET RD
        POLLOCK PINES, CA 95726      ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                               Account Number                            Claim

Litigation & Disputes

3.11193 RATTAY, KYLE                                VARIOUS                              Litigation              UNDETERMINED
        5845 MORGAN PLACE
        LOOMIS, CA 95650                  ACCOUNT NO.: NOT AVAILABLE


3.11194 RAUCHLE, CAROLE                             VARIOUS                              Litigation              UNDETERMINED
        739 WEST BOYD ROAD
        PLEASANT HILL, CA 94523           ACCOUNT NO.: NOT AVAILABLE


3.11195 RAUH, ALISSA JOELLE                         VARIOUS                              Litigation              UNDETERMINED
        3030 FRANKLIN ST
        SAN FRANCISCO, CA 94123           ACCOUNT NO.: NOT AVAILABLE


3.11196 RAUH, JONATHAN                              VARIOUS                              Litigation              UNDETERMINED
        1815 SHORELINE HWY
        MUIR BEACH, CA 94965              ACCOUNT NO.: NOT AVAILABLE


3.11197 RAUSCHER, MICHAEL                           VARIOUS                              Litigation              UNDETERMINED
        4021 SARA CT
        SANTA MARIA, CA 93455             ACCOUNT NO.: NOT AVAILABLE


3.11198 RAVANI, SANDY                               VARIOUS                              Litigation              UNDETERMINED
        912 4TH AVE
        SAN BRUNO, CA 94066               ACCOUNT NO.: NOT AVAILABLE


3.11199 RAWLINSON, STEPHEN &                        VARIOUS                              Litigation              UNDETERMINED
        DENISE
        5311 RUCKER DRIVE                 ACCOUNT NO.: NOT AVAILABLE
        314 PATRICA
        SIERRA CITY, CA 96125


3.11200 RAWSON, HIRAL                               VARIOUS                              Litigation              UNDETERMINED
        3050 MANDA DR
        SAN JOSE, CA 95124                ACCOUNT NO.: NOT AVAILABLE


3.11201 RAY ALCANTER, HOFFMAN &                     VARIOUS                              Litigation              UNDETERMINED
        HOFFMAN FOR
        2600 E. BIDWELL ST., SUITE 240,   ACCOUNT NO.: NOT AVAILABLE
        FOLSOM, CA., 95630
        614 JAMES ST.
        WEST SACRAMENTO, CA 95605


3.11202 RAY CARLSON-NELSON, CINDEE                  VARIOUS                              Litigation              UNDETERMINED
        411 RUSSELL AVENUE
        STE. 200                          ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.11203 RAY, MICHELLE                               VARIOUS                              Litigation              UNDETERMINED
        11131 SARA DR
        REDDING, CA 96003                 ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                          Account Number                            Claim

Litigation & Disputes

3.11204 RAY, NIRA                              VARIOUS                              Litigation              UNDETERMINED
        309 BROADWAY ST
        PETALUMA, CA 94952           ACCOUNT NO.: NOT AVAILABLE


3.11205 RAY, NISTA                             VARIOUS                              Litigation              UNDETERMINED
        605 EAST 39TH AVENUE
        SAN MATEO, CA 94403          ACCOUNT NO.: NOT AVAILABLE


3.11206 RAY, RICHARD                           VARIOUS                              Litigation              UNDETERMINED
        23975 HITCHING POST ROAD
        SONORA, CA 95370             ACCOUNT NO.: NOT AVAILABLE


3.11207 RAY, SCOTT                             VARIOUS                              Litigation              UNDETERMINED
        3372 RIVERSIDE DR
        ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.11208 RAYA, JUAN                             VARIOUS                              Litigation              UNDETERMINED
        309 MARTELLA STREET
        SALINAS, CA 93901            ACCOUNT NO.: NOT AVAILABLE


3.11209 RAYFIELD, EDY                          VARIOUS                              Litigation              UNDETERMINED
        PO BOX 361
        111-A OLD COAST ROAD,        ACCOUNT NO.: NOT AVAILABLE
        DAVENPORT, CA 95017


3.11210 RAYMER, GAYLE                          VARIOUS                              Litigation              UNDETERMINED
        2255 COCHRAN ROAD
        MCKINLEYVILLE, CA 95519      ACCOUNT NO.: NOT AVAILABLE


3.11211 RAYMUS REALTY/DRAMM                    VARIOUS                              Litigation              UNDETERMINED
        PROPERTIES,LLC-GRUBER,
        RICHARD                      ACCOUNT NO.: NOT AVAILABLE
        544 E. YOSEMITE AVE.
        MANTECA, CA 95336


3.11212 RAYNER, DEREK AND JULIE                VARIOUS                              Litigation              UNDETERMINED
        480 EASTERN AVENUE
        ANGWIN, CA 94508             ACCOUNT NO.: NOT AVAILABLE


3.11213 RAY'S INDUSTRIAL-WICKS,                VARIOUS                              Litigation              UNDETERMINED
        RAYMOND
        1201 TAYLOR RD               ACCOUNT NO.: NOT AVAILABLE
        NEWCASTLE, CA 95658


3.11214 RAZO LOMELI, JESUS                     VARIOUS                              Litigation              UNDETERMINED
        10000 HOUSTON AVE
        LAMONT, CA 93241             ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.11215 RAZO, HUMBERTO                         VARIOUS                              Litigation              UNDETERMINED
        5121 HARVEST ESTATES
        SAN JOSE, CA 95135           ACCOUNT NO.: NOT AVAILABLE


3.11216 RAZOOLY, T                             VARIOUS                              Litigation              UNDETERMINED
        1 FORGOTTEN CASTLE
        BLOCKSBURG, CA 95514         ACCOUNT NO.: NOT AVAILABLE


3.11217 RAZOOLY, T                             VARIOUS                              Litigation              UNDETERMINED
        1 FORGOTTEN CASTLE
        BLOCKSBURG, CA 95514         ACCOUNT NO.: NOT AVAILABLE


3.11218 RAZZARI, ARLENE                        VARIOUS                              Litigation              UNDETERMINED
        2437 MEADOW RUE DR
        MODESTO, CA 95355            ACCOUNT NO.: NOT AVAILABLE


3.11219 RBM LAND CO, CLAUDE GRILLO             VARIOUS                              Litigation              UNDETERMINED
        154 SADDIE OAK CT
        RR TRACKS 1 MI WS END        ACCOUNT NO.: NOT AVAILABLE
        CHADBOUTNE RD
        SUISUN, CA 94585


3.11220 REA, RICHARD                           VARIOUS                              Litigation              UNDETERMINED
        11520 GARNET WAY
        AUBURN, CA 95602             ACCOUNT NO.: NOT AVAILABLE


3.11221 READ, DAVID & MARGO                    VARIOUS                              Litigation              UNDETERMINED
        45232 FOREST RIDGE DRIVE
        AHWAHNEE, CA 93601           ACCOUNT NO.: NOT AVAILABLE


3.11222 READ, TOM & DONNA                      VARIOUS                              Litigation              UNDETERMINED
        2204 CYPRESS POINT
        DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.11223 REAGAN MANAGEMENT                      VARIOUS                              Litigation              UNDETERMINED
        SERVICES-REAGAN, RON
        60 EAGLE ROCK WAY            ACCOUNT NO.: NOT AVAILABLE
        SUITE C
        BRENTWOOD, CA 94513


3.11224 REAL FALAFEL & SHAWARMA                VARIOUS                              Litigation              UNDETERMINED
        LLC-TOHME, ROGER
        799 EL CAMINO REAL           ACCOUNT NO.: NOT AVAILABLE
        SAN BRUNO, CA 94066




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Litigation & Disputes

3.11225 REAL PROPERTY MANAGEMENT               VARIOUS                              Litigation              UNDETERMINED
        HUMBOLDT-HAMMACHER,
        HENRY                        ACCOUNT NO.: NOT AVAILABLE
        PO BOX 117
        EUREKA, CA 95502


3.11226 REALTY FRESNO-CALVERT,                 VARIOUS                              Litigation              UNDETERMINED
        GARRETT
        7600 N INGRAM AVE #105       ACCOUNT NO.: NOT AVAILABLE
        FRESNO, CA 93711


3.11227 REASON, MIKE                           VARIOUS                              Litigation              UNDETERMINED
        PO BOX 435
        FULTON, CA 95439             ACCOUNT NO.: NOT AVAILABLE


3.11228 REBELLOS TOWING-BOURNE,                VARIOUS                              Litigation              UNDETERMINED
        ERIC
        696 KINGS ROW                ACCOUNT NO.: NOT AVAILABLE
        SAN JOSE, CA 95112


3.11229 REBENSDORF, RANDALL                    VARIOUS                              Litigation              UNDETERMINED
        5701 N. ROLINDA
        FRESNO, CA 93723             ACCOUNT NO.: NOT AVAILABLE


3.11230 REBHOLZ, WILL & HELENA                 VARIOUS                              Litigation              UNDETERMINED
        3078 REDWOOD DR.
        MARINA, CA 93933             ACCOUNT NO.: NOT AVAILABLE


3.11231 REBOW, VERONA                          VARIOUS                              Litigation              UNDETERMINED
        PO BOX 7056
        ARROYO GRANDE, CA 93421      ACCOUNT NO.: NOT AVAILABLE


3.11232 RECLAMATION DISTRICT 2023,             VARIOUS                              Litigation              UNDETERMINED
        CELSO DIAZ BASTIDA
        1440 ARLINDER COURT          ACCOUNT NO.: NOT AVAILABLE
        LODI, CA 95242


3.11233 RECLAMATION DISTRICT 38-               VARIOUS                              Litigation              UNDETERMINED
        ZELEKE, DAWIT
        PO BOX 408                   ACCOUNT NO.: NOT AVAILABLE
        WALNUT GROVE, CA 95690


3.11234 RECOLOGY GOLDEN GATE,                  VARIOUS                              Litigation              UNDETERMINED
        RECOLOGY GOLDEN GATE
        CARL WARREN & CO /           ACCOUNT NO.: NOT AVAILABLE
        1937944KB
        PO BOX 25180
        SANTA ANA, CA 92799



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Litigation & Disputes

3.11235 RECOVERY PARTNERS, LLC                  VARIOUS                              Litigation              UNDETERMINED
        4151 N. MARSHALL WAY, SUITE
        12                            ACCOUNT NO.: NOT AVAILABLE
        SCOTTSDALE, CA 85251


3.11236 RECOVERY, DAMAGE                        VARIOUS                              Litigation              UNDETERMINED
        PO BOX 843369
        KANSAS CITY, CA 64184         ACCOUNT NO.: NOT AVAILABLE


3.11237 RED PEPPER RESTAURANT-                  VARIOUS                              Litigation              UNDETERMINED
        KENDALL, SHARON
        2641 OSWELL STREET            ACCOUNT NO.: NOT AVAILABLE
        G
        BAKERSFIELD, CA 93306


3.11238 REDE, HENRY                             VARIOUS                              Litigation              UNDETERMINED
        9359 BUR OAK PLACE
        SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.11239 REDMAN, DAREN                           VARIOUS                              Litigation              UNDETERMINED
        PO BOX 1006
        ANGELS CAMP, CA 95222         ACCOUNT NO.: NOT AVAILABLE


3.11240 REDMAN, EDWARD & TAMMY                  VARIOUS                              Litigation              UNDETERMINED
        8512 HIDDEN LAKES DRIVE
        GRANITE BAY, CA 95746         ACCOUNT NO.: NOT AVAILABLE


3.11241 REDMAN, FRANK                           VARIOUS                              Litigation              UNDETERMINED
        34836 EMIGRANT TRAIL
        SHINGLETOWN, CA 96088         ACCOUNT NO.: NOT AVAILABLE


3.11242 REDONDO, OSCAR                          VARIOUS                              Litigation              UNDETERMINED
        1223 MALSCH STRASSE
        DINUBA, CA 93618              ACCOUNT NO.: NOT AVAILABLE


3.11243 REDWING WOODWORKS,                      VARIOUS                              Litigation              UNDETERMINED
        MADDEN BONNIE
        13300 KILHAM MINE ROAD        ACCOUNT NO.: NOT AVAILABLE
        PO BOX 1573
        NEVADA CITY, CA 95959


3.11244 REDWING, CHAD                           VARIOUS                              Litigation              UNDETERMINED
        18055 TINNIN RD
        SONORA, CA 95370              ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.11245 REDWOOD ELECTRIC GROUP,               VARIOUS                              Litigation              UNDETERMINED
        CHRIS VALEGO
        2775 NORTHWESTERN           ACCOUNT NO.: NOT AVAILABLE
        PARKWAY
        SANTA CLARA, CA 95051


3.11246 REECE, GAYLE                          VARIOUS                              Litigation              UNDETERMINED
        1073 MILLER DRIVE
        LAFAYETTE, CA 94549         ACCOUNT NO.: NOT AVAILABLE


3.11247 REED, ROBERT                          VARIOUS                              Litigation              UNDETERMINED
        1299 CORBEROSA DRIVE
        ARROYO GRANDE, CA 93420     ACCOUNT NO.: NOT AVAILABLE


3.11248 REED, WAYNE                           VARIOUS                              Litigation              UNDETERMINED
        1603 H STREET
        EUREKA, CA 95501            ACCOUNT NO.: NOT AVAILABLE


3.11249 REEDER, PAMELA                        VARIOUS                              Litigation              UNDETERMINED
        PO BOX 242
        SUTTER CRREK, CA 95685      ACCOUNT NO.: NOT AVAILABLE


3.11250 REEDLEY WELLNESS CENTER-              VARIOUS                              Litigation              UNDETERMINED
        PETERS, JACOB
        750 G STREET                ACCOUNT NO.: NOT AVAILABLE
        REEDLEY, CA 93654


3.11251 REEL, JUDITH                          VARIOUS                              Litigation              UNDETERMINED
        CA
                                    ACCOUNT NO.: NOT AVAILABLE


3.11252 REES, LAURA                           VARIOUS                              Litigation              UNDETERMINED
        1727 GREENWICH STREET
        SAN FRANCISCO, CA 94123     ACCOUNT NO.: NOT AVAILABLE


3.11253 REESE, HORACE                         VARIOUS                              Litigation              UNDETERMINED
        301 RIVERWOOD LANE
        RIO VISTA, CA               ACCOUNT NO.: NOT AVAILABLE


3.11254 REEVES, ASHLIE                        VARIOUS                              Litigation              UNDETERMINED
        PO BOX 453
        RIPON, CA 95366             ACCOUNT NO.: NOT AVAILABLE


3.11255 REEVES, JESSIE                        VARIOUS                              Litigation              UNDETERMINED
        40037 FREMONT BOULEVARD
        #406                        ACCOUNT NO.: NOT AVAILABLE
        FREMONT, CA 94538



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Litigation & Disputes

3.11256 REEVES, MARGARET                       VARIOUS                              Litigation              UNDETERMINED
        624 FRONBARK CIRCLE
        VALLEY VIEW DRIVE            ACCOUNT NO.: NOT AVAILABLE
        ORINDA, CA 94563


3.11257 REEVES, RUTH ANN                       VARIOUS                              Litigation              UNDETERMINED
        23180 MORA GLEN DRIVE
        LOS ALTOS, CA 94024          ACCOUNT NO.: NOT AVAILABLE


3.11258 REEVES, STEVEN                         VARIOUS                              Litigation              UNDETERMINED
        20198 GREENVIEW DRIVE
        WOODBRIDGE, CA 95258         ACCOUNT NO.: NOT AVAILABLE


3.11259 REFCORP-FITE, ROD                      VARIOUS                              Litigation              UNDETERMINED
        65 NORFOLK STREET, UNIT #1
        SAN FRANCISCO, CA 94103      ACCOUNT NO.: NOT AVAILABLE


3.11260 REGAL PLACERVILLE STADIUM              VARIOUS                              Litigation              UNDETERMINED
        8-BYRNES, LISA
        101 E. BLOUNT AVENUE         ACCOUNT NO.: NOT AVAILABLE
        KNOXVILLE, CA 37849


3.11261 REGAN, JANET                           VARIOUS                              Litigation              UNDETERMINED
        PO BOX 3564
        CARMEL, CA 93921             ACCOUNT NO.: NOT AVAILABLE


3.11262 REGEV, LEA NURITE                      VARIOUS                              Litigation              UNDETERMINED
        1 BLACKFIELD DRIVE
        #2                           ACCOUNT NO.: NOT AVAILABLE
        TIBURON, CA 94920


3.11263 REGH, JOHN                             VARIOUS                              Litigation              UNDETERMINED
        3560 SHADOWTREE LN
        CHICO, CA 95928              ACCOUNT NO.: NOT AVAILABLE


3.11264 REGISTRATION EXPRESS                   VARIOUS                              Litigation              UNDETERMINED
        GROUP, INC.-BOWLSBY, BRUCE
        1805 HILLTOP DRIVE           ACCOUNT NO.: NOT AVAILABLE
        101
        REDDING, CA 96002


3.11265 REHMANN, CHRIS                         VARIOUS                              Litigation              UNDETERMINED
        6475 APPLE CREEK DR
        PARADISE, CA 95969           ACCOUNT NO.: NOT AVAILABLE


3.11266 REHR, MORIAH                           VARIOUS                              Litigation              UNDETERMINED
        704 SUMMERWOOD LANE, #3
        LOMPOC, CA 93436             ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.11267 REICH, KELLEY                           VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 1394
        TWAIN HARTE, CA 95383         ACCOUNT NO.: NOT AVAILABLE


3.11268 REID, DARREN                            VARIOUS                              Litigation              UNDETERMINED
        50608 WILLOW POINT RD
        CLARKSBURG, CA 95612          ACCOUNT NO.: NOT AVAILABLE


3.11269 REID, DONNA                             VARIOUS                              Litigation              UNDETERMINED
        586 VIEJO ROAD
        CARMEL, CA 93923              ACCOUNT NO.: NOT AVAILABLE


3.11270 REID, MARY                              VARIOUS                              Litigation              UNDETERMINED
        379 PEPERDINE COURT
        MERCED, CA 95348              ACCOUNT NO.: NOT AVAILABLE


3.11271 REID, PORTIA                            VARIOUS                              Litigation              UNDETERMINED
        3340 E DAKOTA AVE, APT #141
        FRESNO, CA 93726              ACCOUNT NO.: NOT AVAILABLE


3.11272 REID, TAMMIE                            VARIOUS                              Litigation              UNDETERMINED
        12430 PUNCH BOWL RD
        GROVELAND CA, CA 95321        ACCOUNT NO.: NOT AVAILABLE


3.11273 REIERSON, LAWRENCE E                    VARIOUS                              Litigation              UNDETERMINED
        9 ABINANTE WAY
        MONTEREY, CA 93940            ACCOUNT NO.: NOT AVAILABLE


3.11274 REIFF, LEILANI                          VARIOUS                              Litigation              UNDETERMINED
        1412 MADRONE WAY
        WOODLAND, CA 95695            ACCOUNT NO.: NOT AVAILABLE


3.11275 REILLY, IIAN                            VARIOUS                              Litigation              UNDETERMINED
        335 PARK WAY # B
        SANTA CRUZ, CA 95062          ACCOUNT NO.: NOT AVAILABLE


3.11276 REILLY, LAURA/ATTY REP                  VARIOUS                              Litigation              UNDETERMINED
        965 N. MCDOWELL BLVD.
        PETALUMA, CA 94954            ACCOUNT NO.: NOT AVAILABLE


3.11277 REINECK, ADAM                           VARIOUS                              Litigation              UNDETERMINED
        522 TAMALPAIS DRIVE
        MILL VALLEY, CA 94941         ACCOUNT NO.: NOT AVAILABLE


3.11278 REINER, LYDIA                           VARIOUS                              Litigation              UNDETERMINED
        22600 MELISA DR.
        PALO CEDRO, CA 96073          ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.11279 REINING, MEGAN                          VARIOUS                              Litigation              UNDETERMINED
        1400 7TH STREET APT 509
        SAN FRANCISCO, CA 94107       ACCOUNT NO.: NOT AVAILABLE


3.11280 REININKE, MELANIE                       VARIOUS                              Litigation              UNDETERMINED
        6600 ALCANTARA AVE
        APT A                         ACCOUNT NO.: NOT AVAILABLE
        ATASCADERO, CA 93422


3.11281 REIS, GERALD                            VARIOUS                              Litigation              UNDETERMINED
        11325 VALENCIA RD
        NEVADA CITY, CA 95959         ACCOUNT NO.: NOT AVAILABLE


3.11282 REISTER, BOB                            VARIOUS                              Litigation              UNDETERMINED
        PO BOX 2775
        LOS BANOS, CA 93635           ACCOUNT NO.: NOT AVAILABLE


3.11283 REITER BERRY FARMS-                     VARIOUS                              Litigation              UNDETERMINED
        HERNANDEZ, NOLBERTO
        140 WESTRIDGE DR.             ACCOUNT NO.: NOT AVAILABLE
        STE 101
        WATSONVILLE, CA 95076


3.11284 REITER, PAUL                            VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 5506
        CARMEL, CA 93921              ACCOUNT NO.: NOT AVAILABLE


3.11285 RELIABLE CARPET & TILE                  VARIOUS                              Litigation              UNDETERMINED
        CLEANING-ALCORTA, MARIO
        4040 EASTON DRIVE             ACCOUNT NO.: NOT AVAILABLE
        SUITE 10
        BAKERSFIELD, CA 93309


3.11286 RELIABLE JANITORIAL                     VARIOUS                              Litigation              UNDETERMINED
        SERVICES-ALCORTA, MARIO
        4040 EASTON DRIVE             ACCOUNT NO.: NOT AVAILABLE
        SUITE 3
        BAKERSFIELD, CA 93309


3.11287 REMEDIAL TRANSPORTATION                 VARIOUS                              Litigation              UNDETERMINED
        SERVICES-SMITH, KENNY
        PO BOX 81856                  ACCOUNT NO.: NOT AVAILABLE
        BAKERSFIELD, CA 93380


3.11288 REMINGTON, BRUCE                        VARIOUS                              Litigation              UNDETERMINED
        REMINGTON, BRUCE
        5149 BLACKBERRY LANE          ACCOUNT NO.: NOT AVAILABLE
        EUREKA, CA 95503



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Litigation & Disputes

3.11289 REMMICK, RAY & CINDY                    VARIOUS                              Litigation              UNDETERMINED
        104 EAST RIVER ST.
        5939 DOLLAR LANE,             ACCOUNT NO.: NOT AVAILABLE
        CARMICHAEL, CA., 95608
        DOWNIEVILLE, CA 95836


3.11290 REMUS, ELENA                            VARIOUS                              Litigation              UNDETERMINED
        2214 CLINTON AVE.
        ALAMEDA, CA 94501             ACCOUNT NO.: NOT AVAILABLE


3.11291 REN AUTOWORKS-HUANG,                    VARIOUS                              Litigation              UNDETERMINED
        CHEN
        616 S AMPHLETT BLVD           ACCOUNT NO.: NOT AVAILABLE
        SAN MATEO, CA 94402


3.11292 REN, CHRISTINE                          VARIOUS                              Litigation              UNDETERMINED
        44424 MARTINGALE CT
        FREMONT, CA 94539             ACCOUNT NO.: NOT AVAILABLE


3.11293 RENARD, JOHN                            VARIOUS                              Litigation              UNDETERMINED
        465 PULLMAN RD.
        HILLSBOROUGH, CA 94010        ACCOUNT NO.: NOT AVAILABLE


3.11294 RENARD, RICHARD                         VARIOUS                              Litigation              UNDETERMINED
        6724 LANGLEY CANYON ROAD
        PRUNEDALE, CA 93907           ACCOUNT NO.: NOT AVAILABLE


3.11295 RENEAU, ALIF V. PG&E                    VARIOUS                              Litigation              UNDETERMINED
        1844 CELESTE AVENUE
        CLOVIS, CA 93611              ACCOUNT NO.: NOT AVAILABLE


3.11296 RENFRO, KATHY                           VARIOUS                              Litigation              UNDETERMINED
        3133 W ALLUVIAL AVE
        FRESNO, CA 93711              ACCOUNT NO.: NOT AVAILABLE


3.11297 RENK, LINDA                             VARIOUS                              Litigation              UNDETERMINED
        PO BOX 1155
        PLACERVILLE, CA 95567         ACCOUNT NO.: NOT AVAILABLE


3.11298 RENN, MELANIE                           VARIOUS                              Litigation              UNDETERMINED
        189 ISLE ROYALE CT
        SAN RAFAEL, CA 94903          ACCOUNT NO.: NOT AVAILABLE


3.11299 RENNERT, MINNIE                         VARIOUS                              Litigation              UNDETERMINED
        22161 HWY 88
        PINE GROVE, CA 95665          ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.11300 RENTAL GUESTHOUSE-KIM, SUJI         VARIOUS                                Litigation              UNDETERMINED
        16 MENTONE RD
        CARMEL, CA 93923            ACCOUNT NO.: NOT AVAILABLE


3.11301 RENTAL PROPERTY-HAFIZI,               VARIOUS                              Litigation              UNDETERMINED
        SHIRIN
        145 SHUEY DR                ACCOUNT NO.: NOT AVAILABLE
        MORAGA, CA 94556


3.11302 RENTAL PROPERTY-WONG,                 VARIOUS                              Litigation              UNDETERMINED
        KAREN
        6 BLACKHAWK LANE            ACCOUNT NO.: NOT AVAILABLE
        BURLINGAME, CA 94010


3.11303 RENTERIA, CAROLINA                    VARIOUS                              Litigation              UNDETERMINED
        17595 RAMADERO WAY
        AROMAS, CA 95004            ACCOUNT NO.: NOT AVAILABLE


3.11304 RENTERIA, JENNY                       VARIOUS                              Litigation              UNDETERMINED
        629 PENITENCIA STREET
        MILPITAS, CA 95035          ACCOUNT NO.: NOT AVAILABLE


3.11305 RENTERIA, MARIA                       VARIOUS                              Litigation              UNDETERMINED
        24515 LINCOLN ST
        PO BOX 52                   ACCOUNT NO.: NOT AVAILABLE
        CHUALAR, CA 93906


3.11306 RENTERIA, MELINDA                     VARIOUS                              Litigation              UNDETERMINED
        1165 SAN DIEGO
        SALINAS, CA 93901           ACCOUNT NO.: NOT AVAILABLE


3.11307 RENTSCHLER, FRED                      VARIOUS                              Litigation              UNDETERMINED
        730 DANVILLE BLVD
        DANVILLE, CA 94526          ACCOUNT NO.: NOT AVAILABLE


3.11308 REPATH, CHARLES                       VARIOUS                              Litigation              UNDETERMINED
        5560 EAST WHITLOCK ROAD
        MARIPOSA, CA 95338          ACCOUNT NO.: NOT AVAILABLE


3.11309 RESDENT-ELLIS, RON                    VARIOUS                              Litigation              UNDETERMINED
        261 SANDRINGHAM ROAD
        PIEDMONT, CA 94611          ACCOUNT NO.: NOT AVAILABLE


3.11310 RESIDENCE-NINCHE PILLE,               VARIOUS                              Litigation              UNDETERMINED
        JUAN
        PO BOX 93                   ACCOUNT NO.: NOT AVAILABLE
        KELSEYVILLE, CA 95451



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Litigation & Disputes

3.11311 RESIDENCE-RUDE, DAVID                 VARIOUS                              Litigation              UNDETERMINED
        17756 NAVAJO TRAIL
        LOS GATOS, CA 95033         ACCOUNT NO.: NOT AVAILABLE


3.11312 RESIDENCE-SNIPES, JEFF                VARIOUS                              Litigation              UNDETERMINED
        16 TURNAGAIN ROAD
        KENTFIELD, CA 94904         ACCOUNT NO.: NOT AVAILABLE


3.11313 RESIDENCE-TAYLOR, STEVE               VARIOUS                              Litigation              UNDETERMINED
        86 MEESE CIRCLE
        DANVILLE, CA 94526          ACCOUNT NO.: NOT AVAILABLE


3.11314 RESIDENTIAL-ARORA,                    VARIOUS                              Litigation              UNDETERMINED
        TILOTAMMA
        12670 CORTE MADERA LANE     ACCOUNT NO.: NOT AVAILABLE
        LOS ALTOS HILLS, CA 94022


3.11315 RESIDENTIAL-MOUHASSEB,                VARIOUS                              Litigation              UNDETERMINED
        BELLA
        1627 GREENBRIER RD          ACCOUNT NO.: NOT AVAILABLE
        WEST SACRAMENTO, CA 95691


3.11316 RESIDENTIAL-REMEDIOS, JAMES         VARIOUS                                Litigation              UNDETERMINED
        13215 PEACOCK COURT
        CUPERTINO, CA 95014         ACCOUNT NO.: NOT AVAILABLE


3.11317 RESIDENTIAL-REMEDIOS, JAMES         VARIOUS                                Litigation              UNDETERMINED
        13215 PEACOCK CT
        CUPERTINO, CA 95014         ACCOUNT NO.: NOT AVAILABLE


3.11318 RESIDENTIAL-RYAN, NEAL                VARIOUS                              Litigation              UNDETERMINED
        11919 KERN RIVER AVE
        BAKERSFIELD, CA 71259       ACCOUNT NO.: NOT AVAILABLE


3.11319 RESIDENTIAL-SETHI, RAKESH             VARIOUS                              Litigation              UNDETERMINED
        14930 FARWELL AVENUE
        SARATOGA, CA 95070          ACCOUNT NO.: NOT AVAILABLE


3.11320 RESUELLO, MARYANNE &                  VARIOUS                              Litigation              UNDETERMINED
        ANTONIO
        2150 TAYLOR ST.             ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94133


3.11321 RETAIL BEAUTY, FOR TRACY              VARIOUS                              Litigation              UNDETERMINED
        NGUYEN
        7360 EL CAMINO REAL STE 1   ACCOUNT NO.: NOT AVAILABLE
        ATASCADERO, CA



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Including Zip Code                            Account Number                            Claim

Litigation & Disputes

3.11322 RETAMOMOZA, ELEANOR                      VARIOUS                              Litigation              UNDETERMINED
        2725 GOLF CIRCLE
        WATSONVILLE, CA 95076          ACCOUNT NO.: NOT AVAILABLE


3.11323 RETENBACH, MICHELLE                      VARIOUS                              Litigation              UNDETERMINED
        6438 HEAVENLY VALLEY LN
        ANDERSON, CA 96007             ACCOUNT NO.: NOT AVAILABLE


3.11324 RETIRED-LAM, SUSAN                       VARIOUS                              Litigation              UNDETERMINED
        3926 N PEARDALE DR
        LAFAYETTE, CA 94549            ACCOUNT NO.: NOT AVAILABLE


3.11325 RETZLOFF, JOHN                           VARIOUS                              Litigation              UNDETERMINED
        476 DELANEY DR P.O. BOX 1315
        WILLOW CREEK, CA 95573         ACCOUNT NO.: NOT AVAILABLE


3.11326 REVEL, JANICE                            VARIOUS                              Litigation              UNDETERMINED
        320 MADISON AVE
        SAN BRUNO, CA 94066            ACCOUNT NO.: NOT AVAILABLE


3.11327 REX FUMIGATION-LOMELI,                   VARIOUS                              Litigation              UNDETERMINED
        PORFIRIO
        2167 BRUTUS ST                 ACCOUNT NO.: NOT AVAILABLE
        HOUSE
        SALINAS, CA 93906


3.11328 REY FAMILY VINEYARDS-REY,                VARIOUS                              Litigation              UNDETERMINED
        BRAD
        2106 WURZ LN W                 ACCOUNT NO.: NOT AVAILABLE
        NAPA, CA 94558


3.11329 REY, JUANA                               VARIOUS                              Litigation              UNDETERMINED
        309 E RUSH ST
        MADERA, CA 93638               ACCOUNT NO.: NOT AVAILABLE


3.11330 REY, MELISSA                             VARIOUS                              Litigation              UNDETERMINED
        311 NORTH N ST
        1                              ACCOUNT NO.: NOT AVAILABLE
        MADERA, CA 93637


3.11331 REYES, ANGELO                            VARIOUS                              Litigation              UNDETERMINED
        3100 WEBSTER STREET
        SAN FRANCISCO, CA 94123        ACCOUNT NO.: NOT AVAILABLE


3.11332 REYES, ANTONIO                           VARIOUS                              Litigation              UNDETERMINED
        752 VIA MARIA
        SALINAS, CA 93901              ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                          Account Number                            Claim

Litigation & Disputes

3.11333 REYES, CANDELARIO                      VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 545
        BIG SUR, CA 93920            ACCOUNT NO.: NOT AVAILABLE


3.11334 REYES, DAVID                           VARIOUS                              Litigation              UNDETERMINED
        3009 SAN JUAN BLVD
        BELMONT, CA 94002            ACCOUNT NO.: NOT AVAILABLE


3.11335 REYES, EMERSON                         VARIOUS                              Litigation              UNDETERMINED
        19533 MALLORY CANYON ROAD
        CA 93907                     ACCOUNT NO.: NOT AVAILABLE


3.11336 REYES, ISABEL                          VARIOUS                              Litigation              UNDETERMINED
        73 FRUITLAND AVE
        WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.11337 REYES, JERRY                           VARIOUS                              Litigation              UNDETERMINED
        PO BOX 27151
        FRESNO, CA 93729             ACCOUNT NO.: NOT AVAILABLE


3.11338 REYES, JOSE                            VARIOUS                              Litigation              UNDETERMINED
        2574 EL CAMNO REAL N
        H1                           ACCOUNT NO.: NOT AVAILABLE
        SALINAS, CA 93907


3.11339 REYES, JUAN                            VARIOUS                              Litigation              UNDETERMINED
        624 3RD ST
        MCFARLAND, CA 93250          ACCOUNT NO.: NOT AVAILABLE


3.11340 REYES, MARICELA                        VARIOUS                              Litigation              UNDETERMINED
        519 W SIMPSON AVE
        FRESNO, CA 93705             ACCOUNT NO.: NOT AVAILABLE


3.11341 REYES, MIRLA                           VARIOUS                              Litigation              UNDETERMINED
        PO BOX 370196
        620 EDISON STREET            ACCOUNT NO.: NOT AVAILABLE
        MONTARA, CA 94037


3.11342 REYES, NICANOR                         VARIOUS                              Litigation              UNDETERMINED
        10480 BLEVINS WAY
        CASTROVILLE, CA 95012        ACCOUNT NO.: NOT AVAILABLE


3.11343 REYES, NOEL                            VARIOUS                              Litigation              UNDETERMINED
        PO BOX 1463
        EL GRANADA, CA 94018         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                            Account Number                            Claim

Litigation & Disputes

3.11344 REYES, OSCAR                             VARIOUS                              Litigation              UNDETERMINED
        11 STONEY BROOK AVE
        250 BAYSHORE BLVD              ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94124


3.11345 REYES, VICTOR                            VARIOUS                              Litigation              UNDETERMINED
        8614 VINCENSO WAY
        BAKERSFIELD, CA 93313          ACCOUNT NO.: NOT AVAILABLE


3.11346 REYFF ELECTRIC INC.-PHINNEY,             VARIOUS                              Litigation              UNDETERMINED
        WILL
        PO BOX 1196                    ACCOUNT NO.: NOT AVAILABLE
        ROHNERT PARK, CA 94928


3.11347 REYNA, VIC                               VARIOUS                              Litigation              UNDETERMINED
        PO BOX 715
        6935 LUCAS VALLEY RD           ACCOUNT NO.: NOT AVAILABLE
        NICASIO, CA 94946


3.11348 REYNOLDS, DARNALL                        VARIOUS                              Litigation              UNDETERMINED
        451 LANSDALE AVE.
        SAN FRANCISCO, CA 94127        ACCOUNT NO.: NOT AVAILABLE


3.11349 REYNOLDS, FAYETTE                        VARIOUS                              Litigation              UNDETERMINED
        232 E. CANTERBURY DR.
        STOCKTON, CA 95207             ACCOUNT NO.: NOT AVAILABLE


3.11350 REYNOLDS, GLENDA                         VARIOUS                              Litigation              UNDETERMINED
        6310 DOGTOWN RD
        COULTERVILLE, CA 95311         ACCOUNT NO.: NOT AVAILABLE


3.11351 REYNOLDS, GWEN                           VARIOUS                              Litigation              UNDETERMINED
        1010 TAMARACK AVENUE
        SAN CARLOS, CA 94070           ACCOUNT NO.: NOT AVAILABLE


3.11352 REYNOLDS, JAMIN                          VARIOUS                              Litigation              UNDETERMINED
        3082 EVERGLADE AVE
        CLOVIS, CA 93619               ACCOUNT NO.: NOT AVAILABLE


3.11353 REYNOLDS, JIM                            VARIOUS                              Litigation              UNDETERMINED
        PO BOX 1593
        MIDDLETOWN, CA 95461           ACCOUNT NO.: NOT AVAILABLE


3.11354 REYNOLDS, PHYLLIS                        VARIOUS                              Litigation              UNDETERMINED
        919 W. ACACIA ST
        STOCKTON, CA 95203             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.11355 REYNOLDS, SARGENT                       VARIOUS                              Litigation              UNDETERMINED
        PO BOX 737
        WOODLAND, CA 95776            ACCOUNT NO.: NOT AVAILABLE


3.11356 REYNOSO, EDUARDO                        VARIOUS                              Litigation              UNDETERMINED
        3852 JERSEY RD
        FREMONT, CA 94538             ACCOUNT NO.: NOT AVAILABLE


3.11357 REYNOSO, FRANK                          VARIOUS                              Litigation              UNDETERMINED
        518 BOSCOE CT.
        SANTA MARIA, CA 93454         ACCOUNT NO.: NOT AVAILABLE


3.11358 REYNOSO, JUAN                           VARIOUS                              Litigation              UNDETERMINED
        518 NADEL DR
        SUISUN, CA 94585              ACCOUNT NO.: NOT AVAILABLE


3.11359 REYNOSO, JUAN                           VARIOUS                              Litigation              UNDETERMINED
        2515 BAYSIDE PLACE
        ARROYO GRANDE, CA 93420       ACCOUNT NO.: NOT AVAILABLE


3.11360 REYNOSO, SABRINA                        VARIOUS                              Litigation              UNDETERMINED
        3585 N PARKWAY DRIVE, APT
        #134                          ACCOUNT NO.: NOT AVAILABLE
        FRESNO, CA 93722


3.11361 RGW CONSTRUCTION, INC.-                 VARIOUS                              Litigation              UNDETERMINED
        PURDY, ROBERT
        550 GREENVILLE ROAD           ACCOUNT NO.: NOT AVAILABLE
        LIVERMORE, CA 94550


3.11362 RHOADES, CAROLYN                        VARIOUS                              Litigation              UNDETERMINED
        2968 CHERRY LN
        WALNUT CREEK, CA 94597        ACCOUNT NO.: NOT AVAILABLE


3.11363 RHOADES, PATRIA                         VARIOUS                              Litigation              UNDETERMINED
        PO BOX 1794
        SUTTER CREEK, CA 95685        ACCOUNT NO.: NOT AVAILABLE


3.11364 RHODES, LINK                            VARIOUS                              Litigation              UNDETERMINED
        2210 CAMBRIA DRIVE
        STOCKTON, CA 95205            ACCOUNT NO.: NOT AVAILABLE


3.11365 RHODES, MIKE                            VARIOUS                              Litigation              UNDETERMINED
        3920 W STATE HIGHWAY 20
        UPPER LAKE, CA 95485          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                            Account Number                            Claim

Litigation & Disputes

3.11366 RHODES, SHEILA                           VARIOUS                              Litigation              UNDETERMINED
        LAW OFFICES OF BRIAN L.
        LARSEN                         ACCOUNT NO.: NOT AVAILABLE
        530 JACKSON STREET, 2ND
        FLOOR
        SAN FRANCISCO, CA 94133


3.11367 RHODES/ATTY REP, SHEILA                  VARIOUS                              Litigation              UNDETERMINED
        530 JACKSON STREET, 2ND
        FLOOR                          ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94133


3.11368 RIBAL, TIM & SUSAN                       VARIOUS                              Litigation              UNDETERMINED
        16009 E. BAKER RD
        LINDEN, CA 95236               ACCOUNT NO.: NOT AVAILABLE


3.11369 RIBORDY, JEFF                            VARIOUS                              Litigation              UNDETERMINED
        1917 S ST.
        EUREKA, CA 95501               ACCOUNT NO.: NOT AVAILABLE


3.11370 RICA COMMERCIALINC.-ZHAO,                VARIOUS                              Litigation              UNDETERMINED
        MARINA
        27105 INDUSTRIAL BLVD          ACCOUNT NO.: NOT AVAILABLE
        HAYWARD, CA 94545


3.11371 RICCHIUTI, PAT DBA P-R FARMS             VARIOUS                              Litigation              UNDETERMINED
        2917 E. SHEPPARD
        21728 AVE. 16, MADERA, CA.,    ACCOUNT NO.: NOT AVAILABLE
        RANCH 4
        CLOVIS, CA 93611


3.11372 RICCI, ANGELA                            VARIOUS                              Litigation              UNDETERMINED
        1040 S MCDOWELL BLVD
        PETALUMA, CA 94954             ACCOUNT NO.: NOT AVAILABLE


3.11373 RICCIARDI, JOSEPH                        VARIOUS                              Litigation              UNDETERMINED
        139 SEAL COURT
        MARINA, CA 93933               ACCOUNT NO.: NOT AVAILABLE


3.11374 RICCOBUONO, KARI                         VARIOUS                              Litigation              UNDETERMINED
        2960 PATIO CT
        PLACERVILLE, CA 95667          ACCOUNT NO.: NOT AVAILABLE


3.11375 RICE, CARLINE                            VARIOUS                              Litigation              UNDETERMINED
        PO BOX 4575
        22053 ELIZABETH LANE           ACCOUNT NO.: NOT AVAILABLE
        SONORA, CA 95370




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Litigation & Disputes

3.11376 RICE, JOHN                            VARIOUS                              Litigation              UNDETERMINED
        1877 PRIMROSE DRIVE
        WILLITS, CA 95490           ACCOUNT NO.: NOT AVAILABLE


3.11377 RICE, JORDAN                          VARIOUS                              Litigation              UNDETERMINED
        801 SOUTHHAMPTON RD APT 6
        BENICIA, CA 94510           ACCOUNT NO.: NOT AVAILABLE


3.11378 RICE, KRISTEN                         VARIOUS                              Litigation              UNDETERMINED
        2264 N. MAIN ST
        143                         ACCOUNT NO.: NOT AVAILABLE
        SALINAS, CA 93906


3.11379 RICE, MICHAEL                         VARIOUS                              Litigation              UNDETERMINED
        8439 BADER RD
        ELK GROVE, CA 95624         ACCOUNT NO.: NOT AVAILABLE


3.11380 RICH FOMIN MECHANICAL-                VARIOUS                              Litigation              UNDETERMINED
        WENDT, YVETTE
        3 HILLSIDE CT.              ACCOUNT NO.: NOT AVAILABLE
        CLOVERDALE, CA 95425


3.11381 RICH, BRUCE                           VARIOUS                              Litigation              UNDETERMINED
        26412 CHATHAM CT
        HAYWARD, CA 94542           ACCOUNT NO.: NOT AVAILABLE


3.11382 RICH, FREDERICK                       VARIOUS                              Litigation              UNDETERMINED
        143 SANDPIPER DRIVE
        VALLEJO, CA 94589           ACCOUNT NO.: NOT AVAILABLE


3.11383 RICH, JOHN                            VARIOUS                              Litigation              UNDETERMINED
        2650 CORTE DE FLORES
        SAN MATEO, CA 94403         ACCOUNT NO.: NOT AVAILABLE


3.11384 RICH, SUZAN                           VARIOUS                              Litigation              UNDETERMINED
        6011 ALLEN AVE
        SAN JOSE, CA 95123          ACCOUNT NO.: NOT AVAILABLE


3.11385 RICH, WILLIAM                         VARIOUS                              Litigation              UNDETERMINED
        PO BOX 184
        BAYSIDE, CA 95524           ACCOUNT NO.: NOT AVAILABLE


3.11386 RICHARD PURVIS-PURVIS,                VARIOUS                              Litigation              UNDETERMINED
        RICHARD
        5375 WESLEY ROAD            ACCOUNT NO.: NOT AVAILABLE
        ROCKLIN, CA 95765




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Litigation & Disputes

3.11387 RICHARD R DANTLZER DBA                  VARIOUS                              Litigation              UNDETERMINED
        AUTO DIESEL TECH-DANTZLER,
        RICHARD                       ACCOUNT NO.: NOT AVAILABLE
        1301 E BEAMER ST STE C
        WOODLAND, CA 95776


3.11388 RICHARD WHIPPLE-WHIPPLE,                VARIOUS                              Litigation              UNDETERMINED
        RICHARD
        6912 WEEKS RD                 ACCOUNT NO.: NOT AVAILABLE
        REDDING, CA 96002


3.11389 RICHARDS, BEN                           VARIOUS                              Litigation              UNDETERMINED
        939 ORCHARD WAY, SUITE # 10
        WEST SACRAMENTO, CA 95691     ACCOUNT NO.: NOT AVAILABLE


3.11390 RICHARDS, FREDERICK                     VARIOUS                              Litigation              UNDETERMINED
        737 SAN JACINTO DRIVE
        SALINAS, CA 93901             ACCOUNT NO.: NOT AVAILABLE


3.11391 RICHARDS, KEVIN                         VARIOUS                              Litigation              UNDETERMINED
        PO BOX 4231
        PASO ROBLES, CA 93447         ACCOUNT NO.: NOT AVAILABLE


3.11392 RICHARDS, STACEY                        VARIOUS                              Litigation              UNDETERMINED
        2318 RUTLEDGE WAY
        STOCKTON, CA 95207            ACCOUNT NO.: NOT AVAILABLE


3.11393 RICHARDS, STEVEN                        VARIOUS                              Litigation              UNDETERMINED
        3877 BLOSSOMVIEW DRIVE
        SAN JOSE, CA 95118            ACCOUNT NO.: NOT AVAILABLE


3.11394 RICHARDSON, DOROTHY                     VARIOUS                              Litigation              UNDETERMINED
        3015 WISWALL DR
        RICHMOND, CA 94513            ACCOUNT NO.: NOT AVAILABLE


3.11395 RICHARDSON, ELIZABETH                   VARIOUS                              Litigation              UNDETERMINED
        255 KELTON AVE
        SAN CARLOS, CA 94070          ACCOUNT NO.: NOT AVAILABLE


3.11396 RICHARDSON, LINDA                       VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 877
        WEST POINT, CA 95255          ACCOUNT NO.: NOT AVAILABLE


3.11397 RICHARDSON, MARYU                       VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 111
        WOODACRE, CA 94973            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                            Claim

Litigation & Disputes

3.11398 RICHARDSON, TRAVIS                     VARIOUS                              Litigation              UNDETERMINED
        414 TAYLOR ST
        TAFT, CA 93268               ACCOUNT NO.: NOT AVAILABLE


3.11399 RICHERT, JAMES                         VARIOUS                              Litigation              UNDETERMINED
        9840 NO NAME UNO
        GILROY, CA 95020             ACCOUNT NO.: NOT AVAILABLE


3.11400 RICHMOND FOOD CENTER-                  VARIOUS                              Litigation              UNDETERMINED
        NASSAR, OMAR
        2222 CUTTING BLVD            ACCOUNT NO.: NOT AVAILABLE
        RICHMOND, CA 94804


3.11401 RICHMOND, BESSIE                       VARIOUS                              Litigation              UNDETERMINED
        5743 OAK KNOLL RD
        EL SOBRANTE, CA 94803        ACCOUNT NO.: NOT AVAILABLE


3.11402 RICHMOND, BESSIE & KARL                VARIOUS                              Litigation              UNDETERMINED
        5743 OAK KNOLL ROAD
        NONE                         ACCOUNT NO.: NOT AVAILABLE
        EL SOBRANTE, CA 94803


3.11403 RICHMOND, BETTIE                       VARIOUS                              Litigation              UNDETERMINED
        14620 MOLLUC DRIVE
        RED BLUFF, CA 96080          ACCOUNT NO.: NOT AVAILABLE


3.11404 RICHMOND, JAMES                        VARIOUS                              Litigation              UNDETERMINED
        15385 CLINTON ROAD
        JACKSON, CA                  ACCOUNT NO.: NOT AVAILABLE


3.11405 RICHMOND, KEITH & PAMELA               VARIOUS                              Litigation              UNDETERMINED
        800 WOODBUM COURT
        VACAVILLE, CA 95688          ACCOUNT NO.: NOT AVAILABLE


3.11406 RICK HOLBROOK, AS                      VARIOUS                              Litigation              UNDETERMINED
        SUCCESSOR-IN-INTEREST TO
        RICHARD WALLS, DECEASED;     ACCOUNT NO.: NOT AVAILABLE
        AND TAMI INGWERSON, DIANE
        LOUTHAN, AS WRONGFUL
        DEATH HEIRS OF RICHARD
        WALLS, DECEASED
        BRAYTON PURCELL, LLP
        222 RUSH LANDING ROAD, P.O
        BOX 6169
        NOVATO, CA 94949-6169


3.11407 RICK SLATER CONSTRUCTION               VARIOUS                              Litigation              UNDETERMINED
        INC.-MCGOWAN, CINDY
        1521 BERGER DR.              ACCOUNT NO.: NOT AVAILABLE
        SAN JOSE, CA 95112

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Litigation & Disputes

3.11408 RICKARD, HENRIETTE                    VARIOUS                              Litigation              UNDETERMINED
        24255 BLACK OAK COURT
        MI WUK VILLAGE, CA 95346    ACCOUNT NO.: NOT AVAILABLE


3.11409 RICKARD, HENRIETTE                    VARIOUS                              Litigation              UNDETERMINED
        24255 BLACK OAK COURT
        MI WUK VILLAGE, CA 95346    ACCOUNT NO.: NOT AVAILABLE


3.11410 RICKERT, MARCIA                    VARIOUS                                 Litigation              UNDETERMINED
        PO BOX 122
        MONTGOMERY CREEK, CA 96965 ACCOUNT NO.: NOT AVAILABLE


3.11411 RICK'S APPLIANCE SERVICE              VARIOUS                              Litigation              UNDETERMINED
        INC-MARTINS, DEBBIE
        633 S COLLEGE DR            ACCOUNT NO.: NOT AVAILABLE
        SANTA MARIA, CA 93454


3.11412 RICKWALT, MISTY                       VARIOUS                              Litigation              UNDETERMINED
        PO BOX 152
        ORLEANS, CA 95556           ACCOUNT NO.: NOT AVAILABLE


3.11413 RICMAN MANUFACTURING INC-             VARIOUS                              Litigation              UNDETERMINED
        MANN, RICHARD
        2273 AMERICAN AVE, UNIT 1   ACCOUNT NO.: NOT AVAILABLE
        HAYWARD, CA 94545


3.11414 RICO ROCHA, BERENICE                  VARIOUS                              Litigation              UNDETERMINED
        292 STRAWBERRY CYN RD
        ROYAL OAKS, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.11415 RICO, ASHLEY                          VARIOUS                              Litigation              UNDETERMINED
        1715 H STREET
        #6                          ACCOUNT NO.: NOT AVAILABLE
        SACRAMENTO, CA 95811


3.11416 RICO, HECTOR                          VARIOUS                              Litigation              UNDETERMINED
        8305 PRUNEDALE NORTH ROAD
        PRUNEDALE, CA 93907         ACCOUNT NO.: NOT AVAILABLE


3.11417 RIDDELL, SUZAN                        VARIOUS                              Litigation              UNDETERMINED
        1749 CIRCLE DRIVE
        ISLETON, CA 95641           ACCOUNT NO.: NOT AVAILABLE


3.11418 RIDDLE, DAVID                         VARIOUS                              Litigation              UNDETERMINED
        PO BOX 1984
        LOOMIS, CA 95650            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                            Claim

Litigation & Disputes

3.11419 RIDENOUR, CHARLES                      VARIOUS                              Litigation              UNDETERMINED
        10257 RED CLOUD MINE ROAD
        COULTERVILLE, CA 95311       ACCOUNT NO.: NOT AVAILABLE


3.11420 RIDER, CHRIS                           VARIOUS                              Litigation              UNDETERMINED
        5678 MIDDLE LIBBY ROAD
        PARADISE, CA 95969           ACCOUNT NO.: NOT AVAILABLE


3.11421 RIDER, KATHRYN                         VARIOUS                              Litigation              UNDETERMINED
        23415 GLENWOOD DR
        LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.11422 RIDGE VINEYARDS, PINE                  VARIOUS                              Litigation              UNDETERMINED
        5901 SILVERADO TRAIL
        ATTN VINCE LLAMAS            ACCOUNT NO.: NOT AVAILABLE
        NAPA, CA 94558


3.11423 RIDRIQUEZ, JOSEPHONE                   VARIOUS                              Litigation              UNDETERMINED
        35 BLANCO PL
        UKIAH, CA 95482              ACCOUNT NO.: NOT AVAILABLE


3.11424 RIEGLE, LINDA                          VARIOUS                              Litigation              UNDETERMINED
        4743 MARCONI AVENUE
        CARMICHAEL, CA 95608         ACCOUNT NO.: NOT AVAILABLE


3.11425 RIEHL, MARILYN                         VARIOUS                              Litigation              UNDETERMINED
        3262 SAN LUIS AVENUE
        CARMEL, CA 93923             ACCOUNT NO.: NOT AVAILABLE


3.11426 RIELLY, MICHAEL                        VARIOUS                              Litigation              UNDETERMINED
        PO BOX 711
        18650 LAMBERT LANE           ACCOUNT NO.: NOT AVAILABLE
        BOONVILLE, CA 95415


3.11427 RIFFE, SHARI                           VARIOUS                              Litigation              UNDETERMINED
        391 CAMINO LAS JUNTAS
        PLEASANT HILL, CA 94523      ACCOUNT NO.: NOT AVAILABLE


3.11428 RIGATO, LOUIE                          VARIOUS                              Litigation              UNDETERMINED
        5433 N. BEECHER ROAD
        STOCKTON, CA 95215           ACCOUNT NO.: NOT AVAILABLE


3.11429 RIGG, RICHARD & DEANN                  VARIOUS                              Litigation              UNDETERMINED
        3064 W DOVEWOOD LN
        FRESNO, CA 93711             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.11430 RIGGS, LOUISE                          VARIOUS                              Litigation              UNDETERMINED
        PO BOX 380
        12820 MOONLIGHT CT           ACCOUNT NO.: NOT AVAILABLE
        GROVELAND, CA 95321


3.11431 RIGGS, MARK                            VARIOUS                              Litigation              UNDETERMINED
        1853 N HUNTER STREET
        STOCKTON, CA 95204           ACCOUNT NO.: NOT AVAILABLE


3.11432 RIGHELLIS, ZACHARY                     VARIOUS                              Litigation              UNDETERMINED
        40 DANFORD COURT
        REDWOOD CITY, CA 94062       ACCOUNT NO.: NOT AVAILABLE


3.11433 RIGHELLIS, ZACHARY                     VARIOUS                              Litigation              UNDETERMINED
        40 DANFORD CT
        REDWOOD CITY, CA 94062       ACCOUNT NO.: NOT AVAILABLE


3.11434 RIGNEY, TIMOTHY                        VARIOUS                              Litigation              UNDETERMINED
        1885 EAST BAYSHORE ROAD,
        SPC#16                       ACCOUNT NO.: NOT AVAILABLE
        PALO ALTO, CA 94303


3.11435 RIKARD, BETTY                          VARIOUS                              Litigation              UNDETERMINED
        52 ARBOL AVE.
        OROVILLE, CA 95966           ACCOUNT NO.: NOT AVAILABLE


3.11436 RILEY, MARILYN AND JAMES               VARIOUS                              Litigation              UNDETERMINED
        2770 OLSEN RD
        RIO VISTA, CA 94571          ACCOUNT NO.: NOT AVAILABLE


3.11437 RILEY, SHARON                          VARIOUS                              Litigation              UNDETERMINED
        475 HIDDEN VALLEY
        ROYAL OAKS, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.11438 RIMA VOGENSEN TECHNICAL                VARIOUS                              Litigation              UNDETERMINED
        SEARCH-VOGENSEN, RIMA
        14 COMMERCIAL BLVD.          ACCOUNT NO.: NOT AVAILABLE
        STE. 129
        NOVATO, CA 94949


3.11439 RINCON BOHEMIO, RAFAEL &               VARIOUS                              Litigation              UNDETERMINED
        CARMEN JURADO
        534 I STREET                 ACCOUNT NO.: NOT AVAILABLE
        LOS BANOS, CA 93635


3.11440 RINCON, ANGELINA                       VARIOUS                              Litigation              UNDETERMINED
        7 SOBRANTE COURT
        EL SOBRANTE, CA 94803        ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.11441 RINEHART, HAROLD                      VARIOUS                              Litigation              UNDETERMINED
        10355 SHENANDOAH RD
        PLYMOUTH, CA 95669          ACCOUNT NO.: NOT AVAILABLE


3.11442 RING, SAMANTHA                        VARIOUS                              Litigation              UNDETERMINED
        500 SPYGLASS PKWY
        VALLEJO, CA 94591           ACCOUNT NO.: NOT AVAILABLE


3.11443 RINGEN, TOD                           VARIOUS                              Litigation              UNDETERMINED
        21640 SLOPE LANE
        TWAIN HARTE, CA 95383       ACCOUNT NO.: NOT AVAILABLE


3.11444 RINNERT, YAQIN                        VARIOUS                              Litigation              UNDETERMINED
        1589 JULIE LANE
        LOS ALTOS, CA 94024         ACCOUNT NO.: NOT AVAILABLE


3.11445 RIOJAS, GILBERT                       VARIOUS                              Litigation              UNDETERMINED
        15383 NEILS RD
        AUBURN, CA 95603            ACCOUNT NO.: NOT AVAILABLE


3.11446 RIOPELLE, ROBERT & BONNIE             VARIOUS                              Litigation              UNDETERMINED
        165 SYCAMORE AVE
        MILL VALLEY, CA 94941       ACCOUNT NO.: NOT AVAILABLE


3.11447 RIOS, MARINA                          VARIOUS                              Litigation              UNDETERMINED
        207 CAMARITAS AVE
        SOUTH SAN FRANCISCO, CA     ACCOUNT NO.: NOT AVAILABLE
        94080


3.11448 RIOS, PEDRO                           VARIOUS                              Litigation              UNDETERMINED
        1325 11TH STREET
        WASCO, CA 93280             ACCOUNT NO.: NOT AVAILABLE


3.11449 RIOS, RENE                            VARIOUS                              Litigation              UNDETERMINED
        2271 PEREZ STREET 226
        SALINAS, CA 93906           ACCOUNT NO.: NOT AVAILABLE


3.11450 RIOS, SAUNDRA                         VARIOUS                              Litigation              UNDETERMINED
        6450 N VAGEDES
        FRESNO, CA 93711            ACCOUNT NO.: NOT AVAILABLE


3.11451 RIOS, TERRI                           VARIOUS                              Litigation              UNDETERMINED
        PO BOX 881
        126 PINE CREEK ROAD         ACCOUNT NO.: NOT AVAILABLE
        HOOPA, CA 95546




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Litigation & Disputes

3.11452 RIPON ROADHOUSE LLC-                    VARIOUS                              Litigation              UNDETERMINED
        SHAHEN, SHELLEY
        125 E MAIN STREET             ACCOUNT NO.: NOT AVAILABLE
        RIPON, CA 95366


3.11453 RIPPETOE, MARY                          VARIOUS                              Litigation              UNDETERMINED
        PO BOX 2484
        1218 PEBBLE BEACH WAY         ACCOUNT NO.: NOT AVAILABLE
        ARNOLD, CA 95223


3.11454 RIPSTEEN, RYAN                          VARIOUS                              Litigation              UNDETERMINED
        1521 5TH STREET
        BERKELEY, CA 94710            ACCOUNT NO.: NOT AVAILABLE


3.11455 RISK MGMT/ATTY REP, AT&T                VARIOUS                              Litigation              UNDETERMINED
        PO BOX 5070
        CAROL STREAM, CA 60197-5070   ACCOUNT NO.: NOT AVAILABLE


3.11456 RISK MGMT/ATTY REP, AT&T                VARIOUS                              Litigation              UNDETERMINED
        PO BOX 5070
        CAROL STREAM, CA 60197-5070   ACCOUNT NO.: NOT AVAILABLE


3.11457 RISK MGMT/ATTY REP, AT&T                VARIOUS                              Litigation              UNDETERMINED
        PO BOX 5070
        CAROL STREAM, CA 60197-5070   ACCOUNT NO.: NOT AVAILABLE


3.11458 RISLING, LESLIE                         VARIOUS                              Litigation              UNDETERMINED
        1 LOIS LANE BOX 249
        HOOPA, CA 95546               ACCOUNT NO.: NOT AVAILABLE


3.11459 RISOEN, MARCELLA & ALAN                 VARIOUS                              Litigation              UNDETERMINED
        8 PENNSYLVANIA AVE
        LOS GATOS, CA 95030           ACCOUNT NO.: NOT AVAILABLE


3.11460 RISTER, BRUCE                           VARIOUS                              Litigation              UNDETERMINED
        1235 YVONNE AVE.
        MANTECA, CA 95336             ACCOUNT NO.: NOT AVAILABLE


3.11461 RITCHIE, JENNIFER                       VARIOUS                              Litigation              UNDETERMINED
        113 ZARAGOZA LANE
        VACAVILLE, CA 95688           ACCOUNT NO.: NOT AVAILABLE


3.11462 RITCHIE, M. DARIN                       VARIOUS                              Litigation              UNDETERMINED
        30198 PETERSON RD.
        4904 ISLANDS DR.,             ACCOUNT NO.: NOT AVAILABLE
        BAKERSFIELD, CA., 93312
        MCFARLAND, CA 93250



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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.11463 RITENOUR, FRANK                         VARIOUS                              Litigation              UNDETERMINED
        1335 VIA DEL CARMEL
        SANTA MARIA, CA 93455         ACCOUNT NO.: NOT AVAILABLE


3.11464 RITTER, ADRIENNE                        VARIOUS                              Litigation              UNDETERMINED
        4927 COCHRANE AVE
        OAKLAND, CA 94618             ACCOUNT NO.: NOT AVAILABLE


3.11465 RITTER, LARRY                           VARIOUS                              Litigation              UNDETERMINED
        1974 LYONS CREEK CT
        COOL, CA 95614                ACCOUNT NO.: NOT AVAILABLE


3.11466 RIVAS DE PEREZ, BARTOLA                 VARIOUS                              Litigation              UNDETERMINED
        251 SOUTHSIDE DR
        SAN JOSE, CA 95111            ACCOUNT NO.: NOT AVAILABLE


3.11467 RIVAS, ADAN                             VARIOUS                              Litigation              UNDETERMINED
        11420 COOPER STREET
        CASTROVILLE, CA 95012         ACCOUNT NO.: NOT AVAILABLE


3.11468 RIVAS, DANIEL                           VARIOUS                              Litigation              UNDETERMINED
        1010 BUSH STREET #106
        SAN FRANCISCO, CA 94109       ACCOUNT NO.: NOT AVAILABLE


3.11469 RIVAS, JOESPH                           VARIOUS                              Litigation              UNDETERMINED
        524 DUDLEY AVE APT 16
        SAN JOSE, CA 95128            ACCOUNT NO.: NOT AVAILABLE


3.11470 RIVAS, JOHN                             VARIOUS                              Litigation              UNDETERMINED
        5109 DEPOT
        SANTA MARIA, CA 93454         ACCOUNT NO.: NOT AVAILABLE


3.11471 RIVAS, YESICA                           VARIOUS                              Litigation              UNDETERMINED
        5409 HOLLAND ST
        OAKLAND, CA 94601             ACCOUNT NO.: NOT AVAILABLE


3.11472 RIVER BEND RESORT-                      VARIOUS                              Litigation              UNDETERMINED
        BERTRAM, MICHELLE
        11820 RIVER ROAD              ACCOUNT NO.: NOT AVAILABLE
        FORESTVILLE, CA 95436


3.11473 RIVER OAK ORCHARDS,                     VARIOUS                              Litigation              UNDETERMINED
        GENERAL PARTNERSHIP-VAN
        GRONINGEN, CHRISTOPHER        ACCOUNT NO.: NOT AVAILABLE
        9839 HUTCHINSON ROAD
        RIPON, CA 95337




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Litigation & Disputes

3.11474 RIVER VALLEY PROPERTY                  VARIOUS                              Litigation              UNDETERMINED
        MANAGEMENT-WELLS, LEISA
        10515 WENTWORTH SPRINGS      ACCOUNT NO.: NOT AVAILABLE
        ROAD
        GEORGETOWN, CA 95634


3.11475 RIVERA GRACIDA, ZOILA                  VARIOUS                              Litigation              UNDETERMINED
        235 DR MARTIN LUTHER KING
        JR. BLVD., APT A             ACCOUNT NO.: NOT AVAILABLE
        BAKERSFIELD, CA 93307


3.11476 RIVERA, ANNA & ARMANDO                 VARIOUS                              Litigation              UNDETERMINED
        16401 SAN PABLO AVE
        SAN PABLO, CA 94806          ACCOUNT NO.: NOT AVAILABLE


3.11477 RIVERA, ANTONIO                        VARIOUS                              Litigation              UNDETERMINED
        615 E MCKINLEY AVENUE
        SUNNYVALE, CA 94086          ACCOUNT NO.: NOT AVAILABLE


3.11478 RIVERA, DIANE                          VARIOUS                              Litigation              UNDETERMINED
        4549 HEPPNER LN
        SAN JOSE, CA 95136           ACCOUNT NO.: NOT AVAILABLE


3.11479 RIVERA, EUNICE                         VARIOUS                              Litigation              UNDETERMINED
        5474 ANSELMO COURT
        CONCORD, CA 94521            ACCOUNT NO.: NOT AVAILABLE


3.11480 RIVERA, KELSEY                         VARIOUS                              Litigation              UNDETERMINED
        9478 WASHINGTON ST
        UPPER LAKE, CA 95485         ACCOUNT NO.: NOT AVAILABLE


3.11481 RIVERA, STEVE                          VARIOUS                              Litigation              UNDETERMINED
        3225 SODA CANYON RD
        NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.11482 RIVERA, STEVE                          VARIOUS                              Litigation              UNDETERMINED
        3225 SODA CANYON RD
        NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.11483 RIVERS, TAMMY                          VARIOUS                              Litigation              UNDETERMINED
        5510 STARBOARD CT
        BYRON, CA 94505              ACCOUNT NO.: NOT AVAILABLE


3.11484 RIVIER, GLENN                          VARIOUS                              Litigation              UNDETERMINED
        24316 N BUCK RD.
        ACAMPO, CA 95220             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.11485 RIVIERA RISTORANTE-PESCE,             VARIOUS                              Litigation              UNDETERMINED
        GIAMPAOLO
        75 MONTGOMERY DRIVE         ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95404


3.11486 RIVIERA RISTORANTE-PESCE,             VARIOUS                              Litigation              UNDETERMINED
        GIAMPAOLO
        75 MONTGOMERY DRIVE         ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95404


3.11487 RIZK, ALICIA                          VARIOUS                              Litigation              UNDETERMINED
        5715 BRIAN CLIFF TERRACE
        ROYAL OAKS, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.11488 RIZO, MONICA                          VARIOUS                              Litigation              UNDETERMINED
        320 FAREHAM CT.
        DISCOVERY BAY, CA 94505     ACCOUNT NO.: NOT AVAILABLE


3.11489 RMK DMD-KLEIN, RAYMOND                VARIOUS                              Litigation              UNDETERMINED
        400 MORGAN STREET
        SUISUN CITY, CA 94585       ACCOUNT NO.: NOT AVAILABLE


3.11490 ROA, DANIEL                           VARIOUS                              Litigation              UNDETERMINED
        500 IOOF AVE
        APT 110                     ACCOUNT NO.: NOT AVAILABLE
        GILROY, CA 95020


3.11491 ROADSHOW SERVICES-LAING,              VARIOUS                              Litigation              UNDETERMINED
        MINA
        5501 THIRD STREET           ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94124


3.11492 ROBANTE, LISA                         VARIOUS                              Litigation              UNDETERMINED
        1580 MCDERMOTT DR
        TRACY, CA 95376             ACCOUNT NO.: NOT AVAILABLE


3.11493 ROBARDS, MARK                         VARIOUS                              Litigation              UNDETERMINED
        167 NEWELL AVE
        LOS GATOS, CA 95032         ACCOUNT NO.: NOT AVAILABLE


3.11494 ROBBINS, BASKIN                       VARIOUS                              Litigation              UNDETERMINED
        7 SPIKERUSH CIR
        ATTN. DEEPTY BHARDWAJ       ACCOUNT NO.: NOT AVAILABLE
        AMERICAN CYN, CA 94503


3.11495 ROBBINS, DIANE                        VARIOUS                              Litigation              UNDETERMINED
        130 MATTISON LANE
        APTOS, CA 95003             ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.11496 ROBBINS, SCOTT                          VARIOUS                              Litigation              UNDETERMINED
        5875 CUNEO ROAD
        COULTERVILLE, CA 95311        ACCOUNT NO.: NOT AVAILABLE


3.11497 ROBERT HOLMGREN AIRBNB-                 VARIOUS                              Litigation              UNDETERMINED
        HOLMGREN, ROBERT
        319 CENTRAL AVENUE            ACCOUNT NO.: NOT AVAILABLE
        MENLO PARK, CA 94025


3.11498 ROBERT JACOBITZ                         VARIOUS                              Litigation              UNDETERMINED
        CHRISTOPHER AUMAIS,
        ASHKAHN MOHAMADI, KELLY       ACCOUNT NO.: NOT AVAILABLE
        WINTER
        1130 WILSHIRE BLVD.
        LOS ANGELES, CA 90017


3.11499 ROBERT JACOBITZ                         VARIOUS                              Litigation              UNDETERMINED
        MARY ALEXANDER, BRENDAN
        WAY, CATALINA MUNOZ           ACCOUNT NO.: NOT AVAILABLE
        44 MONTGOMERY STREET
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.11500 ROBERT LAPINE, ROBERT                   VARIOUS                              Litigation              UNDETERMINED
        LAPINE, INDIVIDUALLY AND AS
        BOBBY THOMPSON                ACCOUNT NO.: NOT AVAILABLE
        710 AIRPORT BLVD
        SUITE 170
        BURLINGAME, CA 94010


3.11501 ROBERT LAPINE, ROBERT                   VARIOUS                              Litigation              UNDETERMINED
        LAPINE, INDIVIDUALLY AND AS
        CLAY ROBBINS                  ACCOUNT NO.: NOT AVAILABLE
        12100 WILSHIRE BLVD.
        SUITE 950
        LOS ANGELES, CA 90025


3.11502 ROBERT LAPINE, ROBERT                   VARIOUS                              Litigation              UNDETERMINED
        LAPINE, INDIVIDUALLY AND AS
        MARY ALEXANDER, BRENDAN       ACCOUNT NO.: NOT AVAILABLE
        WAY, CATALINA MUNOZ
        44 MONTGOMERY STREET
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.11503 ROBERT P. HO DDS-HO, ROBERT         VARIOUS                                  Litigation              UNDETERMINED
        307 12TH AVENUE
        SAN FRANCISCO, CA 94118     ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.11504 ROBERTS ELECTRIC COMPANY,              VARIOUS                              Litigation              UNDETERMINED
        INC-PITCOCK, DANIEL
        2408 WEBSTER ST,             ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94612


3.11505 ROBERT'S SOLAR-NOGALES,                VARIOUS                              Litigation              UNDETERMINED
        LETTY
        400 MANNING WAY              ACCOUNT NO.: NOT AVAILABLE
        DIXON, CA 95620


3.11506 ROBERTS, AYAN                          VARIOUS                              Litigation              UNDETERMINED
        832 S SIERRA NEVADA STREET
        STOCKTON, CA 95205           ACCOUNT NO.: NOT AVAILABLE


3.11507 ROBERTS, BART                          VARIOUS                              Litigation              UNDETERMINED
        2844 ELK LANE
        SANTA ROSA, CA 95407         ACCOUNT NO.: NOT AVAILABLE


3.11508 ROBERTS, BRANDI                        VARIOUS                              Litigation              UNDETERMINED
        3794 ANGELO AVE
        3117 38TH AVE                ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94619


3.11509 ROBERTS, COBY & MARCIE                 VARIOUS                              Litigation              UNDETERMINED
        47710 LEWIS CREEKROAD
        OAKHURST, CA 93844           ACCOUNT NO.: NOT AVAILABLE


3.11510 ROBERTS, JULIANA                       VARIOUS                              Litigation              UNDETERMINED
        777 BEND AVE
        SAN JOSE, CA 95136           ACCOUNT NO.: NOT AVAILABLE


3.11511 ROBERTS, MARIAN                        VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 84
        5441 NORTH VALLEY RD.        ACCOUNT NO.: NOT AVAILABLE
        GREENVILLE, CA 95947


3.11512 ROBERTS, MARK                          VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 2382
        PARADISE, CA 95967           ACCOUNT NO.: NOT AVAILABLE


3.11513 ROBERTS, MELISSA                       VARIOUS                              Litigation              UNDETERMINED
        13810 OAK VIEW DRIVE
        PRATHER, CA 93651            ACCOUNT NO.: NOT AVAILABLE


3.11514 ROBERTS, OMAR                          VARIOUS                              Litigation              UNDETERMINED
        3737 SUTER ST
        OAKLAND, CA 94619            ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                          Account Number                            Claim

Litigation & Disputes

3.11515 ROBERTS, STACEY                        VARIOUS                              Litigation              UNDETERMINED
        PO BOX 740
        7010 MILL CREEK RD.,         ACCOUNT NO.: NOT AVAILABLE
        HEALDSBURG, CA., 95448
        HEALDSBURG, CA 95448-0741


3.11516 ROBERTSON, ADAM                        VARIOUS                              Litigation              UNDETERMINED
        PO BOX 1156
        47 COMMUNITY ROAD            ACCOUNT NO.: NOT AVAILABLE
        HOOPA, CA 95546


3.11517 ROBERTSON, BRANDI                      VARIOUS                              Litigation              UNDETERMINED
        P.O BOX 601
        UPPER LAKE, CA 95485         ACCOUNT NO.: NOT AVAILABLE


3.11518 ROBERTSON, ERIK                        VARIOUS                              Litigation              UNDETERMINED
        5220 CAMP SNOWLINE ROAD
        CAMINO, CA 95709             ACCOUNT NO.: NOT AVAILABLE


3.11519 ROBERTSON, JAMES                       VARIOUS                              Litigation              UNDETERMINED
        27 WEST SHORE
        BELVEDERE, CA 94920          ACCOUNT NO.: NOT AVAILABLE


3.11520 ROBERTSON, JAYME                       VARIOUS                              Litigation              UNDETERMINED
        25 RUDDER CT
        DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.11521 ROBERTSON, JOHN                        VARIOUS                              Litigation              UNDETERMINED
        434 27TH STREET
        RICHMOND , CA 94804          ACCOUNT NO.: NOT AVAILABLE


3.11522 ROBERTSON, MECHELLE                    VARIOUS                              Litigation              UNDETERMINED
        7425 CRAWFORD DR
        GILROY, CA 95020             ACCOUNT NO.: NOT AVAILABLE


3.11523 ROBERTSVILLE BARBERS-                  VARIOUS                              Litigation              UNDETERMINED
        HUYNH, PHU
        1105 BRANHAM LANE            ACCOUNT NO.: NOT AVAILABLE
        SAN JOSE, CA 95111


3.11524 ROBINETTE, MADELEINE                   VARIOUS                              Litigation              UNDETERMINED
        837 ESTABROOK DR
        CLOVIS, CA 93612             ACCOUNT NO.: NOT AVAILABLE


3.11525 ROBINETTE, MEEGAN                      VARIOUS                              Litigation              UNDETERMINED
        1291 LINDEN DRIVE
        CONCORD, CA 94520            ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                              Account Number                            Claim

Litigation & Disputes

3.11526 ROBINSON, BRENDA V. PG&E                   VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 6506
        AUBURN, CA 95604                 ACCOUNT NO.: NOT AVAILABLE


3.11527 ROBINSON, DARNELL                          VARIOUS                              Litigation              UNDETERMINED
        770 20TH STREET
        OAKLAND, CA 94612                ACCOUNT NO.: NOT AVAILABLE


3.11528 ROBINSON, EDDIE                            VARIOUS                              Litigation              UNDETERMINED
        10591 BLEVINS WAY
        CASTROVILLE, CA 95012            ACCOUNT NO.: NOT AVAILABLE


3.11529 ROBINSON, EDDIE                            VARIOUS                              Litigation              UNDETERMINED
        1059 BLEVINS WAY
        CASTROVILLE, CA 95012            ACCOUNT NO.: NOT AVAILABLE


3.11530 ROBINSON, EUGENE                           VARIOUS                              Litigation              UNDETERMINED
        2336 PALO VERDE ALTO
        EAST PALO ALTO, CA 94303         ACCOUNT NO.: NOT AVAILABLE


3.11531 ROBINSON, FAWN                             VARIOUS                              Litigation              UNDETERMINED
        2471 CAMINO DIABLO
        BYRON, CA 94514                  ACCOUNT NO.: NOT AVAILABLE


3.11532 ROBINSON, GLORIA                           VARIOUS                              Litigation              UNDETERMINED
        GREGORY FAYARD
        1013 GALLERIA BLVD., SUITE 250   ACCOUNT NO.: NOT AVAILABLE
        ROSEVILLE, CA 95678


3.11533 ROBINSON, GLORIA                           VARIOUS                              Litigation              UNDETERMINED
        FREEMAN MATHIS & GARY, LLP
        1013 GALLERIA BOULEVARD,         ACCOUNT NO.: NOT AVAILABLE
        SUITE 250
        ROSEVILLE, CA 95678-1363


3.11534 ROBINSON, GLORIA                           VARIOUS                              Litigation              UNDETERMINED
        1807170
        488 7TH ST.                      ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94607


3.11535 ROBINSON, JORGE                            VARIOUS                              Litigation              UNDETERMINED
        38 GRANDVIEW AVENUE
        FELTON, CA 95018                 ACCOUNT NO.: NOT AVAILABLE


3.11536 ROBINSON, KAYONA                           VARIOUS                              Litigation              UNDETERMINED
        249 25TH ST
        RICHMOND, CA 94804               ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                          Account Number                            Claim

Litigation & Disputes

3.11537 ROBINSON, MICHAEL                      VARIOUS                              Litigation              UNDETERMINED
        12775 CORTE CORDILLERA
        SALINAS, CA 93908            ACCOUNT NO.: NOT AVAILABLE


3.11538 ROBINSON, RONALD                       VARIOUS                              Litigation              UNDETERMINED
        8375 HACIENDA LANE
        PASO ROBLES, CA 93446        ACCOUNT NO.: NOT AVAILABLE


3.11539 ROBINSON, RUSSELL                      VARIOUS                              Litigation              UNDETERMINED
        9755 ORIOLE LANE
        PALO CEDRO, CA 96073         ACCOUNT NO.: NOT AVAILABLE


3.11540 ROBINSON, SUSAN                        VARIOUS                              Litigation              UNDETERMINED
        PO BOX 3179
        ARNOD, CA 95223              ACCOUNT NO.: NOT AVAILABLE


3.11541 ROBINSON, ZACK                         VARIOUS                              Litigation              UNDETERMINED
        71 WALDALE CT
        WALNUT CREEK, CA 94597       ACCOUNT NO.: NOT AVAILABLE


3.11542 ROBINSON'S AUTOMOTIVE-                 VARIOUS                              Litigation              UNDETERMINED
        ROBINSON, MARTIN
        6120 ENTERPRISE DR. #C       ACCOUNT NO.: NOT AVAILABLE
        DIAMOND SPRINGS, CA 95619


3.11543 ROBLEDO, BERTHA                        VARIOUS                              Litigation              UNDETERMINED
        228 MAPLE STREET
        WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.11544 ROBLES, CARMEN                         VARIOUS                              Litigation              UNDETERMINED
        831 STERLING RD.
        BAKERSFIELD, CA 93306        ACCOUNT NO.: NOT AVAILABLE


3.11545 ROBLES, JESSICA                        VARIOUS                              Litigation              UNDETERMINED
        19600 SERRANO RD
        SONORA, CA 95370             ACCOUNT NO.: NOT AVAILABLE


3.11546 ROBLES, JOAQUIN                        VARIOUS                              Litigation              UNDETERMINED
        P.O. BOX 483
        2380 ALISAL ROAD             ACCOUNT NO.: NOT AVAILABLE
        SALINAS, CA 93908


3.11547 ROBLES, RAMON                          VARIOUS                              Litigation              UNDETERMINED
        1401 SYLVIA DRIVE
        BAKERSFIELD, CA 93304        ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.11548 ROBLES, RAMON                           VARIOUS                              Litigation              UNDETERMINED
        1401 SYLVIA DRIVE
        BAKERSFIELD, CA 93304         ACCOUNT NO.: NOT AVAILABLE


3.11549 ROBOTTI, BRIAN                          VARIOUS                              Litigation              UNDETERMINED
        25123 N CARMEL HILLS DR
        CARMEL, CA 93923              ACCOUNT NO.: NOT AVAILABLE


3.11550 ROCAMORA, ANNA                          VARIOUS                              Litigation              UNDETERMINED
        19670 ROGGE RD
        SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.11551 ROCAS, THOMAS                           VARIOUS                              Litigation              UNDETERMINED
        17 JASMINE COURT
        MILLBRAE, CA 94030            ACCOUNT NO.: NOT AVAILABLE


3.11552 ROCCI'S AUTO COLLISION INC              VARIOUS                              Litigation              UNDETERMINED
        17995 MONTEREY ROAD
        MORGAN HILL, CA 95037         ACCOUNT NO.: NOT AVAILABLE


3.11553 ROCCO, JOHN                             VARIOUS                              Litigation              UNDETERMINED
        40 N WILLARD ST
        SAN FRANCISCO, CA 94118       ACCOUNT NO.: NOT AVAILABLE


3.11554 ROCHA FARMS-ROCHA,                      VARIOUS                              Litigation              UNDETERMINED
        LEOPOLDO
        111 MOUNT MADONNA RD          ACCOUNT NO.: NOT AVAILABLE
        WATSONVILLE, CA 95076


3.11555 ROCHA, ANTONIO                          VARIOUS                              Litigation              UNDETERMINED
        501 MAHER ROAD
        WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.11556 ROCHA, FAVIOLA                          VARIOUS                              Litigation              UNDETERMINED
        6985 LAKEVIEW DR
        SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.11557 ROCHA, GONZALO                          VARIOUS                              Litigation              UNDETERMINED
        85 CASTRO ST #5
        SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.11558 ROCHA, JANET                            VARIOUS                              Litigation              UNDETERMINED
        1320 BIG OAK RD
        PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                            Claim

Litigation & Disputes

3.11559 ROCHA, KATHLEEN V. PG&E                VARIOUS                              Litigation              UNDETERMINED
        4080 GRANADA DRIVE
        PITTSBURG, CA 94565          ACCOUNT NO.: NOT AVAILABLE


3.11560 ROCHA, LUCIA                           VARIOUS                              Litigation              UNDETERMINED
        12050 HWY 116
        GUNERVILLE, CA 95446         ACCOUNT NO.: NOT AVAILABLE


3.11561 ROCHA, MARK                            VARIOUS                              Litigation              UNDETERMINED
        2225 S RIVERBEND
        SANGER, CA 93657             ACCOUNT NO.: NOT AVAILABLE


3.11562 ROCHA, RODOLFO                         VARIOUS                              Litigation              UNDETERMINED
        650 PRIDDY DRIVE
        DIXON, CA 95620              ACCOUNT NO.: NOT AVAILABLE


3.11563 ROCHA, ROSA                            VARIOUS                              Litigation              UNDETERMINED
        2533 COLONIAL CIRCLE
        ROYAL OAKS, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.11564 ROCKET DOG, LLC-HSIA, GARY             VARIOUS                              Litigation              UNDETERMINED
        88 E. SHAW AVE
        FRESNO, CA 93710             ACCOUNT NO.: NOT AVAILABLE


3.11565 ROCKIN CRAWFISH INC.-WONG,             VARIOUS                              Litigation              UNDETERMINED
        KIN
        211 FOOTHILL BLVD.           ACCOUNT NO.: NOT AVAILABLE
        B
        OAKLAND, CA 94606


3.11566 ROCKIN CRAWFISH-WONG, KIN              VARIOUS                              Litigation              UNDETERMINED
        211 FOOTHILL BLVD.
        SUITE B                      ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94606


3.11567 ROCKO'S AUTOMOTIVE                     VARIOUS                              Litigation              UNDETERMINED
        TRANSMISSIONS-VITE, LUIS
        218 BORONDA RD               ACCOUNT NO.: NOT AVAILABLE
        C#8
        SALINAS, CA 93907


3.11568 RODA, ADAM                             VARIOUS                              Litigation              UNDETERMINED
        194 WEMBLY DR
        DANIVILLE, CA 94526          ACCOUNT NO.: NOT AVAILABLE


3.11569 RODARMEL, JASON & ROBBIN               VARIOUS                              Litigation              UNDETERMINED
        12299 LOMA RICA DR.
        GRASS VALLEY, CA 95945       ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.11570 RODE, DORENA                           VARIOUS                              Litigation              UNDETERMINED
        2383 JOY ROAD
        OCCIDENTAL, CA 95645         ACCOUNT NO.: NOT AVAILABLE


3.11571 RODER, JAIME                           VARIOUS                              Litigation              UNDETERMINED
        1321 MARTINO ROAD
        LAFAYETTE, CA 94549          ACCOUNT NO.: NOT AVAILABLE


3.11572 RODES, LEANNHA                         VARIOUS                              Litigation              UNDETERMINED
        PO BOX 1555
        COLUMBIA, CA 95310           ACCOUNT NO.: NOT AVAILABLE


3.11573 RODGERS, DON & PATRICIA                VARIOUS                              Litigation              UNDETERMINED
        26325 MARSH CREEK RD
        BRENTWOOD, CA 94513          ACCOUNT NO.: NOT AVAILABLE


3.11574 RODGERS, GWENDOLYN                     VARIOUS                              Litigation              UNDETERMINED
        1000 EVERGREEN TERRACE
        UNIT 1309                    ACCOUNT NO.: NOT AVAILABLE
        SAN PABLO, CA 94806


3.11575 RODGERS, MICHAELA                      VARIOUS                              Litigation              UNDETERMINED
        3299 ABDY WAY
        MARINA, CA 93933             ACCOUNT NO.: NOT AVAILABLE


3.11576 RODGERS, MICHELLE                      VARIOUS                              Litigation              UNDETERMINED
        3453 YORKTOWN DR.
        YUBA CITY, CA 95993          ACCOUNT NO.: NOT AVAILABLE


3.11577 RODIER, MICHELLE                       VARIOUS                              Litigation              UNDETERMINED
        2700 ASHLAND CT
        ROCKLIN, CA 95765            ACCOUNT NO.: NOT AVAILABLE


3.11578 RODNEY CLARK                           VARIOUS                              Litigation              UNDETERMINED
        MARY ALEXANDER, BRENDAN
        WAY, CATALINA MUNOZ          ACCOUNT NO.: NOT AVAILABLE
        44 MONTGOMERY STREET
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.11579 RODNEY CLARK                           VARIOUS                              Litigation              UNDETERMINED
        THOMAS BRANDI, BRIAN
        MALLOY                       ACCOUNT NO.: NOT AVAILABLE
        354 PINE STREET
        3RD FLOOR
        SAN FRANCISCO, CA 94104




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Litigation & Disputes

3.11580 RODONI FARMS-RODONI, BILLY             VARIOUS                              Litigation              UNDETERMINED
        PO BOX 317
        DAVENPORT, CA 95017          ACCOUNT NO.: NOT AVAILABLE


3.11581 RODRIGUES, ANDREA                      VARIOUS                              Litigation              UNDETERMINED
        10577 TESSA LN
        WHITMORE, CA 96096           ACCOUNT NO.: NOT AVAILABLE


3.11582 RODRIGUES, CAROLE                      VARIOUS                              Litigation              UNDETERMINED
        2805 GRANT STREET
        2502 OVERHILL RD             ACCOUNT NO.: NOT AVAILABLE
        CONCORD, CA 94520


3.11583 RODRIGUES, JAMES                       VARIOUS                              Litigation              UNDETERMINED
        18692 WOODBANK WAY
        SARATOGA, CA 95070           ACCOUNT NO.: NOT AVAILABLE


3.11584 RODRIGUES, JOE                         VARIOUS                              Litigation              UNDETERMINED
        66 REED ROAD
        OAKDALE, CA 95361            ACCOUNT NO.: NOT AVAILABLE


3.11585 RODRIGUES, RANDY                       VARIOUS                              Litigation              UNDETERMINED
        2701 WINNERS CIRCLE
        ALAMO, CA 94507              ACCOUNT NO.: NOT AVAILABLE


3.11586 RODRIGUEZ (MINOR), ADRIANA             VARIOUS                              Litigation              UNDETERMINED
        44 ROME ST
        SAN FRANCISCO, CA 94112      ACCOUNT NO.: NOT AVAILABLE


3.11587 RODRIGUEZ, ADRIANA                     VARIOUS                              Litigation              UNDETERMINED
        2010 LARCUS AVE
        4                            ACCOUNT NO.: NOT AVAILABLE
        BAKERSFIELD, CA 93307


3.11588 RODRIGUEZ, ALICIA                      VARIOUS                              Litigation              UNDETERMINED
        135 MANTON DRIVE
        SAN JOSE, CA 95123           ACCOUNT NO.: NOT AVAILABLE


3.11589 RODRIGUEZ, ALMA                        VARIOUS                              Litigation              UNDETERMINED
        2081 WHITMAN WAY
        #311                         ACCOUNT NO.: NOT AVAILABLE
        SAN BRUNO, CA 94066


3.11590 RODRIGUEZ, ALVIN                       VARIOUS                              Litigation              UNDETERMINED
        1636 MOUNT OLIVEIRA DRIVE
        SAN JOSE, CA 95127           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.11591 RODRIGUEZ, AMBER                          VARIOUS                              Litigation              UNDETERMINED
        107 BOSK AVENUE
        BRENTWOOD, CA 94513             ACCOUNT NO.: NOT AVAILABLE


3.11592 RODRIGUEZ, ANGELA                         VARIOUS                              Litigation              UNDETERMINED
        612 EL TORO
        BAKERSFIELD, CA 93304           ACCOUNT NO.: NOT AVAILABLE


3.11593 RODRIGUEZ, ANGELA AND                     VARIOUS                              Litigation              UNDETERMINED
        DAVID
        7308 CALLE LOS BATIQUITOS       ACCOUNT NO.: NOT AVAILABLE
        BAKERSFIELD, CA 93309


3.11594 RODRIGUEZ, ANGIE                          VARIOUS                              Litigation              UNDETERMINED
        5248 STONEHART LN
        SALIDA, CA 95368                ACCOUNT NO.: NOT AVAILABLE


3.11595 RODRIGUEZ, ANNA                           VARIOUS                              Litigation              UNDETERMINED
        4236 FRIZELL AVE
        SACRAMENTO, CA 95842            ACCOUNT NO.: NOT AVAILABLE


3.11596 RODRIGUEZ, CARLOS                         VARIOUS                              Litigation              UNDETERMINED
        15783 GRAYSON ROAD
        LATHROP, CA 95330               ACCOUNT NO.: NOT AVAILABLE


3.11597 RODRIGUEZ, CRISITNA                       VARIOUS                              Litigation              UNDETERMINED
        17 COLLEGE ST
        WOODLAND, CA 95695              ACCOUNT NO.: NOT AVAILABLE


3.11598 RODRIGUEZ, CYNTHIA                        VARIOUS                              Litigation              UNDETERMINED
        BARDIA AARON AKHAVAN
        3580 WILSHIRE BLVD., #1260      ACCOUNT NO.: NOT AVAILABLE
        LOS ANGELES, CA 90010


3.11599 RODRIGUEZ, DOLORES                        VARIOUS                              Litigation              UNDETERMINED
        1004 W. CLINTON AVE, APT #101
        FRESNO, CA 93705                ACCOUNT NO.: NOT AVAILABLE


3.11600 RODRIGUEZ, EDUARDO                        VARIOUS                              Litigation              UNDETERMINED
        704 OSO ST
        STOCKTON, CA 95206              ACCOUNT NO.: NOT AVAILABLE


3.11601 RODRIGUEZ, ENRIQUE                        VARIOUS                              Litigation              UNDETERMINED
        18587 HARTFORD WAY
        MADERA, CA 93638                ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.11602 RODRIGUEZ, ESMERALDA                     VARIOUS                              Litigation              UNDETERMINED
        3412 HIGGINS AVE
        STOCKTON, CA 95205             ACCOUNT NO.: NOT AVAILABLE


3.11603 RODRIGUEZ, FELIX                         VARIOUS                              Litigation              UNDETERMINED
        1919 W DAKOTA AVE, APT #136,
        BLDG J                         ACCOUNT NO.: NOT AVAILABLE
        FRESNO, CA 93705


3.11604 RODRIGUEZ, FERNANDO JR.                  VARIOUS                              Litigation              UNDETERMINED
        467 ADELLE ST.
        LIVERMORE, CA 94551            ACCOUNT NO.: NOT AVAILABLE


3.11605 RODRIGUEZ, FRANK                         VARIOUS                              Litigation              UNDETERMINED
        247 E CANTERBURGY DR
        STOCKTON, CA 95207             ACCOUNT NO.: NOT AVAILABLE


3.11606 RODRIGUEZ, FRANK                         VARIOUS                              Litigation              UNDETERMINED
        247 E CANTERBURY DR
        STOCKTON, CA 95207             ACCOUNT NO.: NOT AVAILABLE


3.11607 RODRIGUEZ, GENARO                        VARIOUS                              Litigation              UNDETERMINED
        39286 SUNDALE DR.
        FREMONT, CA 94538              ACCOUNT NO.: NOT AVAILABLE


3.11608 RODRIGUEZ, ISABEL                        VARIOUS                              Litigation              UNDETERMINED
        3224 ROCKY MOUNTAIN DRIVE
        SAN JOSE, CA 95127             ACCOUNT NO.: NOT AVAILABLE


3.11609 RODRIGUEZ, JORGE                         VARIOUS                              Litigation              UNDETERMINED
        24221 S CHRISMAN ROAD, SPC
        #101                           ACCOUNT NO.: NOT AVAILABLE
        TRACY, CA 95376


3.11610 RODRIGUEZ, KARLA                         VARIOUS                              Litigation              UNDETERMINED
        319 VEWGA RD
        WATSONVILLE, CA 95076          ACCOUNT NO.: NOT AVAILABLE


3.11611 RODRIGUEZ, KELLY                         VARIOUS                              Litigation              UNDETERMINED
        1606 17TH AVENUE
        SAN FRANCISCO, CA 94122        ACCOUNT NO.: NOT AVAILABLE


3.11612 RODRIGUEZ, LARISSA                       VARIOUS                              Litigation              UNDETERMINED
        114 W ALVIN DR
        E                              ACCOUNT NO.: NOT AVAILABLE
        SALINAS, CA 93906




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Litigation & Disputes

3.11613 RODRIGUEZ, LISETTE                     VARIOUS                              Litigation              UNDETERMINED
        13035 CENTER AVE
        SAN MARTIN, CA 95046         ACCOUNT NO.: NOT AVAILABLE


3.11614 RODRIGUEZ, LUIS                        VARIOUS                              Litigation              UNDETERMINED
        943 LUCIA CT
        HAYWARD, CA 94541            ACCOUNT NO.: NOT AVAILABLE


3.11615 RODRIGUEZ, MARIA                       VARIOUS                              Litigation              UNDETERMINED
        1546 ANTELOPE DR
        SALINAS, CA 93905            ACCOUNT NO.: NOT AVAILABLE


3.11616 RODRIGUEZ, MARIA                       VARIOUS                              Litigation              UNDETERMINED
        1535 SQUAW VALLEY DRIVE
        WOODLAND, CA 95776           ACCOUNT NO.: NOT AVAILABLE


3.11617 RODRIGUEZ, MARIO                       VARIOUS                              Litigation              UNDETERMINED
        3826 EZIE ST
        SAN JOSE, CA 95111           ACCOUNT NO.: NOT AVAILABLE


3.11618 RODRIGUEZ, MAURICIO                    VARIOUS                              Litigation              UNDETERMINED
        3807 TOWERS PLACE
        STOCKTON, CA 95215           ACCOUNT NO.: NOT AVAILABLE


3.11619 RODRIGUEZ, MAYRA                       VARIOUS                              Litigation              UNDETERMINED
        1568 POBOX
        CASTROVILLE, CA 95012        ACCOUNT NO.: NOT AVAILABLE


3.11620 RODRIGUEZ, NATHAN                      VARIOUS                              Litigation              UNDETERMINED
        921 RANDOLPH ST
        SAN FRANCISCO, CA 94132      ACCOUNT NO.: NOT AVAILABLE


3.11621 RODRIGUEZ, NICK                        VARIOUS                              Litigation              UNDETERMINED
        18610 MIDLAND WAY
        MADERA, CA 93638             ACCOUNT NO.: NOT AVAILABLE


3.11622 RODRIGUEZ, PATRICIA                    VARIOUS                              Litigation              UNDETERMINED
        217 S 39TH ST
        RICHMOND, CA 94804           ACCOUNT NO.: NOT AVAILABLE


3.11623 RODRIGUEZ, RAUL                        VARIOUS                              Litigation              UNDETERMINED
        2517 BUDDY DR
        BAKERSFIELD, CA 93307        ACCOUNT NO.: NOT AVAILABLE


3.11624 RODRIGUEZ, ROSA                        VARIOUS                              Litigation              UNDETERMINED
        2535 O'HARTE RD
        SAN PABLO, CA 94806          ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.11625 RODRIGUEZ, ROXANNE                     VARIOUS                              Litigation              UNDETERMINED
        5454 N SALINAS
        FRESNO, CA 93722             ACCOUNT NO.: NOT AVAILABLE


3.11626 RODRIGUEZ, SANDOR                      VARIOUS                              Litigation              UNDETERMINED
        395 ECHO VALLEY ROAD
        B                            ACCOUNT NO.: NOT AVAILABLE
        SALINAS, CA 93907


3.11627 RODRIGUEZ, SOCORRO                     VARIOUS                              Litigation              UNDETERMINED
        708 HUMBOLDT AVE
        CHOWCHILLA, CA 93610         ACCOUNT NO.: NOT AVAILABLE


3.11628 RODRIGUEZ, STACY                       VARIOUS                              Litigation              UNDETERMINED
        7601 CABE RD
        TRACY, CA 95304              ACCOUNT NO.: NOT AVAILABLE


3.11629 RODRIGUEZ, SYLVIA                      VARIOUS                              Litigation              UNDETERMINED
        2230 CAMBRIA DRIVE
        STOCKTON, CA 95205           ACCOUNT NO.: NOT AVAILABLE


3.11630 RODRIQUES, DIANA                       VARIOUS                              Litigation              UNDETERMINED
        2255 UNION ROAD
        HOLLISTER, CA 95023          ACCOUNT NO.: NOT AVAILABLE


3.11631 RODRIQUEZ FARMS, GAVINO                VARIOUS                              Litigation              UNDETERMINED
        30749 BURBANK STREET
        SHAFTER, CA 99134            ACCOUNT NO.: NOT AVAILABLE


3.11632 RODRIQUEZ, JOSE                        VARIOUS                              Litigation              UNDETERMINED
        2073 SANTA RITA ST
        SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.11633 RODRIQUEZ, JUAN                        VARIOUS                              Litigation              UNDETERMINED
        1760 MIMOSA STREET
        HOLLISTER, CA 95023          ACCOUNT NO.: NOT AVAILABLE


3.11634 RODRIQUEZ, KARLA & MARTIN              VARIOUS                              Litigation              UNDETERMINED
        OCHOA
        119 MADOLINE STREET          ACCOUNT NO.: NOT AVAILABLE
        PITTSBURG, CA 94565


3.11635 RODRIQUEZ, MARIA                       VARIOUS                              Litigation              UNDETERMINED
        255 E BOLIVART ST #150
        SALINAS, CA                  ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.11636 ROEHRIG, CHARLES                       VARIOUS                              Litigation              UNDETERMINED
        327 CLYDE DRIVE
        WALNUT CREEK, CA 94598       ACCOUNT NO.: NOT AVAILABLE


3.11637 ROESEL, MARISOL                        VARIOUS                              Litigation              UNDETERMINED
        19571 MT. JASPER DRIVE
        CASTRO VALLEY, CA 94552      ACCOUNT NO.: NOT AVAILABLE


3.11638 ROGERS FOOD AND LIQUOR-                VARIOUS                              Litigation              UNDETERMINED
        SINGH, BALBIR
        215 RESERVATION ROAD         ACCOUNT NO.: NOT AVAILABLE
        SUITE P
        MARINA, CA 93933


3.11639 ROGERS, CANDIE                         VARIOUS                              Litigation              UNDETERMINED
        15048 MEADOW OAK PL
        SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.11640 ROGERS, CHEYENNE                       VARIOUS                              Litigation              UNDETERMINED
        602 ROCKY HILL RD
        C                            ACCOUNT NO.: NOT AVAILABLE
        VACAVILLE, CA 95688


3.11641 ROGERS, DAVID                          VARIOUS                              Litigation              UNDETERMINED
        530 GRANDVIEW RD
        SEBASTOPOL, CA 95472         ACCOUNT NO.: NOT AVAILABLE


3.11642 ROGERS, DENNIS & KATHY                 VARIOUS                              Litigation              UNDETERMINED
        27045 SKYVIEW COURT
        PIONEER, CA 95666            ACCOUNT NO.: NOT AVAILABLE


3.11643 ROGERS, JOANNE                         VARIOUS                              Litigation              UNDETERMINED
        6602 N KATY LANE
        FRESNO, CA 93722             ACCOUNT NO.: NOT AVAILABLE


3.11644 ROGERS, KELLY                          VARIOUS                              Litigation              UNDETERMINED
        940 ROMA ST
        LIVERMORE, CA 94551          ACCOUNT NO.: NOT AVAILABLE


3.11645 ROGERS, KELLY                          VARIOUS                              Litigation              UNDETERMINED
        940 ROMA ST
        LIVERMORE, CA 94551          ACCOUNT NO.: NOT AVAILABLE


3.11646 ROGERS, MARY                           VARIOUS                              Litigation              UNDETERMINED
        5860 E HIGHWAY 20
        APT 3                        ACCOUNT NO.: NOT AVAILABLE
        LUCERNE, CA 95458



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Litigation & Disputes

3.11647 ROGERS, MARY                            VARIOUS                              Litigation              UNDETERMINED
        5569 VIA ENSENADA
        CONCORD, CA 94521             ACCOUNT NO.: NOT AVAILABLE


3.11648 ROGERS, MIKE                            VARIOUS                              Litigation              UNDETERMINED
        727 ST. JOHNS MINE RD.
        VALLEJO, CA 94591             ACCOUNT NO.: NOT AVAILABLE


3.11649 ROGERS, NORMA                           VARIOUS                              Litigation              UNDETERMINED
        1338 BALBOA STREET
        SAN LUIS OBISPO, CA 93405     ACCOUNT NO.: NOT AVAILABLE


3.11650 ROGERS, RAY                             VARIOUS                              Litigation              UNDETERMINED
        P.O.BOX 70626
        SHASTA LAKE, CA 96079         ACCOUNT NO.: NOT AVAILABLE


3.11651 ROGERS, RODRICK                         VARIOUS                              Litigation              UNDETERMINED
        3940 GARDENIA PL
        OAKLAND, CA 94605             ACCOUNT NO.: NOT AVAILABLE


3.11652 ROGERS, SUMMER                          VARIOUS                              Litigation              UNDETERMINED
        5630 SPRING CT
        KELSEYVILLE, CA 95451         ACCOUNT NO.: NOT AVAILABLE


3.11653 ROGERS, WILMA                           VARIOUS                              Litigation              UNDETERMINED
        127 HAMPTON ROAD
        HAYWARD, CA 94541             ACCOUNT NO.: NOT AVAILABLE


3.11654 ROGINSKY, MICHAEL                       VARIOUS                              Litigation              UNDETERMINED
        7 ROBERTS CT
        MORAGA, CA 94556              ACCOUNT NO.: NOT AVAILABLE


3.11655 ROINIOTIS, KELLIE                       VARIOUS                              Litigation              UNDETERMINED
        8530 KATTIE AVE.
        BAKERSFIELD, CA 93307         ACCOUNT NO.: NOT AVAILABLE


3.11656 ROJAS, ANN                              VARIOUS                              Litigation              UNDETERMINED
        165 PACIFIC COURT
        MARINA, CA 93933              ACCOUNT NO.: NOT AVAILABLE


3.11657 ROJAS, BIANCA                           VARIOUS                              Litigation              UNDETERMINED
        3113 WIESE WAY
        SACRAMENTO, CA 95833          ACCOUNT NO.: NOT AVAILABLE


3.11658 ROJAS, JAVIER                           VARIOUS                              Litigation              UNDETERMINED
        2319 HOLLY DR
        TRACY, CA 95376               ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                            Account Number                            Claim

Litigation & Disputes

3.11659 ROJAS, MANUELA                           VARIOUS                              Litigation              UNDETERMINED
        1045 GEARY AVE
        SANGER, CA 93657               ACCOUNT NO.: NOT AVAILABLE


3.11660 ROJAS, WILSON                            VARIOUS                              Litigation              UNDETERMINED
        4438 NOBLE STREET
        BAKERSFIELD, CA 93314          ACCOUNT NO.: NOT AVAILABLE


3.11661 ROJO, MARIA                              VARIOUS                              Litigation              UNDETERMINED
        1950 GLEN AVE
        MERCED, CA 95340               ACCOUNT NO.: NOT AVAILABLE


3.11662 ROLANDI, MARCO                           VARIOUS                              Litigation              UNDETERMINED
        17652 TOURNEY RD
        LOS GATOS, CA 95030            ACCOUNT NO.: NOT AVAILABLE


3.11663 ROLAND'S BAKERY & BISTRO-                VARIOUS                              Litigation              UNDETERMINED
        ROLAND, RAYMOND
        1726 SOUTH MAIN STREET         ACCOUNT NO.: NOT AVAILABLE
        H
        WILLITS, CA 95490


3.11664 ROLEN, MARK                              VARIOUS                              Litigation              UNDETERMINED
        101 FELICIDAD RD
        SOQUEL, CA 95073               ACCOUNT NO.: NOT AVAILABLE


3.11665 ROLLA, CARRIE                            VARIOUS                              Litigation              UNDETERMINED
        218 PARK AVE.
        SAN CARLOS, CA 94070           ACCOUNT NO.: NOT AVAILABLE


3.11666 ROLLAN, ADREYNA                          VARIOUS                              Litigation              UNDETERMINED
        1736 E 24TH STREET # 3
        OAKLAND, CA 94606              ACCOUNT NO.: NOT AVAILABLE


3.11667 ROLLING RUBBER TIRE SHOP,                VARIOUS                              Litigation              UNDETERMINED
        MORALES, GERARDO
        1723 E BELMONT AVE             ACCOUNT NO.: NOT AVAILABLE
        FRESNO, CA 93701


3.11668 ROLLINS JR, DONALD                       VARIOUS                              Litigation              UNDETERMINED
        1870 ST MICHAELS WAY
        BRENTWOOD, CA 94513            ACCOUNT NO.: NOT AVAILABLE


3.11669 ROLLINS, JAMES                           VARIOUS                              Litigation              UNDETERMINED
        750 WEST STREET
        HOLLISTER, CA 95023            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                            Claim

Litigation & Disputes

3.11670 ROLOFF, PHIL                           VARIOUS                              Litigation              UNDETERMINED
        7516 PICKEMAN COURT
        GILROY, CA 95020             ACCOUNT NO.: NOT AVAILABLE


3.11671 ROLOFF, TERRY                          VARIOUS                              Litigation              UNDETERMINED
        13455 AURORA DRIVE
        SAN LEANDRO, CA 94577        ACCOUNT NO.: NOT AVAILABLE


3.11672 ROMACK, ROB                            VARIOUS                              Litigation              UNDETERMINED
        775 OAK STREET
        10                           ACCOUNT NO.: NOT AVAILABLE
        MOUNTAIN VIEW, CA 94041


3.11673 ROMAINE, ANTHONY                       VARIOUS                              Litigation              UNDETERMINED
        1460 LOCKHART GULCH ROAD
        SCOTTS VALLEY, CA 95066      ACCOUNT NO.: NOT AVAILABLE


3.11674 ROMAN, MARCOS                          VARIOUS                              Litigation              UNDETERMINED
        4701 BEECHWOOD ST, APT 157
        APT 157                      ACCOUNT NO.: NOT AVAILABLE
        BAKERFIELD, CA 93309


3.11675 ROMANOW, KERRIE                        VARIOUS                              Litigation              UNDETERMINED
        1256 ROYCOTT WAY
        SAN JOSE, CA 95125           ACCOUNT NO.: NOT AVAILABLE


3.11676 ROMANOW, RON                           VARIOUS                              Litigation              UNDETERMINED
        1503 MONTALBAN DRIVE
        SAN JOSE, CA 95120           ACCOUNT NO.: NOT AVAILABLE


3.11677 ROMANOWSKY, GLINDA                     VARIOUS                              Litigation              UNDETERMINED
        3480 VIA DONA
        LOMPOC, CA 93436             ACCOUNT NO.: NOT AVAILABLE


3.11678 ROMBACH, GREG                          VARIOUS                              Litigation              UNDETERMINED
        1533 HOLLINGSWORTH DRIVE
        MOUNTAIN VIEW, CA 94040      ACCOUNT NO.: NOT AVAILABLE


3.11679 ROMERO DE VELAZQUEZ,                   VARIOUS                              Litigation              UNDETERMINED
        KARLA
        3109 39TH STREET             ACCOUNT NO.: NOT AVAILABLE
        2205 CHEIM BLVD APT 6
        MARYSVILLE, CA 95817


3.11680 ROMERO, ANTONIO                        VARIOUS                              Litigation              UNDETERMINED
        4720 N. EMERALD PEAK DR.
        CLOVIS, CA 93619             ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.11681 ROMERO, CAROLINA                      VARIOUS                              Litigation              UNDETERMINED
        50 LANSING ST
        SUITE 100                   ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94105


3.11682 ROMERO, CELIA                         VARIOUS                              Litigation              UNDETERMINED
        2940 DEL LOMA DRIVE
        CAMPBELL, CA 95008          ACCOUNT NO.: NOT AVAILABLE


3.11683 ROMERO, GARY                          VARIOUS                              Litigation              UNDETERMINED
        5710 TERRA LINDA WAY
        POLLOCK PINES, CA 95726     ACCOUNT NO.: NOT AVAILABLE


3.11684 ROMERO, GENARO                        VARIOUS                              Litigation              UNDETERMINED
        2420 OXFORD WAY #21
        STOCKTON, CA 95204          ACCOUNT NO.: NOT AVAILABLE


3.11685 ROMERO, JENNIFER                      VARIOUS                              Litigation              UNDETERMINED
        420 ANNETTE AVE
        VALLEJO, CA 94591           ACCOUNT NO.: NOT AVAILABLE


3.11686 ROMERO, LAUREN                        VARIOUS                              Litigation              UNDETERMINED
        154 HONFELS AVE
        LATHROP, CA 95330           ACCOUNT NO.: NOT AVAILABLE


3.11687 ROMERO, ROXANNE                       VARIOUS                              Litigation              UNDETERMINED
        260 CORONA COURT
        SAN FRANCISCO, CA 94127     ACCOUNT NO.: NOT AVAILABLE


3.11688 ROMERO, TERRA                         VARIOUS                              Litigation              UNDETERMINED
        1231 TENNIS LANE
        TRACY, CA 95376             ACCOUNT NO.: NOT AVAILABLE


3.11689 ROMERO, YURIKO                        VARIOUS                              Litigation              UNDETERMINED
        24895 CALLE EL ROSARIO
        SALINAS, CA 93908           ACCOUNT NO.: NOT AVAILABLE


3.11690 ROMINGER RICE INC-                    VARIOUS                              Litigation              UNDETERMINED
        ROMINGER, RICK
        2800 COUNTY ROAD 29         ACCOUNT NO.: NOT AVAILABLE
        WINTERS, CA 95694


3.11691 ROMO, CHERYL                          VARIOUS                              Litigation              UNDETERMINED
        19200 PIONEER PLACE
        AROMAS, CA 95004            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.11692 ROMO, GUILLERMINA                      VARIOUS                              Litigation              UNDETERMINED
        255 E. BOLIVAR ST.
        24                           ACCOUNT NO.: NOT AVAILABLE
        SALINAS, CA 93906


3.11693 ROMO, JUAN                             VARIOUS                              Litigation              UNDETERMINED
        739 MIDDLEFIELD RD
        SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.11694 ROMRIELL, RANDY                        VARIOUS                              Litigation              UNDETERMINED
        665 SIERRA POINT ROAD
        BRISBANE, CA 95004           ACCOUNT NO.: NOT AVAILABLE


3.11695 RONALD NUNN FARMS                      VARIOUS                              Litigation              UNDETERMINED
        741 SUNSET RD.
        VASCO ROAD & WALNUT ROAD     ACCOUNT NO.: NOT AVAILABLE
        BRENTWOOD, CA 94513


3.11696 RONAY, CLAUDINE                        VARIOUS                              Litigation              UNDETERMINED
        PO BOX 76
        EL PORTAL, CA 95318          ACCOUNT NO.: NOT AVAILABLE


3.11697 RONCAL, ROSEMARY                       VARIOUS                              Litigation              UNDETERMINED
        435 VERDUCCI CT.
        DALY CITY, CA 94015          ACCOUNT NO.: NOT AVAILABLE


3.11698 RONCELLI, CHARLES                      VARIOUS                              Litigation              UNDETERMINED
        3625 GRANGER WAY
        ROYAL OAKS, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.11699 RONCONI, REMO                          VARIOUS                              Litigation              UNDETERMINED
        PO BOX 632
        NICE, CA 95464               ACCOUNT NO.: NOT AVAILABLE


3.11700 ROOFLINE SUPPLY-ALBORZI,               VARIOUS                              Litigation              UNDETERMINED
        SEAN
        1341 OAKLAND ROAD            ACCOUNT NO.: NOT AVAILABLE
        SAN JOSE, CA 95112


3.11701 ROOP, JOHN                             VARIOUS                              Litigation              UNDETERMINED
        3 BROOKS RD
        BEN LOMOND, CA 95005         ACCOUNT NO.: NOT AVAILABLE


3.11702 ROOT, LINNA                            VARIOUS                              Litigation              UNDETERMINED
        1825 COTTONWOOD AVENUE
        ATWATER, CA 95301            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.11703 ROPCHAN, CHRIS                         VARIOUS                              Litigation              UNDETERMINED
        1701 PINE ST
        207                          ACCOUNT NO.: NOT AVAILABLE
        CONCORD, CA 94520


3.11704 ROPPELT, CHRISTOPHER                   VARIOUS                              Litigation              UNDETERMINED
        6685 TYLER DRIVE
        GRIZZLY FLATS, CA 95636      ACCOUNT NO.: NOT AVAILABLE


3.11705 ROSA, MICHAEL                          VARIOUS                              Litigation              UNDETERMINED
        9545 SANDPOINT DR
        SAN RAMON, CA 94583          ACCOUNT NO.: NOT AVAILABLE


3.11706 ROSA, WILLIAM                          VARIOUS                              Litigation              UNDETERMINED
        9830 BODEGA HWY
        SEBASTOPOL, CA 95472         ACCOUNT NO.: NOT AVAILABLE


3.11707 ROSALES, KATHY ROSALES                 VARIOUS                              Litigation              UNDETERMINED
        2641 HARNESS DRIVE
        POPE VALLEY, CA 94567        ACCOUNT NO.: NOT AVAILABLE


3.11708 ROSALES, NICOLAS & ANNA                VARIOUS                              Litigation              UNDETERMINED
        245 PREAKNESS CIRCLE
        MANTECA, CA 95337            ACCOUNT NO.: NOT AVAILABLE


3.11709 ROSALES, VICENTA                       VARIOUS                              Litigation              UNDETERMINED
        8708 SMITH ST
        GRAYSON, CA 95363            ACCOUNT NO.: NOT AVAILABLE


3.11710 ROSALYN JOHNSTON,                      VARIOUS                              Litigation              UNDETERMINED
        RODERICK JOHNSON, JR.
        BRAYTON PURCELL, LLP         ACCOUNT NO.: NOT AVAILABLE
        222 RUSH LANDING ROAD, P.O
        BOX 6169
        NOVATO, CA 94949-6169


3.11711 ROSARIO, ERIBERTO                      VARIOUS                              Litigation              UNDETERMINED
        36027 CABRILLO DRIVE
        FREMONT, CA 94536            ACCOUNT NO.: NOT AVAILABLE


3.11712 ROSAS GARCIA, BRENDA                   VARIOUS                              Litigation              UNDETERMINED
        1239 TALLAHASSEE DR
        SAN JOSE, CA 95122           ACCOUNT NO.: NOT AVAILABLE


3.11713 ROSAS ITALIAN RESTURANT,               VARIOUS                              Litigation              UNDETERMINED
        MACMILLAN, DOUGLAS
        491 PRICE STREET             ACCOUNT NO.: NOT AVAILABLE
        PISMO BEACH, CA 93449


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Litigation & Disputes

3.11714 ROSAS, LUZ                               VARIOUS                              Litigation              UNDETERMINED
        475 SONORA WAY
        SALINAS, CA 93906              ACCOUNT NO.: NOT AVAILABLE


3.11715 ROSAS, PAUL                              VARIOUS                              Litigation              UNDETERMINED
        313 SORENTO STREET
        LOS BANOS, CA 93635            ACCOUNT NO.: NOT AVAILABLE


3.11716 ROSE MOUNTAIN LONGHORNS-                 VARIOUS                              Litigation              UNDETERMINED
        MCCOLLUM, TIMOTHY
        36913 RIVER BELLE LANE, GATE   ACCOUNT NO.: NOT AVAILABLE
        4095
        TOLLHOUSE, CA 93667


3.11717 ROSE, DAVID                              VARIOUS                              Litigation              UNDETERMINED
        14705 MCELROY ROAD
        AUBURN, CA 95602               ACCOUNT NO.: NOT AVAILABLE


3.11718 ROSE, JENNIFER                           VARIOUS                              Litigation              UNDETERMINED
        1066 HOLLISTER AVENUE
        SAN FRANCISCO, CA 94124        ACCOUNT NO.: NOT AVAILABLE


3.11719 ROSE, LAURA                              VARIOUS                              Litigation              UNDETERMINED
        1750 LEE ROAD SPACE 35
        QUINCY, CA 95971               ACCOUNT NO.: NOT AVAILABLE


3.11720 ROSE, MELANIE                            VARIOUS                              Litigation              UNDETERMINED
        1976 LAKESHORE BLVD
        LAKEPORT, CA 95453             ACCOUNT NO.: NOT AVAILABLE


3.11721 ROSE, RAY                                VARIOUS                              Litigation              UNDETERMINED
        6 MAGEE AVE
        MILL VALLEY, CA 94941          ACCOUNT NO.: NOT AVAILABLE


3.11722 ROSE, RAY AND VIOLET                     VARIOUS                              Litigation              UNDETERMINED
        195 HELENE STREET
        LEMOORE, CA 93245              ACCOUNT NO.: NOT AVAILABLE


3.11723 ROSE, ROBERT & CINDY                     VARIOUS                              Litigation              UNDETERMINED
        18275 SOUTHVIEW AVENUE
        LOS GATOS, CA 95033            ACCOUNT NO.: NOT AVAILABLE


3.11724 ROSE, TANYA                              VARIOUS                              Litigation              UNDETERMINED
        2305 WESTHOLME BLVD, APT #E
        BAKERSFIELD, CA 93309          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                            Claim

Litigation & Disputes

3.11725 ROSEBUD, FRANCHENA                     VARIOUS                              Litigation              UNDETERMINED
        591 SCUDERO CIR
        PITTSBURG, CA 94565          ACCOUNT NO.: NOT AVAILABLE


3.11726 ROSEBUSH, CHRISTIAN                    VARIOUS                              Litigation              UNDETERMINED
        1865 WEST SIERRA VIEW DR.
        MEADOW VISTA, CA 95722       ACCOUNT NO.: NOT AVAILABLE


3.11727 ROSEL, GLEN                            VARIOUS                              Litigation              UNDETERMINED
        PO BOX 698
        OAKLEY, CA 94561             ACCOUNT NO.: NOT AVAILABLE


3.11728 ROSELLE CURWEN DESIGN-                 VARIOUS                              Litigation              UNDETERMINED
        REDDY, RYAN
        990 RHODE ISLAND STREET      ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94107


3.11729 ROSEN, LISA                            VARIOUS                              Litigation              UNDETERMINED
        17513 POND DEROSA LN
        SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.11730 ROSENBERG, JORDAN                      VARIOUS                              Litigation              UNDETERMINED
        JORDAN ROSENBERG
        680 MISSION, APT.12A         ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94105


3.11731 ROSENBERG, JORDAN                      VARIOUS                              Litigation              UNDETERMINED
        ROSENBERG, JORDAN
        680 MISSION, APT.12A         ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94105


3.11732 ROSENBERG, JORDAN                      VARIOUS                              Litigation              UNDETERMINED
        680 MISSION STREET
        APT 12A                      ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94105


3.11733 ROSENBLATT, GARY                       VARIOUS                              Litigation              UNDETERMINED
        86 LABREA WAY
        SAN RAFAEL, CA 94903         ACCOUNT NO.: NOT AVAILABLE


3.11734 ROSENQUIST, ERIK                       VARIOUS                              Litigation              UNDETERMINED
        20246 51 ST RD
        LOS GATOS, CA                ACCOUNT NO.: NOT AVAILABLE


3.11735 ROSHAL, ALINA                          VARIOUS                              Litigation              UNDETERMINED
        33 RANGER CT
        ALAMO, CA 94507              ACCOUNT NO.: NOT AVAILABLE



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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                          Account Number                            Claim

Litigation & Disputes

3.11736 ROSIE ENTERPRISE PET SHOP,             VARIOUS                              Litigation              UNDETERMINED
        ROSIE HALL
        10816 BANCROFT AVENUE        ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94605


3.11737 ROSNER, JON                            VARIOUS                              Litigation              UNDETERMINED
        16300 SANBORN ROAD
        SARATOGA, CA 95070           ACCOUNT NO.: NOT AVAILABLE


3.11738 ROSS, EVELYN                           VARIOUS                              Litigation              UNDETERMINED
        16750 JENNIFER DR
        OCCIDENTAL, CA 95465         ACCOUNT NO.: NOT AVAILABLE


3.11739 ROSS, KEENAN                           VARIOUS                              Litigation              UNDETERMINED
        417 GILLCREST AVENUE
        VALLEJO, CA 94591            ACCOUNT NO.: NOT AVAILABLE


3.11740 ROSS, MARLENE                          VARIOUS                              Litigation              UNDETERMINED
        19975 PESANTE RD
        SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.11741 ROSS, MARTIN                           VARIOUS                              Litigation              UNDETERMINED
        1637 19TH ST.
        2261 MARKET ST., #66, S.F.   ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94114


3.11742 ROSS, MARY                             VARIOUS                              Litigation              UNDETERMINED
        5537 SANTOS STREET
        CASMALIA, CA 93429           ACCOUNT NO.: NOT AVAILABLE


3.11743 ROSS, PHILIP                           VARIOUS                              Litigation              UNDETERMINED
        32801 MILL CREEK DR.
        FORT BRAGG, CA 95437         ACCOUNT NO.: NOT AVAILABLE


3.11744 ROSS, SEAN                             VARIOUS                              Litigation              UNDETERMINED
        5013 CREEK FRONT ROAD
        CATHEYS VALLEY, CA 95306     ACCOUNT NO.: NOT AVAILABLE


3.11745 ROSS, SHELBY                           VARIOUS                              Litigation              UNDETERMINED
        346 PACIFICA DR
        BRENTWOOD, CA 93513          ACCOUNT NO.: NOT AVAILABLE


3.11746 ROSSE, GREGORY                         VARIOUS                              Litigation              UNDETERMINED
        235 BERRY STREET
        510                          ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94158




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                          Account Number                            Claim

Litigation & Disputes

3.11747 ROSSETTO, JASON                        VARIOUS                              Litigation              UNDETERMINED
        32601 HAPPY LANE
        FORT BRAGG, CA 95437         ACCOUNT NO.: NOT AVAILABLE


3.11748 ROSSI, BRITNEY & LEE                   VARIOUS                              Litigation              UNDETERMINED
        330 25TH AVENUE
        26TH AND PORTOLA             ACCOUNT NO.: NOT AVAILABLE
        SANTA CRUZ, CA 95062


3.11749 ROSSI, NINA                            VARIOUS                              Litigation              UNDETERMINED
        718 BELLEVUE AVE
        DALY CITY, CA 94014          ACCOUNT NO.: NOT AVAILABLE


3.11750 ROSSI, WILLIAM                         VARIOUS                              Litigation              UNDETERMINED
        32 SKYLINE DRIVE
        WOODSIDE, CA 94062           ACCOUNT NO.: NOT AVAILABLE


3.11751 ROTALO, SUSANE                         VARIOUS                              Litigation              UNDETERMINED
        103 LE POINTE TERRACE
        ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.11752 ROTELLA, DONALD                        VARIOUS                              Litigation              UNDETERMINED
        533 RIO VIEW CIRCLE
        FRESNO, CA 93711             ACCOUNT NO.: NOT AVAILABLE


3.11753 ROTELLA, FRANK AND                     VARIOUS                              Litigation              UNDETERMINED
        LORRAINE
        7053 N MONTE AVE             ACCOUNT NO.: NOT AVAILABLE
        FRESNO, CA 93711


3.11754 ROTH, DEAN                             VARIOUS                              Litigation              UNDETERMINED
        PO BOX 1388
        1137 WOODPECKER LANE         ACCOUNT NO.: NOT AVAILABLE
        MEADOW VISTA, CA 95722


3.11755 ROTH, GEORGE                           VARIOUS                              Litigation              UNDETERMINED
        2839 WEBB STREET
        VALLEJO, CA 94591            ACCOUNT NO.: NOT AVAILABLE


3.11756 ROTH, JON                              VARIOUS                              Litigation              UNDETERMINED
        PO BOX 3091
        ARNOLD, CA 95223             ACCOUNT NO.: NOT AVAILABLE


3.11757 ROTHMANN, ELLEN                        VARIOUS                              Litigation              UNDETERMINED
        250 EUCLID AVENUE
        SAN FRANCISCO, CA 94118      ACCOUNT NO.: NOT AVAILABLE




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